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                            NEO4J, INC. and NEO4J SWEDEN AB
                   10
                                                          UNITED STATES DISTRICT COURT
                   11
                                                       NORTHERN DISTRICT OF CALIFORNIA
                   12

                   13       NEO4J, INC., a Delaware corporation, and          CASE NO. 5:18-cv-07182-EJD
                            NEO4J SWEDEN AB, a Swedish
                   14       corporation,                                      DECLARATION OF JEFFREY M.
                                                                              RATINOFF IN SUPPORT OF
                                            Plaintiffs,
                   15                                                         PLAINTIFFS’ CONSOLIDATED MOTION
                                                                              FOR SUMMARY JUDGMENT
                                   v.
                   16
                                                                              Date:         March 25, 2021
                            PURETHINK LLC, a Delaware limited
                   17                                                         Time:         9:00 a.m.
                            liability company, IGOV INC., a Virginia          Dept.:        Courtroom 4, 5th Floor
                            corporation, and JOHN MARK SUHY, an
                   18                                                         Judge:        Hon. Edward J. Davila
                            individual,
                   19                          Defendants.

                   20
                            AND RELATED COUNTERCLAIM.
                   21

                   22       NEO4J, INC., a Delaware corporation, and          CASE NO. 5:19-CV-06226-EJD
                            NEO4J SWEDEN AB, a Swedish
                   23       corporation,
                                            Plaintiffs,
                   24
                                   v.
                   25
                            GRAPH FOUNDATION, INC., an Ohio
                   26       corporation, GRAPHGRID, INC., an Ohio
                            corporation, and ATOMRAIN INC., a                REDACTED VERSION OF DOCUMENT
                   27       Nevada corporation,                              PROPOSED TO BE FILED UNDER SEAL
                   28                         Defendants.
H OPKINS & C ARLEY
  ATTORNEYS AT LAW
                            842\3639273.4
 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF PLAINTIFFS’ CONSOLIDATED MOTION FOR SUMMARY
                            JUDGMENT; 5:18-CV-07182-EJD AND 5:19-CV-06226-EJD
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                        1          I, Jeffrey M. Ratinoff, declare as follows:
                        2          1.      I am an attorney at law, duly licensed to practice before all courts of the State of
                        3   California, and am of counsel with Hopkins & Carley, a Law Corporation, attorney of record for
                        4   Plaintiff Neo4j, Inc. and Neo4j Sweden AB (collectively “Plaintiffs”) in the above-captioned
                        5   matter. I make this declaration in support of Plaintiffs’ Consolidated Motion for Summary
                        6   Judgment concurrently filed herewith.
                        7          2.      The facts stated herein are based on my personal knowledge, except with respect
                        8   to those matters stated to be on information and belief, and as to those matters, I believe them to
                        9   be true. If called upon to testify as a witness in this matter, I could and would do so competently.
                   10              3.      Attached hereto as Exhibit 1 is a true and correct copy of the Trademark
                   11       Registration Certificate for the “Neo4j” trademark, Registration No. 4,784,280, dated August 4,
                   12       2015, which I downloaded from the USPTO’s Trademark Status and Document Retrieval (TSDR)
                   13       system and bears the Bates No. N4J_000001-N4J_000003.
                   14              4.      Attached hereto as Exhibit 2 is a true and correct copy of an October 28, 2020
                   15       capture of PureThink LLC’s “About PureThink” webpage, http://purethink.com/company.html,
                   16       which I downloaded from the Wayback Machine, a digital archive of the World Wide Web
                   17       (https://web.archive.org) and bears the Bates No. N4J_019932-N4J_019933.
                   18              5.      Attached hereto as Exhibit 3 is a true and correct copy of relevant pages from the
                   19       transcript for the Deposition of PureThink LLC taken on October 22, 2020.
                   20              6.      Attached hereto as Exhibit 4 is a true and correct copy of the Neo4j Solution
                   21       Partner Agreement entered into by Neo4j Inc. and PureThink LLC, signed by John Mark Suhy on
                   22       behalf of PureThink, which bears the Bates No. N4J_000004- N4J_000008 and was marked as
                   23       Exhibit 5 during the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at 58:22-59:12; see also
                   24       Exhibit 13 [RFA No. 2].
                   25              7.      Attached hereto as Exhibit 5 is a true and correct copy of a July 14, 2015 email
                   26       sent by John Mark Suhy to David Fauth of Neo4j USA, which was produced by Defendants in
                   27       this litigation with the Bates No. 00003677.
                   28       ///
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF PLAINTIFFS’ CONSOLIDATED MOTION FOR SUMMARY
                            JUDGMENT; 5:18-CV-07182-EJD AND 5:19-CV-06226-EJD
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                        1          8.      Attached hereto as Exhibit 6 is a true and correct copy of a July 29, 2015 email
                        2   sent by John Mark Suhy to Charles Fischer of Neo4j USA, which was produced by Defendants in
                        3   this litigation with the Bates No. 00001047-00001048. The portions referenced by and/or that are
                        4   most relevant to Plaintiffs’ Motion are highlighted. Plaintiffs have designated this email as
                        5   “Confidential” under the Protective Order as it contains their confidential and proprietary
                        6   business information.
                        7          9.      Attached hereto as Exhibit 7, is a true and correct copy of an August 16, 2016
                        8   email sent by John Mark Suhy to Ginger Sanfilippo, which was produced by Defendants in this
                        9   litigation with the Bates No. 00006480-00006483. The portions referenced by and/or that are
                   10       most relevant to Plaintiffs’ Motion are highlighted. Plaintiffs have designated this email as
                   11       “Confidential” under the Protective Order as it contains their confidential and proprietary
                   12       business information.
                   13              10.     Attached hereto as Exhibit 8, is a true and correct copy of a May 12, 2017 email
                   14       sent by John Mark Suhy to Philip Rathle of Neo4j USA, which was produced by Defendants in
                   15       this litigation with the Bates No. 00004185-00004185. The portions referenced by and/or that are
                   16       most relevant to Plaintiffs’ Motion are highlighted.
                   17              11.     Attached hereto as Exhibit 9, is a true and correct copy of a May 30, 2017 letter
                   18       from Lars Nordwall of Neo4j USA to John Mark Suhy of PureThink LLC, which was produced
                   19       by Defendants in this litigation during discovery with the Bates No. 000226. The portions
                   20       referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   21              12.     Attached hereto as Exhibit 10, is a true and correct copy of the Articles of
                   22       Incorporation for iGov Inc., dated June 23, 2017, which was marked as Exhibit 2 during the Rule
                   23       30(b)(6) deposition of iGov (see Exhibit 3 at 21:20-22:22) and the authenticity was admitted by
                   24       iGov in response to Neo4j Sweden’s Request for Admission No. 2 (see Exhibit 13).
                   25              13.     Attached hereto as Exhibit 11, is a true and correct copy of a March 14-15, 2017
                   26       email exchange between John Mark Suhy and John Broad of Neo4j USA, which was produced by
                   27       Defendants in this litigation with the Bates No. 00004046-00004047. The portions referenced by
                   28       and/or that are most relevant to Plaintiffs’ Motion are highlighted.
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
                            FOR SUMMARY JUDGMENT; 5:18-CV-07182-EJD AND 5:19-CV-06226-EJD
                            Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 4 of 1198



                        1          14.     Attached hereto as Exhibit 12, is a true and correct copy of a July 11, 2017 letter
                        2   from Lars Nordwall of Neo4j USA to John Mark Suhy of PureThink LLC, which was produced
                        3   by Defendants in this litigation with the Bates No. 000245.
                        4          15.     Attached hereto as Exhibit 13, is a true and correct copy of iGov’s verified Fourth
                        5   Amended Response to Neo4j Sweden AB’s Request for Admissions, Set One.
                        6          16.     Attached hereto as Exhibit 14, is a true and correct copy of a November 1, 2017
                        7   capture of PureThink LLC’s webpage, http://purethink.com/, from the Wayback Machine, a
                        8   digital archive of the World Wide Web (https://web.archive.org). This was produced by
                        9   Defendants in this litigation with the Bates No. 00020015-00020021, and marked as Exhibit 4 to
                   10       during the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at 47:20-48:8.
                   11              17.     Attached hereto as Exhibit 15, is a true and correct copy of a printout of iGov’s
                   12       https://igovsol.com/about.html webpage as it existed on January 13, 2018. This was originally
                   13       produced by Defendants in this litigation in html format in this litigation on July 1, 2019, and
                   14       marked as Exhibit 3 to the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at 39:6-40:3. Its
                   15       authenticity was also admitted by iGov in response to Neo4j Sweden’s Request for Admission
                   16       No. 28. See Exhibit 13.
                   17              18.     Attached hereto as Exhibit 16, is a true and correct copy of a printout of iGov’s
                   18       https://igovsol.com/download.html webpage as it existed on January 13, 2018. This was
                   19       originally produced by Defendants in this litigation in html format in this litigation on July 1,
                   20       2019. Its authenticity was admitted by iGov in response to Neo4j Sweden’s Request for
                   21       Admission No. 33. See Exhibit 13. The portions referenced by and/or that are most relevant to
                   22       Plaintiffs’ Motion are highlighted.
                   23              19.     Attached hereto as Exhibit 17, is a true and correct copy of a printout of iGov’s
                   24       https://igovsol.com/neo4j.html webpage as it existed on January 13, 2018. This was originally
                   25       produced by Defendants in this litigation in html format in this litigation on July 1, 2019, and
                   26       marked as Exhibit 11 to the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at 39:6-40:3. Its
                   27       authenticity was also admitted by iGov in response to Neo4j Sweden’s Request for Admission
                   28       No. 37. See Exhibit 13. The portions referenced by and/or that are most relevant to Plaintiffs’
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  ATTORNEYS AT LAW
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
                            FOR SUMMARY JUDGMENT; 5:18-CV-07182-EJD AND 5:19-CV-06226-EJD
                            Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 5 of 1198



                        1   Motion are highlighted.
                        2          20.     Attached hereto as Exhibit 18, is a true and correct copy of a printout of iGov’s
                        3   https://igovsol.com/index.html webpage as it existed on January 13, 2018. This was originally
                        4   produced by Defendants in this litigation in html format in this litigation on July 1, 2019. The
                        5   portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                        6          21.     Attached hereto as Exhibit 19, is a true and correct copy of a September 8, 2017
                        7   email sent by John Mark Suhy to Carol Sinnard of the National Geospatial-Intelligence Agency
                        8   (NGA), which was produced by Defendants in this litigation with the Bates No. 000036000-
                        9   000036007.
                   10              22.     Attached hereto as Exhibit 20, is a true and correct copy of an November 14, 2017
                   11       iGov blog entry located at https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-where-are-
                   12       the-open-source-enterprise-binaries.html, which I printed out on October 2, 2019 and produced in
                   13       this litigation bearing the Bates No. N4J_018852-N4J_018855. The portions referenced by
                   14       and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   15              23.     Attached hereto as Exhibit 21, is a true and correct copy of an August 25, 2018
                   16       capture of iGov’s https://igovsol.com/index.html webpage from the Wayback Machine, a digital
                   17       archive of the World Wide Web (https://web.archive.org), which I printed out on August 12, 2020
                   18       and bears Bates No. N4J_018822-N4J_018823. The portions referenced by and/or that are most
                   19       relevant to Plaintiffs’ Motion are highlighted.
                   20              24.     Attached hereto as Exhibit 22, is a true and correct copy of a March 26, 2018
                   21       email sent by John Mark Suhy to Benjamin Nussbaum and Brad Nussbaum, which was produced
                   22       by the PureThink Defendants and bears the Bates No. IGOV0001570252. This was also marked
                   23       as Exhibit 9 during the Rule 30(b)(6) deposition of iGov (see Exhibit 3 at 86:20-87:23) and as
                   24       Exhibit 19 during the Rule 30(b)(6) deposition of GFI (see Exhibit 31 at 147:2-23).
                   25              25.     Attached hereto as Exhibit 23, is a true and correct copy of a May 21, 2018 email
                   26       sent by John Mark Suhy to Benjamin Nussbaum and Brad Nussbaum, which was produced by the
                   27       PureThink Defendants and bears the Bates No. IGOV0001570192. This was also marked as
                   28       Exhibit 10 during the Rule 30(b)(6) deposition of iGov (see Exhibit 3 at 92:10-93:1) and as
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
                            FOR SUMMARY JUDGMENT; 5:18-CV-07182-EJD AND 5:19-CV-06226-EJD
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                        1   Exhibit 4 during the Rule 30(b)(6) deposition of GFI (see Exhibit 31 at 30:3-32:25).
                        2          26.     Attached hereto as Exhibit 24, is a true and correct copy of a July 9, 2018 email
                        3   exchange between John Mark Suhy and Mariano Lopez spanning July 6, 2018 and July 9, 2018,
                        4   which was produced by the PureThink Defendants on November 19, 2019 and bears the Bates
                        5   No. IGOV0001573221.0001- IGOV0001573221.0002. The portions referenced by and/or that are
                        6   most relevant to Plaintiffs’ Motion are highlighted.
                        7          27.     Attached hereto as Exhibit 25, is a true and correct copy of an August 10, 2018
                        8   email from John Mark Suhy to Brian Rodrigue, which was produced by the PureThink
                        9   Defendants on November 19, 2019 and bears the Bates No. IGOV0001570129. The portions
                   10       referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   11              28.     Attached hereto as Exhibit 26, is a true and correct copy of an August 28, 2018
                   12       email from John Mark Suhy to A-Sun Truth, which was produced by the PureThink Defendants
                   13       on November 19, 2019 and bears the Bates No. IGOV0001570120.0001. The portions referenced
                   14       by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   15              29.     Attached hereto as Exhibit 27, is a true and correct copy of a May 2018 email
                   16       exchange between John Mark Suhy to Philip Rathle (without attachments), which was produced
                   17       by the PureThink Defendants in this litigation and bears the Bates No. IGOV00000298.0001-
                   18       IGOV00000298.0006. The portions referenced by and/or that are most relevant to Plaintiffs’
                   19       Motion are highlighted in yellow. Plaintiffs have designated portions of this email as
                   20       “Confidential” under the Protective Order, which are highlighted in blue.
                   21              30.     Attached hereto as Exhibit 28 is a true and correct copy of a July 2018 email
                   22       exchange between GFI and Bob Trudeau produced by GFI, and originally forwarded from iGov,
                   23       which bears the Bates No. GFI000287- GFI000288. This was also marked as Exhibit 14 during
                   24       the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 83:22-84:7. GFI designated this document
                   25       as “Confidential” when originally produced, but subsequently agreed that they did not need to be
                   26       filed under seal.
                   27              31.     Attached hereto as Exhibit 29, is a true and correct copy of a July 25, 2018 email
                   28       from John Mark Suhy to Benjamin Nussbaum, which was produced by the PureThink Defendants
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
                            FOR SUMMARY JUDGMENT; 5:18-CV-07182-EJD AND 5:19-CV-06226-EJD
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                        1   on November 19, 2019 and bears the Bates No. IGOV0001570130.0001-IGOV0001570130.0002.
                        2   The portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                        3          32.     Attached hereto as Exhibit 30, is a true and correct copy of the Articles of
                        4   Incorporation for Graph Foundation Inc., dated June 22, 2018, which was produced by GFI in this
                        5   litigation with the Bates No. GFI000001- GFI000004. This was also marked as Exhibit 3 during
                        6   the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 24:19-25:22. GFI designated this
                        7   document as “Confidential” when originally produced, but subsequently agreed that they did not
                        8   need to be filed under seal.
                        9          33.     Attached hereto as Exhibit 31 is a true and correct copy of pages from the
                   10       transcript for the Rule 30(b)(6) Deposition of Graph Foundation Inc. taken on October 16, 2020
                   11       that have been citing in this declaration and/or Plaintiffs’ Motion for Summary Judgment.
                   12              34.     Attached hereto as Exhibit 32 is a true and correct copy of an email exchange
                   13       between John Mark Suhy and Donald Robertson occurring between May 19 and May 22, 2018,
                   14       which was produced by the PureThink Defendants on November 19, 2019 and bears the Bates
                   15       No. IGOV0001570187.001- IGOV0001570187.002. This was also marked as Exhibit 22 during
                   16       the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at 169:10-170:3. The portions referenced by
                   17       and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   18              35.     Attached hereto as Exhibit 33 is a true and correct copy of an email exchange,
                   19       namely between John Mark Suhy and Benjamin Nussbaum occurring on May 22, 2018, which
                   20       was produced by the PureThink Defendants on November 19, 2019 and bears the Bates No.
                   21       IGOV0001570185.001- IGOV0001570185.003. This was also marked as Exhibit 15 during the
                   22       Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 97:1-9, 98:24-99:5.
                   23              36.     Attached hereto as Exhibit 34 is a true and correct copy of a further email
                   24       exchange between John Mark Suhy and Donald Robertson occurring between June 20 and August
                   25       21, 2018, which was produced by the PureThink Defendants on November 19, 2019 and bears the
                   26       Bates No. IGOV0001570125.001- IGOV0001570125.002. This was also marked as Exhibit 24
                   27       during the Rule 30(b)(6) deposition of iGov (Exhibit 3 at 192:18-193:2) and as Exhibit 16 during
                   28       the Rule 30(b)(6) deposition of GFI (Exhibit 31 at 108:13-109:11). The portions referenced by
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  ATTORNEYS AT LAW
                            842\3639273.5                                      -6-
 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
                            FOR SUMMARY JUDGMENT; 5:18-CV-07182-EJD AND 5:19-CV-06226-EJD
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                        1   and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                        2          37.     Attached hereto as Exhibit 35, is a true and correct copy of an issue posted on
                        3   GFI’s GitHub repository on February 13, 2019 that I printed out on June 10, 2020, which was
                        4   produced with the Bates No. N4J_018645 - N4J_018647. This was also marked as Exhibit 24
                        5   during the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 183:14-184:24. The portions
                        6   referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                        7          38.     Attached hereto as Exhibit 36, is a true and correct copy of an issue posted on
                        8   GFI’s GitHub repository on June 27, 2019, which I printed out on June 10, 2020 and was
                        9   produced with the Bates No. N4J_019439- N4J_019443. The portions referenced by and/or that
                   10       are most relevant to Plaintiffs’ Motion are highlighted.
                   11              39.     Attached hereto as Exhibit 37, is a true and correct copy of a blog post titled “Neo
                   12       4j is Open Core – Now What?” posted on GFI’s website on January 31, 2019, which I printed out
                   13       on September 24, 2019 and produced bearing the Bates No. N4J-GFI_000078- N4J-GFI_000085.
                   14       This document was marked as Exhibit 23 to the Rule 30(b)(6) deposition of GFI. See Exhibit 31
                   15       at 177:10-178:18. It was attached as Exhibit K to Neo4j Inc.’s First Set of Requests for
                   16       Admissions and its authenticity was admitted by GFI in response to RFA No. 137. See Exhibits
                   17       128-129. The portions referenced by and/or that are most relevant to Plaintiffs’ Motion are
                   18       highlighted.
                   19              40.     Attached hereto as Exhibit 38, is a true and correct copy of Defendant iGov Inc.’s
                   20       Amended Response to Neo4j Sweden AB’s Second Set of Interrogatories to iGov Inc. Inc. and
                   21       John Mark Suhy’s verification thereof.
                   22              41.     Attached hereto as Exhibit 39, is a true and correct copy of a printout of a March
                   23       1, 2019 commit titled “Updated the LICENSE.txt file to be pure AGPL as to not violate the fsf
                   24       copyright and to be in linse with the AGPL license” by John Mark Suhy to GFI’s GitHub
                   25       repository for ONgDB v3.5, which shows the replacement of the Neo4j Sweden Software License
                   26       with the AGPLv3. This document was produced bearing the Bates No. N4J_019041-
                   27       N4J_019417.
                   28              42.      Attached hereto as Exhibit 40, is a true and correct copy of an email exchange
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
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                        1   between John Mark Suhy and Joerg Bacch spanning November 9, 2018 and January 18, 2019,
                        2   which was produced by the PureThink Defendants on November 19, 2019 and bears the Bates
                        3   No. IGOV0001570039.0001- IGOV0001570039.0002. This was also marked as Exhibit 28
                        4   during the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at 213:3-19.
                        5          43.     Attached hereto as Exhibit 41 is a true and correct copy of a September 30, 2020
                        6   capture of GFI’s GitHub landing page for the ONgDB repository,
                        7   https://github.com/graphfoundation/ongdb, which I downloaded from the Wayback Machine, a
                        8   digital archive of the World Wide Web (https://web.archive.org) and bears the Bates No.
                        9   N4J_019940-N4J_019944.
                   10              44.     Attached hereto as Exhibit 42 is a true and correct copy of an email exchange
                   11       between John Mark Suhy and Robin Witherspoon of Perspecta Engineering Inc. spanning March
                   12       12, 2019 and March 26, 2019, which was produced by the PureThink Defendants on November
                   13       19, 2019, and bears the Bates No. IGOV0001573351.0001- IGOV0001573351.0004. The
                   14       portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   15              45.     Attached hereto as Exhibit 43 is a true and correct copy of two successive emails
                   16       sent by John Mark Suhy to steins@sec.gov on May 1 and May 7, 2019, which was produced by
                   17       the PureThink Defendants on November 19, 2019 and bears the Bates No.
                   18       IGOV0001573343.0001- IGOV0001573343.0003. The portions referenced by and/or that are
                   19       most relevant to Plaintiffs’ Motion are highlighted.
                   20              46.     Attached hereto as Exhibit 44 is a true and correct copy of a May 29, 2019 email
                   21       exchange between John Mark Suhy and Ken Woo of Northwestern University, which was
                   22       produced by the PureThink Defendants on November 19, 2019 and bears the Bates No.
                   23       IGOV0001573337.0001 - IGOV0001573337.0002. The portions referenced by and/or that are
                   24       most relevant to Plaintiffs’ Motion are highlighted.
                   25              47.     Attached hereto as Exhibit 45 is a true and correct copy of a March 29, 2019 email
                   26       from John Mark Suhy to Patrick Widener of Sandia National Laboratories, which was produced
                   27       by the PureThink Defendants on November 19, 2019 and bears the Bates No. IGOV0001570021.
                   28              48.     Attached hereto as Exhibit 46 is a true and correct copy of an email exchange
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
                            FOR SUMMARY JUDGMENT; 5:18-CV-07182-EJD AND 5:19-CV-06226-EJD
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                        1   between John Mark Suhy and Colleen Delawder at the US Army’s National Ground Intelligence
                        2   Center (NGIC) spanning August 6 and August 8, 2019, which was produced by the PureThink
                        3   Defendants on November 19, 2019 and bears the Bates No. IGOV0001573310.0001 -
                        4   IGOV0001573310.0003. The portions referenced by and/or that are most relevant to Plaintiffs’
                        5   Motion are highlighted.
                        6          49.     Attached hereto as Exhibit 47 is a true and correct copy of an October 22, 2018
                        7   email exchange between John Mark Suhy and Shahak Nagiel of Next Century Corp., which was
                        8   produced by the PureThink Defendants on November 19, 2019 and bears the Bates No.
                        9   IGOV0001573500.0001 - IGOV0001573500.0002. The portions referenced by and/or that are
                   10       most relevant to Plaintiffs’ Motion are highlighted.
                   11              50.     Attached hereto as Exhibit 48 is a true and correct copy of a February email
                   12       exchange between Brad Nussbaum and Shahak Nagiel of Next Century Corp., which is a
                   13       continuation of a prior email exchange between John Mark Suhy and Shahak Nagiel, and
                   14       produced by GFI with the Bates No. GFI000071-73. This was also marked as Exhibit 32 during
                   15       the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 204:23-205:12. The portions referenced
                   16       by and/or that are most relevant to Plaintiffs’ Motion are highlighted. GFI designated this
                   17       document as “Confidential” when originally produced, but subsequently agreed that they did not
                   18       need to be filed under seal.
                   19              51.     Attached hereto as Exhibit 49 is a true and correct copy of a February 19, 2019
                   20       email exchange between Brad Nussbaum and Shahak Nagiel of Next Century Corp., which is a
                   21       continuation of a prior email exchange between John Mark Suhy and Shahak Nagiel, and
                   22       produced by GFI with the Bates No. GFI000068-70. This was also marked as Exhibit 33 during
                   23       the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 204:23-205:12. The portions referenced
                   24       by and/or that are most relevant to Plaintiffs’ Motion are highlighted. GFI designated this
                   25       document as “Confidential” when originally produced, but subsequently agreed that they did not
                   26       need to be filed under seal.
                   27              52.     Attached hereto as Exhibit 50 is a true and correct copy of the continuation of the
                   28       February 19, 2019 email exchange between Brad Nussbaum and Shahak Nagiel of Next Century
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                        1   Corp, and produced by GFI with the Bates No. GFI000067. This was also marked as Exhibit 34
                        2   during the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 218:21-219:11. GFI designated
                        3   this document as “Confidential” when originally produced, but subsequently agreed that they did
                        4   not need to be filed under seal.
                        5          53.     Attached hereto as Exhibit 51 is a true and correct copy of the continuation of the
                        6   February 19, 2019 email exchange between Brad Nussbaum and Shahak Nagiel of Next Century
                        7   Corp, and produced by GFI foundation with the Bates No. GFI000065. This was also marked as
                        8   Exhibit 35 during the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 226:19-227:10. The
                        9   portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted. GFI
                   10       designated this document as “Confidential” when originally produced, but subsequently agreed
                   11       that they did not need to be filed under seal.
                   12              54.     Attached hereto as Exhibit 52 is a true and correct copy of a February 11, 2020
                   13       email exchange between Brad Nussbaum and Michal Komorowski, which was produced by GFI
                   14       with the Bates No. GFI000114-115. The portions referenced by and/or that are most relevant to
                   15       Plaintiffs’ Motion are highlighted. GFI designated this document as “Confidential” when
                   16       originally produced, but subsequently agreed that they did not need to be filed under seal.
                   17              55.     Attached hereto as Exhibit 53 is a true and correct copy of an email exchange
                   18       between Brad Nussbaum, first from his GFI email account and then from his GraphGrid account,
                   19       and Michał Komorowski of AdForm, spanning between February 14 and 19, 2019 which was
                   20       produced by GFI with the Bates No. GFI000116-118. This was also marked as Exhibit 30 during
                   21       the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 200:15-202:9. The portions referenced by
                   22       and/or that are most relevant to Plaintiffs’ Motion are highlighted. GFI designated this document
                   23       as “Confidential” when originally produced, but subsequently agreed that they did not need to be
                   24       filed under seal.
                   25              56.     Attached hereto as Exhibit 54 is a true and correct copy of an August 22, 2018
                   26       email from John Mark Suhy to Lee Smales at the Department of the Air Force, which was
                   27       produced by the PureThink Defendants on November 19, 2019 and bears the Bates No.
                   28       IGOV0001573588. The portions referenced by and/or that are most relevant to Plaintiffs’ Motion
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
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                        1   are highlighted.
                        2          57.     Attached hereto as Exhibit 55 is a true and correct copy of a Global Supply Chain
                        3   Request for Quotation issued to iGov on February 17, 2020, which was produced by the
                        4   PureThink Defendants and bears the Bates No. IGOV0002851527.001- IGOV0002851527.005.
                        5   This was also marked as Exhibit 36 during the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at
                        6   235:21-236:17. The PureThink Defendants designated this document as “Confidential” under the
                        7   Protective Order.
                        8          58.     Attached hereto as Exhibit 56 is a true and correct copy of an email exchange
                        9   between John Mark Suhy and Donald Robertson occurring between May 19 and June 20, 2018,
                   10       which was produced by the PureThink Defendants on November 19, 2019, and bears the Bates
                   11       No. IGOV0001570157.001- IGOV0001570157.004. This was also authenticated and marked as
                   12       Exhibit 15 during the Rule 30(b)(6) deposition of GFI (Exhibit 31 at 157:10-17) and Exhibit 23
                   13       during the Rule 30(b)(6) deposition of iGov (Exhibit 3 at 189:1-190:6).
                   14              59.     Attached hereto as Exhibit 57 is a true and correct copy of a printout of GFI’s
                   15       webpage, https://www.graphfoundation.org/projects/ongdb/ as it appeared on September 24, 2019
                   16       and was produced by Plaintiffs with the Bates No. N4J-GFI_000092- N4J-GFI_000094. This
                   17       was also authenticated and marked as Exhibit 21 during the Rule 30(b)(6) deposition of GFI. See
                   18       Exhibit 31 at 157:10-17. The portions referenced by and/or that are most relevant to Plaintiffs’
                   19       Motion are highlighted.
                   20              60.     Attached hereto as Exhibit 58 is a true and correct copy of the landing page for
                   21       GFI’s GitHub repository for ONgDB, https://www.graphfoundation.org/projects/ongdb/ as it
                   22       existed on September 25, 2019, which I printed out that day and produced by Plaintiffs with the
                   23       Bates No. N4J-GFI_000297- N4J-GFI_000299. It was also attached as Exhibit E to Neo4j Inc.’s
                   24       First Set of Requests for Admissions and its authenticity was admitted by GFI in response to RFA
                   25       No. 73. See Exhibits 128-129. The portions referenced by and/or that are most relevant to
                   26       Plaintiffs’ Motion are highlighted.
                   27              61.     Attached hereto as Exhibit 59 is a true and correct copy of the landing page for
                   28       Plaintiffs’ GitHub repository for Neo4j® Software, https://github.com/neo4j/neo4j as it existed
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
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                        1   on September 26, 2019, which I printed out on that day and produced by Plaintiffs with the Bates
                        2   No. N4J_019038 - N4J_019040. The portions referenced by and/or that are most relevant to
                        3   Plaintiffs’ Motion are highlighted.
                        4          62.     Attached hereto as Exhibit 60 is a true and correct copy of the landing page for
                        5   GFI’s GitHub repository for ONgDB, https://www.graphfoundation.org/projects/ongdb/ as it
                        6   existed on November 9, 2020, which I printed out that day and produced by Plaintiffs with the
                        7   Bates No. N4J_019945-N4J_019948. The portions referenced by and/or that are most relevant to
                        8   Plaintiffs’ Motion are highlighted.
                        9          63.     Attached hereto as Exhibit 61 is a true and correct copy of a January 31, 2019
                   10       tweet issued from GFI’s Twitter account, which I printed out on July 19, 2020 and produced in
                   11       this litigation with the Bates No. N4J_018667- N4J_018668. This was authenticated and marked
                   12       as Exhibit 22 during the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 169:13-170:25.
                   13              64.     Attached hereto as Exhibit 62, is a true and correct copy of an December 4, 2018
                   14       capture of iGov’s https://igovsol.com/neo4j.html webpage from the Wayback Machine, a digital
                   15       archive of the World Wide Web (https://web.archive.org), which I printed out on August 12, 2020
                   16       and produced in this litigation bearing the Bates No. N4J_018824 - N4J_018833. The portions
                   17       referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   18              65.     Attached hereto as Exhibit 63, is a true and correct copy of a capture of iGov’s
                   19       https://igovsol.com/neo4j.html webpage that reveals some embedded html links, which I printed
                   20       out on October 2, 2019 and was produced bearing the Bates No. N4J_018842-N4J_018851. This
                   21       was marked as Exhibit 13 during the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at 114:9-22.
                   22       This same capture was also produced with the Bates No. N4J_013010 N4J_013019 and its
                   23       authenticity was admitted by iGov in response to Neo4j Sweden’s Request for Admission No. 4.
                   24       See Exhibit 13. The portions referenced by and/or that are most relevant to Plaintiffs’ Motion are
                   25       highlighted.
                   26              66.     Attached hereto as Exhibit 64, is a true and correct copy of a capture of iGov’s
                   27       https://igovsol.com/neo4j.html webpage that reveals some embedded html links, which I printed
                   28       out on July 27, 2020 and was produced bearing the Bates No. N4J_018892- N4J_018900. This
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                        1   was also marked as Exhibit 14 during the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at
                        2   116:20-118:10. The portions referenced by and/or that are most relevant to Plaintiffs’ Motion are
                        3   highlighted.
                        4          67.     Attached hereto as Exhibit 65, is a true and correct copy of a graphical capture of
                        5   iGov’s https://igovsol.com/neo4j.html webpage, which I printed out on July 27, 2020 and was
                        6   produced bearing the Bates No. N4J_018901- N4J_018910. The portions referenced by and/or
                        7   that are most relevant to Plaintiffs’ Motion are highlighted.
                        8          68.     Attached hereto as Exhibit 66, is a true and correct copy of an October 22, 2020
                        9   capture of iGov’s https://igovsol.com/graph.html webpage from the Wayback Machine, a digital
                   10       archive of the World Wide Web (https://web.archive.org), which I printed out on November 11,
                   11       2020 and bears Bates No. N4J_019949-N4J_019958. The portions referenced by and/or that are
                   12       most relevant to Plaintiffs’ Motion are highlighted.
                   13              69.     Attached hereto as Exhibit 67, is a true and correct copy of an July 5, 2019
                   14       capture of iGov’s https://igovsol.com/downloads.html webpage from the Wayback Machine, a
                   15       digital archive of the World Wide Web (https://web.archive.org), which I printed out on
                   16       November 11, 2020 and bears Bates No. N4J_019959-N4J_019963. The portions referenced by
                   17       and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   18              70.     Attached hereto as Exhibit 68, is a true and correct copy of a capture of iGov’s
                   19       https://igovsol.com/downloads.html webpage that reveals some embedded html links, which I
                   20       printed out on October 2, 2019 and was produced bearing the Bates No. N4J_018836 -
                   21       N4J_018841. This same capture was also produced with the Bates No. N4J_013010 N4J_013019
                   22       and its authenticity was admitted by iGov in response to Neo4j Sweden’s Request for Admission
                   23       No. 10 (Exhibit C thereto). See Exhibit 13. The portions referenced by and/or that are most
                   24       relevant to Plaintiffs’ Motion are highlighted.
                   25              71.     Attached hereto as Exhibit 69, is a true and correct copy of a capture of iGov’s
                   26       https://igovsol.com/downloads.html webpage that reveals some embedded html links, which I
                   27       printed out on July 27, 2020 and was produced bearing the Bates No. N4J_018884 - N4J_018887.
                   28       The portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
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                        1          72.     Attached hereto as Exhibit 70, is a true and correct copy of an October 22, 2020
                        2   capture of iGov’s https://igovsol.com/downloads.html webpage from the Wayback Machine, a
                        3   digital archive of the World Wide Web (https://web.archive.org), which I printed out on
                        4   November 11, 2020, and bears Bates No. N4J_019964-N4J_019967. The portions referenced by
                        5   and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                        6          73.     Attached hereto as Exhibit 71, is a true and correct copy of an July 5, 2019
                        7   capture of iGov’s https://igovsol.com/index.html webpage from the Wayback Machine, a digital
                        8   archive of the World Wide Web (https://web.archive.org), which I printed out on November 11,
                        9   2020, and bears Bates No. N4J_019968-N4J_019969. The portions referenced by and/or that are
                   10       most relevant to Plaintiffs’ Motion are highlighted.
                   11              74.     Attached hereto as Exhibit 72, is a true and correct copy of a capture of iGov’s
                   12       https://igovsol.com/index.html webpage that reveals some embedded html links, which I printed
                   13       out on October 1, 2019 and was produced bearing the Bates No. N4J_018834-N4J_018835. The
                   14       portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   15              75.     Attached hereto as Exhibit 73, is a true and correct copy of a capture of iGov’s
                   16       https://igovsol.com/index.html webpage that reveals some embedded html links, which I printed
                   17       out on July 27, 2020 and was produced bearing the Bates No. N4J_018890-N4J_018891. The
                   18       portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   19              76.     Attached hereto as Exhibit 74, is a true and correct copy of an October 22, 2020
                   20       capture of iGov’s https://igovsol.com/index.html webpage from the Wayback Machine, a digital
                   21       archive of the World Wide Web (https://web.archive.org), which I printed out on November 11,
                   22       2020, and bears Bates No. N4J_019970-N4J_019971. The portions referenced by and/or that are
                   23       most relevant to Plaintiffs’ Motion are highlighted.
                   24              77.     Attached hereto as Exhibit 75, is a true and correct copy of an September 13, 2020
                   25       capture of iGov’s https://graphstack.io/webpage/ from the Wayback Machine, a digital archive of
                   26       the World Wide Web (https://web.archive.org), which I printed out on October 22, 2020 and
                   27       bears the Bates No. N4J_018816-N4J_018818. The portions referenced by and/or that are most
                   28       relevant to Plaintiffs’ Motion are highlighted.
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                        1          78.     Attached hereto as Exhibit 76 is a true and correct copy of an email exchange
                        2   between John Mark Suhy and Jyothi Viswanadham at Daytona Technologies Ltd. between March
                        3   8 and March 10, 2019, which was produced by the PureThink Defendants on November 19, 2019
                        4   and bears the Bates No. IGOV0001573375.0001 - IGOV0001573375.0002. The portions
                        5   referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                        6          79.     Attached hereto as Exhibit 77 is a true and correct copy of a January 25, 2019
                        7   email from John Mark Suhy to Ron Turner of XpressRules, which was produced by the
                        8   PureThink Defendants on November 19, 2019, and bears the Bates No. IGOV0001573421. The
                        9   portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   10              80.     Attached hereto as Exhibit 78 is a true and correct copy of a January 10, 2019
                   11       capture of Neo4j’s https://neo4j.com/docs/developer-manual/3.4/ webpage from the Wayback
                   12       Machine, a digital archive of the World Wide Web (https://web.archive.org), which I printed out
                   13       on October 13, 2020, and was produced with the Bates No. N4J_019917.
                   14              81.     Attached hereto as Exhibit 79 is a true and correct copy of Neo4j USA’s
                   15       https://neo4j.com/docs/developer-manual/3.4/ webpage that I printed out on October 13, 2020,
                   16       and was produced with the Bates No. N4J_019916.
                   17              82.     Attached hereto as Exhibit 80 is a true and correct copy of a January 10, 2019
                   18       capture of Neo4j USA’s https://neo4j.com/docs/operations-manual/3.4/ webpage from the
                   19       Wayback Machine, a digital archive of the World Wide Web (https://web.archive.org), which I
                   20       printed out on October 13, 2020 and was produced with the Bates No. N4J_019934-N4J_019935.
                   21              83.     Attached hereto as Exhibit 81 is a true and correct copy of Neo4j USA’s
                   22       https://neo4j.com/docs/operations-manual/3.4/ webpage that I printed out on October 13, 2020
                   23       and was produced with the Bates No. N4J_019910-N4J_019911.
                   24              84.     Attached hereto as Exhibit 82 is a true and correct copy of an August 20, 2019
                   25       capture of Neo4j USA’s https://neo4j.com/docs/operations-manual/3.5/ webpage from the
                   26       Wayback Machine, a digital archive of the World Wide Web (https://web.archive.org), which I
                   27       printed out on October 13, 2020 and was produced with the Bates No. N4J_019932-N4J_019933.
                   28              85.     Attached hereto as Exhibit 83 is a true and correct copy of Neo4j USA’s
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                        1   https://neo4j.com/docs/operations-manual/3.5/ webpage that I printed out on October 13, 2020
                        2   and was produced with the Bates No. N4J_019906-N4J_019907.
                        3          86.     Attached hereto as Exhibit 84 is a true and correct copy of a September 30, 2020
                        4   capture of GFI’s ONgDB 3.5 Changelog located at
                        5   https://github.com/graphfoundation/ongdb/wiki/ONgDB-3.5-Changelog, which I downloaded
                        6   from the Wayback Machine, a digital archive of the World Wide Web (https://web.archive.org),
                        7   bearing Bates No. N4J_019972-N4J_019973.
                        8          87.     Attached hereto as Exhibit 85 is a true and correct copy of an August 20, 2019
                        9   capture of Neo4j USA’s https://neo4j.com/docs/license/ webpage from the Wayback Machine, a
                   10       digital archive of the World Wide Web (https://web.archive.org), which I printed out on October
                   11       13, 2020. This was also authenticated and marked as Exhibit 46 during the Rule 30(b)(6)
                   12       deposition of GFI. See Exhibit 31 at 286:2-.287:16.
                   13              88.     Attached hereto as Exhibit 86 is a true and correct copy of an October 25, 2018,
                   14       tweet issued from GFI’s Twitter account, which I printed out on November 12, 2020, and bears
                   15       Bates No. N4J_019976-N4J_019976.
                   16              89.     Attached hereto as Exhibit 87 is a true and correct copy of a series of November
                   17       17, 2018 tweets issued from GFI’s Twitter account, which I printed out on May 20, 2020 and was
                   18       produced with the Bates No. N4J_018661- N4J_018662. This was also authenticated and marked
                   19       as Exhibit 18 during the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 137:10-138:1.
                   20              90.     Attached hereto as Exhibit 88 is a true and correct copy of a January 23, 2019,
                   21       tweet issued from GFI’s Twitter account, which I printed out on May 20, 2020 and was produced
                   22       with the Bates No. N4J_018663.
                   23              91.     Attached hereto as Exhibit 89 is a true and correct copy of a March 17, 2019 tweet
                   24       issued from GFI’s Twitter account, which I printed out on August 13, 2020 and was produced
                   25       with the Bates No. N4J_018664. This was also authenticated and marked as Exhibit 38 during
                   26       the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 233:11-24.
                   27              92.     Attached hereto as Exhibit 90 is a true and correct copy of a March 21, 2019 tweet
                   28       issued from GFI’s Twitter account, which I printed out on November 5, 2020, and bears Bates
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                        1   No. N4J_019977-N4J_019977.
                        2          93.     Attached hereto as Exhibit 91 is a true and correct copy of a March 21, 2019 tweet
                        3   issued from GFI’s Twitter account, which I printed out on August 13, 2020 and was produced
                        4   with the Bates No. N4J_018665.
                        5          94.     Attached hereto as Exhibit 92 is a true and correct copy of a May 10, 2019 tweet
                        6   issued from GFI’s Twitter account, which I printed out on August 13, 2020 and was produced
                        7   with the Bates No. N4J_018666. This was also authenticated and marked as Exhibit 39 during
                        8   the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 240:12-24.
                        9          95.     Attached hereto as Exhibit 93 is a true and correct copy of an October 9, 2019
                   10       tweet issued from GFI’s Twitter account, which I printed out on October 13, 2020 and was
                   11       produced with the Bates No. N4J_019695. This was also authenticated and marked as Exhibit 40
                   12       during the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 243:23-244:14.
                   13              96.     Attached hereto as Exhibit 94 is a true and correct copy of a November 27, 2019
                   14       tweet issued from GFI’s Twitter account, which I printed out on August 13, 2020 and was
                   15       produced with the Bates No. N4J_018671. This was also authenticated and marked as Exhibit 41
                   16       during the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 245:13-246:4.
                   17              97.     Attached hereto as Exhibit 95 is a true and correct copy of a January 18, 2020
                   18       tweet issued from GFI’s Twitter account, which I printed out on August 13, 2020 and was
                   19       produced with the Bates No. N4J_018672. This was also authenticated and marked as Exhibit 42
                   20       during the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 247:23-248:4.
                   21              98.     Attached hereto as Exhibit 96 is a true and correct copy of a May 19, 2020 tweet
                   22       issued from GFI’s Twitter account, which I printed out on August 13, 2020 and was produced
                   23       with the Bates No. N4J_018673. This was also authenticated and marked as Exhibit 43 during
                   24       the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 249:9-249:20.
                   25              99.     Attached hereto as Exhibit 97 is a true and correct copy of is a true and correct
                   26       copy of a September 25, 2019 tweet issued from John Mark Suhy’s Twitter account in response to
                   27       several other tweets, which I printed out on October 19, 2020. This was also authenticated and
                   28       marked as Exhibit 37 during the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at 246:5-12.
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                        1   The portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted
                        2          100.    Attached hereto as Exhibit 98 is a true and correct copy of is a true and correct
                        3   copy of a December 5, 2019 tweet issued from John Mark Suhy’s Twitter account in response to
                        4   several other tweets, which I printed out on May 18, 2020 and was produced with the Bates No.
                        5   N4J_018946- N4J_018948. The portions referenced by and/or that are most relevant to
                        6   Plaintiffs’ Motion are highlighted.
                        7          101.    Attached hereto as Exhibit 99 is a true and correct copy of is a true and correct
                        8   copy of a December 15, 2019 tweet issued from John Mark Suhy’s Twitter account in response to
                        9   several other tweets, which I printed out on May 19, 2020 and was produced with the Bates No.
                   10       N4J_018949- N4J_018950. The portions referenced by and/or that are most relevant to
                   11       Plaintiffs’ Motion are highlighted.
                   12              102.    Attached hereto as Exhibit 100 is a true and correct copy of is a true and correct
                   13       copy of a January 10, 2020 tweet issued from John Mark Suhy’s Twitter account in response to
                   14       another tweet, which I printed out on October 19, 2020. This was also authenticated and marked
                   15       as Exhibit 39 during the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at 250:1-24. The
                   16       portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   17              103.    Attached hereto as Exhibit 101 is a true and correct copy of is a true and correct
                   18       copy of January 24, 2020 tweets and a January 29, 2020 tweet issued from John Mark Suhy’s
                   19       Twitter account, which I printed out on October 19, 2020. This was also authenticated and
                   20       marked as Exhibit 38 during the Rule 30(b)(6) deposition of iGov. See Exhibit 3 at 248:9-249:16.
                   21              104.    Attached hereto as Exhibit 102 is a true and correct copy of is a true and correct
                   22       copy of an April 2, 2020 tweet issued from John Mark Suhy’s Twitter account in response to
                   23       several other tweets, which I printed out on May 20, 2020 and was produced with the Bates No.
                   24       N4J_018989-N4J_018990. The portions referenced by and/or that are most relevant to Plaintiffs’
                   25       Motion are highlighted.
                   26              105.    Attached hereto as Exhibit 103 is a true and correct copy of is a true and correct
                   27       copy of two August 22, 2020 tweets issued from John Mark Suhy’s Twitter account in response
                   28       to several other tweets, which I printed out on August 22, 2020 and was produced with the Bates
H OPKINS & C ARLEY
  ATTORNEYS AT LAW
                            842\3639273.5                                      - 18 -
 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
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                        1   No. N4J_019019-N4J_019020. The portions referenced by and/or that are most relevant to
                        2   Plaintiffs’ Motion are highlighted.
                        3          106.    Attached hereto as Exhibit 104 is a true and correct copy of is a true and correct
                        4   copy of a February 23, 2019 tweet issued from John Mark Suhy’s Twitter account in response to
                        5   several other tweets, which I printed out on October 2, 2019 and was produced with the Bates No.
                        6   N4J_018927.
                        7          107.    Attached hereto as Exhibit 105 is a true and correct copy of a January 23, 2019,
                        8   tweet issued from GFI’s Twitter account that appeared in John Mark Suhy’s twitter feed as being
                        9   retweeted (highlighted for reference), which I printed out on July 19, 2020 and was produced with
                   10       the Bates No. N4J_018921-N4J_018922.
                   11              108.    Attached hereto as Exhibit 106 is a true and correct copy of a January 31, 2019,
                   12       tweet issued from GFI’s Twitter account that appeared in John Mark Suhy’s twitter feed as being
                   13       retweeted (highlighted for reference), which I printed out on July 19, 2020 and was produced with
                   14       the Bates No. N4J_018923-N4J_018924.
                   15              109.    Attached hereto as Exhibit 107 is a true and correct copy of a March 17, 2019,
                   16       tweet issued from GFI’s Twitter account that appeared in John Mark Suhy’s twitter feed as being
                   17       retweeted (highlighted for reference), which I printed out on July 19, 2020 and was produced with
                   18       the Bates No. N4J_018928-N4J_018929. The portions referenced by and/or that are most relevant
                   19       to Plaintiffs’ Motion are highlighted.
                   20              110.    Attached hereto as Exhibit 108 is a true and correct copy of a March 21, 2019,
                   21       tweet issued from GFI’s Twitter account that appeared in John Mark Suhy’s twitter feed as being
                   22       retweeted (highlighted for reference), which I printed out on July 19, 2020 and was produced with
                   23       the Bates No. N4J_018930-N4J_018931.
                   24              111.    Attached hereto as Exhibit 109 is a true and correct copy of a May 10, 2019, tweet
                   25       issued from GFI’s Twitter account that appeared in John Mark Suhy’s twitter feed as being
                   26       retweeted (highlighted for reference), which I printed out on July 19, 2020 and was produced with
                   27       the Bates No. N4J_018934-N4J_018935.
                   28              112.    Attached hereto as Exhibit 110 is a true and correct copy of a November 27, 2019,
H OPKINS & C ARLEY
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                            842\3639273.5                                      - 19 -
 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
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                        1   tweet issued from GFI’s Twitter account that appeared in John Mark Suhy’s twitter feed as being
                        2   retweeted (highlighted for reference), which I printed out on July 19, 2020 and was produced with
                        3   the Bates No. N4J_018942-N4J_018943.
                        4          113.    Attached hereto as Exhibit 111 is a true and correct copy of a January 18, 2020,
                        5   tweet issued from GFI’s Twitter account that appeared in John Mark Suhy’s twitter feed as being
                        6   retweeted (highlighted for reference), which I printed out on July 19, 2020 and was produced with
                        7   the Bates No. N4J_018965-N4J_018966.
                        8          114.    Attached hereto as Exhibit 112 is a true and correct copy of a printout GFI’s
                        9   webpage https://www.graphfoundation.org/1000th-ongdb-open-neo4j-enterprise-3-5-download-
                   10       iequoh3ja/ as it appeared on September 25, 2019 that I printed out and was produced by Plaintiffs
                   11       with the Bates No. N4J_018701-N4J_018703.
                   12              115.    Attached hereto as Exhibit 113 is a true and correct copy of a printout of GFI’s
                   13       webpage https://www.graphfoundation.org/projects/ongdb/ as it appeared on June 10, 2020 that I
                   14       printed out and was produced by Plaintiffs with the Bates No. N4J_018732-N4J_018736. This
                   15       was also authenticated and marked as Exhibit 26 during the Rule 30(b)(6) deposition of GFI. See
                   16       Exhibit 31 at 190:2-16.
                   17              116.    Attached hereto as Exhibit 114 is a true and correct copy of a printout of GFI’s
                   18       webpage https://www.graphfoundation.org/projects/ongdb/ as it appeared on December 9, 2020
                   19       that I printed out and bears the Bates No. N4J_019978-N4J_019981. The portions referenced by
                   20       and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   21              117.    Attached hereto as Exhibit 115 is a true and correct copy of a printout of an issued
                   22       raised on the Neo4j Online Community, which can be found at
                   23       https://community.neo4j.com/t/neo4j-desktop-vs-neo4j-server/3066/ via Neo4j USA’s webpage
                   24       https://community.neo4j.com/, which I printed out on September 13, 2019 and was produced by
                   25       Plaintiffs with the Bates No. N4J-GFI_000008-N4J-GFI_000009. This was also authenticated
                   26       and marked as Exhibit 36 during the Rule 30(b)(6) deposition of GFI (see Exhibit 31 at 229:1-7,
                   27       229:23-232:4 and Exhibit 116) and as Exhibit 27 during the Rule 30(b)(6) deposition of iGov (see
                   28       Exhibit 3 at 208:14-209:6).
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  ATTORNEYS AT LAW
                            842\3639273.5                                      - 20 -
 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
                            FOR SUMMARY JUDGMENT; 5:18-CV-07182-EJD AND 5:19-CV-06226-EJD
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                        1          118.     Attached hereto as Exhibit 116 is a true and correct copy of a January 9, 2019
                        2   email exchange between John Mark Suhy and Benjamin Nussbaum, copying Brad Nussbaum,
                        3   which was produced by Defendants in this litigation and bears the Bates No. IGOV0001570054.
                        4   This email exchange contains the url address, https://community.neo4j.com/t/neo4j-desktop-vs-
                        5   neo4j-server/3066, that matches Exhibit 115 hereto. This was also authenticated and marked as
                        6   Exhibit 37 during the Rule 30(b)(6) deposition of GFI (see Exhibit 31 at 229:1-7, 229:23-232:4
                        7   and Exhibit 116) and as Exhibit 26 during the Rule 30(b)(6) deposition of iGov (see Exhibit 3 at
                        8   207:7-209:6).
                        9          119.     Attached hereto as Exhibit 117, is a true and correct copy of Issue #11821 opened
                   10       on May 19, 2018 on Plaintiffs GitHub repository, https://github.com/neo4j/neo4j/issues/11821 ,
                   11       by John Mark Suhy, which I printed out on June 10, 2020 and was produced with the Bates No.
                   12       N4J_01944-N4J_019452. This was also authenticated and marked as Exhibit 25 during the Rule
                   13       30(b)(6) deposition of iGov. See Exhibit 3 at 201:18-203:3. The portions referenced by and/or
                   14       that are most relevant to Plaintiffs’ Motion are highlighted.
                   15              120.     Attached hereto as Exhibit 118 is a true and correct copy of a continued July 2018
                   16       email exchange between GFI and Bob Trudeau produced by GFI bearing the Bates No.
                   17       GFI000284-286. See Exhibit 28; see also Exhibit 31 at 83:22-84:7. GFI designated this
                   18       document as “Confidential” when originally produced, but subsequently agreed that they did not
                   19       need to be filed under seal.
                   20              121.     Attached hereto as Exhibit 119, is a true and correct copy of a July 9, 2018 email
                   21       exchange between John Mark Suhy, and Lewis Lu and Keshav Nagpal of Gravity iLabs spanning
                   22       December 4 and 5, 2018, which was produced by the PureThink Defendants on November 19,
                   23       2019 and bears the Bates No. IGOV0001573440.0001- IGOV0001573440.0002. The portions
                   24       referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   25              122.     Attached hereto as Exhibit 120 is a true and correct copy of a January 22, 2020
                   26       email from Michael Smolyak of Next Century Corp., copying John Mark Suhy and Shahak
                   27       Nagiel, and produced by GFI with the Bates No. GFI000047. This was also marked as Exhibit 28
                   28       during the Rule 30(b)(6) deposition of GFI. See Exhibit 31 at 198:3-198:24. GFI designated this
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  ATTORNEYS AT LAW
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
                            FOR SUMMARY JUDGMENT; 5:18-CV-07182-EJD AND 5:19-CV-06226-EJD
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                        1   document as “Confidential” when originally produced, but subsequently agreed that they did not
                        2   need to be filed under seal..
                        3          123.    Attached hereto as Exhibit 121 is a true and correct copy of a question posted on
                        4   Stack Overflow, https://stackoverflow.com/company, a self-described “public platform [that] is
                        5   used by nearly everyone who codes to learn, share their knowledge, collaborate, and build their
                        6   careers,” at https://stackoverflow.com/questions/54740366/unable-to-connect-to-neo4j-ongdb-
                        7   browser-when-port-forwarding as it appeared on September 26, 2019 and was produced by
                        8   Plaintiffs with the Bates No. N4J_019552.
                        9          124.    Attached hereto as Exhibit 122 is a true and correct copy of a question posted on
                   10       Stack Overflow, https://stackoverflow.com/company, a self-described “public platform [that] is
                   11       used by nearly everyone who codes to learn, share their knowledge, collaborate, and build their
                   12       careers,” at https://stackoverflow.com/questions/61497333/ongdb-neo4j-not-starting-up as it
                   13       appeared on June 10, 2020 and was produced by Plaintiffs with the Bates No. N4J_019553.
                   14              125.    Attached hereto as Exhibit 123 is a true and correct copy of a question posted on
                   15       Stack Overflow, https://stackoverflow.com/company, a self-described “public platform [that] is
                   16       used by nearly everyone who codes to learn, share their knowledge, collaborate, and build their
                   17       careers,” at https://stackoverflow.com/questions/54802647/gremlin-server-not-starting-with-
                   18       ongdb as it appeared on September 26, 2019 and was produced by Plaintiffs with the Bates No.
                   19       N4J_019544- N4J_019546. This has also been captured by the Wayback Machine at
                   20       https://web.archive.org/web/20190515022009/https://stackoverflow.com/questions/54802647/gre
                   21       mlin-server-not-starting-with-ongdb.
                   22              126.    Attached hereto as Exhibit 124 is a true and correct copy of a question posted on
                   23       Stack Overflow, https://stackoverflow.com/company, a self-described “public platform [that] is
                   24       used by nearly everyone who codes to learn, share their knowledge, collaborate, and build their
                   25       careers,” at https://stackoverflow.com/questions/54224244/loading-large-cypher-file-in-neo4j as
                   26       it appeared on September 13, 2020 and was produced by Plaintiffs with the Bates No.
                   27       N4J_019550.
                   28              127.    Attached hereto as Exhibit 125, is a true and correct copy of Issue #4 opened on
H OPKINS & C ARLEY
  ATTORNEYS AT LAW
                            842\3639273.5                                      - 22 -
 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
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                        1   May 26, 2019 on GFI’s GitHub repository, https://github.com/graphfoundation/ongdb/issues/4,
                        2   by John Mark Suhy, which I printed out on November 11, 2020 and bears the Bates No.
                        3   N4J_0199812-N4J_019983. The portions referenced by and/or that are most relevant to
                        4   Plaintiffs’ Motion are highlighted.
                        5          128.    Attached hereto as Exhibit 126 is a true and correct copy of a February 19, 2020
                        6   email exchange between John Mark Suhy and Keoni Gasparat of Neo4j, which was produced by
                        7   the PureThink Defendants and bears the Bates No. IGOV0002851597.0001 -
                        8   IGOV0002851597.0003. Plaintiffs and the PureThink Defendants have designated this email as
                        9   “Confidential” under the Protective Order.
                   10              129.    Attached hereto as Exhibit 127 is a true and correct copy of an August 2018 email
                   11       email exchange between John Mark Suhy and Michael Dunn of the Internal Revenue Service,
                   12       copying Linkavan Manoharan, Lisa Rosenmerkel and GuoqingWeng, which was produced by the
                   13       PureThink Defendants on November 19, 2019, and bears the Bates No. IGOV0001573217.0001 -
                   14       IGOV0001573217.0003
                   15              130.    Attached hereto as Exhibit 128, is a true and correct copy of Plaintiff Neo4j, Inc.’s
                   16       Request for Admission, Set One, to Defendant Graph Foundation, Inc.
                   17              131.    Attached hereto as Exhibit 129, is a true and correct copy of Graph Foundation,
                   18       Inc.’s Supplemental Objections and Responses to Neo4j, Inc.’s First Set of Requests For
                   19       Admission.
                   20              132.    Attached hereto as Exhibit 130 is a true and correct copy of a July 3, 2018 email
                   21       from John Mark Suhy (without attachment), which was produced by the PureThink Defendants as
                   22       “email-20” and designated by them as Confidential under the Protective Order.
                   23              133.    Attached hereto as Exhibit 131 is a true and correct copy of a February 17, 2020
                   24       email to John Mark Suhy and one of the referenced attachments, T001 Request for Quotation
                   25       Template.docx, which was produced by the PureThink Defendants as “email-11” and designated
                   26       by them as Confidential under the Protective Order. The portions referenced by and/or that are
                   27       most relevant to Plaintiffs’ Motion are highlighted.
                   28              134.    Attached hereto as Exhibit 132 is a true and correct copy of a February 19-20,
H OPKINS & C ARLEY
  ATTORNEYS AT LAW
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
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                        1   2020 email exchange and the referenced attachment, Outward-Pricing-Breakdown-NGC-v1.pdf,
                        2   which was produced by the PureThink Defendants and designated by them as Confidential under
                        3   the Protective Order.
                        4          135.    Attached hereto as Exhibit 133 is a true and correct copy of a January 23-24, 2020
                        5   email exchange, which was produced by the PureThink Defendants with the Bates No. 06-2020-
                        6   000044 and designated by them as Confidential under the Protective Order. The portions
                        7   referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                        8          136.    Attached hereto as Exhibit 134 is a true and correct copy of an April 9-10, 2020
                        9   email exchange, which was produced by the PureThink Defendants with the Bates No. 06-2020-
                   10       000047-06-2020-000049 and designated by them as Confidential under the Protective Order. The
                   11       portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   12              137.    Attached hereto as Exhibit 135 is a true and correct copy of a May 4-5, 2020
                   13       email exchange, which was produced by the PureThink Defendants with the Bates No. 06-2020-
                   14       000050-06-2020-000053 and designated by them as Confidential under the Protective Order. The
                   15       portions referenced by and/or that are most relevant to Plaintiffs’ Motion are highlighted.
                   16              I declare under penalty of perjury under the laws of the United States of America that the
                   17       foregoing is true and correct, and that this declaration was executed on this 11th day of December
                   18       2020, at San Jose, California.
                   19

                   20                                                             /s/ Jeffrey M. Ratinoff
                                                                                 Jeffrey M. Ratinoff
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  ATTORNEYS AT LAW
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 SAN JOSE   PALO ALTO       DECLARATION OF JEFFREY M. RATINOFF IN SUPPORT OF NEO4J, INC. AND NEO4J SWEDEN AB’S CONSOLIDATED MOTION
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                                                 EXHIBIT 1
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                                                                      N4J_000001
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                                                                      N4J_000002
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                                                                      N4J_000003
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                                                 EXHIBIT 2
PureThink
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                                                                                                                                          Call Us: 703-348-3968 | Contact Us




                                                                                                          HOME      CAPABILITIES        CONSULTING          COMPANY




             About PureThink                                       PureThink is a software and information technology services company focusing on government consulting
                                                                   / contracting. Our team is experienced and innovative and this reflects on the overall quality of our
                                                                   products and services.



                                                                                                                          Contact
                About Us         NAICS & SIC Codes
                                                                                                                          Main Office

                Philosophy                                                                                                1902 Campus Commons Drive
                                                                                                                          Suite 101
                To help you succeed, we believe in working closely and cooperatively. Our goal is to ensure               Reston, VA 20191
                everyone on the same page regarding project status, methods and tasks. Our approach is to
                develop software according to an Agile methodology which means we emphasize people and                    Phone: 703-348-3968
                interaction rather than complicated processes and endless documentation.
                                                                                                                          Email: info@purethink.com.
                PureThink provides strategic consulting, business systems development and integration,
                technology solutions, and managed services to federal government agencies, Non Profits and
                commercial companies. We collaboratively help our clients achieve results by identifying mission
                critical issues and implementing innovative and customized solutions that achieve create value
                and desired business results - productivity, speed, margins, technology and relationships. Over
                the years, we have earned a solid reputation for combining our strategic consulting, technology,
                functional and vertical market expertise and innovative delivery model into practical solutions
                that deliver results. Our flexible yet structured approach and integrated methodologies enable
                us to structure engagements to best meet our clients' specific needs. In short, we do what it
                takes to get the job done - on time and on budget.


                Results
https://web.archive.org/web/20131028013419/http://purethink.com/company.html[11/2/2020 10:42:19 AM]                                                             N4J_019932
PureThink
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                Our mission is to bring the greatest value to our clients globally by leveraging our considerable
                depth of resources and experience. We align our approach to the specific business drivers of
                each business we work with. We tailor solutions to best suit different cultural environments,
                industries, and market conditions. We focus on business strategy implementation, not business
                strategy development.


                Distinguishers
                * Past performance in Federal, DOD, and commercial spaces (from small to enterprise) .
                * Our management team is comprised of highly experienced technology professionals.
                * No off-shoring : our resources are all located in the USA.
                * Extensive domain knowledge, adaptability, and experience in emerging technologies,
                methodologies and processes.
                * Security focused. All of our software development professionals must go through
                security training. We were 2011 RSA speakers on security in the cloud.
                * Our company is profitable with zero debt.
                * Our core team has been working together for over 10 years.




https://web.archive.org/web/20131028013419/http://purethink.com/company.html[11/2/2020 10:42:19 AM]                  N4J_019933
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                         EXHIBIT 3

     REDACTED VERSION OF
    DOCUMENT SOUGHT TO BE
           SEALED
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                                                 EXHIBIT 4
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                                                 NEO4J SOLUTION PARTNER AGREEMENT

                                                                                          !
            Partner:                      PureThink LLC                                 Neo Representative:        Erik Nolten;
                                                                                                                   erik.nolten@neotechnology.com
                                                                                                                   Phone: +31 652 721 808
            Address:                      4202 Adrienne Dr                              Address:                   Neo Technology, Inc.
                                                                                                                   111 East 5th Avenue
                                                                                                                   San Mateo, CA 94401

            Contact Name:                 John Mark Suhy Jr                             Phone:                     1-855-636-4532
            Contact Phone:                703-348-3968 x 101                            Web:                       www.neotechnology.com
            Contact Email:                jmsuhy@purethink.com                          E-mail:                    accounting@neotechnology.com


            Support contact 1                                                           Support contact 2
            Name:                         John Mark Suhy                                Name:                      Nikhil Budhiraja
            Email:                        jmsuhy@purethink.com                          Email:                     nikhil@purethink.com
            Mobile:                       703-348-3968 x 101                            Mobile:                    703-348-3968 x 109

            Payment Information       Wire payment information:                         Routing and Transit #: 121140399
                                      Silicon Valley Bank                               SWIFT code: SVBKUS6S
                                      3003 Tasman Drive                                 Credit Account #: 330072 6656
                                      Santa Clara,
                                      CA 95054, USA
            Neo4j Solution Partner Program Fee:
            Agreement Period             1 Year                                         Annual fees:                          USD 1,995.00
            Special condition: Fee is payable with the first Product order/referral.
        Territory. Subject to the terms and conditions of this Agreement, Partner may sell the Products in the following “Territory” (check all that apply). Applicable
        territories: ___X__North America; _____ Central and South America; _____Europe; _____Middle Eastern; _____Africa; _____Japan; ______ India; ____
        Australia and New Zealand; _____Asia Pacific excluding Australia, New Zealand, Japan and India; _________ (Other).
                                                                                        !
   By signing below, “Partner” shall be entitled to the benefits set forth on Exhibit A and Partner acknowledges and agrees to the terms and conditions of the Partner
   Terms attached hereto as Exhibit B effective as of ____09-30-2014_____ (“Effective Date”), by and between Neo Technology, Inc. (“Neo Technology”), a
   corporation having its principal place of business at 111 East Fifth Ave., First Floor, San Mateo, CA 94401 (“Neo Technology”) and the “Partner” below.


   Partner:                                                                            Neo Technology, Inc.

   Name:               PureThink
                        PureThinkLLC LLC                                               Name:           \     
   Title:              \CTO
                         CTO/ Director
                               / Director                                              Title:          \
   Date:               \09-30-2014
                         09-30-2014                                                    Date:           \
                                                                                                       
   Signature:          \                                                               Signature:      \




                                                                                                                                        Witness:
                                                                                                                                     John Mark Suhy

                                                                                                                                    Exhibit 05
                                                                                                                                       10/22/2020 B Gerald
                                                                    NEO TECHNOLOGY INC. CONFIDENTIAL

                                                                                                                                                N4J_000004
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                                          NEO4J SOLUTION PARTNER AGREEMENT
                                                                       Exhibit A
                                                                        Benefits

   In consideration for Partner's pre-payment of applicable fees and ongoing compliance with all of the other terms and conditions of this
   Agreement, and any Exhibits hereto, Neo Technology agrees to offer Partner the non-exclusive benefits described below.
                              NEO4J SOLUTION PARTNER BENEFIT & QUALIFICATION TABLE

    Revenue sharing on sold subscriptions based on price list                                                                    25% or
                                                                                                                                    as
                                                                                                                                otherwise
                                                                                                                                mutually
                                                                                                                                agreed in
                                                                                                                                an order
                                                                                                                                   form

    Referral fee on sold new subscription                                                                                        optional

    Internal use of Neo4j for training and demo purposes                                                                            

    Press release support for customer case studies                                                                                 

    Invitation to Neo events (fees may apply)                                                                                       

    Neo4j Partner Logo Usage                                                                                                        

    Invitation to Product Roadmap Discussions                                                                                       

    Strategic Account Support                                                                                                       

    Listing on Partner Page                                                                                                         

    Access to training and certification program subject to execution of Authorized Training Partner Addendum

    Partner Portal Access                                                                                                          

    Access to Neo4j Support                                                                                                        

    Training discount                                                                                                              20%

    Qualification and Partner Guidelines

    Proven ability to commit and deliver on consulting engagements with high success rate                                           

    Complete and submit Neo Partner Agreement                                                                                       

    2 or more Certified Neo Consultants                                                                                             

    Joint Business & Marketing Plan for Territory                                                                                   

    Generate Case study(s) for joint customer                                                                                       

    Two Annual new customer acquisition target                                                                                      

    Organize Neo4j events                                                                                                           




                                                        NEO TECHNOLOGY INC. CONFIDENTIAL

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                                                       NEO4J SOLUTION PARTNER AGREEMENT
                                                                                                  Exhibit B
                                                                                                Partner Terms


   1.              PARTNER PROGRAM AND ORDERS. In exchange for the payment of applicable fees, Partner will be entitled to the benefits of the Partner Program for described on Exhibit A.
   Partner may submit orders for Products to Neo Technology from time to time. All orders must be consistent with the terms of this Agreement and are subject to Neo Technology’s acceptance or
   rejection. If accepted, Partner shall execute the Neo Technology Order Form and shall: (i) shall cause the applicable End User to execute Neo Technology’s Acknowledgement Form as Neo
   Technology provides to Partner from time to time or (ii) Partner hereby agrees to be responsible and jointly and severally liable for all of the End User/Licensee obligations found at
   http://www.neotechnology.com/terms/enduser-partner-us/ with respect to (a) the State of Maryland as the End User/Licensee under such terms and (b) with respect to any other governmental entity
   that Neo Technology approves of in a mutually agreed upon Neo Technology Order Form. All licenses to use the Products will be between Neo Technology and the applicable End User. Partner will
   inform Neo Technology of the status of each Product order renewal in writing at least thirty (30) days before the expiration date of each End User’s subscription license period. In the event Partner
   fails to notify Neo Technology within the thirty (30) day period described above, Neo Technology may, in its sole discretion, renew the Product subscription directly with the End User.

   2.            PAYMENTS AND FEES.

   2.1            Partner Program Fees. During the term of this Agreement, Partner will pay to Neo Technology the annual Partner Program fees as specified on the front page of this Agreement. The
   first year’s annual Program fees are due on the Effective Date of this Agreement. Thereafter, the annual Program fees for renewal years will be invoiced at the then current annual Partner Program
   fees and such renewal Partner Program fees will be invoiced annually in advance on each anniversary of the Effective Date of this Agreement.

   2.2            Product Orders and Fees. Fees for orders for subscriptions to the Products, including for renewals subject to Section 1, will be at the discounted prices set forth in Exhibit A and will be
   invoiced in advance after Neo Technology’s Acknowledgement Form is executed by Partner and the End User or as otherwise set forth in Section 1. Partner shall not enable any End User to
   download, install or use the Products unless and until the End User has duly executed Neo Technology’s Acknowledgement Form or as otherwise set forth in Section 1. Neo Technology shall have
   the right to modify the discounted prices set forth in Exhibit A at any time. Neo Technology will provide the renewal amount to Partner for each End User renewal within a reasonable period of time
   after Partner informs Neo Technology of the status of each Product order renewal as set forth in Section 1 above.

   2.3           Taxes/Duties. All fees and charges payable by Partner under this Agreement are exclusive of any (a) duties or (b) present or future sales, use, value added, excise, or other
   governmental or similar taxes applicable to this Agreement. Neo Technology will separately itemize any applicable taxes and duties of which it is aware on each invoice, unless Partner furnishes Neo
   Technology with a properly executed tax exemption certificate certifying that it does not owe such taxes and duties. Partner will be responsible for paying any applicable taxes and duties currently or
   hereafter assessed by a government agency, other than taxes based on Neo Technology’s net income. If all or any part of any payment owed to Neo Technology under this Agreement is withheld,
   based upon a claim that such withholding is required pursuant to the tax laws of any country or its political subdivisions and/or any tax treaty between the U.S. and any such country, such payment
   shall be increased by the amount necessary to result in a net payment to Neo Technology of the amounts otherwise payable under this Agreement.

   2.4         Payment. Unless otherwise indicated in addendums to this Agreement, payments of all invoices: (a) will be paid within thirty (30) days of the date of the invoice; and (b) will be made in
   EUROS or U.S. dollars as set forth on the front page of this Agreement or as Neo Technology otherwise specifies without right of set off or chargeback. All fees are non-refundable. All amounts not
   paid when due are subject to a late fee of the lesser of one percent (1%) per month or the maximum amount allowable by law.

   2.5           Notification of Changes. Neo Technology will provide Partner with sixty (60) days written notice of any changes in the Partner program benefits set forth on Exhibit A.

   2.6          Audit Rights. Partner will, during this Agreement and for a period of one (1) year after termination, maintain records relating to its performance under this Agreement. Partner agrees
   that Neo Technology, upon at least ten (10) days prior written notice during business hours may at its own cost and expense directly or through an agent inspect such accounts, records and other
   information as may be required to verify Partner’s compliance with this Agreement. The cost of the audit will be borne by Neo Technology unless the audit reveals an underpayment by Partner to Neo
   Technology, in which case Partner will immediately pay the amount of the underpayment and will pay for the cost of the audit.

   3.             CONFIDENTIALITY. Each party acknowledges that it acquires only the right to use the other party's Confidential Information under the terms and conditions of this Agreement and does
   not acquire any rights of ownership or title in the other party's Confidential Information. Each party will hold in confidence any Confidential Information received by it from the other and will protect the
   confidentiality of such with the same degree of care that it exercises with respect to its own information of like import, but in no event less than reasonable care, for a period of five (5) years from
   receipt. Each party will only disclose Confidential Information to its employees, agents, representatives and authorized contractors (collectively “Representatives”) having a need to know for the
   purposes of this Agreement. Each party will notify and inform such Representatives of each party's limitations, duties, and obligations regarding use, access to, and nondisclosure of
   Confidential Information and will obtain or have obtained its Representatives' agreements to comply with such limitations, duties, and obligations with regard to such Confidential
   Information no less restrictive than those contained herein. Each party is liable for all acts and omissions of the Representatives related to the other party’s Confidential Information. Each party
   agrees to give notice to the other party immediately after learning of or having reason to suspect a breach of any of the proprietary restrictions set forth in this Section. In the event that a party is
   required to disclose Confidential Information pursuant to any applicable statute, regulation or order of a court of competent jurisdiction, that party will use commercially reasonable efforts to notify the
   other party of the required disclosure.

   4.            LICENSES AND OWNERSHIP.

   4.1            Licenses. Neo Technology hereby grants to Partner a non-exclusive, non-transferable limited license during the term of this Agreement to: (i) use the Products solely to demonstrate
   the Products to potential customers in connection with its performance under this Agreement; (ii) provided that Partner has executed an Authorized Training Partner Addendum, use the Products to
   provide training and Level 1 and Level 2 Support to End Users that have licensed the Products from Neo Technology, with all such Support as described on Exhibit C; (iii) use the Neo Technology
   trademarks solely to market and promote the Products in accordance with the terms of this Agreement; and (iv) market and resell licenses to the Products (in object code only) to End Users, for use
   by End Users for their internal business purposes and subject to the End Users’ agreement to Neo Technology’s Acknowledgement Form and license agreement or as otherwise set forth in Section 1.
    Partner will use Neo Technology trademarks only in accordance with Neo Technology’s then-current trademark usage guidelines. Any use by Partner of Neo Technology trademarks will inure to the
   benefit of Neo Technology Neo Technology will provide Partner with Level 3 Support as described on Exhibit C.

   4.2           Pre-Existing Technology. Each party acknowledges and agrees that, as between the parties, each party is and will remain the sole and exclusive owner of all right, title, and interest in
   and to its pre-existing technology, and all associated Intellectual Property Rights, and that this Agreement does not affect such ownership. Each party acknowledges that it acquires no rights under
   this Agreement to the other party’s pre-existing technology other than the limited rights specifically granted in this Agreement. Neo Technology will own all right, title, and interest in and to all Products
   and derivative works of the Products and all associated Intellectual Property Rights. If Partner acquires any rights, including any Intellectual Property Rights, in the Products or derivative works
   thereof, Partner hereby assigns and agrees to assign to Neo Technology all such rights.

   4.3             Modifications to Pre-Existing Technology. Each party acknowledges and agrees that, as between the parties, each party is and will remain the sole and exclusive owner of all right,
   title, and interest in and to any modifications and/or derivative works to its pre-existing technology regardless of who created such modifications and/or derivative works, and all associated Intellectual
   Property Rights. Each party acknowledges that it acquires no rights under this Agreement to the modifications and/or derivative works of the other party’s pre-existing technology other than the
   limited rights specifically granted in this Agreement.

   4.3           Restrictions.

   4.3.1 During the term of this Agreement, Partner may not use or run on any of Partner’s hardware, or have deployed for internal use, any Neo Technology Community Edition Products for commercial
   or production use. In no event shall Partner reverse engineer, distribute or otherwise use the Products for its own internal use. There are no implied rights. Partner will not fork or bifurcate the
   source code for any Neo Technology Community Edition Products into a separately maintained source code repository so that development done on the original code requires manual work to be
   transferred to the forked software or so that the forked software starts to have features not present in the original software.

   4.3.2 During the term of this Agreement and up until thirty six (36) months after the termination or expiration of this Agreement, Partner may not develop, market, distribute or offer any services
   related to any Neo Technology Community Edition Products, derivative works of such products, or any Partner software code made to work with Neo Technology Community Edition Products
   (including, without limitation, hosting services, training, technical support, configuration and customization services, etc.).

   4.3.3 During the term of this Agreement, Partner will not accept work, enter into a contract or accept an obligation inconsistent or incompatible with Partner’s obligations, or the scope of services to
   be rendered for Neo Technology, under this Agreement. Partner warrants that, to the best of Partner’s knowledge, there is no other existing contract or duty on Partner’s part that conflicts with or is
   inconsistent with this Agreement. Partner agrees to indemnify and hold harmless Neo Technology from any and all losses and liabilities incurred or suffered by Neo Technology by reason of the
   alleged breach by Partner of any services agreement between Partner and any third party.

   4.3.4 Partner shall conduct and perform its obligations under this Agreement in a manner that reflects favorably on Neo Technology at all times. Partner shall not make any representations or
   warranties regarding Neo Technology or the Products. Partner agrees to indemnify, defend and hold harmless Neo Technology from any and all claims arising from any representations or warranties
   made by Partner regarding Neo Technology and/or Product(s) and/or Neo Technology Services. Partner may not approach any End Users who purchased Products directly from Neo Technology for
   the purpose of renewing or upgrading the End User’s subscription to the Products through Partner.

   5.        DISCLAIMER. NEO TECHNOLOGY MAKES NO WARRANTIES REGARDING THE PRODUCTS OR ANY INFORMATION PROVIDED BY NEO TECHNOLOGY HEREUNDER,
   EITHER EXPRESS OR IMPLIED, INCLUDING BUT NOT LIMITED TO WARRANTIES OF MERCHANTABILITY, NON-INFRINGEMENT OR FITNESS FOR A PARTICULAR PURPOSE.

   6.       LIMITATION OF LIABILITY. NEO TECHNOLOGY WILL NOT BE LIABLE FOR ANY INDIRECT, PUNITIVE, SPECIAL, INCIDENTAL, OR CONSEQUENTIAL DAMAGE IN
   CONNECTION WITH OR ARISING OUT OF OR RELATED TO THIS AGREEMENT (INCLUDING LOSS OF BUSINESS, REVENUE, PROFITS, USE, DATA, OR OTHER ECONOMIC
   ADVANTAGE), HOWEVER IT ARISES, WHETHER FOR BREACH OR IN TORT (INCLUDING NEGLIGENCE), EVEN IF NEO TECHNOLOGY HAS BEEN PREVIOUSLY ADVISED OF THE


                                                                              NEO TECHNOLOGY INC. CONFIDENTIAL

                                                                                                                                                                                      N4J_000006
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                                                        NEO4J SOLUTION PARTNER AGREEMENT
   POSSIBILITY OF SUCH DAMAGE. NEO TECHNOLOGY’S AGGREGATE CUMULATIVE LIABILITY FOR CLAIMS RELATING TO THIS AGREEMENT, WHETHER FOR BREACH OR IN TORT,
   WILL BE LIMITED TO THE AMOUNT PAID BY PARTNER TO NEO TECHNOLOGY UNDER THIS AGREEMENT IN THE TWELVE (12) MONTHS IMMEDIATELY PRECEDING THE ACT OR
   OMISSION FIRST GIVING RISE TO THE CLAIM. LIABILITY FOR DAMAGES WILL BE LIMITED AND EXCLUDED, EVEN IF ANY EXCLUSIVE REMEDY PROVIDED FOR IN THIS
   AGREEMENT FAILS OF ITS ESSENTIAL PURPOSE.

   7.            TERM AND TERMINATION.

   7.1          Term. This Agreement will commence on the Effective Date, and remain in effect for a period of one (1) year. Thereafter, this Agreement will automatically renew at additional one (1)
   year periods unless either party provides at least sixty (60) days prior written notice to the other party of its intent not to renew.

   7.2           Termination. This Agreement may be terminated by a party for cause immediately if (a) the other ceases to do business, or otherwise terminates its business operations; or (b) the other
   materially breaches any material provision of this Agreement and fails to cure such breach within thirty (30) days of written notice describing the breach. In addition, Neo Technology may terminate
   this Agreement at any time by providing Partner with ninety (90) days prior written notice. This Agreement may be terminated as set forth on Exhibit C.

   7.3                                                                                                                                                         !
                Effect of Termination. Upon termination of this Agreement by either party (a) all rights and licenses of Partner hereunder will terminate and Partner shall cease all communications with
   End Users regarding the Products; and (b) each party will immediately return to the other party all Confidential Information in its possession, custody or control in whichever form held (including all
   copies or embodiments of the Confidential Information) and will cease using any trademarks, service marks and other designations of the other party; and (c) Partner shall pay to Neo Technology all
   outstanding fees. To remove all doubt, except as set forth in this Agreement, it is hereby clarified that Partner will not be entitled to any additional remuneration, or reimbursement of any expenses

                                                                                                           !
   based on the expiration or termination of this Agreement. An addendum to this Agreement may specify additional effects of termination of this Agreement. After any termination of this Agreement,
   Neo Technology shall not be restricted in any manner from licensing or contracting with End Users.

   7.4           Survival. In addition to any provisions set forth on an addendum to this Agreement that expressly survive termination or expiration of this Agreement, any definitions any payment
   obligations that accrued prior to the effective termination or expiration date and Sections 2.6, 3, 4.2, 4.3.2 (as set forth therein), 4.3.4, 5, 6, 7, 8, 10 and 11 will survive the expiration or termination of
   this Agreement.
   8.            INDEMNITY. Partner will indemnify, defend and hold harmless Neo Technology from and against any and all third party claims, suits, actions, demands and proceedings
   against Neo Technology and all losses, costs and liabilities related thereto arising out of or related to any negligence by Partner or any other act or omission of Partner, including
   without limitation any breach of this Agreement by Partner.
   9.            MARKETING
   9.1 Marketing. Provided that Partner complies with all of the obligations herein, Neo Technology will include the Partner company logo and profile on the Neo Technology website. Partner will
   include the Neo Technology company logo on Partner website in accordance with the Neo Technology trademark usage guidelines. Each party may issue a press release announcing that Partner is
   a Partner as the other party approves in writing. Each party will provide a quote from an executive to support the other party’s press release. All marketing activities are subject to approval by both
   Partner and Neo Technology.
   9.2           Surveys. Neo Technology may issues surveys to Partner once per quarter in an effort to improve customer satisfaction. Partner will provide responses within ten (10) business days of
   receipt of each survey.

   10.           GENERAL TERMS.

   10.1    Force Majeure. A party is not liable under this Agreement for non-performance caused by events or conditions beyond that party's control if the party makes reasonable efforts to perform.

   10.2   Relationship of Parties. This Agreement is not intended to create a relationship such as a partnership, franchise, joint venture, agency, or employment relationship. Neither party may act in
   a manner which expresses or implies a relationship other than that of independent contractor, nor bind the other party.

   10.3     Notices. All written notices required by this Agreement must be delivered to the addresses specified above, either in person or by a means evidenced by a delivery receipt. All notices will be
   effective upon receipt.

   10.4    Assignment. Neither party may assign or otherwise transfer any of its rights or obligations under this Agreement, without the prior written consent of the other party; provided, however, either
   party may assign this Agreement without the other party's consent to a parent or subsidiary of such party or in the case of a merger or sale of all or substantially all of its assets or stock.

   10.5    Waiver or Delay. Any express waiver or failure to exercise promptly any right under this Agreement will not create a continuing waiver or any expectation of non-enforcement.

   10.6     Provisions Found Invalid. If any term or provision of this Agreement is found to be invalid under any applicable statute or rule of law then, that provision notwithstanding, this Agreement will
   remain in full force and effect and such provision will be deemed omitted; provided, however, in lieu of such omitted provision there will be added to this Agreement a valid provision which is as nearly
   identical to the omitted provision as possible.

   10.7    Construction. This Agreement has been negotiated by the parties, each of which has been represented by counsel. This Agreement will be fairly interpreted in accordance with its terms,
   without any strict construction in favor of or against either party.

   10.8     Governing Law. Any action related to this Agreement will be governed by the laws of California without regard for its choice of law provisions. The United Nations Convention on Contracts
   for the International Sale of Goods will not apply.

   10.9 Venue. Except as set forth below, the courts seated in San Mateo, California, will have sole and exclusive jurisdiction for all purposes in connection with any action or proceeding that arises
   from, or relates to, this Agreement, and each party hereby irrevocably waives any objection to such exclusive jurisdiction. Notwithstanding anything in this Agreement to the contrary, Neo Technology
   may seek injunctive or other equitable relief in any court of competent jurisdiction to protect any actual or threatened misappropriation or infringement of its intellectual property rights or those of its
   licensors, and Partner hereby submits to the exclusive jurisdiction of such courts and waives any objection thereto on the basis of improper venue, inconvenience of the forum or any other grounds.

   10.10   Export. Partner will not export the Products in violation of the export laws of the United States or of any other country.

   10.11 Non-solicitation. During the term of this Agreement and for a period of one (1) year thereafter Partner will not directly or indirectly, either alone or in association with others, (a) solicit, or
   permit any of its affiliates to solicit, any employee of Neo Technology or its affiliates to leave the employ of Neo Technology or any of its affiliates, or (b) solicit for employment, hire, or engage as an
   independent contractor, or permit any of its affiliates to solicit for employment, hire, or engage as an independent contractor, any person who was employed by Neo Technology or its affiliates;
   provided, that this clause (b) will not apply to any individual whose employment with Neo Technology or any of its affiliates has been terminated for a period of six (6) months or longer and provided
   further that this Section 10.11 will not prohibit general advertisement of employment opportunities not specifically targeting any employee(s) of Neo Technology or its affiliates.

   10.13 Other. This Agreement and attached Exhibit(s) is the entire agreement between the parties. This Agreement supersedes and cancels any prior documents or agreements, whether written or
   oral, regarding the subject matter addressed in this Agreement and attached Exhibit(s). If any terms on Partner’s orders conflict with the terms of this Agreement, the conflicting terms of this
   Agreement shall control. Any preprinted terms on Partner’s purchase order or similar ordering or other document are hereby rejected.


   11.           DEFINITIONS.

   “Confidential Information” means information which has value because it is not generally known and which the disclosing party uses reasonable means to protect and includes without limitation any
   information designated as confidential or proprietary by either party to this Agreement upon disclosure. Confidential Information may include proprietary information of third parties who have granted
   licenses to or have contractual relationships with the disclosing party. Confidential Information excludes information that receiving party can clearly establish by written evidence: (a) was in the
   possession of, or was known by, receiving party prior to its receipt from disclosing party; (b) is or becomes generally known to the public without violation of this Agreement; (c) is obtained by
   receiving party from a third party not under any obligation of confidentiality; or (d) is independently developed by receiving party without use of Confidential Information. Furthermore, disclosure of
   Confidential Information will not be prohibited if disclosure is required by law, regulation or order of a court of competent jurisdiction.

   “End User” means an end customer that may use the Products for their own internal use and not for resale or distribution.

   “Intellectual Property Rights” means all intellectual property rights worldwide arising under statutory or common law or by contract and whether or not perfected, now existing or hereafter filed, issued,
   or acquired, including all: (a) patent rights; (b) rights associated with works of authorship including copyrights and mask work rights; (c) rights relating to the protection of trade secrets and confidential
   information; (d) trademarks, service marks, trade dress and trade names; and (e) any right analogous to those set forth in this Agreement and any other proprietary rights relating to intangible
   property.

   “Neo Technology Community Edition Product” means an open source version of a Neo Technology software product.

   “Products” means the Neo4J commercial software provided by Neo Technology and licensed to the End User.

   “Support” refers generally to the provision of support as described in Exhibit C of this Agreement.




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                                                                  NEO4J SOLUTION PARTNER AGREEMENT

                                                                                                                       Exhibit C
                                                                                                                        Support

   1. Introduction. This Support Summary is an attachment to the Partner Agreement between Neo Technology and the applicable Partner and is automatically deemed part of, and governed by, the Partner Agreement. Unless otherwise
   defined in this Support Summary, any capitalized term used in this Support Summary will have the meaning given it in the Partner Agreement.

   2. Partner’s Support Obligations. Partner will provide First and Second Line Support to End User(s) for the Products. This First and Second Line Support shall be provided in accordance with Neo Technology’s standard Support Terms,
   available at http://neotechnology.com/support-terms, and be provided in the time zone and local language of End User(s) unless agreed otherwise with End User(s) and Neo Technology. Additionally, Partner commits to agreeing with End
   User(s) on the manner in which Partner will provide First and Second Line Support, including the minimum response time(s). Partner will provide for any First and Second Line Support request by End User(s), and will provide Neo Technology
   with a summary of each such agreement.

   3. Deficiencies. In the event an End User is dissatisfied with Partner’s Support, or Neo Technology otherwise reasonably believes that Partner is not providing such Support in accordance with accepted industry standards, then Neo
   Technology will notify Partner in writing and both parties will work together in good faith to resolve the deficiencies. If within thirty (30) days, Neo Technology does not believe, in its sole discretion, that such deficiencies have been resolved,
   Neo Technology may require that Partner cease the provision of Support and allow Neo Technology, or a nominated representative of Neo Technology, to provide such Support directly to the applicable End User(s). In such event, Partner
   agrees to provide reasonable cooperation in the transition of Support to Neo Technology, or the nominated representative of Neo Technology, and, if Partner was paid in advance for future Support, Partner will pay Neo Technology agreed-to
   amounts for the period of Support to be provided by Neo Technology or its nominated representative.

   4. Partner Certification. Partner must meet any certification requirements specified by Neo Technology from time to time in writing, including, without limitation, the requirement to have on Partner’s staff at least two (2) Neo Technology
   certified engineers within six (6) months of the Effective Date. Neo Technology will offer, and Partner may order, training programs in accordance with Neo Technology’s then-current program rates or as agreed by the parties in writing. In
   addition, Partner will comply with any additional certification and training requirements established by Neo Technology from time to time, within ninety (90) days notice from Neo Technology. Support certification is based on a combination of
   performance-based tests and attended training days that measure competency on Products.

   5. Neo Technology’s Support Obligations. For the purposes of Support, Neo Technology will consider Partner as a customer and provide Partner with Second Line Support in accordance with Neo Technology’s standard Support Terms,
   available at http://neotechnology.com/support-terms. Partner will meet all obligations of a customer described in the Support Terms. Partner agrees to contact Neo Technology for Second Line Support only when, after reasonable commercial
   efforts, Partner has identified an issue related specifically to Product and is unable to determine a resolution. If any terms of the Support Terms at http://neotechnology.com/support-terms conflict with any terms of this Exhibit C, the conflicting
   terms of this Exhibit C shall control.

   6. Cooperation. Partner will cooperate with and provide assistance to Neo Technology as Neo Technology may reasonably request in connection with Neo Technology’s Support obligations, including, without limitation, the following:

       6.1. Test Code. Partner will use its best efforts to provide Neo Technology functioning test code that reproduces and isolates the issue in Product. Such test code must be reproducible using systems and tooling available to Neo
       Technology. In addition, Partner will remove extraneous comments and code from the test code provided and to the extent possible, such code will be fully self-contained, automated and will demonstrate the precise issue reported rather
       than other possible problems. If Partner cannot provide test code that reproduces the issue, Partner acknowledges that Neo Technology may be unable to provide a resolution to the issue. In such cases, Neo Technology will work with
       Partner to assist in the development of a test case.

       6.2. Access. Partner will use its best efforts to provide Neo Technology with access (via remote telecommunications and, if applicable, on-site access at the End User’s or Partners premises) to the extent reasonably necessary to allow
       Neo Technology to provide Support. If Partner cannot provide remote access, Neo Technology may be unable to provide a resolution to the issue.

       6.3. Assistance. Partner will provide Neo Technology with a continually-available engineer who will promptly assist Neo Technology with data gathering, testing, and applying all fixes to the applicable environment for Severity Level 1 and
       Severity Level 2 issues.

   7. Data. In connection with any activities provided hereunder, Partner will only share or otherwise disclose data to Neo Technology for which Partner has obtained the rights, and express consent of the data subject, to disclose to Neo
   Technology.

   8. Reporting. Partner will provide Neo Technology with a monthly report detailing the status of all Severity Level 1 and Severity Level 2 Support cases, as defined in the Support Terms, provided to each End User, including all information
   reasonably requested by Neo Technology. Such reports will be provided on the first Friday of every month and cover the previous month’s activities. Partner acknowledges that Neo Technology may change the reporting obligations described
   in this Section, and Partner will comply with any new reporting obligations within thirty (30) days of Neo Technology’s request. The Support report will provide the following:
       •       Case number (provided by Partner to End User)
       •       Partner ID (provided by Neo Technology)
       •       End user name and contact details
       •       Status (e.g. new, open, hold, solved, closed)
       •       Severity Level, based on the categories defined in Neo Technology’s standard Support Terms.
       •       Initial response time; opened and closed date
       •       Responsible support representative
       •       Product
       •       Issue description and type, and root cause description

   9. Exclusions. Neo Technology will not be obliged to provide Support to Partner for any issue arising out of any of the following events:
       •       A failure of hardware, equipment or programs not provided by Neo Technology
       •       Support for any versions of the Product that are not obtained by Partner via the Neo Technology Customer Support Portal
       •       Use in a Production Environment of versions of the Product not marked as 'Generally Available'
       •       Support for any version of the Product in production more than two years from the date of its general availability
       •       Any cause or causes beyond the reasonable control of Neo Technology (e.g. floods, fires, loss of electricity or other utilities)
       •       Partner’s or End User’s failure to comply with operating instructions contained in the Product documentation
       •       Any modification, enhancement or customization of the Product by anyone other than Neo Technology
       •       APIs, interfaces, web services or data formats other than those included with the Product

   10. Other Terms. Neo Technology may modify its processes and requirements from time to time upon reasonable written notice to Partner; provided that any such changes will apply only prospectively.

   11. Termination. Neo Technology reserves the right, at any time, to withdraw the availability of Support for a Product with twelve (12) months prior written notice.




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                                                 EXHIBIT 5
00003677
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             From:     John Mark Suhy jmsuhy@purethink.com
           Subject:    Gov Edition Update
              Date:    July 14, 2015 at 3:37 PM CDT
               To:     David Fauth david.fauth@neotechnology.com

       I am going to send you a breakdown of why we created the Government Edition - since it may not
       be apparent without an explanation.

       I will send you the high level overview so it all makes sense.

       In a nutshell - it was put together specifically for US government procurements to help with sole
       source, GSA pricing negotiations (As no commercial sales and more features for pricing
       justification), and so that price publications to public that are common in govt contracting don't
       alienate other commercial clients or other country government clients.

       Right now for example - with GSA prices public for Enterprise edition it may upset other countries
       and clients who would also want 18% discount. The gov edition addresses all these editions.

       will send details today.


       John Mark Suhy
       PureThink
       jmsuhy@purethink.com
       703-862-7780
       http://purethink.com
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                    EXHIBIT 6

      REDACTED VERSION OF
      DOCUMENT SOUGHT TO
          BE SEALED
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                    EXHIBIT 7

     REDACTED VERSION OF
     DOCUMENT SOUGHT TO
         BE SEALED
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00004185
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             From:     John Mark Suhy jmsuhy@purethink.com
           Subject:    Updated to 3.2
              Date:    May 12, 2017 at 3:17 AM CDT
               To:     Philip Rathle philip@neotechnology.com

       Congrats on product launch! I am running a very large import for IRS on it - just to see how it does.
        I will let you know how it does.

       I will keep you updated. Dave Fauth finally got access after all this time. We put him as a team
       member so you guys have more access. We still haven't done a purchase order with Neo
       because of an issue with the partner agreement hopefully that will be resolved soon. (Some parts
       of Treasury use Neo4j Enterprise under AGPL which will violate their agreement once signed.
       You wouldn't see it via UdC because those pings never get out past firewalls.)

       On another note - Treasury's laptops use a locked down version of Internet Explorer which won't
       let bolt run. (Websocket errors). This is the case for gov agencies as well so be aware that 3.2's
       browser won't function in those cases.

       In the next few weeks I can show you what I built for them if you are imterested in seeing it.


       Talk to you later

       John Mark

       John Mark Suhy
       PureThink
       jmsuhy@purethink.com
       703-862-7780
       https://purethink.com
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                                                 EXHIBIT 9
000226
   DocuSign Envelope ID: BDC97257-6BF7-41BE-81F8-3745ED257574
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                                                                                                                111 East Fifth Avenue.
                                                                                                                 San Mateo, CA 94401
                                                                                                                     (855) 636 - 4532

         May 30, 2017

         PureThink LLC
         4202 Adrienne Dr.
         Alexandria, VA 22309
         Attn: John Mark Suhy Jr.



         To Mr. Suhy:


         Re: PureThink LLC’s (“PureThink”) breach of Neo4j Solution Partner Agreement with Neo Technology, Inc. ("Neo
         Technology") dated September 30, 2014 (“Agreement”)

         I am writing on behalf of Neo Technology. As we have discussed and as you know, PureThink is prohibited from using any
         Neo Technology open source products and from developing, marketing distributing or offering any services related to any
         Neo Technology open source products as set forth in Section 4.3 of the Agreement. From your own admissions in
         conversations with both John Broad and Jason Zagalsky, PureThink uses Neo Technology open source products and has
         distributed and performed services on, and continues to perform services on, Neo Technology open source products for the
         Internal Revenue Service. PureThink has also stated its intent to market and create a consulting business around Neo
         Technology open source products.

         Thus, the purpose of this letter is to provide PureThink with a formal notification of PureThink’s material breach of the
         Agreement under Section 7.2 of the Agreement. If PureThink fails to cure this breach within thirty (30) days of the date of
         this letter by both: (i) entering into an order form for the Internal Revenue Service’s use of Neo4j software with Neo
         Technology in the form provided by Neo Technology and paying the applicable fees to Neo Technology, (ii) executing the
         proposed amendment to the Agreement and (iii) ceasing all use of all Neo Technology open source products and ceasing
         all marketing, distribution, development and services of or for any Neo Technology open source products to Neo
         Technology’s satisfaction except as expressly set forth in the proposed amendment to the Agreement, then the Agreement
         is and will be automatically terminated. Such termination will be effective on the thirtieth day after the date of this letter
         (whether or not Neo Technology provides a subsequent termination notice to PureThink).

         If the Agreement terminates as set forth herein, we would like to remind you of your continuing obligations under the
         Agreement as set forth in Section 7.4 of the Agreement.

         Neo Technology further reserves all of its rights and remedies at law and equity under the Agreement and does not waive
         any rights under the Agreement.

         If you have any questions regarding this letter, please contact John Broad at john.broad@neotechnology.com.

         Sincerely,



              Neo Technology, Inc.

              By:  
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                                                 EXHIBIT 10
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                                                                                                                                 1707521347

                                                  COMMONWEALTH OF VIRGINIA
                                                STATE CORPORATION COMMISSION

                                                                Office of the Clerk

                                                                                                                                    June 23, 2017

              JOHN MARK SUHY JR
              4202 ADRIENNE DR.
              ALEXANDRIA, VA 22309




                                                                       RECEIPT


              RE: iGov Inc.



              ID:08198210

              DON: 17-06-23-5846


              Dear Customer:

              This is your receipt for $75.00 to cover the fee(s) for filing articles of incorporation with this office.

              The effective date of the certificate of incorporation is June 23, 2017.

              If you have any questions, please call (804) 371-9733 or toll-free in Virginia, 1-866-722-2551.




                                                                  Sincerely,




                                                                  Joel H. Peck
                                                                  Clerk of the Commission




              CORPRCPT
              NEWCD
              CISECOM

                                                        P.O. Box 1197, Richmond, VA 23218-1197
                                      Tyler Building, First Floor, 1300 East Main Street, Richmond, VA 23219-3630
                              Clerk's Office (804) 371-9733 or (866) 722-2551 (toll-free in Virginia) www.scc.virginia.gov/clk
   Witness:
John Mark Suhy

Exhibit 02
 10/22/2020 B Gerald
                                                                                                                                      N4J_000156
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                                                                                                   1707521347

                                      COMMONWEALTH OF VIRGINIA
                                    STATE CORPORATION COMMISSION

                                        AT RICHMOND, JUNE 23, 2017


    The State Corporation Commission has found the accompanying articles submitted on behalf of

    iGov Inc.


    to comply with the requirements of law, and confirms payment of all required fees. Therefore, it is
    ORDERED that this


    CERTIFICATE OF INCORPORATION
    be issued and admitted to record with the articles of incorporation in the Office of the Clerk of the
    Commission, effective June 23, 2017.

    The corporation is granted the authority conferred on it by law in accordance with the articles, subject to
    the conditions and restrictions imposed by law.


                                                  STATE CORPORATION COMMISSION




                                                               Judith Williams Jagdmann
                                                               Commissioner




    CORPACPT
    CISECOM
    17-06-23-5846




                                                                                                             N4J_000157
  Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 51 of 1198



eFile
                                                                                                 1707521347
                                       ARTICLES OF INCORPORATION
                                                        OF
                                                    IGOV INC.




   The undersigned, pursuant to Chapter 9 of Title 13.1 of the Code of Virginia, states as follows:


   1.     The name of the corporation is IGov Inc.


   2.     The purpose for which the corporation is formed is to engage in any lawful business not required to
          be specifically set forth in these Articles for which a corporation may be incorporated under the
          Virginia Stock Corporation Act.


   3.     The corporation is authorized to issue 1,500 shares of common stock.


   4.     The name of the corporation's initial registered agent is John Mark Suhy Jr. The initial registered
          agent is an individual who is a resident of Virginia and an initial director of the corporation.


   5.     The address of the corporation's initial registered office, which is identical to the business office of
          the initial registered agent, is 4202 Adrienne Dr., Alexandria, VA 22309. The initial registered
          office is located in Fairfax County, Virginia.


   6.     The following individual is to serve as the initial director of the corporation:


              Name                                         Address

              John Mark Suhy Jr                            4202 Adrienne Dr.

                                                           Alexandria, VA 22309



   7.     The address of the corporation's principal office is 1902 Campus Commons Drive , Suite 101,
          Reston, VA 20191.


   INCORPORATOR:
        Isl       CARRI BROWN Date: June 23, 2017
                  CARRI BROWN




                                                                                                             N4J_000158
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                                                 EXHIBIT 11
00004046
                      Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 53 of 1198

             From:     John Mark Suhy jmsuhy@purethink.com
           Subject:    Re: Follow up
              Date:    March 15, 2017 at 3:35 PM CDT
               To:     John Broad john.broad@neotechnology.com


       If we wanted to not be a partner any more - it would be because of something such as the
       partnership not being profitable, which could be resolved with some collaboration. Having that 3
       year lockout clause removed would mean we can have a fair and more equal discussion on the
       topic , if it ever came up.

       It would simply make it more likely for Neo (or purchaser of Neo) to work with us if you consider us
       valuable. The key is - you would have the ability to decide if we are worth it.

       Leaving it in there provides a mechanism for you to keep in legal Limbo. I could go into many
       scenarios where it could be used against a partner - such as raising partner fees to $100k and
       then canceling contract for cause when a partner could not pay it.

       These are just examples of things I could see Oracle doing.

       I would think your legal team understands that since everything is open source and that someone
       can start a new company to get around this would make this a simple negotiating point that does
       no harm dropping.

       It does not effect non disclosures, etc. If it was important I would think they would have made it
       apply to specific people or corporate officers to prevent them from simply starting another company
       to pass it.

       Also - I could understand it if we were dealing with highly secretive technology or if we were more
       interconnected as partners - it just doesn't fit in the overall context of being a partner.

       Anyway, that is my view. I feel pretty strong about that one as having it removed means we don't
       have to worry about the other ones as much. IE : makes it simple so we can finish and get this
       past us.

       Talk to you later


       On Wed, Mar 15, 2017, 10:21 John Broad <john.broad@neotechnology.com> wrote:
        Please propose what would be a reasonable and keep in mind that this would be waived if Neo
        (or any acquiring party) terminated WITHOUT cause.

            John

            On Wed, Mar 15, 2017 at 6:54 AM John Mark Suhy <jmsuhy@purethink.com> wrote:
             I slept on it - I don't think this agreement is very balanced even with our additions. The 36
             month statement needs to be out if you want this resolved - I am fine with the others. I want to
             save you time and let you know I have no plans on being flexible on that as I have the others.

              If we ever decided we wanted to leave it would be because of lack of revenue , etc and you
              would have the opportunity to make us not want to leave some way.

              Other than that I think we look good..

              John Mark Suhy
              PureThink
              jmsuhy@purethink.com
              703.862.7780
              https://purethink.com
00004047
                  Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 54 of 1198
            On Mar 14, 2017 23:37, "John Broad" <john.broad@neotechnology.com> wrote:
              Thank you, John Mark. It was indeed good to speak today.

              I sent instruction to Chiara this evening to draft language for 4.3.2 and make edits to 7.3 as we discussed this afternoon.

              One potential motivation for the 36 month period: without the 36 month period, there is no deterrent if you decide that you
              want to break the agreement by deliberately operating in breach AND Neo decides to terminate with cause, which would protect
              the brand and assets of Neo Technology.

              I do think that your suggestion, ensures balanced protection for both parties and intend to advocate for this internally.

              That said, please do sleep on all of what we discussed. I hope to have an amendment for you to review tomorrow.

              Thank you again and take care.

              John


              On Tue, Mar 14, 2017 at 8:21 PM, John Mark Suhy <jmsuhy@purethink.com> wrote:
               It was good talking with you today. I will wait for you to come back with the items we
               spoke about.

                  I think we are on the right track. The only item I am not sure about ,and need to sleep on,
                  is the sentence around the 3-year lockout if we are no longer partners. I am not sure if I
                  would want any terms around that clause saying it is only applicable for termination by
                  cause. In other words - if we are not under a partner agreement anymore (for whatever
                  reason) - that 3 year lockout clause would not be applicable.


                  Let me sleep on that but I wanted to let you know before you spend time one just on that
                  specific item.


                  Have a good night.



                  John Mark Suhy
                  PureThink
                  jmsuhy@purethink.com
                  703-862-7780
                  https://purethink.com

           --
           John
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                                                 EXHIBIT 12
000245
   DocuSign Envelope ID: 28425D4E-82C1-4B72-8577-2E8FAC23ED2B
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                                                                                                                111 East Fifth Avenue
                                                                                                                San Mateo, CA 94401
                                                                                                                     (855) 636 - 4532
         July 11, 2017

         PureThink LLC
         Attn: John Mark Suhy Jr.
         4202 Adrienne Dr.
         Alexandria, VA 22309



         To Mr. Suhy:


         Re:      Termination of Neo4j Solution Partner Agreement between PureThink LLC (“PureThink”) and Neo4j, Inc. formerly
                  Neo Technology, Inc. ("Neo ") dated September 30, 2014 (“Agreement”) due to PureThink’s uncured breach

         Neo hereby notifies PureThink that the Agreement is immediately terminated pursuant to Section 7.2 of the Agreement.
         As you are aware, PureThink failed to timely cure its numerous material breaches set forth in our letter dated May 30,
         2017 (“Breach Notice”) or to otherwise respond to Neo’s attempts to delay termination of the Agreement.

         With the termination of the Agreement, Neo would like to remind PureThink of its continuing obligations as set forth in
         Section 7.4 of the Agreement. Critically, as PureThink’s rights and licenses under the Agreement have terminated,
         PureThink must immediately cease representing that it is an authorized partner or reseller of Neo, including without
         limitation, ceasing all references to Government Edition of Neo4j, soliciting any current, former, or prospective End Users
         (including Sandia National Lab, IRS, MPO and FBI), assisting in the procurement or renewal of any of Neo’s products,
         solutions, or services, or providing any procurement support, FISMA services, software development services, or training
         services to Neo’s existing or prospective End Users.

         Additionally, as set forth in the Agreement, for thirty six (36) months after the termination of this Agreement, PureThink
         must not develop, market, distribute or offer any services related to any Neo Technology Community Edition Products
         (defined in the Agreement as an open source version of a Neo software product, which includes, but is not limited to, GPL
         v3 licensed Neo4j Community Edition and AGPL v3 licensed Neo4j Enterprise Edition), derivative works of such products,
         or any PureThink software code made to work with Neo Technology Community Edition Products (including, without
         limitation, hosting services, training, technical support, configuration and customization services, etc.).

         PureThink must also return all Confidential Information in its possession, custody, and control and cease using Neo’s
         trademarks, service marks, and other designations. Neo therefore demands that PureThink immediately cease and desist
         all uses of, and remove from PureThink’s website(s) and marketing materials, Neo’s trademarks and tradenames,
         including, without limitation, Neo4j. PureThink has no rights to use Neo’s trademarks or tradenames and continued use of
         such trademarks and/or tradenames will constitute trademark infringement.

         Neo further reserves all of its rights and remedies at law and equity under the Agreement, including without limitation
         invoking its audit rights under the Agreement. Neo does not waive any rights under the Agreement, and this termination is
         not intended to and does not affect any prior or other termination rights or notices provided under the Agreement.

         If you have any questions regarding this letter, please contact John Broad at john.broad@neotechnology.com.

         Sincerely,




               Neo4j, Inc.
               By:          
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                                                 EXHIBIT 13
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 58 of 1198



 1 Adron W. Beene SB# 129040
   Adron G. Beene SB# 298088
   Attorney at Law
 2

 3 1754 Technology Drive, Suite 228
   San Jose, CA 95110
 4 Tel: (408) 392-9233

 5 Fax: (866) 329-0453
   adron@adronlaw.com
 6
   Attorneys for defendants and Counter
   Claimant:
 7

 8 PURETHINK LLC, a Delaware limited
   liability company, IGOV INC., a Virginia
 9 corporation, and JOHN MARK SUHY

10

11                                   UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13   NEO4J, INC., a Delaware corporation,          CASE NO. 5:18-cv-07182-EJD
     NEO4J SWEDEN AB
14                                                 DEFENDANT IGOV INC.’S FOURTH
                       Plaintiffs,                 AMENDED RESPONSE PLAINTIFF
15                                                 NEO4J SWEDEN AB’S REQUEST FOR
            v.                                     ADMISSION, SET ONE TO DEFENDANT
16                                                 IGOV INC.
     PURETHINK LLC, a Delaware limited
17   liability company, IGOV INC., a Virginia
     corporation, and JOHN MARK SUHY, an
18   individual,
19                     Defendants.
20

21   AND RELATED COUNTERCLAIMS.

22

23          PROPOUNDING PARTY: Plaintiff and Counter-Defendant Neo4j Sweden AB
24          RESPONDING PARTY:             Defendant and Counterclaimant iGov Inc.
25          DISCOVERY:                    Request for Admissions
26          SET NO.:                      One
27

28


     IGOV INC.’S FOURTH AMENDED RESPONSE TO NEO4J, SWEDEN AB’S FIRST SET OF RFA
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 59 of 1198



 1          IGOV INC. responds to Plaintiff and Counter-Defendant Neo4j Sweden AB’s Requests

 2   for Admission as follows:

 3

 4                          RESPONSE TO REQUESTS FOR ADMISSION

 5   REQUEST FOR ADMISSION NO. 1:

 6          Admit that iGov Inc. does not have a license from Neo4j, Inc. to use U.S. Trademark

 7   Registration No. 4,784,280 for the word mark “NEO4J” (the “NEO4J® Mark”).

 8          Response:

 9          DENIED.

10

11   REQUEST FOR ADMISSION NO. 2:

12          Admit that attached hereto as Exhibit A is a true and correct copy of the Neo4j Solution

13   Partner Agreement entered into between Neo Technology, Inc. (now Neo4j, Inc.) and PureThink

14   LLC.

15          Response:

16          Admit.

17

18   REQUEST FOR ADMISSION NO. 3:

19          Admit that iGov Inc. was incorporated to avoid the restrictions imposed on PureThink

20   LLC by the Neo4j Solution Partner Agreement attached hereto as Exhibit A.

21          Response:

22          DENIED.

23

24   REQUEST FOR ADMISSION NO. 4:

25          Admit that Exhibit B attached hereto is a printout of iGov Inc.’s webpage

26   https://igovsol.com/neo4j.html as it existed on October 2, 2019.

27          Response:

28          Admitted.
                                                    -2-
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 60 of 1198



 1

 2   REQUEST FOR ADMISSION NO. 5:

 3           Admit that iGov Inc. continued to use the NEO4J® Mark in its web address

 4   https://igovsol.com/neo4j.html as of August 14, 2020.

 5           Response:

 6           Denied. Responding party used the Neo4J product name for open source version of the

 7   Neo4J licensed by Neo4J Sweden and the Neo4J product name and Neo4J, Inc. company name

 8   for comparative advertisement. Neo4J®, after a reasonable search, does not appear on the graph

 9   packages page and that is shown as of the date of this response.

10           Subject to the foregoing response, Responding Party admits that sometime after July 15,

11   2020, iGov, Inc. removed some references to "Neo4j" and replaced them with "ONgDB" and

12   removed the "neo4j@igovsol.com" email link and replaced it with info@igovsol.com and

13   Admits that the website at the URL https://www.igovsol.com/neo4j.html existed as of July 15,

14   2020.

15

16   REQUEST FOR ADMISSION NO. 6:

17           Admit that Neo4j, Inc. did not authorize iGov Inc.’s use of the NEO4J® Mark in iGov

18   Inc.’s web address https://igovsol.com/neo4j.html.

19           Response:

20           DENIED.

21

22   REQUEST FOR ADMISSION NO. 7:

23           Admit that iGov Inc. controls the email address neo4j@igovsol.com.

24           ADMITTED.

25

26   REQUEST FOR ADMISSION NO. 8:

27           Admit that when user that clicks on “Request Procurement Document Package” link in

28   Exhibit B creates an email with neo4j@igovsol.com as the recipient.
                                                    -3-
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 61 of 1198



 1          Response:

 2          Admitted that prior to August 2020, when a user clicked on “Request Procurement

 3   Document Package,” an email was created with neo4j@igovsol.com as the recipient. Denied as

 4   the current website provides the email info@igovsol.com when the "Request Procurement

 5   Document Package" link is clicked.

 6

 7

 8   REQUEST FOR ADMISSION NO. 9:

 9          Admit that as of August 14, 2020, a user that clicks on “Request Procurement Document

10   Package” link located on https://igovsol.com/neo4j.html creates an email with

11   neo4j@igovsol.com as the recipient.

12          Response:

13          Admit that as the website existed on July 5th, 2019, when a user clicked on “Request

14   Procurement Document Package” link located on https://igovsol.com/neo4j.html, an email was

15   created with neo4j@igovsol.com as the recipient. After a reasonable inquiry, no information is

16   readily obtainable to verify if this statement was true for August 14th, 2020 and on that basis

17   Responding Party denies.

18

19   REQUEST FOR ADMISSION NO. 10:

20          Admit that Exhibit C attached hereto is a printout of Gov Inc.’s webpage

21   https://igovsol.com/downloads.html as it existed on October 2, 2019.

22          Response:

23          Admitted.

24

25   REQUEST FOR ADMISSION NO. 11:

26          Admit that as of August 14, 2020, iGov Inc.’s webpage located

27   https://igovsol.com/downloads.html stated “If you have a question for us, please email us at

28   neo4j@igovsol.com.”
                                                     -4-
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 62 of 1198



 1          Response:

 2          Admit that as of July 5th, 2019, iGov Inc.’s webpage located

 3   https://igovsol.com/downloads.html stated “If you have a question for us, please email us at

 4   neo4j@igovsol.com.” through July or August 2020. After a reasonable inquiry, no information is

 5   readily obtainable to verify if this statement was true for August 14th, 2020 and on that basis

 6   Responding Party denies.

 7

 8   REQUEST FOR ADMISSION NO. 12:

 9          Admit that iGov Inc. uses the NEO4J® Mark in its email address neo4j@igovsol.com.

10          Response:

11          DENIED.

12

13   REQUEST FOR ADMISSION NO. 13:

14          Admit that Neo4j, Inc. did not authorize iGov Inc.’s use of the NEO4J® Mark in iGov

15   Inc.’s email address “neo4j@igovsol.com” on iGov Inc.’s webpage

16   https://igovsol.com/downloads.html.

17          Response:

18          DENIED.

19

20   REQUEST FOR ADMISSION NO. 14:

21          Admit that as of August 14, 2020, the “Neo4j Enterprise Open Source Frequently Asked

22   Questions” section on iGov Inc.’s webpage located “https://igovsol.com/downloads.html”

23   contains a hyperlink titled “Download Neo4j Enterprise” that redirects consumers to download

24   links for ONgDB.

25          Response:

26          Admit that as of July 5, 2019, the “Neo4j Enterprise Open Source Frequently Asked

27   Questions” section on iGov Inc.’s webpage located https://igovsol.com/downloads.html contained

28   a hyperlink titled “Download Neo4j Enterprise” that redirects consumers to download links for
                                                     -5-
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
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 1   ONgDB. After a reasonable inquiry, no information is readily obtainable to verify if this

 2   statement was true for August 14th, 2020 and on that basis Responding Party denies.

 3

 4   REQUEST FOR ADMISSION NO. 15:

 5          Admit that Exhibit D is a printout of Neo4j, Inc.’s Trademark Guidelines as they existed

 6   on September 26, 2019.

 7          Response:

 8          Admitted.

 9

10   REQUEST FOR ADMISSION NO. 16:

11          Admit that Neo4j, Inc.’s Trademark Guidelines in Exhibit D were attached as an exhibit

12   to Neo4j, Inc.’s Second Amended Complaint.

13          Response:

14          ADMITTED.

15   REQUEST FOR ADMISSION NO. 17:

16          Admit that you were aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit D as of

17   December 9, 2019 when you filed your answer to Neo4j, Inc.’s Second Amended Complaint.

18          Response:

19          Responding Party admits that on December 9, 2019, when it filed the answer to the

20   Neo4J, Inc. Second Amended Complaint, it was aware of Neo4J, Inc’s Trademark Guidelines.

21

22   REQUEST FOR ADMISSION NO. 18:

23          Admit that iGov Inc.’s use of “Neo4j Enterprise” in Exhibit B violates Neo4j, Inc.’s

24   Trademark Guidelines attached hereto as Exhibit D.

25          Response:

26          DENIED.

27

28
                                                    -6-
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 64 of 1198



 1   REQUEST FOR ADMISSION NO. 19:

 2          Admit that iGov Inc.’s use of “Neo4j Enterprise open source licensed distributions” in

 3   Exhibit B violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit D.

 4          Response:

 5          DENIED.

 6

 7   REQUEST FOR ADMISSION NO. 20:

 8          Admit that iGov Inc.’s use of the NEO4J® Mark in Exhibit B was not authorized by

 9   Neo4j, Inc.

10          Response:

11          DENIED.

12

13   REQUEST FOR ADMISSION NO. 21:

14          Admit that iGov Inc.’s use of “Neo4j Enterprise” in Exhibit C violates Neo4j, Inc.’s

15   Trademark Guidelines attached hereto as Exhibit D.

16          Response:

17          DENIED.

18

19   REQUEST FOR ADMISSION NO. 22:

20          Admit that iGov Inc.’s use of “Neo4j Enterprise” in Exhibit C without proper trademark

21   notices violates Neo4j Inc.’s Trademark Guidelines attached hereto as Exhibit D.

22          Response:

23          DENIED.

24

25   REQUEST FOR ADMISSION NO. 23:

26          Admit that iGov Inc.’s use of “Neo4j Enterprise open source licensed distributions” in

27   Exhibit C without proper trademark notices violates Neo4j Inc.’s Trademark Guidelines attached

28   hereto as Exhibit D.
                                                   -7-
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 65 of 1198



 1          Response:

 2          DENIED.

 3

 4   REQUEST FOR ADMISSION NO. 24:

 5          Admit that iGov Inc.’s use of the NEO4J® Mark in Exhibit C was not authorized by

 6   Neo4j, Inc.

 7          Response:

 8          DENIED.

 9

10   REQUEST FOR ADMISSION NO. 25:

11          Admit that attached hereto as Exhibit E is a printout of the webpage

12   https://neo4j.com/trademark-policy/ captured by the Internet Archive on July 10, 2017.

13          Response:

14       ADMITTED.
     REQUEST FOR ADMISSION NO. 26:
15

16          Admit that the Trademark Policy in Exhibit E was in effect on January 13, 2018.

17
            Response:
18
            Responding Party lacks information and is therefore is unable to verify Neo4j, Inc.’s
19
     Trademark Guidelines as of January 13, 2018 and on that basis DENIES.
20

21   REQUEST FOR ADMISSION NO. 27:
22
            Admit that the Trademark Policy in Exhibit E was publicly available at the web address
23
     https://neo4j.com/trademark-policy/ on January 13, 2018.
24

25          Response:

26          Responding Party lacks information and is therefore is unable to verify the Trademark

27   Policy as of January 13, 2018 and on that basis DENIES.

28
                                                   -8-
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 66 of 1198



 1   REQUEST FOR ADMISSION NO. 28:

 2          Admit that Exhibit F attached hereto is a printout of iGov Inc.’s “about” webpage as it

 3   existed on January 13, 2018, which was produced in this litigation by your counsel in html format

 4   on July 1, 2019.

 5          Response:

 6          ADMITTED.

 7

 8   REQUEST FOR ADMISSION NO. 29:

 9          Admit that iGov Inc.’s use of “Government Package for Neo4j” in Exhibit F violated

10   Neo4j, Inc.’s Trademark Policy that was in effect on January 13, 2018.

11          Response:

12          DENIED.

13

14   REQUEST FOR ADMISSION NO. 30:

15          Admit that iGov Inc.’s use of “Government Package for Neo4j” in Exhibit F violated

16   Neo4j, Inc.’s Trademark Policy set forth in Exhibit E.

17          Response:

18          DENIED.

19

20   REQUEST FOR ADMISSION NO. 31:

21          Admit that iGov Inc.’s use of “Government Package for Neo4j” in Exhibit F without

22   proper trademark notices violates Neo4j Inc.’s Trademark Policy attached hereto as Exhibit E.

23          Response:

24          DENIED.

25

26   REQUEST FOR ADMISSION NO. 32:

27          Admit that iGov Inc.’s use of the NEO4J® Mark iGov Inc.’s “about” webpage as it

28   existed on January 13, 2018 was not authorized by Neo4j, Inc.
                                                   -9-
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 67 of 1198



 1          Response:

 2          DENIED.

 3

 4   REQUEST FOR ADMISSION NO. 33:

 5          Admit that Exhibit G attached hereto is a printout of iGov Inc.’s “downloads” webpage

 6   as it existed on January 13, 2018, which was produced in this litigation by your counsel in html

 7   format on July 1, 2019.

 8          Response:

 9          ADMITTED.

10

11   REQUEST FOR ADMISSION NO. 34:

12          Admit that Exhibit G contains the statement “If you have a question for us, please email

13   us at neo4j@igovsol.com.”

14          Response:

15          ADMITTED.

16

17   REQUEST FOR ADMISSION NO. 35:

18          Admit that Neo4j, Inc. did not authorize iGov Inc.’s use of the NEO4J® Mark in iGov

19   Inc.’s email address “neo4j@igovsol.com” as reflected in Exhibit G.

20          Response:

21          DENIED.

22

23   REQUEST FOR ADMISSION NO. 36:

24          Admit that iGov Inc.’s use of the NEO4J® Mark on iGov Inc.’s “downloads” webpage as

25   it existed on January 13, 2018 was not authorized by Neo4j, Inc.

26          Response:

27          DENIED.

28
                                                   - 10 -
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 68 of 1198



 1   REQUEST FOR ADMISSION NO. 37:

 2          Admit that Exhibit H attached hereto is a printout of iGov Inc.’s “neo4j” webpage as it

 3   existed on January 13, 2018, which was produced in this litigation by your counsel in html format

 4   on July 1, 2019.

 5          Response:

 6          ADMITTED.

 7

 8   REQUEST FOR ADMISSION NO. 38:

 9          Admit that iGov Inc.’s use of “Government Development Packages for Neo4j” in

10   Exhibit H violated Neo4j, Inc.’s Trademark Policy set forth in Exhibit E.

11          Response:

12          DENIED.

13

14   REQUEST FOR ADMISSION NO. 39:

15          Admit that iGov Inc.’s use of the NEO4J® Mark in Exhibit H was not authorized by

16   Neo4j, Inc.

17          Response:

18          DENIED.

19

20   REQUEST FOR ADMISSION NO. 40:

21          Admit that iGov Inc. controls the content on website located at www.graphstack.io.

22          Response:

23          ADMITTED.

24

25   REQUEST FOR ADMISSION NO. 41:

26          Admit that Exhibit I attached hereto is a true and correct printout of the webpage located

27   at www.graphstack.io as it existed on October 2, 2019.

28          Response:
                                                   - 11 -
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
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 1          Admit that Exhibit I is a true and correct printout of the webpage located at

 2   www.graphstack.io as it existed on September 13, 2019. After a reasonable inquiry, no

 3   information is readily obtainable to verify if Exhibit I is true and correct as the webpage existed

 4   on October 2, 2019.

 5

 6   REQUEST FOR ADMISSION NO. 42:

 7          Admit that the www.graphstack.io webpage attached hereto as Exhibit I contains a

 8   hyperlink within “Neo4j's Release Notes” that redirect users to https://neo4j.com/release-

 9   notes/neo4j-3-5-3/.

10          Response:

11          Admitted.

12

13   REQUEST FOR ADMISSION NO. 43:

14          Admit that the www.graphstack.io webpage attached hereto as Exhibit I contains a

15   hyperlink within “Neo4j's Whats New Page” that redirect users to https://neo4j.com/whats-new-

16   in-neo4j/.

17          Response:

18          Admitted.

19

20   REQUEST FOR ADMISSION NO. 44:

21          Admit that Exhibit J is a printout of Neo4j, Inc.’s Trademark Guidelines as they existed

22   on August 13, 2020.

23          Response:

24          Admitted that Exhibit J is a true and correct printout of Neo4j, Inc.’s Trademark

25   Guidelines as it existed on August 5th, 2020. After a reasonable inquiry, no information is readily

26   obtainable to verify if Exhibit J is true and correct as of August 13, 2020, and on that basis

27   Responding party denies.

28
                                                     - 12 -
     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 70 of 1198



 1   REQUEST FOR ADMISSION NO. 45:

 2          Admit that Neo4j, Inc.’s Trademark Guidelines in Exhibit J have been in effect since

 3   April 3, 2019.

 4          Response:

 5          Admit that Neo4j, Inc.’s Trademark Guidelines in Exhibit J were posted since April 14th,

 6   2020. After a reasonable inquiry, no information is readily obtainable to verify if Exhibit J were

 7   posted since April 3, 2019, and on that basis Responding party denies.

 8   Dated: October 29, 2020
                                                       __/s/ Adron G. Beene____________
 9                                                     Adron W. Beene Sb# 129040
                                                       Adron G. Beene Sb# 298088
10                                                     Attorney At Law
                                                       1754 Technology Drive, Suite 228
11                                                     San Jose, CA 95110
                                                       Tel: (408) 392-9233
12                                                     Fax: (866) 329-0453
                                                       adron@adronlaw.com
13
                                                       Attorney For Defendants and Counter
14                                                     Claimant PURETHINK LLC, a Delaware
                                                       Limited Liability Company, IGOV INC., a
15                                                     Virginia Corporation, and JOHN MARK
                                                       SUHY
16

17

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     IGOV INC’S FOURTH AMENDED RESPONSE TO NEO4J SWEDEN AB FIRST SET OF RFA
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 1                                              Verification
 2
        I, John Mark Suhy, am a defendant, and an officer for defendants Purethink LLC and IGOV
 3      Inc. in the above cause of action. I have read the following:

 4       DEFENDANT IGOV INC.’S FOURTH $0(1'('RESPONSE TO PLAINTIFF
        NEO4J SWEDEN AB'S REQUEST FOR ADMISSION, SET ONE TO DEFENDANT
 5      IGOV INC.

 6

 7

 8

 9   I am familiar with the contents of the above.
10

11          I declare under penalty of perjury under the laws of the United Stated of America that the

12   foregoing responses are true and correct, except as to those matters which are therein stated to be
13   on information or belief, and as to those matters, I believe them to be true.
14

15          Signed in Reston 9LUJLQLD, on 2FWREHU 26, 2020.

16
        Signed in Alexandria, Virginia, on October 29, 2020        _____________________
17                                                                    John Mark Suhy
18

19

20

21

22

23

24

25

26

27

28

     VERIFICATION
Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 72 of 1198




                                                 EXHIBIT 14
PureThink     00020015
                       Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 73 of 1198
                                                                          http://purethink.com/   Go    SEP NOV DEC
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    Neo4j Government Edition News

       If your agency was planning on procuring Neo4j Government Edition, then please checkout iGov Inc's new
       Government Package for Neo4j.




       PureThink, the company who created, managed and sold Neo4j Government Edition to all US Federal agencies
       has ceased their partnership with Neo Technology and Neo4j Government Edition has been retired.


       The principle behind PureThink and the Government Package has created a new corporate entity called iGov
       Inc, which is not a Neo4j Solution Partner. Because iGov Inc is not a solution partner, it can offer packages at
       great cost savings to US Government Agencies as it has no restrictions on working with Neo4j Enterprise open
       source licenses!


       iGov Inc and the new Government Package for Neo4j allows agencies to spend their money on developing
       innovative solutions around Neo4j, not paying for unnecessary production support before they even have a
       solution built that could be in production.


       iGov Inc's new Government Package for Neo4j can be added to any Neo4j instance making it a "Government
       Edition". By default, all Government Packages for Neo4j now comes with Neo4j Enterprise included under it's
       open source license!




       Learn More about iGov Inc and it's new Government Package for Neo4j




    WHO WE ARE

    PureThink is a software development company established in 2002 and located in Reston, Va. It is part of the Dulles
    High Tech corridor and Washington, DC Metro area.


    DISTINGUISHERS
                                                                                                                              Witness:
                                                                                                                           John Mark Suhy
                                                                                                                         Exhibit 04
                                                                                                                           10/22/2020 B Gerald

               00020015
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PureThink     00020016
                      Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 74 of 1198


             Solid past performance in Federal, DOD, and commercial spaces.
             Our management team is comprised of highly experienced technology professionals.
             No off-shoring : Because we focus on the US Government exclusively, our resources are all located in the USA
             and have the ability to be cleared or already hold clearances.
             Extensive domain knowledge, adaptability, and experience in emerging technologies, methodologies and
             processes.
             Security focused. All of our software development professionals must go through security training. We were
             2011 RSA speakers regarding continuous monitoring and the cloud.
             Our company is well established with over 12 years in business.




            General Contact
            (703) 348-3968


             info@purethink.com

             1902 Campus Commons Drive Suite 101 Reston, VA 20191


            Customer Support
            Toll Free: +1 (855) 979-7771


             support@purethink.com

            See our support page for more information.




    PHILOSOPHY

    To help you succeed, we believe in working closely and cooperatively with our clients. Our goal is to ensure everyone
    on the same page regarding project status, methods and tasks. Our approach is to develop software according to an
    Agile methodology which means we emphasize people and interaction rather than complicated processes and endless
    documentation.


    RESULTS

    Our mission is to bring the greatest value to our clients by leveraging our considerable depth of resources and
    experience. We align our approach to the specific business drivers of each business we work with whom we tailor


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    solutions to best suit different cultural environments, industries, and market conditions. We focus on business strategy
    implementation, not business strategy development.




    DUNS & CAGE Information

            DUNS: 147591627
            CAGE Code: 5KLU9


    NAICS Codes

            511210 Software Reseller
            541511 Software Development
            541512 Systems Integration / CAD / CAM / LAN
            541519 Software Installation / Disaster Recover
            611420 Software Training
            541330 Engineering Services


    SIC Codes
            5045 Computers and Computer Peripheral Equipment and Software
            7371 Computer Programming Services
            7372 Prepackaged Software
            7373 Computer Integrated Systems Design
            7378 Computer Maintenance and Repair
            7379 Computer Related Services, Not Elsewhere Classified




    About PureThink
    PureThink is a software development company established in 2002 and located in Reston, Va. We focus on bringing innovative
    technologies to US Federal and State government agencies.




    CONTACT US

    (703) 348-3968
     info@purethink.com

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    Bringing technologies to the government.
    PureThink focuses on bringing innovative, emerging technologies to the US Government.


       Join Our Team!




    WHO WE ARE

    PureThink is a software development company established in 2002 and located in Reston, Va. It is part of the Dulles
    High Tech corridor and Washington, DC Metro area.


    DISTINGUISHERS

             Solid past performance in Federal, DOD, and commercial spaces.
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             No off-shoring : Because we focus on the US Government exclusivly, our resources are all located in the USA
             and have the ability to be cleared or already hold clearances.
             Extensive domain knowledge, adaptability, and experience in emerging technologies, methodologies and
             processes.
             Security focused. All of our software development professionals must go through security training. We were
             2011 RSA speakers regarding continuous monitoring and the cloud.
             Our company is well established with over 12 years in business.




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            (703) 348-3968


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            Customer Support
            Toll Free: +1 (855) 979-7771


             support@purethink.com

            See our support page for more information.




    PHILOSOPHY

    To help you succeed, we believe in working closely and cooperatively with our clients. Our goal is to ensure everyone
    on the same page regarding project status, methods and tasks. Our approach is to develop software according to an
    Agile methodology which means we emphasize people and interaction rather than complicated processes and endless
    documentation.


    RESULTS

    Our mission is to bring the greatest value to our clients by leveraging our considerable depth of resources and
    experience. We align our approach to the specific business drivers of each business we work with whom we tailor
    solutions to best suit different cultural environments, industries, and market conditions. We focus on business strategy
    implementation, not business strategy development.




    DUNS & CAGE Information

             DUNS: 147591627
             CAGE Code: 5KLU9


    NAICS Codes

             511210 Software Reseller
             541511 Software Development
             541512 Systems Integration / CAD / CAM / LAN
             541519 Software Installation / Disaster Recover
             611420 Software Training
             541330 Engineering Services



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    SIC Codes
            5045 Computers and Computer Peripheral Equipment and Software
            7371 Computer Programming Services
            7372 Prepackaged Software
            7373 Computer Integrated Systems Design
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            7379 Computer Related Services, Not Elsewhere Classified




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    [Neo4j] is a trademark of Neo Technology, Inc.




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                                                 EXHIBIT 15
iGov : Innovative Government Solutions
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                                                                                                                           Witness:
                                                                                                                        John Mark Suhy
                                                                                                                      Exhibit 03
                                                                                                                         10/22/2020 B Gerald




        Bringing open source technologies to the government.
        iGov focuses on building innovative opening source based solutions for the US Government.




        WHO WE ARE

        iGov is a Virginia software development company located in Reston, Va. iGov Inc is located in the Dulles High Tech
        corridor and Washington, DC Metro area.


        The principle behind PureThink and the developer of the retired Neo4j Government Edition has created iGov Inc,
        which is not a Neo4j Solution Partner. Every US Federal government procurement of Neo4j was through PureThink
        and supported by our team. Now we can offer packages that allow US Federal agencies to gain all the benefits they
        had from our team's experience and past performance with the ability to apply it to Neo4j Enterprise using its free
        open source license!


        What sets iGov Inc apart, is the past performance and experience our team brings to the table as well as the ability
        to develop solutions and support Neo4j Enterprise open source licenses. You will find this is a rare combination
        especially considering the fact that we can now support Neo4j Enterprise open source licenses.



           Neo4j Government Edition has been retired by Neo4j Inc..


           PureThink, the company who created, managed and sold Neo4j Government Edition to all US Federal
           agencies has ceased their partnership with Neo4j Inc.. The principle behind PureThink and the Government
           Package has created a new corporate entity called iGov Inc, which is not a Neo4j Solution Partner. Because
           we are not a solution partner, we are not under the extremely restrictive terms dealing with services around
           Neo4j open source licenses which applies to partners. With iGov Inc, we can offer packages that allow US
           Federal agencies to gain all the benefits they have from our team's experience and past performance we've
           gained, but now with the ability to apply it to Neo4j Enterprise open source licenses! Before now, the only
           option for development or non-critical system support was the extremely costly commercial production support
           packages. Things have changed, and US Federal agencies are going to benefit from huge savings related to



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iGov : Innovative Government Solutions
                         Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 82 of 1198
           Neo4j and Neo4j solutions.


           iGov Inc and the Government Package for Neo4j allows agencies to spend their money on developing
           innovative solutions around Neo4j, not paying for unnecessary production support before they even have a
           solution built that could be in production.


           The new Government Package for Neo4j can be added to any Neo4j instance making it a "Government
           Edition".


           By default, all Government Packages for Neo4j now comes with Neo4j Enterprise included under its open
           source license!


           Once ready for production, agencies can choose to have either iGov Inc, a Neo4j Solution partner of their
           choice, or their own team handle production support. This allows agencies to decide what best fits their
           production and system needs.


           iGov Inc and its partners offered production support packages that cover complex big data architectures that
           usually make up a Neo4j solution not just Neo4j itself. Ex: ElasticSearch, Apache Kafka, and more.


           Please contact us for past performance references, and current Federal agency customer references to find
           out more about our team and offerings.


           Procurement offices can reach out to us for necessary paperwork, documentation, and more needed to make
           smart procurement decisions. It's simple, if your agency is in development, then procuring a Neo4j Enterprise
           commercial package is likely not in the best interest of your agency.


           Please contact neo4j@igovsol.com for more information.



        DISTINGUISHERS

               Our team has solid Neo4j solutions development and support past performance in Federal government.
               Our management team is comprised of highly experienced technology professionals.
               No off-shoring : Because we focus on the US Government exclusively, our resources are all located in the
               USA and have the ability to be cleared or already hold clearances.
               Extensive domain knowledge, adaptability, and experience in emerging technologies, methodologies and
               processes.




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              General Contact
              (703) 862-7780


              info@igovsol.com

              1902 Campus Commons Drive Suite 101 Reston, VA 20191


              Customer Support
              Toll Free: +1 (855) 979-7771


              support@igovsol.com

              See our support page for more information.




        PHILOSOPHY

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        RESULTS

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        solutions to best suit different cultural environments, industries, and market conditions. We focus on business
        strategy implementation, not business strategy development.




        DUNS & CAGE Information Given upon request.

        NAICS Codes

               511210 Software Reseller


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iGov : Innovative Government Solutions
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               541511 Software Development
               541512 Systems Integration / CAD / CAM / LAN
               541519 Software Installation / Disaster Recover
               611420 Software Training
               541330 Engineering Services


        SIC Codes
               5045 Computers and Computer Peripheral Equipment and Software
               7371 Computer Programming Services
               7372 Prepackaged Software
               7373 Computer Integrated Systems Design
               7378 Computer Maintenance and Repair
               7379 Computer Related Services, Not Elsewhere Classified




        About iGov
        iGov Inc. is a software development company located in Reston, Va.
        We focus on building innovative solutions for US Government agencies using open-source technologies.




        CONTACT US

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        info@igovsol.com

        1902 Campus Commons Drive Suite 101 Reston, VA 20191




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                                                 EXHIBIT 16
iGov : Innovative Government Solutions
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             Downloads
                                                                                                                 Neo4j Enterprise Commercial Prices Blog Post


                 iGov Inc is now the only US Federal contractor who                                              Neo4j open source FAQs
                 compiles enterprise packages directly from the official Neo4j
                 source code. These packages are open source and have                                          The packages on this page are
                 none of the restrictions the commercial version have. To get                                  compiled by iGov Inc using the
                 an idea of just how much you are saving by using Neo4j                                        official Neo4j source code
                 Enterprise under the open source license - check out this                                     repositories located at
                 blog post.                                                                                    https://github.com/neo4j. We do
                                                                                                               not modify the source code.
                 As of November 2017, Neo4j Inc removed the free open
                 source Neo4j Enterprise downloads from it's distribution site.                                If you are a federal client and want
                 We stepped up and started compiling the package and                                           to download a package that has
                 making the binaries available for all. These binaries are                                     the FISMA framework modules
                 under the standard AGPLv3 license.                                                            bundled in which turn on intra-
                                                                                                               cluster encryption and provide
                 See our blog post to learn more                                                               other security controls, then please
                                                                                                               login to the support portal to find
                 iGov Inc has no relationship with Neo4j Inc. Since Neo4j Inc                                  those download links or email
                 has removed their open source binaries from their download                                    support@igovsol.com.
                 sites, we have to compile the packages below. All the
                 downloads on this page are compiled directly from the
                 official neo4j source code repositories located at                                            We do not provide Neo4j
                 https://github.com/neo4j. There are no modifications to the                                   Community Edition binaries simply
                 code.                                                                                         because it makes no sense for
                                                                                                               federal agencies to use them when
                 iGov Inc and it's founders are US citizens focusing solely on                                 they have the ability to use Neo4j
                 US Federal government consulting and professional                                             Enterprise for free under it's
                 services . Please contact us for past performance                                             AGPLv3 open source license.
                 references or if you would like to be connected with the US
                                                                                                               This download page is kept up to
                 Federal agencies currently using the open source packaged
                                                                                                               date with the current Neo4j
                 Neo4j Enterprise binaries.
                                                                                                               versions for each branch. If you
                                                                                                               would like an older version of
                                                                                                               Neo4j Enterprise, simply email us
                                                                                                               and we will package it and make it
             The packages below were compiled by iGov Inc from official                                        available to the public.
             Neo4j source code repositories. If you would like us to compile a
             specific version of Neo4j for you (ex: 3.2.1), please contact us.
                                                                                                                 Neo4j open source FAQs



file:///litdata01ps/...2 NEO4J v. Purethink/Productions/2019-07-01 IGOV-PureThink/Defendant’s use of Neo4j trademark/igov-01-13-2018-html/downloads.html[8/12/2020 5:18:32 PM]
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             NEW!! Newest 3.3.x Version:
             (Currently 3.3.1)
             Compiled from Neo4j Git
                                                      [Unix/Linux/OSX        [Windows
             Tag 3.3.1 (Neo4j Enterprise
                                                      Download]              Download]
             3.3.1)




             Newest 3.2.x Version:
             (Currently 3.2.8)
             Compiled from Neo4j Git
                                                      [Unix/Linux/OSX        [Windows
             Tag 3.2.8 (Neo4j Enterprise
                                                      Download]              Download]
             3.2.8)




             Newest 3.1.x Version (3.1.7)
             Compiled from Neo4j Git
                                                      [Unix/Linux/OSX        [Windows
             Tag 3.1.7 (Neo4j Enterprise
                                                      Download]              Download]
             3.1.7)




             Neo4j Enterprise Open Source Frequently Asked
             Questions
             We've gathered together questions we receive from agencies and integrators regarding Neo4j
             Enterprise Open Source licenses. If you have a question for us, please email us at

             neo4j@igovsol.com.




                Is Neo4j Enterprise Really Open Source?

                   YES, Neo4j Enterprise is open source under the AGPLv3 open source license created by the Free software



                What is the open source license does Neo4j Enterprise use?


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                   Neo4j Enterprise can be used for free under the Free Software Foundation's GNU AFFERO GENERAL PUB…



                Where can I download the open source Neo4j Enterprise binaries?

                   Neo4j removed the open source binaries they compiled from their distribution sites so you can no longer get …



                Where can I get the sourcecode for Neo4j Enterprise?

                   You can get all the Neo4j Enterprise source code at the official Neo4j GitHub Repositories.



                What are the restrictions of AGPLv3 and do I need to worry about them?

                   There simply are none that we've ever run into.



                Can I use Neo4j Enterprise open source licenses in production?

                   Yes, of course you can. It's 100% free and open source. The standard AGPLv3 open source license simply …



                Does Neo4j open source license have any other restrictions above the AGPLv3 open source license?

                   No, Neo4j Enterprise is released only under the standard AGPLv3 open source license that is managed by th…



                What is the difference between Neo4j Enterprise AGPLv3 and Neo4j Enterprise Trial?

                   Read the Neo4j Enterprise Trial license agreement they ask you to agree to before downloading and you will …




                           Neo4j Enterprise Commercial & Open Source
                                          Comparisons

                    There are no physical differences between Neo4j Enterprise commercial and AGPL open source licenses!
                 Neo4j Enterprise open source licenses have no other limitations beyond the standard GNU AGPL open source
                                                                               license.
                 The Neo4j Enterprise commercial end user license agreement (EULA) actually adds restrictions preventing you
                                from using Neo4j open source licenses in many circumstances!! Make sure to read it!



                                                                                       Neo4j Enterprise open                 Neo4j Enterprise



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               License                                                                      source license                 commercial license

               Can use in any environment for any purpose?                                        YES                                YES

               Can I use this with any amount of cores without                                    YES                                 NO
               incurring additional costs?

               Can I create custom derivative versions of Neo4j                                   YES                                YES
               Enterprise? (Ex: My custom Neo4j Enterprise Edition)

               Does NOT require you to open source your systems                                           YES for both
               that simply use Neo4j Enterprise as a component in                      You do NOT have to open source your system that
               your system.                                                           uses Neo4j Enterprise as a server as it is intended to
                                                                                      be used. You only need to open source custom Neo4j
                                                                                      Enterprise derivatives under the open source license
                                                                                       and then only under certain distribution conditions.




             About iGov
             iGov Inc. is a software development company located in Reston, Va.
             We focus on building innovative solutions for US Government agencies using open-source technologies.




             CONTACT US

             (703) 862-7780
             info@igovsol.com

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                                                 EXHIBIT 17
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                                                                                                                          Witness:
                                                                                                                       John Mark Suhy
                                                                                                                      Exhibit 11
                                                                                                                        10/22/2020 B Gerald




        US Federal Government Packages for Neo4j Solutions
        If your agency is planning on building a solution around Neo4j, then this package provides the best
        value over a commercial subscription.



                                                                               Request Procurement Document Package




                   Government Development Packages for Neo4j
           iGov Inc's development packages for Neo4j are a better value than Neo4j Enterprise commercial
            support subscriptions for US federal agencies currently developing Neo4j solutions. Spend your
           budget building a solution instead of unnecessary production support for something not yet built!
                                                                    Its that simple!




        Know your options
        It is important to know your options before you make any procurement decisions around Neo4j. The information
        below provides you with a complete breakdown of the 3 main Neo4j offerings available including the free open
        source option. Most people are not aware that Neo4j Enterprise Edition is open source like its sibling, Neo4j
        Community edition.


        The information below should provide you with a clear understanding of your options, so you can choose what's
        best for your agency.




                                          NEO4J INC. COMMERCIAL SUBSCRIPTION
                                                               $29K - $1M+


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            Commercial packages are those sold by Neo4j solutions partners. You are paying for production support. The
                                commercial license is actually more restrictive than the open source license!


                                                              Neo4j Enterprise Software

                                          Available through Neo4j Inc. and all Neo4j Solution Partners

               Yearly Subscription. You are paying for production support backed by Neo4j Inc.. If you don't renew your
                               subscription you simply fall back to the Neo4j Enterprise open source license.

                             Production Email and Phone Support from vendor which is backed by Neo4j Inc.

                                         Commercial License (Most government agencies do not need.)

                                         Cost is based on number of instances and cores. (See below)



                                 IGOV INC. GOVERNMENT DEVELOPMENT PACKAGES
                                                                       $25K+
             100% of the cost goes into services aimed at building a solution around Neo4j, not unnecessary production
                                                         support for something not yet built!.



                                                              Neo4j Enterprise Software


                                                           Only available through iGov Inc


                                 No annual subscription, you are free to do whatever you want in the future.


                             Production Email and Phone Support from iGov Inc, but not backed by Neo4j Inc.


                                                 Defaults Neo4j Enterprise Open Source license.


                         No limitations on usage, instances or cores - cost goes 100% to solutions development


                                                        FISMA and 508 Toolkit and Services


                      Suite of Tools, Frameworks, and Starter Projects we use for scalable big data Neo4j projects.




                                                                 OPEN SOURCE


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                                                                       FREE
                                      There is no reason you should be using Neo4j Community Edition.


                                Neo4j Enterprise Software (Same physical software as commercial package)

                  No limitations on usage, can be used in production with as many instances and cores as you want.

                                                 Standard GNU AGPL v3.0 Open source License.



                                                Learn More about Neo4j Enterprise Open Source




                     DEVELOPMENT PACKAGE OVERVIEW                     PRICE COMPARISON               PROCUREMENT COMPARISON


                                                                     WHY IGOV INC ?




        Development Package Overview

           The Government Development Packages are aimed at agencies who need help building a robust and scalable
           solution around Neo4j. Unlike the commercial production support subscriptions, 100% of the cost goes into
           consulting services that help you build out your solution.


           All iGov Inc packages also include a suite of tools and services which are combined to address critical FISMA
           and accessibility requirements relating to Neo4j.



                   Customer Support
                   iGov Inc provides umbrella support across all the components of your Neo4j solution, including Neo4j
                   itself. For example, a solution using Neo4j Enterprise, Apache Kafka, Elastic Search, and custom micro-
                   service architecture components are all covered under the umbrella support provided with these
                   packages. The Neo4j commercial support subscriptions only cover Neo4j Enterprise.


                   UI/UX Development
                   The development packages include UI and UX design services to assist developing everything from your



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                   dashboards and visualization. We ensure all development meets 508(c) requirements. We cover all
                   modern web design frameworks including ReactJS and AngularJS. Furthermore, we provide a toolbox of
                   open source visualization libraries and webapp starter projects to get your project up and running quickly.
                   You can also add on UI packages such as Linkurious OGMA and Graphlytic Visualization tools and APIs.


                   Starter Projects and Toolsets
                   We provide a suite of starter projects (maven and gradle), templates, and tools to get your Neo4j projects
                   off the ground quickly. Our Starters include Docker images, Microservice architecture components (api
                   gateways, service registries, etc), UI and visualization components and more.


                   Enterprise Architecture Development
                   Neo4j is usually just one of many components in a common graph solution. Other components include
                   ElasticSearch, Apache Kafka, and other technologies.


                   Our team brings a wide range of enterprise architecture development expertise to the table. From
                   monolithic to micro-service architectures, our team will help design a solution that best fit's your agency's
                   needs.


                   GraphGrid Data Platform
                   GraphGrid Data Platform (GDP) is an enterprise-grade graph data management platform that enables a
                   centralized architecture for running batch, interactive and real-time analytics and data processing
                   applications simultaneously across your connected graph data. Development packages include the tools,
                   and platform components needed to get a robust and scalable ETL pipeline in place.


                   Newest Libraries and Repositories
                   The Government Packages for Neo4j include many of the leading technologies which are all covered
                   under the umbrella package support. In many cases, this allows for agencies to start working with new
                   technologies that would have usage restrictions if not part of a vendor supported package such as this. All
                   libraries and repositories are kept on Amazon GovCloud and can be easily accessed once an agency
                   whitelists the servers. Development packages include access to the newest libraries and repositories for
                   the tools we package and support.


                   GovCloud Development and Continuous Integration Environment
                   We understand that many agencies have not adopted the newest technologies and best practices which
                   can make modern web application development almost impossible. Our development packages include
                   use of GovCloud resources including EC2, S3,Container Services, and more.




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        Pricing Comparison

           Below is a price comparison for a Neo4j Inc. commercial subscription package covering 3 production instances
           with 8 cores each. (3x8). The Neo4j Inc. commercial package is not a perpetual license, and the commercial
           EULA limits your use of Neo4j open source licenses in many ways once accepted. Notice that it also has
           unnecessary production elements which you are paying for as part of the subscription. Neo4j Inc's pricing can
           be found via a simple GSA Advantage search.



        Neo4j Inc. Commercial Subscription (Annual Subscription)

           Neo4j Enterprise Bundle – Standard cluster for enterprise applications that are used by more than one
           department (or by a larger department), or by customer-facing applications.

           Neo4j Enterprise Bundle basic configuration includes:

                   a. 3 Production Instances (up to 8 Cores per Instance).
                   b. 3 Test Instances (no Core limit).
                   c. Premium Support: 24 x 7 / 1-hour response time for Severity 1 issues, email and phone.
                   d. Unlimited number of licensed developers.




         Name & Description                                                                             Annual Subscription Price

         Neo4j Enterprise Bundle Base (3 Instances X 8 Cores Each)                                      $189,188 / yr

         Additional Production Capacity (per Core)                                                      + $6,609 / yr

         Disaster Recovery (per Core)                                                                   + $3,305 / yr

         Additional Test Instances (per Instance)                                                       + $4,957 / yr

         Additional Instance (up to 8 Cores)                                                            + $52,874 / yr

         8‐Core pack                                                                                    + $52,874 / yr

         12‐Core pack                                                                                   + $79,310 / yr

         16‐Core pack                                                                                   + $105,747 / yr


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         24‐Core pack                                                                                   + $158,621 / yr

         32‐Core pack                                                                                   + $211,494 / yr


        iGov Inc's Government Development Package with Neo4j Enterprise

           Comes with same physical Neo4j Enterprise software. Under open source license there are no limitations on
           how you use it. You have no limits on environments, number of instances, cores, etc!

           Government Bundle for Neo4j Enterprise basic configuration includes:

                   a. Unlimited instances with no core limits for any environment! (dev, test, staging, production, etc)
                   c. Premium support and development services by iGov Inc. Unlike the Neo4j commercial package, we support
                   your entire architecture not just Neo4j. (Neo4j, ElasticSearch, UI, Micro Services, etc..)
                   d. No limitations on number of developers, etc.




           $25,000+

        100% goes into development.
        The minimum development package costs $25,000. For comparison - you can choose the $189,000 Development
        package option - where $189,000 goes into consulting services at GSA approved rates.


        Of course - you can choose how much you want to spend. We simply offer packages that parallel commercial
        subscription rates to help make procurement easier.




                       Neo4j Inc. Commercial Support vs iGov Inc.
                          Development Package Comparison

              So what exactly do you get with a Neo4j Inc. commercial subscription? You get the peace of mind knowing
           Neo4j Inc. is there to assist with production support tickets if the vendor you purchased it from can not solve an
           issue on their own. This is not very useful when you are in development, using Neo4j for R & D, or do not have
                                                        a mission critical Neo4j deployment.


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                                                   Government                       Neo4j Enterprise                    Neo4j Enterprise
                                              Development Package                  commercial support                 (default open source
                                               w/ Neo4j Enterprise                    subscription                          license)

         Has full Neo4j Enterprise                        YES                                YES                                 YES
         functionality.

         Can purchase through                            NO                                  YES                                NO
         Neo4j Inc. or its resellers             The Government                                                         Neo4j partners are
                                              Packages for Neo4j are                                                   forbidden on offering
                                               only available through                                                 services or support for
                                                     iGov Inc.                                                          Neo4j open source
                                                                                                                             licenses.

         Can use in any                                   YES                                YES                                 YES
         environment for any                                                      *Your subscription has
         purpose?                                                                limits on number of cores
                                                                                        and instances



         Comes with consulting                          YES                                   NO                                  NO
         services which can be               This is what seperates out
         used to build your solution               the Government
         around Neo4j. (Including             Development Package
         UI/UX design, ETL                      from the commercial
         implementation,                       support subscription.
         enterprise architecture,             Support is swapped out
         and FISMA and 508c                   with consulting services
         services)                           you can use to build your
                                              solution around Neo4j.

         Comes with tools,                                YES                                 NO                                  NO
         services and support to
         address Accessability
         (508c) and FISMA
         requirements.

         Can I use this with any                          YES                                 NO                                 YES
         amount of cores or                                                     *The cost of a commercial
         instances without                                                        support subscription is
         incurring additional costs?
                                                                                  based on the cores and
                                                                                     instances you use.



         Can I create custom                              YES                                YES                                YES
         derivative versions of


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         Neo4j Enterprise? (Ex: My
         custom Neo4j Enterprise
         Edition)

         Does Neo4j Inc. provide                        No*                                  YES                                 NO
         official email and phone             Development packages
         production support?                  do not need production
                                              support, they swap out
                                               production support for
                                              consulting services you
                                             use to build your solution.

         Does NOT require you to                                                     YES for all
         open source your systems               You do NOT have to open source your system that uses Neo4j Enterprise as a
         that simply use Neo4j                  server as it's intended to be used. You only need to open source custom Neo4j
         Enterprise as a                       Enterprise derivatives under the open source license and then only under certain
         component in your                                                    distribution conditions.
         system.




        Why iGov Inc ?
        Our team is the same team that created Neo4j Enterprise Government Edition. Further, we are the
        same team that sold and supported every US Federal Government procurement of Neo4j Enterprise
        Government Edition up until its retirement in July 2017.


        iGov Inc's new Government Package can be used as a direct replacement for the now retired Neo4j
        Government Edition. iGov Inc is the only vendor providing this package. Even more, this package
        includes Neo4j Enterprise under its open source license!


        How is this possible? Read below to learn more....


           Neo4j Government Edition has been retired by Neo4j Inc..


           PureThink, the company who created, managed and sold Neo4j Government Edition to all US Federal


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           agencies has ceased their partnership with Neo4j Inc.. The principle behind PureThink and the Government
           Package has created a new corporate entity called iGov Inc, which is not a Neo4j Solution Partner. Because
           we are not a solution partner, we are not under the extremely restrictive terms dealing with services around
           Neo4j open source licenses which applies to partners. With iGov Inc, we can offer packages that allow US
           Federal agencies to gain all the benefits they have from our team's experience and past performance we've
           gained, but now with the ability to apply it to Neo4j Enterprise open source licenses! Before now, the only
           option for development or non-critical system support was the extremely costly commercial production support
           packages. Things have changed, and US Federal agencies are going to benefit from huge savings related to
           Neo4j and Neo4j solutions.


           iGov Inc and the Government Package for Neo4j allows agencies to spend their money on developing
           innovative solutions around Neo4j, not paying for unnecessary production support before they even have a
           solution built that could be in production.


           The new Government Package for Neo4j can be added to any Neo4j instance making it a "Government
           Edition".


           By default, all Government Packages for Neo4j now comes with Neo4j Enterprise included under its open
           source license!


           Once ready for production, agencies can choose to have either iGov Inc, a Neo4j Solution partner of their
           choice, or their own team handle production support. This allows agencies to decide what best fits their
           production and system needs.


           iGov Inc and its partners offered production support packages that cover complex big data architectures that
           usually make up a Neo4j solution not just Neo4j itself. Ex: ElasticSearch, Apache Kafka, and more.


           Please contact us for past performance references, and current Federal agency customer references to find
           out more about our team and offerings.


           Procurement offices can reach out to us for necessary paperwork, documentation, and more needed to make
           smart procurement decisions. It's simple, if your agency is in development, then procuring a Neo4j Enterprise
           commercial package is not likely in the best interest of your agency.


           Please contact neo4j@igovsol.com for more information.


           iGov Inc is the only US Federal vendor whose team has proven past performance supporting and developing
           innovative solutions around Neo4j and the ability to work with Neo4j Enterprise open source licenses!




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        About iGov
        iGov Inc. is a software development company located in Reston, Va.
        We focus on building innovative solutions for US Government agencies using open-source technologies.




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                                iGov Inc is now the only US Federal contractor providing Neo4j Enterprise
                                binaries packaged with it's free Open Source license!
                                As of November 2017, Neo4j Inc removed the free open source Neo4j Enterprise downloads from it's
                                distribution site making iGov Inc the only place where you can down load it.



                                                                                                                                                   Learn More




                                         Introducing Gov Development Packages for Neo4j
                                 US Federal agencies developing Neo4j solutions now have a cost effective development package for
                                  Neo4j. Spend your budget building a solution instead of unnecessary production support! If you are
                                looking at making a Neo4j Enterprise procurement, then you should be aware of this new Package as
                                         in a majority of the cases, it offers a better value than Neo4j Inc.'s commercial subscriptions.




                                            US Federal Agencies and Government                                                                Learn More
                                              Package for Neo4j Procurements
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                                         Please contact us for more information. The new iGov Inc
                                     packages offer a better value to US Federal government agencies
                                                         in a majority of the cases.




                                About iGov
                                iGov Inc. is a software development company located in Reston, Va.
                                We focus on building innovative solutions for US Government agencies using open-source technologies.




                                CONTACT US

                                (703) 862-7780
                                info@igovsol.com

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             From: John Mark Suhy jmsuhy@igovsol.com
           Subject: Neo4j Procurement Follow up and guidance on your EULA
              Date: September 8, 2017 at 1:53 PM
                To: Carol.E.Sinnard@nga.ic.gov
               Cc: carol.e.sinnard@nga.mil


                  Hello Carol,

                  We spoke on the phone. I just wanted to reach out to you and send you some information you can forward to the end-users at your
                  agency for next year. Unfortunately you may have
                  procured a package that isn't in your best interest, but you will be more informed next year.

                  I setup a page to help explain all your options https://igovsol.com/neo4j.html

                  I also attached the PDF version of the page.

                  I want to give you some guidance on your EULA before you sign anything.

                  You will be asked to sign a 3-way form binding you to the commercial EULA. You want them to remove the term in the EULA that
                  forbids you from using open source licenses next to commercial licenses.

                  If you do not ask them to remove that term - your agency could be on the hook for a lot of money if you have other teams using Neo4j
                  under it's free open source license as you would have to convert them to commercial.

                  Until we broke away from Neo4j Inc last month, we sold every Neo4j subscription to the US federal government under our other
                  company PureThink. I am the core developer who created the Neo4j Government Edition which was retired by Neo last month.

                  I hope I can help next year.

                  Have a great weekend,

                  Respectfully,

                  John Mark Suhy
                  iGov Inc
                  jmsuhy@igovsol.com
                  703-862-7780
                  https://igovsol.com




                   neo4j-gov-dev-
                   overview-v1.pdf




00036000
00036001                                                                                Contact:    John Mark Suhy ¨ (703) 862-7780     jmsuhy@iGovSol.com      https://igovsol.com
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                                                  Government Development Packages for Neo4j
       iGov Inc's development packages for Neo4j are a better value than Neo4j Enterprise commercial support subscriptions for
        US federal agencies currently developing Neo4j solutions. Spend your budget building a solution instead of unnecessary
                                            production support for something not yet built!
                                                            Its that simple!



       Know your options
       It is important to know your options before you make any procurement decisions around Neo4j. The information below provides you with a complete breakdown of the 3
       main Neo4j offerings available including the free open source option. Most people are not aware that Neo4j Enterprise Edition is open source like its sibling, Neo4j
       Community edition.


       The information below should provide you with a clear understanding of your options, so you can choose what's best for your agency.




                                                                    GOVERNMENT DEVELOPMENT PACKAGES
                       COMMERCIAL PACKAGE                                                                                                     OPEN SOURCE
                   $29K - $MILLIONS+                                                    $25K+                                                     FREE
                                                                   100% of the cost goes into services aimed at building
               Commercial packages are those sold by Neo4j                                                                      There is no reason you should be using Neo4j
                                                                   a solution around Neo4j, not unnecessary production
             solutions partners. You are paying for production                                                                               Community Edition.
                                                                            support for something not yet built!.
             support. The commercial license is actually more
                  restrictive than the open source license!                                                                  Neo4j Enterprise Software (Same physical software as
                                                                                 Neo4j Enterprise Software
                                                                                                                                            commercial package)
                         Neo4j Enterprise Software
                                                                              Only available through iGov Inc                 No limitations on usage, can be used in production
            Available through Neo4j Inc. and all Neo4j Solution                                                                 with as many instances and cores as you want.
                                                                    No annual subscription, you are free to do whatever
                                  Partners
                                                                                  you want in the future.                       Standard GNU AGPL v3.0 Open source License.
             Yearly Subscription. You are paying for production
           support backed by Neo4j Inc.. If you don't renew your    Production Email and Phone Support from iGov Inc,
               subscription you simply fall back to the Neo4j                   but not backed by Neo4j Inc.
                      Enterprise open source license.
                                                                      Defaults Neo4j Enterprise Open Source license.
             Production Email and Phone Support from vendor
                       which is backed by Neo4j Inc.               No limitations on usage, instances or cores - cost goes
                                                                              100% to solutions development
           Commercial License (Most government agencies do not
                                   need.)                                   FISMA and 508 Toolkit and Services

           Cost is based on number of instances and cores. (See    Suite of Tools, Frameworks, and Starter Projects we use
                                   below)                                   for scalable big data Neo4j projects.




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       Development Package Overview

           The Government Development Packages are aimed at agencies who need help building a robust and scalable solution around Neo4j. Unlike the commercial
           production support subscriptions, 100% of the cost goes into consulting services that help you build out your solution.


           All iGov Inc packages also include a suite of tools and services which are combined to address critical FISMA and accessibility requirements relating to Neo4j.




           Ä     Customer Support                                   $       Enterprise Architecture                            Í       Newest Libraries and
                 iGov Inc provides umbrella support across                  Development                                                Repositories
                 all the components of your Neo4j solution,                 Neo4j is usually just one of many                          The Government Packages for Neo4j include
                 including Neo4j itself. For example, a                     components in a common graph solution.                     many of the leading technologies which are
                 solution using Neo4j Enterprise, Apache                    Other components include ElasticSearch,                    all covered under the umbrella package
                 Kafka, Elastic Search, and custom micro-                   Apache Kafka, and other technologies.                      support. In many cases, this allows for
                 service architecture components are all                                                                               agencies to start working with new
                 covered under the umbrella support                         Our team brings a wide range of enterprise                 technologies that would have usage
                 provided with these packages. The Neo4j                    architecture development expertise to the                  restrictions if not part of a vendor
                 commercial support subscriptions only                      table. From monolithic to micro-service                    supported package such as this. All libraries
                 cover Neo4j Enterprise.                                    architectures, our team will help design a                 and repositories are kept on Amazon
                                                                            solution that best fit's your agency's needs.              GovCloud and can be easily accessed once

           Ŗ     UI/UX Development                                                                                                     an agency whitelists the servers.
                 The development packages include UI and
                                                                    Ĉ       GraphGrid Data Platform                                    Development packages include access to the
                 UX design services to assist developing                    GraphGrid Data Platform (GDP) is an                        newest libraries and repositories for the
                 everything from your dashboards and                        enterprise-grade graph data management                     tools we package and support.
                 visualization. We ensure all development                   platform that enables a centralized
                 meets 508(c) requirements. We cover all                    architecture for running batch, interactive
                                                                                                                               Ĉ       GovCloud Development and
                 modern web design frameworks including                     and real-time analytics and data processing                Continuous Integration
                 ReactJS and AngularJS. Furthermore, we                     applications simultaneously across your
                                                                                                                                       Environment
                 provide a toolbox of open source                           connected graph data. Development                          We understand that many agencies have
                 visualization libraries and webapp starter                 packages include the tools, and platform                   not adopted the newest technologies and
                 projects to get your project up and running                components needed to get a robust and                      best practices which can make modern web
                 quickly.                                                   scalable ETL pipeline in place.                            application development almost impossible.
                 You can also add on UI packages such as
                                                                                                                                       Our development packages include use of
                 Linkurious OGMA and Graphlytic
                                                                                                                                       GovCloud resources including EC2,
                 Visualization tools and APIs.
                                                                                                                                       S3,Container Services, and more.


           (     Starter Projects and Toolsets
                 We provide a suite of starter projects
                 (maven and gradle), templates, and tools to
                 get your Neo4j projects off the ground
                 quickly. Our Starters include Docker images,
                 Microservice architecture components (api
                 gateways, service registries, etc), UI and
                 visualization components and more.




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       Pricing Comparison

            Below is a price comparison for a 3x8 core yearly production support subscription. The commercial package is not perpetual, and the commercial EULA limits your
            use of Neo4j open source licenses in many ways once accepted. Notice that it also has unnecessary production elements which you are paying for as part of the
            subscription.



       Neo4j Enterprise Commercial Subscription (Annual                                            iGov Inc's Government Development Package with Neo4j
       Subscription)                                                                               Enterprise

            Neo4j Enterprise Bundle – Standard cluster for enterprise applications that              Comes with same physical Neo4j Enterprise software. Under open source
            are used by more than one department (or by a larger department), or by                  license there are no limitations on how you use it. You have no limits on
            customer-facing applications.                                                            environments, number of instances, cores, etc!

            Neo4j Enterprise Bundle basic configuration includes:                                    Government Bundle for Neo4j Enterprise basic configuration includes:

                  a. 3 Production Instances (up to 8 Cores per Instance).                                    a. Unlimited production instances. It is open source!
                  b. 3 Test Instances (no Core limit).                                                       b. Unlimited of course
                  c. Premium Support: 24 x 7 / 1-hour response time for Severity 1 issues, email             c. Premium support and development services by iGov Inc. Unlike the Neo4j
                  and phone.                                                                                 commercial package, we support your entire architecture not just Neo4j. (Neo4j,
                  d. Unlimited number of licensed developers.                                                ElasticSearch, UI, Micro Services, etc..)
                                                                                                             d. Unlimited number of licensed developers.


                                                                            Annual Subscription
           Name & Description                                               Price
                                                                                                     $25,000+
           Neo4j Enterprise Bundle Base (3 Instances X 8 Cores              $189,188 / yr
           Each)
                                                                                                   100% goes into development.
           Additional Production Capacity (per Core)                        + $6,609 / yr
                                                                                                   The minimum development package costs $25,000. For comparison - you can
           Disaster Recovery (per Core)                                     + $3,305 / yr          choose the $189,000 Development package option - where $189,000 goes into
                                                                                                   consulting services at GSA approved rates.
           Additional Test Instances (per Instance)                         + $4,957 / yr

           Additional Instance (up to 8 Cores)                              + $52,874 / yr         Of course - you can choose how much you want to spend. We simply offer
                                                                                                   packages that parallel commercial subscription rates to help make procurement
           8‐Core pack                                                      + $52,874 / yr
                                                                                                   easier.
           12‐Core pack                                                     + $79,310 / yr
                                                                                                    LCAT                                                                          Rate
           16‐Core pack                                                     + $105,747 / yr
                                                                                                    Project Manager                                                               $104.89
           24‐Core pack                                                     + $158,621 / yr
                                                                                                    UI/Web Designer 1                                                             $83.35
           32‐Core pack                                                     + $211,494 / yr
                                                                                                    Principle Enterprise Application Modeler/Developer                            $127.50

                                                                                                    Senior Enterprise Application Modeler/Developer                               $116.52

                                                                                                    Enterprise Application Modeler/Developer                                      $87.39

                                                                                                    Sr. Graph Database Management Spec.                                           $100.47

                                                                                                    Mid-Test Engineer                                                             $71.40

                                                                                                    Jr. Test Engineer                                                             $52.02

                                                                                                    Training Specialist                                                           $66.30




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                                       Development vs Commercial Support Package Comparison

              So what exactly do you get with a commercial subscription? You get the peace of mind knowing Neo4j Inc. is there to assist with production support tickets if the
               vendor you purchased it from can not solve an issue on their own. This is not very useful when you are in development, using Neo4j for R & D, or do not have a
                                                                              mission critical Neo4j deployment.



                                                      Government Development Package w/          Neo4j Enterprise commercial support      Neo4j Enterprise (default open source
                                                              Neo4j Enterprise                               subscription                                license)

           Has full Neo4j Enterprise functionality.                     YES                                        YES                                      YES

           Can purchase through Neo4j Inc. or its                        NO                                        YES                                       NO
           resellers                                  The Government Packages for Neo4j are                                                  Neo4j partners are forbidden on
                                                          only available through iGov Inc.                                                 offering services or support for Neo4j
                                                                                                                                                   open source licenses.

           Can use in any environment for any                           YES                                        YES                                      YES
           purpose?                                                                                 *Your subscription has limits on
                                                                                                    number of cores and instances



           Comes with consulting services which                        YES                                         NO                                       NO
           can be used to build your solution             This is what seperates out the
           around Neo4j. (Including UI/UX design,       Government Development Package
           ETL implementation, enterprise                  from the commercial support
           architecture, and FISMA and 508c           subscription. Support is swapped out
           services)                                  with consulting services you can use to
                                                        build your solution around Neo4j.

           Comes with tools, services and support                       YES                                        NO                                       NO
           to address Accessability (508c) and
           FISMA requirements.

           Can I use this with any amount of cores                      YES                                        NO                                       YES
           or instances without incurring                                                          *The cost of a commercial support
           additional costs?                                                                     subscription is based on the cores and
                                                                                                           instances you use.



           Can I create custom derivative versions                      YES                                        YES                                      YES
           of Neo4j Enterprise? (Ex: My custom
           Neo4j Enterprise Edition)

           Does Neo4j Inc. provide official email                      No*                                         YES                                      NO
           and phone production support?                Development packages do not need
                                                        production support, they swap out
                                                         production support for consulting
                                                      services you use to build your solution.

           Does NOT require you to open source                                                             YES for all
           your systems that simply use Neo4j          You do NOT have to open source your system that uses Neo4j Enterprise as a server as it's intended to be used. You only
           Enterprise as a component in your            need to open source custom Neo4j Enterprise derivatives under the open source license and then only under certain
           system.                                                                                  distribution conditions.




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       Why iGov Inc ?

       Our team is the same team that created Neo4j Enterprise Government Edition. Further, we are the same team that sold
       and supported every US Federal Government procurement of Neo4j Enterprise Government Edition up until its
       retirement in July 2017.

       iGov Inc's new Government Package can be used as a direct replacement for the now retired Neo4j Government Edition.
       iGov Inc is the only vendor providing this package. Even more, this package includes Neo4j Enterprise under its open
       source license!

       How is this possible? Read below to learn more....

           Neo4j Government Edition has been retired by Neo4j Inc..


           PureThink, the company who created, managed and sold Neo4j Government Edition to all US Federal agencies has ceased their partnership with Neo4j Inc.. The
           principle behind PureThink and the Government Package has created a new corporate entity called iGov Inc, which is not a Neo4j Solution Partner. Because we are
           not a solution partner, we are not under the extremely restrictive terms dealing with services around Neo4j open source licenses which applies to partners. With
           iGov Inc, we can offer packages that allow US Federal agencies to gain all the benefits they have from our team's experience and past performance we've gained, but
           now with the ability to apply it to Neo4j Enterprise open source licenses! Before now, the only option for development or non-critical system support was the
           extremely costly commercial production support packages. Things have changed, and US Federal agencies are going to benefit from huge savings related to Neo4j
           and Neo4j solutions.


           iGov Inc and the Government Package for Neo4j allows agencies to spend their money on developing innovative solutions around Neo4j, not paying for unnecessary
           production support before they even have a solution built that could be in production.


           The new Government Package for Neo4j can be added to any Neo4j instance making it a "Government Edition".


           By default, all Government Packages for Neo4j now comes with Neo4j Enterprise included under its open source license!


           Once ready for production, agencies can choose to have either iGov Inc, a Neo4j Solution partner of their choice, or their own team handle production support. This
           allows agencies to decide what best fits their production and system needs.


           iGov Inc and its partners offered production support packages that cover complex big data architectures that usually make up a Neo4j solution not just Neo4j itself.
           Ex: ElasticSearch, Apache Kafka, and more.


           Please contact us for past performance references, and current Federal agency customer references to find out more about our team and offerings.


           Procurement offices can reach out to us for necessary paperwork, documentation, and more needed to make smart procurement decisions. It's simple, if your
           agency is in development, then procuring a Neo4j Enterprise commercial package is not likely in the best interest of your agency.


           Please contact neo4j@igovsol.com for more information.


           iGov Inc is the only US Federal vendor whose team has proven past performance supporting and developing innovative solutions around Neo4j and the ability to
           work with Neo4j Enterprise open source licenses!




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                                                                                                  John Mark Suhy
                                                                                                  CTO


           iGov is a Virginia software development company located in Reston, Va. iGov Inc is     Y   Address: 1902 Campus Commons Drive Suite 101 Reston, VA 20191
           located in the Dulles High Tech corridor and Washington, DC Metro area.
                                                                                                  ¨   Phone: (703) 862-7780
           What sets iGov Inc apart, is the past performance and experience our team brings
           to the table as well as the ability to develop solutions and support Neo4j             â   Email: jmsuhy@igovsol.com

           Enterprise open source licenses. You will find this is a rare combination especially
           considering the fact that we can now support Neo4j Enterprise open source
           licenses.


           Contact us for more information.




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       About iGov                                                                                             CONTACT US

                                                                                                              (703) 862-7780
       iGov Inc. is a software development company located in Reston, Va.
       We focus on building innovative solutions for US Government agencies using open-source technologies.   â info@igovsol.com

                                                                                                              Y 1902 Campus Commons Drive Suite 101
                                                                                                              Reston, VA 20191



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                                                                                                  binaries?




                « (https://blog.igovsol.com)    November 14, 2017 (/)    10 min read



               Neo4j 3.3.0 is out, but where are the open
               source enterprise binaries?
               Neo4j Enterprise is still open source under it’s AGPLv3 license (https://www.gnu.org/licenses/agpl-3.0.en.html).
               However you may have noticed that you can no longer build the enterprise package binary from the source
               code or download the enterprise package binary with it’s free AGPLv3 license
               (https://www.gnu.org/licenses/agpl-3.0.en.html) from dist.neo4j.org. Furthermore, if you use docker, you must
               now accept a 'commercial agreement’ before proceeding (https://github.com/neo4j/docker-neo4j-
               publish/commit/aa31654ee8544cd544b369d2646cf372086f7b70). In other words, official Neo4j docker images
               are no longer packaged with the free AGPLv3 (https://www.gnu.org/licenses/agpl-3.0.en.html) licensed binaries.

               Neo4j Enterprise 'binaries’ are simply the compiled and packaged Neo4j distributions you download and run on
               your computer, server, container, etc.

               For the 3.3.0 release the enterprise binary package file names would be neo4j-enterprise-3.3.0-unix.tar.gz
               (https://dist.igovsol.com/neo4j-enterprise-3.3.0-unix.tar.gz) for the linux package and neo4j-enterprise-3.3.0-
               windows.zip (https://dist.igovsol.com/neo4j-enterprise-3.3.0-windows.zip) for the windows package. (The links
               above point to the binaries iGov Inc compiled and packaged using the source code found at the Neo4j Github
               repository. By default it is packaged with the AGPLv3 license (https://www.gnu.org/licenses/agpl-3.0.en.html).)


               Why has Neo4j Inc made it harder to access the open source enterprise binaries?

               If they are going to take the trouble to make Neo4j Enterprise more inaccessible to the public, why not just take
               Neo4j closed source before releasing 3.3.0?


               Only Neo4j Inc can answer these questions, and I feel they owe an explanation to the open source community
               which has made Neo4j what it is today.


               With ambitions of an IPO, it would be an extremely risky maneuver to attempt taking Neo4j closed source. It
               could backfire and be disastrous if the community revolted and creates a more successful Neo4j fork. Even the
               perceived threat of this sort of behavior could trigger a revolt and fork.


               As a reference, look no further than MySQL and MariaDB (https://mariadb.org/about/) , the more popular fork of
               MySQL, and you can see what could happen (https://www.zdnet.com/article/open-source-mariadb-a-mysql-fork-
               challenges-oracle/).

               It looks like Neo4j Inc does not want to tempt fate with a closed source move just yet. Instead another path was
               taken which makes it very hard to get ahold of the enterprise packaged binaries with the free AGPLv3 license
               (https://www.gnu.org/licenses/agpl-3.0.en.html). As a passionate advocate of both open source software and
               Neo4j, this does not sit well with me.


               Federal agencies have already invested in the adoption and use of Neo4j Enterprise and many are using it’s
               free AGPLv3 license (https://www.gnu.org/licenses/agpl-3.0.en.html). Luckily, iGov Inc builds the Neo4j binaries
               from the source code and makes it available via a distribution site we setup
               (https://igovsol.com/downloads.html).

               Back to the core of this post. So what has Neo4j Inc done to limit your access to Neo4j Enterprise binaries
               packaged with the free open source AGPLv3 license (https://www.gnu.org/licenses/agpl-3.0.en.html)?




https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-where-are-the-open-source-enterprise-binaries.html                              1/4
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                                                                                                  binaries?

               Action 1: The enterprise packaging build instructions were removed from the code base
               (https://github.com/neo4j/neo4j/commit/affe1a0b4ab47c9d4673bfa507868ccd03c48ddd). Until the 3.3.0
               release, anyone could have checked out the Neo4j source code from github (https://github.com/neo4j/neo4j),
               and run a few simple commands to build the Neo4j Enterprise binaries complete with the AGPLv3 license
               (https://www.gnu.org/licenses/agpl-3.0.en.html). That’s not the case anymore. If you run the build commands on
               the 3.3.0 branch you will notice that only the Neo4j Community Edition binary is present after the build process
               completes. Who really uses Neo4j Community Edition once they realized Neo4j Enterprise edition is also free?

               The packaging system simply provides the instructions on how to ‘build’ the Neo4j Enterprise distribution binary,
               much like the instructions you get with furniture purchased at IKEA. All the artifacts that are used to build the
               Neo4j Enterprise binary are all open source, but the instructions explaining how to put together these artifacts
               have disappeared.




               Action 2: Neo4j Inc slipped a commercial license into the official binaries found on their distribution site that is
               used for docker images. Until now, if you wanted to download the Neo4j Enterprise binary from Neo4j Inc
               directly, you could have done so using the distribution site which is publically available. It just isn’t advertised for
               obvious reasons.


               Those who were using the official docker images or downloading the enterprise binary directly from
               dist.neo4j.org were in for a surprise when they were forced to accept commercial terms in order to access the
               distributions.

               Want to see for yourself - download the Neo4j Enterprise binary (http://dist.neo4j.org/neo4j-enterprise-3.3.0-
               unix.tar.gz) which Neo4j Inc packages and take a look at the LICENSE.txt file.


               Instead of the standard AGPLv3 license (https://www.gnu.org/licenses/agpl-3.0.en.html) which used to be there,
               the LICENSE.txt file now says:


                 Network Engine for Objects in Lund AB. 2017.
                 All Rights Reserved. Use of this Software without
                 a proper commercial license with Neo4j, Inc. or its affiliates
                 is prohibited.



               As copyright holders, Neo4j Inc has the right to add any license they want for the binary distributions they build,
               package, and make available for download themselves. If anyone else packages the enterprise binary
               distribution like we do, you must simply make sure the LICENSE.txt file is the AGPLv3 license
               (https://www.gnu.org/licenses/agpl-3.0.en.html). That is exactly what we do.

               Action 3: Neo4j Inc kept causal cluster communication encryption (Intra-cluster encryption) off by default. They
               then created a ‘proprietary module’ that turns it on.

               Of course you can get intra-cluster encryption turned back on by purchasing a costly commercial package.


               This move was referenced in the 3.3.0 release changelog (https://neo4j.com/release-notes/neo4j-3-3-0/). They
               justified this change with the following blurb:



https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-where-are-the-open-source-enterprise-binaries.html                                 2/4
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                                                                                                  binaries?

                 Neo4j Enterprise Edition binaries now include new proprietary
                 add-ons. Intra-cluster encryption is the first of these.
                 Consequently Neo4j Enterprise Edition can no longer be
                 distributed under a dual license but the source is still
                 available under AGPLv3.



               Of course Neo4j Enterprise can still be distributed under the AGPLv3 license
               (https://www.gnu.org/licenses/agpl-3.0.en.html). Simply provide a binary download without the 'proprietary add-
               ons' that turn on intra-cluster encryption. The Neo4j Enterprise binaries we make available to the public are
               proof that this can be done.

               I believe that security critical components of Neo4j should remain open source, security by obscurity has proven
               not to be a good strategy in the past. Currently, the security components of Neo4j Enterprise are still open
               source. In the case of intra-cluster encryption (causal clustering) - it is just not initialized.


               Right now the only difference between the paid Neo4j Enterprise (commercial) binary and Neo4j Enterprise
               (open source) binary (we compile from source) is that intra-cluster encryption is still off by default in the AGPLv3
               version.


               We turn it back on for our federal customers via a new component in our FISMA framework, which will be
               available on github for everyone to use soon.

               How many of you are actually using causal clustering in production? Well - if you upgrade to 3.3.0 and don’t
               turn it back on yourself , you may be a little less secure assuming you aren’t using encrypted tunnels / vpn, etc
               between your cluster nodes.


               Look for yourself:


               3.2 release code (https://github.com/neo4j/neo4j/blob/3.2/enterprise/causal-
               clustering/src/main/java/org/neo4j/causalclustering/discovery/HazelcastClientConnector.java) : The sslPolicy
               initialized in the code.



                   HazelcastClientConnector( Config config, LogProvider logProvider, SslPolicy sslPolicy,
                               HostnameResolver hostnameResolver )
                       {
                           this.config = config;
                           this.logProvider = logProvider;
                           this.sslPolicy = sslPolicy;
                           this.hostnameResolver = hostnameResolver;
                       }



               3.3 release code (https://github.com/neo4j/neo4j/blob/3.3/enterprise/causal-
               clustering/src/main/java/org/neo4j/causalclustering/discovery/HazelcastClientConnector.java) : The sslPolicy
               initialization has disappeared.



                       HazelcastClientConnector( Config config, LogProvider logProvider, HostnameResolver
                   hostnameResolver )
                           {
                               this.config = config;
                               this.logProvider = logProvider;
                               this.hostnameResolver = hostnameResolver;
                           }



               These three actions effectively made it impossible to get Neo4j Enterprise binaries with the open source
               AGPLv3 license (https://www.gnu.org/licenses/agpl-3.0.en.html) from Neo4j Inc starting with the 3.3.0 release.
https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-where-are-the-open-source-enterprise-binaries.html                              3/4
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                                                                                                  binaries?

               As a consulting company offering software development and support for Neo4j Enterprise open source licenses
               to the US federal government, we have been building the binaries ourselves for some time.

               As part of the Neo4j open source community, we’ve decided to absorb the hosting costs and make these
               distributions available to the general public, not just US federal agencies. We’ve setup a distribution site that
               can be used to download Neo4j Enterprise directly, or use use with docker compose.

               We will have docker images up as well complete with the AGPLv3 (https://www.gnu.org/licenses/agpl-
               3.0.en.html) licensed packages.

               We will also have the FISMA framework modules on GitHub soon, one of which turns back on intra-cluster
               encryption.

               You can download the Neo4j Enterprise binaries with the open source license from our website at
               https://igovsol.com/downloads.html (https://igovsol.com/downloads.html).

               We compile and package these using the source code from the official Neo4j GitHub repositories.


               Federal agencies should email us at support@igovsol.com (mailto:support@igovsol.com) to get their AWS
               GovCloud download links which should be whitelisted for most agencies.


               If you would were not aware that Neo4j Enterprise is open source just like it’s sibling 'Neo4j Community Edition',
               you can learn more here (https://igovsol.com/downloads.html#neo4j-os-faqs).


               If you are not happy with Neo4j Inc’s behavior, then please reach out to Neo4j Inc and voice your concerns.


               Feel free to contact me directly via email at jmsuhy@igovsol.com (mailto:jmsuhy@igovsol.com) if you have
               questions, comments, or just want to talk about Neo4j in general. We are always available.


                                                                               ()
                                                                          S

                    C Comment on Twitter (https://twitter.com/share?text=Neo4j%203.3.0%20is%20out%2C%20but%20where%20are%20the%20open%20source%20


                                                                            ) (https://blog.igovsol.com/rss)


               (https://blog.igo
                                   John Mark

                                                                                    Senior software developer and enterprise architect with a focus
                                                                                    on introducing innovative open source technologies into the US
               (https://blog.igovsol.com/author/jmsuhy/)                            federal government.

               Alexandria, VA
               igovsol.com (https://igovsol.com)




https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-where-are-the-open-source-enterprise-binaries.html                                                 4/4
                                                                                                                                                      N4J_018855
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                                                 EXHIBIT 21
iGov : Innovative Government Solutions
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                                                                                                                          




       iGov Inc. is a Northern Virginia software development and consulting company
       focused on building innovative open source solutions for our US government
       customers.




                 July 2018 News: Neo4j 3.4.4 has been released!

        Get the open source licensed Neo4j Enterprise distributions we package
        for our government customers from our downloads page. These are 100%
              free and open source, with all the enterprise features. They have no
                   restrictions on the number of cluster instances or cores that the
                                         commercial licensed packages impose!


        We compile and packaged the open source licenced distributions from the
           same official Neo4j Github Repositories as Neo4j Inc uses for their paid
                                                    commercial licensed builds.




       About iGov
       iGov Inc. is a software development company located in the Washington DC Metro area.
       We focus on building innovative solutions for US Government agencies using leading open-source technologies.



https://web.archive.org/web/20180825012827/https://igovsol.com/[8/12/2020 4:50:56 PM]                                 N4J_018822
iGov : Innovative Government Solutions
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       CONTACT US

       (703) 672-1205
        [email protected]

        7686 Richmond Highway Suite 111-B Alexandria, VA 22306




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https://web.archive.org/web/20180825012827/https://igovsol.com/[8/12/2020 4:50:56 PM]         N4J_018823
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                                                 EXHIBIT 22
              Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 122 of 1198

From:        John Mark Suhy (jmsuhy@purethink.com)
To:          Benjamin Nussbaum (ben@atomrain.com), Brad Nussbaum (brad@atomrain.com)
CC:
BCC:
Subject:     graphstack.io - avoid trademark issues
Attachments:
Sent:        03/26/2018 01:18:42 PM -0700 (PST)

I added you as admins to graphstack.io repos.

Incase you are wondering what this is - graphstack.io is the website I will have completed soon that will be used to provide
Neo4j Enterprise open source packages for downloads without infringing on Neo4j's trademarks.

It is the only name I could find that was open.

I.E. I can get away with allowing downloads of Neo4j on the site that have no code modifications or plugins but as soon as
we add apoc or something else - the nominative trademark protection does not apply as easily.
So: Neo4j Enterprise AGPL + APOC (and other plugins) = GraphStack

When you download it and extract it - it is /neo4j-enterprise-x.x.x same as before.




                                                                                                               Witness:
                                                                                                            John Mark Suhy

                                                                                                          Exhibit 09
                                                                                                             10/22/2020 B Gerald




                                                                                                              GFI 30(b)(6)
                                                                                                            Brad Nussbaum

                                                                                                               Ex 19
                                                                                                             10/16/2020 D Myers


                                                                                                                IGOV0001570252
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                                                 EXHIBIT 23
              Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 124 of 1198

From:        John Mark Suhy (jmsuhy@purethink.com)
To:          Benjamin Nussbaum (ben@atomrain.com), Brad Nussbaum (brad@atomrain.com)
CC:
BCC:
Subject:     Quick Notes on fork
Attachments:
Sent:        05/21/2018 11:24:17 AM -0700 (PST)

Just comments That may be good to think about on your end.

When I spoke about setting up a non profit for a fork - it makes other kernel devs more inclined to be part of it - if they are
truely open source advocates. I would think that they would be wary going with another ‘neo situation’. Assume that Steve
baker and team are doing another fork in parallel - would be better to work all together I would think.

But being on the board of this new none profit is a big piece of the pie - if a fork became popular - GraphGrid is what makes
it a viable alternative to adopt for agencies / companies who want production support. IE - if done right - it would allow you
to hit Neo from many different angles - weakening their hold. We will get US agencies using this fork right away so it has
past performance.

Just something to think about - I could literally reach out to MariaDB.org and ask them if they can give you copy of their
bylaws so there would be hardly any upfront effort. That may be enough to just let people know we are planning...

Worst case - you spend under $1000 for an org that you close without traction. You dont have to setup org until you are
ready.

Borrow everything from:

https://mariadb.org/about/governance/

I already know we could get several large companies to sponsor it in terms of names : Maybe not money to start. But we
would ask ASR, and kther top analytic companies we work with to sponsor it. Including sheila’s companies and of course all
of our companies. (That is a big list already)

Do you want me to take a stab at rebrading Neo4j Enterprise dist - besides the documentation, and misc stuff in distribution?
This would be a prppf of concept to see just how hard it would be to do a complete automated rebrand from all current code.
the biggest visible part would be for a new logo in Neo4j Browser.

Technically the way they license browser, etc - you could technically use Neo4j browser without rebrand - but why not see
how it would look with different brand name.

Make sure openneo4j won’t be something Neo comes after you around trademark on. I would ask your lawyers since I know
it can be a hit if you build that brand and only have to start over if Neo hits with trademark.



                                                                                                                 Witness:
                                                                                                              John Mark Suhy

                                                                                                            Exhibit 10
--                                                                                                             10/22/2020 B Gerald
John Mark Suhy
PureThink
jmsuhy@purethink.com
                                                                                                                 GFI 30(b)(6)
703-862-7780                                                                                                   Brad Nussbaum
http://purethink.com
                                                                                                                   Ex 4
                                                                                                                10/16/2020 D Myers


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                                                 EXHIBIT 24
              Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 126 of 1198

From:        John Mark Suhy (jmsuhy@egovsol.com)
To:          Mariano Lopez (mariano.lopez@analytica.net)
CC:
BCC:
Subject:     Re: GraphFoundation
Attachments:
Sent:        07/09/2018 10:37:59 AM -0700 (PST)

We can add you as a sponsor without you contributing, but if you would
like to make a donation you can do so at:
https://www.graphfoundation.org/support/donations/

If you want to have a call later today or anytime this week, I can
explain why the foundation was created and how we package Neo4j
Enterprise (We call ONgDB) distributions that are being adopted at IRS
and most likely DHS as they are already using the open source
distributions we packaged before we assigned them to the foundation.

Do you happen to have a good LOGO we can use or can I just grab one
from your website?


John Mark Suhy
eGovernment Solutions Inc
jmsuhy@egovsol.com
703-862-7780
https://egovsol.com


On Mon, Jul 9, 2018 at 8:33 AM, Mariano Lopez
wrote:
> Hi John Mark –
>
> Definitely and would be willing to contribute. If we were to contribute
> $500 how would I do this, process, etc?
>
>
>
> From: John Mark Suhy [mailto:jmsuhy@egovsol.com]
> Sent: Friday, July 06, 2018 9:59 AM
> To: Mariano Lopez
> Subject: GraphFoundation
>
>
>
> Hello Mariano,
>
>
>
> I wanted to ask you if you would like us to list Analytica as a sponsor of
> the GraphFoundation. https://graphfoundation.org
>
>
>
> It is free for you, you can ignore the sponsorship prices page.



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>
>
>
> IRS is adopting the open source Neo4j Enterprise distributions we are
> transfered to the GraphFoundation, and I think having our team members all
> involved in it could help give an advantage in the BPA Award. I can explain
> more on a call if you would like.
>
>
>
> Let me know if I can add you to the sponsorship page:
>
> https://www.graphfoundation.org/support/thanks/
>
>
>
> On another note, let me know if you would like to meet up for coffee or
> lunch sometime.
>
>
>
> Talk to you later,
>
>
>
> John Mark
>
>
>
> --
>
> John Mark Suhy
> eGovernment Solutions Inc
> jmsuhy@egovsol.com
> 703-862-7780
> https://egovsol.com




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From:        John Mark Suhy (jmsuhy@purethink.com)
To:          Brian Rodrigue (brian.rodrigue@excella.com)
CC:
BCC:
Subject:     Checking In
Attachments:
Sent:        08/10/2018 08:09:41 AM -0700 (PST)

Good Morning Brian,

I just wanted to check in as we have not talked for a while.

I hope all is well.

If you have time next week, I can give you an update on our Neo4j activities.

We created a non profit with an Apache like governance model to ensure Neo4j stays open source incase Neo decides to
take it closed source anytime in the future.

Check out https://graphfoundation.org

All the Neo4j enterprise distributions we package from now on will come from the foundation and have the standard vanilla
AGPLv3 open source license.

Treasury and a bunch of analytic companies in the area now use these.

I figured you would want to know because Neo4j Inc has been trying to scare companies lately telling them they will close
source, etc.

Most recently, they tried adding a ‘commons clause’ to the AGPL license , trying to precent companies from selling (and
competing against them on procurements)

The free software foundation guidamce was to ignore it as it was invalid because restrictions like this, cant be added to the
AGPL license, but it doesn’t stop them from trying to use it to cause confusion.

Anyway, the foundation was actually setup because of this behavior.

On another note, how is your wife’s cyber focus coming?

Have you been working with any interesting texhnology lately?

Have a good weekend,

John Mark

--
John Mark Suhy
PureThink
jmsuhy@purethink.com
703-862-7780
http://purethink.com




                                                                                                                IGOV0001570129
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                                                 EXHIBIT 26
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From:        John Mark Suhy (jmsuhy@purethink.com)
To:          A-Sun Truth (asuntzu@gmail.com)
CC:
BCC:
Subject:     EMAIL
Attachments: micro-service-architecture-with-graphstack.pdf;
Sent:        08/28/2018 07:06:58 PM -0700 (PST)

I apologize for taking so long to get back to you. We have a large
deployment coming up in Sept for a government contract we are priming
on - so it's been taking all my available bandwidth.

I wanted to send you the links we spoke about so you can understand
more about what we are doing in the graph / analytics space.

I manage the Neo4j Enterprise open source distributions used by the
Treasury, DHS, etc.
If you don't know about Neo4j - here is their website: http://neo4j.com

Our open-source fork we manage can be found at https://graphfoundation.org

Our focus is on 'connected data' which leverages several different
technologies to collect, and connect data from different data sources.

Attached is a diagram of the high level overview of the platform.

We leverage Neo4j, ElasticSearch, Kafka, Apache Spark, and a suite of
services (All Java - Spring Boot for the most part)

Here are some white papers that can tell you more about Neo4j - which
we use as the 'system of record' for our connected data. We did not
write these - but they do a good job of explaining the technology.

https://drive.google.com/drive/folders/0B7w76NCg0bmVdmZoZTJQaGl4Vnc?usp=sharing

What we have is not something we sell right now - it is the platform
that we use for any of our graph analytics projects - that is how
everything originally came together.

One way I could see us working together is to work on your data
integration platform assuming you don't already have one. Everything
from AI, to enrichment, to services that utilize this data would use
the platform.

For example - if you want to create a sentiment analysis service, or
some other service (micro-service architecture) for leveraging natural
language processing - then it may involve creating a service that
takes 1) data from the graph , 2) uses the 'bus' (kafka) to push data
to spark to do sentiment analysis, etc , 3) Takes the new data
generated and augments the graph.

I.E. This would be a central part of your data integration strategy I
would think.

Let me know if this information is useful.



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                    EXHIBIT 27

    REDACTED VERSION OF
   DOCUMENT SOUGHT TO BE
          SEALED
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    From:        John Mark Suhy (jmsuhy@purethink.com)
    To:          Philip Rathle (philip@neo4j.com)
    CC:
    BCC:
    Subject:     Re: Touching base
    Attachments: purethink Mail - IRS breakdown.pdf; april-2016-email-number-5-agreement.pdf;
    Sent:        05/21/2018 02:46:30 PM -0700 (PST)

    Please give me some time to digest your proposal and see if this makes
    sense from a business perspective for us. I probably will have some
    questions, In fact I have one right offhand.

    Question:

    If we were to consider what you proposed, would you require us to
    waive our right to pursue our claims, such as tortious interference
    against Neo4j Inc in the
    future? I believe we can work together moving forward, and in
    parallel let the courts decide what is fair for the past. We have
    invested quite a bit of time and money into preparation based on the
    statute of limitations, and I would think that you would also say it
    is fair to let the courts work out what is right - if we agree to
    accept the court's decision and move on.

    Beyond that question,

    In order to trust us, I think based on your email response, you should
    really just peak at the attachments I re-attached to this email. Not
    to prove anything, but to show that you should be wary of taking one
    side of the story from John and Jason.
    These attachments are just so you keep an open mind when working with
    us. Please read them - they are attached, short and can help our
    relationship. I highlighted them to make it quick.

    On another note, regarding the licensing, you may want to consider the
    implications of going closed source right now.

    I completely understand where you are coming from, and you have a
    tough decision to make. I wouldn't want to be in your position
    regarding that topic, so I respect that you are in a precarious
    position and have to make a decision.

    My biggest worry does not have to do with you going closed source, but
    with how the community reacts. As you can imagine, there will be
    probably be several community forks of Neo4j if you go the closed
    source router. An unorganized fork without the proper governance
    model can lead to the community being in the same situation as they
    would be with you if you do go closed source. It would force us to do
    a proper fork that addresses governance, meaning spending time I
    don't feel like spending. But it would be needed for the Government.

    I've already done the preparation to create non profit organization
    with the necessary bylaws and governance model for a community fork of
    Neo4j to get things started, and to ensure it's long term success (if
    adopted).


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    We took guidance from MariaDb and my mentors on how to do it right and
    for the community, I am very confident that this will benefit the
    community.

    By design, if we do launch this community fork and re-brand , it won't
    be something I can stop once the legal entity is in place and
    launched, which is the point of ensuring the community has control.
    I am not sure how it would effect our
    working together, but as you can guess - it could actually hurt us all
    if we end up making this partnership work and this fork becomes
    popular.

    Let me know if there is a time Friday that you want to catch up for a call.

    Have a good day,

    Sincerely,


    John Mark Suhy
    PureThink
    jmsuhy@purethink.com
    703-862-7780
    http://purethink.com



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From:               Graph Foundation Admin
To:                 btrudeau@micron.com
Subject:            Re: GraphStack Neo4j Question
Date:               Monday, July 16, 2018 6:52:30 AM


Hi Bob,

I received your question from iGov. We're consolidating support of the open source neo4j
graph database distributions under a non-profit organization: Graph Foundation -
www.graphfoundation.org

I can help you answer your questions.

The naming you'll see for the build on the foundation site is ONgDB - this is a fully AGPL
fork of the open source Neo4j Github repository with all restrictive marks from Neo4j, Inc.
removed. We've taken the necessary steps make sure we keep the repository fully AGPL
which is the license that Neo4j, Inc has released it under, but then added additional sections to
the AGPL license, which in our conversations with FSF (Free Software Foundation) is not
legal to do when using the AGPL license.

If you are looking for a full shield of liability, we recommend using one of our supporters such
as GraphGrid. I can put you in contact with them if that full shield is of interest.

If it makes sense to have a call or if you have specific references that would help your
organization assess the validity of it, please let us know and we can try to accommodate.

Thanks You,
GF


---------- Forwarded message ---------
From: Bob Trudeau (btrudeau) <btrudeau@micron.com>
Date: Wed, Jul 11, 2018 at 11:47 AM
Subject: GraphStack Neo4j Question
To: info@igovsol.com <info@igovsol.com>


To:   iGov Information (info@igovsol.com)
From: Bob Trudeau (Micron Technology, Inc.)
Date: Wednesday, July 11, 2018


I am currently evaluating potential Neo4j options other than a commercial license. The availability of a free, open-
source version of Neo4j Enterprise from GraphStack is of obvious interest.



As an employee of Micron I need to ensure that I am operating with integrity and complying with all legal
requirements in the procurement and use of software such as Neo4j.



                                                                                GFI 30(b)(6)
                                                                              Brad Nussbaum
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                                                                                 Ex 14
                                                                               10/16/2020 D Myers
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 What references and/or other information can GraphStack provide to assist me in confirming the legality of the
 GraphStack Neo4j Enterprise software?



 Regards,



 Bob Trudeau

 Enterprise Architect
 IT Enterprise Analytics & Data
 Micron Technology, Inc.

 Office +1 (916) 458-3277
 btrudeau@micron.com




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From:        John Mark Suhy (jmsuhy@purethink.com)
To:          Benjamin Nussbaum (ben@atomrain.com)
CC:
BCC:
Subject:     Neo4j Procurement
Attachments:
Sent:        07/25/2018 08:48:04 AM -0700 (PST)

https://www.fbo.gov/index?s=opportunity&mode=form&id=02e83be8f7f905fff05de915b30d3418&tab=core&_cview=1

Quick Summary:

- Airforce wants Neo4j Enterprise.
They do not realize that Neo4j Enterprise is dual licensed and therefore unique for procurement.

 People can pay money for a restrictive commercial license, or use Neo4j Enterprise for free under it's open source license.
The open source licensed version has no restrictions on number of cluster instances or cores. This fact is very
counterintuitive. What the commercial 'subscription' really offers is support, because it's better to use the open source
license than the commercial license in this case.

- We are quite sure that only one Neo4j partner will be able to bid on this because of Neo4j Inc's partner rules requiring
registration of a lead.

- We have an idea about what the quote will be, since Neo4j Inc commercial price lists were placed on GSA for a short time.
 ($29,000)
https://blog.igovsol.com/2018/01/10/Neo4j-Commercial-Prices.html




Proposed Approach:

1) You quote for $25,000.
   AirForce gets the Neo4j Enterprise open source distributions we package for the government already.

2) We would manage all support with our existing infrastructure for you. (Managed support).
   Required support to meet AF needs would be:
   Phone support normal business hours Monday-Friday. 24 hour turn around on all support tickets. $200 / month or
$2400

We will ensure all the SLA's and requirements specified are met with our existing infrastructure and team.    We can fully
manage support for you using our support system that can be branded with your information. Ex: Email:
support@fedstore.com Online: https://support.fedstore.com
If you have your own - we can use yours too. Whatever works.

So you would make: $25,000 - $2400 : $22,600


3) The software (supply) is unlimited, because these are simply open and free neo4j distributions that are downloadable from
the distribution sites. Your company can even become a mirror - i .e. https://dist.fedstore.com/neo4j/neo4j-enterprise-3.4.4-
unix.tar.gz


Up sell:




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-Neo4j packages are yearly subscription models, so this has high potential to be reoccurring.

- Once you are supporting Airforce with Neo4j, then there is a large potential for custom software development services.
Since Neo4j partners are usually forbidden from using Neo4j under it's open source license - this puts you in a very unique
position for anyone who wants custom Neo4j development. We could support you on all development tasks, and bring past
performance from our other federal Neo4j projects.




Possible Scenarios / Risks:

- Neo4j Inc will protest, and try to prevent this from happening through bullying tactics with the AirForce. They tried this with
Treasury which delayed one of our awards for 8 months and their behavior really upset Treasury. This was the catalyst for
the creation of the GraphFoundation https://graphfoundation.org - which ensures Neo4j stays free and open.

- US Treasury legal precedent is what we use when Neo4j tried to interfere with other agencies. Treasury / IRS POCs are
happy to talk with other agencies to


Links:

1) What I sent to airforce just to let them know there were other options so the competition could be more competitive. (See
attached PDF).

 2) https://igovsol.com/downloads.html -> The open source Neo4j Enterprise distributions we package for government
agencies.

3) Blog posts that show commercial prices, and will give more information about Neo4j's bad behavior:
 https://blog.igovsol.com

Our team: iGov Inc, GraphGrid (https://graphgrid.com), and AtomRain (https://atomrain.com). We work together as one
company. We all are the founders of the GraphFoundation. https://graphfoundation.org




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                                                                        GFI 30(b)(6)
                                                                      Brad Nussbaum

                                                                           Ex 3
                                                                       10/16/2020 D Myers


CONFIDENTIAL                                                       GFI000001
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CONFIDENTIAL                                                       GFI000002
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CONFIDENTIAL                                                       GFI000003
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CONFIDENTIAL                                                       GFI000004
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                                                 EXHIBIT 31
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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA



    NEO4J, INC., a Delaware                ) CASE NO.
    corporation, and NEO4J                 ) 5:19-CV-06226-EJD
    SWEDEN AB, a Swedish                   )
    corporation,                           )
                                           )
                    Plaintiffs,            )
                                           )
          vs.                              )
                                           )
    GRAPH FOUNDATION, INC., an             )
    Ohio corporation,                      )
    GRAPHGRID, INC., an Ohio               )
    corporation, and ATOMRAIN              )
    INC., a Nevada corporation,            )
                                           )
                    Defendants.            )

                               REMOTE VIA ZOOM

                    30(b)(6) DEPOSITION OF NEO4J INC

                              BY BRAD NUSSBAUM



    __________________________________________________________
                           9:17 A.M. PDT
                     FRIDAY, OCTOBER 16, 2020
     _________________________________________________________




    By:    Denise Myers Byrd, CSR 8340, RPR


                                                                       1
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1    maybe touch on a few things later when Jeff gets on
2    board.
3    BY MR. RATINOFF:
4          Q.   Okay.    Let me go ahead and move on to Topic 1
5    on the formation of Graph Foundation.
6               Do you recall when you formed Graph Foundation
7    or when -- let me strike that.
8               When was Graph Foundation founded?
9          A.   Yeah, I think I looked this up, and I'm pretty
10   sure we have it everywhere as June 2018.            I can pull up
11   the exact incorporation document.
12         Q.   I'll do that, actually.        Thank you, though.       I
13   appreciate that.
14         A.   All right.     I have some of these in front of me
15   because, honestly, I'm not going to remember this stuff
16   exactly.
17         Q.   Well, that's -- I'm going to ask you questions.
18   If you don't remember --
19         A.   Yeah, I have effective June 21, 2018.
20         Q.   Okay.    And so I just put up Tab 2 so we'll mark
21   that as Exhibit 3.
22              (WHEREUPON, Exhibit 3 was marked for
23         identification.)
24   BY MR. RATINOFF:
25         Q.   Why don't you take a quick look at that time


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1    and let me know if that's what you had in mind as the
2    founding document.
3           A.   Seems to be pretty big.       It's taking a while.
4    If it says State of Ohio corporate registration,
5    that's --
6           Q.   It's actually -- the title of the document
7    should be in your chat as Tab 2.          It's the Articles of
8    Incorporation of Graph Foundation Inc.
9                Do you see that?
10          A.   Oh, okay.    Yeah, okay.     So 22nd of June, okay.
11   So I guess my State of Ohio certificate is June 21st and
12   this is signed June 22nd.        I'm not exactly sure which
13   one.
14          Q.   You recognize the document?
15          A.   Yes.    Yeah, this is what our lawyer here in
16   Ohio drafted.
17          Q.   And then what's -- the signature page -- I
18   think it's the third page -- you see there's two
19   signatures there?
20          A.   Yes.
21          Q.   The date?
22          A.   My signature and Ben's signature, yeah.
23          Q.   Okay.   All right.     Thank you.
24               Leading up to the formation, did you have any
25   discussions with anybody about forming Graph Foundation,


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1          Q.   I'm just asking yes or no.
2               Did you talk to Mr. Suhy about forming Graph
3    Foundation prior to forming Graph Foundation?
4          A.   I mean, I guess it feels vague to me because
5    forming is a very vague word.         So he was -- so to answer
6    specifically, we did not consult him about how to
7    structure the foundation as a nonprofit with any of
8    these articles here; that came just from our lawyer.               We
9    did not consult him about any of the mission.              So when
10   we filed for a nonprofit status with the IRS and we
11   posted a mission and what we were about, we did not
12   consult him about any of those things.            So he was not
13   consulted, I guess, in any material way about, like,
14   what you could call the actual formation of the corp.
15         Q.   Who -- what led you to form Graph Foundation?
16   Strike that.
17              When did you come up with the idea to form
18   Graph Foundation?
19         A.   Must have been, like, early 2018, maybe late
20   2017, but probably early 2018.
21         Q.   Whose idea was it to form Graph Foundation?
22         A.   Primarily mine, but Ben was also very on board
23   with it.
24         Q.   Why did you decide to form Graph Foundation?
25         A.   I think we see a strong need for graph


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1    technology to be open and available to a broader
2    community.     I think that we both, you know, sort of come
3    up through a lot of the open source world where, you
4    know, the Linux Foundations, the Apache Foundations, the
5    Free Software Foundations of the world have sort of
6    shaped and enabled everybody to do really great things.
7    And I think being in the graph space we see, you know,
8    just the potential for greater work to be done by having
9    technology that's developed and opened collaboratively.
10   I think that's what led us to write the mission
11   statement that we did about generally making graph
12   technology available.       We see a lot of avenues where
13   that can be applied.
14         Q.   Was there a specific graph technology that you
15   had in mind?
16         A.   I think generally, you know, there's a lot of
17   years to be played out, so, you know, Ben and I see that
18   there are many different technologies, graph
19   technologies that this may be applicable to.             I think we
20   listed several in our mission statement.
21              But, you know, there's certainly areas in data
22   processing and algorithms in -- you know, especially in
23   AI.   There's a lot of capabilities that I think we see
24   graph having a big impact, and so we see the foundation
25   as being a place that, you know, may one day be able to


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1    provide an overall benefit to humanity through those
2    things.
3          Q.   Was Neo4j the primary driver for forming Graph
4    Foundation?
5          A.   Neo4j was definitely one driver.           We see an
6    open source database, certainly something that can store
7    data as a graph, as being a key part and it's definitely
8    where we put a lot of our time and effort in the early
9    days.
10         Q.   And did you discuss with Mr. Suhy about forming
11   Graph Foundation to promote open source Neo4j?
12              MR. PERNICK:     Objection; vague as to time.
13   BY MR. RATINOFF:
14         Q.   Prior to the formation of Graph Foundation.
15         A.   I mean, discuss is a very broad word so could
16   you be more specific?
17         Q.   Did you talk to Mr. Suhy within three months of
18   forming Graph Foundation about forming Graph Foundation?
19         A.   I mean, there must have been some conversations
20   about it, but I don't really think he was very -- I'm
21   not really sure what he offered, if anything, toward
22   like the overall -- I don't think he offered anything in
23   the discussions.      I don't remember him really having
24   much of a drive on the open source side.            I remember
25   him -- you know, he's very practical when it comes to


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 1   business, so I think the foundation has always just
 2   been, you know, really for me and Ben to decide on.
 3               MR. RATINOFF:      I would like to upload a
 4   document.     This is going to be Tab 4.
 5               (WHEREUPON, Exhibit 4 was marked for
 6         identification.)
 7   BY MR. RATINOFF:
 8         Q.    Let me know when that's up on your chat.
 9               Do you see this document that I put up?            It
10   should be an email from John Mark Suhy dated
11   May 5th -- I'm sorry -- May 21, 2018.            Do you see that?
12         A.    Yeah.
13         Q.    "Subject:      Quick Notes on fork."
14         A.    Yeah, I see it.
15         Q.    And looking at the "to" line, there's a Brad
16   Nussbaum, brad@atomrain.com.          Do you see that email
17   address?
18         A.    Yep.    Yep.
19         Q.    Is that an email address that you use
20   currently?
21         A.    Yes.
22         Q.    And were you using that email address back in
23   2018, in May?
24         A.    Yes.
25         Q.    And the other address, Benjamin Nussbaum,


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1    that's your brother Ben?
2          A.   Yes.
3          Q.   And that's his email address, ben@atomrain.com?
4          A.   Yes.
5          Q.   Prior to forming Graph Foundation, when you
6    were in the preformation stage, were you using your
7    AtomRain account to communicate about forming Graph
8    Foundation?
9          A.   We've -- we've spoken with John Mark with our
10   AtomRain accounts.
11         Q.   So the answer is --
12         A.   I don't know if it's --
13         Q.   Sometimes I'm asking very simple yes-or-no
14   questions, and I appreciate you wanting to elaborate,
15   but I think it will go a lot smoother if you just answer
16   my questions as they're asked.          I'm going to ask it one
17   more time.
18              Did you use your AtomRain email address to
19   discuss forming Graph Foundation with John Mark?
20         A.   You're saying like prior to us ever having a
21   Graph Foundation email?
22         Q.   Yes.
23         A.   I mean, prior to having a Graph Foundation
24   email and prior to Graph Foundation existing, John Mark
25   and, you know, Ben and I communicated with our AtomRain


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 1   emails as the main form, I would say.
 2         Q.   At this time in May of 2018, were you an
 3   employee of AtomRain?
 4         A.   Yes.
 5         Q.   And what was your -- what was your position at
 6   AtomRain at that time?
 7         A.   I was the CEO.
 8         Q.   Do you still hold that position at AtomRain?
 9         A.   Yes.
10         Q.   And was Ben also an employee of AtomRain at
11   that time in May 2018?
12         A.   Yes.
13         Q.   What was his role at that time?
14         A.   He's the CTO.
15         Q.   And is he still the CTO?
16         A.   Yes.
17         Q.   Were you also employed by anyone else at that
18   time besides AtomRain in May of 2018?
19         A.   No.
20         Q.   Okay.    Turning back to this email, which I
21   believe would be Exhibit 4.
22              MR. RATINOFF:      Mark this as Exhibit 4.         It's
23   got the Bates number IGOV0001570192, and I'll represent
24   this is produced by iGov in the related litigation.                  It
25   was not produced by your attorney.


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1    accurate.
2          Q.   Looking at the blue section, it says JMSuhy
3    initial commit.      Do you see that?
4          A.   Yes.
5          Q.   And do you know -- do you understand who
6    JM Suhy is?
7          A.   Yes.
8          Q.   And who is JM Suhy?
9          A.   To my knowledge, that's John Mark's user on
10   GitHub.
11         Q.   And you see there's a date there on August 29,
12   2018?
13         A.   August, yeah, 29, yeah.
14         Q.   So is it fair to say that Graph Foundation had
15   a GitHub account as of August 29, 2018?
16         A.   Well, yeah, I think that's how those commits
17   are tracked.      There's a difference between the actual
18   commit that goes to get repo and what shows up in
19   GitHub, but I think that date is when it's actually
20   merged into GitHub.
21         Q.   But in order to be merged in the Graph
22   Foundation's GitHub, Graph Foundation would have to have
23   a GitHub account, correct?
24         A.   Right.    Yeah.
25         Q.   All right.     And does this at all refresh your


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1               What specifically are you looking for?
2          Q.   Well, did he start up the ONgDB fork on
3    GitHub's repository?
4          A.   Well, if what we're looking at here, Neo4j-OE
5    or something, that's not the ONgDB fork.            This doesn't
6    look like much of anything.         I don't even think there's
7    about more than seven files here.          I'm pretty sure ONgDB
8    is well over a million.
9          Q.   Okay, let's go ahead and move on, then.
10              MR. RATINOFF:      All right.     I'm going to drop
11   another.    It should be Tab 46, and this should be
12   Exhibit 14.
13              (WHEREUPON, Exhibit 14 was marked for
14         identification.)
15   BY MR. RATINOFF:
16         Q.   We'll mark this Exhibit 14.         And the Bates
17   number starting with GFI000287 which was produced by
18   your counsel.
19              Do you have the document in front of you,
20   Exhibit 14?
21         A.   Yes.
22         Q.   Looking at Exhibit 14, there's an HTML address.
23   You have to hover your cursor over it, but if you -- it
24   says Graph Foundation admin.         When you hover over that,
25   it should say admin@graphfoundation.org.


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 1         A.   Uh-huh.     Yeah.
 2         Q.   That's a Graph Foundation email that Graph
 3   Foundation owns?
 4         A.   Correct.     Yes.
 5         Q.   Does Graph Foundation still use that email
 6   address?
 7         A.   Yes.
 8         Q.   And you searched for documents in this case in
 9   that email account?
10         A.   Yes.
11         Q.   So looking at the date of this email, it says
12   July 16, 2018.       Do you see that?
13         A.   Yes.
14         Q.   Does that help refresh your recollection as to
15   whether Graph Foundation had their own ONgDB up on
16   GitHub at that time?
17         A.   Did we?
18         Q.   I'm asking you.
19         A.   I don't think this gives me anything to
20   refresh.    Sorry, what do you mean by get up on GitHub?
21   You mean like does this help establish a date point in
22   time when the ONgDB repository was created?
23         Q.   Yes.
24         A.   No, this would not do that.
25         Q.   All right.     Let's go to the bottom, looking at


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 1           Q.   It's fair to say it says forwarded message, so
 2   this is forwarded from iGov to Graph Foundation?
 3           A.   Right.
 4           Q.   Do you have an understanding of why it was
 5   forwarded to Graph Foundation?
 6           A.   They must have felt we could better answer or
 7   give better details than they could.
 8           Q.   About GraphStack?
 9           A.   I'm assuming about the state of, like, an
10   open source version of Neo.          It looks like they want to
11   get information like -- it looks like they're
12   redirecting them to the root source of, like, how to
13   best get involved with the open source project.
14           Q.   Okay.     So then looking at the first paragraph
15   of the top email, that's the July 16, 2018, email, it
16   says:
17                        "I received your question from
18                iGov.     We're consolidating support of
19                the open source Neo4j graph database
20                distributions under a nonprofit
21                organization:     Graph Foundation."
22                Do you see that?
23           A.   Right.     Yes.
24           Q.   And then the next paragraph, "I can help you
25   answer your questions."         And then I want you to take a


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1    look at the following paragraph that says:
2                       "The naming you'll see for the
3                build on the foundation site is ONgDB.
4                This is a fully AGPL fork of the open
5                source Neo4J GitHub repository with
6                all restrictive marks from Neo4j Inc.
7                removed."
8                Do you see that?
9           A.   Yes.
10          Q.   So at this point is Graph Foundation saying
11   that there's a fork of Neo4j called ONgDB available as
12   of July 16, 2018?
13          A.   I'm not sure what the state was on this site
14   then that we were directing them to.           It would seem that
15   there was something there.         I don't know what the state
16   was.   Maybe we had pre-built -- there was a point in
17   time where we were -- I don't know, I don't know when
18   that was.    Yeah, I don't know.        There must be something
19   up there for him then.        I'm not sure what was up there.
20          Q.   What do you mean by this is a fully AGPL fork
21   of the open source Neo4j GitHub repository with all
22   restrictive marks from Neo4j removed?
23          A.   I think it was, like, in January or March 2018
24   when the Commons Clause came in to, like, 3.4, something
25   like that.     I don't know the exact date.         So I think


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 1   this is when some of the Commons Clause stuff was going
 2   on.   So I think all -- all that would mean by
 3   restrictive marks is that we were conveying the
 4   open source code as the pure open source under AGPL.
 5         Q.    So with an AGPL license without the
 6   Commons Clause?
 7         A.    Right.     Yeah.   Because I think we -- yeah, we
 8   had removed the Commons Clause I think at this point.
 9         Q.    Is that what you're saying in the next
10   sentence?
11                    "We've taken the necessary steps
12               to make sure we keep the repository
13               fully AGPL which is the license that
14               Neo4j has released it under, but then
15               added additional sections to the AGPL
16               license."
17               Are you referring to the Commons Clause there?
18         A.    Yeah, we're referring to Neo4j Inc. adding the
19   Commons Clause in to the AGPL license, yeah.
20         Q.    It says:
21                    "Which in our conversations with
22               FSF (Free Software Foundation) is not
23               legal to do when using the AGPL
24               license."
25               Do you see that?


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1          A.   Yeah.    I think our understanding of this, you
2    know --
3          Q.   I'm just asking you --
4          A.   -- has evolved since then, but, yeah, I see
5    this.   I see this, yeah.
6          Q.   So as of July 16, 2018, had you had any
7    conversations with the Free Software Foundation
8    regarding Neo4j adding the Commons Clause to AGPL?
9          A.   We did not, no, not the Graph Foundation.
10         Q.   Did you personally have any conversations with
11   the Free Software Foundation whether it was legal for
12   Neo4j to add the Commons Clause to the AGPL?
13         A.   No.   I think I saw a conversation about it, but
14   we did not.
15         Q.   Saw, what do you mean by saw a conversation?
16         A.   I think I saw an email about a conversation.
17   I'm not sure how I saw that.
18         Q.   You don't remember who that email was from?
19         A.   I remember there was a conversation.            I'm not
20   sure what we were telling them, though.            I never spoke
21   to the Free Software Foundation direct.
22         Q.   Have you ever spoken to the Free Software
23   Foundation about whether Neo4j was able to add the
24   Commons Clause, quote, unquote, legally?
25         A.   I have not, no.


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1               (WHEREUPON, Exhibit 15 was marked for
2          identification.)
3    BY MR. RATINOFF:
4          Q.   So we'll mark this document which was produced
5    by iGov.    Do you have what's Tab 56 in front of you?
6          A.   Yes.
7          Q.   Okay.    And so we'll call this Exhibit 15 now.
8    It's got the Bates number IGOV0001570185.001 on the
9    first page.     So again, this is dated May 22, 2018.            I
10   think that was around the same time we looked at that
11   earlier email and you had mentioned that Graph
12   Foundation wasn't in existence yet officially, correct?
13         A.   Sorry, that was too much.         What are you asking?
14         Q.   You see the date May 22, 2018?
15         A.   Yes.
16         Q.   So you didn't have a Graph Foundation email at
17   this point, right?
18         A.   I don't think Graph Foundation was formed so
19   definitely no.
20         Q.   And we looked at a prior email where you were
21   discussing forming Graph Foundation, correct, around
22   this time?
23         A.   I would say I don't think --
24              MR. PERNICK:     Objection, misstates testimony.
25              THE WITNESS:     I don't think we were doing that.


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1    I don't think that's quite the right way to say that.
2               MR. RATINOFF:      Well, let's go back to -- I know
3    your counsel made an objection, and just make sure you
4    let me finish my question, give like a slight pause, let
5    Mr. Pernick have a chance to object if he needs to.
6               MR. PERNICK:     Especially since I generally have
7    to press my unmute button so it takes a little bit
8    longer.
9               The objection is misstates testimony.
10              MR. RATINOFF:      I'm going to strike the
11   testimony -- there was a lot of talk over -- so I'll
12   start over again.      In case he wants to object, just give
13   him a second.
14              JOHN PICONE:     Jeff -- Mr. Pernick, if you have
15   your spacebar, if you press it, it will unmute
16   temporarily.     I found that's an effective method.
17              MR. PERNICK:     I wasn't able to get that to work
18   in our test run, but it is working now.
19              JOHN PICONE:     As long as your cursor is on the
20   Zoom application it will work.
21              MR. PERNICK:     Thank you.
22              MR. RATINOFF:      Technology is great.
23   BY MR. RATINOFF:
24         Q.   Let's look again -- I think we looked at this
25   email address before, brad@atomrain.com.            That's your


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1    email address, right?
2          A.   Yes.
3          Q.   You have no reason to believe you didn't
4    receive this email?
5          A.   No.    I received it, yeah.
6          Q.   And looking over this email, is this the email
7    you referenced from -- maybe seen from John Mark
8    earlier?
9          A.   It sounds about right.        This seems like an
10   email that came from Free Software Foundation discussing
11   this topic, yes.      I forget what they said, but yes.
12         Q.   Do you see anywhere in here where Free Software
13   Foundation's giving legal advice to Mr. Suhy?
14         A.   I think my view on that was that they -- I
15   think they didn't -- I don't think they could give us
16   legal advice or I don't think they said it was legal
17   advice.    I think it was, like, an opinion.           So I
18   don't -- you know, giving legal advice is not something
19   that they would do so I don't think that makes sense,
20   but I don't see what they're saying here.             I would have
21   to read it.
22         Q.   Okay.    Well, why don't you go ahead and do
23   that.
24         A.   I think they're giving us advice on the further
25   restrictions clause in Section 7, and I think they're


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1    that I ever saw.      I think there was only ever one.
2               MR. PERNICK:     Jeff, we've been going for about
3    an hour and a half.       Can we take a brief five-minute
4    break.
5               MR. RATINOFF:      Sure.   Let me show one more
6    document.
7               MR. PERNICK:     Okay, no problem.       Nothing dire.
8               MR. RATINOFF:      Thank you for the reminder,
9    though.
10              (WHEREUPON, Exhibit 16 was marked for
11         identification.)
12   BY MR. RATINOFF:
13         Q.   Do you have that in front of you?           So this
14   would be the document produced by iGov, Bates number
15   IGOV0001570125.001, and this is Exhibit 16.
16              And do you recognize this email?
17         A.   Yes.
18         Q.   So you've seen this email before?
19         A.   I'm sorry.     I thought you meant do I know
20   what's in front of me.        You're asking if I -- I'm sorry.
21   What are you asking me?
22         Q.   I'm asking whether you've seen this email
23   before.
24         A.   This looks like a conversation happening with
25   the Free Software Foundation by John Mark.


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1           Q.   And this is the same Donald Robertson that we
2    saw to your knowledge in the last email that we were
3    looking at?
4           A.   Yeah, it looks like it.
5           Q.   And then -- but you don't know -- you don't
6    know whether you've seen this email or not, before or
7    not?
8           A.   This may have been, like, one of the other
9    emails I mentioned; like, it was probably forwarded to
10   me at one point, but I don't know.           I'd have to go find
11   it.
12          Q.   Okay.   Maybe we'll have you do that after the
13   deposition.     But for the time being, we have this email
14   from the Free Software Foundation to John Mark which you
15   see here.
16               Looking at first where it says "snip" under
17   June 20th, do you see that?
18          A.   Yes, uh-huh.
19          Q.    "1) As the copyright holder,
20               is Neo4j Inc. allowed to add the
21               specific additional terms mentioned
22               above to the license.txt file
23               (containing the AGPL license terms)
24               and enforce these new additions?"
25               Do you see is that?


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1          Q.   Yeah.
2          A.   I mean, I guess because our goal is to make
3    ONgDB available publicly, so 3.5 was the next version.
4          Q.   And that's because Neo4j released its
5    Version 3.5?
6          A.   Are you asking a question about our versioning?
7          Q.   Well, is there a significant difference between
8    version -- I'm sorry -- Neo4j 3.4 and 3.5?
9          A.   I mean, there are definitely differences.
10              MR. RATINOFF:      Okay.   I'm going to put Tab 13
11   back up.    So this will be Exhibit 18.
12              (WHEREUPON, Exhibit 18 was marked for
13         identification.)
14   BY MR. RATINOFF:
15         Q.   Do you have Tab 13 up on your screen?
16         A.   Yes, I have it up.
17         Q.   And this again was produced with the Bates
18   number N4J_018661.       It was printed out from the
19   internet, from Twitter's website, on 5/20/2020.
20              This is, again, I believe Graph Foundation's
21   Twitter account, correct?
22         A.   Yes, this is our Twitter account.
23         Q.   Do you have any reason to believe these tweets
24   that are included in this document are accurate as far
25   as being from Graph Foundation's account?


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 1          A.   They look accurate to me.
 2          Q.   Do you see the first tweet right here at the
 3   top?    It says:
 4                      "It's official:     #Neo4j
 5               Enterprise is closed source.         As of
 6               November 2, 2018, Neo4j Inc. has
 7               moved all enterprise modules of the
 8               3.5 release to a private repository."
 9          A.   Yep.
10          Q.   Do you see that?
11          A.   I see that.
12          Q.   What did that mean?
13          A.   I think exactly what it says.
14          Q.   Why did Graph Foundation tweet that?
15          A.   I think it's a factual statement.            Enterprise
16   is closed source.       I think that's true.        There were
17   commits that I know that I reversed as of November 2nd,
18   2018, that removed all the enterprise code and all the
19   enterprise modules, yeah, to the private repository, so
20   that's true.       And, yeah, they even announced I think
21   that they were open core.
22          Q.   Was there a prior release Version 3.5 that had
23   enterprise modules that were not part of the enterprise
24   repository?
25          A.   Was there a prior release.          Like -- well, so


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1          A.   Yeah.    Yeah.
2               MR. RATINOFF:      I'm going to put up another
3    document.    This is -- Tab 25 will be Exhibit 19.
4               (WHEREUPON, Exhibit 19 was marked for
5          identification.)
6    BY MR. RATINOFF:
7          Q.   Let me know if you have that up.
8          A.   Yep, I've got it.
9          Q.   So looking at this email, it shows ben@atomrain
10   and brad@atomrain.com.        Do you see those two email
11   addresses?
12         A.   Yes.
13         Q.   Those are the email addresses we discussed
14   earlier that belong to you and your brother, correct?
15         A.   Yes.
16         Q.   This is johnmarksuhy@purethink.com.           I don't
17   know if we've seen that address before.            Do you
18   recognize it?
19         A.   Yeah.    Yeah.
20         Q.   So this is a document that was produced by
21   Mr. Suhy's counsel.       And do you have any reason to
22   believe this isn't an accurate email that you received?
23         A.   No, no reason.
24         Q.   Do you see the subject there, graphstack.io -
25   avoid trademark issues?


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 1   good way, and I don't think Neo was too receptive of
 2   being in a position of wanting to help find a solution,
 3   kind of filed a lawsuit against us, so I don't think
 4   there was really much opportunity to discuss it.
 5              MR. RATINOFF:      Okay.    So let me move on to
 6   another exhibit.
 7              (WHEREUPON, Exhibit 21 was marked for
 8         identification.)
 9   BY MR. RATINOFF:
10         Q.   This will be Exhibit 21, I believe.            This was
11   produced as Bates number N4J-GFI_000092.             This is a
12   printout from Graph Foundation's website as of
13   September 24, 2019.
14              Do you have any reason to believe this isn't a
15   correct printout of what was on Graph Foundation's
16   website as of that date?
17         A.   No reason, no.
18         Q.   And looking at Licensing, do you see that
19   heading right there?
20         A.   Yes.
21         Q.   And it says:
22                     "ONgDB distributions are
23              licensed under AGPLv3 as a free and
24              open drop-in replacements of Neo4j
25              Enterprise commercial licensed


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1               distributions with the same version
2               number."
3               Do you see that?
4          A.   Yes.
5          Q.   What did Graph Foundation mean by drop-in
6    replacement?
7          A.   I think we provided an explanation of this.
8    Drop-in, I think as everybody understands it in
9    development, you know, essentially functions
10   equivalently from one version to another.             So if you
11   took a Neo4j Enterprise version, let's say 3.5.4, the
12   database format that it creates would work with ONgDB
13   3.5.4, so you can essentially write your data, and with
14   Neo4j Enterprise, you can use that same data with ONgDB.
15         Q.   And just to clarify, that's Graph Foundation's
16   understanding of drop-in replacement?
17         A.   Yeah.    Yeah, that's on our site, so.
18         Q.   And as of ONgDB Version 3.5.4, it's Graph
19   Foundation's belief at that time it was a hundred
20   percent identical to Neo4j Enterprise 3.5.4?
21         A.   No, it was not one -- I mean, it couldn't be
22   100 percent identical because Neo4j was close source as
23   of 3.5.0-RC1, and so any time after that there have to
24   be some differences.       And so drop-in does not mean
25   identical; it refers more to compatibility.


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 1         Q.   Okay.    You mentioned release I guess -- let me
 2   start over.
 3              You mentioned Neo4j 3.5.0-RC1.           Is that a
 4   pre-release version of Neo4j 3.5?
 5         A.   Yes, it's a release candidate.
 6         Q.   And that was available on Neo4j's GitHub?
 7         A.   Yes.
 8         Q.   And was Neo4j 3.5.0-RC1, was that released
 9   under the AGPL plus Commons Clause by Neo4j?
10         A.   Yes.
11         Q.   Is that -- is 3.5.0-RC1, is that the code base
12   that ONgDB 3.5.4 is based on?
13         A.   What do you mean by based on?
14         Q.   Well, you mentioned that it couldn't be
15   identical because the last version that was available
16   before one closed was 3.5.0-RC1.
17         A.   Right.
18         Q.   So ONgDB 3.5.4 isn't 100 percent identical to
19   Neo4j 3.5.4, correct?
20         A.   Correct, they're not 100 percent identical.
21         Q.   So if they're not 100 percent identical, what
22   is -- what is the same between ONgDB 3.5.4 and Neo4j
23   3.5.4?
24         A.   It's a great question.         Neo4j source is closed
25   so we don't know.


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1          Q.   So as of ONgDB 3.5.4, Graph Foundation had no
2    way of knowing whether that was identical to Neo4j's
3    3.5.4, correct?
4          A.   Yeah, there's no way to know that they're
5    100 percent identical, correct.
6          Q.   How is Graph Foundation able to represent that
7    3.5.4 was a drop-in replacement, ONgDB, that is, for
8    Neo4j 3.5.4?
9          A.   I think I described it earlier.          Drop-in
10   replacement refers more to compatibility of features, so
11   we were able to take a Neo4j 3.5.4 version, create a
12   database and just show that it worked with ONgDB at that
13   same version.     So I think that's exactly what we
14   described, and I think that's exactly what we did.
15   That's the only thing that we can really do absent
16   having the source code is just show that they are
17   compatible, they can both read the same database format
18   which is one of the most essential things to make it
19   drop-in.
20         Q.   Did the Graph Foundation do one for one -- let
21   me strike that.
22              So with ONgDB -- do you mind if I leave out the
23   dots -- it's a mouthful -- and just say 3-5-4 is easier?
24         A.   That's fine.
25         Q.   So ONgDB 3.5.4, does that -- did that contain


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1    additional or different source code from Neo4j 3.5.4?
2          A.   We have no way of knowing, but we assume that
3    they were different.       Neo4j could have used our code
4    because it's open, but we could not have used their code
5    because it's closed.       So they could have used our code
6    to make their release.        We assume that they didn't, but
7    we can't see their code.
8          Q.   So ONgDB 3.5.4 contains source code that's not
9    authored by Neo4j, correct?
10         A.   Yes, that's correct.
11         Q.   Do you understand what the term glue code is?
12         A.   Yes.
13         Q.   What's your understanding of glue code?
14         A.   That it's mostly code that's used to maintain
15   compatibility between interfaces.
16         Q.   So ONgDB 3.5.4 contains glue code.           Is that a
17   fair statement?
18         A.   It certainly contains some code that's needed
19   to maintain compatibility with core, which we bring in,
20   which is part of common, so it does contain some of that
21   for shifting interfaces as well as fixes and
22   enhancements.
23         Q.   So how did -- how did you, meaning Graph
24   Foundation, create 3.5.4 if Neo4j was no longer
25   releasing its code at that time?


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1          A.   We merged in all of the core commits for 3.5.4,
2    so that's everything for community, and then, based on
3    whatever feedback was given from the community,
4    developed any of the fixes that we could for releasing
5    the enterprise code.
6          Q.   Okay.    So the fixes that you put into 3.5.4,
7    they were authored by non-Neo4j coders; is that correct?
8          A.   Yes.
9          Q.   And so -- and Graph Foundation would have no
10   way for certain to know whether it actually included
11   every fix that Neo4j put in its Neo4j 3.5.4, correct?
12         A.   I'm sorry.     Could you repeat.
13         Q.   Sure.    So Graph Foundation would have no way to
14   know for certain whether -- strike that.
15              Graph Foundation -- you mentioned fixes for the
16   community, and in reference to that, you did not include
17   patches that came from Neo4j per se, correct?
18         A.   We did not include patches that came -- are you
19   asking if we have code?        What do you mean by we did not
20   include patches that came from Neo4j?
21         Q.   You mentioned there were fixes that were put in
22   place through ONgDB repository, correct?
23         A.   Yes.
24         Q.   And where did those fixes come from?
25         A.   Oh, from community contributors.


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 1         Q.   And Graph Foundation would have no way of
 2   knowing whether there were patches included in Neo4j's
 3   close portion of enterprise 3.5.4, correct?
 4         A.   Right.    We wouldn't know what code changes
 5   they're making to their source because it's private.
 6         Q.   So the only way you would understand what the
 7   potential fixes there were would be looking at Neo4j's
 8   changelog for each version?
 9         A.   We could use what was reported on GitHub, so
10   some people report issues on GitHub still.              We can use
11   what our community users report to us, and we can
12   include fixes that are in core.
13         Q.   So you mention there was enterprise features
14   that were taken to be closed after 3.5.             Which features
15   were those?
16         A.   I'm sorry.     What did you say I mentioned?
17         Q.   You said that when Neo4j took its enterprise
18   portion of the software to close core or private, I
19   guess was maybe the word you used, which features were
20   taken private?
21         A.   Everything in the enterprise directory.
22         Q.   Were there key features in the enterprise
23   software that were taken private in your mind?
24         A.   Yes.
25         Q.   What were those key features?


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1          A.   Causal clustering, backups, restore,
2    monitoring, security, advanced Cypher.            You know, that's
3    about -- I think that's the list.
4          Q.   So ONgDB 3.5.4 had those features in it,
5    correct?
6          A.   Yes.
7          Q.   And -- but those weren't necessarily the same
8    exact code for those features in Neo4j 3.5.4, correct?
9          A.   That's right, they wouldn't have been a hundred
10   percent identical.
11         Q.   Where did the code for those features in ONgDB
12   3.5.4 come from?
13         A.   They started out open source and then changes
14   in enhancements would have been made thereafter by
15   commits to Graph Foundation.
16         Q.   Okay.    But the base code of those features came
17   from Neo4j 3.5.0-RC1?
18         A.   That would have been I suspect the start of it.
19              MR. RATINOFF:      I'm sorry.     Can you read that
20   answer back, please.
21              (Record Read.)
22   BY MR. RATINOFF:
23         Q.   What do you mean by the start of it?
24         A.   I mean that that's -- that that was like the
25   state of the code as of 3.5.0-RC1 was the last time that


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 1   Neo made any public contribution, so thereafter
 2   everything would have been from the open source
 3   community.
 4         Q.   For those particular enterprise features that
 5   you mentioned?
 6         A.   Yes.
 7         Q.   Give me one second.        You mentioned
 8   contributions from the community.            So Graph Foundation
 9   relied on open source contributors to fix issues with
10   various versions of ONgDB?
11         A.   Yes.
12         Q.   And were those -- when you say open source
13   community, does that include Neo4j contributors?
14         A.   Yes.
15         Q.   And that would also include Graph Foundation
16   contributors?
17         A.   Yes.
18         Q.   So you would have to go to Neo4j's GitHub
19   repository to find the open source contributions to
20   Neo4j's software?
21         A.   You can see it on our repo too.
22         Q.   You would be able to see Neo4j contributors'
23   open source contribution on Graph Foundation's GitHub?
24         A.   Yeah, because it's a fork.
25         Q.   What do you mean by that?

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1    and the release repository links to the distributions on
2    the CDN.
3          Q.   Does the testing include a function that
4    includes function testing?
5          A.   Yes.
6          Q.   It includes performance testing?
7          A.   Yes.
8          Q.   And what other type of testing is done before
9    it's released, a particular version?
10         A.   Integration testing, stress testing, integrity
11   of the packaging.
12         Q.   That's all done by Graph Foundation?
13         A.   Yes.
14         Q.   And do you have any idea of what type of
15   testing Neo4j uses on its coded versions of Neo4j
16   software?
17         A.   Only the stuff that was public is what we would
18   know about.     We wouldn't know anything about their
19   private testing.
20         Q.   For example, Neo4j 3.5.4, you wouldn't have any
21   idea what testing is done before Neo4j released that
22   software?
23         A.   We know of all the tests that are committed
24   that are open source so there's quite a few.             The
25   open source code base contains tests.


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1          Q.   But you wouldn't have any insight into the
2    testing that's done on the closed source components of
3    Neo4j 3.5.4?
4          A.   Correct.    If it's closed source, we don't
5    know -- we don't have the code and we don't know their
6    methods.
7               MR. RATINOFF:      Okay.   Let me see.      I want to
8    put this exhibit up.       Hopefully I will guess the right
9    number.
10              (WHEREUPON, Exhibit 22 was marked for
11         identification.)
12   BY MR. RATINOFF:
13         Q.   So we'll mark Tab 21 as Exhibit 22.           This is --
14   first page bearing Bates number N4J_018667, and this is
15   a printout from Graph Foundation's Twitter account dated
16   7/19/2020.
17              Do you have this document in front of you?             Do
18   you recognize this document?
19         A.   Yep.
20         Q.   What is it?
21         A.   It's a tweet from our account.
22         Q.   "Our" being Graph Foundation?
23         A.   Yeah, Graph Foundation account.
24         Q.   It says:
25                     "Please report all #Neo4j


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1               Enterprise 3.5 issues to the ONgDB
2               GitHub."
3               Do you see that?
4          A.   Yep.
5          Q.   And continues after the web address:
6                      "...so we can more effectively
7               track bugs related to open source
8               enterprise code versus open core
9               community."
10         A.   Right.
11         Q.   Why did Graph Foundation tweet this?
12         A.   Yeah, so a lot of -- a lot of users tend
13   to -- you know, in the past have reported issues to
14   Neo4j's repo that affected enterprise and community code
15   because it was open source, they were both open source,
16   but as soon as Neo4j took enterprise away, there's no
17   longer an open source project there so they kind of left
18   a hole and users didn't really know where to be
19   redirected to to report enterprise issues on
20   open source.      So this was to try to redirect them, to
21   inform them where open source development was being
22   maintained and where they can track bugs.
23         Q.   So you're asking Neo4j users to go to ONgDB's
24   GitHub repository to report bugs?
25         A.   That are related to enterprise, yeah.


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1          Q.   Neo4j Enterprise, correct?
2          A.   The -- yeah, as we understand it, the
3    enterprise -- open source enterprise, yeah.
4          Q.   You don't think that's confusing the customers
5    out there to redirect Neo4j bugs to -- I'm sorry -- to
6    Graph Foundation's GitHub repository?
7               MR. PERNICK:     Objection; vague.       Can you
8    restate that.
9               MR. RATINOFF:      Sure.
10   BY MR. RATINOFF:
11         Q.   So did you think that your tweet would confuse
12   anyone as to where to report bugs to Neo4j software?
13              MR. PERNICK:     Objection; vague; calls for
14   speculation.
15              THE WITNESS:     Yeah, I can't speak to other
16   people's -- how they would interpret this.             I can see
17   what my intent with it was which is what I think I said.
18   BY MR. RATINOFF:
19         Q.   I'm asking you I guess what -- I appreciate
20   your prior testimony, but what I'm asking you is did it
21   occur to you when tweeting this that it may confuse
22   Neo4j users to report their bugs to Graph Foundation's
23   GitHub repository rather than Neo4j's repository?
24              MR. PERNICK:     Objection; vague.
25              THE WITNESS:     I felt that it was fairly clear


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1    that enterprise no longer existed, open source, and that
2    was the sole reason that anybody would report an
3    enterprise issue on Neo4j's GitHub.           If enterprise is no
4    longer open source, there's no reason to report anything
5    on their GitHub, so I feel like it's very clear to
6    redirect open source enterprise users to the right
7    place.
8    BY MR. RATINOFF:
9          Q.   The right place being Graph Foundation's
10   GitHub?
11         A.   Yeah, where open source enterprise was being
12   worked on.
13         Q.   Okay.    So you're basically soliciting users of
14   Neo4j Enterprise, which is closed, to report their
15   issues to Graph Foundation's GitHub repository, correct?
16              MR. PERNICK:     Objection; vague.
17   BY MR. RATINOFF:
18         Q.   Strike that question.        Let me ask another
19   question.
20              I noticed you use Neo4j hashtag there.            Do you
21   see that?
22         A.   Yeah.
23         Q.   Why would you use a Neo4j hashtag there?
24         A.   It's a topic relevant to Neo4j users.
25         Q.   Okay.    So you use the hashtag to raise the


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1          A.   Did you want me to restate what we're doing?
2          Q.   Sure, if it answers the question.
3          A.   Maybe you have to re-ask your question, then.
4               MR. RATINOFF:      Can you please read my question
5    back.
6               (Record Read.)
7               MR. PERNICK:     Objection; vague.
8               THE WITNESS:     Can you just ask that as a
9    question.
10   BY MR. RATINOFF:
11         Q.   I'll strike the question.         I didn't quite hear
12   all of it, but it didn't sound like -- there was some
13   extra word in there.
14              So let me ask you this:        Do you understand what
15   hashtags are?
16         A.   I understand that a hashtag is used to make or
17   create a topic so that people that want to go read about
18   a topic or, you know, look at things that are related to
19   a certain topic, yeah, it's a way to tag things.
20         Q.   So by tagging Neo4j, if someone's searching
21   Twitter for #Neo4j, it would be more likely this tweet
22   would come up, correct?
23         A.   Yes, if they're interested in -- if they're a
24   Neo4j user or if they're looking at, you know, things
25   relating to Neo4j that are happening, this would be


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1    something that's happening around Neo4j.
2          Q.   And I notice there's no hashtag next to ONgDB.
3    Why is that?
4          A.   I'm not sure.
5          Q.   So you use the #Neo4j to make it more likely
6    for a person interested in Neo4j Enterprise to have seen
7    this tweet, correct?
8               MR. PERNICK:     Objection; vague.
9               THE WITNESS:     I think like what I said, we use
10   the hashtag so that Neo4j users can be informed.
11   BY MR. RATINOFF:
12         Q.   So my question is it's more likely that a Neo4j
13   user will find this tweet because he used the hashtag
14   Neo4j, correct?
15              MR. PERNICK:     Same objection; vague.
16              THE WITNESS:     I mean, that assumes -- yeah,
17   that assumes that Neo4j users are looking at that
18   hashtag, but anybody that is looking at the Neo4j
19   hashtag can become informed and that includes Neo4j
20   users.
21   BY MR. RATINOFF:
22         Q.   So it's more likely that a Neo4j user would
23   find this tweet by using the Neo4j hashtag versus using
24   just the word Neo4j, correct?
25              MR. PERNICK:     Objection; vague; calls for


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1    speculation.
2               THE WITNESS:     I mean, we can't -- I mean, we
3    can't really speculate about how people find us.              I
4    mean, what we can do is try to give information to as
5    many places as possible.
6    BY MR. RATINOFF:
7          Q.   I understand that, but what I'm saying is is
8    you've already explained your understanding of what a
9    hashtag is.     What I'm asking you is by using a hashtag
10   with Neo4j, it's raising the prominence of this tweet to
11   people looking for Neo4j versus had you simply
12   referenced Neo4j without the hashtag, correct?
13         A.   It places that tweet in a topic so it is
14   possible that more people would see it as a result.
15         Q.   So you used the hashtag Neo4j to make it more
16   likely that this tweet would be seen by Neo4j users,
17   correct?
18         A.   Yes because our objective is to inform.            We
19   want Neo4j users to be informed about their options.
20         Q.   But you're not giving an option here.            You're
21   just asking to report bugs in Neo4j Enterprise to Graph
22   Foundation, correct?
23              MR. PERNICK:     Objection; vague.       The document
24   speaks for itself.
25              THE WITNESS:     So the option that they knew of


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 1   today was one.       Prior to this, they only had one option
 2   which was the Neo4j repo, so in our mind we were giving
 3   them a second option which is to inform them that
 4   there's another place that they can report open source
 5   enterprise issues, and I think that's exactly what we
 6   said, effectively track bugs related to open source
 7   enterprise, and that would no longer apply to Neo4j's
 8   code base because it was no longer open source
 9   enterprise.       So I think that's clear.
10              MR. RATINOFF:      Let me put up Tab 23.         And this
11   was attached as Exhibit K to the first set of RFAs,
12   John, so I just wanted to let you know.             So I'm only
13   going to ask a couple questions about this since it's
14   already been subject to RFAs and been authenticated.
15              (WHEREUPON, Exhibit 23 was marked for
16   identification.)
17   BY MR. RATINOFF:
18         Q.   So this starts with the Bates number
19   N4J-GFI_000078, and this is a printout from the Graph
20   Foundation website dated September 24, 2019.
21              Do you recognize this document?
22         A.   Yes.
23         Q.   Okay.     What is it?
24         A.   It's a blog post.
25         Q.   Did you author this blog post?


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1           A.   Yes.
2           Q.   Why did you put this post up on Graph
3    Foundation's website?
4           A.   Because it's relevant to Graph Foundation.
5           Q.   Other than being relevant, was there a specific
6    reason why you drafted this post?
7           A.   Well, I mean, I think the post speaks for
8    itself.     It's informative, I think it's an informative
9    post so to inform people.
10          Q.   Okay.   I'm asking the reason why you did it,
11   not what it does to people.         So I'll ask it a different
12   way.
13               Why did you author this post and put it up on
14   Graph Foundation's website at this time, which is
15   January 31, 2019?
16          A.   To inform people of the changes that happened
17   and to let them know what was happening in the community
18   in response to it.
19          Q.   And when you came up with the name ONgDB, it
20   stood for not just Open Native Graph Database, but in
21   your mind did it also stand for open Neo4j graph
22   database?
23          A.   It stood for Open Native Graph DB, and then I
24   think there was an early version of this blog that
25   included some developer humor as a throwback to GNU and


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1    the Free Software Foundation and its recursive name that
2    I think was cited as part of the original claim that I
3    guess was offensive to Neo, and so we decided, like,
4    that joke might have been in bad taste so we removed it.
5          Q.   Okay.    So in other words, it was just a joke
6    that you -- and you can look at the specific page.               It's
7    4 out of 8 and it's in the second paragraph at the end.
8          A.   Yeah.
9          Q.   It says:
10                     "As a throwback to those early
11              days and our beginnings on GNU
12              (remember GNU's not Unix), we decided
13              on the name ONgDB."
14              That's -- do you see where I'm at?
15         A.   Yes, I see where you're at.
16         Q.   The last part of that says "but also ONgDB's
17   Neo4j Graph DB"?
18         A.   Correct.
19         Q.   So that was just a joke?
20         A.   Yes.    We apparently should have resisted the
21   double meaning because it was a bad joke in bad taste.
22              The thing that we cared about was -- it stands
23   for Open Native Graph DB.        That's what we always cared
24   about.     We felt like it needed to be open and it needed
25   to be native and it was a graph.


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1          Q.   Did Graph Foundation change the way it was
2    referring to Neo4j based on those guidelines?
3               MR. PERNICK:     Objection; asked and answered.
4               THE WITNESS:     I don't think the guidelines
5    actually give us a way to talk about the open source
6    Neo4j graph database, do they?          I think it just says you
7    can't do that.      I don't think it -- I don't know.           Do
8    they actually give you a way to do that?
9               MR. RATINOFF:      You reviewed them so you can
10   tell me.    I can bring the exhibit back up.           We'll move
11   on.   If I have time I'll come back to that.
12              Let's go ahead and put this one up here.             This
13   should be Tab 31.
14              (WHEREUPON, Exhibit 24 was marked for
15         identification.)
16   BY MR. RATINOFF:
17         Q.   Let me know when you've got that.           Do you have
18   Tab 31 in front of you?
19         A.   Yes.
20         Q.   So this was printed out on June 10, 2020, from
21   Graph Foundation's GitHub.         You can see that down at the
22   footer there.     And right next to that is Bates number
23   N4J_018645.     Do you see that?
24         A.   Yes.
25         Q.   Do you have any reason to believe this isn't an


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1    accurate printout from Graph Foundation's GitHub
2    repository?
3          A.   No reason.     It looks right.
4          Q.   All right.     Let's mark this as Exhibit 24.
5               And then looking at the second text box here,
6    it says "Brad Nussbaum commented February 13th."
7               Is that you?
8          A.   Yes.
9          Q.   So -- and that's your user name on GitHub?
10         A.   Yes.
11         Q.   Okay.    Moving down, it says -- you have an
12   entry here on April 13, 2020.         Do you see that?
13         A.   Yes.
14         Q.   It says:
15                     "The Graph Foundation can only
16              change the license of source code
17              where it holds the copyright."
18         A.   Yes.
19         Q.   So you understand that only a licensor can
20   change the source code -- I'm sorry -- change the
21   license for its source code, correct?
22         A.   I understand that the Graph Foundation can only
23   change the license of the source code that it holds the
24   copyright to.
25              MR. RATINOFF:      Okay, I'm just trying to skip a


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1          A.   Yes, I see that.
2          Q.   So what Graph Foundation means by that is it's
3    made fixes that it's aware of in the open -- strike
4    that.
5               Previously you testified that the fixes would
6    come from the community.        Is that also true with
7    Version 3.5.14?
8          A.   Yes.
9          Q.   And was ONgDB 3.5.14 a drop-in replacement for
10   Neo4j 3.5.14?
11         A.   I don't know -- I don't know.          It might -- it
12   might still be.      I'd have to go back and look at the
13   list.   Some of these we stopped noting -- if it was, we
14   noted it as such or the language on the site was as
15   such.
16         Q.   But there's no -- there's no way to know
17   whether the important improvements and fixes in 3.5.14
18   were made in Neo4j's 3.5.14, assuming there is a 3.5.14?
19         A.   Sorry.    No way to know what?
20              MR. PERNICK:     Can you restate that, Jeff.
21              MR. RATINOFF:      Thank you.     That was my --
22   strike that.
23   BY MR. RATINOFF:
24         Q.   What's the -- what's the last version of ONgDB
25   that Graph Foundation believes is a drop-in replacement


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1    for a closed version of Neo4j?
2          A.   I mean, I think we changed it pretty early on
3    in the 3.5 cycle because after some period of time it
4    gets harder and harder to verify that just because the
5    source code can drift more and more.           So I have to go
6    back and look at what exact date we took that language
7    off of the site, but it's no longer on our current site
8    to describe ONgDB that way.         We changed it to be an
9    open source alternative, so yeah.
10         Q.   You can't pinpoint which version that occurred?
11         A.   I mean, it must have been some time
12   between -- I don't know.        I don't know when it was, when
13   that changed.     I could try to find out, but I don't
14   know.   I'm sure it was between 3.5.4 and 3.5.11.             I
15   think that those are -- yeah, 3.5.4 might have been the
16   last time that we referred to it that way.
17         Q.   But you're not sure?
18         A.   Actually, it's probably pretty close because
19   3.5.4 was October 2019.        Yeah, I don't think we were
20   referring to it all the way then, so by 3.5.11 we
21   weren't.    I think 3.5.4 was the last release I see on
22   here that probably had it.
23         Q.   So looking at the bottom of Tab 39, you see
24   there's a list of different versions of ONgDB.
25         A.   Yes.


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1          Q.   So as of versions listed here starting
2    after -- I'm sorry, which version was it where you
3    believe -- 3.5.11?
4          A.   It would have been after 3.5.4, I think.
5          Q.   3.5.4.    So after 3.5.4, all these subsequent
6    versions that Graph Foundation no longer referred to
7    ONgDB as a drop-in replacement for the equivalent
8    version of Neo4j?
9          A.   So the statement about it being drop-in
10   replacement was on the main page describing it and we
11   would have taken that language down at a point in time,
12   and that point in time is probably when we felt like
13   it -- we no longer could, you know, maybe reliably
14   guarantee that it was a drop-in replacement.             So the
15   language did get dropped, and I think it's somewhere
16   around the time where we either felt it could no longer
17   be reliably described that way, yeah.
18         Q.   And that was sometime between 3.5.4 and 3.5.11?
19         A.   Well, yeah, yeah.
20         Q.   Yes, it was sometime between --
21         A.   Yeah.    Yes, sometime between that period, I
22   believe.
23         Q.   Why couldn't Graph Foundation continue to refer
24   to ONgDB as a drop-in replacement for Neo4j?
25         A.   I think for the same reasons we said that it


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1    could be and that, you know, we think it can be a
2    drop-in replacement as long as the compatibility is
3    there and other systems can integrate with it on its
4    interfaces effectively.        I think at some point we become
5    less and less sure as time moves on and we don't see the
6    source code from Neo and there's possible drift, so
7    we -- early on we were able to do, you know, some degree
8    of testing, although we dropped it into existing 3.5.4
9    releases.
10              I don't think we -- we had a desire to do that
11   testing for every single release, and so I think for us,
12   later on, it just -- it felt like a harder thing to try
13   to guarantee, and what we wanted to focus on was telling
14   folks that this is going to be divergent and it's going
15   to be forking and not always have to guarantee that it's
16   going to be a drop-in replacement.
17              I mean, just to fast forward, like 4.0, we've
18   seen -- you know, there's so many changes that have
19   happened to core in 4.0 that the odds of ONgDB's 4.0
20   being a drop-in are just very small.           So I think early
21   on, in the early days, we used it because we could
22   demonstrate it and it was true, and as things move on we
23   dropped it because it's just too hard to demonstrate.
24         Q.   Well, I don't want you to guess when that was.
25   If you want, on a break, if it's okay with your counsel,


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1    you're welcome to confirm what version that was at.
2               MR. RATINOFF:      But that being said, I'm going
3    to go ahead and drop in this next exhibit.             I believe
4    it's going to be Exhibit 26.         You should see Tab 41.
5               (WHEREUPON, Exhibit 26 was marked for
6          identification.)
7    BY MR. RATINOFF:
8          Q.   Do you see that?      It should have a Bates number
9    at the bottom, N4J_018732.         It's a printout dated
10   6/10/2020 from the Graph Foundation's website.
11              Do you see that?
12         A.   Yes.
13         Q.   And this is the page for ONgDB 3.6.0-RC1,
14   correct?
15         A.   Yeah.    This is the landing page for ONgDB,
16   yeah.
17         Q.   And so there is no Neo4j 3.6, correct?
18         A.   To our knowledge, correct.         Neo4j's never
19   released a 3.6 version.
20         Q.   So at this point, ONgDB 3.6.0, this is in your
21   mind a divergent fork of Neo4j?
22         A.   Most definitely.
23         Q.   And it wouldn't be accurate to describe it as a
24   drop-in replacement at this point?
25         A.   3.6 is definitely not a drop-in replacement.


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1          Q.   And you wouldn't describe 4.0 as a drop-in
2    replacement either?
3          A.   I mean, because Neo4j has released a 4.0, it's
4    possible that it can be, but it's very unlikely.              I
5    don't know that we want to take the effort to prove it
6    so that we can say it is such.
7          Q.   Okay.    Do you know offhand which entities are
8    using ONgDB currently?
9               MR. PERNICK:     I'm going to object; vague.
10              Are you asking him whether he knows every
11   entity or what entities he knows?
12              MR. RATINOFF:      What entity.
13              MR. PERNICK:     So --
14   BY MR. RATINOFF:
15         Q.   Let me ask the question:        Which entities are
16   you aware of that are currently using ONgDB?
17         A.   I think we know that there are -- that the IRS
18   is using it.     I think what we sent in some emails, I
19   think Tufin is using it.        There's handfuls of
20   individuals.     I think, like, our one donor, Liquan I
21   think is his name, I think he's using it.             He donated.
22   I think I had a small conversation with him about it.
23   There's various people in the Slack channel that we have
24   that are using it.
25         Q.   Okay.    Actually, before we -- I'm going to show


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 1   and accurate printout from AtomRain's website?
 2              MR. PERNICK:      So Mr. Nussbaum is not here to
 3   testify on behalf of AtomRain.
 4              MR. RATINOFF:      I understand.      I'm asking him
 5   whether -- he's got his own personal knowledge since he
 6   works for AtomRain, so to the extent he knows
 7   personally, I think that's fairly imputed on Graph
 8   Foundation.      I'm not going to be asking questions from
 9   AtomRain's perspective.
10              MR. PERNICK:      Okay.
11              THE WITNESS:      Yes, this appears to be a
12   printout of AtomRain's site.
13   BY MR. RATINOFF:
14         Q.   And AtomRain, is that a company that utilizes
15   ONgDB?
16         A.   To the best of my knowledge, does work --
17   consulting work that involves Neo4j and ONgDB.
18         Q.   So I'm just going to run through these various
19   entities here.      I'll start with Sony pictures.           Do you
20   know if Sony pictures is using ONgDB?
21         A.   No.     And I doubt any of these -- most of these
22   companies are probably not.          A few of them might be.
23         Q.   Okay.    So which ones do you understand are
24   using ONgDB?
25         A.   I think Tufin and the IRS, yeah.


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 1         Q.   The Department of Defense?
 2         A.   I don't think so, no.
 3         Q.   No entities fall within the Department of
 4   Defense?
 5         A.   I'm sorry.      No what?
 6         Q.   No entities or agencies fall within the
 7   Department of Defense?
 8         A.   No.
 9         Q.   US Air Force using ONgDB to your knowledge?
10         A.   Not that I know of.
11         Q.   UBS, are they using ONgDB?
12         A.   No.
13         Q.   WiserCare, are they using ONgDB?
14         A.   Again, none of these except for Tufin and IRS
15   are the ones that I know are.           Oh, yeah, and Cyber GRX
16   is on this list.
17         Q.   Cyber GRX?
18         A.   Yeah.
19         Q.   Where is that?       Okay, I see.      They've got the
20   little logo in the middle there.
21              I think you had mentioned some other entities
22   that aren't on here.        Do you know who Next Century is?
23         A.   Next Century?
24         Q.   Yeah.
25         A.   Like, do I personally know who they are as a

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1    company, or are you asking if I know that they're using
2    ONgDB?
3          Q.   Do you know -- well, I guess one follows the
4    other.     Do you know who at Next Century is, as a
5    company?
6          A.   The name sounds familiar.         I think there was an
7    email or something from them.         Are they a gov company or
8    something?
9          Q.   I don't know.      I'm just asking if you know who
10   they are.
11              Do you know if they're a user of ONgDB?
12         A.   I don't, no.
13         Q.   AdForm, do you know who AdForm is?
14         A.   I think I had one email with them, yes.            I
15   mean, I know they are a company.
16         Q.   Are they using ONgDB?
17         A.   I don't know.
18         Q.   How about Soft Strategy, do you know who
19   Soft Strategy is?
20         A.   Soft Strategy, the name sounds familiar.               I
21   don't know them deeply or anything.
22         Q.   Okay.    I've lost my chat apparently so I'm just
23   going to throw this up again.         And this was previously
24   marked as Exhibit -- unfortunately, I don't have the
25   exhibit number.      Tab 10 was previously marked as


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1    Exhibit 9.     I just re-dropped it here for your
2    convenience.      And I'll direct your attention to page 17
3    out of 180.     Are you there?
4          A.   Yes.
5          Q.   It states toward the bottom of the page:
6                      "GFI has identified the
7               following entities or individuals
8               that may have downloaded ONgDB."
9               Do you see that?
10         A.   Yes.
11         Q.   So there's -- Next Century is listed there,
12   Soft Strategy, AdForm.        Do you see those three names?
13         A.   Yes.
14         Q.   Does that refresh your recollection as to
15   whether they're using ONgDB?
16         A.   So these are individuals that we -- that we've
17   shared emails with, so I mean, I think our assumption is
18   that they're using ONgDB still, but GFI doesn't track
19   that usage.     So at some point in time they've contacted
20   us or made it seem like they would use it.
21         Q.   Then you already mentioned Tufin, I believe you
22   testified, is using ONgDB and so is the US Department of
23   Treasury, correct?
24         A.   Yeah.    Yes.
25         Q.   Is there any other government agencies that


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1    you're aware of that are using ONgDB?
2          A.   No.
3               MR. RATINOFF:      Okay.   Let me go ahead and jump
4    ahead here.      I'm going to go ahead and drop in another
5    exhibit.
6               (WHEREUPON, Exhibit 28 was marked for
7          identification.)
8    BY MR. RATINOFF:
9          Q.   Do you see this email?
10         A.   Yes.
11         Q.   It looks like it's an email to you.
12         A.   Yes.
13         Q.   It says "Hello Brad."        I'm going to skip to the
14   second sentence.      It says:
15                     "I am currently leading the
16              Graph Database team responsible for
17              deploying an ONgDB-based solution
18              into production."
19              Do you see that?
20         A.   Yes.
21         Q.   Does that refresh your recollection as to
22   whether Next Century is using ONgDB?
23         A.   I mean, I guess that's what he said so I assume
24   that's correct.      I assume they are.
25         Q.   Have you had any further correspondence with


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1          Q.   So you never had, like, a video conference or
2    telephone call after COVID hit?
3          A.   No.
4               MR. PERNICK:     Can you restate -- were you
5    asking just with respect to him or with anyone ever?
6               MR. RATINOFF:      Well, with AdForm.       I'll ask the
7    question to be clearer.
8    BY MR. RATINOFF:
9          Q.   After this email, you never had any telephone
10   calls or Zoom conferences with AdForm?
11         A.   No.    I don't remember -- this one I just
12   remember kind of dying somewhere around that time, but
13   there might have been, like, one or two more exchanges,
14   but I think it just kind of died at some point.
15              MR. RATINOFF:      Okay, I'm just going to drop
16   this next one in.      It's Tab 103.      Mark this as
17   Exhibit 30.
18              (WHEREUPON, Exhibit 30 was marked for
19         identification.)
20   BY MR. RATINOFF:
21         Q.   Do you recognize this as Exhibit 30?            Sir?   Are
22   you still reading the document?          Sorry.
23         A.   Yes.   Yep, I've got it.
24         Q.   Actually, if you hover your cursor over your
25   name at the top there, it should be a hyperlink.              If you


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1    hover over there, it should say -- I'll just do a screen
2    share so we'll be on the literal same page.
3          A.   Yeah.
4          Q.   So you should be seeing the same email now.
5          A.   Yes.
6          Q.   And if I hover over your name there, it says
7    mailto:brad@graphgrid.com.
8          A.   Yes.
9          Q.   Do you see that?
10         A.   Yes.
11         Q.   Below your email address is
12   brad@graphfoundation.org.        Do you see that?
13         A.   Yes.
14         Q.   Do you use your GraphGrid email sometimes to
15   communicate about Graph Foundation business?
16         A.   No.
17         Q.   So why is there a graphfoundation.org address
18   on that prior email and you've got your response from
19   brad@graphgrid?
20         A.   Because I think we answered all the questions
21   they had that were about open source and they wanted
22   help with a five-day boot camp, I think.            They wanted
23   some kind of services and the foundation doesn't offer
24   any services.
25         Q.   So that would be GraphGrid that offers that


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1    services?
2          A.   Yeah, GraphGrid does offer services like that
3    so it was a redirect.
4          Q.   You didn't forward this email to your GraphGrid
5    account, though, right?
6          A.   I believe it was, yeah.
7          Q.   Oh, okay.     Does it say forward?
8          A.   It was included or sent in there.           I don't -- I
9    don't know.
10         Q.   Did this training ever happen, this boot camp?
11         A.   No.    No, it didn't.
12              MR. RATINOFF:      Okay.   Let me go ahead and mark
13   the next exhibit.      This is Tab 48 which I'll mark as
14   Exhibit 31.      So my screen share should stop.         You should
15   be able to download this new document.
16              (WHEREUPON, Exhibit 31 was marked for
17         identification.)
18   BY MR. RATINOFF:
19         Q.   Can you see this document?         It should be an
20   email that's from Benjamin Nussbaum to John Mark Suhy
21   and cc'd to Bradley Nussbaum.         Do you see that?
22         A.   Yes.
23         Q.   And again, these are your AtomRain email
24   addresses.     Is there any reason to believe you didn't
25   receive this email in your AtomRain email account?


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1          Q.   Did AtomRain -- did you at AtomRain ever hand
2    off potential users to Graph Foundation?
3               MR. PERNICK:     Objection; vague.
4               THE WITNESS:     What do you mean by hand off
5    potential users?
6    BY MR. RATINOFF:
7          Q.   Well, I'll use the words -- I'm using the words
8    in the email that was sent to you which you said you
9    received.
10              So what did you understand "To continue the
11   conversation, do you want to hand off to someone at the
12   foundation," what did you understand that to mean?
13              MR. PERNICK:     Objection; vague; calls for
14   speculation.
15              THE WITNESS:     I think at times we tried to
16   figure out whether or not -- because, obviously, all of
17   us are wearing a lot of hats, so I think if a
18   conversation was better to be handled by somebody from
19   the foundation, I think that's -- that's all that was
20   intended was to say should somebody from the foundation
21   be contacting them about discussing the open source
22   project.
23              MR. RATINOFF:      Okay.   I'm going to drop another
24   document in here.      This is Tab 50, and I'm going to mark
25   this as Exhibit 32.


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1               (WHEREUPON, Exhibit 32 was marked for
2          identification.)
3    BY MR. RATINOFF:
4          Q.   Do you have this open?        This is an email that
5    was produced by your attorney.          It's dated February 19,
6    2019, and the beginning Bates number GFI000071.
7               Do you recognize this email?
8          A.   Yes.
9          Q.   I'm hovering over your email address.            It looks
10   to be from your Graph Foundation email account; is that
11   correct?
12         A.   Yes.
13         Q.   You can scroll down.       This is a pretty lengthy
14   email chain so kind of takes off from where the other
15   one ended.     So I'm going to have you scroll down to your
16   email that you sent on February 19, 2019, at 9:07.
17              Do you see that?
18         A.   Okay.
19         Q.   It says:
20                     "Our intent is to move ONgDB
21              forward in a fully open source
22              manner governed by The Graph
23              Foundation (nonprofit)."
24              Do you see that?
25         A.   Yes.


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 1         Q.   Has Graph Foundation applied for a copyright
 2   for any source code that's in ONgDB?
 3         A.   Have we applied for a copyright?            What do you
 4   mean by that?
 5         Q.   Literally filing a copyright application for
 6   source code for ONgDB.
 7         A.   Oh, no, we have not filed a copyright
 8   application.      I'm not sure if we would need to file
 9   that.
10         Q.   Moving up to the next email -- this would be
11   from Shahak Nagiel -- I hope I said his name
12   correctly -- February 19, 2019, at 10:46.
13              Do you see that?
14         A.   Yes.
15         Q.   He says:
16                     "Nice to meet you as well.
17              Could you please elaborate on this
18              sentence:     'And when Neo4j realized
19              that the additional Commons Clause
20              didn't prevent usage of enterprise
21              features, it made the ultimate
22              decision to remove all enterprise
23              modules.'"
24              Do you see that?
25         A.   Yes.

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1          Q.   And what did you understand that to mean?
2          A.   I think that's a quote that's taken from my
3    blog post, but I'm not sure.         I'm not sure where that's
4    from, actually, but -- actually, I'm not sure where that
5    came from.
6               I think -- I think it means that at some point
7    I believe that Neo4j realized that a developer had just
8    put in the Commons Clause and didn't really understand
9    licensing and they were still hoping to appear
10   open source and deceive the community, because I think
11   open source has gained them a lot, but then at some
12   point they kind of realized that, you know, they
13   couldn't pretend to be under AGPL any more and still
14   secretively, like, try to tack on the Commons and
15   somehow be closed.       So this is just a simplified way of
16   saying that they realized it didn't work and so they
17   close-sourced it.
18         Q.   You're just speculating why Neo4j went close
19   core, correct?
20         A.   Not why they went close core, but I would say
21   speculating -- yeah, yeah, I would say speculating.
22   That was our belief that they realized it must not have
23   worked.
24         Q.   So you have no personal knowledge as to why
25   Neo4j added the Commons Clause?


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 1         A.   No.
 2         Q.   You have no personal knowledge as to why Neo4j
 3   went open core with its community and closed on
 4   enterprise?
 5         A.   No, not more than what they said publicly.
 6   Yeah, we speculated that it was because of that.
 7         Q.   So then the last would be the top, the last
 8   email in the string says:
 9                     "The Free Software Foundation,
10              which owns the rights to AGPLv3
11              license and its use, reviewed the
12              Commons Clause that had been added
13              and determined that it was not valid.
14              AGPLv3 has clauses preventing
15              additional clauses from being added
16              and still licensing under the AGPLv3
17              license."
18              Do you see that?
19         A.   Yes.
20         Q.   The Free Software Foundation didn't actually
21   determine that the Commons Clause was improperly added,
22   correct?
23         A.   No, I think they determined that.
24         Q.   They didn't give a legal opinion.            That was
25   your prior testimony.


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1          A.   Correct.    I don't think I told him that they
2    gave a legal opinion, did I?
3          Q.   You're just extrapolating?
4          A.   Yeah, correct.      I think I'm surmising the
5    response that was given to us.
6          Q.   They never expressly stated that the
7    Commons Clause not to be valid, correct?
8          A.   They never expressed a legal opinion.
9          Q.   Is there an email anywhere where the Free
10   Software Foundation made a determination that the
11   Commons Clause added to the Neo4j AGPL was invalid?
12              MR. PERNICK:     Objection; asked and answered.
13              THE WITNESS:     Yeah, I think I answered.         I
14   think what they responded stands on its own.
15              MR. RATINOFF:      Can you please read back the
16   question.    I'm entitled to an answer.          It's actually a
17   different question because he's using the word valid.
18   I'm just using the language.
19              (Record Read.)
20              MR. PERNICK:     Objection; asked and answered and
21   vague.
22              THE WITNESS:     Yeah, I mean, this is obviously a
23   way of giving a summary that's maybe more plain
24   language.    So the Free Software Foundation did not use
25   those exact words, but the answer they did give us


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1    might have something in another one that he forwarded,
2    I'm not sure.     It may have been something that I just
3    heard over the phone too.        I heard of a discussion that
4    happened.
5               So of my present knowledge, I'm aware of a
6    discussion that happened within the IRS and that they
7    went through a process and they ultimately determined
8    that they could use ONgDB.
9          Q.   How did you learn that?
10         A.   I think, like I said, it was either through a
11   series of calls and/or there may have been an email
12   forwarded to some account.         I personally learned about
13   it in some way.
14         Q.   How did you personally learn it?           Was it from
15   John Mark?
16         A.   I believe he was one of the individuals that
17   was involved in the discussions.          I don't know if it was
18   him that actually forwarded things out or I was talking
19   with on calls.      I'm not sure.     Maybe I learned of it
20   secondhand through Ben, but I became aware of it.
21              MR. RATINOFF:      So then I'm going to go ahead
22   and drop down Tab 53, and this will be Exhibit 34.
23              (WHEREUPON, Exhibit 34 was marked for
24         identification.)
25   BY MR. RATINOFF:


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1          Q.   I'll just represent this was produced by your
2    counsel.    And it's cut off the rest of the trailing
3    email here, but if you look at the -- if you look at the
4    date and timestamp in the words there, do you agree it
5    matches up to the prior Exhibit 33?           That would be
6    Tab 51 in your chat.
7          A.   Yeah, this looks like my response to him.             Yes.
8          Q.   You have no reason to believe it's not your
9    response to the prior email asking for an additional
10   opinion?
11         A.   No.
12         Q.   And here you state:
13                     "ONgDB is currently in use
14              at US Treasury (IRS).        Their legal
15              counsel conducted a thorough
16              evaluation of the licensing
17              situation and arrived at the
18              conclusion that Graph Foundation
19              distributions of ONgDB could be used
20              without needing a Neo4j Inc. license."
21              Do you see that?
22         A.   Yes.
23         Q.   So you just said at this time you didn't have
24   any personal knowledge of that opinion, correct?
25         A.   No.    I think I said I did, I heard of it.


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1           Q.   Right, but you never heard directly from the
2    IRS that -- about their conclusion that Graph Foundation
3    distributions of ONgDB could be used without needing a
4    Neo4j Inc. license, correct?
5           A.   I -- no.   I mean, I heard the general
6    conclusion that I stated right in here.            This is the
7    conclusion that I heard.
8           Q.   But you didn't hear that from the IRS?
9           A.   Sorry.   What are you getting at?         I mean, I
10   heard it through individuals that were in the
11   conversations.
12               So what are you trying to say, that that's not
13   good enough or --
14          Q.   I'm just asking a question.        I don't need to
15   explain what the purpose of my question is.
16          A.   Okay.
17          Q.   Let me ask you the question again.
18          A.   Okay.
19          Q.   Did you directly receive a communication from
20   the IRS expressing that the IRS could use ONgDB without
21   needing a license from Neo4j?
22          A.   I personally do not recall receiving a direct
23   communication from my Graph Foundation email from the
24   IRS.
25          Q.   Okay.    I'm not asking about your Graph


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1    answer without it being couched in a different way.               I
2    mean my question is being misstated.           I didn't say
3    direct communication, I didn't say email.             I said simply
4    personally communicated with.         That can mean email,
5    telephone or whatever.
6                MR. PERNICK:    We understand the question.          Did
7    he have a communication from an IRS person with this
8    information, whether in an email, a cc of an email,
9    anything.    The answer right now is he doesn't recall.
10               MR. RATINOFF:     Well, I want to hear his answer.
11   I would like to have the question read back and then
12   I'll get his answer, now that you've completely coached
13   him.
14               (Record Read.)
15               THE WITNESS:    Based on what I recall, no, I did
16   not directly communicate with them.           I believe it came
17   through a forward from or a conversation through some
18   other person that was directly there.
19               MR. RATINOFF:     Okay, I'm going to put up the
20   next exhibit.     This is Tab 54 which would be Exhibit 35.
21               (WHEREUPON, Exhibit 35 was marked for
22          identification.)
23   BY MR. RATINOFF:
24          Q.   Do you see this email?       It should end with the
25   email at the top February 19, 2019, 11:57:33 a.m.


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1               Do you see that?
2          A.   It's coming up.      Okay.
3          Q.   So let's go ahead and go down to the second
4    email in this chain.       It's on February 19, 2019, at
5    15:04.     Do you see that?
6          A.   Okay.
7          Q.   Is it fair to say that this is the direct
8    response to the last email we were discussing,
9    Exhibit 33 -- I'm sorry -- Exhibit 34?            Yes?
10         A.   Yes.
11         Q.   And Shahak says:
12                     "Aha, any chance I could get
13              a copy of that?"
14              Do you see that?
15         A.   Yes.
16         Q.   Your response is:
17                     "It was an internal review so
18              there isn't a document that can be
19              distributed."
20              Do you see that?
21         A.   Yes.
22         Q.   And then is that statement it was an internal
23   review based on your knowledge gained through someone
24   else other than the IRS?
25         A.   More than likely yes.        As per what we just said


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 1   before, I think yeah.
 2         Q.   You said there might be an email, and now that
 3   you're saying in this email, Exhibit 35, it was an
 4   internal review so there isn't a document that can be
 5   distributed.       So you never received an actual written
 6   evaluation from the IRS, either directly or indirectly,
 7   about whether they could use ONgDB without any Neo4j
 8   license, correct?
 9         A.   This statement simply means that the decision
10   that the IRS made, they determined -- they did so
11   internally and those conversations are not intended for
12   public distribution or just generally to be re-sent.
13         Q.   And you weren't privy to those conversations
14   with the IRS, correct?
15         A.   What do you mean by I was privy to them?              I
16   think we've established that I did know these
17   conversations were happening and I understood the
18   outcome.
19         Q.   Right.     My question is you didn't participate
20   personally in the internal IRS discussions regarding
21   evaluating whether ONgDB could be used without a Neo4j
22   license, correct?
23         A.   Correct.     I did not participate in the
24   discussions.
25         Q.   Okay.    Thank you.


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1               MR. RATINOFF:      Let me go ahead and drop the
2    next Tab 44.
3               (WHEREUPON, Exhibit 36 was marked for
4          identification.)
5    BY MR. RATINOFF:
6          Q.   Do you see Tab 44?       We'll mark this as
7    Exhibit 36.
8          A.   Before we move on, just for the record, when
9    you say participate, I want to make sure that it's very
10   clear that you meant, like, actively participating in
11   the discussion, not participating in the extent we were
12   just discussing about receiving information that we
13   still need to confirm.
14         Q.   Okay, I'm going to strike that.          There's no
15   question pending so the record will say what the record
16   says.
17              THE WITNESS:     John, can you make a note that to
18   maybe go back and look at that.
19              MR. PERNICK:     Brad, if we need to clarify a
20   question, I can address it or we can address it in
21   review.
22   BY MR. RATINOFF:
23         Q.   So you should be looking at a printout from
24   community.neo4j.com.       Do you see what's in front of you?
25   The first Bates number page would be N4J-GFI_00008.


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1               Do you see that?
2          A.   I'm sorry.     Where are we at?
3          Q.   It should be Tab 44 in the chat.
4          A.   Yes, I have that open.
5          Q.   Do you recognize this document?
6          A.   Not immediately.
7          Q.   Take a second to review it and let me know when
8    you're finished.
9          A.   Okay.    Yeah, all right.
10         Q.   You're done looking at it?
11         A.   Yes.
12         Q.   Do you recognize Exhibit 36?
13         A.   Yes.
14         Q.   What is Exhibit 36?
15         A.   I think this is a conversation that is taken
16   from the Neo4j online community site.
17         Q.   And how did you come to learn of this?
18         A.   I think this was shared in the case at some
19   point.
20              MR. RATINOFF:      And let me go ahead and mark the
21   next exhibit.      It should be Tab 45 coming up on your
22   chat.
23              (WHEREUPON, Exhibit 37 was marked for
24         identification.)
25   BY MR. RATINOFF:


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1          Q.   And then I'll mark this as Exhibit 37.            This
2    was produced by iGov, and it's got the Bates number
3    IGOV0001570054.      And I'll direct you to the top cc line.
4    It says Brad Nussbaum and it's brad@atomrain.com.
5               Do you see that email?
6          A.   Yes.
7          Q.   Do you have any reason to believe you didn't
8    receive this email in your AtomRain account?
9          A.   No.
10         Q.   And if you go ahead and look down at the web
11   address in the bottom email, do you see that?
12         A.   Yes.
13         Q.   And so this -- let's go back to Exhibit -- the
14   prior exhibit here, the Neo4j Desktop versus Neo4j
15   Server.    Do you see that?
16              Would you agree, other than the last portion of
17   the web address in the prior exhibit, it's the same
18   address, web address?
19         A.   It appears to be the same.
20         Q.   If you're not comfortable, feel free to click
21   on it.
22         A.   Yes, it looks the same.
23         Q.   So you said it was produced in the case, but do
24   you believe now that you received this -- reviewed this
25   posting on Neo4j's community site via this email?


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1          A.   I received this email.        This would have come
2    into my account.      I see Ben responded to it.         I'm not
3    sure if this is one I missed.         I probably saw it.        I
4    don't know, is this something I responded to?
5          Q.   Going back to the Neo4j Desktop versus Neo4j
6    Server, the prior exhibit, do you see where it says "Do
7    the terms of use for 'Neo4j Desktop' apply to the ONgDB
8    server which I downloaded under AGPLv3 license"?              Do you
9    see that?
10         A.   Yes.
11         Q.   What -- what do you understand that to mean?
12         A.   I think they're asking whether they can use the
13   Neo4j desktop tool, which is a tool, as I understand it.
14   I think they're trying to figure out if they can use
15   that with ONgDB.
16         Q.   Is there an ONgDB server?
17         A.   ONgDB is a server application.
18         Q.   So there's not -- I'm sorry.          Go ahead.
19         A.   Just like Neo4j is a server.
20         Q.   It's not a stand-alone ONgDB server that
21   someone or anyone can use, you actually have to create
22   your own using the software?
23         A.   No, there's a stand-alone server.           That's what
24   we distribute.      That's the same as the Neo4j server.
25   They're both server technologies.


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1          Q.   As of November 16, 2018, did Graph Foundation
2    have an ONgDB desktop application?
3          A.   No, Graph Foundation does not have a Neo4j -- a
4    desktop application.
5          Q.   Has Graph Foundation ever tested to see whether
6    the Neo4j desktop application would work with ONgDB?
7          A.   I don't think I have ever tested that, no.
8          Q.   When you say I, you mean Graph Foundation?
9          A.   Yeah, Graph Foundation has not tested that.
10   No, that's not something we support currently.
11              MR. RATINOFF:      Okay.   Let me go ahead and put
12   the next exhibit up.       It should be Exhibit 38.         Tab 58
13   is Exhibit 38.
14              (WHEREUPON, Exhibit 38 was marked for
15         identification.)
16   BY MR. RATINOFF:
17         Q.   Let me know when you've had a chance to review
18   Exhibit 38.
19         A.   I've got it.
20         Q.   Do you recognize this printout?
21         A.   Yes.
22         Q.   Is this a tweet that was put out by the Graph
23   Foundation on March 17, 2019?
24         A.   Yes.
25         Q.   Okay.    Looking at the tweet here, there's -- it


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 1   says #ONgDB, then in parens it's #FOSS.             What does FOSS
 2   stand for?
 3           A.   Free open source software.
 4           Q.   Then there's a #Neo4j Enterprise.
 5           A.   Yes.
 6           Q.   So are you using that hashtag to refer to the
 7   Neo4j's Enterprise Edition?
 8                MR. PERNICK:    Objection; vague.
 9                THE WITNESS:    I'm sorry.     What?    I think we're
10   including hashtags again because there's topics ONgDB
11   free open source software and Neo4j in this tweet.
12   BY MR. RATINOFF:
13           Q.   So you're referring to ONgDB Version 3.5.3 in
14   this tweet?
15           A.   ONgDB 3.5.3.    Yeah, it's a support release.
16           Q.   And you're not referring to Neo4j Enterprise
17   3.5.3?
18           A.   Correct.
19           Q.   Why did you use a hashtag in the middle of
20   ONgDB 3.5.3?
21                MR. PERNICK:    I'm sorry.     Can you repeat that.
22                THE WITNESS:    What do you mean in the middle
23   of --
24   BY MR. RATINOFF:
25           Q.   You've got ONgDB -- let me ask the question


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1    again.
2               So you see it says ONgDB and there's the parens
3    with Neo4j hashtag and then after the close parens it's
4    3.5.3.     Do you see that?
5          A.   Uh-huh.
6          Q.   Why are you referring to Neo4j Enterprise in
7    the middle of ONgDB 3.5.3?
8          A.   To help give people that don't know what ONgDB
9    is an opportunity to learn about it and learn more, to
10   get a quick idea of what it is.
11         Q.   So you're using the Neo4j hashtag to draw
12   attention to ONgDB 3.5.3?
13              MR. PERNICK:     Objection; vague; misstates
14   testimony.
15              THE WITNESS:     I think what I said is that it's
16   a topic that Neo4j users may be interested in to see
17   that there are -- there are releases coming out
18   consistently of ONgDB.        That's how users know that
19   software is being maintained.
20              MR. RATINOFF:      That wasn't my question.        I'll
21   ask it again.     Actually, why don't you go ahead and read
22   it back, please.
23              (Record Read.)
24              MR. PERNICK:     Objection; misstates testimony.
25              THE WITNESS:     I don't think that's a question.


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1    BY MR. RATINOFF:
2          Q.   Well, actually, it is, and I'll just ask it
3    again.
4               So are you using Neo4j -- the Neo4j hashtag to
5    draw users to ONgDB 3.5.3?
6          A.   I think the answer I've given applies.            We're
7    using the Neo4j hashtag to inform users about ONgDB,
8    Neo4j users that may be interested in understanding that
9    there's a free open-source version that's being
10   maintained and released.        That's something generally
11   that people in the open source community want to know.
12         Q.   Could you have referred to Neo4j Enterprise
13   without the hashtag?
14         A.   Is it possible to write a tweet without a
15   hashtag, yes.
16         Q.   That's not my question.
17              Would it have been sufficient to put this tweet
18   out with using Neo4j Enterprise without the hashtag?
19              MR. PERNICK:     Objection; vague.
20              THE WITNESS:     The Neo4j hashtag is a hashtag
21   that has been used for many years for people in the
22   Neo4j community and around the project to see important
23   things around the project.
24   BY MR. RATINOFF:
25         Q.   You're not directing people to Neo4j, you're


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1    directing people to ONgDB with the Neo4j hashtag,
2    correct?
3           A.   The Neo4j hashtag is a topic.         Neo4j is a topic
4    in this case, so we're directing people that are
5    interested in that topic to ONgDB and the support
6    release.
7           Q.   I'm sorry.    Go ahead.
8           A.   No, that was it.
9           Q.   You understand Neo4j is a trademark of Neo4j
10   Inc., correct?
11          A.   I think we've established that I understand now
12   that Neo4j is a trademark, yes.
13          Q.   I think we established you knew that before the
14   lawsuit, too, so let me ask that again.
15               You understood at this time of this tweet that
16   Neo4j was a trademark owned by Neo4j Inc., correct?
17          A.   Yes.   Yes, Neo4j is a trademark, yes, of Neo4j
18   Inc.
19          Q.   And you knew that at the time you made this
20   tweet on March 17, 2019, correct?
21          A.   Yes.
22          Q.   And I know you keep changing my question.            What
23   do you mean it's a topic of discussion?            Neo4j hashtag
24   is a topic of discussion, what do you mean by that?
25          A.   Do you see on the left how it says # Explore?


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1    On Twitter's site, you use hashtags to explore topics of
2    interest.    You hashtag something when you want to be
3    able to find topics of interest.          So Neo4j for a long
4    time has been understood by the community as a topic on
5    Twitter.    People talk about what they're doing in the
6    community by hashtagging Neo4j in their tweets.
7          Q.   In order for someone to search this topic,
8    would they tag just Neo4j in the search Twitter window
9    right here?     I'm looking right above where you're
10   referring to.
11         A.   There are a lot of ways that people can search
12   Twitter and find information.         Tagging is one way that
13   you can help surface information that's relevant to the
14   right people, as I understand it.
15         Q.   So would I have to type in #Neo4j to search
16   Twitter to come up with this tweet?
17         A.   You could just be looking at all -- a lot of
18   the tweets that are under that hashtag.            I don't know
19   all the ways that Twitter surfaces what you do when
20   you -- you know, you put a hashtag in something, but it
21   uses it to help direct people to relevant information.
22         Q.   So if I click on the Neo4j hashtag, is it your
23   understanding that would just bring up all the tweets
24   that have Neo4j hashtag in it?
25         A.   I think that's roughly how that works.            It


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1    might be filtered based on preferences and stuff.               I
2    don't think it's the exact, like, time list or anything.
3          Q.   So if you use Neo4j without the hashtag and
4    someone in another tweet clicked on #Neo4j, it wouldn't
5    necessarily pull up this tweet, right?
6          A.   Without doing a hashtag, it would just be a
7    text field.
8          Q.   Is there anything in this tweet that
9    differentiates ONgDB from -- I'm sorry, strike that.
10              Is there anything in this tweet that
11   differentiates ONgDB 3.5.3 from Neo4j Enterprise?
12              MR. PERNICK:     Object.     The document speaks for
13   itself.
14              THE WITNESS:     What we've linked here says it's
15   open source.     I think it's free open source.          I think,
16   you know, it's different and it says ONgDB so it looks
17   to me like it's different.         It's talking about ONgDB
18   3.5.3.
19   BY MR. RATINOFF:
20         Q.   That's in the link, but in the top here there's
21   nothing that suggests Neo4j Enterprise is a separate
22   product from ONgDB 3.5.3, right?
23              MR. PERNICK:     Objection; misstates the
24   document.    The document speaks for itself.
25              MR. RATINOFF:      He can speak to what the


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1    document means to him.
2               THE WITNESS:     To me, I read the document and it
3    says ONgDB 3.5.3, so I think it's talking about ONgDB
4    3.5.3, and then in parentheses saying this is free
5    open source Neo4j Enterprise.         So if you look at other
6    tweets and if you look at the site, you can get an idea
7    more about what's there.        Not every tweet is meant to be
8    self-encompassing in every way.          If you look at the
9    Graph Foundation Twitter feed in context, you'll see
10   other tweets about changes that have been happening, so
11   this naturally rolls out in that story.
12              MR. RATINOFF:      Let me go ahead and mark -- the
13   next exhibit will be Exhibit 39.          It will be Tab 60.
14              (WHEREUPON, Exhibit 39 was marked for
15         identification.)
16   BY MR. RATINOFF:
17         Q.   Do you have that?       Do you have Tab 60 which
18   is -- I'm going to mark as Exhibit 39 in front of you?
19         A.   Okay, I see it.
20         Q.   So this is a printout from Twitter, a tweet
21   from the Graph Foundation dated May 10, 2019.              Do you
22   have any reason to believe this wasn't sent out at that
23   point?
24         A.   No.
25         Q.   And again, this looks like a very similar tweet


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1    to the one we just looked at in Exhibit 38.             It seems to
2    be referencing just a different version of ONgDB.
3               Is that fair?
4          A.   Yes.
5          Q.   And so again, you're using a Neo4j hashtag in
6    between words -- or ONgDB and 3.5.4, correct?
7          A.   Yes.
8          Q.   And why are you using a Neo4j hashtag in this
9    tweet?
10         A.   I think this -- so this is just a template for
11   how we send out our releases.         Again, support releases
12   are something that shows activity on a project, so this
13   is consistently drawing everybody and bringing awareness
14   that the project is being maintained and developed.
15         Q.   Is it fair to say, though, you could have drawn
16   attention to ONgDB without #Neo4j?
17         A.   I think the three things that we decided we
18   wanted to try to raise awareness in was ONgDB as our
19   main tag, free open source software as a tag that people
20   look at when they're just looking for FOSS, because it's
21   a thing, and then to everybody in the Neo4j community,
22   so those three things are things that we felt, you know,
23   for people on Twitter we wanted to try to raise
24   awareness to the maintenance of the project and that it
25   existed and that it was being developed.


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1          Q.   So you believe that ONgDB wasn't really readily
2    identifiable at this point as a standalone product?
3          A.   I mean, ONgDB has -- you know, like anything,
4    it was -- it's newly created and so you -- you know, you
5    have to let people know that it exists, just like --
6    just like anything so people that are in the community
7    that -- there's a lot of people in the community that
8    didn't -- that may to this day still don't know that
9    they have options and they have choice.            You know, it's
10   a sad thing that Neo has never told anybody they have a
11   choice, so we do what we can to try to tell people they
12   have choice and freedom.
13         Q.   Although -- strike that.
14              Let me ask this question:         So by using a Neo4j
15   hashtag, you were hoping to draw more attention to the
16   ONgDB; is that correct?
17              MR. PERNICK:     Objection; vague.
18              THE WITNESS:     I think you've asked that before.
19   BY MR. RATINOFF:
20         Q.   Different document.
21         A.   I think the answer is the same.
22         Q.   Okay.    Well, let me ask the question again
23   because this is a new document.
24              So it's Exhibit 39.       You're using the Neo4j
25   hashtag to draw more attention to ONgDB's new release,


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1    correct?
2          A.   I think I've given a description of why we use
3    hashtags.    We use hashtags so that people that are
4    looking at that hashtag that are interested in Neo4j can
5    also learn about ONgDB and the support releases that
6    we're making so that they can see an actively maintained
7    project.
8               MR. RATINOFF:      Can you read my question back
9    because I don't think that was an answer.
10              (Record Read.)
11              MR. PERNICK:     I believe he's answered the
12   question, Jeff.
13              MR. RATINOFF:      I'll ask a new question.
14   BY MR. RATINOFF:
15         Q.   So using -- by using the #Neo4j, Graph
16   Foundation's would make it more likely that this tweet
17   would come up under a search for Neo4j, correct?
18         A.   Based on my understanding of Twitter, somebody
19   that is looking for Neo4j directly or has interest in
20   Neo4j through related things would be able to become
21   aware of this tweet by hashtagging it.
22         Q.   Thank you.
23              MR. RATINOFF:      The next is Exhibit 61.        Tab 61.
24   I apologize.     And this will be marked as Exhibit 40.
25   ///


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1               (WHEREUPON, Exhibit 40 was marked for
2          identification.)
3    BY MR. RATINOFF:
4          Q.   Let me know when you've had a chance to review
5    it.
6          A.   Okay, I have it.
7          Q.   Do you recognize this document?
8          A.   Yes.
9          Q.   What is it?
10         A.   It's a tweet from the Graph Foundation.
11         Q.   Do you have any reason to believe this isn't an
12   accurate printout of Graph Foundation tweet from
13   October 9, 2019?
14         A.   No.
15         Q.   So looking at this tweet, is it fair to say
16   it's different than the last two we looked at?
17         A.   Yes.
18         Q.   And is it fair to say in the body of the tweet,
19   this one uses the Neo4j hashtag in a different way?
20         A.   Yes.
21         Q.   And how is it different?
22         A.   I mean, hashtags are often used in sentences,
23   so it's used in a different part of a sentence than the
24   previous one.
25         Q.   You're not using the Neo4j hashtag format in


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1    ONgDB in 3.5.11, correct?
2          A.   Correct, we did not use this exact same format
3    as the previous ones.
4          Q.   And then below you're saying "What is ONgDB?"
5    Do you see that?
6          A.   Yes.
7          Q.   "Open Native Graph DB is an open source fork of
8    Neo4j," right?
9          A.   Yes.
10         Q.   And that's the main difference in the use of
11   the hashtag?
12         A.   Yeah.    It's a completely different tweet.
13              MR. RATINOFF:      Okay.   I'm going to mark the
14   next exhibit.      This is Tab 62.      You should get this in
15   your chat here momentarily.         This will be Exhibit 41.
16              (WHEREUPON, Exhibit 41 was marked for
17         identification.)
18              MR. RATINOFF:      Let me know when you've had a
19   chance to download it.
20              THE WITNESS:     I have it.
21   BY MR. RATINOFF:
22         Q.   This is a printout of a tweet dated
23   November 27, 2019, on the Graph Foundation Twitter
24   account.    Is that a fair description?
25         A.   Yes.


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 1           Q.   Do you have any reason to believe this tweet
 2   wasn't sent out by the Graph Foundation on November 27,
 3   2019?
 4           A.   No.
 5           Q.   And is it fair to say this tweet reverted back
 6   to the prior format in Exhibits 38 and 39?
 7           A.   This appears to be a condensed format that we
 8   use.
 9           Q.   So again, you're using Neo4j hashtag -- I'm
10   sorry -- #Neo4j in the middle of ONgDB 3.5.12?
11           A.   In this template, yes.
12           Q.   There's no reference to Neo4j -- I'm sorry,
13   strike that.
14                And there's no reference in the top of this
15   tweet stating that ONgDB is a fork in the Neo4j
16   Enterprise, correct?
17                MR. PERNICK:    Objection; misstates the
18   document.      The document speaks for itself.
19                THE WITNESS:    This tweet has what it has.
20   BY MR. RATINOFF:
21           Q.   Okay.   So it's got the Neo4j hashtag next to
22   the word Enterprise and it's right in the middle of
23   #ONgDB 3.5.12, correct?
24           A.   The hashtag is in, yes, in parentheses in
25   between, sure, yes.


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1          Q.   Again, you're using the hashtag here to allow
2    people to search for Neo4j hashtag to find this tweet,
3    correct?
4          A.   I think it's the same as the other -- it's the
5    same answer as the other ones.          This is essentially the
6    same document.      I don't know what we answered the other
7    ones.    This is no different than the other two.            These
8    are all the same template.
9          Q.   Understood.     So you're using in this particular
10   tweet the #Neo4j to bring people's attention to ONgDB
11   3.5.12?
12         A.   Yes, we are using -- we are using this tweet to
13   bring awareness to the latest release that -- the
14   support release that came out and including the tags
15   that we have in our condensed version on topics that we
16   want people that are interested to be able to see.
17              MR. RATINOFF:      I'm going to mark Exhibit 63
18   [sic].     I'm sorry, it's getting late.         I know it's later
19   there for you so thanks for hanging with us.
20              (WHEREUPON, Exhibit 42 was marked for
21         identification.)
22   BY MR. RATINOFF:
23         Q.   And I'll mark this as Exhibit 42.           This is a
24   printout of a tweet from the Graph Foundation account
25   dated January 18, 2020.


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1               Do you have any reason to believe this isn't a
2    correct copy of the tweet that was issued by the Graph
3    Foundation on this date?
4          A.   No.
5               MR. RATINOFF:      I'm sorry.     Denise, did you get
6    that?
7               THE REPORTER:      I did.
8    BY MR. RATINOFF:
9          Q.   And this is again following the same format as
10   the prior Exhibit 41 that we just discussed, correct?
11         A.   Yes.
12         Q.   And again, the #Neo4j has been inserted between
13   ONgDB and 3.5.14?
14         A.   Yes.
15         Q.   And the reason why you're using the hashtag
16   Neo4j is to get those who are interested in Neo4j to
17   find ONgDB?
18         A.   I'm sorry.     Can you repeat this?        What was it?
19              MR. RATINOFF:      Can you read the question back,
20   please.
21              (Record Read.)
22              THE WITNESS:     I don't know if that's exactly
23   how I said it, but I mean, that's -- that's roughly
24   right.     We want to enable -- we want to make aware -- we
25   want to enable Neo4j users to become aware that there is


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 1   another option that's open source and that is
 2   maintained.
 3              MR. PERNICK:      Jeff, can we take a quick break.
 4              MR. RATINOFF:      Yeah, let me just do one more
 5   document and then I think I want to have a quick
 6   discussion off the record.           I'm kind of at a stopping
 7   point not necessarily for the day, but --
 8              MR. PERNICK:      Okay.
 9              MR. RATINOFF:      Then this is Exhibit -- I'm
10   sorry -- Tab 64, which you'll get momentarily, which
11   I'll mark as Exhibit 43.         Let me know when you've had a
12   chance to review it.
13              (WHEREUPON, Exhibit 43 was marked for
14         identification.)
15   BY MR. RATINOFF:
16         Q.   And this is a tweet from May 19, 2020, from a
17   Graph Foundation Twitter account.           Do you have any
18   reason to believe this isn't an accurate and correct
19   printout of this tweet?
20         A.   No.
21         Q.   And in this particular tweet I note there's a
22   Neo4j hashtag which is in a different format than the
23   last one, correct?
24         A.   Correct.
25         Q.   And the Neo4j hashtag here is just by itself,


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 1                           COURT REPORTER'S CERTIFICATE

 2

 3                 I, DENISE MYERS BYRD, CA CSR 8340, RPR, the officer

 4     before whom the foregoing proceeding was conducted, do hereby

 5     certify that the witness whose testimony appears in the

 6     foregoing proceeding was duly sworn by me; that the testimony

 7     of said witness was taken down by me in stenotype to the best

 8     of my ability and thereafter transcribed under my supervision;

 9     and that the foregoing pages, inclusive, constitute a true and

10     accurate transcription of the testimony of the witness.

11                 Before completion of the deposition, review of the

12     transcript [X] was [ ] was not requested.         If requested, any

13     changes made by the deponent (and provided to the reporter)

14     during the period allowed are appended hereto.

15                 I further certify that I am neither counsel for,

16     related to, nor employed by any of the parties to this action,

17     and further, that I am not a relative or employee of any

18     attorney or counsel employed by the parties thereof, nor

19     financially or otherwise interested in the outcome of said

20     action.   Signed this 9th day of October 2020.

21

22

23
                                          Denise Myers Byrd
24                                        CSR 8340, RPR, CLR 102409-02

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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA



       NEO4J, INC., a Delaware
       corporation; and NEO4J SWEDEN
       AB, a Swedish corporation,

                        Plaintiffs,

       vs.                                      CASE NO.
                                                5:19-cv-06226-EJD
       GRAPH FOUNDATION, INC., an
       Ohio corporation; GRAPHGRID,
       INC., an Ohio corporation;
       and ATOMRAIN, INC., a Nevada
       corporation,

                    Defendants.
     ______________________________/

                  REMOTE VIDEOTAPED DEPOSITION OF
                           BRAD NUSSBAUM
            as representative of GRAPH FOUNDATION, INC.
       pursuant to Federal Rule of Civil Procedure 30(b)(6)

                                   VOLUME II


       DATE:             November 9, 2020

       TIME:             10:03 a.m.

       LOCATION:         via videoconference


       REPORTED BY:      BENJAMIN GERALD
                         California CSR No. 14203
                         Washington CSR No. 3468

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1          Q.   Okay.   So similar question:        One of the things
2    that you had said you would check into after your last
3    deposition is whether there were any other
4    communications by you with other customers besides
5    Next Century regarding the Free Software Foundation's
6    alleged determination that the Commons Clause was an
7    improper addition to the AGPL.
8               Do you recall that?
9          A.   I didn't recall anything about looking for
10   other customers, though I don't believe that there -- I
11   mean, I'm not sure what even you mean by "customers,"
12   but I don't -- I don't think from the Foundation's
13   standpoint there were other organizations that we -- we
14   talked to about this.
15              What I recall from our past conversation was
16   looking into what information we received in dialog from
17   the IRS about the AGPL.
18         Q.   Okay.   But you didn't go and look to see
19   whether there was any other communications about the IRS
20   opinion?
21              MR. PERNICK:     You mean the IRS now, or the Free
22   Software Foundation?
23              MR. RATINOFF:     Well, he just mentioned IRS, so
24   I'm --
25              MR. PERNICK:     Okay.    I just wanted to make


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1    sure.
2                THE WITNESS:    Yeah.    From our last
3    conversation, I -- I did discuss with Ben, because he
4    was the one involved, how the conversations occurred
5    within the IRS.
6    BY MR. RATINOFF:
7           Q.   And what did you learn?
8           A.   I learned that there was one call that he was
9    on where the IRS lawyers asked him some questions,
10   mostly a conversation with John Mark, and I think he got
11   asked maybe -- or he answered maybe one question, he had
12   said.   Yeah.
13          Q.   When did that call --
14          A.   It was also not --
15          Q.   Sorry.   Go ahead.
16          A.   It was also not a conversation that was under
17   any capacity as the Foundation at that time.             He had
18   said that the conversation was because we were --
19   because AtomRain was doing consulting work inside of the
20   IRS.
21          Q.   Okay.    Do you know when that conversation
22   occurred?
23          A.   I don't.   It was by phone, and I think Ben said
24   he took it from a tree stand while he was hunting
25   sometime in the fall, so...


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1          Q.   Good way to scare away the deer.
2          A.   I don't know how he does it.         He manages to
3    pull it off somehow.
4          Q.   Good stuff.     Okay.
5               You said IRS counsel; do you recall, or did Ben
6    tell you who from the IRS was on that call?
7          A.   No, he didn't mention any names.
8          Q.   And you said John -- there was a conversation
9    with John Mark; are you referring to the same telephone
10   call with the IRS?
11         A.   Yeah.   John Mark was -- I think he had
12   organized the call because he was leading those
13   discussions there.
14         Q.   Okay.   But -- but Ben was not attending that
15   call on behalf of Graph Foundation, correct?
16         A.   No.   He was attending it because of the work
17   done through AtomRain.
18         Q.   And did Ben tell you when the IRS conveyed on
19   that call?
20         A.   They didn't convey anything.         They asked
21   questions.    There were no conclusions that were stated
22   on that particular call.        It was more of a fact-finding
23   call or just information gathering.          And then they
24   ultimately, you know, made their -- their decisions and
25   their -- their decisions afterwards.


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1           Q.   Okay.   But you weren't privy to -- strike that.
2                Graph Foundation wasn't privy to those
3    decisions made by the IRS, correct?
4           A.   We learned about the decisions, you know,
5    following that call and the eventual use of ONgDB by the
6    IRS.   So the Graph Foundation found out about it because
7    of our relationship with AtomRain.
8           Q.   Okay.   And what did Graph Foundation find out?
9           A.   That the IRS decided to move forward with using
10   ONgDB, and they accepted their use was under AGPL.
11          Q.   Graph Foundation was never privy to the actual
12   internal deliberations of the IRS, correct?
13          A.   What does it mean to be "privy to the internal
14   deliberations"?
15          Q.   Did Graph Foundation have any inside
16   information -- sorry.       Strike that.
17               Graph Foundation didn't have any insight into
18   the IRS' deliberative process on whether they could use
19   ONgDB under the AGPL, correct?
20          A.   Correct.   They -- they conducted whatever
21   internal process that they did with their legal counsel
22   and came to their conclusions.
23          Q.   Okay.   And then going back to the original
24   question on this Exhibit 32, was there any other
25   communications that you were able to locate from Graph


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1    apparently, it wasn't.       Okay.
2               So this will be Tab 40, and we'll go ahead and
3    mark this as Exhibit 45.
4               (Exhibit 45 was marked for identification.)
5    BY MR. RATINOFF:
6          Q.   Let me know when you have a chance to open this
7    and take a look at it.
8          A.   Yup.    I've got it.
9          Q.   Okay.    So this is a printout, you can see down
10   at the -- the gutter, from Graph Foundation's website on
11   October 13, 2020.
12              Do you see that?
13         A.   Yes.
14         Q.   Okay.    And do you have any reason to believe
15   this printout is -- is not a true and accurate
16   representation of this page on Graph Foundation's
17   website as of that date?
18         A.   No.
19         Q.   Okay.    ONgDB 3.5.19, is that the last 3.5
20   version that Graph Foundation published?
21         A.   I think it might be the latest one on the
22   site --
23         Q.   And --
24         A.   -- as of today.
25         Q.   And was there, to your knowledge, a Neo4j


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1    Enterprise 3.5.19, as well?
2           A.   Yes.
3           Q.   Okay.   So I am going to go ahead and share this
4    now.   So I want to cover a couple of things on it and
5    make sure this gets captured.         You can keep looking -- I
6    think this is going to pull up on your screen over
7    your -- what you're looking at, so I want you to refer
8    to the screen share.       All right.     You should be able to
9    see -- should -- you should see Exhibit 45 on my screen
10   as I scroll.
11               Do you see that?
12          A.   Uh-huh.
13          Q.   Okay.   So I'm going to go ahead and hover over
14   this docs, HTML link; do you see that?
15          A.   Yes.
16          Q.   And that leads to
17   github.com/graphfoundation/ongdb/wiki/ongdb-3.5-docs.
18               Do you see that?
19          A.   Yes.
20          Q.   I'm going to go ahead and click on that.           It's
21   going to bring up my browser.         I'm going to have to
22   switch over.       Give me one second here to switch over.
23               Okay.   You should now be looking at the target
24   site, which should be
25   github.com/graphfoundation/ongdb/wiki.


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 1              Do you see that?
 2         A.   Yes.
 3         Q.   All right.     I've overcome that technological
 4   challenge.     Now I'm going to go ahead and click on the
 5   number one line here, "ONgDB Docs."           I'm going to go
 6   ahead and click on that, and we're going to go to what
 7   appears to be a web page with the title "Docs."              The
 8   address is github.com/graphfoundation/ongdb/wiki/docs.
 9              Do you see that?
10         A.   Yes.
11         Q.   Okay.    And this is -- sorry.        Strike that.
12              What are we looking at now?
13         A.   A wiki page for finding docs for ONgDB.
14         Q.   Is this essentially a document repository on
15   Graph Foundation's GitHub repository?
16         A.   It's a wiki page with a location to find docs
17   for ONgDB.
18         Q.   All right.     So I'm going to go ahead and click
19   on this link under -- it says "LTS release."
20              Do you see that?
21         A.   Yes.
22         Q.   And then underneath it's a hyperlink, which
23   doesn't bring up what it is, but it's ONgDB 3.5.
24         A.   Yes.
25         Q.   I'm going to go ahead and click on that.


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1               And can you tell me what we just went to after
2    clicking that hyperlink?
3          A.   The site title is called "Neo4j Operations
4    Manual v3.5."
5               MR. RATINOFF:     And that -- for the record,
6    that's -- the web address we just went to is
7    neo4j.com/docs/operations-manual/3.5/, correct?
8               THE WITNESS:     Yes.
9    BY MR. RATINOFF:
10         Q.   So we're not looking at the
11   Graph-Foundation-generated document, correct?
12         A.   Correct.
13         Q.   This -- this wasn't an operations manual that
14   Graph Foundation created, correct?
15         A.   Correct.
16         Q.   And do you recall, at our last deposition, we
17   were talking about the Creative Commons license?
18         A.   Vaguely, yes.
19         Q.   And what's your understanding of the Creative
20   Commons license?
21         A.   I'm not sure I have a very thorough one.
22         Q.   Do you recall we had a discussion about
23   commercial restrictions in the Creative Commons license?
24         A.   I remember -- I remember you mentioned it, yes.
25         Q.   Well, let me just ask you this:          What's your


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1    that.
2               Let me go ahead and go back to -- we're going
3    to go back to the
4    github.com/graphfoundation/ongdb/wiki/docs.            I'm just
5    going to go ahead and go down to where it says "Older
6    Releases."
7               Do you see that?
8          A.   Yes.
9          Q.   I'm going to go ahead and click on that.            And
10   if you see that link I clicked took us to
11   neo4j.com/docs/operations manual -- I'm sorry.             Let me
12   re-read that.
13              neo4j.com/docs/operations-manual/3.4/.
14              Do you see that?
15         A.   Yes.
16         Q.   And what is at that URL address?
17         A.   What is the URL address?
18         Q.   What -- what did the URL address take us to?
19         A.   The Neo4j operations manual 3.4.
20         Q.   And do you see where it says, "This is the
21   operations manual for Neo4j version 3.4, authored by the
22   Neo4j team"?
23         A.   Yes, I see that.
24         Q.   So this manual was authored by Neo4j, correct?
25         A.   As stated by the site.


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 1         Q.    Sorry.    Graph Foundation didn't author an
 2   operations manual for ONgDB version 3.4, correct?
 3         A.    Based on how we established authoring last
 4   time, yes, that's correct.
 5         Q.    And then you'll see there's a link here again
 6   to the Creative Commons 4.0.
 7               Do you see that?
 8         A.    Yes.
 9         Q.    And we'll go to that license again.          It takes
10   us back to neo4j.com/docs/license/.
11               Do you see that?
12         A.    Yes.
13         Q.    Okay.    And can we agree this is the same
14   license we were just looking at?
15         A.    Yes.
16         Q.    And then under "non-commercial," it says, "You
17   may not use the material for commercial purposes"?
18         A.    Yes.
19         Q.    Okay.    Just give me one second here.         I'll go
20   ahead and stop sharing.
21               MR. RATINOFF:     I'm just going to go ahead and
22   drop a new exhibit in.        I just wanted to make sure we
23   have an exhibit to mark for the Creative Commons
24   license.     So let me know when you see what should be
25   Tab 91.1.


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1               THE VIDEOGRAPHER:      And this would be
2    Exhibit 46?
3               MR. RATINOFF:     Correct.     So I'd like to mark
4    this as Exhibit 46.
5               (Exhibit 46 was marked for identification.)
6    BY MR. RATINOFF:
7          Q.   Let me know when you have that in front of you.
8               Mr. Nussbaum?     Are you able to look at --
9          A.   I have it.
10         Q.   Okay.   Thank you.     All right.
11              Can you go ahead and look at this and look at
12   the bottom in the gutter there?         It's -- this is a web
13   archive capture.      You can see the dates 2019-08-2018.
14              Do you see that?      I'm sorry.     Strike that?
15              It's 2019-08-20; do you see that?
16         A.   Yes.
17         Q.   I'll represent to you this was printed out from
18   the web archive, and this is a capture that was on
19   August 20, 2019, from -- which I believe is the same
20   page we were looking at, neo4j.com/docs/license.
21              Do you see that?
22         A.   Yes.
23              MR. PERNICK:     Objection.
24              Okay.   I didn't understand that question, but
25   Brad, if you did, that's fine.


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1               THE WITNESS:     I think he was just saying it's
2    from the Neo4j site as of that date.
3               MR. PERNICK:     Okay.    Got it.
4               THE WITNESS:     Did I understand it wrong?
5    BY MR. RATINOFF:
6          Q.   No, I think -- I think you got it.
7               MR. PERNICK:     All right.     Thank you.
8    BY MR. RATINOFF:
9          Q.   Can we agree that this is the same license we
10   were just looking at live on Neo4j's website?
11              MR. PERNICK:     I'm going to object to the extent
12   you're asking him to review it word for word, but he can
13   give you his understanding without having a
14   word-for-word comparison.
15              THE WITNESS:     I generally see the same
16   structure and content, the same sections.
17   BY MR. RATINOFF:
18         Q.   So I'm going to try to narrow down -- you
19   mentioned that you had spoken to counsel about this
20   license, and I'm not asking about those communications,
21   but was it prior to August 2019 that you had
22   conversations with counsel regarding the Creative
23   Commons license?
24         A.   Any conversations we had would have gone back
25   to the formation, prior to formation when we reviewed


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                                                 EXHIBIT 32
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From:        Donald R Robertson III via RT (licensing@fsf.org)
To:          jmsuhy@purethink.com
CC:
BCC:
Subject:     [gnu.org #1295811] Neo4j Inc recently added restrictive license conditions to AGPL license.
Attachments:
Sent:        05/22/2018 08:38:28 AM -0700 (PST)

On Sat May 19 03:00:41 2018, jmsuhy@purethink.com wrote:
> I am not sure whom to bring this up to, but Neo4j Inc, recently added
> restrictive licensing conditions to their AGPL license. It is my
> understanding that this is not allowed.
>
> Being such a high profile company, I wanted to bring it to your
> attention and ask if these additions are allowed by AGPL, and if not -
> who would be responsible for ensuring they remain compliant?
>
> The addition of "Commons Clause" License condition was added to their
> AGPL license file. The link is below.
>
> https://github.com/neo4j/neo4j/blob/3.4/enterprise/server-
> enterprise/LICENSE.txt
>
> "Commons Clause" License Condition
> The Software is provided to you by the Licensor under the License, as
> defined below, subject to the following condition. Without limiting
> other conditions in the License, the grant of rights under the License
> will not include, and the License does not grant to you, the right to
> Sell the Software. For purposes of the foregoing, "Sell" means
> practicing any or all of the rights granted to you under the License
> to provide to third parties, for a fee or other consideration,
> a product or service that consists, entirely or substantially,
> of the Software or the functionality of the Software. Any license
> notice or attribution required by the License must also include
> this Commons Cause License Condition notice.
>
>
>
>
> John Mark Suhy
> PureThink
> jmsuhy@purethink.com
> 703-862-7780
> http://purethink.com

Thank you for your time. Both the GPL and AGPL prevent the addition of further restrictions:

"All other non-permissive additional terms are considered "further                                                 Witness:
restrictions" within the meaning of section 10. If the Program as you                                           John Mark Suhy
received it, or any part of it, contains a notice stating that it is                                          Exhibit 22
governed by this License along with a term that is a further restriction,                                        10/22/2020 B Gerald
you may remove that term."

If the distribution includes code that is copyright to someone else, then you can follow the instructions at for filing a violation
report with the copyright holder. Only the copyright holder has the power to enforce the terms of the license.



                                                                                                                IGOV0001570187.001
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Thanks for checking in on this, and I hope this helps.
--
Sincerely,

Donald R. Robertson, III, J.D.
Licensing & Compliance Manager
Free Software Foundation
51 Franklin Street, Fifth Floor
Boston, MA 02110, USA
Phone +1-617-542-5942
Fax +1-617-542-2652 ex. 56

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                                                                                 IGOV0001570187.002
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                                                 EXHIBIT 33
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From:        Benjamin Nussbaum (ben@atomrain.com)
To:          John Mark Suhy (jmsuhy@purethink.com)
CC:          Brad Nussbaum (brad@atomrain.com)
BCC:
Subject:     Re: [gnu.org #1295811] Neo4j Inc recently added restrictive license conditions to AGPL license.
Attachments:
Sent:        05/22/2018 09:09:53 AM -0700 (PST)

Good to have that confirmation. We can keep that as our advantage and decide if/when we make it known to Neo4j Inc that
we received that answer.

--
Benjamin Nussbaum
President and Chief Technology Officer
Phone: (310) 433-9305
Email: ben@atomrain.com
                  | Innovation for a Connected World




     On May 22, 2018, at 11:41 AM, John Mark Suhy <jmsuhy@purethink.com> wrote:

     I just got this - I just said this in slack an hour ago too....

     ---------- Forwarded message ---------
     From: John Mark Suhy <jmsuhy@purethink.com>
     Date: Tue, May 22, 2018 at 11:40 AM
     Subject: Re: [gnu.org #1295811] Neo4j Inc recently added restrictive license conditions to AGPL license.
     To: <licensing@fsf.org>


     This helps, thank you for your time.

     Respectfully,

     John Mark Suhy

     On Tue, May 22, 2018 at 11:38 AM Donald R Robertson III via RT <licensing@fsf.org> wrote:
      On Sat May 19 03:00:41 2018, jmsuhy@purethink.com wrote:
      > I am not sure whom to bring this up to, but Neo4j Inc, recently added
      > restrictive licensing conditions to their AGPL license. It is my
      > understanding that this is not allowed.
      >
      > Being such a high profile company, I wanted to bring it to your
      > attention and ask if these additions are allowed by AGPL, and if not -
      > who would be responsible for ensuring they remain compliant?
      >
      > The addition of "Commons Clause" License condition was added to their
      > AGPL license file. The link is below.
      >
      > https://github.com/neo4j/neo4j/blob/3.4/enterprise/server-
      > enterprise/LICENSE.txt                                                                                    GFI 30(b)(6)
      >                                                                                                         Brad Nussbaum
      > "Commons Clause" License Condition
                                                                                                                  Ex 15
                                                                                                                10/16/2020 D Myers


                                                                                                            IGOV0001570185.001
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 >
 >
 >
 >
 > John Mark Suhy
 > PureThink
 > jmsuhy@purethink.com
 > 703-862-7780
 > http://purethink.com

 Thank you for your time. Both the GPL and AGPL prevent the addition of further restrictions:

 "All other non-permissive additional terms are considered "further
 restrictions" within the meaning of section 10. If the Program as you
 received it, or any part of it, contains a notice stating that it is
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 If the distribution includes code that is copyright to someone else, then you can follow the instructions at
 <https://www.gnu.org/licenses/gpl-violation.html> for filing a violation report with the copyright holder. Only the copyright
 holder has the power to enforce the terms of the license.

 Thanks for checking in on this, and I hope this helps.
 --
 Sincerely,

 Donald R. Robertson, III, J.D.
 Licensing & Compliance Manager
 Free Software Foundation
 51 Franklin Street, Fifth Floor
 Boston, MA 02110, USA
 Phone +1-617-542-5942
 Fax +1-617-542-2652 ex. 56

 ---

--
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http://purethink.com
--
John Mark Suhy



                                                                                                           IGOV0001570185.002
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                                                                            IGOV0001570185.003
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                                                 EXHIBIT 34
              Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 267 of 1198
                                                                                                                 Witness:
                                                                                                              John Mark Suhy
From:        Donald R Robertson III via RT (licensing-comment@fsf.org)
To:                                                                                                         Exhibit 24
                                                                                                       10/22/2020 B Gerald
CC:          jmsuhy@purethink.com
BCC:
Subject:     [gnu.org #1295811] Neo4j Inc recently added restrictive license conditions to AGPL license.
Attachments:
Sent:        08/21/2018 08:50:57 AM -0700 (PST)

I apologize for the delay in responding here, as a small non-profit we are sometimes overwhelmed with the requests for our
services. Also, I want to preface the following by stating that we cannot provide you with legal advice. The information we
provide is hopefully useful, but if you need legal advice, you'll have to talk with legal counsel.

On Wed Jun 20 17:51:51 2018, jmsuhy@purethink.com wrote:
> Good evening Donald,
>
[snip]
>
> 1) As the copyright holder, is Neo4j Inc allowed to add the specific
> additional terms mentioned above to the License.txt file (containing
> the
> AGPL license terms) and enforce these new additions?
> https://github.com/neo4j/neo4j/blob/3.4/enterprise/
> neo4j-enterprise/LICENSE.txt

The copyright holder on a work is the one with the power to enforce the terms of the license. So when the copyright holder
fails to uphold the terms of the license, there unfortunately isn't anyone to turn to in order to force their hand in a legal sense.
But the community can work to persuade them to do the right thing. And if the copyright holder won't do the right thing, then
the community should simply avoid their work.

>
> 2) In our fork, are we allowed to remove the additional terms and
> comments
> they have added to the License.txt files that go beyond the standard
> AGPL
> v3 license content?
> Neo4j Inc is telling us that we can not change these License.txt
> files,
> i.e. we must leave these additional restrictions and content in the
> AGPL
> License.txt files of our forked code.
> They then reference them to cause legal uncertainty.
>
>

If a work was previously available under a free license, and later that license is changed, users can always use that earlier
version under the terms of the free license. Also, as noted before, the GPL and AGPL also both have this provision:

"All other non-permissive additional terms are considered "further                                                 GFI 30(b)(6)
restrictions" within the meaning of section 10. If the Program as you                                            Brad Nussbaum
received it, or any part of it, contains a notice stating that it is
governed by this License along with a term that is a further restriction,                                           Ex 16
you may remove that term."                                                                                        10/16/2020 D Myers



Unfortunately, I cannot give you legal advice as to how that would work for your particular situation, but I hope that this
information proves useful to you.



                                                                                                                IGOV0001570125.001
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[snip]

--
Sincerely,

Donald R. Robertson, III, J.D.
Licensing & Compliance Manager
Free Software Foundation
51 Franklin Street, Fifth Floor
Boston, MA 02110, USA
Phone +1-617-542-5942
Fax +1-617-542-2652 ex. 56

---




                                                                                IGOV0001570125.002
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                                                 EXHIBIT 35
Status of Project Post Open Core Licensing Model · Issue #3 · graphfoundation/ongdb · GitHub
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          graphfoundation / ongdb

           Sign up

                                Code     Issues 2     Pull requests 0      Projects 0          Actions   Wiki   Security   Pulse




         Status of Project Post Open Core Licensing Model #3                                                                         New issue


          Closed      jgupta opened this issue Feb 13, 2019 · 6 comments



                         jgupta commented Feb 13, 2019


                         What is status of this project post Open Core Licensing Model?

                         I do see releases of v3.5.2 and v3.5.3 in last commit but it would be good
                         to know status of this project and how change in Neo4j liceancing model
                         changes things.




                         bradnussbaum commented Feb 13, 2019


                         Our intent is to move ONgDB forward in a fully open source manner
                         governed by The Graph Foundation (non-profit). ONgDB 3.5 restores the
                         Neo4j Enterprise source code that was removed by Neo4j, Inc. from
                         https://github.com/neo4j/neo4j and continues development forward from
                         there. Legacy Neo4j, Inc. contributions will continue to be licensed under
                         AGPLv3 and net new Graph Foundation contributions will adopt a more
                         open license structure. We are considering options right now from the
                         community and would like to see the project eventually move fully to
                         Apache2.


                            3
                     THUMBS_UP react




                         jgupta commented Feb 13, 2019


                         We will be using ONgDB


                                                                                                                                     GFI 30(b)(6)
                                                                                                                                   Brad Nussbaum

                                  jgupta closed this Feb 13, 2019                                                                    Ex 24
                                                                                                                                   10/16/2020 D Myers


https://github.com/graphfoundation/ongdb/issues/3[6/10/2020 5:33:44 PM]                                                              N4J_018645
Status of Project Post Open Core Licensing Model · Issue #3 · graphfoundation/ongdb · GitHub
                        Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 271 of 1198




                            bradnussbaum mentioned this issue Mar 13, 2019

                       Did you remove the enterprise edition code? #12178
                           Closed




                       renannprado commented Apr 13, 2020


                       @bradnussbaum any news about this?




                       bradnussbaum commented Apr 13, 2020


                       @renannprado You can find the latest releases on the repo all under
                       AGPLv3. The current 3.6 release branch has reached milestone 1, the latest
                       maintenance branch is 3.5.17 and 4.0 development is in progress.




                       renannprado commented Apr 13, 2020


                       @bradnussbaum sorry I believe I was not clear.

                       I meant news about changing the license to Apache 2.0 like you
                       suggested, any news about it?




                       bradnussbaum commented Apr 13, 2020


                       @renannprado The Graph Foundation can only change the license of
                       source code where it holds the copyright. There will be a substantial
                       amount in 4.0 but for 3.5 and 3.6 there are still many classes that Neo
                       Technology Sweden holds copyright over. The goal of moving to Apache 2
                       is a very long term goal that will be achieved gradually throughout future
                       releases.




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https://github.com/graphfoundation/ongdb/issues/3[6/10/2020 5:33:44 PM]                             N4J_018646
Status of Project Post Open Core Licensing Model · Issue #3 · graphfoundation/ongdb · GitHub
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            Sign in to comment


         Assignees

         No one assigned



         Labels

         None yet



         Projects

         None yet



         Milestone

         No milestone



         Linked pull requests

         Successfully merging a pull
         request may close this issue.

         None yet



         3 participants




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https://github.com/graphfoundation/ongdb/issues/3[6/10/2020 5:33:44 PM]                          N4J_018647
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                                                 EXHIBIT 36
Why neo4j clustering is not part of open source? · Issue #12237 · neo4j/neo4j · GitHub
                         Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 274 of 1198

           neo4j / neo4j

           Sign up

                          Code       Issues 201       Pull requests 7         Projects 0   Actions   Wiki   Security   Pulse




         Why neo4j clustering is not part of open source? #12237                                                               New issue


           Open      kant111 opened this issue Jun 27, 2019 · 13 comments



                        kant111 commented Jun 27, 2019


                        Why neo4j clustering is not part of open source? A lot of databases like
                        Cassandra, Hbase etc..all offer to clustering out of the box.

                        Without clustering, it is very hard to prove that neo4j would scale for any
                        use case specific workloads.




                             kant111 added the feature label Jun 27, 2019



                        nicorikken commented Jun 27, 2019


                        Neo4j as a query engine and GUI is nice, but Neo4j as a database is quite
                        immature compared to other products. And so they probably need an
                        income to improve their database features like clustering. Pretty much a
                        business decision I'd say.




                        kant111 commented Jun 27, 2019 • edited


                        @nicorikken what are the other graphdb products that are mature and
                        opensource?




                        bradnussbaum commented Jun 27, 2019


                        @kant111 Neo4j Enterprise was closed source as of 3.5. Open source



https://github.com/neo4j/neo4j/issues/12237[6/10/2020 6:03:04 PM]                                                              N4J_019439
Why neo4j clustering is not part of open source? · Issue #12237 · neo4j/neo4j · GitHub
                         Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 275 of 1198
                        development continues under The Graph Foundation.

                        Open source project with clustering here:
                        https://github.com/graphfoundation/ongdb

                        Download for distirbutions are here:
                        https://www.graphfoundation.org/projects/ongdb/




                        kant111 commented Jun 27, 2019


                        @bradnussbaum When you say open source you mean it's AGPL? is
                        clustering AGPL?




                        bradnussbaum commented Jun 27, 2019


                        @kant111 Yes, it has same AGPLv3 license that it's had since 2008.




                        kant111 commented Jun 28, 2019


                        okies we treat AGPL as closed source and we stay away from it as far as
                        possible. Thanks for your response.




                        bradnussbaum commented Jun 28, 2019 • edited


                        @kant111 completely agree that AGPLv3 is not the right license and any
                        contributions by the Graph Foundation will be going in under Apache2.
                        We cannot change the AGPL license on any code where we don't hold a
                        copy-right. As the foundation projects move forward it will get more open
                        from contributors, not less.




                        kant111 commented Jun 28, 2019


                        "We cannot change the AGPL license on any code where we don't hold a
                        copy-right." I would think it would be better to write from scratch. Also
                        ongdb has lot of references to neo4j including the binary names etc to the
                        point where it confuses me if I am using neo4j or ongdb.




https://github.com/neo4j/neo4j/issues/12237[6/10/2020 6:03:04 PM]                                    N4J_019440
Why neo4j clustering is not part of open source? · Issue #12237 · neo4j/neo4j · GitHub
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                        openCypher is great work! Love the language. not sure if I can say the
                        same with neo4j.




                        VeryHardWorker commented Jul 1, 2019


                        @bradnussbaum I don't see graphfoundation named here
                        [https://www.pacermonitor.com/public/case/26298162/Neo4j,_Inc_v_PureT
                        hink,_LLC_et_al] but is graphfoundation affected?




                        nicorikken commented Jul 3, 2019 • edited


                           @nicorikken what are the other graphdb products that are mature
                           and opensource?

                        @kant111 I don't know the whole space of graphdb products. I do know
                        that database like MariaDB and PostgreSQL are much more mature in their
                        operational features. Sure, that has been built up over time, but Neo4j is
                        lacking here. I expect more. That's what I'm referring to. For example
                        AgensGraph and JanusGraph stand on the shoulders of database giants,
                        and I therefore assume they'll do a better job of features like scaling. To be
                        fair, I haven't tried any of them, and Neo4j is still on top of most graphDB
                        lists.
                        So I hope it's a matter of time until Neo4j will open up more features, but I
                        think that'll take 1 or 2 years at least.




                        kant111 commented Jul 3, 2019


                        @nicorikken Thanks for the response! I am new to Neo4j and I like it. Any
                        idea why all of a sudden Neo4j went closed source? and what is the point
                        of going closed source now and opening up in the future? Answers to this
                        will help us(our team) pick the right tech stack so please let me know




                        nicorikken commented Jul 3, 2019


                        @kant111 I don't know, but I assume it is a similar situation as other
                        database projects like MongoDB and Redis. AWS started offering their
                        project as a hosted service, not giving back improvements, and thereby
                        stripping the project from a revenue-stream. Neo4j enterprise can be
                        found in the AWS Marketplace, but in that case the revenue-stream flows


https://github.com/neo4j/neo4j/issues/12237[6/10/2020 6:03:04 PM]                                        N4J_019441
Why neo4j clustering is not part of open source? · Issue #12237 · neo4j/neo4j · GitHub
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                        back to the Neo4j project.
                        This is also why I'm in favor of the AGPL licence: it prevents cloud providers
                        keeping improvements for themselves and not giving back to the
                        upstream project. And complying with AGPL in deployments is reasonable
                        in most user contexts. This is better than the custom license Redis
                        introduced, which doesn't even comply with the Open Source Initiative
                        definition for Open Source software.




                        kant111 commented Jul 8, 2019 • edited


                        @nicorikken I am not sure if anyone in the community appreciates
                        MongoDB's move! But I certainly think other projects were able to solve
                        this problem better. A notable example would be
                        https://www.confluent.io/blog/license-changes-confluent-platform

                        If the problem is about SaaS providers then the solution should be
                        targeted towards that but not everyone else!

                        Now speaking of Neo4j I believe its a pretty good database. It just needs
                        to offer Clustering and other features that can showcase scalability such
                        that more people will be inclined to use it. And there is also a lot of
                        competition in this space like Dgraph, Cayley, JanusGraph etc which are all
                        Apache 2.0 License and claim they are 100X faster than Neo4j or whatever.
                        This would make Neo4j a secondary choice over others which in my
                        opinion shouldn't be the case because for FWIW, Neo4j 3,5 does a decent
                        Job!




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         Assignees

         No one assigned



         Labels

          feature



         Projects

         None yet




https://github.com/neo4j/neo4j/issues/12237[6/10/2020 6:03:04 PM]                                        N4J_019442
Why neo4j clustering is not part of open source? · Issue #12237 · neo4j/neo4j · GitHub
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         Milestone

         No milestone



         Linked pull requests

         Successfully merging a pull
         request may close this issue.

         None yet



         4 participants




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https://github.com/neo4j/neo4j/issues/12237[6/10/2020 6:03:04 PM]                                N4J_019443
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                                                 EXHIBIT 37
9/24/2019         Case 5:18-cv-07182-EJD Neo4j
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                                                                             Graph Foundation

T h e G r a p h Fo u n d a t i o n
Open Graph Technology for Public Good                                                                     Menu



    Neo4j is Open Core – Now What?




                             31       JAN
                                      2019
                                                                                   1 COMMENT




   The word responsibility can be thought of in a simple way. If you have an ability what is your response to
   that ability? If there’s a need and you’re able to meet it, what is your response? Will you act and use your
   ability to improve the situation for the betterment of everyone? If keeping the best open source graph
   database on the market today fully open source and truly enabling “Graphs for Everyone” is a mission for
   you and/or your organization then keep reading through to the end. If you care but don’t need to know all
   the details right now then skip down to the TL;DR.


   We’ve been in the graph community for a while now (circa 2011) and we know a bit about the origins of the
   open source neo4j graph database. We’ve seen rst-hand the powerful transformation that graph brings to
   organizations and its potential to enhance the way complex data is stored, processed and queried now and
   in the future. We know that the success of an open source database goes well beyond the commits made
   to the repository. Engineering is important, yes, and there is plenty of that needed when building a
   database, but it’s not the only contributing factor to enabling a great open source database, especially in
   the emerging graph database space. There are many key roles including entrepreneurs to build supporting
   businesses and ecosystem products, early customer adopters, implementations that stress and push the
   technology to the edge, testing and reporting defects from usage, promotion, discussion and exposure at
   events, meetups and conferences, community support, training and skill building across the user base, a
   sharing of vision and community involvement and likely many more that we don’t even see.


   The open source neo4j graph database (hereafter the lowercase “neo4j”) has thrived since 2011 because it
   has been fully open source. In the very early days it’s dif cult to get adoption of a new database technology,
   especially one that is closed source. Many organizations have open source initiatives, especially around
   databases, to avoid the lock-in and closed ecosystems that occur with relational databases from Oracle,
   SAP and Microsoft. The open stack initiative was born out the need to scale database technologies to
   achieve business solutions without facing unknown and often staggering licensing costs. The Open Source
   Initiative created momentum around the adoption of open source databases and neo4j has bene tted
   from this by being fully open source.
                                                                                 GFI 30(b)(6)
                                                                               Brad Nussbaum

https://www.graphfoundation.org/neo4j-is-open-core-now-what-ujah7ein5mis/
                                                                                 Ex 23                              1/8
                                                                                10/16/2020 D Myers   N4J-GFI_000078
9/24/2019         Case 5:18-cv-07182-EJD Neo4j
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                                               is Open Core       Filed- The
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                                                                             Graph Foundation

   Unfortunately neo4j has always had a split licensing personality. In the early days, Emil (founder and CEO of
   Neo Technology, Inc.) faced challenges in how to commercialize neo4j and gure out what features were
   enterprise vs. community. In the end, the line was drawn to designate clustering, backups, restore,
   monitoring, metrics, security, constraints, scalable database format for big graphs, and enhance cypher as
   enterprise features while the core kernel, cypher and server capabilities would be designated as
   community. With the separate designations for enterprise and community came separate licenses AGPLv3
   and GPLv3 respectively. Why Emil chose these licenses stems from the beginning when neo4j was mostly
   used as an embedded database and the less permissible enterprise AGPLv3 license would have required
   some projects embedding neo4j enterprise to be open source or get a commercial license (in the early days
   we worked on some of these embedded cases).


   When server mode emerged in 1.8 (2012) and folks stopped embedding neo4j, the AGPLv3 open source
   license allowed usage of the standalone server without a commercial license. The introduction of server
   mode was essential and if the license had changed at that time to restrict enterprise features (such as
   clustering in server mode), it would have greatly impacted the adoption of still very immature database.
   Instead, what followed was the start of Neo Technology’s split licensing personality. On the one hand, if you
   visited the Github neo4j open source project you would see an AGPLv3 license that allowed enterprise
   usage and at the major Graph Connect conference Neo Technology would promote these enterprise
   features and the open source contribution of them. On the other hand, sales and marketing would create
   confusion among commercial users that neo4j enterprise needed a license to avoid open sourcing their
   project code (which was only true for embedded use cases of which there are only a handful still to date).


   It was only recently that Neo4j, Inc. came into existence. Before that it was Neo Technology, Inc. and the
   commercial license was so appropriately called the Neo Technology Commercial License (NTCL). This
   meant community and enterprise could be used as-is without warranty under GPLv3 and AGPLv3
   respectively or exclusively enterprise supported under the NTCL. Any neo4j users had the freedom to
   checkout neo4j community and enterprise source under one GitHub repository, compile and run all the
   tests, see the open development of the project, report issues and build distributions of both community
   and enterprise under GPLv3 and AGPLv3 respectively. This was good for community as it showed a vibrant
   ecosystem where everyone understood that core freedoms were being promoted and Neo Technology
   was able to commercialize enterprise under NTCL for enterprise customers that needed support.


   At some point in neo4j’s growth and adoption, around year 2015, neo4j became a clearly viable database –
   this wasn’t the case from 2011-2015 when it suffered heavily from failed deployments as the result of
   scalability and reliability issues for many now common use cases. With neo4j becoming increasingly
   popular and more commercial licenses in hand, Neo Technology accelerated commercialization efforts
   around neo4j enterprise which included an increase in marketing rhetoric that focused on commercial
   customers needing a license (NTCL) to use enterprise. At the same time, Neo Technology continued to
   promote the open source nature and contributions of the company. This dual position led to confusion in
   the community and frustrations among commercial neo4j users but ultimately allowed Neo Technology to
   grow its commercial customer base while appealing to open source communities giving it all the bene ts of
   riding the open source wave.

https://www.graphfoundation.org/neo4j-is-open-core-now-what-ujah7ein5mis/                                          2/8
                                                                                                   N4J-GFI_000079
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                                                                             Graph Foundation

   It was between 2016-2018 that Neo Technology made the big changes. Unknown to the community they
   acquired trade marks on Neo4j and Cypher (both were commons usage until that point) and Neo
   Technology, Inc. changed its name to Neo4j, Inc. The build tooling that had allowed neo4j enterprise users
   to build enterprise distributions was removed from the open source repository. The enterprise license
   changed from AGPLv3 to AGPLv3 + Commons Clause and was applied to the then mainline 3.4 release and
   backported to patch releases for 3.2 and 3.3 to attempt a block at subsequent patch releases. And when
   Neo4j, Inc. realized that the additional Commons Clause didn’t prevent usage of enterprise features, it
   made the ultimate decision to remove all enterprise modules including tools and tests from open source
   and declare publicly that Neo4j, Inc. is now an Open Core organization leaving neo4j community alone as
   open source.


   So why does it matter so much that the enterprise features were taken closed? Well for any like-minded
   architects out there with open source initiatives we know that a database we choose needs to be open
   source so we can see it, build it, know there is a community engaged around it and good commercial
   support so that our organization has the option to reduce risk and improve business continuity as desired.
   We also know that any viable database needs to be performant (enhanced cypher runtime), vertical and
   horizonal scale (clustering, sharding, query parallelization), operational and administration ease (backups,
   restore, monitoring, metrics, logging), security to lock it down and constraints to ensure integrity. All of
   these are core features for a modern database to be in a modern data architecture. It was the enterprise
   features and the fact they were open that enabled neo4j to enter the modern architecture. The reason we
   say modern architecture is because it’s not just an enterprise architecture. Any more these days, any
   initiative worth undertaking requires a scalable architecture. Any product or platform worth building
   demands an underlying scalable foundation and very often an open source architecture in addition. The
   remaining community features do not meet these needs and while enterprise features can still be access
   through Neo4j, Inc. they are propriety and do not meet open initiative requirements.


   Organizations that adopt a proprietary enterprise should be aware of the specialized data format in
   enterprise today. The database format for building large graphs (bigger than 34 billion nodes/relationships)
   was designated as an enterprise feature and is required when using enterprise. When users move from
   community to enterprise there is a data format migration performed that is irreversible. This means that all
   enterprise users today, after they upgrade to 3.5 will be using a proprietary data format that will forever
   have them locked-in. Based on Neo4j, Inc.’s trajectory, this may be intentional so they can continue to move
   closer to their vision of becoming the Oracle of graph databases as they think of it.


   We see a bigger vision for graph unfolding where there is going to be a much bigger need for scalability,
   performance and compute in a distributed manner as graphs begin to play a central role in machine
   learning, arti cial intelligence and the new age de nitions of both as they will be continue to be rede ned to
   move beyond the de nitions from the 60’s. The way we see it, clustering, sharding, parallel cypher and big
   graph performance will be essential in this coming age and cannot be proprietary, closed source enterprise
   features. Every organization has a vested interest in this future mission and it’s essential that the handling
   of this critical component is done in the open for everyone.


https://www.graphfoundation.org/neo4j-is-open-core-now-what-ujah7ein5mis/                                           3/8
                                                                                                    N4J-GFI_000080
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                                                                             Graph Foundation

   The only way for neo4j enterprise users and those community users needing enterprise features is to make
   a bold move to The Graph Foundation. We started Graph Foundation, Inc. (referred to as The Graph
   Foundation) in June 2018 when we noticed Neo4j’s position beginning to change and the implications of
   this for the community and ecosystem. The Graph Foundation is a nonpro t with 501(c)(3) status and its
   goal is to take over neo4j enterprise development and continue forward under a model that closely
   resembles that of The Linux Foundation.


   We see that one of the most important aspect about neo4j is that it’s an open source native graph
   database. We call it native to separate from other graph layers built on RDBMS and NoSQL databases that
   use indexes or joins to form relationships while native graphs like neo4j store nodes and relationships as
   fast mapped pointers at a store level giving peak performance when traversing complex, densely
   connected data. In 2003, we were obsessed with learning about open source and the world that it had
   created. As a big users of Linux we learned of the efforts of the Free Software Foundation that gave us not
   only the freedoms we came to know and love but the tools to build and thrive without limitations. As a
   throwback to those early days and our beginnings on GNU (remember GNU’s Not Unix), we decided on the
   name ONgDB (oh-n-gee-db) which stands for Open Native Graph DB but also ONgDB’s Neo4j Graph DB.
   We just couldn’t resist the double meaning and the shout out to those that have come before us in
   pioneering the Free Open Source Software movement.


   In order to move ONgDB forward in a signi cant way, we’re going to need a lot of help. If keeping the best
   graph database on the market today open source and truly enabling “Graphs for Everyone” is a mission for
   you and/or your organization, there are a few things you can do to be an activist in this mission and help the
   cause.


   First, help spread the word and make every individual and organization aware of what’s happening. Don’t let
   the conversation end at a press release from Neo4j, Inc. This is bigger than that and Neo4j does not
   represent the collective voice of the graph community now or those that will need an open community and
   its solutions in the future. The fate of many is incorrectly in the hands of a few that do not seek interests in
   the best alignment for the future in store for us all.


   Second, if you have the skill, ability or just sheer passion for learning and working with a foundation of
   inspiring individuals ready to teach and help you grow, this is one of the greatest technology initiative of
   your time to be part of in ushering in a change for the ages. We are going to take graph to the next level and
   you will be part of this historical movement.


   Third, if you have open initiatives for data architecture at your organization then you need to cut your
   licenses from Neo4j, Inc. Don’t invest monetarily in a proprietary future. If you need commercial support
   beyond the community, and many organizations will, The Graph Foundation has commercial sponsors
   working and contributing to the open source initiative and you should contact us for those commercial
   sponsors that will work with you to give you the support, liability and warranty you need to succeed. Many
   of the engineers working on ONgDB alongside foundation engineers are coming from commercial
   sponsors that are donating time and resource to move the mission forward. Sponsors such as GraphGrid,

https://www.graphfoundation.org/neo4j-is-open-core-now-what-ujah7ein5mis/                                             4/8
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   the top contributor to date have the most talented pool of engineers and commercial momentum to give
   enterprise customers the best choice for commercial support.


   Lastly, The Graph Foundation does have operating costs and is being donated to heavily by sponsors like
   GraphGrid. In order for the foundation to move forward we need to have more capacity within the
   foundation to continue on development and road mapping. Our desire is to have many commercial entities
   in uencing the future decisions of The Graph Foundation. The Graph Foundation is a 501(c)(3) which has
   nonpro t status from the IRS so any donations are tax deductible by any enterprise that makes a donation.
   Corporate sponsorship will help ensure The Graph Foundation thrives and has the backing to correctly
   move the broader graph vision forward in a way that serves those most invested in the future of graph.


   We see the future ahead; it’s connected and built on graph. We want to connect with you, right now to
   ensure that this future remains free and open to all. To this end we will not stop to until we have brought to
   fruition this vision which stands before us all. Will you join this mission?




   TL;DR


   Neo4j, Inc. made key performance, scalability and security features proprietary as of 3.5


   We must protect the freedoms of neo4j enterprise users by keeping enterprise open source to ensure a
   vibrant future for everyone, not the few


   Under current enterprise designations, the biggest gains in big graphs to power AI/ML/DeepGL,
   distributed/parallel Cypher and large clusters with sharding will be Neo4j Enterprise Edition features and
   require lock-in to a proprietary database


   The Graph Foundation, a nonpro t 501(c)(3), is taking over enterprise open source development and with
   the help of sponsors and the community will push forward a vision of graph that will be for everyone


   The Graph Foundation needs help! Consider sponsoring and getting commercial support from approved
   commercial sponsors to ensure enterprise development continues forward



            Brad Nussbaum


   Tags: FOSS, Neo4j, ONgDB


    NEXT

    1,000th ONgDB (Open Neo4j Enterprise) 3.5 Download

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      1 Comment


   Pingback: 1,000th ONgDB (Open Neo4j Enterprise) 3.5 Download



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  Accessibility

  Get Involved

  Graph Community

  Mission

  Projects
       Heimdall

       Open Native Graph DB (ONgDB)

             ONgDB Releases

                  ONgDB 3.4.11
                  ONgDB 3.4.12

                  ONgDB 3.4.9

                  ONgDB 3.5.1

                  ONgDB 3.5.3

                  ONgDB 3.5.4
  Support TGF

       Donations

       Sponsorship

       Thanks
  The Graph Foundation

       Public Records

             Articles of Incorporation

             Code of Regulations




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  S u p p o r t G F To d a y !



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 7
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 8 liability company, IGOV INC., a Virginia
   corporation, and JOHN MARK SUHY
 9

10
                                     UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12
      NEO4J, INC., a Delaware corporation,          CASE NO. 5:18-cv-07182-EJD
13
                        Plaintiff,                  DEFENDANT IGOV INC.’S AMENDED
14                                                  RESPONSE TO NEO4J SWEDEN AB’S
             v.                                     SECOND SET OF INTERROGATORIES
15                                                  TO IGOV INC.
      PURETHINK LLC, a Delaware limited
16    liability company, IGOV INC., a Virginia
      corporation, and JOHN MARK SUHY, an
17    individual,

18                      Defendants.

19
      AND RELATED COUNTERCLAIM.
20

21

22           PROPOUNDING PARTY: Plaintiff and Counter-Defendant NEO4J SWEDEN AB.

23           RESPONDING PARTY:            Defendant and Counter-Claimant IGOV INC.

24           DISCOVERY:                   Response to Interrogatories

25           SET NO.:                     One

26           DEFENDANT IGOV INC. responds to Plaintiff and Counter-Defendant NEO4J

27    SWEDEN AB’s Second set of Interrogatories as follows:

28


      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1                                  OBJECTIONS TO DEFINITIONS

 2           1.      Responding party objects to the definition of “YOU,” or “YOUR” as they are

 3    overbroad. Defendant and Counter-Claimant John Mark Suhy will provide information in his

 4    custody and control and without distinguishing between which party may or may not have

 5    specific information regarding the responses.

 6           2.      Responding parties object to the definition “IDENTIFY” and “IDENTITY” as it is

 7    overbroad and overly burdensome, and plaintiffs may review the same documents and

 8    information to derive the information. Responding parties will meet and confer over specific

 9    requests if required.

10

11                                RESPONSE TO INTERROGATORIES

12    INTERROGATORY NO. 1:

13           Describe in detail each feature, function, and/or capability in which YOU contend

14    ONgDB software differs from NEO4J SOFTWARE, including but not limited to any source code

15    implementing that capability and corresponding reference within Graph Foundation’s

16    repositories for ONgDB (i.e. GitHub, Docker), and IDENTIFY all DOCUMENTS that evidence

17    each such feature, function, and/or capability.

18           Response:

19                   This request asks respondent to review third party open source software from

20           ONgDB with Neo4J, Inc. software, which respondent does not have, and detail every

21           feature, function and/or capability it contends is different. Propounding Party can do this

22           themselves such that the interrogatory is improper. “They have within their own

23           knowledge all the information from which to draw the same conclusions, comparisons,

24           contentions, and opinions they ask the plaintiffs to draw concerning the relationship of the

25           prior structure with the claims in suit.” Besly-Welles Corp. v. Balax, Inc. (E.D. Wis. 1968)

26           43 F.R.D. 368, 373 Responding Party objects this request is overly broad, harassing,

27           oppressive and burdensome as it requests a source code level review and comparison of

28           “NEO4J SOFTWARE” which is defined very broadly as “Plaintiff’s software, namely
                                                        -2-
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1          NEO4J® Community Edition, NEO4J® Enterprise Edition and their pre-releases, betas,

 2          source code files, readme files, license files, APIs, and other files that constitute the

 3          software” without reference to a particular version and which is not available to

 4          Responding Party, to a third parties ONgDB software, without reference to version. This

 5          would require Responding Party to have access to all version of plaintiff Neo4J, Inc.’s

 6          versions of Neo4J software in source, which it does not have, and would represent a

 7          massive undertaking and software engineering effort which would take several months,

 8          and represents a burdensome request on Responding Party who is a one person company

 9          and cannot undertake this detailed investigation on a reasonable basis. As Propounding

10          Party most likely has access to Neo4J Inc.’s source code of that software and can get

11          OMgDB as it is publicly available, Propounding Party has the ability to make this

12          determination.

13                 Responding Party objects to this request as it is compound. Responding Party

14          objects that the electronically stored “NEO4J SOFTWARE” is not reasonably accessible

15          to Responding Party. Responding Party objects to this request as it is not relevant to

16          Propounding Party's claims or defenses in this litigation nor likely to lead to discovery of

17          admissible evidence. It appears Propounding Party is attempting to use discovery that is

18          limited to 25 questions FRCP Rule 33 (a)(1) to ask questions for another party which

19          should not be allowed. Defendants are three parties with one person. Plaintiffs are trying

20          to extend the 25 interrogatory limit by asking Mr. Suhy to answer questions from 2

21          plaintiffs through three defendants which could be a total of 150 interrogatories which

22          certainly is not the import of the limitations on discovery.

23                  Responding party objects to the instructions for this request as the instructions

24          exceed what is required under the federal rules. Responding party objects to the definition

25          of “YOU,” or “YOUR” as vague and overbroad, and responds to this request as the

26          Responding Party only.

27          Subject to and without waiver of the foregoing objections, Responding Party responds as

28          follows:
                                                      -3-
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1

 2            Mr Suhy is an open source committer to the ONgDB project who has made substantial

 3            contributions to it. However, this question should be aimed at the GraphFoundation.

 4            Furthermore, in order to respond to this interrogatory Mr. Suhy will need full access to the

 5            current Neo4j Enterprise source code for each version that should be compared. As

 6            ONgDB extends Neo4j’s core code from github, it has at least everything Neo4j core has.

 7            To identify documents and Pursuant to Rule 33(d), the answer to this interrogatory may be

 8            determined by examining, auditing, compiling, abstracting, or summarizing business

 9            records and the burden to Propounding party is at least substantially the same to that of

10            Responding Party. Responding party identifies the records as: “NEO4J SOFTWARE” as

11            defined by, and in the possession and control of Propounding Party; and “ONgDB

12            software” in the possession and control of a party in a related action, Graph Foundation, as

13            made publicly accessible by them.

14

15            To meet and confer, without waiver of the foregoing, Responding Party provides a general

16    comparison of features as follows:

17
      Facts
18

19    ONgDB is a superset of Neo4j core for each released version.

20    Neo4j Enterprise Commercial packages released by Neo4j Inc are a superset of Neo4j core.

21    This means that both ONgDB and Neo4j Enterprise are supersets of Neo4j core. I.E. they both
      contain all the features of Neo4j core and add additional features beyond core.
22

23    Unit and Integration tests that ensure the quality and functionality of the software are built into
      the project. All these tests must pass in order to package a distribution of the software. For
24    example – there are 10s of thousands of tests built into Neo4j core.

25    ONgDB is continuously synced with Neo4j’s github repositories on a regular basis.
26
      The versioning of Neo4j software uses the Semantic Versioning approach to versioning software.
27

28    Given a version number MAJOR.MINOR.PATCH, increment the:
                                                       -4-
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1    MAJOR version when you make incompatible API changes,
 2    MINOR version when you add functionality in a backwards compatible manner, and
 3
      PATCH version when you make backwards compatible bug fixes.
 4
      Comparison:
 5

 6

 7    Because both ONgDB and Neo4j Enterprise are both supersets of Neo4j Core (also called
      Neo4j Community Edition), that means that all the standard features that make up Neo4j Core
 8    are the same for both distributions.
 9    The enterprise features are found under the enterprise folder in the project. Without having
      access to neo4j enterprise source code, we can only give a high level comparison of known
10
      features:
11

12
       Enterprise Feature              ONgDB 3.5.x                      Neo4j EE 3.5.x
13     Causal Clustering               X                                X
14     Akka Based Clustering                                            X
       Implementation
15     Backup                          X                                X
       Enterprise Cypher               X                                X
16     Metrics                         X                                X
17     Query-logging                   X                                X
       Security                        X                                X
18     Enterprise Management           X                                X
       Kerberos Plugin                                                  X
19

20

21

22     Enterprise Feature              ONgDB 3.6.x                      Neo4j EE 3.5.x
       Causal Clustering               X                                X
23
       Akka Based Clustering                                            X
24     Implementation
       Backup                          X                                X
25     Enterprise Cypher               X                                X
       Metrics                         X                                X
26
       Query-logging                   X                                X
27     Security                        X                                X
       Enterprise Management           X                                X
28     Kerberos Plugin                                                  X
                                                     -5-
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1     Single Property Sort on        X
       Multi-Property Sorted Node
 2
       Result Count on Full-text      X
 3     Indexes
       Full-text search for numeric   X
 4     properties
 5

 6

 7
       Enterprise Feature             ONgDB 3.6.x                   Neo4j EE 4.1.x
 8     Causal Clustering              X                             X
       Akka Based Clustering                                        X
 9
       Implementation
10     Backup                         X                             X
       Enterprise Cypher              X                             X
11     Metrics                        X                             X
       Query-logging                  X                             X
12
       Security                       X                             X
13     Enterprise Management          X                             X
       Kerberos Plugin                                              X
14     Multi-database                                               X
       Cypher Parallel Runtime                                      X
15     Cypher Pipelined Runtime                                     X
16     Fabric                                                       X
       Single Property Sort on        X
17     Multi-Property Sorted Node
       Result Count on Full-text      X
18     Indexes
19     Full-text search for numeric   X
       properties
20     schema-based security model                                  X
       Reactive Architecture                                        X
21

22
      INTERROGATORY NO. 2:
23
             IDENTIFY and describe in detail the NEO4J SOFTWARE source code, function and/or
24
      feature which has been incorporated into ONgDB software that YOU contend Neo4j Sweden AB
25
      improperly released subject to the GNU Affero General Public License version 3 (“AGPLv3”)
26
      with the Commons Clause that had not been previously released under either the AGPLv3 or
27
      GNU General Public License version 3 (“GPLv3”), and IDENTIFY all DOCUMENTS that
28
                                                  -6-
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1    evidence such source code, function and/or feature.

 2           Response:

 3           This request asks respondent to review third party open source software from ONgDB

 4           with Neo4J, Sweden’s open source software in different versions and detail every feature,

 5           function and/or capability it contends is different. Propounding Party can do this

 6           themselves such that the interrogatory is improper. “They have within their own

 7           knowledge all the information from which to draw the same conclusions, comparisons,

 8           contentions, and opinions they ask the plaintiffs to draw concerning the relationship of the

 9           prior structure with the claims in suit.” Besly-Welles Corp. v. Balax, Inc. (E.D. Wis. 1968)

10           43 F.R.D. 368, 373. Responding Party objects this request as compound, is overly broad,

11           harassing, oppressive and burdensome as it requests a source code level review and

12           comparison of open source versions NEO4J software to ONgDB software, which is also

13           available to Propounding Party as open source software, without reference to version. This

14           would represent a massive undertaking and software engineering effort by Responding

15           Party who is a one-person company which could not be reasonably done. Responding

16           Party objects to this request as it is not relevant to Neo4J Sweden’s claims or defenses nor

17           likely to lead to discovery of admissible evidence. Responding party objects to the

18           instructions for this request as the instructions exceed what is required under the federal

19           rules. Responding party objects to the definition of “YOU,” or “YOUR” as vague and

20           overbroad, and responds to this request as the Responding Party only.

21           Subject to and without waiver of the foregoing objections, Responding Party responds as

22           follows:

23           To identify documents and Pursuant to Rule 33(d), the answer to this interrogatory may be

24           determined by examining, auditing, compiling, abstracting, or summarizing business

25           records and the burden to Propounding Party is at least substantially the same to that of

26           Responding Party. Responding party identifies the records as: NEO4J Sweden’s open

27           source software it has loaded to the Github repository and in the possession and control of

28           Propounding Party, including under the packaging and enterprise directories of the Neo4j
                                                     -7-
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1           repository located at https://github.com/neo4j/neo4j; and “ONgDB software” in the

 2           possession and control of a party in a related action, Graph Foundation, as made publicly

 3           accessible by them.

 4           To meet and confer, without waiver of the foregoing, Responding Party provides as

 5           follows:

 6           The following files were released improperly having not had a previous release under

 7           AGPLv3 only:
       enterprise/backup/src/main/java/org/neo4j/backup/impl/BackupPageCacheContainer.java
 8
       enterprise/backup/src/main/java/org/neo4j/backup/impl/BackupProtocolServiceFactory.java
 9     enterprise/backup/src/test/java/org/neo4j/backup/OnlineBackupExtensionFactoryTest.java
       enterprise/backup/src/test/java/org/neo4j/backup/impl/BackupPageCacheContainerTest.java
10     enterprise/backup/src/test/java/org/neo4j/backup/impl/BackupProtocolServiceFactoryTest.java
11     enterprise/backup/src/test/java/org/neo4j/backup/impl/BackupProtocolServiceTest.java
       enterprise/causal-
12     clustering/src/main/java/org/neo4j/causalclustering/core/BoundedPriorityQueue.java
       enterprise/causal-clustering/src/main/java/org/neo4j/causalclustering/core/DiscoveryType.java
13     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/core/consensus/protocol/v2/RaftProtocolClientIn
14
       stallerV2.java
15     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/core/consensus/protocol/v2/RaftProtocolServerI
16     nstallerV2.java
       enterprise/causal-
17     clustering/src/main/java/org/neo4j/causalclustering/core/replication/LeaderProvider.java
       enterprise/causal-
18     clustering/src/main/java/org/neo4j/causalclustering/core/state/machines/tx/ByteArrayReplicatedTran
19     saction.java
       enterprise/causal-
20     clustering/src/main/java/org/neo4j/causalclustering/core/state/machines/tx/ChunkedTransaction.jav
       a
21     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/core/state/machines/tx/TransactionRepresentati
22     onExtractor.java
23     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/core/state/machines/tx/TransactionRepresentati
24     onReplicatedTransaction.java
       enterprise/causal-clustering/src/main/java/org/neo4j/causalclustering/diagnostics/CoreMonitor.java
25     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/discovery/AbstractCoreTopologyService.java
26     enterprise/causal-
27     clustering/src/main/java/org/neo4j/causalclustering/discovery/DiscoveryServiceFactorySelector.java

28
                                                      -8-
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 1     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/discovery/EnterpriseDiscoveryServiceFactorySele
 2     ctor.java
       enterprise/causal-
 3
       clustering/src/main/java/org/neo4j/causalclustering/discovery/InitialDiscoveryMembersResolver.java
 4     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/discovery/KubernetesResolver.java
 5     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/discovery/RemoteMembersResolver.java
 6     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/discovery/RetryingHostnameResolver.java
 7
       enterprise/causal-clustering/src/main/java/org/neo4j/causalclustering/discovery/SecurePassword.java
 8     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/discovery/kubernetes/KubernetesType.java
 9     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/discovery/kubernetes/ObjectMetadata.java
10     enterprise/causal-
11     clustering/src/main/java/org/neo4j/causalclustering/discovery/kubernetes/ServiceList.java
       enterprise/causal-
12     clustering/src/main/java/org/neo4j/causalclustering/discovery/kubernetes/Status.java
       enterprise/causal-clustering/src/main/java/org/neo4j/causalclustering/helper/Limiters.java
13     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/ChunkingNetworkChannel.java
14
       enterprise/causal-
15     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/ByteArrayChunkedEncod
       er.java
16     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/ChunkedReplicatedConte
17     nt.java
       enterprise/causal-
18     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/Codec.java
19     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/ContentBuilder.java
20     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/CoreReplicatedContentM
21     arshal.java
       enterprise/causal-
22     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/InputStreamReadableCha
       nnel.java
23
       enterprise/causal-
24     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/Marshal.java
       enterprise/causal-
25     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/MaxTotalSize.java
       enterprise/causal-
26     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/OutputStreamWritableCh
       annel.java
27

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 1     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/ReplicatedContentHandle
 2     r.java
       enterprise/causal-
 3
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/ContentType.java
 4     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/decoding/ContentTyp
 5     eDispatcher.java
       enterprise/causal-
 6     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/decoding/DecodingDi
       spatcher.java
 7
       enterprise/causal-
 8     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/decoding/RaftLogEntr
       yTermsDecoder.java
 9     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/decoding/RaftMessag
10     eComposer.java
       enterprise/causal-
11     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/decoding/RaftMessag
12     eDecoder.java
       enterprise/causal-
13     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/decoding/ReplicatedC
       ontentChunkDecoder.java
14     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/decoding/ReplicatedC
15     ontentDecoder.java
16     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/encoding/ContentTyp
17     eEncoder.java
       enterprise/causal-
18     clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/encoding/RaftLogEntr
       yTermsSerializer.java
19     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/encoding/RaftMessag
20
       eContentEncoder.java
21     enterprise/causal-
       clustering/src/main/java/org/neo4j/causalclustering/messaging/marshalling/v2/encoding/RaftMessag
22     eEncoder.java
       enterprise/causal-
23     clustering/src/test/java/org/neo4j/causalclustering/core/BoundedPriorityQueueTest.java
       enterprise/causal-
24
       clustering/src/test/java/org/neo4j/causalclustering/core/replication/LeaderProviderTest.java
25     enterprise/causal-
       clustering/src/test/java/org/neo4j/causalclustering/core/state/machines/tx/TransactionRepresentatio
26     nReplicatedTransactionTest.java
       enterprise/causal-
27     clustering/src/test/java/org/neo4j/causalclustering/diagnostics/CoreMonitorTest.java
       enterprise/causal-clustering/src/test/java/org/neo4j/causalclustering/discovery/EnterpriseCluster.java
28
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 1     enterprise/causal-
       clustering/src/test/java/org/neo4j/causalclustering/discovery/InitialDiscoveryMembersResolverTest.ja
 2     va
 3     enterprise/causal-clustering/src/test/java/org/neo4j/causalclustering/helper/LimitersTest.java
       enterprise/causal-clustering/src/test/java/org/neo4j/causalclustering/helpers/Buffers.java
 4     enterprise/causal-
       clustering/src/test/java/org/neo4j/causalclustering/identity/ClusterIdMarshalTest.java
 5     enterprise/causal-
       clustering/src/test/java/org/neo4j/causalclustering/messaging/ChunkingNetworkChannelTest.java
 6
       enterprise/causal-
 7     clustering/src/test/java/org/neo4j/causalclustering/messaging/marshalling/ByteArrayChunkedEncode
       rTest.java
 8     enterprise/causal-
       clustering/src/test/java/org/neo4j/causalclustering/messaging/marshalling/ByteBufChunkHandlerTest
 9     .java
       enterprise/causal-
10     clustering/src/test/java/org/neo4j/causalclustering/messaging/marshalling/ChunkedReplicatedConten
11     tTest.java
       enterprise/causal-
12     clustering/src/test/java/org/neo4j/causalclustering/messaging/marshalling/v2/CoreReplicatedContent
       MarshallingTest.java
13     enterprise/causal-
       clustering/src/test/java/org/neo4j/causalclustering/messaging/marshalling/v2/RaftMessageEncoderD
14     ecoderTest.java
15     enterprise/causal-
       clustering/src/test/java/org/neo4j/causalclustering/messaging/marshalling/v2/decoding/ClusterIdAwa
16     reMessageComposerTest.java
       enterprise/causal-
17     clustering/src/test/java/org/neo4j/causalclustering/scenarios/EnterpriseClusterIpFamilyIT.java
       enterprise/causal-
18     clustering/src/test/java/org/neo4j/causalclustering/scenarios/EnterpriseClusterOverviewIT.java
       enterprise/causal-
19
       clustering/src/test/java/org/neo4j/causalclustering/scenarios/EnterpriseDiscoveryServiceType.java
20     enterprise/causal-
       clustering/src/test/java/org/neo4j/causalclustering/scenarios/EnterpriseMultiClusterRoutingIT.java
21     enterprise/causal-
       clustering/src/test/java/org/neo4j/causalclustering/scenarios/EnterpriseMultiClusteringIT.java
22     enterprise/causal-
       clustering/src/test/java/org/neo4j/causalclustering/scenarios/HazelcastCoreTopologyServiceIT.java
23
       enterprise/cypher/acceptance-spec-suite/src/test/resources/blacklists/compatibility-34.txt
24     enterprise/cypher/acceptance-spec-suite/src/test/resources/blacklists/cost-morsel.txt
       enterprise/cypher/acceptance-spec-
25     suite/src/test/scala/cypher/features/CostMorselAcceptanceTests.scala
       enterprise/cypher/acceptance-spec-
26     suite/src/test/scala/org/neo4j/internal/cypher/acceptance/IndexWithProvidedOrderAcceptanceTest.s
27     cala
       enterprise/cypher/acceptance-spec-
28     suite/src/test/scala/org/neo4j/internal/cypher/acceptance/IndexWithValuesAcceptanceTest.scala

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 1     enterprise/cypher/acceptance-spec-
       suite/src/test/scala/org/neo4j/internal/cypher/acceptance/ListExpressionAcceptanceTest.scala
 2     enterprise/cypher/acceptance-spec-
       suite/src/test/scala/org/neo4j/internal/cypher/acceptance/MorselRuntimeAcceptanceTest.scala
 3
       enterprise/cypher/acceptance-spec-
 4     suite/src/test/scala/org/neo4j/internal/cypher/acceptance/NullListAcceptanceTest.scala
       enterprise/cypher/acceptance-spec-
 5     suite/src/test/scala/org/neo4j/internal/cypher/acceptance/OrderAcceptanceTest.scala
       enterprise/cypher/acceptance-spec-
 6     suite/src/test/scala/org/neo4j/internal/cypher/acceptance/PlannerRobustnessAcceptanceTest.scala
       enterprise/cypher/acceptance-spec-
 7
       suite/src/test/scala/org/neo4j/internal/cypher/acceptance/ResourceTracking.scala
 8     enterprise/cypher/acceptance-spec-
       suite/src/test/scala/org/neo4j/internal/cypher/acceptance/UnsupportedFeaturesAcceptanceTest.scal
 9     a
       enterprise/cypher/compatibility-spec-suite/src/test/resources/blacklists/cost-morsel.txt
10     enterprise/cypher/compatibility-spec-
11     suite/src/test/scala/cypher/features/CostSlottedWithCompiledExpressionsTCKTests.scala
       enterprise/cypher/compiled-
12     expressions/src/main/java/org/neo4j/cypher/internal/runtime/compiled/expressions/CompiledHelper
       s.java
13     enterprise/cypher/compiled-
       expressions/src/main/java/org/neo4j/cypher/internal/runtime/compiled/expressions/CompiledProjec
14     tion.java
       enterprise/cypher/compiled-
15
       expressions/src/main/scala/org/neo4j/cypher/internal/runtime/compiled/expressions/CodeGeneratio
16     n.scala
       enterprise/cypher/compiled-
17     expressions/src/main/scala/org/neo4j/cypher/internal/runtime/compiled/expressions/IntermediateC
       odeGeneration.scala
18     enterprise/cypher/compiled-
       expressions/src/main/scala/org/neo4j/cypher/internal/runtime/compiled/expressions/IntermediateR
19
       epresentation.scala
20     enterprise/cypher/compiled-
       expressions/src/test/scala/org/neo4j/cypher/internal/runtime/compiled/expressions/CodeGeneration
21     DbAccessTest.scala
       enterprise/cypher/compiled-
22     expressions/src/test/scala/org/neo4j/cypher/internal/runtime/compiled/expressions/CodeGeneration
       Test.scala
23
       enterprise/cypher/cypher/src/main/scala/org/neo4j/cypher/internal/CompiledRuntime.scala
24     enterprise/cypher/cypher/src/main/scala/org/neo4j/cypher/internal/EnterpriseCompilerFactory.scala
       enterprise/cypher/cypher/src/main/scala/org/neo4j/cypher/internal/EnterpriseRuntimeFactory.scala
25     enterprise/cypher/cypher/src/main/scala/org/neo4j/cypher/internal/MorselRuntime.scala
26     enterprise/cypher/cypher/src/main/scala/org/neo4j/cypher/internal/SlottedRuntime.scala
       enterprise/cypher/cypher/src/main/scala/org/neo4j/cypher/internal/runtime/compiled/CompiledExe
27     cutionResult.scala
       enterprise/cypher/cypher/src/main/scala/org/neo4j/cypher/internal/runtime/compiled/RunnablePlan
28     .scala
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 1     enterprise/cypher/cypher/src/main/scala/org/neo4j/cypher/internal/runtime/compiled/codegen/ir/e
       xpressions/Pow.scala
 2     enterprise/cypher/cypher/src/main/scala/org/neo4j/cypher/internal/runtime/compiled/projectIndexP
       roperties.scala
 3
       enterprise/cypher/cypher/src/test/java/org/neo4j/cypher/internal/javacompat/ExpressionEngineConf
 4     igurationTest.java
       enterprise/cypher/cypher/src/test/java/org/neo4j/cypher/internal/javacompat/MorselRuntimeStressI
 5     T.java
       enterprise/cypher/cypher/src/test/scala/org/neo4j/cypher/internal/runtime/compiled/projectIndexPr
 6     opertiesTest.scala
       enterprise/cypher/morsel-
 7
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/parallel/CsvStdOutDataWriter.scala
 8     enterprise/cypher/morsel-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/parallel/DataPoint.scala
 9     enterprise/cypher/morsel-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/parallel/DataPointSchedulerTracer.scala
10     enterprise/cypher/morsel-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/parallel/Scheduler.scala
11
       enterprise/cypher/morsel-
12     runtime/src/main/scala/org/neo4j/cypher/internal/runtime/parallel/SchedulerTracer.scala
       enterprise/cypher/morsel-
13     runtime/src/main/scala/org/neo4j/cypher/internal/runtime/parallel/SimpleScheduler.scala
       enterprise/cypher/morsel-
14     runtime/src/main/scala/org/neo4j/cypher/internal/runtime/parallel/SingleThreadScheduler.scala
       enterprise/cypher/morsel-
15
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/parallel/ThreadSafeDataWriter.scala
16     enterprise/cypher/morsel-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/vectorized/Dispatcher.scala
17     enterprise/cypher/morsel-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/vectorized/Pipeline.scala
18     enterprise/cypher/morsel-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/vectorized/StreamingOperator.scala
19
       enterprise/cypher/morsel-
20     runtime/src/main/scala/org/neo4j/cypher/internal/runtime/vectorized/operators/MorselSorting.scala
       enterprise/cypher/morsel-
21     runtime/src/main/scala/org/neo4j/cypher/internal/runtime/vectorized/operators/NodeIndexContains
       ScanOperator.scala
22     enterprise/cypher/morsel-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/vectorized/operators/NodeIndexOperato
23     r.scala
24     enterprise/cypher/morsel-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/vectorized/operators/NodeIndexScanOpe
25     rator.scala
       enterprise/cypher/morsel-
26     runtime/src/test/scala/org/neo4j/cypher/internal/runtime/parallel/SchedulerTest.scala
       enterprise/cypher/morsel-
27     runtime/src/test/scala/org/neo4j/cypher/internal/runtime/parallel/ThreadSafeDataWriterTest.scala
28
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 1     enterprise/cypher/morsel-
       runtime/src/test/scala/org/neo4j/cypher/internal/runtime/vectorized/operators/AllNodeScanOperato
 2     rTest.scala
       enterprise/cypher/morsel-
 3
       runtime/src/test/scala/org/neo4j/cypher/internal/runtime/vectorized/operators/ArgumentOperatorT
 4     est.scala
       enterprise/cypher/morsel-
 5     runtime/src/test/scala/org/neo4j/cypher/internal/runtime/vectorized/operators/NodeIndexContainsS
       canOperatorTest.scala
 6     enterprise/cypher/morsel-
       runtime/src/test/scala/org/neo4j/cypher/internal/runtime/vectorized/operators/NodeIndexScanOper
 7
       atorTest.scala
 8     enterprise/cypher/morsel-
       runtime/src/test/scala/org/neo4j/cypher/internal/runtime/vectorized/operators/NodeIndexSeekOper
 9     atorTest.scala
       enterprise/cypher/physical-
10     planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/PhysicalPlanningAttri
       butes.scala
11     enterprise/cypher/physical-
12     planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/SlottedIndexedPrope
       rty.scala
13     enterprise/cypher/physical-
       planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/ast/GetDegreePrimiti
14     ve.scala
       enterprise/cypher/physical-
15     planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/ast/IdFromSlot.scala
16     enterprise/cypher/physical-
       planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/ast/IsPrimitiveNull.sc
17     ala
       enterprise/cypher/physical-
18     planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/ast/NodeFromSlot.sc
       ala
19     enterprise/cypher/physical-
       planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/ast/NodeProperty.sc
20
       ala
21     enterprise/cypher/physical-
       planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/ast/PrimitiveEquals.s
22     cala
       enterprise/cypher/physical-
23     planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/ast/ReferenceFromSl
       ot.scala
24
       enterprise/cypher/physical-
25     planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/ast/RelationshipFrom
       Slot.scala
26     enterprise/cypher/physical-
       planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/ast/RuntimeExpressi
27     on.scala
28
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 1     enterprise/cypher/physical-
       planning/src/main/scala/org/neo4j/cypher/internal/compatibility/v3_5/runtime/ast/RuntimeVariable.
 2     scala
       enterprise/cypher/slotted-
 3
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/slotted/expressions/CompiledExpression
 4     Converter.scala
       enterprise/cypher/slotted-
 5     runtime/src/main/scala/org/neo4j/cypher/internal/runtime/slotted/expressions/SlottedCachedNodeP
       roperty.scala
 6     enterprise/cypher/slotted-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/slotted/expressions/SlottedCommandPro
 7
       jection.scala
 8     enterprise/cypher/slotted-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/CreateSlottedPipe.scala
 9     enterprise/cypher/slotted-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/DistinctSlottedPrimitivePip
10     e.scala
       enterprise/cypher/slotted-
11     runtime/src/main/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/DistinctSlottedSinglePrimiti
12     vePipe.scala
       enterprise/cypher/slotted-
13     runtime/src/main/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/EagerAggregationSlottedPri
       mitivePipe.scala
14     enterprise/cypher/slotted-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/IndexSlottedPipeWithValue
15     s.scala
16     enterprise/cypher/slotted-
       runtime/src/main/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/NodeHashJoinSlottedPrimit
17     ivePipe.scala
       enterprise/cypher/slotted-
18     runtime/src/test/scala/org/neo4j/cypher/internal/runtime/slotted/expressions/CompiledExpressionC
       onverterTest.scala
19     enterprise/cypher/slotted-
       runtime/src/test/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/EagerAggregationSlottedPip
20
       eTest.scala
21     enterprise/cypher/slotted-
       runtime/src/test/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/EagerAggregationSlottedPri
22     mitivePipeTest.scala
       enterprise/cypher/slotted-
23     runtime/src/test/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/NodeHashJoinSlottedPrimiti
       vePipeTest.scala
24
       enterprise/cypher/slotted-
25     runtime/src/test/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/NodeIndexScanSlottedPipeT
       est.scala
26     enterprise/cypher/slotted-
       runtime/src/test/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/NodeIndexSeekSlottedPipeT
27     est.scala
28
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 1     enterprise/cypher/slotted-
       runtime/src/test/scala/org/neo4j/cypher/internal/runtime/slotted/pipes/SlottedPipeTestHelper.scala
 2     enterprise/kernel/src/main/java/org/neo4j/kernel/enterprise/api/security/provider/EnterpriseNoAuth
       SecurityProvider.java
 3
       enterprise/kernel/src/main/java/org/neo4j/kernel/enterprise/builtinprocs/ConnectionTerminationFail
 4     edResult.java
       enterprise/kernel/src/main/java/org/neo4j/kernel/enterprise/builtinprocs/ConnectionTerminationRes
 5     ult.java
       enterprise/kernel/src/main/java/org/neo4j/kernel/enterprise/builtinprocs/ListConnectionResult.java
 6
       enterprise/kernel/src/main/java/org/neo4j/kernel/impl/net/DefaultNetworkConnectionTracker.java
 7     enterprise/kernel/src/main/java/org/neo4j/kernel/impl/pagecache/monitor/PageCacheWarmerLoggin
       gMonitor.java
 8     enterprise/kernel/src/main/resources/META-
       INF/services/org.neo4j.kernel.impl.constraints.ConstraintSemantics
 9     enterprise/kernel/src/test/java/org/neo4j/kernel/impl/enterprise/BatchInserterEnterpriseConstraintIT
       .java
10
       enterprise/kernel/src/test/java/org/neo4j/kernel/impl/net/DefaultNetworkConnectionTrackerTest.jav
11     a
       enterprise/metrics/src/main/java/org/neo4j/metrics/output/PrometheusHttpServer.java
12     enterprise/metrics/src/test/java/org/neo4j/metrics/source/Neo4jMetricsBuilderTest.java
       enterprise/neo4j-harness-
13     enterprise/src/test/java/org/neo4j/harness/PortAuthorityPortPickingStrategy.java
14     enterprise/server-enterprise/src/main/java/org/neo4j/server/database/EnterpriseGraphFactory.java
       enterprise/server-enterprise/src/main/java/org/neo4j/server/rest/EnterpriseDiscoverableURIs.java
15     enterprise/server-
       enterprise/src/main/java/org/neo4j/server/rest/causalclustering/ClusterStatusResponse.java
16     enterprise/server-
       enterprise/src/test/java/org/neo4j/server/enterprise/OpenEnterpriseNeoServerTest.java
17
       enterprise/server-enterprise/src/test/java/org/neo4j/server/rest/EnterpriseDiscoverableURIsTest.java
18     enterprise/server-
       enterprise/src/test/java/org/neo4j/server/rest/causalclustering/FakeTopologyService.java
19     enterprise/server-
       enterprise/src/test/java/org/neo4j/server/rest/causalclustering/FakeTransactionIdStore.java
20
       tools/src/main/java/org/neo4j/tools/dbstructure/DbStructureTool.java
21     tools/src/main/java/org/neo4j/tools/dump/inconsistency/Inconsistencies.java
       tools/src/main/java/org/neo4j/tools/dump/inconsistency/ReportInconsistencies.java
22     tools/src/test/java/org/neo4j/kernel/impl/util/dbstructure/GraphDbStructureGuideTest.java
       tools/src/test/java/org/neo4j/tools/org/neo4j/index/GBPTreePlayground.java
23
       tools/src/test/resources/neostore
24

25
      INTERROGATORY NO. 3:
26
             Describe in detail each feature, function, and/or capability in which YOU contend makes
27
      ONgDB software to make it a drop in replacement for an existing commercial licensed Neo4j®
28
                                                      - 16 -
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 1    Enterprise Edition distribution of the same version number.

 2           Response:

 3           Responding Party objects this request is harassing, oppressive and burdensome.

 4           Responding Party objects to this request as it is compound. Responding Party objects to

 5           this request as it is not relevant to Neo4J Sweden’s claims or defenses nor likely to lead to

 6           discovery of admissible evidence. Responding party objects to the instructions for this

 7           request as the instructions exceed what is required under the federal rules. Responding

 8           party objects to the definition of “YOU,” or “YOUR” as vague and overbroad, and

 9           responds to this request as the Responding Party only.

10           Subject to and without waiver of the foregoing objections, Responding Party responds as

11           follows:

12           ONgDB is a fork of Neo4j core. Neo4j Enterprise is also built on-top of Neo4j Core in a

13           similar manner. The underlying storage and kernel mechanisms both come from the same

14           Neo4j core.

15           Further, no claim is made that ONgDB matches every feature of Neo4j Enterprise Edition.

16           “Drop-in replacement” as used by responding party means the ability for a user to copy

17           their data from a neo4j instance and place into an ONgDB instance of the same version

18           and have it function with ONgDB using the cypher language version defined in neo4j core

19           for that version.

20           To identify documents and Pursuant to Rule 33(d), the answer to this interrogatory may be

21           determined by examining, auditing, compiling, abstracting, or summarizing business

22           records and the burden to Propounding party is at least substantially the same to that of

23           Responding Party. Responding party identifies the records as: “NEO4J SOFTWARE” as

24           defined by, and in the possession and control of Propounding Party, including under the

25           packaging and enterprise directories of the Neo4j repository located at

26           https://github.com/neo4j/neo4j; and “ONgDB software” in the possession and control of a

27           party in a related action, Graph Foundation, as made publicly accessible by them.

28
                                                     - 17 -
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1    INTERROGATORY NO. 4:

 2           Describe in detail the quality control procedures and assurance YOU put in place for

 3    ONgDB software to make it a drop in replacement for an existing commercial licensed Neo4j®

 4    Enterprise Edition distribution of the same version number, including the build infrastructure,

 5    testing methods for function, performance, load, stress, and any other tests to ensure quality and

 6    consistency in ONgDB.

 7           Response:

 8           Responding Party objects this request is harassing, oppressive and burdensome.

 9           Responding Party objects to this request as it is compound. Responding Party objects to

10           this request as it is not relevant to Neo4J Sweden’s claims or defenses nor likely to lead to

11           discovery of admissible evidence. Responding party objects to the instructions for this

12           request as the instructions exceed what is required under the federal rules. Responding

13           party objects to the definition of “YOU,” or “YOUR” as vague and overbroad, and

14           responds to this request as the Responding Party only.

15

16           Subject to and without waiver of the foregoing objections, Responding Party responds as

17           follows:

18           ONgDB is a superset of Neo4j Core.

19           Neo4j Enterprise commercial packages are also a superset of Neo4j core.

20

21           The neo4j software repository has integration and unit tests build into the actual project

22           and source code. When building the package using Maven software, 1000s of tests that

23           exist in the project source code are run. In order to build the entire distribution package,

24           all the tests must pass. Running: mvn verify will ensure all the tests are run and reports

25           on failures will be provided if there are any.

26

27           The same tests in neo4j core which ensure the quality of and consistency for Neo4j

28           community and enterprise are all run inside ONgDB when packaging.
                                                     - 18 -
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1

 2          Further, no claim is made that ONgDB matches every feature of Neo4j Enterprise Edition.

 3          “Drop-in replacement” as used by responding party means the ability for a user to copy

 4          their data from a neo4j instance and place into an ONgDB instance of the same version

 5          and have it function with ONgDB using the cypher language version defined in neo4j core

 6          for that version.

 7          Defendants did not place any quality control procedures or assurance into ONgDB that

 8          were not already in the code base.

 9          Mr Suhy is an open source committer to the ONgDB project and is not responsible for the

10          quality control procedures which the GraphFoundation implements. This question should

11          be asked to the GraphFoundation.     However, all the testing infrastructure that is present

12          inside the Neo4j core code base is also part of the ONgDB code base and is run as part of

13          the build process. Building the software runs these tests that number in the thousands.

14          Further, quality control mechanisms are not related to the “drop-in replacement” ability.

15          No claim is made that ONgDB matches every feature of Neo4j Enterprise Edition. “Drop-

16          in replacement” as used by responding party means the ability for a user to copy their data

17          from a neo4j instance and place into an ONgDB instance of the same version and have it

18          function with ONgDB.

19

20    INTERROGATORY NO. 5:

21          IDENTIFY each PERSON that YOU have solicited or encouraged to use ONgDB, and all

22    DOCUMENTS and COMMUNICATIONS reflecting where YOU have recommended, solicited or

23    encouraged to use ONgDB software thereto.

24          Response:

25          Responding Party objects this request is harassing, oppressive and burdensome.

26          Responding Party objects to this request as it is compound. Responding Party objects to

27          this request as it is not relevant to Neo4J Sweden’s claims or defenses nor likely to lead to

28          discovery of admissible evidence. Responding Party objects to the request to the extent it
                                                    - 19 -
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1          seeks information protected by the attorney client privilege and work product doctrine.

 2          Responding Party objects to the request as the information sought is subject to privacy

 3          rights. Responding party objects to the instructions for this request as the instructions

 4          exceed what is required under the federal rules Responding party objects to the definition

 5          of “YOU,” or “YOUR” as vague and overbroad, and responds to this request as the

 6          Responding Party only.

 7          Subject to and without waiver of the foregoing objections, Responding Party responds as

 8          follows:

 9

10          Mr. Suhy and iGov Inc recommends that anyone using Neo4j should consider switching

11          to ONgDB because of the past history of deception and fraud perpetrated by Neo4j Inc.

12          Mr Suhy also believes that investing in Neo4j branded software at this time is inherently

13          risky as he believes the deception and fraud perpetrated by Neo4j Inc may directly affect

14          its long term viability and initial public offering, which has high standards to ensure the

15          investing public is protected. Mr. Suhy believes that Neo4j Inc has a high potential to fail

16          if funding dries up, and an IPO or future investment round does not come to fruition. This

17          directly effects the agencies and people who invested in adoption of Neo4j. Furthermore,

18          Mr. Suhy believes that there is a possibility that Neo4j Inc closes the source of Neo4j Core

19          the way they did with the enterprise code, and this would also negatively affect the

20          community who adopted the technology because it was open source.

21          Below is a list of companies and people that iGov Inc. has recommended use of ONgDB

22    to:

23          Northrop Grumman

24          Internal Revenue Service

25          US Postal Service

26          Department of Homeland Security

27          Sandia National Laboratories

28          Federal Bureau of Investigation
                                                    - 20 -
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1          National Security Agency

 2          eGovernment Solutions

 3          Anyone who talks to Mr. Suhy about Neo4j or asks for recommendations.

 4          Anyone reading iGov Inc’s twitter page

 5          Anyone reading iGov Inc’s website

 6          Anyone who emails iGov Inc asking about graph topics.

 7          Anyone who wants to verbally discuss graph topics with iGov Inc.

 8          Anyone who discussed any graph topics with iGov Inc. or Mr. Suhy.

 9          See email documents under IGOV-ROG1-AMMENDED/INTERROGATORY-5/emails

10          See twitter documents under IGOV-ROG1-Ammended/INTERROGATORY-5/tweets/

11

12    INTERROGATORY NO. 6:

13          IDENTIFY each PERSON that YOU have solicited or encouraged to use YOUR services

14    in relation to ONgDB, and all DOCUMENTS and COMMUNICATIONS reflecting where YOU

15    have recommended, solicited or encouraged to use ONgDB software thereto.

16          Response:

17          Responding Party objects this request is harassing, oppressive and burdensome.

18          Responding Party objects to this request as it is compound. Responding Party objects to

19          this request as it is not relevant to Neo4J Inc.’s claims or defenses nor likely to lead to

20          discovery of admissible evidence. Responding Party objects to the request to the extent it

21          seeks information protected by the attorney client privilege and work product doctrine.

22          Responding Party objects to the request as the information sought is subject to privacy

23          rights. Responding party objects to the instructions for this request as the instructions

24          exceed what is required under the federal rules. Responding party objects to the definition

25          of “YOU,” or “YOUR” as vague and overbroad, and responds to this request as the

26          Responding Party only. Responding Party objects that this interrogatory has been asked

27          and answered.

28          Subject to and without waiver of the foregoing objections, Responding Party responds as
                                                     - 21 -
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1           follows:

 2           Interrogatory No. 5 and Interrogatory No 7 together identify each PERSON that

 3           Responding Party has solicited or encouraged to use its services in relation to ONgDB,

 4           and all DOCUMENTS and COMMUNICATIONS reflecting where it has recommended,

 5           solicited or encouraged to use ONgDB software thereto.

 6

 7    INTERROGATORY NO. 7:

 8           IDENTIFY each instance where YOU have proposed, offered, solicited or encouraged the

 9    use of ONgDB software or YOUR services in relation to ONgDB software, including all bids and

10    responses to requests for quotes (RFQs), requests for proposals (RFPs), invitations for bids

11    (IFBs) and all other procurement opportunities, and all DOCUMENTS and

12    COMMUNICATIONS evidencing or relating thereto.

13           Response:

14           Responding Party objects this request is harassing, oppressive and burdensome.

15           Responding Party objects to this request as it is compound. Responding Party objects to

16           this request as it is not relevant to Neo4J Sweden’s claims or defenses nor likely to lead to

17           discovery of admissible evidence. Responding Party objects to the request to the extent it

18           seeks information protected by the attorney client privilege and work product doctrine.

19           Responding Party objects to the request as the information sought is subject to privacy

20           rights. Responding party objects to the instructions for this request as the instructions

21           exceed what is required under the federal rules. Responding party objects to the definition

22           of “YOU,” or “YOUR” as vague and overbroad, and responds to this request as the

23           Responding Party only. Responding Party objects that this interrogatory has been asked

24           and answered.

25           Subject to and without waiver of the foregoing objections, Responding Party responds as

26           follows:

27

28
                                                     - 22 -
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1           National Geospatial-Intelligence Agency: (NGA) – iGov Inc. was an interested vendor in
             providing a support subscription for an NGA Neo4j procurement that was advertised and
 2           which did not have proper brand name justification.
 3
             US Airforce: (Airforce) – iGov Inc. was an interested vendor in providing a support
 4           subscription for an Airforce Neo4j procurement that was advertised and which did not
             have proper brand name justification.
 5
             Northrup Grumman – iGov Inc. was asked to quote a graph solution for Northrup
 6
             Grumman which leveraged Neo4j Enterprise under the free open source AGPL license.
 7
             Accenture - iGov Inc. was working with DHS USCIS and their Accenture backed team on
 8           a potential opportunity that was different than the DHS deal which PureThink is owed the
             commission on.
 9
             eGovernment Solutions for one IRS project.
10
             Internal Revenue Service
11           iGov Inc Protested awards involving GAO and IRS.

12
             See documents under IGOV-ROG1-Ammended/INTERROGATORY-7
13

14    INTERROGATORY NO. 8:
15           IDENTIFY each PERSON that is using ONgDB software to whom YOU previously
16    provided or currently provide services or support in relation to ONgDB software.
17           Response:
18           Responding Party objects this request is harassing, oppressive and burdensome.
19           Responding Party objects to this request as it is compound. Responding Party objects to
20           this request as it is not relevant to Neo4J Sweden’s claims or defenses nor likely to lead to
21           discovery of admissible evidence. Responding Party objects to the request to the extent it
22           seeks information protected by the attorney client privilege and work product doctrine.
23           Responding Party objects to the request as the information sought is subject to privacy
24           rights. Responding party objects to the instructions for this request as the instructions
25           exceed what is required under the federal rules. Responding Party objects to the definition
26           of “YOU,” or “YOUR” as vague and overbroad, and responds to this request as the
27           Responding Party only.
28
                                                     - 23 -
      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1          Without waiver of objections, Responding Party responds as follows:

 2              •   US Treasury Internal Revenue Service (IRS) : 2018-current

 3              •   eGovernment Solutions: May 24, 2018 - current

 4

 5

 6    Dated: October 26, 2020                       __/s/ Adron G. Beene________________
                                                    Adron W. Beene Sb# 129040
 7                                                  Adron G. Beene Sb# 298088
                                                    Attorney At Law
 8                                                  1754 Technology Drive, Suite 228
                                                    San Jose, CA 95110
 9                                                  Tel: (408) 392-9233
                                                    Fax: (866) 329-0453
10                                                  adron@adronlaw.com
11                                                  Attorney For Defendants and Counter
                                                    Claimant PURETHINK LLC, a Delaware
12                                                  Limited Liability Company, IGOV INC., a
                                                    Virginia Corporation, and JOHN MARK
13                                                  SUHY
14

15

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      IGOV INC.‘S AMENDED RESPONSE TO NEO4J SWEDEN AB’S FIRST SET OF INTERROGATORIES
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 1                                               Verification
 2
         I, John Mark Suhy, am a defendant, and an officer for defendants Purethink LLC and IGOV
 3       Inc. in the above cause of action. I have read the following:

 4        DEFENDANT PURETHINK LLC’S SECOND $0(1'('RESPONSE TO
         PLAINTIFF NEO4J SWEDEN AB'S REQUEST FOR ADMISSION, SET ONE TO
 5       DEFENDANT PURETHINK LLC
 6        DEFENDANT IGOV INC.’S $0(1'('RESPONSE TO PLAINTIFF NEO4J
         SWEDEN AB’S REQUEST FOR ADMISSION, SET ONE TO DEFENDANT
 7
         IGOV INC.
 8

 9    I am familiar with the contents of the above.
10

11           I declare under penalty of perjury under the laws of the United Stated of America that the

12    foregoing responses are true and correct, except as to those matters which are therein stated to be
13    on information or belief, and as to those matters, I believe them to be true.
14

15           Signed in Reston 9LUJLQLD, on 2FWREHU 26, 2020.

16
         Signed in Alexandria, Virginia, on October 26, 2020        _____________________
17                                                                     John Mark Suhy
18

19
20

21

22

23

24

25

26

27

28

      VERIFICATION
Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 314 of 1198




                                                 EXHIBIT 39
10/2/2019                       Updated the LICENSE.txt file toDocument
                          Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
                                                                             98-1      Filedthe12/11/20
                                                                                                fs… · graphfoundation/ongdb@c0b23b2
                                                                                                             Page 315 of 1198 · GitHub

     graphfoundation / ongdb




    Updated the LICENSE.txt file to be pure AGPL as to not violate the fs…                                                                    Browse files
    …f copyright and to be in line with the AGPL license.


      3.5         3.5.9 … 3.5.3


          John Mark Suhy committed on Mar 1                                               1 parent c90a39d   commit c0b23b21e051fe12bd01a50d46ca3a7ad9e88374



     Showing 29 changed files with 6,790 additions and 6,962 deletions.                                                                       Unified   Split



            661            LICENSE.txt


    ...      ...      @@ -0,0 +1,661 @@

                  1   + GNU AFFERO GENERAL PUBLIC LICENSE
                  2   +     Version 3, 19 November 2007
                  3   +
                  4   + Copyright (C) 2007 Free Software Foundation, Inc. <https://fsf.org/>
                  5   + Everyone is permitted to copy and distribute verbatim copies
                  6   + of this license document, but changing it is not allowed.
                  7   +
                  8   + Preamble
                  9   +
              10      + The GNU Affero General Public License is a free, copyleft license for
              11      + software and other kinds of works, specifically designed to ensure
              12      + cooperation with the community in the case of network server software.
              13      +
              14      + The licenses for most software and other practical works are designed
              15      + to take away your freedom to share and change the works.     By contrast,
              16      + our General Public Licenses are intended to guarantee your freedom to
              17      + share and change all versions of a program--to make sure it remains free
              18      + software for all its users.
              19      +
              20      + When we speak of free software, we are referring to freedom, not
              21      + price.    Our General Public Licenses are designed to make sure that you
              22      + have the freedom to distribute copies of free software (and charge for
              23      + them if you wish), that you receive source code or can get it if you
              24      + want it, that you can change the software or use pieces of it in new
              25      + free programs, and that you know you can do these things.
              26      +
              27      + Developers that use our General Public Licenses protect your rights
              28      + with two steps: (1) assert copyright on the software, and (2) offer
              29      + you this License which gives you legal permission to copy, distribute
              30      + and/or modify the software.
              31      +
              32      + A secondary benefit of defending all users' freedom is that
              33      + improvements made in alternate versions of the program, if they
              34      + receive widespread use, become available for other developers to
              35      + incorporate.     Many developers of free software are heartened and
              36      + encouraged by the resulting cooperation.     However, in the case of
              37      + software used on network servers, this result may fail to come about.
              38      + The GNU General Public License permits making a modified version and
              39      + letting the public access it on a server without ever releasing its
              40      + source code to the public.
              41      +
              42      + The GNU Affero General Public License is designed specifically to
              43      + ensure that, in such cases, the modified source code becomes available
              44      + to the community.    It requires the operator of a network server to
              45      + provide the source code of the modified version running there to the


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                                                     1/377
                                                                                                                                               N4J_019041
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                                                                                                         Page 316 of 1198 · GitHub
            46    + users of that server.   Therefore, public use of a modified version, on
            47    + a publicly accessible server, gives the public access to the source
            48    + code of the modified version.
            49    +
            50    + An older license, called the Affero General Public License and
            51    + published by Affero, was designed to accomplish similar goals.      This is
            52    + a different license, not a version of the Affero GPL, but Affero has
            53    + released a new version of the Affero GPL which permits relicensing under
            54    + this license.
            55    +
            56    + The precise terms and conditions for copying, distribution and
            57    + modification follow.
            58    +
            59    + TERMS AND CONDITIONS
            60    +
            61    + 0. Definitions.
            62    +
            63    + "This License" refers to version 3 of the GNU Affero General Public License.
            64    +
            65    + "Copyright" also means copyright-like laws that apply to other kinds of
            66    + works, such as semiconductor masks.
            67    +
            68    + "The Program" refers to any copyrightable work licensed under this
            69    + License.   Each licensee is addressed as "you".   "Licensees" and
            70    + "recipients" may be individuals or organizations.
            71    +
            72    + To "modify" a work means to copy from or adapt all or part of the work
            73    + in a fashion requiring copyright permission, other than the making of an
            74    + exact copy.   The resulting work is called a "modified version" of the
            75    + earlier work or a work "based on" the earlier work.
            76    +
            77    + A "covered work" means either the unmodified Program or a work based
            78    + on the Program.
            79    +
            80    + To "propagate" a work means to do anything with it that, without
            81    + permission, would make you directly or secondarily liable for
            82    + infringement under applicable copyright law, except executing it on a
            83    + computer or modifying a private copy.   Propagation includes copying,
            84    + distribution (with or without modification), making available to the
            85    + public, and in some countries other activities as well.
            86    +
            87    + To "convey" a work means any kind of propagation that enables other
            88    + parties to make or receive copies.    Mere interaction with a user through
            89    + a computer network, with no transfer of a copy, is not conveying.
            90    +
            91    + An interactive user interface displays "Appropriate Legal Notices"
            92    + to the extent that it includes a convenient and prominently visible
            93    + feature that (1) displays an appropriate copyright notice, and (2)
            94    + tells the user that there is no warranty for the work (except to the
            95    + extent that warranties are provided), that licensees may convey the
            96    + work under this License, and how to view a copy of this License.     If
            97    + the interface presents a list of user commands or options, such as a
            98    + menu, a prominent item in the list meets this criterion.
            99    +
            100   + 1. Source Code.
            101   +
            102   + The "source code" for a work means the preferred form of the work
            103   + for making modifications to it.   "Object code" means any non-source
            104   + form of a work.
            105   +
            106   + A "Standard Interface" means an interface that either is an official
            107   + standard defined by a recognized standards body, or, in the case of
            108   + interfaces specified for a particular programming language, one that


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             2/377
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                                                                                                         Page 317 of 1198 · GitHub
            109   + is widely used among developers working in that language.
            110   +
            111   + The "System Libraries" of an executable work include anything, other
            112   + than the work as a whole, that (a) is included in the normal form of
            113   + packaging a Major Component, but which is not part of that Major
            114   + Component, and (b) serves only to enable use of the work with that
            115   + Major Component, or to implement a Standard Interface for which an
            116   + implementation is available to the public in source code form.     A
            117   + "Major Component", in this context, means a major essential component
            118   + (kernel, window system, and so on) of the specific operating system
            119   + (if any) on which the executable work runs, or a compiler used to
            120   + produce the work, or an object code interpreter used to run it.
            121   +
            122   + The "Corresponding Source" for a work in object code form means all
            123   + the source code needed to generate, install, and (for an executable
            124   + work) run the object code and to modify the work, including scripts to
            125   + control those activities.     However, it does not include the work's
            126   + System Libraries, or general-purpose tools or generally available free
            127   + programs which are used unmodified in performing those activities but
            128   + which are not part of the work.     For example, Corresponding Source
            129   + includes interface definition files associated with source files for
            130   + the work, and the source code for shared libraries and dynamically
            131   + linked subprograms that the work is specifically designed to require,
            132   + such as by intimate data communication or control flow between those
            133   + subprograms and other parts of the work.
            134   +
            135   + The Corresponding Source need not include anything that users
            136   + can regenerate automatically from other parts of the Corresponding
            137   + Source.
            138   +
            139   + The Corresponding Source for a work in source code form is that
            140   + same work.
            141   +
            142   + 2. Basic Permissions.
            143   +
            144   + All rights granted under this License are granted for the term of
            145   + copyright on the Program, and are irrevocable provided the stated
            146   + conditions are met.     This License explicitly affirms your unlimited
            147   + permission to run the unmodified Program.     The output from running a
            148   + covered work is covered by this License only if the output, given its
            149   + content, constitutes a covered work.     This License acknowledges your
            150   + rights of fair use or other equivalent, as provided by copyright law.
            151   +
            152   + You may make, run and propagate covered works that you do not
            153   + convey, without conditions so long as your license otherwise remains
            154   + in force.    You may convey covered works to others for the sole purpose
            155   + of having them make modifications exclusively for you, or provide you
            156   + with facilities for running those works, provided that you comply with
            157   + the terms of this License in conveying all material for which you do
            158   + not control copyright.     Those thus making or running the covered works
            159   + for you must do so exclusively on your behalf, under your direction
            160   + and control, on terms that prohibit them from making any copies of
            161   + your copyrighted material outside their relationship with you.
            162   +
            163   + Conveying under any other circumstances is permitted solely under
            164   + the conditions stated below.     Sublicensing is not allowed; section 10
            165   + makes it unnecessary.
            166   +
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            168   +
            169   + No covered work shall be deemed part of an effective technological
            170   + measure under any applicable law fulfilling obligations under article
            171   + 11 of the WIPO copyright treaty adopted on 20 December 1996, or


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             3/377
                                                                                                                             N4J_019043
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 318 of 1198 · GitHub
            172   + similar laws prohibiting or restricting circumvention of such
            173   + measures.
            174   +
            175   + When you convey a covered work, you waive any legal power to forbid
            176   + circumvention of technological measures to the extent such circumvention
            177   + is effected by exercising rights under this License with respect to
            178   + the covered work, and you disclaim any intention to limit operation or
            179   + modification of the work as a means of enforcing, against the work's
            180   + users, your or third parties' legal rights to forbid circumvention of
            181   + technological measures.
            182   +
            183   + 4. Conveying Verbatim Copies.
            184   +
            185   + You may convey verbatim copies of the Program's source code as you
            186   + receive it, in any medium, provided that you conspicuously and
            187   + appropriately publish on each copy an appropriate copyright notice;
            188   + keep intact all notices stating that this License and any
            189   + non-permissive terms added in accord with section 7 apply to the code;
            190   + keep intact all notices of the absence of any warranty; and give all
            191   + recipients a copy of this License along with the Program.
            192   +
            193   + You may charge any price or no price for each copy that you convey,
            194   + and you may offer support or warranty protection for a fee.
            195   +
            196   + 5. Conveying Modified Source Versions.
            197   +
            198   + You may convey a work based on the Program, or the modifications to
            199   + produce it from the Program, in the form of source code under the
            200   + terms of section 4, provided that you also meet all of these conditions:
            201   +
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
            204   +
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
            209   +
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.    This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.    This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
            217   +
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
            222   +
            223   + A compilation of a covered work with other separate and independent
            224   + works, which are not by their nature extensions of the covered work,
            225   + and which are not combined with it such as to form a larger program,
            226   + in or on a volume of a storage or distribution medium, is called an
            227   + "aggregate" if the compilation and its resulting copyright are not
            228   + used to limit the access or legal rights of the compilation's users
            229   + beyond what the individual works permit.    Inclusion of a covered work
            230   + in an aggregate does not cause this License to apply to the other
            231   + parts of the aggregate.
            232   +
            233   + 6. Conveying Non-Source Forms.
            234   +


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             4/377
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            235   + You may convey a covered work in object code form under the terms
            236   + of sections 4 and 5, provided that you also convey the
            237   + machine-readable Corresponding Source under the terms of this License,
            238   + in one of these ways:
            239   +
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.    This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.    You need not require recipients to copy the
            267   + Corresponding Source along with the object code.    If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.    Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
            282   + from the Corresponding Source as a System Library, need not be
            283   + included in conveying the object code work.
            284   +
            285   + A "User Product" is either (1) a "consumer product", which means any
            286   + tangible personal property which is normally used for personal, family,
            287   + or household purposes, or (2) anything designed or sold for incorporation
            288   + into a dwelling.   In determining whether a product is a consumer product,
            289   + doubtful cases shall be resolved in favor of coverage.    For a particular
            290   + product received by a particular user, "normally used" refers to a
            291   + typical or common use of that class of product, regardless of the status
            292   + of the particular user or of the way in which the particular user
            293   + actually uses, or expects or is expected to use, the product.    A product
            294   + is a consumer product regardless of whether the product has substantial
            295   + commercial, industrial or non-consumer uses, unless such uses represent
            296   + the only significant mode of use of the product.
            297   +


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            298   + "Installation Information" for a User Product means any methods,
            299   + procedures, authorization keys, or other information required to install
            300   + and execute modified versions of a covered work in that User Product from
            301   + a modified version of its Corresponding Source.    The information must
            302   + suffice to ensure that the continued functioning of the modified object
            303   + code is in no case prevented or interfered with solely because
            304   + modification has been made.
            305   +
            306   + If you convey an object code work under this section in, or with, or
            307   + specifically for use in, a User Product, and the conveying occurs as
            308   + part of a transaction in which the right of possession and use of the
            309   + User Product is transferred to the recipient in perpetuity or for a
            310   + fixed term (regardless of how the transaction is characterized), the
            311   + Corresponding Source conveyed under this section must be accompanied
            312   + by the Installation Information.    But this requirement does not apply
            313   + if neither you nor any third party retains the ability to install
            314   + modified object code on the User Product (for example, the work has
            315   + been installed in ROM).
            316   +
            317   + The requirement to provide Installation Information does not include a
            318   + requirement to continue to provide support service, warranty, or updates
            319   + for a work that has been modified or installed by the recipient, or for
            320   + the User Product in which it has been modified or installed.    Access to a
            321   + network may be denied when the modification itself materially and
            322   + adversely affects the operation of the network or violates the rules and
            323   + protocols for communication across the network.
            324   +
            325   + Corresponding Source conveyed, and Installation Information provided,
            326   + in accord with this section must be in a format that is publicly
            327   + documented (and with an implementation available to the public in
            328   + source code form), and must require no special password or key for
            329   + unpacking, reading or copying.
            330   +
            331   + 7. Additional Terms.
            332   +
            333   + "Additional permissions" are terms that supplement the terms of this
            334   + License by making exceptions from one or more of its conditions.
            335   + Additional permissions that are applicable to the entire Program shall
            336   + be treated as though they were included in this License, to the extent
            337   + that they are valid under applicable law.    If additional permissions
            338   + apply only to part of the Program, that part may be used separately
            339   + under those permissions, but the entire Program remains governed by
            340   + this License without regard to the additional permissions.
            341   +
            342   + When you convey a copy of a covered work, you may at your option
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            345   + removal in certain cases when you modify the work.)    You may place
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            353   + a) Disclaiming warranty or limiting liability differently from the
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            355   +
            356   + b) Requiring preservation of specified reasonable legal notices or
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            358   + Notices displayed by works containing it; or
            359   +
            360   + c) Prohibiting misrepresentation of the origin of that material, or


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            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
            387   + must place, in the relevant source files, a statement of the
            388   + additional terms that apply to those files, or a notice indicating
            389   + where to find the applicable terms.
            390   +
            391   + Additional terms, permissive or non-permissive, may be stated in the
            392   + form of a separately written license, or stated as exceptions;
            393   + the above requirements apply either way.
            394   +
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            397   + You may not propagate or modify a covered work except as expressly
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            399   + modify it is void, and will automatically terminate your rights under
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            401   + paragraph of section 11).
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            403   + However, if you cease all violation of this License, then your
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            408   + prior to 60 days after the cessation.
            409   +
            410   + Moreover, your license from a particular copyright holder is
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            413   + received notice of violation of this License (for any work) from that
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            417   + Termination of your rights under this section does not terminate the
            418   + licenses of parties who have received copies or rights from you under
            419   + this License.   If your rights have been terminated and not permanently
            420   + reinstated, you do not qualify to receive new licenses for the same
            421   + material under section 10.
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            423   + 9. Acceptance Not Required for Having Copies.


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            426   + run a copy of the Program.    Ancillary propagation of a covered work
            427   + occurring solely as a consequence of using peer-to-peer transmission
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            453   + not impose a license fee, royalty, or other charge for exercise of
            454   + rights granted under this License, and you may not initiate litigation
            455   + (including a cross-claim or counterclaim in a lawsuit) alleging that
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            480   + In the following three paragraphs, a "patent license" is any express
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            484   + party means to make such an agreement or commitment not to enforce a
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            488   + and the Corresponding Source of the work is not available for anyone
            489   + to copy, free of charge and under the terms of this License, through a
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            607   + EVEN IF SUCH HOLDER OR OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF
            608   + SUCH DAMAGES.
            609   +
            610   + 17. Interpretation of Sections 15 and 16.
            611   +
            612   + If the disclaimer of warranty and limitation of liability provided


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             613      + above cannot be given local legal effect according to their terms,
             614      + reviewing courts shall apply local law that most closely approximates
             615      + an absolute waiver of all civil liability in connection with the
             616      + Program, unless a warranty or assumption of liability accompanies a
             617      + copy of the Program in return for a fee.
             618      +
             619      + END OF TERMS AND CONDITIONS
             620      +
             621      + How to Apply These Terms to Your New Programs
             622      +
             623      + If you develop a new program, and you want it to be of the greatest
             624      + possible use to the public, the best way to achieve this is to make it
             625      + free software which everyone can redistribute and change under these terms.
             626      +
             627      + To do so, attach the following notices to the program.    It is safest
             628      + to attach them to the start of each source file to most effectively
             629      + state the exclusion of warranty; and each file should have at least
             630      + the "copyright" line and a pointer to where the full notice is found.
             631      +
             632      + <one line to give the program's name and a brief idea of what it does.>
             633      + Copyright (C) <year>    <name of author>
             634      +
             635      + This program is free software: you can redistribute it and/or modify
             636      + it under the terms of the GNU Affero General Public License as published by
             637      + the Free Software Foundation, either version 3 of the License, or
             638      + (at your option) any later version.
             639      +
             640      + This program is distributed in the hope that it will be useful,
             641      + but WITHOUT ANY WARRANTY; without even the implied warranty of
             642      + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.   See the
             643      + GNU Affero General Public License for more details.
             644      +
             645      + You should have received a copy of the GNU Affero General Public License
             646      + along with this program.    If not, see <https://www.gnu.org/licenses/>.
             647      +
             648      + Also add information on how to contact you by electronic and paper mail.
             649      +
             650      + If your software can interact with users remotely through a computer
             651      + network, you should also make sure that it provides a way for users to
             652      + get its source.   For example, if your program is a web application, its
             653      + interface could display a "Source" link that leads users to an archive
             654      + of the code.    There are many ways you could offer source, and different
             655      + solutions will be better for different programs; see section 13 for the
             656      + specific requirements.
             657      +
             658      + You should also get your employer (if you work as a programmer) or school,
             659      + if any, to sign a "copyright disclaimer" for the program, if necessary.
             660      + For more information on this, and how to apply and follow the GNU AGPL, see
             661      + <https://www.gnu.org/licenses/>.



            486            enterprise/auth-plugin-api/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

      1               - NOTICE
      2               - This package contains software licensed under different
      3               - licenses, please refer to the NOTICE.txt file for further
      4               - information and LICENSES.txt for full license texts.
                  1   + GNU AFFERO GENERAL PUBLIC LICENSE
                  2   +     Version 3, 19 November 2007
      5           3
      6               - Neo4j Enterprise object code can be licensed independently from
      7               - the source under separate commercial terms. Email inquiries can be
      8               - directed to: licensing@neo4j.com. More information is also


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                                 11/377
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      9          - available at:https://neo4j.com/licensing/
            4    + Copyright (C) 2007 Free Software Foundation, Inc. <https://fsf.org/>
            5    + Everyone is permitted to copy and distribute verbatim copies
            6    + of this license document, but changing it is not allowed.
     10     7
     11          - The software ("Software") is developed and owned by Neo4j Sweden AB
     12          - (referred to in this notice as “Neo4j”) and is subject to the terms
     13          - of the GNU AFFERO GENERAL PUBLIC LICENSE Version 3, with the Commons Clause as follows:
            8    + Preamble
     14     9
     15          -
     16          -
     17          -                       GNU AFFERO GENERAL PUBLIC LICENSE
     18          -                           Version 3, 19 November 2007
     19          -
     20          -    Copyright (C) 2007 Free Software Foundation, Inc. <http://fsf.org/>
     21          -    Everyone is permitted to copy and distribute verbatim copies
     22          -    of this license document, but changing it is not allowed.
     23          -
     24          -                                 Preamble
     25          -
     26          -     The GNU Affero General Public License is a free, copyleft license
     27          - for software and other kinds of works, specifically designed to ensure
            10   + The GNU Affero General Public License is a free, copyleft license for
            11   + software and other kinds of works, specifically designed to ensure
     28     12       cooperation with the community in the case of network server software.
     29     13
     30          -     The licenses for most software and other practical works are
     31          - designed to take away your freedom to share and change the works.      By
     32          - contrast, our General Public Licenses are intended to guarantee your
     33          - freedom to share and change all versions of a program--to make sure it
     34          - remains free software for all its users.
            14   + The licenses for most software and other practical works are designed
            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.   Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available


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     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.   Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.      This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                           TERMS AND CONDITIONS
            59   + TERMS AND CONDITIONS
            60   +
            61   + 0. Definitions.
     76     62
     77          -     0. Definitions.
            63   + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79          -     "This License" refers to version 3 of the GNU Affero General Public
     80          - License.
            65   + "Copyright" also means copyright-like laws that apply to other kinds of
            66   + works, such as semiconductor masks.
     81     67
     82          -     "Copyright" also means copyright-like laws that apply to other kinds
     83          - of works, such as semiconductor masks.
     84          -
     85          -     "The Program" refers to any copyrightable work licensed under this
            68   + "The Program" refers to any copyrightable work licensed under this
     86     69       License.   Each licensee is addressed as "you".   "Licensees" and
     87     70       "recipients" may be individuals or organizations.
     88     71
     89          -     To "modify" a work means to copy from or adapt all or part of the work
            72   + To "modify" a work means to copy from or adapt all or part of the work
     90     73       in a fashion requiring copyright permission, other than the making of an
     91     74       exact copy.   The resulting work is called a "modified version" of the
     92     75       earlier work or a work "based on" the earlier work.
     93     76
     94          -     A "covered work" means either the unmodified Program or a work based
            77   + A "covered work" means either the unmodified Program or a work based
     95     78       on the Program.
     96     79
     97          -     To "propagate" a work means to do anything with it that, without
            80   + To "propagate" a work means to do anything with it that, without
     98     81       permission, would make you directly or secondarily liable for
     99     82       infringement under applicable copyright law, except executing it on a
    100     83       computer or modifying a private copy.   Propagation includes copying,
    101     84       distribution (with or without modification), making available to the
    102     85       public, and in some countries other activities as well.
    103     86
    104          -     To "convey" a work means any kind of propagation that enables other
            87   + To "convey" a work means any kind of propagation that enables other
    105     88       parties to make or receive copies.   Mere interaction with a user through
    106     89       a computer network, with no transfer of a copy, is not conveying.
    107     90
    108          -     An interactive user interface displays "Appropriate Legal Notices"
            91   + An interactive user interface displays "Appropriate Legal Notices"


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                            13/377
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    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.    "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.    However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.    This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.    The output from running a
    165     148       covered work is covered by this License only if the output, given its
    166     149       content, constitutes a covered work.    This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.    You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of


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    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".


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    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.    This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.    This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord


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    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.    Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.    You need not require recipients to copy the
            267   + Corresponding Source along with the object code.       If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.       Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             17/377
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
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            333   + "Additional permissions" are terms that supplement the terms of this
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            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
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    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
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    403           -     If you add terms to a covered work in accord with this section, you
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            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
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    408           -     Additional terms, permissive or non-permissive, may be stated in the
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    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
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            436   + Each time you convey a covered work, the recipient automatically
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    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
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            480   + In the following three paragraphs, a "patent license" is any express
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            501   + If, pursuant to or in connection with a single transaction or
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    524     507       work and works based on it.
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    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
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            568   + Each version is given a distinguishing version number.      If the
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    617           -     IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
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    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
    628     611


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    629           -     If the disclaimer of warranty and limitation of liability provided
            612   + If the disclaimer of warranty and limitation of liability provided
    630     613       above cannot be given local legal effect according to their terms,
    631     614       reviewing courts shall apply local law that most closely approximates
    632     615       an absolute waiver of all civil liability in connection with the
    633     616       Program, unless a warranty or assumption of liability accompanies a
    634     617       copy of the Program in return for a fee.
    635     618
    636           -                            END OF TERMS AND CONDITIONS
            619   + END OF TERMS AND CONDITIONS
    637     620
    638           -                  How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
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    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
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    648     631
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    653           -       it under the terms of the GNU Affero General Public License as
    654           -       published by the Free Software Foundation, either version 3 of the
    655           -       License, or (at your option) any later version.
            635   + This program is free software: you can redistribute it and/or modify
            636   + it under the terms of the GNU Affero General Public License as published by
            637   + the Free Software Foundation, either version 3 of the License, or
            638   + (at your option) any later version.
    656     639
    657           -       This program is distributed in the hope that it will be useful,
    658           -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659           -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.    See the
    660           -       GNU Affero General Public License for more details.
            640   + This program is distributed in the hope that it will be useful,
            641   + but WITHOUT ANY WARRANTY; without even the implied warranty of
            642   + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.      See the
            643   + GNU Affero General Public License for more details.
    661     644
    662           -       You should have received a copy of the GNU Affero General Public License
    663           -       along with this program.    If not, see <http://www.gnu.org/licenses/>.
            645   + You should have received a copy of the GNU Affero General Public License
            646   + along with this program.      If not, see <https://www.gnu.org/licenses/>.
    664     647
    665     648       Also add information on how to contact you by electronic and paper mail.
    666     649
    667           -     If your software can interact with users remotely through a computer
            650   + If your software can interact with users remotely through a computer
    668     651       network, you should also make sure that it provides a way for users to
    669     652       get its source.   For example, if your program is a web application, its
    670     653       interface could display a "Source" link that leads users to an archive
    671     654       of the code.   There are many ways you could offer source, and different
    672     655       solutions will be better for different programs; see section 13 for the
    673     656       specific requirements.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             24/377
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    674      657
    675               -     You should also get your employer (if you work as a programmer) or school,
             658      + You should also get your employer (if you work as a programmer) or school,
    676      659          if any, to sign a "copyright disclaimer" for the program, if necessary.
    677      660          For more information on this, and how to apply and follow the GNU AGPL, see
    678               - <http://www.gnu.org/licenses/>.
    679               -
    680               -
    681               - "Commons Clause" License Condition
    682               -
    683               - The Software is provided to you by the Licensor under the License, as
    684               - defined below, subject to the following condition. Without limiting
    685               - other conditions in the License, the grant of rights under the License
    686               - will not include, and the License does not grant to you, the right to
    687               - Sell the Software.    For purposes of the foregoing, "Sell" means
    688               - practicing any or all of the rights granted to you under the License
    689               - to provide to third parties, for a fee or other consideration,
    690               - a product or service that consists, entirely or substantially,
    691               - of the Software or the functionality of the Software. Any license
    692               - notice or attribution required by the License must also include
    693               - this Commons Cause License Condition notice.
             661      + <https://www.gnu.org/licenses/>.



            486            enterprise/backup/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

      1               - NOTICE
      2               - This package contains software licensed under different
      3               - licenses, please refer to the NOTICE.txt file for further
      4               - information and LICENSES.txt for full license texts.
                  1   + GNU AFFERO GENERAL PUBLIC LICENSE
                  2   +     Version 3, 19 November 2007
      5           3
      6               - Neo4j Enterprise object code can be licensed independently from
      7               - the source under separate commercial terms. Email inquiries can be
      8               - directed to: licensing@neo4j.com. More information is also
      9               - available at:https://neo4j.com/licensing/
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                  5   + Everyone is permitted to copy and distribute verbatim copies
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     19               -
     20               -    Copyright (C) 2007 Free Software Foundation, Inc. <http://fsf.org/>
     21               -    Everyone is permitted to copy and distribute verbatim copies
     22               -    of this license document, but changing it is not allowed.
     23               -
     24               -                               Preamble
     25               -
     26               -     The GNU Affero General Public License is a free, copyleft license
     27               - for software and other kinds of works, specifically designed to ensure
              10      + The GNU Affero General Public License is a free, copyleft license for
              11      + software and other kinds of works, specifically designed to ensure
     28       12          cooperation with the community in the case of network server software.
     29       13


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                                 25/377
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                     Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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     30          -     The licenses for most software and other practical works are
     31          - designed to take away your freedom to share and change the works.       By
     32          - contrast, our General Public Licenses are intended to guarantee your
     33          - freedom to share and change all versions of a program--to make sure it
     34          - remains free software for all its users.
            14   + The licenses for most software and other practical works are designed
            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.    Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.    Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.     This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                            TERMS AND CONDITIONS
            59   + TERMS AND CONDITIONS
            60   +
            61   + 0. Definitions.
     76     62
     77          -     0. Definitions.
            63   + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79          -     "This License" refers to version 3 of the GNU Affero General Public
     80          - License.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                            26/377
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 341 of 1198 · GitHub
            65    + "Copyright" also means copyright-like laws that apply to other kinds of
            66    + works, such as semiconductor masks.
     81     67
     82           -     "Copyright" also means copyright-like laws that apply to other kinds
     83           - of works, such as semiconductor masks.
     84           -
     85           -     "The Program" refers to any copyrightable work licensed under this
            68    + "The Program" refers to any copyrightable work licensed under this
     86     69        License.   Each licensee is addressed as "you".   "Licensees" and
     87     70        "recipients" may be individuals or organizations.
     88     71
     89           -     To "modify" a work means to copy from or adapt all or part of the work
            72    + To "modify" a work means to copy from or adapt all or part of the work
     90     73        in a fashion requiring copyright permission, other than the making of an
     91     74        exact copy.   The resulting work is called a "modified version" of the
     92     75        earlier work or a work "based on" the earlier work.
     93     76
     94           -     A "covered work" means either the unmodified Program or a work based
            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
     96     79
     97           -     To "propagate" a work means to do anything with it that, without
            80    + To "propagate" a work means to do anything with it that, without
     98     81        permission, would make you directly or secondarily liable for
     99     82        infringement under applicable copyright law, except executing it on a
    100     83        computer or modifying a private copy.   Propagation includes copying,
    101     84        distribution (with or without modification), making available to the
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.   Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.   "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             27/377
                                                                                                                             N4J_019067
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 342 of 1198 · GitHub
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.     However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.     This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.     The output from running a
    165     148       covered work is covered by this License only if the output, given its
    166     149       content, constitutes a covered work.     This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.    You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.


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                                                                                                                             N4J_019068
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                                                                                                         Page 343 of 1198 · GitHub
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent


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                                                                                                         Page 344 of 1198 · GitHub
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product


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            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).


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    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.       Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
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    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
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    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
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            373   + any liability that these contractual assumptions directly impose on
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            376   + All other non-permissive additional terms are considered "further
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            380   + restriction, you may remove that term.     If a license document contains
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    404     387       must place, in the relevant source files, a statement of the
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    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
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            417   + Termination of your rights under this section does not terminate the
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            436   + Each time you convey a covered work, the recipient automatically
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            459   + 11. Patents.
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            480   + In the following three paragraphs, a "patent license" is any express
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    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
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    544     527
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    547           -     If conditions are imposed on you (whether by court order, agreement or
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    548     531       otherwise) that contradict the conditions of this License, they do not
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            540   + 13. Remote Network Interaction; Use with the GNU General Public License.
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            577   + If the Program specifies that a proxy can decide which future
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            600   + IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
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    626     609
    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
    628     611
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            612   + If the disclaimer of warranty and limitation of liability provided
    630     613       above cannot be given local legal effect according to their terms,
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    636           -                           END OF TERMS AND CONDITIONS
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    638           -                   How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
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    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
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    643     626
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            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
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    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>    <name of author>


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                                                                                                                             N4J_019077
10/2/2019                    Updated the LICENSE.txt file toDocument
                       Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                          Page 352 of 1198 · GitHub
             632   + <one line to give the program's name and a brief idea of what it does.>
             633   + Copyright (C) <year>     <name of author>
    651      634
    652            -       This program is free software: you can redistribute it and/or modify
    653            -       it under the terms of the GNU Affero General Public License as
    654            -       published by the Free Software Foundation, either version 3 of the
    655            -       License, or (at your option) any later version.
             635   + This program is free software: you can redistribute it and/or modify
             636   + it under the terms of the GNU Affero General Public License as published by
             637   + the Free Software Foundation, either version 3 of the License, or
             638   + (at your option) any later version.
    656      639
    657            -       This program is distributed in the hope that it will be useful,
    658            -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659            -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.   See the
    660            -       GNU Affero General Public License for more details.
             640   + This program is distributed in the hope that it will be useful,
             641   + but WITHOUT ANY WARRANTY; without even the implied warranty of
             642   + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.     See the
             643   + GNU Affero General Public License for more details.
    661      644
    662            -       You should have received a copy of the GNU Affero General Public License
    663            -       along with this program.   If not, see <http://www.gnu.org/licenses/>.
             645   + You should have received a copy of the GNU Affero General Public License
             646   + along with this program.     If not, see <https://www.gnu.org/licenses/>.
    664      647
    665      648       Also add information on how to contact you by electronic and paper mail.
    666      649
    667            -     If your software can interact with users remotely through a computer
             650   + If your software can interact with users remotely through a computer
    668      651       network, you should also make sure that it provides a way for users to
    669      652       get its source.   For example, if your program is a web application, its
    670      653       interface could display a "Source" link that leads users to an archive
    671      654       of the code.   There are many ways you could offer source, and different
    672      655       solutions will be better for different programs; see section 13 for the
    673      656       specific requirements.
    674      657
    675            -     You should also get your employer (if you work as a programmer) or school,
             658   + You should also get your employer (if you work as a programmer) or school,
    676      659       if any, to sign a "copyright disclaimer" for the program, if necessary.
    677      660       For more information on this, and how to apply and follow the GNU AGPL, see
    678            - <http://www.gnu.org/licenses/>.
    679            -
    680            -
    681            - "Commons Clause" License Condition
    682            -
    683            - The Software is provided to you by the Licensor under the License, as
    684            - defined below, subject to the following condition. Without limiting
    685            - other conditions in the License, the grant of rights under the License
    686            - will not include, and the License does not grant to you, the right to
    687            - Sell the Software.    For purposes of the foregoing, "Sell" means
    688            - practicing any or all of the rights granted to you under the License
    689            - to provide to third parties, for a fee or other consideration,
    690            - a product or service that consists, entirely or substantially,
    691            - of the Software or the functionality of the Software. Any license
    692            - notice or attribution required by the License must also include
    693            - this Commons Cause License Condition notice.
             661   + <https://www.gnu.org/licenses/>.



            486         enterprise/causal-clustering/LICENSE.txt


    ...      ...   @@ -1,51 +1,35 @@

      1            - NOTICE


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      2          - This package contains software licensed under different
      3          - licenses, please refer to the NOTICE.txt file for further
      4          - information and LICENSES.txt for full license texts.
            1    + GNU AFFERO GENERAL PUBLIC LICENSE
            2    +     Version 3, 19 November 2007
      5     3
      6          - Neo4j Enterprise object code can be licensed independently from
      7          - the source under separate commercial terms. Email inquiries can be
      8          - directed to: licensing@neo4j.com. More information is also
      9          - available at:https://neo4j.com/licensing/
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     11          - The software ("Software") is developed and owned by Neo4j Sweden AB
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     13          - of the GNU AFFERO GENERAL PUBLIC LICENSE Version 3, with the Commons Clause as follows:
            8    + Preamble
     14     9
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     19          -
     20          -    Copyright (C) 2007 Free Software Foundation, Inc. <http://fsf.org/>
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     23          -
     24          -                                 Preamble
     25          -
     26          -     The GNU Affero General Public License is a free, copyleft license
     27          - for software and other kinds of works, specifically designed to ensure
            10   + The GNU Affero General Public License is a free, copyleft license for
            11   + software and other kinds of works, specifically designed to ensure
     28     12       cooperation with the community in the case of network server software.
     29     13
     30          -     The licenses for most software and other practical works are
     31          - designed to take away your freedom to share and change the works.      By
     32          - contrast, our General Public Licenses are intended to guarantee your
     33          - freedom to share and change all versions of a program--to make sure it
     34          - remains free software for all its users.
            14   + The licenses for most software and other practical works are designed
            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that


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     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.    Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.    It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.    Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.       This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                            TERMS AND CONDITIONS
            59   + TERMS AND CONDITIONS
            60   +
            61   + 0. Definitions.
     76     62
     77          -     0. Definitions.
            63   + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79          -     "This License" refers to version 3 of the GNU Affero General Public
     80          - License.
            65   + "Copyright" also means copyright-like laws that apply to other kinds of
            66   + works, such as semiconductor masks.
     81     67
     82          -     "Copyright" also means copyright-like laws that apply to other kinds
     83          - of works, such as semiconductor masks.
     84          -
     85          -     "The Program" refers to any copyrightable work licensed under this
            68   + "The Program" refers to any copyrightable work licensed under this
     86     69       License.   Each licensee is addressed as "you".   "Licensees" and
     87     70       "recipients" may be individuals or organizations.
     88     71
     89          -     To "modify" a work means to copy from or adapt all or part of the work
            72   + To "modify" a work means to copy from or adapt all or part of the work
     90     73       in a fashion requiring copyright permission, other than the making of an
     91     74       exact copy.    The resulting work is called a "modified version" of the
     92     75       earlier work or a work "based on" the earlier work.
     93     76
     94          -     A "covered work" means either the unmodified Program or a work based
            77   + A "covered work" means either the unmodified Program or a work based
     95     78       on the Program.
     96     79
     97          -     To "propagate" a work means to do anything with it that, without
            80   + To "propagate" a work means to do anything with it that, without
     98     81       permission, would make you directly or secondarily liable for
     99     82       infringement under applicable copyright law, except executing it on a
    100     83       computer or modifying a private copy.    Propagation includes copying,
    101     84       distribution (with or without modification), making available to the


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                                                                                                                            N4J_019080
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                                                                                                         Page 355 of 1198 · GitHub
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.   Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.   "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.   However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.   This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.   The output from running a
    165     148       covered work is covered by this License only if the output, given its


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    166     149       content, constitutes a covered work.   This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.   You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.   Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.


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                                                                                                                             N4J_019082
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    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical


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    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.    This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.    Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.    You need not require recipients to copy the
            267   + Corresponding Source along with the object code.       If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.       Regardless of what server hosts the


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            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.   Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
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            333   + "Additional permissions" are terms that supplement the terms of this
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    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
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            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
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            358   + Notices displayed by works containing it; or
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            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
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    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
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    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
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    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
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            441   + An "entity transaction" is a transaction transferring control of an
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            480   + In the following three paragraphs, a "patent license" is any express
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    517     500
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            501   + If, pursuant to or in connection with a single transaction or
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    616     599
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            610   + 17. Interpretation of Sections 15 and 16.
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            612   + If the disclaimer of warranty and limitation of liability provided
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    637     620
    638           -                   How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.
    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>    <name of author>
            632   + <one line to give the program's name and a brief idea of what it does.>
            633   + Copyright (C) <year>      <name of author>
    651     634
    652           -       This program is free software: you can redistribute it and/or modify
    653           -       it under the terms of the GNU Affero General Public License as
    654           -       published by the Free Software Foundation, either version 3 of the
    655           -       License, or (at your option) any later version.
            635   + This program is free software: you can redistribute it and/or modify
            636   + it under the terms of the GNU Affero General Public License as published by
            637   + the Free Software Foundation, either version 3 of the License, or
            638   + (at your option) any later version.
    656     639
    657           -       This program is distributed in the hope that it will be useful,
    658           -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659           -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.    See the
    660           -       GNU Affero General Public License for more details.
            640   + This program is distributed in the hope that it will be useful,
            641   + but WITHOUT ANY WARRANTY; without even the implied warranty of
            642   + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.      See the
            643   + GNU Affero General Public License for more details.
    661     644
    662           -       You should have received a copy of the GNU Affero General Public License
    663           -       along with this program.    If not, see <http://www.gnu.org/licenses/>.
            645   + You should have received a copy of the GNU Affero General Public License
            646   + along with this program.      If not, see <https://www.gnu.org/licenses/>.
    664     647
    665     648       Also add information on how to contact you by electronic and paper mail.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             51/377
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10/2/2019                       Updated the LICENSE.txt file toDocument
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                                                                                                             Page 366 of 1198 · GitHub
    666      649
    667               -     If your software can interact with users remotely through a computer
             650      + If your software can interact with users remotely through a computer
    668      651          network, you should also make sure that it provides a way for users to
    669      652          get its source.   For example, if your program is a web application, its
    670      653          interface could display a "Source" link that leads users to an archive
    671      654          of the code.   There are many ways you could offer source, and different
    672      655          solutions will be better for different programs; see section 13 for the
    673      656          specific requirements.
    674      657
    675               -     You should also get your employer (if you work as a programmer) or school,
             658      + You should also get your employer (if you work as a programmer) or school,
    676      659          if any, to sign a "copyright disclaimer" for the program, if necessary.
    677      660          For more information on this, and how to apply and follow the GNU AGPL, see
    678               - <http://www.gnu.org/licenses/>.
    679               -
    680               -
    681               - "Commons Clause" License Condition
    682               -
    683               - The Software is provided to you by the Licensor under the License, as
    684               - defined below, subject to the following condition. Without limiting
    685               - other conditions in the License, the grant of rights under the License
    686               - will not include, and the License does not grant to you, the right to
    687               - Sell the Software.    For purposes of the foregoing, "Sell" means
    688               - practicing any or all of the rights granted to you under the License
    689               - to provide to third parties, for a fee or other consideration,
    690               - a product or service that consists, entirely or substantially,
    691               - of the Software or the functionality of the Software. Any license
    692               - notice or attribution required by the License must also include
    693               - this Commons Cause License Condition notice.
             661      + <https://www.gnu.org/licenses/>.



            486            enterprise/cluster/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

      1               - NOTICE
      2               - This package contains software licensed under different
      3               - licenses, please refer to the NOTICE.txt file for further
      4               - information and LICENSES.txt for full license texts.
                  1   + GNU AFFERO GENERAL PUBLIC LICENSE
                  2   +     Version 3, 19 November 2007
      5           3
      6               - Neo4j Enterprise object code can be licensed independently from
      7               - the source under separate commercial terms. Email inquiries can be
      8               - directed to: licensing@neo4j.com. More information is also
      9               - available at:https://neo4j.com/licensing/
                  4   + Copyright (C) 2007 Free Software Foundation, Inc. <https://fsf.org/>
                  5   + Everyone is permitted to copy and distribute verbatim copies
                  6   + of this license document, but changing it is not allowed.
     10           7
     11               - The software ("Software") is developed and owned by Neo4j Sweden AB
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                  8   + Preamble
     14           9
     15               -
     16               -
     17               -                       GNU AFFERO GENERAL PUBLIC LICENSE
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     19               -
     20               -    Copyright (C) 2007 Free Software Foundation, Inc. <http://fsf.org/>
     21               -    Everyone is permitted to copy and distribute verbatim copies
     22               -    of this license document, but changing it is not allowed.


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     23          -
     24          -                                 Preamble
     25          -
     26          -     The GNU Affero General Public License is a free, copyleft license
     27          - for software and other kinds of works, specifically designed to ensure
            10   + The GNU Affero General Public License is a free, copyleft license for
            11   + software and other kinds of works, specifically designed to ensure
     28     12       cooperation with the community in the case of network server software.
     29     13
     30          -     The licenses for most software and other practical works are
     31          - designed to take away your freedom to share and change the works.       By
     32          - contrast, our General Public Licenses are intended to guarantee your
     33          - freedom to share and change all versions of a program--to make sure it
     34          - remains free software for all its users.
            14   + The licenses for most software and other practical works are designed
            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.    Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.    Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.     This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                            TERMS AND CONDITIONS


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                                                                                                                            N4J_019093
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            59    + TERMS AND CONDITIONS
            60    +
            61    + 0. Definitions.
     76     62
     77           -     0. Definitions.
            63    + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79           -     "This License" refers to version 3 of the GNU Affero General Public
     80           - License.
            65    + "Copyright" also means copyright-like laws that apply to other kinds of
            66    + works, such as semiconductor masks.
     81     67
     82           -     "Copyright" also means copyright-like laws that apply to other kinds
     83           - of works, such as semiconductor masks.
     84           -
     85           -     "The Program" refers to any copyrightable work licensed under this
            68    + "The Program" refers to any copyrightable work licensed under this
     86     69        License.   Each licensee is addressed as "you".   "Licensees" and
     87     70        "recipients" may be individuals or organizations.
     88     71
     89           -     To "modify" a work means to copy from or adapt all or part of the work
            72    + To "modify" a work means to copy from or adapt all or part of the work
     90     73        in a fashion requiring copyright permission, other than the making of an
     91     74        exact copy.   The resulting work is called a "modified version" of the
     92     75        earlier work or a work "based on" the earlier work.
     93     76
     94           -     A "covered work" means either the unmodified Program or a work based
            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
     96     79
     97           -     To "propagate" a work means to do anything with it that, without
            80    + To "propagate" a work means to do anything with it that, without
     98     81        permission, would make you directly or secondarily liable for
     99     82        infringement under applicable copyright law, except executing it on a
    100     83        computer or modifying a private copy.   Propagation includes copying,
    101     84        distribution (with or without modification), making available to the
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.   Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.   "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that


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                                                                                                                             N4J_019094
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                                                                                                         Page 369 of 1198 · GitHub
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.     However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.     This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.     The output from running a
    165     148       covered work is covered by this License only if the output, given its
    166     149       content, constitutes a covered work.     This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.    You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid


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            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive


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    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no


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                                                                                                                             N4J_019097
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                                                                                                         Page 372 of 1198 · GitHub
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because


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    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
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            331   + 7. Additional Terms.
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            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
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            358   + Notices displayed by works containing it; or
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    377           -         c) Prohibiting misrepresentation of the origin of that material, or


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    401           - relicensing or conveying.
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    404     387       must place, in the relevant source files, a statement of the
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            441   + An "entity transaction" is a transaction transferring control of an
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            480   + In the following three paragraphs, a "patent license" is any express
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            501   + If, pursuant to or in connection with a single transaction or
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    637     620
    638           -                   How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             64/377
                                                                                                                             N4J_019104
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 379 of 1198 · GitHub
    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>   <name of author>
            632   + <one line to give the program's name and a brief idea of what it does.>
            633   + Copyright (C) <year>     <name of author>
    651     634
    652           -       This program is free software: you can redistribute it and/or modify
    653           -       it under the terms of the GNU Affero General Public License as
    654           -       published by the Free Software Foundation, either version 3 of the
    655           -       License, or (at your option) any later version.
            635   + This program is free software: you can redistribute it and/or modify
            636   + it under the terms of the GNU Affero General Public License as published by
            637   + the Free Software Foundation, either version 3 of the License, or
            638   + (at your option) any later version.
    656     639
    657           -       This program is distributed in the hope that it will be useful,
    658           -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659           -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.    See the
    660           -       GNU Affero General Public License for more details.
            640   + This program is distributed in the hope that it will be useful,
            641   + but WITHOUT ANY WARRANTY; without even the implied warranty of
            642   + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.     See the
            643   + GNU Affero General Public License for more details.
    661     644
    662           -       You should have received a copy of the GNU Affero General Public License
    663           -       along with this program.   If not, see <http://www.gnu.org/licenses/>.
            645   + You should have received a copy of the GNU Affero General Public License
            646   + along with this program.     If not, see <https://www.gnu.org/licenses/>.
    664     647
    665     648       Also add information on how to contact you by electronic and paper mail.
    666     649
    667           -     If your software can interact with users remotely through a computer
            650   + If your software can interact with users remotely through a computer
    668     651       network, you should also make sure that it provides a way for users to
    669     652       get its source.   For example, if your program is a web application, its
    670     653       interface could display a "Source" link that leads users to an archive
    671     654       of the code.   There are many ways you could offer source, and different
    672     655       solutions will be better for different programs; see section 13 for the
    673     656       specific requirements.
    674     657
    675           -     You should also get your employer (if you work as a programmer) or school,
            658   + You should also get your employer (if you work as a programmer) or school,
    676     659       if any, to sign a "copyright disclaimer" for the program, if necessary.
    677     660       For more information on this, and how to apply and follow the GNU AGPL, see
    678           - <http://www.gnu.org/licenses/>.
    679           -
    680           -
    681           - "Commons Clause" License Condition
    682           -
    683           - The Software is provided to you by the Licensor under the License, as
    684           - defined below, subject to the following condition. Without limiting
    685           - other conditions in the License, the grant of rights under the License
    686           - will not include, and the License does not grant to you, the right to
    687           - Sell the Software.    For purposes of the foregoing, "Sell" means
    688           - practicing any or all of the rights granted to you under the License
    689           - to provide to third parties, for a fee or other consideration,
    690           - a product or service that consists, entirely or substantially,


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             65/377
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    691               - of the Software or the functionality of the Software. Any license
    692               - notice or attribution required by the License must also include
    693               - this Commons Cause License Condition notice.
             661      + <https://www.gnu.org/licenses/>.



            486            enterprise/com/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

      1               - NOTICE
      2               - This package contains software licensed under different
      3               - licenses, please refer to the NOTICE.txt file for further
      4               - information and LICENSES.txt for full license texts.
                  1   + GNU AFFERO GENERAL PUBLIC LICENSE
                  2   +     Version 3, 19 November 2007
      5           3
      6               - Neo4j Enterprise object code can be licensed independently from
      7               - the source under separate commercial terms. Email inquiries can be
      8               - directed to: licensing@neo4j.com. More information is also
      9               - available at:https://neo4j.com/licensing/
                  4   + Copyright (C) 2007 Free Software Foundation, Inc. <https://fsf.org/>
                  5   + Everyone is permitted to copy and distribute verbatim copies
                  6   + of this license document, but changing it is not allowed.
     10           7
     11               - The software ("Software") is developed and owned by Neo4j Sweden AB
     12               - (referred to in this notice as “Neo4j”) and is subject to the terms
     13               - of the GNU AFFERO GENERAL PUBLIC LICENSE Version 3, with the Commons Clause as follows:
                  8   + Preamble
     14           9
     15               -
     16               -
     17               -                       GNU AFFERO GENERAL PUBLIC LICENSE
     18               -                           Version 3, 19 November 2007
     19               -
     20               -    Copyright (C) 2007 Free Software Foundation, Inc. <http://fsf.org/>
     21               -    Everyone is permitted to copy and distribute verbatim copies
     22               -    of this license document, but changing it is not allowed.
     23               -
     24               -                                 Preamble
     25               -
     26               -     The GNU Affero General Public License is a free, copyleft license
     27               - for software and other kinds of works, specifically designed to ensure
              10      + The GNU Affero General Public License is a free, copyleft license for
              11      + software and other kinds of works, specifically designed to ensure
     28       12          cooperation with the community in the case of network server software.
     29       13
     30               -     The licenses for most software and other practical works are
     31               - designed to take away your freedom to share and change the works.      By
     32               - contrast, our General Public Licenses are intended to guarantee your
     33               - freedom to share and change all versions of a program--to make sure it
     34               - remains free software for all its users.
              14      + The licenses for most software and other practical works are designed
              15      + to take away your freedom to share and change the works.      By contrast,
              16      + our General Public Licenses are intended to guarantee your freedom to
              17      + share and change all versions of a program--to make sure it remains free
              18      + software for all its users.
     35       19
     36               -     When we speak of free software, we are referring to freedom, not
              20      + When we speak of free software, we are referring to freedom, not
     37       21          price.   Our General Public Licenses are designed to make sure that you
     38       22          have the freedom to distribute copies of free software (and charge for
     39       23          them if you wish), that you receive source code or can get it if you
     40       24          want it, that you can change the software or use pieces of it in new
     41       25          free programs, and that you know you can do these things.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                                 66/377
                                                                                                                                 N4J_019106
10/2/2019                  Updated the LICENSE.txt file toDocument
                     Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                        Page 381 of 1198 · GitHub
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.    Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.    Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.      This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                            TERMS AND CONDITIONS
            59   + TERMS AND CONDITIONS
            60   +
            61   + 0. Definitions.
     76     62
     77          -     0. Definitions.
            63   + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79          -     "This License" refers to version 3 of the GNU Affero General Public
     80          - License.
            65   + "Copyright" also means copyright-like laws that apply to other kinds of
            66   + works, such as semiconductor masks.
     81     67
     82          -     "Copyright" also means copyright-like laws that apply to other kinds
     83          - of works, such as semiconductor masks.
     84          -
     85          -     "The Program" refers to any copyrightable work licensed under this
            68   + "The Program" refers to any copyrightable work licensed under this
     86     69       License.   Each licensee is addressed as "you".   "Licensees" and
     87     70       "recipients" may be individuals or organizations.
     88     71
     89          -     To "modify" a work means to copy from or adapt all or part of the work
            72   + To "modify" a work means to copy from or adapt all or part of the work
     90     73       in a fashion requiring copyright permission, other than the making of an
     91     74       exact copy.    The resulting work is called a "modified version" of the
     92     75       earlier work or a work "based on" the earlier work.
     93     76
     94          -     A "covered work" means either the unmodified Program or a work based


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                            67/377
                                                                                                                            N4J_019107
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 382 of 1198 · GitHub
            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
     96     79
     97           -     To "propagate" a work means to do anything with it that, without
            80    + To "propagate" a work means to do anything with it that, without
     98     81        permission, would make you directly or secondarily liable for
     99     82        infringement under applicable copyright law, except executing it on a
    100     83        computer or modifying a private copy.   Propagation includes copying,
    101     84        distribution (with or without modification), making available to the
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.   Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.   "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.   However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             68/377
                                                                                                                             N4J_019108
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 383 of 1198 · GitHub
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.     This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.     The output from running a
    165     148       covered work is covered by this License only if the output, given its
    166     149       content, constitutes a covered work.     This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.   You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             69/377
                                                                                                                             N4J_019109
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 384 of 1198 · GitHub
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             70/377
                                                                                                                             N4J_019110
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                                                                                                         Page 385 of 1198 · GitHub
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.    This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             71/377
                                                                                                                             N4J_019111
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            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.


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            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
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    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
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    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
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    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
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    377           -         c) Prohibiting misrepresentation of the origin of that material, or
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            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
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    385           -         trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -         f) Requiring indemnification of licensors and authors of that
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    390           -         any liability that these contractual assumptions directly impose on
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            370   + f) Requiring indemnification of licensors and authors of that
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    392     375


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    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.    If the Program as you
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    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.      If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
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            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.      If a license document contains
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            383   + of that license document, provided that the further restriction does
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            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
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    407     390
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            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
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    412           -     8. Termination.
            395   + 8. Termination.
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            403   + However, if you cease all violation of this License, then your
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    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
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    436     419       this License.   If your rights have been terminated and not permanently
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    440           -     9. Acceptance Not Required for Having Copies.


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    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
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    448     431       not accept this License.   Therefore, by modifying or propagating a
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    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
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    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
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            441   + An "entity transaction" is a transaction transferring control of an
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    460     443       organization, or merging organizations.   If propagation of a covered
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    465     448       Corresponding Source of the work from the predecessor in interest, if
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    467     450
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            459   + 11. Patents.
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            480   + In the following three paragraphs, a "patent license" is any express
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    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a


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    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
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    515     498       in a country, would infringe one or more identifiable patents in that
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    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
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    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
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    539     522       or that patent license was granted, prior to 28 March 2007.
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            524   + Nothing in this License shall be construed as excluding or limiting
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    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529
    547           -     If conditions are imposed on you (whether by court order, agreement or
            530   + If conditions are imposed on you (whether by court order, agreement or
    548     531       otherwise) that contradict the conditions of this License, they do not
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    579           -
    580           -     The Free Software Foundation may publish revised and/or new versions of
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            565   + will be similar in spirit to the present version, but may differ in detail to
            566   + address new problems or concerns.
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            568   + Each version is given a distinguishing version number.       If the
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            577   + If the Program specifies that a proxy can decide which future
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    603     586
    604           -     15. Disclaimer of Warranty.
            587   + 15. Disclaimer of Warranty.
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    609     592       OF ANY KIND, EITHER EXPRESSED OR IMPLIED, INCLUDING, BUT NOT LIMITED TO,
    612     595       IS WITH YOU.    SHOULD THE PROGRAM PROVE DEFECTIVE, YOU ASSUME THE COST OF
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    614     597
    615           -     16. Limitation of Liability.
            598   + 16. Limitation of Liability.
    616     599
    617           -     IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
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    620     603       GENERAL, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF THE
    624     607       EVEN IF SUCH HOLDER OR OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF
    625     608       SUCH DAMAGES.
    626     609
    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
    628     611
    629           -     If the disclaimer of warranty and limitation of liability provided
            612   + If the disclaimer of warranty and limitation of liability provided
    630     613       above cannot be given local legal effect according to their terms,
    631     614       reviewing courts shall apply local law that most closely approximates
    632     615       an absolute waiver of all civil liability in connection with the
    633     616       Program, unless a warranty or assumption of liability accompanies a
    634     617       copy of the Program in return for a fee.
    635     618
    636           -                           END OF TERMS AND CONDITIONS
            619   + END OF TERMS AND CONDITIONS
    637     620
    638           -                   How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.
    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>    <name of author>
            632   + <one line to give the program's name and a brief idea of what it does.>
            633   + Copyright (C) <year>      <name of author>
    651     634
    652           -       This program is free software: you can redistribute it and/or modify
    653           -       it under the terms of the GNU Affero General Public License as
    654           -       published by the Free Software Foundation, either version 3 of the
    655           -       License, or (at your option) any later version.
            635   + This program is free software: you can redistribute it and/or modify
            636   + it under the terms of the GNU Affero General Public License as published by
            637   + the Free Software Foundation, either version 3 of the License, or
            638   + (at your option) any later version.
    656     639
    657           -       This program is distributed in the hope that it will be useful,
    658           -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659           -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.    See the
    660           -       GNU Affero General Public License for more details.
            640   + This program is distributed in the hope that it will be useful,
            641   + but WITHOUT ANY WARRANTY; without even the implied warranty of


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             78/377
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             642      + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.      See the
             643      + GNU Affero General Public License for more details.
    661      644
    662               -       You should have received a copy of the GNU Affero General Public License
    663               -       along with this program.    If not, see <http://www.gnu.org/licenses/>.
             645      + You should have received a copy of the GNU Affero General Public License
             646      + along with this program.     If not, see <https://www.gnu.org/licenses/>.
    664      647
    665      648          Also add information on how to contact you by electronic and paper mail.
    666      649
    667               -     If your software can interact with users remotely through a computer
             650      + If your software can interact with users remotely through a computer
    668      651          network, you should also make sure that it provides a way for users to
    669      652          get its source.   For example, if your program is a web application, its
    670      653          interface could display a "Source" link that leads users to an archive
    671      654          of the code.   There are many ways you could offer source, and different
    672      655          solutions will be better for different programs; see section 13 for the
    673      656          specific requirements.
    674      657
    675               -     You should also get your employer (if you work as a programmer) or school,
             658      + You should also get your employer (if you work as a programmer) or school,
    676      659          if any, to sign a "copyright disclaimer" for the program, if necessary.
    677      660          For more information on this, and how to apply and follow the GNU AGPL, see
    678               - <http://www.gnu.org/licenses/>.
    679               -
    680               -
    681               - "Commons Clause" License Condition
    682               -
    683               - The Software is provided to you by the Licensor under the License, as
    684               - defined below, subject to the following condition. Without limiting
    685               - other conditions in the License, the grant of rights under the License
    686               - will not include, and the License does not grant to you, the right to
    687               - Sell the Software.    For purposes of the foregoing, "Sell" means
    688               - practicing any or all of the rights granted to you under the License
    689               - to provide to third parties, for a fee or other consideration,
    690               - a product or service that consists, entirely or substantially,
    691               - of the Software or the functionality of the Software. Any license
    692               - notice or attribution required by the License must also include
    693               - this Commons Cause License Condition notice.
             661      + <https://www.gnu.org/licenses/>.



            486            enterprise/cypher/acceptance-spec-suite/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

      1               - NOTICE
      2               - This package contains software licensed under different
      3               - licenses, please refer to the NOTICE.txt file for further
      4               - information and LICENSES.txt for full license texts.
                  1   + GNU AFFERO GENERAL PUBLIC LICENSE
                  2   +     Version 3, 19 November 2007
      5           3
      6               - Neo4j Enterprise object code can be licensed independently from
      7               - the source under separate commercial terms. Email inquiries can be
      8               - directed to: licensing@neo4j.com. More information is also
      9               - available at:https://neo4j.com/licensing/
                  4   + Copyright (C) 2007 Free Software Foundation, Inc. <https://fsf.org/>
                  5   + Everyone is permitted to copy and distribute verbatim copies
                  6   + of this license document, but changing it is not allowed.
     10           7
     11               - The software ("Software") is developed and owned by Neo4j Sweden AB
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     13               - of the GNU AFFERO GENERAL PUBLIC LICENSE Version 3, with the Commons Clause as follows:
                  8   + Preamble


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     14     9
     15          -
     16          -
     17          -                       GNU AFFERO GENERAL PUBLIC LICENSE
     18          -                           Version 3, 19 November 2007
     19          -
     20          -    Copyright (C) 2007 Free Software Foundation, Inc. <http://fsf.org/>
     21          -    Everyone is permitted to copy and distribute verbatim copies
     22          -    of this license document, but changing it is not allowed.
     23          -
     24          -                                 Preamble
     25          -
     26          -     The GNU Affero General Public License is a free, copyleft license
     27          - for software and other kinds of works, specifically designed to ensure
            10   + The GNU Affero General Public License is a free, copyleft license for
            11   + software and other kinds of works, specifically designed to ensure
     28     12       cooperation with the community in the case of network server software.
     29     13
     30          -     The licenses for most software and other practical works are
     31          - designed to take away your freedom to share and change the works.       By
     32          - contrast, our General Public Licenses are intended to guarantee your
     33          - freedom to share and change all versions of a program--to make sure it
     34          - remains free software for all its users.
            14   + The licenses for most software and other practical works are designed
            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.   Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.   Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.     This is


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                                                                                                                            N4J_019120
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     68     52        a different license, not a version of the Affero GPL, but Affero has
     69     53        released a new version of the Affero GPL which permits relicensing under
     70     54        this license.
     71     55
     72           -     The precise terms and conditions for copying, distribution and
            56    + The precise terms and conditions for copying, distribution and
     73     57        modification follow.
     74     58
     75           -                             TERMS AND CONDITIONS
            59    + TERMS AND CONDITIONS
            60    +
            61    + 0. Definitions.
     76     62
     77           -     0. Definitions.
            63    + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79           -     "This License" refers to version 3 of the GNU Affero General Public
     80           - License.
            65    + "Copyright" also means copyright-like laws that apply to other kinds of
            66    + works, such as semiconductor masks.
     81     67
     82           -     "Copyright" also means copyright-like laws that apply to other kinds
     83           - of works, such as semiconductor masks.
     84           -
     85           -     "The Program" refers to any copyrightable work licensed under this
            68    + "The Program" refers to any copyrightable work licensed under this
     86     69        License.   Each licensee is addressed as "you".   "Licensees" and
     87     70        "recipients" may be individuals or organizations.
     88     71
     89           -     To "modify" a work means to copy from or adapt all or part of the work
            72    + To "modify" a work means to copy from or adapt all or part of the work
     90     73        in a fashion requiring copyright permission, other than the making of an
     91     74        exact copy.     The resulting work is called a "modified version" of the
     92     75        earlier work or a work "based on" the earlier work.
     93     76
     94           -     A "covered work" means either the unmodified Program or a work based
            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
     96     79
     97           -     To "propagate" a work means to do anything with it that, without
            80    + To "propagate" a work means to do anything with it that, without
     98     81        permission, would make you directly or secondarily liable for
     99     82        infringement under applicable copyright law, except executing it on a
    100     83        computer or modifying a private copy.    Propagation includes copying,
    101     84        distribution (with or without modification), making available to the
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.     Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101


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                                                                                                                             N4J_019121
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    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.     "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.     However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.     This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.     The output from running a
    165     148       covered work is covered by this License only if the output, given its
    166     149       content, constitutes a covered work.     This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.    You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.


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    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.    This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this


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                                                                                                                             N4J_019123
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            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)


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    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent


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    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
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            333   + "Additional permissions" are terms that supplement the terms of this
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    372     355
    373           -       b) Requiring preservation of specified reasonable legal notices or
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    402           -
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            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
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            386   + If you add terms to a covered work in accord with this section, you
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    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
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            403   + However, if you cease all violation of this License, then your
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    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
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            436   + Each time you convey a covered work, the recipient automatically
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            480   + In the following three paragraphs, a "patent license" is any express
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            501   + If, pursuant to or in connection with a single transaction or
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    619     602       THE PROGRAM AS PERMITTED ABOVE, BE LIABLE TO YOU FOR DAMAGES, INCLUDING ANY
    620     603       GENERAL, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF THE
    624     607       EVEN IF SUCH HOLDER OR OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF
    625     608       SUCH DAMAGES.
    626     609
    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
    628     611
    629           -     If the disclaimer of warranty and limitation of liability provided
            612   + If the disclaimer of warranty and limitation of liability provided
    630     613       above cannot be given local legal effect according to their terms,
    631     614       reviewing courts shall apply local law that most closely approximates
    632     615       an absolute waiver of all civil liability in connection with the
    633     616       Program, unless a warranty or assumption of liability accompanies a
    634     617       copy of the Program in return for a fee.
    635     618
    636           -                           END OF TERMS AND CONDITIONS


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             91/377
                                                                                                                             N4J_019131
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 406 of 1198 · GitHub
            619   + END OF TERMS AND CONDITIONS
    637     620
    638           -                  How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.
    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>   <name of author>
            632   + <one line to give the program's name and a brief idea of what it does.>
            633   + Copyright (C) <year>     <name of author>
    651     634
    652           -       This program is free software: you can redistribute it and/or modify
    653           -       it under the terms of the GNU Affero General Public License as
    654           -       published by the Free Software Foundation, either version 3 of the
    655           -       License, or (at your option) any later version.
            635   + This program is free software: you can redistribute it and/or modify
            636   + it under the terms of the GNU Affero General Public License as published by
            637   + the Free Software Foundation, either version 3 of the License, or
            638   + (at your option) any later version.
    656     639
    657           -       This program is distributed in the hope that it will be useful,
    658           -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659           -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.    See the
    660           -       GNU Affero General Public License for more details.
            640   + This program is distributed in the hope that it will be useful,
            641   + but WITHOUT ANY WARRANTY; without even the implied warranty of
            642   + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.     See the
            643   + GNU Affero General Public License for more details.
    661     644
    662           -       You should have received a copy of the GNU Affero General Public License
    663           -       along with this program.   If not, see <http://www.gnu.org/licenses/>.
            645   + You should have received a copy of the GNU Affero General Public License
            646   + along with this program.     If not, see <https://www.gnu.org/licenses/>.
    664     647
    665     648       Also add information on how to contact you by electronic and paper mail.
    666     649
    667           -     If your software can interact with users remotely through a computer
            650   + If your software can interact with users remotely through a computer
    668     651       network, you should also make sure that it provides a way for users to
    669     652       get its source.   For example, if your program is a web application, its
    670     653       interface could display a "Source" link that leads users to an archive
    671     654       of the code.   There are many ways you could offer source, and different
    672     655       solutions will be better for different programs; see section 13 for the
    673     656       specific requirements.
    674     657
    675           -     You should also get your employer (if you work as a programmer) or school,
            658   + You should also get your employer (if you work as a programmer) or school,
    676     659       if any, to sign a "copyright disclaimer" for the program, if necessary.
    677     660       For more information on this, and how to apply and follow the GNU AGPL, see
    678           - <http://www.gnu.org/licenses/>.
    679           -
    680           -
    681           - "Commons Clause" License Condition


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             92/377
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    682               -
    683               - The Software is provided to you by the Licensor under the License, as
    684               - defined below, subject to the following condition. Without limiting
    685               - other conditions in the License, the grant of rights under the License
    686               - will not include, and the License does not grant to you, the right to
    687               - Sell the Software.    For purposes of the foregoing, "Sell" means
    688               - practicing any or all of the rights granted to you under the License
    689               - to provide to third parties, for a fee or other consideration,
    690               - a product or service that consists, entirely or substantially,
    691               - of the Software or the functionality of the Software. Any license
    692               - notice or attribution required by the License must also include
    693               - this Commons Cause License Condition notice.
             661      + <https://www.gnu.org/licenses/>.



            486            enterprise/cypher/compatibility-spec-suite/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

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                  2   +     Version 3, 19 November 2007
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      9               - available at:https://neo4j.com/licensing/
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     23               -
     24               -                               Preamble
     25               -
     26               -     The GNU Affero General Public License is a free, copyleft license
     27               - for software and other kinds of works, specifically designed to ensure
              10      + The GNU Affero General Public License is a free, copyleft license for
              11      + software and other kinds of works, specifically designed to ensure
     28       12          cooperation with the community in the case of network server software.
     29       13
     30               -     The licenses for most software and other practical works are
     31               - designed to take away your freedom to share and change the works.    By
     32               - contrast, our General Public Licenses are intended to guarantee your
     33               - freedom to share and change all versions of a program--to make sure it
     34               - remains free software for all its users.
              14      + The licenses for most software and other practical works are designed
              15      + to take away your freedom to share and change the works.    By contrast,
              16      + our General Public Licenses are intended to guarantee your freedom to
              17      + share and change all versions of a program--to make sure it remains free


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                                                                                                        Page 408 of 1198 · GitHub
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.    Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.    Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.      This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                            TERMS AND CONDITIONS
            59   + TERMS AND CONDITIONS
            60   +
            61   + 0. Definitions.
     76     62
     77          -     0. Definitions.
            63   + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79          -     "This License" refers to version 3 of the GNU Affero General Public
     80          - License.
            65   + "Copyright" also means copyright-like laws that apply to other kinds of
            66   + works, such as semiconductor masks.
     81     67
     82          -     "Copyright" also means copyright-like laws that apply to other kinds
     83          - of works, such as semiconductor masks.
     84          -
     85          -     "The Program" refers to any copyrightable work licensed under this
            68   + "The Program" refers to any copyrightable work licensed under this
     86     69       License.   Each licensee is addressed as "you".   "Licensees" and


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                                                                                                         Page 409 of 1198 · GitHub
     87     70        "recipients" may be individuals or organizations.
     88     71
     89           -     To "modify" a work means to copy from or adapt all or part of the work
            72    + To "modify" a work means to copy from or adapt all or part of the work
     90     73        in a fashion requiring copyright permission, other than the making of an
     91     74        exact copy.   The resulting work is called a "modified version" of the
     92     75        earlier work or a work "based on" the earlier work.
     93     76
     94           -     A "covered work" means either the unmodified Program or a work based
            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
     96     79
     97           -     To "propagate" a work means to do anything with it that, without
            80    + To "propagate" a work means to do anything with it that, without
     98     81        permission, would make you directly or secondarily liable for
     99     82        infringement under applicable copyright law, except executing it on a
    100     83        computer or modifying a private copy.   Propagation includes copying,
    101     84        distribution (with or without modification), making available to the
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.   Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.   "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.   However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             95/377
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    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.     This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.     The output from running a
    165     148       covered work is covered by this License only if the output, given its
    166     149       content, constitutes a covered work.     This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.    You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all


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    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234


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                                                                                                         Page 412 of 1198 · GitHub
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the


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            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.


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    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
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            342   + When you convey a copy of a covered work, you may at your option
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            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
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            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
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            368   + trade names, trademarks, or service marks; or
    386     369
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            376   + All other non-permissive additional terms are considered "further
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    404     387       must place, in the relevant source files, a statement of the
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            391   + Additional terms, permissive or non-permissive, may be stated in the
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    425     408       prior to 60 days after the cessation.
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    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
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    433     416
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            441   + An "entity transaction" is a transaction transferring control of an
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            480   + In the following three paragraphs, a "patent license" is any express
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            501   + If, pursuant to or in connection with a single transaction or
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    522     505       or convey a specific copy of the covered work, then the patent license
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            509   + A patent license is "discriminatory" if it does not include within
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    569     552
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    602     585       later version.
    603     586
    604           -     15. Disclaimer of Warranty.
            587   + 15. Disclaimer of Warranty.
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    609     592       OF ANY KIND, EITHER EXPRESSED OR IMPLIED, INCLUDING, BUT NOT LIMITED TO,
    612     595       IS WITH YOU.     SHOULD THE PROGRAM PROVE DEFECTIVE, YOU ASSUME THE COST OF
    613     596       ALL NECESSARY SERVICING, REPAIR OR CORRECTION.
    614     597
    615           -     16. Limitation of Liability.
            598   + 16. Limitation of Liability.
    616     599
    617           -     IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
            600   + IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
    618     601       WILL ANY COPYRIGHT HOLDER, OR ANY OTHER PARTY WHO MODIFIES AND/OR CONVEYS
    619     602       THE PROGRAM AS PERMITTED ABOVE, BE LIABLE TO YOU FOR DAMAGES, INCLUDING ANY
    620     603       GENERAL, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF THE
    624     607       EVEN IF SUCH HOLDER OR OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF
    625     608       SUCH DAMAGES.
    626     609
    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
    628     611
    629           -     If the disclaimer of warranty and limitation of liability provided
            612   + If the disclaimer of warranty and limitation of liability provided
    630     613       above cannot be given local legal effect according to their terms,
    631     614       reviewing courts shall apply local law that most closely approximates
    632     615       an absolute waiver of all civil liability in connection with the
    633     616       Program, unless a warranty or assumption of liability accompanies a
    634     617       copy of the Program in return for a fee.
    635     618
    636           -                            END OF TERMS AND CONDITIONS
            619   + END OF TERMS AND CONDITIONS
    637     620
    638           -                   How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.
    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>    <name of author>
            632   + <one line to give the program's name and a brief idea of what it does.>
            633   + Copyright (C) <year>       <name of author>
    651     634
    652           -       This program is free software: you can redistribute it and/or modify
    653           -       it under the terms of the GNU Affero General Public License as
    654           -       published by the Free Software Foundation, either version 3 of the
    655           -       License, or (at your option) any later version.
            635   + This program is free software: you can redistribute it and/or modify
            636   + it under the terms of the GNU Affero General Public License as published by


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             637      + the Free Software Foundation, either version 3 of the License, or
             638      + (at your option) any later version.
    656      639
    657               -       This program is distributed in the hope that it will be useful,
    658               -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659               -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.    See the
    660               -       GNU Affero General Public License for more details.
             640      + This program is distributed in the hope that it will be useful,
             641      + but WITHOUT ANY WARRANTY; without even the implied warranty of
             642      + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.      See the
             643      + GNU Affero General Public License for more details.
    661      644
    662               -       You should have received a copy of the GNU Affero General Public License
    663               -       along with this program.    If not, see <http://www.gnu.org/licenses/>.
             645      + You should have received a copy of the GNU Affero General Public License
             646      + along with this program.     If not, see <https://www.gnu.org/licenses/>.
    664      647
    665      648          Also add information on how to contact you by electronic and paper mail.
    666      649
    667               -     If your software can interact with users remotely through a computer
             650      + If your software can interact with users remotely through a computer
    668      651          network, you should also make sure that it provides a way for users to
    669      652          get its source.   For example, if your program is a web application, its
    670      653          interface could display a "Source" link that leads users to an archive
    671      654          of the code.   There are many ways you could offer source, and different
    672      655          solutions will be better for different programs; see section 13 for the
    673      656          specific requirements.
    674      657
    675               -     You should also get your employer (if you work as a programmer) or school,
             658      + You should also get your employer (if you work as a programmer) or school,
    676      659          if any, to sign a "copyright disclaimer" for the program, if necessary.
    677      660          For more information on this, and how to apply and follow the GNU AGPL, see
    678               - <http://www.gnu.org/licenses/>.
    679               -
    680               -
    681               - "Commons Clause" License Condition
    682               -
    683               - The Software is provided to you by the Licensor under the License, as
    684               - defined below, subject to the following condition. Without limiting
    685               - other conditions in the License, the grant of rights under the License
    686               - will not include, and the License does not grant to you, the right to
    687               - Sell the Software.    For purposes of the foregoing, "Sell" means
    688               - practicing any or all of the rights granted to you under the License
    689               - to provide to third parties, for a fee or other consideration,
    690               - a product or service that consists, entirely or substantially,
    691               - of the Software or the functionality of the Software. Any license
    692               - notice or attribution required by the License must also include
    693               - this Commons Cause License Condition notice.
             661      + <https://www.gnu.org/licenses/>.



            486            enterprise/cypher/compiled-expressions/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

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      2               - This package contains software licensed under different
      3               - licenses, please refer to the NOTICE.txt file for further
      4               - information and LICENSES.txt for full license texts.
                  1   + GNU AFFERO GENERAL PUBLIC LICENSE
                  2   +     Version 3, 19 November 2007
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      6               - Neo4j Enterprise object code can be licensed independently from
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                                                                                                        Page 421 of 1198 · GitHub
      9          - available at:https://neo4j.com/licensing/
            4    + Copyright (C) 2007 Free Software Foundation, Inc. <https://fsf.org/>
            5    + Everyone is permitted to copy and distribute verbatim copies
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     11          - The software ("Software") is developed and owned by Neo4j Sweden AB
     12          - (referred to in this notice as “Neo4j”) and is subject to the terms
     13          - of the GNU AFFERO GENERAL PUBLIC LICENSE Version 3, with the Commons Clause as follows:
            8    + Preamble
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     15          -
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     17          -                       GNU AFFERO GENERAL PUBLIC LICENSE
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     20          -    Copyright (C) 2007 Free Software Foundation, Inc. <http://fsf.org/>
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     24          -                                 Preamble
     25          -
     26          -     The GNU Affero General Public License is a free, copyleft license
     27          - for software and other kinds of works, specifically designed to ensure
            10   + The GNU Affero General Public License is a free, copyleft license for
            11   + software and other kinds of works, specifically designed to ensure
     28     12       cooperation with the community in the case of network server software.
     29     13
     30          -     The licenses for most software and other practical works are
     31          - designed to take away your freedom to share and change the works.      By
     32          - contrast, our General Public Licenses are intended to guarantee your
     33          - freedom to share and change all versions of a program--to make sure it
     34          - remains free software for all its users.
            14   + The licenses for most software and other practical works are designed
            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.   Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available


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     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.   Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.      This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                           TERMS AND CONDITIONS
            59   + TERMS AND CONDITIONS
            60   +
            61   + 0. Definitions.
     76     62
     77          -     0. Definitions.
            63   + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79          -     "This License" refers to version 3 of the GNU Affero General Public
     80          - License.
            65   + "Copyright" also means copyright-like laws that apply to other kinds of
            66   + works, such as semiconductor masks.
     81     67
     82          -     "Copyright" also means copyright-like laws that apply to other kinds
     83          - of works, such as semiconductor masks.
     84          -
     85          -     "The Program" refers to any copyrightable work licensed under this
            68   + "The Program" refers to any copyrightable work licensed under this
     86     69       License.   Each licensee is addressed as "you".   "Licensees" and
     87     70       "recipients" may be individuals or organizations.
     88     71
     89          -     To "modify" a work means to copy from or adapt all or part of the work
            72   + To "modify" a work means to copy from or adapt all or part of the work
     90     73       in a fashion requiring copyright permission, other than the making of an
     91     74       exact copy.   The resulting work is called a "modified version" of the
     92     75       earlier work or a work "based on" the earlier work.
     93     76
     94          -     A "covered work" means either the unmodified Program or a work based
            77   + A "covered work" means either the unmodified Program or a work based
     95     78       on the Program.
     96     79
     97          -     To "propagate" a work means to do anything with it that, without
            80   + To "propagate" a work means to do anything with it that, without
     98     81       permission, would make you directly or secondarily liable for
     99     82       infringement under applicable copyright law, except executing it on a
    100     83       computer or modifying a private copy.   Propagation includes copying,
    101     84       distribution (with or without modification), making available to the
    102     85       public, and in some countries other activities as well.
    103     86
    104          -     To "convey" a work means any kind of propagation that enables other
            87   + To "convey" a work means any kind of propagation that enables other
    105     88       parties to make or receive copies.   Mere interaction with a user through
    106     89       a computer network, with no transfer of a copy, is not conveying.
    107     90
    108          -     An interactive user interface displays "Appropriate Legal Notices"
            91   + An interactive user interface displays "Appropriate Legal Notices"


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                                                                                                                            N4J_019148
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    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.    "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.    However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.    This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.    The output from running a
    165     148       covered work is covered by this License only if the output, given its
    166     149       content, constitutes a covered work.    This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.    You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of


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    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".


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    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.    This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.    This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord


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                                                                                                                             N4J_019151
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.    Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.    You need not require recipients to copy the
            267   + Corresponding Source along with the object code.       If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.       Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded


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    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
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            331   + 7. Additional Terms.
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            333   + "Additional permissions" are terms that supplement the terms of this
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            342   + When you convey a copy of a covered work, you may at your option
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    365     348


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            365   + authors of the material; or
    383     366
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            367   + e) Declining to grant rights under trademark law for use of some
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            373   + any liability that these contractual assumptions directly impose on
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    392     375
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            376   + All other non-permissive additional terms are considered "further
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    402           -
    403           -     If you add terms to a covered work in accord with this section, you
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            380   + restriction, you may remove that term.    If a license document contains
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            382   + License, you may add to a covered work material governed by the terms
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            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
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    419     402
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            403   + However, if you cease all violation of this License, then your
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    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
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            425   + You are not required to accept this License in order to receive or
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    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
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    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
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    465     448       Corresponding Source of the work from the predecessor in interest, if
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    467     450
    468           -     You may not impose any further restrictions on the exercise of the
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            480   + In the following three paragraphs, a "patent license" is any express
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    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
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    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
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    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
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    524     507       work and works based on it.
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    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
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    598           -
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            587   + 15. Disclaimer of Warranty.
    605     588
    606           -     THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
            589   + THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
    607     590       APPLICABLE LAW.    EXCEPT WHEN OTHERWISE STATED IN WRITING THE COPYRIGHT
    608     591       HOLDERS AND/OR OTHER PARTIES PROVIDE THE PROGRAM "AS IS" WITHOUT WARRANTY
    609     592       OF ANY KIND, EITHER EXPRESSED OR IMPLIED, INCLUDING, BUT NOT LIMITED TO,
    612     595       IS WITH YOU.    SHOULD THE PROGRAM PROVE DEFECTIVE, YOU ASSUME THE COST OF
    613     596       ALL NECESSARY SERVICING, REPAIR OR CORRECTION.
    614     597
    615           -     16. Limitation of Liability.
            598   + 16. Limitation of Liability.
    616     599
    617           -     IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
            600   + IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
    618     601       WILL ANY COPYRIGHT HOLDER, OR ANY OTHER PARTY WHO MODIFIES AND/OR CONVEYS
    619     602       THE PROGRAM AS PERMITTED ABOVE, BE LIABLE TO YOU FOR DAMAGES, INCLUDING ANY
    620     603       GENERAL, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF THE
    624     607       EVEN IF SUCH HOLDER OR OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF
    625     608       SUCH DAMAGES.
    626     609
    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
    628     611


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             118/377
                                                                                                                             N4J_019158
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
                                                                         98-1      Filedthe12/11/20
                                                                                            fs… · graphfoundation/ongdb@c0b23b2
                                                                                                         Page 433 of 1198 · GitHub
    629           -     If the disclaimer of warranty and limitation of liability provided
            612   + If the disclaimer of warranty and limitation of liability provided
    630     613       above cannot be given local legal effect according to their terms,
    631     614       reviewing courts shall apply local law that most closely approximates
    632     615       an absolute waiver of all civil liability in connection with the
    633     616       Program, unless a warranty or assumption of liability accompanies a
    634     617       copy of the Program in return for a fee.
    635     618
    636           -                            END OF TERMS AND CONDITIONS
            619   + END OF TERMS AND CONDITIONS
    637     620
    638           -                  How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.
    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>    <name of author>
            632   + <one line to give the program's name and a brief idea of what it does.>
            633   + Copyright (C) <year>     <name of author>
    651     634
    652           -       This program is free software: you can redistribute it and/or modify
    653           -       it under the terms of the GNU Affero General Public License as
    654           -       published by the Free Software Foundation, either version 3 of the
    655           -       License, or (at your option) any later version.
            635   + This program is free software: you can redistribute it and/or modify
            636   + it under the terms of the GNU Affero General Public License as published by
            637   + the Free Software Foundation, either version 3 of the License, or
            638   + (at your option) any later version.
    656     639
    657           -       This program is distributed in the hope that it will be useful,
    658           -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659           -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.    See the
    660           -       GNU Affero General Public License for more details.
            640   + This program is distributed in the hope that it will be useful,
            641   + but WITHOUT ANY WARRANTY; without even the implied warranty of
            642   + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.      See the
            643   + GNU Affero General Public License for more details.
    661     644
    662           -       You should have received a copy of the GNU Affero General Public License
    663           -       along with this program.    If not, see <http://www.gnu.org/licenses/>.
            645   + You should have received a copy of the GNU Affero General Public License
            646   + along with this program.      If not, see <https://www.gnu.org/licenses/>.
    664     647
    665     648       Also add information on how to contact you by electronic and paper mail.
    666     649
    667           -     If your software can interact with users remotely through a computer
            650   + If your software can interact with users remotely through a computer
    668     651       network, you should also make sure that it provides a way for users to
    669     652       get its source.   For example, if your program is a web application, its
    670     653       interface could display a "Source" link that leads users to an archive
    671     654       of the code.   There are many ways you could offer source, and different
    672     655       solutions will be better for different programs; see section 13 for the
    673     656       specific requirements.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             119/377
                                                                                                                             N4J_019159
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                          Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                             Page 434 of 1198 · GitHub
    674      657
    675               -     You should also get your employer (if you work as a programmer) or school,
             658      + You should also get your employer (if you work as a programmer) or school,
    676      659          if any, to sign a "copyright disclaimer" for the program, if necessary.
    677      660          For more information on this, and how to apply and follow the GNU AGPL, see
    678               - <http://www.gnu.org/licenses/>.
    679               -
    680               -
    681               - "Commons Clause" License Condition
    682               -
    683               - The Software is provided to you by the Licensor under the License, as
    684               - defined below, subject to the following condition. Without limiting
    685               - other conditions in the License, the grant of rights under the License
    686               - will not include, and the License does not grant to you, the right to
    687               - Sell the Software.    For purposes of the foregoing, "Sell" means
    688               - practicing any or all of the rights granted to you under the License
    689               - to provide to third parties, for a fee or other consideration,
    690               - a product or service that consists, entirely or substantially,
    691               - of the Software or the functionality of the Software. Any license
    692               - notice or attribution required by the License must also include
    693               - this Commons Cause License Condition notice.
             661      + <https://www.gnu.org/licenses/>.



            486            enterprise/cypher/cypher/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

      1               - NOTICE
      2               - This package contains software licensed under different
      3               - licenses, please refer to the NOTICE.txt file for further
      4               - information and LICENSES.txt for full license texts.
                  1   + GNU AFFERO GENERAL PUBLIC LICENSE
                  2   +     Version 3, 19 November 2007
      5           3
      6               - Neo4j Enterprise object code can be licensed independently from
      7               - the source under separate commercial terms. Email inquiries can be
      8               - directed to: licensing@neo4j.com. More information is also
      9               - available at:https://neo4j.com/licensing/
                  4   + Copyright (C) 2007 Free Software Foundation, Inc. <https://fsf.org/>
                  5   + Everyone is permitted to copy and distribute verbatim copies
                  6   + of this license document, but changing it is not allowed.
     10           7
     11               - The software ("Software") is developed and owned by Neo4j Sweden AB
     12               - (referred to in this notice as “Neo4j”) and is subject to the terms
     13               - of the GNU AFFERO GENERAL PUBLIC LICENSE Version 3, with the Commons Clause as follows:
                  8   + Preamble
     14           9
     15               -
     16               -
     17               -                       GNU AFFERO GENERAL PUBLIC LICENSE
     18               -                          Version 3, 19 November 2007
     19               -
     20               -    Copyright (C) 2007 Free Software Foundation, Inc. <http://fsf.org/>
     21               -    Everyone is permitted to copy and distribute verbatim copies
     22               -    of this license document, but changing it is not allowed.
     23               -
     24               -                               Preamble
     25               -
     26               -     The GNU Affero General Public License is a free, copyleft license
     27               - for software and other kinds of works, specifically designed to ensure
              10      + The GNU Affero General Public License is a free, copyleft license for
              11      + software and other kinds of works, specifically designed to ensure
     28       12          cooperation with the community in the case of network server software.
     29       13


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                                 120/377
                                                                                                                                 N4J_019160
10/2/2019                  Updated the LICENSE.txt file toDocument
                     Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                        Page 435 of 1198 · GitHub
     30          -     The licenses for most software and other practical works are
     31          - designed to take away your freedom to share and change the works.       By
     32          - contrast, our General Public Licenses are intended to guarantee your
     33          - freedom to share and change all versions of a program--to make sure it
     34          - remains free software for all its users.
            14   + The licenses for most software and other practical works are designed
            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.    Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.    Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.     This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                            TERMS AND CONDITIONS
            59   + TERMS AND CONDITIONS
            60   +
            61   + 0. Definitions.
     76     62
     77          -     0. Definitions.
            63   + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79          -     "This License" refers to version 3 of the GNU Affero General Public
     80          - License.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                            121/377
                                                                                                                            N4J_019161
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
                                                                         98-1      Filedthe12/11/20
                                                                                            fs… · graphfoundation/ongdb@c0b23b2
                                                                                                         Page 436 of 1198 · GitHub
            65    + "Copyright" also means copyright-like laws that apply to other kinds of
            66    + works, such as semiconductor masks.
     81     67
     82           -     "Copyright" also means copyright-like laws that apply to other kinds
     83           - of works, such as semiconductor masks.
     84           -
     85           -     "The Program" refers to any copyrightable work licensed under this
            68    + "The Program" refers to any copyrightable work licensed under this
     86     69        License.   Each licensee is addressed as "you".   "Licensees" and
     87     70        "recipients" may be individuals or organizations.
     88     71
     89           -     To "modify" a work means to copy from or adapt all or part of the work
            72    + To "modify" a work means to copy from or adapt all or part of the work
     90     73        in a fashion requiring copyright permission, other than the making of an
     91     74        exact copy.   The resulting work is called a "modified version" of the
     92     75        earlier work or a work "based on" the earlier work.
     93     76
     94           -     A "covered work" means either the unmodified Program or a work based
            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
     96     79
     97           -     To "propagate" a work means to do anything with it that, without
            80    + To "propagate" a work means to do anything with it that, without
     98     81        permission, would make you directly or secondarily liable for
     99     82        infringement under applicable copyright law, except executing it on a
    100     83        computer or modifying a private copy.   Propagation includes copying,
    101     84        distribution (with or without modification), making available to the
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.   Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.   "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             122/377
                                                                                                                             N4J_019162
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
                                                                         98-1      Filedthe12/11/20
                                                                                            fs… · graphfoundation/ongdb@c0b23b2
                                                                                                         Page 437 of 1198 · GitHub
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.     However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.     This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.     The output from running a
    165     148       covered work is covered by this License only if the output, given its
    166     149       content, constitutes a covered work.     This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.    You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             123/377
                                                                                                                             N4J_019163
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
                                                                         98-1      Filedthe12/11/20
                                                                                            fs… · graphfoundation/ongdb@c0b23b2
                                                                                                         Page 438 of 1198 · GitHub
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             124/377
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                                                                                            fs… · graphfoundation/ongdb@c0b23b2
                                                                                                         Page 439 of 1198 · GitHub
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             125/377
                                                                                                                             N4J_019165
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            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).


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    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.       Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
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    366           -     Notwithstanding any other provision of this License, for material you
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    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
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            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
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            361   + requiring that modified versions of such material be marked in
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    381           -         d) Limiting the use for publicity purposes of names of licensors or
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            365   + authors of the material; or
    383     366
    384           -       e) Declining to grant rights under trademark law for use of some
    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
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    388           -       material by anyone who conveys the material (or modified versions of
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            371   + material by anyone who conveys the material (or modified versions of
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            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
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    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
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    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.     If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.     If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.   Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
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    422     405       provisionally, unless and until the copyright holder explicitly and
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    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
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    434           -     Termination of your rights under this section does not terminate the
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    436     419       this License.    If your rights have been terminated and not permanently
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    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
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            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
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    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
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    456     439       for enforcing compliance by third parties with this License.
    457     440
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            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.    If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
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    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
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    473     456       any patent claim is infringed by making, using, selling, offering for
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    476           -     11. Patents.
            459   + 11. Patents.
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    478           -     A "contributor" is a copyright holder who authorizes use under this
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    479     462       License of the Program or a work on which the Program is based.     The
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    481     464
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            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
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    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
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    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
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    528     511       conditioned on the non-exercise of one or more of the rights that are
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    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.
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    541           -     Nothing in this License shall be construed as excluding or limiting
            524   + Nothing in this License shall be construed as excluding or limiting
    542     525       any implied license or other defenses to infringement that may
    543     526       otherwise be available to you under applicable patent law.
    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529
    547           -     If conditions are imposed on you (whether by court order, agreement or
            530   + If conditions are imposed on you (whether by court order, agreement or
    548     531       otherwise) that contradict the conditions of this License, they do not
    549     532       excuse you from the conditions of this License.   If you cannot convey a
    550     533       covered work so as to satisfy simultaneously your obligations under this
    554     537       the Program, the only way you could satisfy both those terms and this
    555     538       License would be to refrain entirely from conveying the Program.
    556     539
    557           -     13. Remote Network Interaction; Use with the GNU General Public License.


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            540   + 13. Remote Network Interaction; Use with the GNU General Public License.
    558     541
    559           -     Notwithstanding any other provision of this License, if you modify the
            542   + Notwithstanding any other provision of this License, if you modify the
    560     543       Program, your modified version must prominently offer all users
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    585           -     Each version is given a distinguishing version number.    If the
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    591           - of the GNU Affero General Public License, you may choose any version
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    593           -
    594           -     If the Program specifies that a proxy can decide which future
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    596           - proxy's public statement of acceptance of a version permanently
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            576   +
            577   + If the Program specifies that a proxy can decide which future
            578   + versions of the GNU Affero General Public License can be used, that proxy's
            579   + public statement of acceptance of a version permanently authorizes you
            580   + to choose that version for the Program.
            581   +
            582   + Later license versions may give you additional or different
    600     583       permissions.    However, no additional obligations are imposed on any
    601     584       author or copyright holder as a result of your choosing to follow a
    602     585       later version.
    603     586
    604           -     15. Disclaimer of Warranty.
            587   + 15. Disclaimer of Warranty.
    605     588
    606           -     THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
            589   + THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
    607     590       APPLICABLE LAW.    EXCEPT WHEN OTHERWISE STATED IN WRITING THE COPYRIGHT
    608     591       HOLDERS AND/OR OTHER PARTIES PROVIDE THE PROGRAM "AS IS" WITHOUT WARRANTY
    609     592       OF ANY KIND, EITHER EXPRESSED OR IMPLIED, INCLUDING, BUT NOT LIMITED TO,
    612     595       IS WITH YOU.    SHOULD THE PROGRAM PROVE DEFECTIVE, YOU ASSUME THE COST OF
    613     596       ALL NECESSARY SERVICING, REPAIR OR CORRECTION.
    614     597
    615           -     16. Limitation of Liability.
            598   + 16. Limitation of Liability.
    616     599
    617           -     IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
            600   + IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
    618     601       WILL ANY COPYRIGHT HOLDER, OR ANY OTHER PARTY WHO MODIFIES AND/OR CONVEYS
    619     602       THE PROGRAM AS PERMITTED ABOVE, BE LIABLE TO YOU FOR DAMAGES, INCLUDING ANY
    620     603       GENERAL, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF THE
    624     607       EVEN IF SUCH HOLDER OR OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF
    625     608       SUCH DAMAGES.
    626     609
    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
    628     611
    629           -     If the disclaimer of warranty and limitation of liability provided
            612   + If the disclaimer of warranty and limitation of liability provided
    630     613       above cannot be given local legal effect according to their terms,
    631     614       reviewing courts shall apply local law that most closely approximates
    632     615       an absolute waiver of all civil liability in connection with the
    633     616       Program, unless a warranty or assumption of liability accompanies a
    634     617       copy of the Program in return for a fee.
    635     618
    636           -                           END OF TERMS AND CONDITIONS
            619   + END OF TERMS AND CONDITIONS
    637     620
    638           -                   How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.
    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>    <name of author>


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             132/377
                                                                                                                             N4J_019172
10/2/2019                    Updated the LICENSE.txt file toDocument
                       Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                          Page 447 of 1198 · GitHub
             632   + <one line to give the program's name and a brief idea of what it does.>
             633   + Copyright (C) <year>     <name of author>
    651      634
    652            -       This program is free software: you can redistribute it and/or modify
    653            -       it under the terms of the GNU Affero General Public License as
    654            -       published by the Free Software Foundation, either version 3 of the
    655            -       License, or (at your option) any later version.
             635   + This program is free software: you can redistribute it and/or modify
             636   + it under the terms of the GNU Affero General Public License as published by
             637   + the Free Software Foundation, either version 3 of the License, or
             638   + (at your option) any later version.
    656      639
    657            -       This program is distributed in the hope that it will be useful,
    658            -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659            -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.   See the
    660            -       GNU Affero General Public License for more details.
             640   + This program is distributed in the hope that it will be useful,
             641   + but WITHOUT ANY WARRANTY; without even the implied warranty of
             642   + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.     See the
             643   + GNU Affero General Public License for more details.
    661      644
    662            -       You should have received a copy of the GNU Affero General Public License
    663            -       along with this program.   If not, see <http://www.gnu.org/licenses/>.
             645   + You should have received a copy of the GNU Affero General Public License
             646   + along with this program.     If not, see <https://www.gnu.org/licenses/>.
    664      647
    665      648       Also add information on how to contact you by electronic and paper mail.
    666      649
    667            -     If your software can interact with users remotely through a computer
             650   + If your software can interact with users remotely through a computer
    668      651       network, you should also make sure that it provides a way for users to
    669      652       get its source.   For example, if your program is a web application, its
    670      653       interface could display a "Source" link that leads users to an archive
    671      654       of the code.   There are many ways you could offer source, and different
    672      655       solutions will be better for different programs; see section 13 for the
    673      656       specific requirements.
    674      657
    675            -     You should also get your employer (if you work as a programmer) or school,
             658   + You should also get your employer (if you work as a programmer) or school,
    676      659       if any, to sign a "copyright disclaimer" for the program, if necessary.
    677      660       For more information on this, and how to apply and follow the GNU AGPL, see
    678            - <http://www.gnu.org/licenses/>.
    679            -
    680            -
    681            - "Commons Clause" License Condition
    682            -
    683            - The Software is provided to you by the Licensor under the License, as
    684            - defined below, subject to the following condition. Without limiting
    685            - other conditions in the License, the grant of rights under the License
    686            - will not include, and the License does not grant to you, the right to
    687            - Sell the Software.    For purposes of the foregoing, "Sell" means
    688            - practicing any or all of the rights granted to you under the License
    689            - to provide to third parties, for a fee or other consideration,
    690            - a product or service that consists, entirely or substantially,
    691            - of the Software or the functionality of the Software. Any license
    692            - notice or attribution required by the License must also include
    693            - this Commons Cause License Condition notice.
             661   + <https://www.gnu.org/licenses/>.



            486         enterprise/cypher/morsel-runtime/LICENSE.txt


    ...      ...   @@ -1,51 +1,35 @@

      1            - NOTICE


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                              133/377
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                     Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                        Page 448 of 1198 · GitHub
      2          - This package contains software licensed under different
      3          - licenses, please refer to the NOTICE.txt file for further
      4          - information and LICENSES.txt for full license texts.
            1    + GNU AFFERO GENERAL PUBLIC LICENSE
            2    +     Version 3, 19 November 2007
      5     3
      6          - Neo4j Enterprise object code can be licensed independently from
      7          - the source under separate commercial terms. Email inquiries can be
      8          - directed to: licensing@neo4j.com. More information is also
      9          - available at:https://neo4j.com/licensing/
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     11          - The software ("Software") is developed and owned by Neo4j Sweden AB
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            8    + Preamble
     14     9
     15          -
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     19          -
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     24          -                                 Preamble
     25          -
     26          -     The GNU Affero General Public License is a free, copyleft license
     27          - for software and other kinds of works, specifically designed to ensure
            10   + The GNU Affero General Public License is a free, copyleft license for
            11   + software and other kinds of works, specifically designed to ensure
     28     12       cooperation with the community in the case of network server software.
     29     13
     30          -     The licenses for most software and other practical works are
     31          - designed to take away your freedom to share and change the works.      By
     32          - contrast, our General Public Licenses are intended to guarantee your
     33          - freedom to share and change all versions of a program--to make sure it
     34          - remains free software for all its users.
            14   + The licenses for most software and other practical works are designed
            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that


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                                                                                                                            N4J_019174
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                     Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                        Page 449 of 1198 · GitHub
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.    Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.    It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.    Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.       This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                            TERMS AND CONDITIONS
            59   + TERMS AND CONDITIONS
            60   +
            61   + 0. Definitions.
     76     62
     77          -     0. Definitions.
            63   + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79          -     "This License" refers to version 3 of the GNU Affero General Public
     80          - License.
            65   + "Copyright" also means copyright-like laws that apply to other kinds of
            66   + works, such as semiconductor masks.
     81     67
     82          -     "Copyright" also means copyright-like laws that apply to other kinds
     83          - of works, such as semiconductor masks.
     84          -
     85          -     "The Program" refers to any copyrightable work licensed under this
            68   + "The Program" refers to any copyrightable work licensed under this
     86     69       License.   Each licensee is addressed as "you".   "Licensees" and
     87     70       "recipients" may be individuals or organizations.
     88     71
     89          -     To "modify" a work means to copy from or adapt all or part of the work
            72   + To "modify" a work means to copy from or adapt all or part of the work
     90     73       in a fashion requiring copyright permission, other than the making of an
     91     74       exact copy.    The resulting work is called a "modified version" of the
     92     75       earlier work or a work "based on" the earlier work.
     93     76
     94          -     A "covered work" means either the unmodified Program or a work based
            77   + A "covered work" means either the unmodified Program or a work based
     95     78       on the Program.
     96     79
     97          -     To "propagate" a work means to do anything with it that, without
            80   + To "propagate" a work means to do anything with it that, without
     98     81       permission, would make you directly or secondarily liable for
     99     82       infringement under applicable copyright law, except executing it on a
    100     83       computer or modifying a private copy.    Propagation includes copying,
    101     84       distribution (with or without modification), making available to the


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                                                                                                                            N4J_019175
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                                                                                                         Page 450 of 1198 · GitHub
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.   Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.   "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.   However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.   This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.   The output from running a
    165     148       covered work is covered by this License only if the output, given its


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                                                                                                                             N4J_019176
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    166     149       content, constitutes a covered work.   This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.   You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.   Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.


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                                                                                                                             N4J_019177
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                                                                                                         Page 452 of 1198 · GitHub
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical


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                                                                                                                             N4J_019178
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    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.    This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.    Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.    You need not require recipients to copy the
            267   + Corresponding Source along with the object code.       If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.       Regardless of what server hosts the


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            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.   Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
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    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.


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    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
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    366           -     Notwithstanding any other provision of this License, for material you
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            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
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    373           -         b) Requiring preservation of specified reasonable legal notices or
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    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
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    378           -         requiring that modified versions of such material be marked in
    379           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
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            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
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    385           -         trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -         f) Requiring indemnification of licensors and authors of that
    388           -         material by anyone who conveys the material (or modified versions of
    389           -         it) with contractual assumptions of liability to the recipient, for
    390           -         any liability that these contractual assumptions directly impose on
    391           -         those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
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    395     378       received it, or any part of it, contains a notice stating that it is
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    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.     If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.    Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
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    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
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    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
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    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
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    432     415       your receipt of the notice.
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    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
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    436     419       this License.   If your rights have been terminated and not permanently
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    438     421       material under section 10.
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            423   + 9. Acceptance Not Required for Having Copies.
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            425   + You are not required to accept this License in order to receive or
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    448     431       not accept this License.    Therefore, by modifying or propagating a
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    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.    You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.   If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
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    475     458
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            459   + 11. Patents.
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            465   + A contributor's "essential patent claims" are all patent claims
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            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
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    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
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    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
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    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
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            528   + 12. No Surrender of Others' Freedom.
    546     529
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    568     551       following paragraph.
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            566   + address new problems or concerns.
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            568   + Each version is given a distinguishing version number.      If the
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            571   + option of following the terms and conditions either of that numbered
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            575   + by the Free Software Foundation.
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            577   + If the Program specifies that a proxy can decide which future
            578   + versions of the GNU Affero General Public License can be used, that proxy's
            579   + public statement of acceptance of a version permanently authorizes you
            580   + to choose that version for the Program.
            581   +
            582   + Later license versions may give you additional or different
    600     583       permissions.    However, no additional obligations are imposed on any
    601     584       author or copyright holder as a result of your choosing to follow a
    602     585       later version.
    603     586
    604           -     15. Disclaimer of Warranty.
            587   + 15. Disclaimer of Warranty.
    605     588
    606           -     THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
            589   + THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
    607     590       APPLICABLE LAW.    EXCEPT WHEN OTHERWISE STATED IN WRITING THE COPYRIGHT
    608     591       HOLDERS AND/OR OTHER PARTIES PROVIDE THE PROGRAM "AS IS" WITHOUT WARRANTY
    609     592       OF ANY KIND, EITHER EXPRESSED OR IMPLIED, INCLUDING, BUT NOT LIMITED TO,
    612     595       IS WITH YOU.    SHOULD THE PROGRAM PROVE DEFECTIVE, YOU ASSUME THE COST OF
    613     596       ALL NECESSARY SERVICING, REPAIR OR CORRECTION.
    614     597
    615           -     16. Limitation of Liability.
            598   + 16. Limitation of Liability.
    616     599
    617           -     IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
            600   + IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             145/377
                                                                                                                             N4J_019185
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                            fs… · graphfoundation/ongdb@c0b23b2
                                                                                                         Page 460 of 1198 · GitHub
    618     601       WILL ANY COPYRIGHT HOLDER, OR ANY OTHER PARTY WHO MODIFIES AND/OR CONVEYS
    619     602       THE PROGRAM AS PERMITTED ABOVE, BE LIABLE TO YOU FOR DAMAGES, INCLUDING ANY
    620     603       GENERAL, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF THE
    624     607       EVEN IF SUCH HOLDER OR OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF
    625     608       SUCH DAMAGES.
    626     609
    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
    628     611
    629           -     If the disclaimer of warranty and limitation of liability provided
            612   + If the disclaimer of warranty and limitation of liability provided
    630     613       above cannot be given local legal effect according to their terms,
    631     614       reviewing courts shall apply local law that most closely approximates
    632     615       an absolute waiver of all civil liability in connection with the
    633     616       Program, unless a warranty or assumption of liability accompanies a
    634     617       copy of the Program in return for a fee.
    635     618
    636           -                           END OF TERMS AND CONDITIONS
            619   + END OF TERMS AND CONDITIONS
    637     620
    638           -                   How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.
    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>    <name of author>
            632   + <one line to give the program's name and a brief idea of what it does.>
            633   + Copyright (C) <year>      <name of author>
    651     634
    652           -       This program is free software: you can redistribute it and/or modify
    653           -       it under the terms of the GNU Affero General Public License as
    654           -       published by the Free Software Foundation, either version 3 of the
    655           -       License, or (at your option) any later version.
            635   + This program is free software: you can redistribute it and/or modify
            636   + it under the terms of the GNU Affero General Public License as published by
            637   + the Free Software Foundation, either version 3 of the License, or
            638   + (at your option) any later version.
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    657           -       This program is distributed in the hope that it will be useful,
    658           -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659           -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.    See the
    660           -       GNU Affero General Public License for more details.
            640   + This program is distributed in the hope that it will be useful,
            641   + but WITHOUT ANY WARRANTY; without even the implied warranty of
            642   + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.      See the
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    662           -       You should have received a copy of the GNU Affero General Public License
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    664     647
    665     648       Also add information on how to contact you by electronic and paper mail.


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                                                                                                                             N4J_019186
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                                                                                                             Page 461 of 1198 · GitHub
    666      649
    667               -     If your software can interact with users remotely through a computer
             650      + If your software can interact with users remotely through a computer
    668      651          network, you should also make sure that it provides a way for users to
    669      652          get its source.   For example, if your program is a web application, its
    670      653          interface could display a "Source" link that leads users to an archive
    671      654          of the code.   There are many ways you could offer source, and different
    672      655          solutions will be better for different programs; see section 13 for the
    673      656          specific requirements.
    674      657
    675               -     You should also get your employer (if you work as a programmer) or school,
             658      + You should also get your employer (if you work as a programmer) or school,
    676      659          if any, to sign a "copyright disclaimer" for the program, if necessary.
    677      660          For more information on this, and how to apply and follow the GNU AGPL, see
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    679               -
    680               -
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    687               - Sell the Software.    For purposes of the foregoing, "Sell" means
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    691               - of the Software or the functionality of the Software. Any license
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    693               - this Commons Cause License Condition notice.
             661      + <https://www.gnu.org/licenses/>.



            486            enterprise/cypher/physical-planning/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

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     23          -
     24          -                                 Preamble
     25          -
     26          -     The GNU Affero General Public License is a free, copyleft license
     27          - for software and other kinds of works, specifically designed to ensure
            10   + The GNU Affero General Public License is a free, copyleft license for
            11   + software and other kinds of works, specifically designed to ensure
     28     12       cooperation with the community in the case of network server software.
     29     13
     30          -     The licenses for most software and other practical works are
     31          - designed to take away your freedom to share and change the works.       By
     32          - contrast, our General Public Licenses are intended to guarantee your
     33          - freedom to share and change all versions of a program--to make sure it
     34          - remains free software for all its users.
            14   + The licenses for most software and other practical works are designed
            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.    Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.    Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.     This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                            TERMS AND CONDITIONS


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                                                                                                                            N4J_019188
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                                                                                                         Page 463 of 1198 · GitHub
            59    + TERMS AND CONDITIONS
            60    +
            61    + 0. Definitions.
     76     62
     77           -     0. Definitions.
            63    + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79           -     "This License" refers to version 3 of the GNU Affero General Public
     80           - License.
            65    + "Copyright" also means copyright-like laws that apply to other kinds of
            66    + works, such as semiconductor masks.
     81     67
     82           -     "Copyright" also means copyright-like laws that apply to other kinds
     83           - of works, such as semiconductor masks.
     84           -
     85           -     "The Program" refers to any copyrightable work licensed under this
            68    + "The Program" refers to any copyrightable work licensed under this
     86     69        License.   Each licensee is addressed as "you".   "Licensees" and
     87     70        "recipients" may be individuals or organizations.
     88     71
     89           -     To "modify" a work means to copy from or adapt all or part of the work
            72    + To "modify" a work means to copy from or adapt all or part of the work
     90     73        in a fashion requiring copyright permission, other than the making of an
     91     74        exact copy.   The resulting work is called a "modified version" of the
     92     75        earlier work or a work "based on" the earlier work.
     93     76
     94           -     A "covered work" means either the unmodified Program or a work based
            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
     96     79
     97           -     To "propagate" a work means to do anything with it that, without
            80    + To "propagate" a work means to do anything with it that, without
     98     81        permission, would make you directly or secondarily liable for
     99     82        infringement under applicable copyright law, except executing it on a
    100     83        computer or modifying a private copy.   Propagation includes copying,
    101     84        distribution (with or without modification), making available to the
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.   Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.   "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that


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    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.     However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
    163     146       conditions are met.     This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.     The output from running a
    165     148       covered work is covered by this License only if the output, given its
    166     149       content, constitutes a covered work.     This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.    You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid


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            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive


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    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             152/377
                                                                                                                             N4J_019192
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    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because


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    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or


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    378           -       requiring that modified versions of such material be marked in
    379           -       reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -       d) Limiting the use for publicity purposes of names of licensors or
    382           -       authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -       e) Declining to grant rights under trademark law for use of some
    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -       f) Requiring indemnification of licensors and authors of that
    388           -       material by anyone who conveys the material (or modified versions of
    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.     If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.    If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.    If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.   Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under


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    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.    If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.    For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458


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    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
    528     511       conditioned on the non-exercise of one or more of the rights that are
    529     512       specifically granted under this License.   You may not convey a covered
    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.
    540     523
    541           -     Nothing in this License shall be construed as excluding or limiting
            524   + Nothing in this License shall be construed as excluding or limiting
    542     525       any implied license or other defenses to infringement that may
    543     526       otherwise be available to you under applicable patent law.
    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529


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    547           -     If conditions are imposed on you (whether by court order, agreement or
            530   + If conditions are imposed on you (whether by court order, agreement or
    548     531       otherwise) that contradict the conditions of this License, they do not
    549     532       excuse you from the conditions of this License.   If you cannot convey a
    550     533       covered work so as to satisfy simultaneously your obligations under this
    554     537       the Program, the only way you could satisfy both those terms and this
    555     538       License would be to refrain entirely from conveying the Program.
    556     539
    557           -     13. Remote Network Interaction; Use with the GNU General Public License.
            540   + 13. Remote Network Interaction; Use with the GNU General Public License.
    558     541
    559           -     Notwithstanding any other provision of this License, if you modify the
            542   + Notwithstanding any other provision of this License, if you modify the
    560     543       Program, your modified version must prominently offer all users
    561     544       interacting with it remotely through a computer network (if your version
    562     545       supports such interaction) an opportunity to receive the Corresponding
    567     550       of the GNU General Public License that is incorporated pursuant to the
    568     551       following paragraph.
    569     552
    570           -     Notwithstanding any other provision of this License, you have permission
    571           - to link or combine any covered work with a work licensed under version 3
    572           - of the GNU General Public License into a single combined work, and to
    573           - convey the resulting work.     The terms of this License will continue to
    574           - apply to the part which is the covered work, but the work with which it is
    575           - combined will remain governed by version 3 of the GNU General Public
    576           - License.
    577           -
    578           -     14. Revised Versions of this License.
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    580           -     The Free Software Foundation may publish revised and/or new versions of
    581           - the GNU Affero General Public License from time to time.     Such new
    582           - versions will be similar in spirit to the present version, but may differ
    583           - in detail to address new problems or concerns.
    584           -
    585           -     Each version is given a distinguishing version number.   If the
    586           - Program specifies that a certain numbered version of the GNU Affero
    587           - General Public License "or any later version" applies to it, you have
    588           - the option of following the terms and conditions either of that
    589           - numbered version or of any later version published by the Free
    590           - Software Foundation.     If the Program does not specify a version number
    591           - of the GNU Affero General Public License, you may choose any version
    592           - ever published by the Free Software Foundation.
    593           -
    594           -     If the Program specifies that a proxy can decide which future
    595           - versions of the GNU Affero General Public License can be used, that
    596           - proxy's public statement of acceptance of a version permanently
    597           - authorizes you to choose that version for the Program.
    598           -
    599           -     Later license versions may give you additional or different
            553   + Notwithstanding any other provision of this License, you have
            554   + permission to link or combine any covered work with a work licensed
            555   + under version 3 of the GNU General Public License into a single
            556   + combined work, and to convey the resulting work.    The terms of this
            557   + License will continue to apply to the part which is the covered work,
            558   + but the work with which it is combined will remain governed by version
            559   + 3 of the GNU General Public License.
            560   +
            561   + 14. Revised Versions of this License.
            562   +
            563   + The Free Software Foundation may publish revised and/or new versions of
            564   + the GNU Affero General Public License from time to time.     Such new versions
            565   + will be similar in spirit to the present version, but may differ in detail to
            566   + address new problems or concerns.


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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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            567   +
            568   + Each version is given a distinguishing version number.      If the
            569   + Program specifies that a certain numbered version of the GNU Affero General
            570   + Public License "or any later version" applies to it, you have the
            571   + option of following the terms and conditions either of that numbered
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            573   + Foundation.      If the Program does not specify a version number of the
            574   + GNU Affero General Public License, you may choose any version ever published
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            577   + If the Program specifies that a proxy can decide which future
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            579   + public statement of acceptance of a version permanently authorizes you
            580   + to choose that version for the Program.
            581   +
            582   + Later license versions may give you additional or different
    600     583       permissions.    However, no additional obligations are imposed on any
    601     584       author or copyright holder as a result of your choosing to follow a
    602     585       later version.
    603     586
    604           -     15. Disclaimer of Warranty.
            587   + 15. Disclaimer of Warranty.
    605     588
    606           -     THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
            589   + THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
    607     590       APPLICABLE LAW.    EXCEPT WHEN OTHERWISE STATED IN WRITING THE COPYRIGHT
    608     591       HOLDERS AND/OR OTHER PARTIES PROVIDE THE PROGRAM "AS IS" WITHOUT WARRANTY
    609     592       OF ANY KIND, EITHER EXPRESSED OR IMPLIED, INCLUDING, BUT NOT LIMITED TO,
    612     595       IS WITH YOU.    SHOULD THE PROGRAM PROVE DEFECTIVE, YOU ASSUME THE COST OF
    613     596       ALL NECESSARY SERVICING, REPAIR OR CORRECTION.
    614     597
    615           -     16. Limitation of Liability.
            598   + 16. Limitation of Liability.
    616     599
    617           -     IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
            600   + IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
    618     601       WILL ANY COPYRIGHT HOLDER, OR ANY OTHER PARTY WHO MODIFIES AND/OR CONVEYS
    619     602       THE PROGRAM AS PERMITTED ABOVE, BE LIABLE TO YOU FOR DAMAGES, INCLUDING ANY
    620     603       GENERAL, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF THE
    624     607       EVEN IF SUCH HOLDER OR OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF
    625     608       SUCH DAMAGES.
    626     609
    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
    628     611
    629           -     If the disclaimer of warranty and limitation of liability provided
            612   + If the disclaimer of warranty and limitation of liability provided
    630     613       above cannot be given local legal effect according to their terms,
    631     614       reviewing courts shall apply local law that most closely approximates
    632     615       an absolute waiver of all civil liability in connection with the
    633     616       Program, unless a warranty or assumption of liability accompanies a
    634     617       copy of the Program in return for a fee.
    635     618
    636           -                           END OF TERMS AND CONDITIONS
            619   + END OF TERMS AND CONDITIONS
    637     620
    638           -                   How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             159/377
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    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>   <name of author>
            632   + <one line to give the program's name and a brief idea of what it does.>
            633   + Copyright (C) <year>     <name of author>
    651     634
    652           -       This program is free software: you can redistribute it and/or modify
    653           -       it under the terms of the GNU Affero General Public License as
    654           -       published by the Free Software Foundation, either version 3 of the
    655           -       License, or (at your option) any later version.
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            636   + it under the terms of the GNU Affero General Public License as published by
            637   + the Free Software Foundation, either version 3 of the License, or
            638   + (at your option) any later version.
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    658           -       but WITHOUT ANY WARRANTY; without even the implied warranty of
    659           -       MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.    See the
    660           -       GNU Affero General Public License for more details.
            640   + This program is distributed in the hope that it will be useful,
            641   + but WITHOUT ANY WARRANTY; without even the implied warranty of
            642   + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.     See the
            643   + GNU Affero General Public License for more details.
    661     644
    662           -       You should have received a copy of the GNU Affero General Public License
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            645   + You should have received a copy of the GNU Affero General Public License
            646   + along with this program.     If not, see <https://www.gnu.org/licenses/>.
    664     647
    665     648       Also add information on how to contact you by electronic and paper mail.
    666     649
    667           -     If your software can interact with users remotely through a computer
            650   + If your software can interact with users remotely through a computer
    668     651       network, you should also make sure that it provides a way for users to
    669     652       get its source.   For example, if your program is a web application, its
    670     653       interface could display a "Source" link that leads users to an archive
    671     654       of the code.   There are many ways you could offer source, and different
    672     655       solutions will be better for different programs; see section 13 for the
    673     656       specific requirements.
    674     657
    675           -     You should also get your employer (if you work as a programmer) or school,
            658   + You should also get your employer (if you work as a programmer) or school,
    676     659       if any, to sign a "copyright disclaimer" for the program, if necessary.
    677     660       For more information on this, and how to apply and follow the GNU AGPL, see
    678           - <http://www.gnu.org/licenses/>.
    679           -
    680           -
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    690           - a product or service that consists, entirely or substantially,


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    692               - notice or attribution required by the License must also include
    693               - this Commons Cause License Condition notice.
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            486            enterprise/cypher/slotted-runtime/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

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     26               -     The GNU Affero General Public License is a free, copyleft license
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              10      + The GNU Affero General Public License is a free, copyleft license for
              11      + software and other kinds of works, specifically designed to ensure
     28       12          cooperation with the community in the case of network server software.
     29       13
     30               -     The licenses for most software and other practical works are
     31               - designed to take away your freedom to share and change the works.      By
     32               - contrast, our General Public Licenses are intended to guarantee your
     33               - freedom to share and change all versions of a program--to make sure it
     34               - remains free software for all its users.
              14      + The licenses for most software and other practical works are designed
              15      + to take away your freedom to share and change the works.      By contrast,
              16      + our General Public Licenses are intended to guarantee your freedom to
              17      + share and change all versions of a program--to make sure it remains free
              18      + software for all its users.
     35       19
     36               -     When we speak of free software, we are referring to freedom, not
              20      + When we speak of free software, we are referring to freedom, not
     37       21          price.   Our General Public Licenses are designed to make sure that you
     38       22          have the freedom to distribute copies of free software (and charge for
     39       23          them if you wish), that you receive source code or can get it if you
     40       24          want it, that you can change the software or use pieces of it in new
     41       25          free programs, and that you know you can do these things.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                                 161/377
                                                                                                                                 N4J_019201
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     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.    Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.    Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.      This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                            TERMS AND CONDITIONS
            59   + TERMS AND CONDITIONS
            60   +
            61   + 0. Definitions.
     76     62
     77          -     0. Definitions.
            63   + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79          -     "This License" refers to version 3 of the GNU Affero General Public
     80          - License.
            65   + "Copyright" also means copyright-like laws that apply to other kinds of
            66   + works, such as semiconductor masks.
     81     67
     82          -     "Copyright" also means copyright-like laws that apply to other kinds
     83          - of works, such as semiconductor masks.
     84          -
     85          -     "The Program" refers to any copyrightable work licensed under this
            68   + "The Program" refers to any copyrightable work licensed under this
     86     69       License.   Each licensee is addressed as "you".   "Licensees" and
     87     70       "recipients" may be individuals or organizations.
     88     71
     89          -     To "modify" a work means to copy from or adapt all or part of the work
            72   + To "modify" a work means to copy from or adapt all or part of the work
     90     73       in a fashion requiring copyright permission, other than the making of an
     91     74       exact copy.    The resulting work is called a "modified version" of the
     92     75       earlier work or a work "based on" the earlier work.
     93     76
     94          -     A "covered work" means either the unmodified Program or a work based


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                                                                                                                            N4J_019202
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                                                                                                         Page 477 of 1198 · GitHub
            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
     96     79
     97           -     To "propagate" a work means to do anything with it that, without
            80    + To "propagate" a work means to do anything with it that, without
     98     81        permission, would make you directly or secondarily liable for
     99     82        infringement under applicable copyright law, except executing it on a
    100     83        computer or modifying a private copy.   Propagation includes copying,
    101     84        distribution (with or without modification), making available to the
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.   Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.   "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.   However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141


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                                                                                                                             N4J_019203
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    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
    162     145       copyright on the Program, and are irrevocable provided the stated
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    164     147       permission to run the unmodified Program.     The output from running a
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    166     149       content, constitutes a covered work.     This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.   You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197


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    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
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            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             165/377
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    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.    This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             166/377
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            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.


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            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or
    378           -         requiring that modified versions of such material be marked in
    379           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -         d) Limiting the use for publicity purposes of names of licensors or
    382           -         authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -         e) Declining to grant rights under trademark law for use of some
    385           -         trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -         f) Requiring indemnification of licensors and authors of that
    388           -         material by anyone who conveys the material (or modified versions of
    389           -         it) with contractual assumptions of liability to the recipient, for
    390           -         any liability that these contractual assumptions directly impose on
    391           -         those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375


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    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.    If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.      If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.      If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.    Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.


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            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.   Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.   However,
    448     431       not accept this License.   Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.    You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.   If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.   For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a


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    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
    528     511       conditioned on the non-exercise of one or more of the rights that are
    529     512       specifically granted under this License.    You may not convey a covered
    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.
    540     523
    541           -     Nothing in this License shall be construed as excluding or limiting
            524   + Nothing in this License shall be construed as excluding or limiting
    542     525       any implied license or other defenses to infringement that may
    543     526       otherwise be available to you under applicable patent law.
    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529
    547           -     If conditions are imposed on you (whether by court order, agreement or
            530   + If conditions are imposed on you (whether by court order, agreement or
    548     531       otherwise) that contradict the conditions of this License, they do not
    549     532       excuse you from the conditions of this License.    If you cannot convey a
    550     533       covered work so as to satisfy simultaneously your obligations under this
    554     537       the Program, the only way you could satisfy both those terms and this
    555     538       License would be to refrain entirely from conveying the Program.
    556     539
    557           -     13. Remote Network Interaction; Use with the GNU General Public License.
            540   + 13. Remote Network Interaction; Use with the GNU General Public License.
    558     541
    559           -     Notwithstanding any other provision of this License, if you modify the
            542   + Notwithstanding any other provision of this License, if you modify the
    560     543       Program, your modified version must prominently offer all users
    561     544       interacting with it remotely through a computer network (if your version
    562     545       supports such interaction) an opportunity to receive the Corresponding
    567     550       of the GNU General Public License that is incorporated pursuant to the
    568     551       following paragraph.
    569     552
    570           -     Notwithstanding any other provision of this License, you have permission
    571           - to link or combine any covered work with a work licensed under version 3
    572           - of the GNU General Public License into a single combined work, and to
    573           - convey the resulting work.      The terms of this License will continue to
    574           - apply to the part which is the covered work, but the work with which it is
    575           - combined will remain governed by version 3 of the GNU General Public
    576           - License.
    577           -


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    578           -     14. Revised Versions of this License.
    579           -
    580           -     The Free Software Foundation may publish revised and/or new versions of
    581           - the GNU Affero General Public License from time to time.       Such new
    582           - versions will be similar in spirit to the present version, but may differ
    583           - in detail to address new problems or concerns.
    584           -
    585           -     Each version is given a distinguishing version number.    If the
    586           - Program specifies that a certain numbered version of the GNU Affero
    587           - General Public License "or any later version" applies to it, you have
    588           - the option of following the terms and conditions either of that
    589           - numbered version or of any later version published by the Free
    590           - Software Foundation.     If the Program does not specify a version number
    591           - of the GNU Affero General Public License, you may choose any version
    592           - ever published by the Free Software Foundation.
    593           -
    594           -     If the Program specifies that a proxy can decide which future
    595           - versions of the GNU Affero General Public License can be used, that
    596           - proxy's public statement of acceptance of a version permanently
    597           - authorizes you to choose that version for the Program.
    598           -
    599           -     Later license versions may give you additional or different
            553   + Notwithstanding any other provision of this License, you have
            554   + permission to link or combine any covered work with a work licensed
            555   + under version 3 of the GNU General Public License into a single
            556   + combined work, and to convey the resulting work.      The terms of this
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    612     595       IS WITH YOU.    SHOULD THE PROGRAM PROVE DEFECTIVE, YOU ASSUME THE COST OF
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    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
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            612   + If the disclaimer of warranty and limitation of liability provided
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    638           -                   How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
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    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
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    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
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    671      654          of the code.   There are many ways you could offer source, and different
    672      655          solutions will be better for different programs; see section 13 for the
    673      656          specific requirements.
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            486            enterprise/deferred-locks/LICENSE.txt


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            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
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            20   + When we speak of free software, we are referring to freedom, not
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     45     29       you this License which gives you legal permission to copy, distribute
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            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.   Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.   Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
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     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.     This is


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     72           -     The precise terms and conditions for copying, distribution and
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     73     57        modification follow.
     74     58
     75           -                             TERMS AND CONDITIONS
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            60    +
            61    + 0. Definitions.
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            65    + "Copyright" also means copyright-like laws that apply to other kinds of
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     83           - of works, such as semiconductor masks.
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     92     75        earlier work or a work "based on" the earlier work.
     93     76
     94           -     A "covered work" means either the unmodified Program or a work based
            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
     96     79
     97           -     To "propagate" a work means to do anything with it that, without
            80    + To "propagate" a work means to do anything with it that, without
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    104           -     To "convey" a work means any kind of propagation that enables other
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    108           -     An interactive user interface displays "Appropriate Legal Notices"
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    109     92        to the extent that it includes a convenient and prominently visible
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    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101


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    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.     "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
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    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.     However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
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    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
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    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.


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    185     168
    186           -     No covered work shall be deemed part of an effective technological
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    187     170       measure under any applicable law fulfilling obligations under article
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            185   + You may convey verbatim copies of the Program's source code as you
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    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
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    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
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            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
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    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             179/377
                                                                                                                             N4J_019219
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                                                                                                         Page 494 of 1198 · GitHub
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent


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    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or


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    372     355
    373           -       b) Requiring preservation of specified reasonable legal notices or
    374           -       author attributions in that material or in the Appropriate Legal
    375           -       Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -       c) Prohibiting misrepresentation of the origin of that material, or
    378           -       requiring that modified versions of such material be marked in
    379           -       reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -       d) Limiting the use for publicity purposes of names of licensors or
    382           -       authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -       e) Declining to grant rights under trademark law for use of some
    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -       f) Requiring indemnification of licensors and authors of that
    388           -       material by anyone who conveys the material (or modified versions of
    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.     If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.    If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.    If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;


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    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.    Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.    If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450


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    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.   For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
    528     511       conditioned on the non-exercise of one or more of the rights that are
    529     512       specifically granted under this License.   You may not convey a covered
    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.


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    540     523
    541           -     Nothing in this License shall be construed as excluding or limiting
            524   + Nothing in this License shall be construed as excluding or limiting
    542     525       any implied license or other defenses to infringement that may
    543     526       otherwise be available to you under applicable patent law.
    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529
    547           -     If conditions are imposed on you (whether by court order, agreement or
            530   + If conditions are imposed on you (whether by court order, agreement or
    548     531       otherwise) that contradict the conditions of this License, they do not
    549     532       excuse you from the conditions of this License.   If you cannot convey a
    550     533       covered work so as to satisfy simultaneously your obligations under this
    554     537       the Program, the only way you could satisfy both those terms and this
    555     538       License would be to refrain entirely from conveying the Program.
    556     539
    557           -     13. Remote Network Interaction; Use with the GNU General Public License.
            540   + 13. Remote Network Interaction; Use with the GNU General Public License.
    558     541
    559           -     Notwithstanding any other provision of this License, if you modify the
            542   + Notwithstanding any other provision of this License, if you modify the
    560     543       Program, your modified version must prominently offer all users
    561     544       interacting with it remotely through a computer network (if your version
    562     545       supports such interaction) an opportunity to receive the Corresponding
    567     550       of the GNU General Public License that is incorporated pursuant to the
    568     551       following paragraph.
    569     552
    570           -     Notwithstanding any other provision of this License, you have permission
    571           - to link or combine any covered work with a work licensed under version 3
    572           - of the GNU General Public License into a single combined work, and to
    573           - convey the resulting work.     The terms of this License will continue to
    574           - apply to the part which is the covered work, but the work with which it is
    575           - combined will remain governed by version 3 of the GNU General Public
    576           - License.
    577           -
    578           -     14. Revised Versions of this License.
    579           -
    580           -     The Free Software Foundation may publish revised and/or new versions of
    581           - the GNU Affero General Public License from time to time.     Such new
    582           - versions will be similar in spirit to the present version, but may differ
    583           - in detail to address new problems or concerns.
    584           -
    585           -     Each version is given a distinguishing version number.   If the
    586           - Program specifies that a certain numbered version of the GNU Affero
    587           - General Public License "or any later version" applies to it, you have
    588           - the option of following the terms and conditions either of that
    589           - numbered version or of any later version published by the Free
    590           - Software Foundation.     If the Program does not specify a version number
    591           - of the GNU Affero General Public License, you may choose any version
    592           - ever published by the Free Software Foundation.
    593           -
    594           -     If the Program specifies that a proxy can decide which future
    595           - versions of the GNU Affero General Public License can be used, that
    596           - proxy's public statement of acceptance of a version permanently
    597           - authorizes you to choose that version for the Program.
    598           -
    599           -     Later license versions may give you additional or different
            553   + Notwithstanding any other provision of this License, you have
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            621   + How to Apply These Terms to Your New Programs
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    116     99
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            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
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    123           -     A "Standard Interface" means an interface that either is an official
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            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
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    142     125       control those activities.   However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
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    209     192
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    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
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    215           -     You may convey a work based on the Program, or the modifications to
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    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
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            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             192/377
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    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the


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            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.


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    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or
    378           -         requiring that modified versions of such material be marked in
    379           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -         d) Limiting the use for publicity purposes of names of licensors or
    382           -         authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -         e) Declining to grant rights under trademark law for use of some
    385           -         trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -         f) Requiring indemnification of licensors and authors of that
    388           -         material by anyone who conveys the material (or modified versions of


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    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.   If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.     If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.     If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.   Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.


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    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.    If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.    If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.    For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free


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    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
    528     511       conditioned on the non-exercise of one or more of the rights that are
    529     512       specifically granted under this License.   You may not convey a covered
    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.
    540     523
    541           -     Nothing in this License shall be construed as excluding or limiting
            524   + Nothing in this License shall be construed as excluding or limiting
    542     525       any implied license or other defenses to infringement that may
    543     526       otherwise be available to you under applicable patent law.
    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529
    547           -     If conditions are imposed on you (whether by court order, agreement or
            530   + If conditions are imposed on you (whether by court order, agreement or
    548     531       otherwise) that contradict the conditions of this License, they do not
    549     532       excuse you from the conditions of this License.   If you cannot convey a
    550     533       covered work so as to satisfy simultaneously your obligations under this
    554     537       the Program, the only way you could satisfy both those terms and this
    555     538       License would be to refrain entirely from conveying the Program.
    556     539
    557           -     13. Remote Network Interaction; Use with the GNU General Public License.
            540   + 13. Remote Network Interaction; Use with the GNU General Public License.
    558     541
    559           -     Notwithstanding any other provision of this License, if you modify the
            542   + Notwithstanding any other provision of this License, if you modify the
    560     543       Program, your modified version must prominently offer all users
    561     544       interacting with it remotely through a computer network (if your version
    562     545       supports such interaction) an opportunity to receive the Corresponding
    567     550       of the GNU General Public License that is incorporated pursuant to the
    568     551       following paragraph.


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    569     552
    570           -     Notwithstanding any other provision of this License, you have permission
    571           - to link or combine any covered work with a work licensed under version 3
    572           - of the GNU General Public License into a single combined work, and to
    573           - convey the resulting work.      The terms of this License will continue to
    574           - apply to the part which is the covered work, but the work with which it is
    575           - combined will remain governed by version 3 of the GNU General Public
    576           - License.
    577           -
    578           -     14. Revised Versions of this License.
    579           -
    580           -     The Free Software Foundation may publish revised and/or new versions of
    581           - the GNU Affero General Public License from time to time.       Such new
    582           - versions will be similar in spirit to the present version, but may differ
    583           - in detail to address new problems or concerns.
    584           -
    585           -     Each version is given a distinguishing version number.    If the
    586           - Program specifies that a certain numbered version of the GNU Affero
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    602     585       later version.
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    673      656          specific requirements.
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     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.   Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
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            77   + A "covered work" means either the unmodified Program or a work based
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    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
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    121     104       form of a work.
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    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
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            111   + The "System Libraries" of an executable work include anything, other
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    130     113       packaging a Major Component, but which is not part of that Major
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    137     120       produce the work, or an object code interpreter used to run it.
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    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.    However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
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    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
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    183     166
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    192           -     When you convey a covered work, you waive any legal power to forbid
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    209     192
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            193   + You may charge any price or no price for each copy that you convey,
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    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
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    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
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    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.    This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.    This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             206/377
                                                                                                                             N4J_019246
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 521 of 1198 · GitHub
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.    Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.    You need not require recipients to copy the
            267   + Corresponding Source along with the object code.       If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.       Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded


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                                                                                                                             N4J_019247
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    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.   (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)   You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348


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                                                                                                                             N4J_019248
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    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -       a) Disclaiming warranty or limiting liability differently from the
    371           -       terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -       b) Requiring preservation of specified reasonable legal notices or
    374           -       author attributions in that material or in the Appropriate Legal
    375           -       Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -       c) Prohibiting misrepresentation of the origin of that material, or
    378           -       requiring that modified versions of such material be marked in
    379           -       reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -       d) Limiting the use for publicity purposes of names of licensors or
    382           -       authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -       e) Declining to grant rights under trademark law for use of some
    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -       f) Requiring indemnification of licensors and authors of that
    388           -       material by anyone who conveys the material (or modified versions of
    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.     If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.    If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.    If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.


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            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.    Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.


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    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.   If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.   For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered


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    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
    528     511       conditioned on the non-exercise of one or more of the rights that are
    529     512       specifically granted under this License.    You may not convey a covered
    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.
    540     523
    541           -     Nothing in this License shall be construed as excluding or limiting
            524   + Nothing in this License shall be construed as excluding or limiting
    542     525       any implied license or other defenses to infringement that may
    543     526       otherwise be available to you under applicable patent law.
    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529
    547           -     If conditions are imposed on you (whether by court order, agreement or
            530   + If conditions are imposed on you (whether by court order, agreement or
    548     531       otherwise) that contradict the conditions of this License, they do not
    549     532       excuse you from the conditions of this License.    If you cannot convey a
    550     533       covered work so as to satisfy simultaneously your obligations under this
    554     537       the Program, the only way you could satisfy both those terms and this
    555     538       License would be to refrain entirely from conveying the Program.
    556     539
    557           -     13. Remote Network Interaction; Use with the GNU General Public License.
            540   + 13. Remote Network Interaction; Use with the GNU General Public License.
    558     541
    559           -     Notwithstanding any other provision of this License, if you modify the
            542   + Notwithstanding any other provision of this License, if you modify the
    560     543       Program, your modified version must prominently offer all users
    561     544       interacting with it remotely through a computer network (if your version
    562     545       supports such interaction) an opportunity to receive the Corresponding
    567     550       of the GNU General Public License that is incorporated pursuant to the
    568     551       following paragraph.
    569     552
    570           -     Notwithstanding any other provision of this License, you have permission
    571           - to link or combine any covered work with a work licensed under version 3
    572           - of the GNU General Public License into a single combined work, and to
    573           - convey the resulting work.      The terms of this License will continue to
    574           - apply to the part which is the covered work, but the work with which it is
    575           - combined will remain governed by version 3 of the GNU General Public
    576           - License.
    577           -
    578           -     14. Revised Versions of this License.
    579           -
    580           -     The Free Software Foundation may publish revised and/or new versions of
    581           - the GNU Affero General Public License from time to time.      Such new
    582           - versions will be similar in spirit to the present version, but may differ
    583           - in detail to address new problems or concerns.
    584           -
    585           -     Each version is given a distinguishing version number.    If the
    586           - Program specifies that a certain numbered version of the GNU Affero
    587           - General Public License "or any later version" applies to it, you have
    588           - the option of following the terms and conditions either of that
    589           - numbered version or of any later version published by the Free
    590           - Software Foundation.     If the Program does not specify a version number
    591           - of the GNU Affero General Public License, you may choose any version
    592           - ever published by the Free Software Foundation.
    593           -
    594           -     If the Program specifies that a proxy can decide which future
    595           - versions of the GNU Affero General Public License can be used, that


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             212/377
                                                                                                                             N4J_019252
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                            fs… · graphfoundation/ongdb@c0b23b2
                                                                                                         Page 527 of 1198 · GitHub
    596           - proxy's public statement of acceptance of a version permanently
    597           - authorizes you to choose that version for the Program.
    598           -
    599           -     Later license versions may give you additional or different
            553   + Notwithstanding any other provision of this License, you have
            554   + permission to link or combine any covered work with a work licensed
            555   + under version 3 of the GNU General Public License into a single
            556   + combined work, and to convey the resulting work.      The terms of this
            557   + License will continue to apply to the part which is the covered work,
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            560   +
            561   + 14. Revised Versions of this License.
            562   +
            563   + The Free Software Foundation may publish revised and/or new versions of
            564   + the GNU Affero General Public License from time to time.      Such new versions
            565   + will be similar in spirit to the present version, but may differ in detail to
            566   + address new problems or concerns.
            567   +
            568   + Each version is given a distinguishing version number.      If the
            569   + Program specifies that a certain numbered version of the GNU Affero General
            570   + Public License "or any later version" applies to it, you have the
            571   + option of following the terms and conditions either of that numbered
            572   + version or of any later version published by the Free Software
            573   + Foundation.      If the Program does not specify a version number of the
            574   + GNU Affero General Public License, you may choose any version ever published
            575   + by the Free Software Foundation.
            576   +
            577   + If the Program specifies that a proxy can decide which future
            578   + versions of the GNU Affero General Public License can be used, that proxy's
            579   + public statement of acceptance of a version permanently authorizes you
            580   + to choose that version for the Program.
            581   +
            582   + Later license versions may give you additional or different
    600     583       permissions.    However, no additional obligations are imposed on any
    601     584       author or copyright holder as a result of your choosing to follow a
    602     585       later version.
    603     586
    604           -     15. Disclaimer of Warranty.
            587   + 15. Disclaimer of Warranty.
    605     588
    606           -     THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
            589   + THERE IS NO WARRANTY FOR THE PROGRAM, TO THE EXTENT PERMITTED BY
    607     590       APPLICABLE LAW.    EXCEPT WHEN OTHERWISE STATED IN WRITING THE COPYRIGHT
    608     591       HOLDERS AND/OR OTHER PARTIES PROVIDE THE PROGRAM "AS IS" WITHOUT WARRANTY
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    612     595       IS WITH YOU.    SHOULD THE PROGRAM PROVE DEFECTIVE, YOU ASSUME THE COST OF
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    615           -     16. Limitation of Liability.
            598   + 16. Limitation of Liability.
    616     599
    617           -     IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
            600   + IN NO EVENT UNLESS REQUIRED BY APPLICABLE LAW OR AGREED TO IN WRITING
    618     601       WILL ANY COPYRIGHT HOLDER, OR ANY OTHER PARTY WHO MODIFIES AND/OR CONVEYS
    619     602       THE PROGRAM AS PERMITTED ABOVE, BE LIABLE TO YOU FOR DAMAGES, INCLUDING ANY
    620     603       GENERAL, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES ARISING OUT OF THE
    624     607       EVEN IF SUCH HOLDER OR OTHER PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF
    625     608       SUCH DAMAGES.
    626     609
    627           -     17. Interpretation of Sections 15 and 16.
            610   + 17. Interpretation of Sections 15 and 16.
    628     611


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                                                                                                                             N4J_019253
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                                                                                                         Page 528 of 1198 · GitHub
    629           -     If the disclaimer of warranty and limitation of liability provided
            612   + If the disclaimer of warranty and limitation of liability provided
    630     613       above cannot be given local legal effect according to their terms,
    631     614       reviewing courts shall apply local law that most closely approximates
    632     615       an absolute waiver of all civil liability in connection with the
    633     616       Program, unless a warranty or assumption of liability accompanies a
    634     617       copy of the Program in return for a fee.
    635     618
    636           -                            END OF TERMS AND CONDITIONS
            619   + END OF TERMS AND CONDITIONS
    637     620
    638           -                  How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.
    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>    <name of author>
            632   + <one line to give the program's name and a brief idea of what it does.>
            633   + Copyright (C) <year>     <name of author>
    651     634
    652           -       This program is free software: you can redistribute it and/or modify
    653           -       it under the terms of the GNU Affero General Public License as
    654           -       published by the Free Software Foundation, either version 3 of the
    655           -       License, or (at your option) any later version.
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            637   + the Free Software Foundation, either version 3 of the License, or
            638   + (at your option) any later version.
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    658           -       but WITHOUT ANY WARRANTY; without even the implied warranty of
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            640   + This program is distributed in the hope that it will be useful,
            641   + but WITHOUT ANY WARRANTY; without even the implied warranty of
            642   + MERCHANTABILITY or FITNESS FOR A PARTICULAR PURPOSE.      See the
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    661     644
    662           -       You should have received a copy of the GNU Affero General Public License
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            645   + You should have received a copy of the GNU Affero General Public License
            646   + along with this program.      If not, see <https://www.gnu.org/licenses/>.
    664     647
    665     648       Also add information on how to contact you by electronic and paper mail.
    666     649
    667           -     If your software can interact with users remotely through a computer
            650   + If your software can interact with users remotely through a computer
    668     651       network, you should also make sure that it provides a way for users to
    669     652       get its source.   For example, if your program is a web application, its
    670     653       interface could display a "Source" link that leads users to an archive
    671     654       of the code.   There are many ways you could offer source, and different
    672     655       solutions will be better for different programs; see section 13 for the
    673     656       specific requirements.


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                                                                                                                             N4J_019254
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                                                                                                             Page 529 of 1198 · GitHub
    674      657
    675               -     You should also get your employer (if you work as a programmer) or school,
             658      + You should also get your employer (if you work as a programmer) or school,
    676      659          if any, to sign a "copyright disclaimer" for the program, if necessary.
    677      660          For more information on this, and how to apply and follow the GNU AGPL, see
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            486            enterprise/management/LICENSE.txt


    ...      ...      @@ -1,51 +1,35 @@

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     24               -                               Preamble
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              10      + The GNU Affero General Public License is a free, copyleft license for
              11      + software and other kinds of works, specifically designed to ensure
     28       12          cooperation with the community in the case of network server software.
     29       13


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                                 215/377
                                                                                                                                 N4J_019255
10/2/2019                  Updated the LICENSE.txt file toDocument
                     Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                        Page 530 of 1198 · GitHub
     30          -     The licenses for most software and other practical works are
     31          - designed to take away your freedom to share and change the works.       By
     32          - contrast, our General Public Licenses are intended to guarantee your
     33          - freedom to share and change all versions of a program--to make sure it
     34          - remains free software for all its users.
            14   + The licenses for most software and other practical works are designed
            15   + to take away your freedom to share and change the works.      By contrast,
            16   + our General Public Licenses are intended to guarantee your freedom to
            17   + share and change all versions of a program--to make sure it remains free
            18   + software for all its users.
     35     19
     36          -     When we speak of free software, we are referring to freedom, not
            20   + When we speak of free software, we are referring to freedom, not
     37     21       price.   Our General Public Licenses are designed to make sure that you
     38     22       have the freedom to distribute copies of free software (and charge for
     39     23       them if you wish), that you receive source code or can get it if you
     40     24       want it, that you can change the software or use pieces of it in new
     41     25       free programs, and that you know you can do these things.
     42     26
     43          -     Developers that use our General Public Licenses protect your rights
            27   + Developers that use our General Public Licenses protect your rights
     44     28       with two steps: (1) assert copyright on the software, and (2) offer
     45     29       you this License which gives you legal permission to copy, distribute
     46     30       and/or modify the software.
     47     31
     48          -     A secondary benefit of defending all users' freedom is that
            32   + A secondary benefit of defending all users' freedom is that
     49     33       improvements made in alternate versions of the program, if they
     50     34       receive widespread use, become available for other developers to
     51     35       incorporate.    Many developers of free software are heartened and
     55     39       letting the public access it on a server without ever releasing its
     56     40       source code to the public.
     57     41
     58          -     The GNU Affero General Public License is designed specifically to
            42   + The GNU Affero General Public License is designed specifically to
     59     43       ensure that, in such cases, the modified source code becomes available
     60     44       to the community.   It requires the operator of a network server to
     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.    Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
     64     48       code of the modified version.
     65     49
     66          -     An older license, called the Affero General Public License and
            50   + An older license, called the Affero General Public License and
     67     51       published by Affero, was designed to accomplish similar goals.     This is
     68     52       a different license, not a version of the Affero GPL, but Affero has
     69     53       released a new version of the Affero GPL which permits relicensing under
     70     54       this license.
     71     55
     72          -     The precise terms and conditions for copying, distribution and
            56   + The precise terms and conditions for copying, distribution and
     73     57       modification follow.
     74     58
     75          -                            TERMS AND CONDITIONS
            59   + TERMS AND CONDITIONS
            60   +
            61   + 0. Definitions.
     76     62
     77          -     0. Definitions.
            63   + "This License" refers to version 3 of the GNU Affero General Public License.
     78     64
     79          -     "This License" refers to version 3 of the GNU Affero General Public
     80          - License.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                            216/377
                                                                                                                            N4J_019256
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                                                                                                         Page 531 of 1198 · GitHub
            65    + "Copyright" also means copyright-like laws that apply to other kinds of
            66    + works, such as semiconductor masks.
     81     67
     82           -     "Copyright" also means copyright-like laws that apply to other kinds
     83           - of works, such as semiconductor masks.
     84           -
     85           -     "The Program" refers to any copyrightable work licensed under this
            68    + "The Program" refers to any copyrightable work licensed under this
     86     69        License.   Each licensee is addressed as "you".   "Licensees" and
     87     70        "recipients" may be individuals or organizations.
     88     71
     89           -     To "modify" a work means to copy from or adapt all or part of the work
            72    + To "modify" a work means to copy from or adapt all or part of the work
     90     73        in a fashion requiring copyright permission, other than the making of an
     91     74        exact copy.   The resulting work is called a "modified version" of the
     92     75        earlier work or a work "based on" the earlier work.
     93     76
     94           -     A "covered work" means either the unmodified Program or a work based
            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
     96     79
     97           -     To "propagate" a work means to do anything with it that, without
            80    + To "propagate" a work means to do anything with it that, without
     98     81        permission, would make you directly or secondarily liable for
     99     82        infringement under applicable copyright law, except executing it on a
    100     83        computer or modifying a private copy.   Propagation includes copying,
    101     84        distribution (with or without modification), making available to the
    102     85        public, and in some countries other activities as well.
    103     86
    104           -     To "convey" a work means any kind of propagation that enables other
            87    + To "convey" a work means any kind of propagation that enables other
    105     88        parties to make or receive copies.   Mere interaction with a user through
    106     89        a computer network, with no transfer of a copy, is not conveying.
    107     90
    108           -     An interactive user interface displays "Appropriate Legal Notices"
            91    + An interactive user interface displays "Appropriate Legal Notices"
    109     92        to the extent that it includes a convenient and prominently visible
    110     93        feature that (1) displays an appropriate copyright notice, and (2)
    111     94        tells the user that there is no warranty for the work (except to the
    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101
    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.   "Object code" means any non-source
    121     104       form of a work.
    122     105
    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
    124     107       standard defined by a recognized standards body, or, in the case of
    125     108       interfaces specified for a particular programming language, one that
    126     109       is widely used among developers working in that language.
    127     110
    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
    129     112       than the work as a whole, that (a) is included in the normal form of
    130     113       packaging a Major Component, but which is not part of that Major
    131     114       Component, and (b) serves only to enable use of the work with that
    136     119       (if any) on which the executable work runs, or a compiler used to
    137     120       produce the work, or an object code interpreter used to run it.


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                                                                                                                             N4J_019257
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    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.     However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
    152           -     The Corresponding Source need not include anything that users
            135   + The Corresponding Source need not include anything that users
    153     136       can regenerate automatically from other parts of the Corresponding
    154     137       Source.
    155     138
    156           -     The Corresponding Source for a work in source code form is that
            139   + The Corresponding Source for a work in source code form is that
    157     140       same work.
    158     141
    159           -     2. Basic Permissions.
            142   + 2. Basic Permissions.
    160     143
    161           -     All rights granted under this License are granted for the term of
            144   + All rights granted under this License are granted for the term of
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    163     146       conditions are met.     This License explicitly affirms your unlimited
    164     147       permission to run the unmodified Program.     The output from running a
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    166     149       content, constitutes a covered work.     This License acknowledges your
    167     150       rights of fair use or other equivalent, as provided by copyright law.
    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.    You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.


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                                                                                                                             N4J_019258
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            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             219/377
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                                                                                                         Page 534 of 1198 · GitHub
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             220/377
                                                                                                                             N4J_019260
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            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             221/377
                                                                                                                             N4J_019261
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    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.       Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or
    378           -         requiring that modified versions of such material be marked in
    379           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -         d) Limiting the use for publicity purposes of names of licensors or
    382           -         authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or


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                                                                                                                             N4J_019262
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            365   + authors of the material; or
    383     366
    384           -       e) Declining to grant rights under trademark law for use of some
    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -       f) Requiring indemnification of licensors and authors of that
    388           -       material by anyone who conveys the material (or modified versions of
    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.     If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.     If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.     If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.   Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means


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    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.    If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.    If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.    For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims


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            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
    528     511       conditioned on the non-exercise of one or more of the rights that are
    529     512       specifically granted under this License.   You may not convey a covered
    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.
    540     523
    541           -     Nothing in this License shall be construed as excluding or limiting
            524   + Nothing in this License shall be construed as excluding or limiting
    542     525       any implied license or other defenses to infringement that may
    543     526       otherwise be available to you under applicable patent law.
    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529
    547           -     If conditions are imposed on you (whether by court order, agreement or
            530   + If conditions are imposed on you (whether by court order, agreement or
    548     531       otherwise) that contradict the conditions of this License, they do not
    549     532       excuse you from the conditions of this License.   If you cannot convey a
    550     533       covered work so as to satisfy simultaneously your obligations under this
    554     537       the Program, the only way you could satisfy both those terms and this
    555     538       License would be to refrain entirely from conveying the Program.
    556     539
    557           -     13. Remote Network Interaction; Use with the GNU General Public License.


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                                                                                                                             N4J_019265
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                                                                                                         Page 540 of 1198 · GitHub
            540   + 13. Remote Network Interaction; Use with the GNU General Public License.
    558     541
    559           -     Notwithstanding any other provision of this License, if you modify the
            542   + Notwithstanding any other provision of this License, if you modify the
    560     543       Program, your modified version must prominently offer all users
    561     544       interacting with it remotely through a computer network (if your version
    562     545       supports such interaction) an opportunity to receive the Corresponding
    567     550       of the GNU General Public License that is incorporated pursuant to the
    568     551       following paragraph.
    569     552
    570           -     Notwithstanding any other provision of this License, you have permission
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                                                                                                                             N4J_019266
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    102     85        public, and in some countries other activities as well.
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    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
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            122   + The "Corresponding Source" for a work in object code form means all
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    142     125       control those activities.   However, it does not include the work's
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            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
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    218     201
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical


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    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.    This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.    Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.    You need not require recipients to copy the
            267   + Corresponding Source along with the object code.       If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.       Regardless of what server hosts the


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            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.   Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.


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    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)      You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or
    378           -         requiring that modified versions of such material be marked in
    379           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -         d) Limiting the use for publicity purposes of names of licensors or
    382           -         authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -         e) Declining to grant rights under trademark law for use of some
    385           -         trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -         f) Requiring indemnification of licensors and authors of that
    388           -         material by anyone who conveys the material (or modified versions of
    389           -         it) with contractual assumptions of liability to the recipient, for
    390           -         any liability that these contractual assumptions directly impose on
    391           -         those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.       If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.      If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such


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    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.     If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.    Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.


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    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.    You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.   If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.   For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that


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    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
    528     511       conditioned on the non-exercise of one or more of the rights that are
    529     512       specifically granted under this License.    You may not convey a covered
    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.
    540     523
    541           -     Nothing in this License shall be construed as excluding or limiting
            524   + Nothing in this License shall be construed as excluding or limiting
    542     525       any implied license or other defenses to infringement that may
    543     526       otherwise be available to you under applicable patent law.
    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529
    547           -     If conditions are imposed on you (whether by court order, agreement or
            530   + If conditions are imposed on you (whether by court order, agreement or
    548     531       otherwise) that contradict the conditions of this License, they do not
    549     532       excuse you from the conditions of this License.    If you cannot convey a
    550     533       covered work so as to satisfy simultaneously your obligations under this
    554     537       the Program, the only way you could satisfy both those terms and this
    555     538       License would be to refrain entirely from conveying the Program.
    556     539
    557           -     13. Remote Network Interaction; Use with the GNU General Public License.
            540   + 13. Remote Network Interaction; Use with the GNU General Public License.
    558     541
    559           -     Notwithstanding any other provision of this License, if you modify the
            542   + Notwithstanding any other provision of this License, if you modify the
    560     543       Program, your modified version must prominently offer all users
    561     544       interacting with it remotely through a computer network (if your version
    562     545       supports such interaction) an opportunity to receive the Corresponding
    567     550       of the GNU General Public License that is incorporated pursuant to the
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            621   + How to Apply These Terms to Your New Programs
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            627   + To do so, attach the following notices to the program.       It is safest
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            60    +
            61    + 0. Definitions.
     76     62
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    126     109       is widely used among developers working in that language.
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    128           -     The "System Libraries" of an executable work include anything, other
            111   + The "System Libraries" of an executable work include anything, other
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            122   + The "Corresponding Source" for a work in object code form means all
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    141     124       work) run the object code and to modify the work, including scripts to
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    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             246/377
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no


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    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because


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    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or


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    378           -       requiring that modified versions of such material be marked in
    379           -       reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -       d) Limiting the use for publicity purposes of names of licensors or
    382           -       authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -       e) Declining to grant rights under trademark law for use of some
    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -       f) Requiring indemnification of licensors and authors of that
    388           -       material by anyone who conveys the material (or modified versions of
    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.     If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.    If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.    If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.   Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under


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    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.    If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.    For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458


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    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
    528     511       conditioned on the non-exercise of one or more of the rights that are
    529     512       specifically granted under this License.   You may not convey a covered
    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.
    540     523
    541           -     Nothing in this License shall be construed as excluding or limiting
            524   + Nothing in this License shall be construed as excluding or limiting
    542     525       any implied license or other defenses to infringement that may
    543     526       otherwise be available to you under applicable patent law.
    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529


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    547           -     If conditions are imposed on you (whether by court order, agreement or
            530   + If conditions are imposed on you (whether by court order, agreement or
    548     531       otherwise) that contradict the conditions of this License, they do not
    549     532       excuse you from the conditions of this License.   If you cannot convey a
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https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             253/377
                                                                                                                             N4J_019293
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                                                                                                                             N4J_019294
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            627   + To do so, attach the following notices to the program.       It is safest
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https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                                 256/377
                                                                                                                                 N4J_019296
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                                                                                                                            N4J_019297
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            102   + The "source code" for a work means the preferred form of the work
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                                                                                                                             N4J_019298
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            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             259/377
                                                                                                                             N4J_019299
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 574 of 1198 · GitHub
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             260/377
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    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.    This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             261/377
                                                                                                                             N4J_019301
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 576 of 1198 · GitHub
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             262/377
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            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or
    378           -         requiring that modified versions of such material be marked in
    379           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -         d) Limiting the use for publicity purposes of names of licensors or
    382           -         authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -         e) Declining to grant rights under trademark law for use of some
    385           -         trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -         f) Requiring indemnification of licensors and authors of that
    388           -         material by anyone who conveys the material (or modified versions of
    389           -         it) with contractual assumptions of liability to the recipient, for
    390           -         any liability that these contractual assumptions directly impose on
    391           -         those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375


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    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.    If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.      If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.      If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.    Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.


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            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.   Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.   However,
    448     431       not accept this License.   Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.    You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.   If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.   For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a


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    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
    528     511       conditioned on the non-exercise of one or more of the rights that are
    529     512       specifically granted under this License.    You may not convey a covered
    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.
    540     523
    541           -     Nothing in this License shall be construed as excluding or limiting
            524   + Nothing in this License shall be construed as excluding or limiting
    542     525       any implied license or other defenses to infringement that may
    543     526       otherwise be available to you under applicable patent law.
    544     527
    545           -     12. No Surrender of Others' Freedom.
            528   + 12. No Surrender of Others' Freedom.
    546     529
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    577           -


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             266/377
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            621   + How to Apply These Terms to Your New Programs
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            627   + To do so, attach the following notices to the program.       It is safest
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    674      657
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            486            enterprise/procedure-compiler-enterprise-tests/LICENSE.txt


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            10   + The GNU Affero General Public License is a free, copyleft license for
            11   + software and other kinds of works, specifically designed to ensure
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            32   + A secondary benefit of defending all users' freedom is that
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     51     35       incorporate.   Many developers of free software are heartened and
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     56     40       source code to the public.
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            42   + The GNU Affero General Public License is designed specifically to
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     93     76
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            77    + A "covered work" means either the unmodified Program or a work based
     95     78        on the Program.
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            80    + To "propagate" a work means to do anything with it that, without
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    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
            100   + 1. Source Code.
    118     101


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    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
    120     103       for making modifications to it.     "Object code" means any non-source
    121     104       form of a work.
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    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
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    125     108       interfaces specified for a particular programming language, one that
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            111   + The "System Libraries" of an executable work include anything, other
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    131     114       Component, and (b) serves only to enable use of the work with that
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    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.     However, it does not include the work's
    149     132       such as by intimate data communication or control flow between those
    150     133       subprograms and other parts of the work.
    151     134
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    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.


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    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
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            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.    This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             273/377
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            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)


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    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent


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    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or


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    372     355
    373           -       b) Requiring preservation of specified reasonable legal notices or
    374           -       author attributions in that material or in the Appropriate Legal
    375           -       Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -       c) Prohibiting misrepresentation of the origin of that material, or
    378           -       requiring that modified versions of such material be marked in
    379           -       reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -       d) Limiting the use for publicity purposes of names of licensors or
    382           -       authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -       e) Declining to grant rights under trademark law for use of some
    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -       f) Requiring indemnification of licensors and authors of that
    388           -       material by anyone who conveys the material (or modified versions of
    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.     If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.    If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.    If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;


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    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.    Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.    If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450


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    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.   For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
    527     510       the scope of its coverage, prohibits the exercise of, or is
    528     511       conditioned on the non-exercise of one or more of the rights that are
    529     512       specifically granted under this License.   You may not convey a covered
    538     521       contain the covered work, unless you entered into that arrangement,
    539     522       or that patent license was granted, prior to 28 March 2007.


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            621   + How to Apply These Terms to Your New Programs
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    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             286/377
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234


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    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the


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                                                                                                         Page 603 of 1198 · GitHub
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.


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    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or
    378           -         requiring that modified versions of such material be marked in
    379           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -         d) Limiting the use for publicity purposes of names of licensors or
    382           -         authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -         e) Declining to grant rights under trademark law for use of some
    385           -         trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -         f) Requiring indemnification of licensors and authors of that
    388           -         material by anyone who conveys the material (or modified versions of


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    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.   If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.     If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.     If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.   Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.


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    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.    If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.    If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.    For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free


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    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered
    524     507       work and works based on it.
    525     508
    526           -     A patent license is "discriminatory" if it does not include within
            509   + A patent license is "discriminatory" if it does not include within
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     61     45       provide the source code of the modified version running there to the
     62     46       users of that server.   Therefore, public use of a modified version, on
     63     47       a publicly accessible server, gives the public access to the source
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            102   + The "source code" for a work means the preferred form of the work
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    123           -     A "Standard Interface" means an interface that either is an official
            106   + A "Standard Interface" means an interface that either is an official
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            122   + The "Corresponding Source" for a work in object code form means all
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    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             300/377
                                                                                                                             N4J_019340
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.    This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.    This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             301/377
                                                                                                                             N4J_019341
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.    Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.    You need not require recipients to copy the
            267   + Corresponding Source along with the object code.       If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.       Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             302/377
                                                                                                                             N4J_019342
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    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.     Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.   (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)   You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             303/377
                                                                                                                             N4J_019343
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    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -       a) Disclaiming warranty or limiting liability differently from the
    371           -       terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -       b) Requiring preservation of specified reasonable legal notices or
    374           -       author attributions in that material or in the Appropriate Legal
    375           -       Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -       c) Prohibiting misrepresentation of the origin of that material, or
    378           -       requiring that modified versions of such material be marked in
    379           -       reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -       d) Limiting the use for publicity purposes of names of licensors or
    382           -       authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -       e) Declining to grant rights under trademark law for use of some
    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -       f) Requiring indemnification of licensors and authors of that
    388           -       material by anyone who conveys the material (or modified versions of
    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.     If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.    If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.    If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             304/377
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            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.    Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             305/377
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    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.   If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.   For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
    506     489       to copy, free of charge and under the terms of this License, through a
    507     490       publicly available network server or other readily accessible means,
    515     498       in a country, would infringe one or more identifiable patents in that
    516     499       country that you have reason to believe are valid.
    517     500
    518           -     If, pursuant to or in connection with a single transaction or
            501   + If, pursuant to or in connection with a single transaction or
    519     502       arrangement, you convey, or propagate by procuring conveyance of, a
    520     503       covered work, and grant a patent license to some of the parties
    521     504       receiving the covered work authorizing them to use, propagate, modify
    522     505       or convey a specific copy of the covered work, then the patent license
    523     506       you grant is automatically extended to all recipients of the covered


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    628     611


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    673     656       specific requirements.


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    119           -     The "source code" for a work means the preferred form of the work
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    121     104       form of a work.
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    123           -     A "Standard Interface" means an interface that either is an official
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    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
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            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             313/377
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                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 628 of 1198 · GitHub
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent


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    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             315/377
                                                                                                                             N4J_019355
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            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             316/377
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    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.       Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or
    378           -         requiring that modified versions of such material be marked in
    379           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -         d) Limiting the use for publicity purposes of names of licensors or
    382           -         authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or


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            365   + authors of the material; or
    383     366
    384           -       e) Declining to grant rights under trademark law for use of some
    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -       f) Requiring indemnification of licensors and authors of that
    388           -       material by anyone who conveys the material (or modified versions of
    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.     If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.     If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.     If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.   Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means


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    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.    If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.    If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.    For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims


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            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
    505     488       and the Corresponding Source of the work is not available for anyone
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    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
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            111   + The "System Libraries" of an executable work include anything, other
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    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
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    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.   You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.   Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             327/377
                                                                                                                             N4J_019367
10/2/2019                   Updated the LICENSE.txt file toDocument
                      Case 5:18-cv-07182-EJD                be pure AGPL as to not violate
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                                                                                                         Page 642 of 1198 · GitHub
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             328/377
                                                                                                                             N4J_019368
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    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.    This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.    Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.    You need not require recipients to copy the
            267   + Corresponding Source along with the object code.       If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.       Regardless of what server hosts the


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                                                                                                                             N4J_019369
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                                                                                                         Page 644 of 1198 · GitHub
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.   Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.


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    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)      You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or
    378           -         requiring that modified versions of such material be marked in
    379           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -         d) Limiting the use for publicity purposes of names of licensors or
    382           -         authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -         e) Declining to grant rights under trademark law for use of some
    385           -         trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -         f) Requiring indemnification of licensors and authors of that
    388           -         material by anyone who conveys the material (or modified versions of
    389           -         it) with contractual assumptions of liability to the recipient, for
    390           -         any liability that these contractual assumptions directly impose on
    391           -         those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.       If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.      If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such


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    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.     If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.    Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             332/377
                                                                                                                             N4J_019372
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    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.    You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.   If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.   For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
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     59          -                           TERMS AND CONDITIONS
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    103           -     The "source code" for a work means the preferred form of the work
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    122     121
    123           -     The "Corresponding Source" for a work in object code form means all
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    124     123       the source code needed to generate, install, and (for an executable
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    135     134
    136           -     The Corresponding Source need not include anything that users
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    165     164       the conditions stated below.     Sublicensing is not allowed; section 10
    166     165       makes it unnecessary.
    167     166
    168           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    169     168
    170           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    171     170       measure under any applicable law fulfilling obligations under article
    172     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    173     172       similar laws prohibiting or restricting circumvention of such
    174     173       measures.
    175     174
    176           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    177     176       circumvention of technological measures to the extent such circumvention
    178     177       is effected by exercising rights under this License with respect to
    179     178       the covered work, and you disclaim any intention to limit operation or
    180     179       modification of the work as a means of enforcing, against the work's
    181     180       users, your or third parties' legal rights to forbid circumvention of
    182     181       technological measures.
    183     182
    184           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    185     184
    186           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    187     186       receive it, in any medium, provided that you conspicuously and
    188     187       appropriately publish on each copy an appropriate copyright notice;
    189     188       keep intact all notices stating that this License and any
    190     189       non-permissive terms added in accord with section 7 apply to the code;


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             340/377
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    191     190       keep intact all notices of the absence of any warranty; and give all
    192     191       recipients a copy of this License along with the Program.
    193     192
    194           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    195     194       and you may offer support or warranty protection for a fee.
    196     195
    197           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    198     197
    199           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    200     199       produce it from the Program, in the form of source code under the
    201     200       terms of section 4, provided that you also meet all of these conditions:
    202     201
    203           -       a) The work must carry prominent notices stating that you modified
    204           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    205     204
    206           -       b) The work must carry prominent notices stating that it is
    207           -       released under this License and any conditions added under section
    208           -       7.   This requirement modifies the requirement in section 4 to
    209           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    210     209
    211           -       c) You must license the entire work, as a whole, under this
    212           -       License to anyone who comes into possession of a copy.     This
    213           -       License will therefore apply, along with any applicable section 7
    214           -       additional terms, to the whole of the work, and all its parts,
    215           -       regardless of how they are packaged.   This License gives no
    216           -       permission to license the work in any other way, but it does not
    217           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    218     217
    219           -       d) If the work has interactive user interfaces, each must display
    220           -       Appropriate Legal Notices; however, if the Program has interactive
    221           -       interfaces that do not display Appropriate Legal Notices, your
    222           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    223     222
    224           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    225     224       works, which are not by their nature extensions of the covered work,
    226     225       and which are not combined with it such as to form a larger program,
    227     226       in or on a volume of a storage or distribution medium, is called an
    231     230       in an aggregate does not cause this License to apply to the other
    232     231       parts of the aggregate.
    233     232
    234           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             341/377
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    235     234
    236           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    237     236       of sections 4 and 5, provided that you also convey the
    238     237       machine-readable Corresponding Source under the terms of this License,
    239     238       in one of these ways:
    240     239
    241           -       a) Convey the object code in, or embodied in, a physical product
    242           -       (including a physical distribution medium), accompanied by the
    243           -       Corresponding Source fixed on a durable physical medium
    244           -       customarily used for software interchange.
    245           -
    246           -       b) Convey the object code in, or embodied in, a physical product
    247           -       (including a physical distribution medium), accompanied by a
    248           -       written offer, valid for at least three years and valid for as
    249           -       long as you offer spare parts or customer support for that product
    250           -       model, to give anyone who possesses the object code either (1) a
    251           -       copy of the Corresponding Source for all the software in the
    252           -       product that is covered by this License, on a durable physical
    253           -       medium customarily used for software interchange, for a price no
    254           -       more than your reasonable cost of physically performing this
    255           -       conveying of source, or (2) access to copy the
    256           -       Corresponding Source from a network server at no charge.
    257           -
    258           -       c) Convey individual copies of the object code with a copy of the
    259           -       written offer to provide the Corresponding Source.   This
    260           -       alternative is allowed only occasionally and noncommercially, and
    261           -       only if you received the object code with such an offer, in accord
    262           -       with subsection 6b.
    263           -
    264           -       d) Convey the object code by offering access from a designated
    265           -       place (gratis or for a charge), and offer equivalent access to the
    266           -       Corresponding Source in the same way through the same place at no
    267           -       further charge.   You need not require recipients to copy the
    268           -       Corresponding Source along with the object code.   If the place to
    269           -       copy the object code is a network server, the Corresponding Source
    270           -       may be on a different server (operated by you or a third party)
    271           -       that supports equivalent copying facilities, provided you maintain
    272           -       clear directions next to the object code saying where to find the
    273           -       Corresponding Source.   Regardless of what server hosts the
    274           -       Corresponding Source, you remain obligated to ensure that it is
    275           -       available for as long as needed to satisfy these requirements.
    276           -
    277           -       e) Convey the object code using peer-to-peer transmission, provided
    278           -       you inform other peers where the object code and Corresponding
    279           -       Source of the work are being offered to the general public at no
    280           -       charge under subsection 6d.
    281           -
    282           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this


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            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    283     282       from the Corresponding Source as a System Library, need not be
    284     283       included in conveying the object code work.
    285     284
    286           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    287     286       tangible personal property which is normally used for personal, family,
    288     287       or household purposes, or (2) anything designed or sold for incorporation
    289     288       into a dwelling.   In determining whether a product is a consumer product,
    296     295       commercial, industrial or non-consumer uses, unless such uses represent
    297     296       the only significant mode of use of the product.
    298     297
    299           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    300     299       procedures, authorization keys, or other information required to install
    301     300       and execute modified versions of a covered work in that User Product from
    302     301       a modified version of its Corresponding Source.    The information must
    303     302       suffice to ensure that the continued functioning of the modified object
    304     303       code is in no case prevented or interfered with solely because
    305     304       modification has been made.
    306     305
    307           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    308     307       specifically for use in, a User Product, and the conveying occurs as
    309     308       part of a transaction in which the right of possession and use of the
    310     309       User Product is transferred to the recipient in perpetuity or for a
    315     314       modified object code on the User Product (for example, the work has
    316     315       been installed in ROM).
    317     316
    318           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    319     318       requirement to continue to provide support service, warranty, or updates
    320     319       for a work that has been modified or installed by the recipient, or for
    321     320       the User Product in which it has been modified or installed.     Access to a
    322     321       network may be denied when the modification itself materially and
    323     322       adversely affects the operation of the network or violates the rules and


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    324     323       protocols for communication across the network.
    325     324
    326           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    327     326       in accord with this section must be in a format that is publicly
    328     327       documented (and with an implementation available to the public in
    329     328       source code form), and must require no special password or key for
    330     329       unpacking, reading or copying.
    331     330
    332           -     7. Additional Terms.
            331   + 7. Additional Terms.
    333     332
    334           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    335     334       License by making exceptions from one or more of its conditions.
    336     335       Additional permissions that are applicable to the entire Program shall
    337     336       be treated as though they were included in this License, to the extent
    340     339       under those permissions, but the entire Program remains governed by
    341     340       this License without regard to the additional permissions.
    342     341
    343           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    344     343       remove any additional permissions from that copy, or from any part of
    345     344       it.    (Additional permissions may be written to require their own
    346     345       removal in certain cases when you modify the work.)     You may place
    347     346       additional permissions on material, added by you to a covered work,
    348     347       for which you have or can give appropriate copyright permission.
    349     348
    350           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    351     350       add to a covered work, you may (if authorized by the copyright holders of
    352     351       that material) supplement the terms of this License with terms:
    353     352
    354           -         a) Disclaiming warranty or limiting liability differently from the
    355           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    356     355
    357           -         b) Requiring preservation of specified reasonable legal notices or
    358           -         author attributions in that material or in the Appropriate Legal
    359           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    360     359
    361           -         c) Prohibiting misrepresentation of the origin of that material, or
    362           -         requiring that modified versions of such material be marked in
    363           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    364     363
    365           -         d) Limiting the use for publicity purposes of names of licensors or
    366           -         authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    367     366
    368           -         e) Declining to grant rights under trademark law for use of some
    369           -         trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    370     369
    371           -         f) Requiring indemnification of licensors and authors of that


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    372           -       material by anyone who conveys the material (or modified versions of
    373           -       it) with contractual assumptions of liability to the recipient, for
    374           -       any liability that these contractual assumptions directly impose on
    375           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    376     375
    377           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    378     377       restrictions" within the meaning of section 10.   If the Program as you
    379     378       received it, or any part of it, contains a notice stating that it is
    380           - governed by this License along with a term that is a further restriction,
    381           - you may remove that term.     If a license document contains a further
    382           - restriction but permits relicensing or conveying under this License, you
    383           - may add to a covered work material governed by the terms of that license
    384           - document, provided that the further restriction does not survive such
    385           - relicensing or conveying.
    386           -
    387           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.     If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    388     387       must place, in the relevant source files, a statement of the
    389     388       additional terms that apply to those files, or a notice indicating
    390     389       where to find the applicable terms.
    391     390
    392           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    393     392       form of a separately written license, or stated as exceptions;
    394     393       the above requirements apply either way.
    395     394
    396           -     8. Termination.
            395   + 8. Termination.
    397     396
    398           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    399     398       provided under this License.   Any attempt otherwise to propagate or
    400     399       modify it is void, and will automatically terminate your rights under
    401     400       this License (including any patent licenses granted under the third
    402     401       paragraph of section 11).
    403     402
    404           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    405     404       license from a particular copyright holder is reinstated (a)
    406     405       provisionally, unless and until the copyright holder explicitly and
    407     406       finally terminates your license, and (b) permanently, if the copyright
    408     407       holder fails to notify you of the violation by some reasonable means
    409     408       prior to 60 days after the cessation.
    410     409
    411           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    412     411       reinstated permanently if the copyright holder notifies you of the
    413     412       violation by some reasonable means, this is the first time you have
    414     413       received notice of violation of this License (for any work) from that
    415     414       copyright holder, and you cure the violation prior to 30 days after


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    416     415       your receipt of the notice.
    417     416
    418           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    419     418       licenses of parties who have received copies or rights from you under
    420     419       this License.    If your rights have been terminated and not permanently
    421     420       reinstated, you do not qualify to receive new licenses for the same
    422     421       material under section 10.
    423     422
    424           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    425     424
    426           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    427     426       run a copy of the Program.    Ancillary propagation of a covered work
    428     427       occurring solely as a consequence of using peer-to-peer transmission
    429     428       to receive a copy likewise does not require acceptance.    However,
    432     431       not accept this License.    Therefore, by modifying or propagating a
    433     432       covered work, you indicate your acceptance of this License to do so.
    434     433
    435           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    436     435
    437           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    438     437       receives a license from the original licensors, to run, modify and
    439     438       propagate that work, subject to this License.     You are not responsible
    440     439       for enforcing compliance by third parties with this License.
    441     440
    442           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    443     442       organization, or substantially all assets of one, or subdividing an
    444     443       organization, or merging organizations.    If propagation of a covered
    445     444       work results from an entity transaction, each party to that
    449     448       Corresponding Source of the work from the predecessor in interest, if
    450     449       the predecessor has it or can get it with reasonable efforts.
    451     450
    452           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    453     452       rights granted or affirmed under this License.    For example, you may
    454     453       not impose a license fee, royalty, or other charge for exercise of
    455     454       rights granted under this License, and you may not initiate litigation
    456     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    457     456       any patent claim is infringed by making, using, selling, offering for
    458     457       sale, or importing the Program or any portion of it.
    459     458
    460           -     11. Patents.
            459   + 11. Patents.
    461     460
    462           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    463     462       License of the Program or a work on which the Program is based.     The
    464     463       work thus licensed is called the contributor's "contributor version".
    465     464
    466           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    467     466       owned or controlled by the contributor, whether already acquired or
    468     467       hereafter acquired, that would be infringed by some manner, permitted
    469     468       by this License, of making, using, or selling its contributor version,
    473     472       patent sublicenses in a manner consistent with the requirements of
    474     473       this License.
    475     474
    476           -     Each contributor grants you a non-exclusive, worldwide, royalty-free


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            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    477     476       patent license under the contributor's essential patent claims, to
    478     477       make, use, sell, offer for sale, import and otherwise run, modify and
    479     478       propagate the contents of its contributor version.
    480     479
    481           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    482     481       agreement or commitment, however denominated, not to enforce a patent
    483     482       (such as an express permission to practice a patent or covenant not to
    484     483       sue for patent infringement).   To "grant" such a patent license to a
    485     484       party means to make such an agreement or commitment not to enforce a
    486     485       patent against the party.
    487     486
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    114     97        the interface presents a list of user commands or options, such as a
    115     98        menu, a prominent item in the list meets this criterion.
    116     99
    117           -     1. Source Code.
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    119           -     The "source code" for a work means the preferred form of the work
            102   + The "source code" for a work means the preferred form of the work
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            106   + A "Standard Interface" means an interface that either is an official
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            111   + The "System Libraries" of an executable work include anything, other
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    137     120       produce the work, or an object code interpreter used to run it.
    138     121
    139           -     The "Corresponding Source" for a work in object code form means all
            122   + The "Corresponding Source" for a work in object code form means all
    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
    142     125       control those activities.    However, it does not include the work's
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    150     133       subprograms and other parts of the work.
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            135   + The Corresponding Source need not include anything that users
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                                                                                                         Page 668 of 1198 · GitHub
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you
            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.    This


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             354/377
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    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.    This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an
    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated


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    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.    If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product
            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.       This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.    You need not require recipients to copy the
            267   + Corresponding Source along with the object code.     If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.     Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             356/377
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                                                                                                         Page 671 of 1198 · GitHub
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a
    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.   Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.   (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)   You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of


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    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -       a) Disclaiming warranty or limiting liability differently from the
    371           -       terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -       b) Requiring preservation of specified reasonable legal notices or
    374           -       author attributions in that material or in the Appropriate Legal
    375           -       Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -       c) Prohibiting misrepresentation of the origin of that material, or
    378           -       requiring that modified versions of such material be marked in
    379           -       reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -       d) Limiting the use for publicity purposes of names of licensors or
    382           -       authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -       e) Declining to grant rights under trademark law for use of some
    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -       f) Requiring indemnification of licensors and authors of that
    388           -       material by anyone who conveys the material (or modified versions of
    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.     If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.    If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.    If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the


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    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.    Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is
            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.   If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an


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    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.   If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.   For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted
    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
    494     477       make, use, sell, offer for sale, import and otherwise run, modify and
    495     478       propagate the contents of its contributor version.
    496     479
    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
    498     481       agreement or commitment, however denominated, not to enforce a patent
    499     482       (such as an express permission to practice a patent or covenant not to
    500     483       sue for patent infringement).   To "grant" such a patent license to a
    501     484       party means to make such an agreement or commitment not to enforce a
    502     485       patent against the party.
    503     486
    504           -     If you convey a covered work, knowingly relying on a patent license,
            487   + If you convey a covered work, knowingly relying on a patent license,
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            102   + The "source code" for a work means the preferred form of the work
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    140     123       the source code needed to generate, install, and (for an executable
    141     124       work) run the object code and to modify the work, including scripts to
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    168     151
    169           -     You may make, run and propagate covered works that you do not
            152   + You may make, run and propagate covered works that you do not
    170     153       convey, without conditions so long as your license otherwise remains
    171     154       in force.    You may convey covered works to others for the sole purpose
    172     155       of having them make modifications exclusively for you, or provide you
    177     160       and control, on terms that prohibit them from making any copies of
    178     161       your copyrighted material outside their relationship with you.
    179     162
    180           -     Conveying under any other circumstances is permitted solely under
            163   + Conveying under any other circumstances is permitted solely under
    181     164       the conditions stated below.     Sublicensing is not allowed; section 10
    182     165       makes it unnecessary.
    183     166
    184           -     3. Protecting Users' Legal Rights From Anti-Circumvention Law.
            167   + 3. Protecting Users' Legal Rights From Anti-Circumvention Law.
    185     168
    186           -     No covered work shall be deemed part of an effective technological
            169   + No covered work shall be deemed part of an effective technological
    187     170       measure under any applicable law fulfilling obligations under article
    188     171       11 of the WIPO copyright treaty adopted on 20 December 1996, or
    189     172       similar laws prohibiting or restricting circumvention of such
    190     173       measures.
    191     174
    192           -     When you convey a covered work, you waive any legal power to forbid
            175   + When you convey a covered work, you waive any legal power to forbid
    193     176       circumvention of technological measures to the extent such circumvention
    194     177       is effected by exercising rights under this License with respect to
    195     178       the covered work, and you disclaim any intention to limit operation or
    196     179       modification of the work as a means of enforcing, against the work's
    197     180       users, your or third parties' legal rights to forbid circumvention of
    198     181       technological measures.
    199     182
    200           -     4. Conveying Verbatim Copies.
            183   + 4. Conveying Verbatim Copies.
    201     184
    202           -     You may convey verbatim copies of the Program's source code as you


https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             367/377
                                                                                                                             N4J_019407
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            185   + You may convey verbatim copies of the Program's source code as you
    203     186       receive it, in any medium, provided that you conspicuously and
    204     187       appropriately publish on each copy an appropriate copyright notice;
    205     188       keep intact all notices stating that this License and any
    206     189       non-permissive terms added in accord with section 7 apply to the code;
    207     190       keep intact all notices of the absence of any warranty; and give all
    208     191       recipients a copy of this License along with the Program.
    209     192
    210           -     You may charge any price or no price for each copy that you convey,
            193   + You may charge any price or no price for each copy that you convey,
    211     194       and you may offer support or warranty protection for a fee.
    212     195
    213           -     5. Conveying Modified Source Versions.
            196   + 5. Conveying Modified Source Versions.
    214     197
    215           -     You may convey a work based on the Program, or the modifications to
            198   + You may convey a work based on the Program, or the modifications to
    216     199       produce it from the Program, in the form of source code under the
    217     200       terms of section 4, provided that you also meet all of these conditions:
    218     201
    219           -       a) The work must carry prominent notices stating that you modified
    220           -       it, and giving a relevant date.
            202   + a) The work must carry prominent notices stating that you modified
            203   + it, and giving a relevant date.
    221     204
    222           -       b) The work must carry prominent notices stating that it is
    223           -       released under this License and any conditions added under section
    224           -       7.   This requirement modifies the requirement in section 4 to
    225           -       "keep intact all notices".
            205   + b) The work must carry prominent notices stating that it is
            206   + released under this License and any conditions added under section
            207   + 7.    This requirement modifies the requirement in section 4 to
            208   + "keep intact all notices".
    226     209
    227           -       c) You must license the entire work, as a whole, under this
    228           -       License to anyone who comes into possession of a copy.     This
    229           -       License will therefore apply, along with any applicable section 7
    230           -       additional terms, to the whole of the work, and all its parts,
    231           -       regardless of how they are packaged.   This License gives no
    232           -       permission to license the work in any other way, but it does not
    233           -       invalidate such permission if you have separately received it.
            210   + c) You must license the entire work, as a whole, under this
            211   + License to anyone who comes into possession of a copy.     This
            212   + License will therefore apply, along with any applicable section 7
            213   + additional terms, to the whole of the work, and all its parts,
            214   + regardless of how they are packaged.     This License gives no
            215   + permission to license the work in any other way, but it does not
            216   + invalidate such permission if you have separately received it.
    234     217
    235           -       d) If the work has interactive user interfaces, each must display
    236           -       Appropriate Legal Notices; however, if the Program has interactive
    237           -       interfaces that do not display Appropriate Legal Notices, your
    238           -       work need not make them do so.
            218   + d) If the work has interactive user interfaces, each must display
            219   + Appropriate Legal Notices; however, if the Program has interactive
            220   + interfaces that do not display Appropriate Legal Notices, your
            221   + work need not make them do so.
    239     222
    240           -     A compilation of a covered work with other separate and independent
            223   + A compilation of a covered work with other separate and independent
    241     224       works, which are not by their nature extensions of the covered work,
    242     225       and which are not combined with it such as to form a larger program,
    243     226       in or on a volume of a storage or distribution medium, is called an


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    247     230       in an aggregate does not cause this License to apply to the other
    248     231       parts of the aggregate.
    249     232
    250           -     6. Conveying Non-Source Forms.
            233   + 6. Conveying Non-Source Forms.
    251     234
    252           -     You may convey a covered work in object code form under the terms
            235   + You may convey a covered work in object code form under the terms
    253     236       of sections 4 and 5, provided that you also convey the
    254     237       machine-readable Corresponding Source under the terms of this License,
    255     238       in one of these ways:
    256     239
    257           -       a) Convey the object code in, or embodied in, a physical product
    258           -       (including a physical distribution medium), accompanied by the
    259           -       Corresponding Source fixed on a durable physical medium
    260           -       customarily used for software interchange.
    261           -
    262           -       b) Convey the object code in, or embodied in, a physical product
    263           -       (including a physical distribution medium), accompanied by a
    264           -       written offer, valid for at least three years and valid for as
    265           -       long as you offer spare parts or customer support for that product
    266           -       model, to give anyone who possesses the object code either (1) a
    267           -       copy of the Corresponding Source for all the software in the
    268           -       product that is covered by this License, on a durable physical
    269           -       medium customarily used for software interchange, for a price no
    270           -       more than your reasonable cost of physically performing this
    271           -       conveying of source, or (2) access to copy the
    272           -       Corresponding Source from a network server at no charge.
    273           -
    274           -       c) Convey individual copies of the object code with a copy of the
    275           -       written offer to provide the Corresponding Source.   This
    276           -       alternative is allowed only occasionally and noncommercially, and
    277           -       only if you received the object code with such an offer, in accord
    278           -       with subsection 6b.
    279           -
    280           -       d) Convey the object code by offering access from a designated
    281           -       place (gratis or for a charge), and offer equivalent access to the
    282           -       Corresponding Source in the same way through the same place at no
    283           -       further charge.   You need not require recipients to copy the
    284           -       Corresponding Source along with the object code.   If the place to
    285           -       copy the object code is a network server, the Corresponding Source
    286           -       may be on a different server (operated by you or a third party)
    287           -       that supports equivalent copying facilities, provided you maintain
    288           -       clear directions next to the object code saying where to find the
    289           -       Corresponding Source.   Regardless of what server hosts the
    290           -       Corresponding Source, you remain obligated to ensure that it is
    291           -       available for as long as needed to satisfy these requirements.
    292           -
    293           -       e) Convey the object code using peer-to-peer transmission, provided
    294           -       you inform other peers where the object code and Corresponding
    295           -       Source of the work are being offered to the general public at no
    296           -       charge under subsection 6d.
    297           -
    298           -     A separable portion of the object code, whose source code is excluded
            240   + a) Convey the object code in, or embodied in, a physical product
            241   + (including a physical distribution medium), accompanied by the
            242   + Corresponding Source fixed on a durable physical medium
            243   + customarily used for software interchange.
            244   +
            245   + b) Convey the object code in, or embodied in, a physical product
            246   + (including a physical distribution medium), accompanied by a
            247   + written offer, valid for at least three years and valid for as
            248   + long as you offer spare parts or customer support for that product


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            249   + model, to give anyone who possesses the object code either (1) a
            250   + copy of the Corresponding Source for all the software in the
            251   + product that is covered by this License, on a durable physical
            252   + medium customarily used for software interchange, for a price no
            253   + more than your reasonable cost of physically performing this
            254   + conveying of source, or (2) access to copy the
            255   + Corresponding Source from a network server at no charge.
            256   +
            257   + c) Convey individual copies of the object code with a copy of the
            258   + written offer to provide the Corresponding Source.      This
            259   + alternative is allowed only occasionally and noncommercially, and
            260   + only if you received the object code with such an offer, in accord
            261   + with subsection 6b.
            262   +
            263   + d) Convey the object code by offering access from a designated
            264   + place (gratis or for a charge), and offer equivalent access to the
            265   + Corresponding Source in the same way through the same place at no
            266   + further charge.      You need not require recipients to copy the
            267   + Corresponding Source along with the object code.      If the place to
            268   + copy the object code is a network server, the Corresponding Source
            269   + may be on a different server (operated by you or a third party)
            270   + that supports equivalent copying facilities, provided you maintain
            271   + clear directions next to the object code saying where to find the
            272   + Corresponding Source.      Regardless of what server hosts the
            273   + Corresponding Source, you remain obligated to ensure that it is
            274   + available for as long as needed to satisfy these requirements.
            275   +
            276   + e) Convey the object code using peer-to-peer transmission, provided
            277   + you inform other peers where the object code and Corresponding
            278   + Source of the work are being offered to the general public at no
            279   + charge under subsection 6d.
            280   +
            281   + A separable portion of the object code, whose source code is excluded
    299     282       from the Corresponding Source as a System Library, need not be
    300     283       included in conveying the object code work.
    301     284
    302           -     A "User Product" is either (1) a "consumer product", which means any
            285   + A "User Product" is either (1) a "consumer product", which means any
    303     286       tangible personal property which is normally used for personal, family,
    304     287       or household purposes, or (2) anything designed or sold for incorporation
    305     288       into a dwelling.   In determining whether a product is a consumer product,
    312     295       commercial, industrial or non-consumer uses, unless such uses represent
    313     296       the only significant mode of use of the product.
    314     297
    315           -     "Installation Information" for a User Product means any methods,
            298   + "Installation Information" for a User Product means any methods,
    316     299       procedures, authorization keys, or other information required to install
    317     300       and execute modified versions of a covered work in that User Product from
    318     301       a modified version of its Corresponding Source.    The information must
    319     302       suffice to ensure that the continued functioning of the modified object
    320     303       code is in no case prevented or interfered with solely because
    321     304       modification has been made.
    322     305
    323           -     If you convey an object code work under this section in, or with, or
            306   + If you convey an object code work under this section in, or with, or
    324     307       specifically for use in, a User Product, and the conveying occurs as
    325     308       part of a transaction in which the right of possession and use of the
    326     309       User Product is transferred to the recipient in perpetuity or for a
    331     314       modified object code on the User Product (for example, the work has
    332     315       been installed in ROM).
    333     316
    334           -     The requirement to provide Installation Information does not include a
            317   + The requirement to provide Installation Information does not include a


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    335     318       requirement to continue to provide support service, warranty, or updates
    336     319       for a work that has been modified or installed by the recipient, or for
    337     320       the User Product in which it has been modified or installed.       Access to a
    338     321       network may be denied when the modification itself materially and
    339     322       adversely affects the operation of the network or violates the rules and
    340     323       protocols for communication across the network.
    341     324
    342           -     Corresponding Source conveyed, and Installation Information provided,
            325   + Corresponding Source conveyed, and Installation Information provided,
    343     326       in accord with this section must be in a format that is publicly
    344     327       documented (and with an implementation available to the public in
    345     328       source code form), and must require no special password or key for
    346     329       unpacking, reading or copying.
    347     330
    348           -     7. Additional Terms.
            331   + 7. Additional Terms.
    349     332
    350           -     "Additional permissions" are terms that supplement the terms of this
            333   + "Additional permissions" are terms that supplement the terms of this
    351     334       License by making exceptions from one or more of its conditions.
    352     335       Additional permissions that are applicable to the entire Program shall
    353     336       be treated as though they were included in this License, to the extent
    356     339       under those permissions, but the entire Program remains governed by
    357     340       this License without regard to the additional permissions.
    358     341
    359           -     When you convey a copy of a covered work, you may at your option
            342   + When you convey a copy of a covered work, you may at your option
    360     343       remove any additional permissions from that copy, or from any part of
    361     344       it.    (Additional permissions may be written to require their own
    362     345       removal in certain cases when you modify the work.)     You may place
    363     346       additional permissions on material, added by you to a covered work,
    364     347       for which you have or can give appropriate copyright permission.
    365     348
    366           -     Notwithstanding any other provision of this License, for material you
            349   + Notwithstanding any other provision of this License, for material you
    367     350       add to a covered work, you may (if authorized by the copyright holders of
    368     351       that material) supplement the terms of this License with terms:
    369     352
    370           -         a) Disclaiming warranty or limiting liability differently from the
    371           -         terms of sections 15 and 16 of this License; or
            353   + a) Disclaiming warranty or limiting liability differently from the
            354   + terms of sections 15 and 16 of this License; or
    372     355
    373           -         b) Requiring preservation of specified reasonable legal notices or
    374           -         author attributions in that material or in the Appropriate Legal
    375           -         Notices displayed by works containing it; or
            356   + b) Requiring preservation of specified reasonable legal notices or
            357   + author attributions in that material or in the Appropriate Legal
            358   + Notices displayed by works containing it; or
    376     359
    377           -         c) Prohibiting misrepresentation of the origin of that material, or
    378           -         requiring that modified versions of such material be marked in
    379           -         reasonable ways as different from the original version; or
            360   + c) Prohibiting misrepresentation of the origin of that material, or
            361   + requiring that modified versions of such material be marked in
            362   + reasonable ways as different from the original version; or
    380     363
    381           -         d) Limiting the use for publicity purposes of names of licensors or
    382           -         authors of the material; or
            364   + d) Limiting the use for publicity purposes of names of licensors or
            365   + authors of the material; or
    383     366
    384           -         e) Declining to grant rights under trademark law for use of some


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    385           -       trade names, trademarks, or service marks; or
            367   + e) Declining to grant rights under trademark law for use of some
            368   + trade names, trademarks, or service marks; or
    386     369
    387           -       f) Requiring indemnification of licensors and authors of that
    388           -       material by anyone who conveys the material (or modified versions of
    389           -       it) with contractual assumptions of liability to the recipient, for
    390           -       any liability that these contractual assumptions directly impose on
    391           -       those licensors and authors.
            370   + f) Requiring indemnification of licensors and authors of that
            371   + material by anyone who conveys the material (or modified versions of
            372   + it) with contractual assumptions of liability to the recipient, for
            373   + any liability that these contractual assumptions directly impose on
            374   + those licensors and authors.
    392     375
    393           -     All other non-permissive additional terms are considered "further
            376   + All other non-permissive additional terms are considered "further
    394     377       restrictions" within the meaning of section 10.     If the Program as you
    395     378       received it, or any part of it, contains a notice stating that it is
    396           - governed by this License along with a term that is a further restriction,
    397           - you may remove that term.     If a license document contains a further
    398           - restriction but permits relicensing or conveying under this License, you
    399           - may add to a covered work material governed by the terms of that license
    400           - document, provided that the further restriction does not survive such
    401           - relicensing or conveying.
    402           -
    403           -     If you add terms to a covered work in accord with this section, you
            379   + governed by this License along with a term that is a further
            380   + restriction, you may remove that term.     If a license document contains
            381   + a further restriction but permits relicensing or conveying under this
            382   + License, you may add to a covered work material governed by the terms
            383   + of that license document, provided that the further restriction does
            384   + not survive such relicensing or conveying.
            385   +
            386   + If you add terms to a covered work in accord with this section, you
    404     387       must place, in the relevant source files, a statement of the
    405     388       additional terms that apply to those files, or a notice indicating
    406     389       where to find the applicable terms.
    407     390
    408           -     Additional terms, permissive or non-permissive, may be stated in the
            391   + Additional terms, permissive or non-permissive, may be stated in the
    409     392       form of a separately written license, or stated as exceptions;
    410     393       the above requirements apply either way.
    411     394
    412           -     8. Termination.
            395   + 8. Termination.
    413     396
    414           -     You may not propagate or modify a covered work except as expressly
            397   + You may not propagate or modify a covered work except as expressly
    415     398       provided under this License.   Any attempt otherwise to propagate or
    416     399       modify it is void, and will automatically terminate your rights under
    417     400       this License (including any patent licenses granted under the third
    418     401       paragraph of section 11).
    419     402
    420           -     However, if you cease all violation of this License, then your
            403   + However, if you cease all violation of this License, then your
    421     404       license from a particular copyright holder is reinstated (a)
    422     405       provisionally, unless and until the copyright holder explicitly and
    423     406       finally terminates your license, and (b) permanently, if the copyright
    424     407       holder fails to notify you of the violation by some reasonable means
    425     408       prior to 60 days after the cessation.
    426     409
    427           -     Moreover, your license from a particular copyright holder is


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            410   + Moreover, your license from a particular copyright holder is
    428     411       reinstated permanently if the copyright holder notifies you of the
    429     412       violation by some reasonable means, this is the first time you have
    430     413       received notice of violation of this License (for any work) from that
    431     414       copyright holder, and you cure the violation prior to 30 days after
    432     415       your receipt of the notice.
    433     416
    434           -     Termination of your rights under this section does not terminate the
            417   + Termination of your rights under this section does not terminate the
    435     418       licenses of parties who have received copies or rights from you under
    436     419       this License.    If your rights have been terminated and not permanently
    437     420       reinstated, you do not qualify to receive new licenses for the same
    438     421       material under section 10.
    439     422
    440           -     9. Acceptance Not Required for Having Copies.
            423   + 9. Acceptance Not Required for Having Copies.
    441     424
    442           -     You are not required to accept this License in order to receive or
            425   + You are not required to accept this License in order to receive or
    443     426       run a copy of the Program.    Ancillary propagation of a covered work
    444     427       occurring solely as a consequence of using peer-to-peer transmission
    445     428       to receive a copy likewise does not require acceptance.    However,
    448     431       not accept this License.    Therefore, by modifying or propagating a
    449     432       covered work, you indicate your acceptance of this License to do so.
    450     433
    451           -     10. Automatic Licensing of Downstream Recipients.
            434   + 10. Automatic Licensing of Downstream Recipients.
    452     435
    453           -     Each time you convey a covered work, the recipient automatically
            436   + Each time you convey a covered work, the recipient automatically
    454     437       receives a license from the original licensors, to run, modify and
    455     438       propagate that work, subject to this License.     You are not responsible
    456     439       for enforcing compliance by third parties with this License.
    457     440
    458           -     An "entity transaction" is a transaction transferring control of an
            441   + An "entity transaction" is a transaction transferring control of an
    459     442       organization, or substantially all assets of one, or subdividing an
    460     443       organization, or merging organizations.    If propagation of a covered
    461     444       work results from an entity transaction, each party to that
    465     448       Corresponding Source of the work from the predecessor in interest, if
    466     449       the predecessor has it or can get it with reasonable efforts.
    467     450
    468           -     You may not impose any further restrictions on the exercise of the
            451   + You may not impose any further restrictions on the exercise of the
    469     452       rights granted or affirmed under this License.    For example, you may
    470     453       not impose a license fee, royalty, or other charge for exercise of
    471     454       rights granted under this License, and you may not initiate litigation
    472     455       (including a cross-claim or counterclaim in a lawsuit) alleging that
    473     456       any patent claim is infringed by making, using, selling, offering for
    474     457       sale, or importing the Program or any portion of it.
    475     458
    476           -     11. Patents.
            459   + 11. Patents.
    477     460
    478           -     A "contributor" is a copyright holder who authorizes use under this
            461   + A "contributor" is a copyright holder who authorizes use under this
    479     462       License of the Program or a work on which the Program is based.     The
    480     463       work thus licensed is called the contributor's "contributor version".
    481     464
    482           -     A contributor's "essential patent claims" are all patent claims
            465   + A contributor's "essential patent claims" are all patent claims
    483     466       owned or controlled by the contributor, whether already acquired or
    484     467       hereafter acquired, that would be infringed by some manner, permitted


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    485     468       by this License, of making, using, or selling its contributor version,
    489     472       patent sublicenses in a manner consistent with the requirements of
    490     473       this License.
    491     474
    492           -     Each contributor grants you a non-exclusive, worldwide, royalty-free
            475   + Each contributor grants you a non-exclusive, worldwide, royalty-free
    493     476       patent license under the contributor's essential patent claims, to
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    497           -     In the following three paragraphs, a "patent license" is any express
            480   + In the following three paragraphs, a "patent license" is any express
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    525     508
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            528   + 12. No Surrender of Others' Freedom.
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                                                                                                                             N4J_019414
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                                                                                                         Page 689 of 1198 · GitHub
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            566   + address new problems or concerns.
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            568   + Each version is given a distinguishing version number.       If the
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                                                                                                         Page 690 of 1198 · GitHub
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            610   + 17. Interpretation of Sections 15 and 16.
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            612   + If the disclaimer of warranty and limitation of liability provided
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    632     615       an absolute waiver of all civil liability in connection with the
    633     616       Program, unless a warranty or assumption of liability accompanies a
    634     617       copy of the Program in return for a fee.
    635     618
    636           -                           END OF TERMS AND CONDITIONS
            619   + END OF TERMS AND CONDITIONS
    637     620
    638           -                   How to Apply These Terms to Your New Programs
            621   + How to Apply These Terms to Your New Programs
    639     622
    640           -     If you develop a new program, and you want it to be of the greatest
            623   + If you develop a new program, and you want it to be of the greatest
    641     624       possible use to the public, the best way to achieve this is to make it
    642     625       free software which everyone can redistribute and change under these terms.
    643     626
    644           -     To do so, attach the following notices to the program.    It is safest
            627   + To do so, attach the following notices to the program.       It is safest
    645     628       to attach them to the start of each source file to most effectively
    646     629       state the exclusion of warranty; and each file should have at least
    647     630       the "copyright" line and a pointer to where the full notice is found.
    648     631
    649           -       <one line to give the program's name and a brief idea of what it does.>
    650           -       Copyright (C) <year>    <name of author>
            632   + <one line to give the program's name and a brief idea of what it does.>
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    651     634


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    664     647
    665     648       Also add information on how to contact you by electronic and paper mail.
    666     649
    667           -     If your software can interact with users remotely through a computer
            650   + If your software can interact with users remotely through a computer
    668     651       network, you should also make sure that it provides a way for users to
    669     652       get its source.   For example, if your program is a web application, its
    670     653       interface could display a "Source" link that leads users to an archive
    671     654       of the code.   There are many ways you could offer source, and different
    672     655       solutions will be better for different programs; see section 13 for the
    673     656       specific requirements.
    674     657
    675           -     You should also get your employer (if you work as a programmer) or school,
            658   + You should also get your employer (if you work as a programmer) or school,
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  0 comments on commit c0b23b2

  Please sign in to comment.




https://github.com/graphfoundation/ongdb/commit/c0b23b21e051fe12bd01a50d46ca3a7ad9e88374                                             377/377
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                                                 EXHIBIT 40
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From:        John Mark Suhy (jmsuhy@purethink.com)
To:          Joerg Baach (joerg@baach.de)
CC:
BCC:
Subject:     Re: ONgDB Source / License
Attachments:
Sent:        01/18/2019 05:32:37 PM -0800 (PST)

Neo4j removed the enterprise source at 3.5-beta03 - there is a small and growing team who keeps the enterprise code
(under enterprise sub-module) up to date and adding new features.

It would be much harder if Neo4j core was closed source!

3.4.12 is actually ready to go as well. It is going through testing this weekend.

Have a good weekend,

John Mark

On Fri, Jan 18, 2019, 12:44 PM Joerg Baach <joerg@baach.de wrote:
 Hello John Mark,

  very exiting news, glad to hear it. I am really looking forward to build
  the code - quite busy on the weekend, but I'll surely manage during the
  week.

  One question though: is this a 3.5 Community with 3.4 enterprise - Add
  ons, or how do you get around the AGPL removal from neo4j enterprise in
  December?

  Thanks a lot, your work is hugely appreciated!

   Joerg

  On 18.01.19 17:41, John Mark Suhy wrote:
  > Hello Jörg,
  >
  > I just wanted to let you know that for ONgDB 3.5 - we merged the build
  > framework and enterprise code back into the code repository like it used
  > to be before Neo started stripping it out.
  >
  > I have build instructions as well since everything is much easier now.
  >
  > See: https://github.com/GraphFoundation/ongdb
  >
  > Do you want to.try building everything now to flush out my instructions?
  >
  >
  > Let me know.
  >
  > Thank you,
  >                                                                                                      Witness:
  > John Mark                                                                                         John Mark Suhy
  >
  >                                                                                                 Exhibit 28
                                                                                                       10/22/2020 B Gerald


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> On Fri, Nov 9, 2018, 6:39 PM Joerg Baach <joerg@baach.de
> <mailto:joerg@baach.de> wrote:
>
> Hi John,
>
> I am quite deligthed to have found your website, first because of
> pricing info, but more important because of your work on making the
> neo4j enterprise version available again.
>
> May I ask two questions:
>
> - where can I find the source of the binaries you provide?
> - could you provide instructions on how to build your binaries myself?
>
> I am asking because I tried to generate the neo4j binaries myself, but
> run into the issues you describe in your blog post. Now I would love to
> try the enterprise version, ideally in a version that I can/could
> verify.
>
> Cheers, and thanks again for your work!
>
>    Jörg
>




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                                                 EXHIBIT 41
11/9/2020                              GitHub -Case   5:18-cv-07182-EJD
                                               graphfoundation/ongdb:             Document
                                                                      ONgDB (Open Native         98-1
                                                                                         Graph DB) - Neo4j Filed
                                                                                                           fork with12/11/20
                                                                                                                    enterprise codePage   696 of
                                                                                                                                   base. ONgDB     1198Neo4j Open Core commits.
                                                                                                                                               integrates




        graphfoundation / ongdb

            Code         Issues 3           Pull requests 2         Actions          Projects          Wiki         Security         Insights




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                   3.6              41 branches     293 tags                                                                      Go to file           Code       About

                                                                                                                                                                  ONgDB (Open Native Graph DB) -
                    bradnussbaum Merge pull request #50 from graphfoundation/3.6-fulltext-paging …                  0ca04b3 2 days ago          61,426 commits    Neo4j fork with enterprise code base.
                                                                                                                                                                  ONgDB integrates Neo4j Open Core
                    .github/ISSUE_TEMPLATE                     Replace Neo4j w/ ONgDB                                                             7 months ago    commits.

                    .mvn                                       Add the maven-profiler extension                                                     4 years ago       www.graphfoundation.org/projects/o…

                    build-resources                            3.6.1-SNAPSHOT                                                                     4 months ago         Readme

                    build                                      Fixes to checkstyle                                                                6 months ago         AGPL-3.0 License

                    community                                  Adds in paging feature to Fulltext queries. Depreciates 'queryNodes'/…               5 days ago

                    enterprise                                 Adds in paging feature to Fulltext queries. Depreciates 'queryNodes'/…               5 days ago    Releases     293

                    integrationtests                           Adds class FulltextSortIndexCausalClusterIT into the Integration Tests.            3 months ago        3.5.19   Latest
                                                                                                                                                                      on Aug 12
                    packaging                                  3.6.1-SNAPSHOT                                                                     4 months ago
                                                                                                                                                                  + 292 releases
                    stresstests                                3.6.1-SNAPSHOT                                                                     4 months ago

                    tools                                      3.6.1-SNAPSHOT                                                                     4 months ago
                                                                                                                                                                  Packages
                    .gitignore                                 Bump checkstyle version to 8.26                                                   11 months ago
                                                                                                                                                                  No packages published
                    .scalafmt.conf                             initial scala auto-formatting of util module                                         3 years ago

                    CONTRIBUTING.md                            Merge remote-tracking branch 'neo4j/3.5' into 3.5                                  7 months ago
                                                                                                                                                                  Contributors       182
                    LICENSE.txt                                Updated the LICENSE.txt file to be pure AGPL as to not violate the fs…               2 years ago

                    README.asciidoc                            Updating readme                                                                    5 months ago

https://web.archive.org/web/20200930083623/https://github.com/graphfoundation/ongdb
                                                                                                                                                                                                         N4J_019940
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                                                                  ONgDB (Open Native         98-1
                                                                                     Graph DB) - Neo4j Filed
                                                                                                       fork with12/11/20
                                                                                                                enterprise codePage   697 of
                                                                                                                               base. ONgDB     1198Neo4j Open Core commits.
                                                                                                                                           integrates

                    pom.xml                               3.6.1-SNAPSHOT                                                          4 months ago

                                                                                                                                                 + 171 contributors

               README.asciidoc


                                                                                                                                                 Languages



                  ONgDB - fork of Neo4j Enterprise: Graphs for Everyone
                                                                                                                                                     Java 81.4%        Scala 17.6%
                                                                                                                                                     PowerShell 0.3%        Gherkin 0.3%
                                                                                                                                                     Shell 0.2%        Roff 0.2%

                  Open Native Graph DB (ONgDB) is a fork of the neo4j project that continues development of the neo4j enterprise
                  codebase as a fully open source project after Neo4j Inc’s Open Core Shift that closed ongoing development and
                  removed existing source code.

                  ONgDB is a high performance, native graph store with everything you would expect from an enterprise-ready
                  database, including high availability clustering, ACID transactions, and uses the intuitive, pattern-centric open cypher
                  query language. Developers use graph theory-based structures that we call nodes and relationships instead of rows
                  and columns. For many use cases, ONgDB will provide orders of magnitude performance benefits compared to non-
                  native graph, relational and NoSQL databases.

                  Learn more about our open source mission at The Graph Foundation website.


                  Using ONgDB
                  ONgDB is available as a standalone server, an embeddable component or a Docker image. You can download
                  distributions from our CDN or pull images from DockerHub.


                  Extending ONgDB
                  We encourage experimentation with ONgDB. You can build extensions to ONgDB, develop library or drivers atop the
                  product, or make contributions directly to the product core. You’ll need to sign a Contributor License Agreement in
                  order for us to accept your patches.

                              This GitHub repository contains mixed GPL and AGPL code. The Community edition (in the community/
                    Note
                              directory) is GPLv3. The Enterprise edition (enterprise/) is licensed under the AGPLv3.


                  Dependencies
                  ONgDB is built using Apache Maven version 3.3 and a recent version of supported VM. Bash and Make are also
                  required. Note that maven needs more memory than the standard configuration, this can be achieved with export
                  MAVEN_OPTS="-Xmx512m" .

                  macOS users need to have Homebrew installed.


https://web.archive.org/web/20200930083623/https://github.com/graphfoundation/ongdb
                                                                                                                                                                                           N4J_019941
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11/9/2020                            GitHub -Case   5:18-cv-07182-EJD
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                                                                                                                  enterprise codePage   698 of
                                                                                                                                 base. ONgDB     1198Neo4j Open Core commits.
                                                                                                                                             integrates

                  With brew on macOS

                    brew install maven



                  Please note that we do not support building Debian packages on macOS.


                  With apt-get on Ubuntu

                    apt install maven openjdk-8-jdk



                  On top of that, to build Debian packages:


                    apt install debhelper devscripts dos2unix dpkg make xmlstarlet




                  Building ONgDB
                  Before you start running the unit and integration tests in the ONgDB Maven project on a Linux-like system, you should
                  ensure your limit on open files is set to a reasonable value. You can test it with ulimit -n . We recommend you have a
                  limit of at least 40K.

                       A plain mvn clean install will only build the individual jar files.

                       Test execution is, of course, part of the build.

                       In case you just want the jars, without running tests, this is for you: mvn clean install -DskipTests .

                       To build product packages, do export PATH="bin:$PATH" && make clean all in the packaging directory after
                       building artifacts with Maven.

                       To build the documentation see the ONgDB documentation.

                       If you are running into problems building on Windows you can try building ONgDB in a Ubuntu virtual machine.

                       You may need to increase the memory available to Maven: export MAVEN_OPTS="-Xmx512m" .


                  Running ONgDB
                  After running a mvn clean install , cd into packaging/standalone/target and extract the version you want. If you
                  are not building from source you can start from a published release.


                  Linux/macOS
                  On Linux/macOS you want to run:


https://web.archive.org/web/20200930083623/https://github.com/graphfoundation/ongdb
                                                                                                                                                                                N4J_019942
                                                                                                                                                                                      3/5
11/9/2020                           GitHub -Case   5:18-cv-07182-EJD
                                            graphfoundation/ongdb:             Document
                                                                   ONgDB (Open Native         98-1
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                                                                                                                 enterprise codePage   699 of
                                                                                                                                base. ONgDB     1198Neo4j Open Core commits.
                                                                                                                                            integrates

                    bin/neo4j start



                  in the extracted folder to start ONgDB on localhost:7474 .


                  Windows
                  On Windows you want to run:


                    bin\neo4j start



                  in the extracted folder to start ONgDB on localhost:7474 .


                  Maven
                  If you are not interested in the tarballs and just want to run ONgDB you can instead run a mvn clean install -
                  DminimalBuild and then cd into community/server and run:


                    mvn clean compile exec:java



                  to start ONgDB.


                  Docker
                  To run with Docker execute the following:


                    docker run \
                       --publish=7474:7474 --publish=7687:7687 \
                       --volume=$HOME/ongdb/data:/data \
                       graphfoundation/ongdb:3.6



                  to start localhost:7474 . See DockerHub for published release tags and more details.


                  Licensing
                  ONgDB Community Edition is an open source product licensed under GPLv3.

                  ONgDB Enterprise Edition expands the functionality of Community Edition with Enterprise-grade features.

                  ONgDB Enterprise Edition consists of modules from ONgDB Community Edition and modules licensed under AGPLv3
                  in this repository.


                  Misc

https://web.archive.org/web/20200930083623/https://github.com/graphfoundation/ongdb
                                                                                                                                                                               N4J_019943
                                                                                                                                                                                     4/5
11/9/2020                          GitHub -Case   5:18-cv-07182-EJD
                                           graphfoundation/ongdb:             Document
                                                                  ONgDB (Open Native         98-1
                                                                                     Graph DB) - Neo4j Filed
                                                                                                       fork with12/11/20
                                                                                                                enterprise codePage   700 of
                                                                                                                               base. ONgDB     1198Neo4j Open Core commits.
                                                                                                                                           integrates

                  ONgDB IDE code style configs can be found at under the build/ folder of this repository.




https://web.archive.org/web/20200930083623/https://github.com/graphfoundation/ongdb
                                                                                                                                                                              N4J_019944
                                                                                                                                                                                    5/5
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                                                 EXHIBIT 42
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From:        John Mark Suhy (jmsuhy@igovsol.com)
To:          Witherspoon, Robin L (robin.l.witherspoon@perspecta.com)
CC:          Thompson, Janet K (janet.k.thompson@perspecta.com)
BCC:
Subject:     Re: RFQ 031219 Neo4J
Attachments: image001.png;
Sent:        03/26/2019 10:06:55 AM -0700 (PST)

I wanted to follow up with you regarding the Neo4j quote to help you understand the options.

I hope this information is useful to you in the future.

1. You do not have to pay any licensing fees for the software you requested.
Neo4j AKA Neo4j Server is available to use 100% free, in production. It is open source.

You may not know this because Neo4j partners are forbidden to support
and promote this in their partner contracts.

I would be happy to connect your client to our federal clients to
learn more as an interagency exchange.

2. Neo4j Enterprise <= v3.4, ONgDB Enterprise => v3.5 and all versions of Neo4j Core
 are all 100% free and open. You are asking for a support subscription which gives you limited email and phone support.

The packages from the link below (that was posted on a GSA
schedule previously) are basically support contracts.
https://blog.igovsol.com/2018/01/10/Neo4j-Commercial-Prices.html

Also See:
https://graphfoundation.org/ongdb/
https://github.com/neo4j/neo4j
https://github.com/graphfoundation/ongdb


3. Open Native Graph Database (ONgDB) is a free and open fork of Neo4j
Enterprise which has been adopted by US Treasury. It is the same core Neo4j source code, and has enterprise modules
added. (All open source).

More agencies are adopting it as they learn about it.
ONgDB takes Neo4j core (which is open source) and adds enterprise
features into it, all 100% free and open, with no limits on cores or
cluster instances that 'commercial subscriptions' impose.
See:
https://github.com/neo4j/neo4j
https://github.com/graphfoundation/ongdb

2) Neo4j partners are forbidden from supporting or promoting open
source distributions. Furthermore there was a system in place that
allowed partners to 'register' an 'opportunity'
which further limits your ability to get fair competing quotations.

3) You may have brand name justification issues and face protest
around any Neo4j procurement because of several factors that are in
part because of its dual license model (open source or commercial) and
is hard to justify because there is a great deal of past performance across the open source, and forks in the US federal



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government.

I hope this information was useful.

Feel free to reach out to me anytime if you have any questions.

Respectfully,

John Mark Suhy
iGov Inc
jmsuhy@igovsol.com
703-862-7780
https://igovsol.com


On Wed, Mar 13, 2019 at 2:58 PM John Mark Suhy <jmsuhy@igovsol.com> wrote:
 Good afternoon.

  Below is our quote.

  I wanted to point out that what you are asking for does not actually exist. I.E. You referenced Neo4j Server - but you have
  quite a few options, most of which cost nothing.
  I have to assume you are requesting a support contract considering that you can use the software you mentioned at no
  cost under open source licenses.

  I also wanted to point out that ONgDB (https://graphfoundation.org/ongdb) is the open fork of Neo4j used by federal
  agencies. You may want to keep that in mind in the future for brand name justification.

  I believe any Neo4j based offering is not TAA compliant as most development on the software is done in Sweden, so I am
  stating that this quote is not TAA compliant.

  Quote:
  Not TAA compliant
  Server Package: Your choice:
    0$ Neo4j Enterprise open source distribution (<3.4.12), Neo4j core distribution (any), or ONgDB Enterprise 3.5 >)
   + Graphsware PHP-Neo4J Client (Guzzlehttp, Heoku, Myclabs, Pimple, Psr, Silex, Symfony, and Composer)
   $5,000 basic support

  Feel free to give me a call and I can help you figure out the best options.

  Thank you,


  John Mark Suhy
  iGov Inc
  jmsuhy@igovsol.com
  703-862-7780
  https://igovsol.com


  On Tue, Mar 12, 2019 at 4:35 PM Witherspoon, Robin L <robin.l.witherspoon@perspecta.com> wrote:

    Good A ernoon IGovSol Team –

    The company’s new name is Perspecta formed by the proposed merger of the DXC Technology U.S. Public Sector (USPS)



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business with Vencore and KeyPoint Government Solu ons, eﬀec ve June 1, 2018. Eﬀec ve 11/1/18, Vencore, Inc.,
changed its name to Perspecta Engineering Inc. This ac on is a name change only. All references to Vencore, Inc.
hereunder have been changed to Perspecta.

Please provide a ﬁrm ﬁxed quota on as this is a compe ve source solicita on in which criteria for award will be best
value which will be a combina on of availability, ETA, past performance (if applicable), price and freight.

 **Issue a Quote in my name (solely for the purpose of the quote only) under Perspecta Engineering Inc., containing
your best possible price having applicable discounts, state on quote if “TAA Compliant” (See deﬁni on below) and list
your availability. Include shipping cost within the quote and FOB = Des na on.**

 “TAA refers to the Trade Agreements Act (19 U.S.C. & 2501-2581), which is intended to foster fair and open interna onal
trade. TAA requires that the U.S. Government may acquire only “U.S. – made or designated country end products. This
act requires that contractors must cer fy that each end product meets the applicable requirements. End products are
‘those ar cles, materials and supplies to be acquired for public use’.” This includes items which have been “substan ally
transformed” in the United States.”

Please review the below specs and “Reply All” when providing your best and ﬁnal oﬀer no later than 3:00pm EDT on
3/13/19, or sooner. To be considered remember to list either TAA Compliant or non-TAA on your quota on.

Proposal Quota on Needed

Loca on:

Perspecta Engineering Inc.

15052 Conference Center Drive

Chan lly, VA 20151

POC: Janet Thompson



 Descrip on                                                                                    Qty

 Neo4J Server including the Graphsware PHP-Neo4J Client
 (Guzzlehttp, Heoku, Myclabs, Pimple, Psr, Silex, Symfony,
 and Composer)                                                                                    2

Perspecta Engineering Inc. RFQ Instruc ons and CorpDoc02ser are a ached for your reference.

In the event you plan not to respond to this request within the me allocated, please send an email sta ng “No Bid”
with an explana on in the body. I look forward to hearing from you and thank you in advance.

Respec ully,



Robin L. Witherspoon

Sr. Procurement Specialist IV

Perspecta Engineering Inc.

Email: robin.l.witherspoon@perspecta.com




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O: 571-612-7013 F:703-460-3971

15050 Conference Center Drive, Chan lly, VA 20151

   https://cdn.frontify.com/api/screen/thumbnail/yHHsNP0uulUSnqPzFVRsxW3FMgBcvzB72-usN8MH8RPY3MxsQZ




                                                                               IGOV0001573351.0004
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                                                 EXHIBIT 43
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From:        John Mark Suhy (jmsuhy@igovsol.com)
To:          steins@sec.gov (steins@sec.gov)
CC:
BCC:
Subject:     Re: Neo4j Options / Prices
Attachments:
Sent:        05/07/2019 08:01:20 AM -0700 (PST)

I wanted to follow up with you so you understand your options around
Neo4j. Most people are not aware of these options, which I will
explain why in this email.

First, I believe that Neo4j is no longer on the GSA schedule, meaning
you may have to find another path for procurement path, assuming you
want to procure it after learning about your free options which you
can have existing vendors support as long as they have not signed the
Neo4j partner agreement which adds restrictions to Neo4j open source
license usage.

I hope this information is useful, feel free to call me anytime with
any questions.

I am happy to connect you with the Department of Treasury (IRS) to
discuss options as an interagency exchange. They are using ONgDB (Open
Native Graph Database) with support from existing vendors and were the
first big agency to purchase services from vendors without limitations
that are placed on Neo4j partners.

When I mention ONgDB (Open Native Graph Database) - this is just the
Neo4j code (https://github.com/neo4j/neo4j) combined with the
enterprise code. It is 100% open source and a drop in replacement for
the same Neo4j version.

1. You do not have to pay any licensing fees for the software you requested.
Neo4j Enterprise < 3.5 and ONgDB (Open Native Graph Database)
Enterprise (all versions) are available to use 100% free, in
production.

You may not know this because Neo4j partners are forbidden to support
and promote this in their partner contracts.

2. Neo4j Enterprise <= v3.4, ONgDB Enterprise => v3.5 and all versions
of Neo4j community
are all 100% free and open. You can use them in production and in
closed source projects.

You were looking at a package on GSA which is basically a support
subscription which gives you limited email and phone support.

The packages from the link below (that was posted on a GSA
schedule previously) are basically support contracts.
https://blog.igovsol.com/2018/01/10/Neo4j-Commercial-Prices.html

Also See:
https://graphfoundation.org/ongdb/



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https://github.com/neo4j/neo4j
https://github.com/graphfoundation/ongdb


3. Open Native Graph Database (ONgDB) is a free and open fork of Neo4j
Enterprise which has been adopted by US Treasury. It is the same core
Neo4j source code, and has enterprise modules added. (All open
source).

More agencies are adopting ONgDB over Neo4j as they learn that it is
just the free and open Neo4j enterprise alternative.
ONgDB takes Neo4j core (which is open source) and adds enterprise
features into it, all 100% free and open, with no limits on cores or
cluster instances that 'commercial subscriptions' impose.
See:
https://github.com/neo4j/neo4j
https://github.com/graphfoundation/ongdb

2) Neo4j partners are forbidden from supporting or promoting open
source distributions. Furthermore there was a system in place that
allowed partners to 'register' an 'opportunity'
which further limits your ability to get fair competing quotations.

3) You may have brand name justification issues and face protest
around any Neo4j procurement because of several factors that are in
part because of its dual license model (open source or commercial) and
is hard to justify because there is a great deal of past performance
across the open source, and forks in the US federal government.

I hope this information was useful.

Feel free to reach out to me anytime if you have any questions.

Respectfully,
John Mark Suhy
iGov Inc
jmsuhy@igovsol.com
703-862-7780
https://igovsol.com
On Wed, May 1, 2019 at 10:08 AM John Mark Suhy wrote:
>
> Hello Mr. Stein,
>
> IAI forwarded me your contact information and said you were inquiring about Neo4j.
>
> I wanted to let you know I will send you information regarding your Neo4j options by Friday.
>
> You may not know this but you do not need to purchase Neo4j licenses to use it in production, and you can use it in closed
sourced projects. With that said, you are essentially purchasing support.
>
> I’ll put together a write-up that clarifies all options available so you can make a more informed decision / procurement.
>
> If you have any questions feel free to email or call me anytime at 703-862-7780
>
> Have a good day,



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>
>
> John Mark Suhy
> CTO iGov Inc
> jmsuhy@igovsol.com
> 703-862-7780
> https://igovsol.com
>
>
>
>
> --
> John Mark Suhy
> iGov Inc
> jmsuhy@igovsol.com
> 703-862-7780
> https://igovsol.com




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From:        John Mark Suhy (jmsuhy@igovsol.com)
To:          Ken Woo (k-woo@northwestern.edu)
CC:
BCC:
Subject:     Re: Neo4j enterprise licensing
Attachments:
Sent:        05/29/2019 07:07:24 AM -0700 (PST)

Good morning,

We do not have the current pricing, but I suspect it does not change that much.

I would recommend using the Neo4j Enterprise fork called ONgDB (Open Native Graph Database) if you want all the
enterprise features with no limitations on cores, cluster instances, etc. You can use it in production as well.

https://graphfoundation.org/ongdb/

We use this for large US government projects and the Graph Foundation was setup to ensure Neo4j/ONgDB remains free
and open.

It is Neo4j Core + Enterprise feature set added back in, so it is drop in replacement for a Neo instance of the same version.
(Ex: 3.5.5)


Let me know if you have any questions or need any help.


Have a good day,

John Mark


On Wed, May 29, 2019, 9:51 AM Ken Woo <k-woo@northwestern.edu> wrote:

  Hello,

  Pardon this brief intrusion:

  Your blog about Neo4j enterprise licensing and pricing : https://blog.igovsol.com/2018/01/10/Neo4j-Commercial-Prices.html

  Very helpful and informative, thank you for posting this.



  I was wondering if there were updated licensing and pricing information, you were not kidding about Neo4j keeping

  these under wraps and very tight lip about them. My organization is planning on offering Neo4j for student use for

  their homework assignments and not putting into production, what version would you recommend for this scenario?



  Thank you for your time.

  Ken




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Ken Woo, MSCS, MBA, Ed.D.

Senior Director, I.T. and Facilities

Northwestern University

School of Professional Studies

k-woo@northwestern.edu




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                                                 EXHIBIT 45
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From:        John Mark Suhy (jmsuhy@purethink.com)
To:          patrick.widener@sandia.gov
CC:
BCC:
Subject:     Ephemeris Service Article
Attachments:
Sent:        03/29/2019 08:41:06 PM -0700 (PST)

Hello Patrick,

I came across a document you were working on:
https://www.osti.gov/servlets/purl/1497350

We are the vendor who supported Sandia National Laboratories around
Neo4j for another project.

I wanted to make sure you knew that you can use Neo4j Enterprise AGPL
distributions at no cost, and with no limitations.

I figured you may not know about this.

Also - you may want to check out https://graphfoundation.org/ongdb/
Which is a free and open fork of Neo4j Enterprise starting at 3.5.
The US Treasury and other agencies are using the AGPL enterprise
distributions in production.

Your Sandia support system is still live - if you need access to it to
get the latest enterprise distributions, just let me know.

Have a good weekend,

John Mark Suhy
CTO PureThink LLC
jmsuhy@purethink.com
703-862-7780




                                                                                        IGOV0001570021
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From:        Delawder, Colleen M CTR USARMY NGIC (USA)(colleen.m.delawder.ctr@mail.mil)
To:          John Mark Suhy (jmsuhy@igovsol.com)
CC:
BCC:
Subject:     RE: [Non-DoD Source] Re: Links - follow up email #2 (UNCLASSIFIED)
Attachments:
Sent:        08/08/2019 04:46:52 AM -0700 (PST)

CLASSIFICATION: UNCLASSIFIED

John Mark,

Yes, they did, thank you! I’m looking through them now and I’ve spoken to Sheila as well. Thanks for all the info and I’ll
reach back out to you once I’ve reviewed everything.

Thanks,
Colleen

Colleen Delawder, CTR
Lead Senior Systems Engineer
NGIC Mission Systems Engineering (NMSE) II
Phone: 434-951-1643
NIPR: colleen.m.delawder.ctr@mail.mil
SIPR: colleen.m.delawder.ctr@mail.smil.mil
JWICS: frdelcm@army.ic.gov

From: John Mark Suhy <jmsuhy@igovsol.com>
Sent: Thursday, August 8, 2019 7:16 AM
To: Delawder, Colleen M CTR USARMY NGIC (USA) <colleen.m.delawder.ctr@mail.mil>
Cc: Stinemire, Daniel J CTR USARMY NGIC (USA) <daniel.j.stinemire.ctr@mail.mil>
Subject: [Non-DoD Source] Re: Links - follow up email #2

All active links contained in this email were disabled. Please verify the identity of the sender, and confirm the
authenticity of all links contained within the message prior to copying and pasting the address to a Web browser.




Good morning,

Could you please confirm if my 2 emails came through?

Thank you,

John Mark Suhy

On Tue, Aug 6, 2019, 1:39 PM John Mark Suhy <jmsuhy@igovsol.com < Caution-
mailto:jmsuhy@igovsol.com > > wrote:

  Good morning,




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Below are the links I mentioned on our call.

ONgDB (Open Native Graph Database): Neo4j Enterprise OSS distribution downloads
3.5.8 will be up next week.

Caution-https://www.graphfoundation.org/projects/ongdb/ < Caution-https://www.graphfoundation.org/projects
/ongdb/ >

All ONgDB distributions are drop-in replacements for Neo4j Enterprise and Neo4j Community as they use the
same code base and versioning.

Ex: ONgDB 3.5.8 is a drop-in replacement for Neo4j Enterprise 3.5.8 and so on.


Neo4j Official Source Code Repo:
Caution-https://github.com/neo4j/ < Caution-https://github.com/neo4j/ >


ONgDB Official Source Code Fork Repo:
(Kept in Sync with the official Neo4j source code github repos)
Caution-https://github.com/graphfoundation/ < Caution-https://github.com/graphfoundation/ >

We compile Neo4j branded distributions for agencies who added Neo4j branded distributions instead of
ONgDB branded distributions to their white lists. We have all versions of the Neo4j branded distributions up to
3.5 available on our GovCloud s3 download site. If you need a specific version - let me know and I can send
you the direct link.

If you wanted Neo4j Enterprise 3.4.7 (neo4j branded) open source version of enterprise : Caution-
https://dist.igovsol.com/neo4j-enterprise-3.4.7-unix.tar.gz < Caution-https://dist.igovsol.com/neo4j-enterprise-
3.4.7-unix.tar.gz >

We switched to the ONgDB branded Neo4j distributions starting with 3.5.x

The GraphFoundation, who releases ONgDB, was formed as a community run non-profit organization to ensure
Neo4j stays free and open. It has a governance model similar to the Apache foundation.

The US Treasury switched to the ONgDB distributions last year, and other federal agencies are starting to make
the switch as they learn about Neo4j's dual open source / commercial license models.

I am happy to connect you with the Internal Revenue Service - which is using ONgDB in production for a very
large analytics graph.

They can tell you some of the experiences they have had with Neo4j as a company, and why they switched to
the open source ONgDB distribution.

Dual open source /commercial licensed software , like Neo4j , are already causing previously unseen issues in
procurement (ex: brand name justification), and the same confusion seems to be happening in the white-list /
certification areas. You may want to talk to GreyStones Group as they are experts in that area.


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Regarding Hume - I am going to reach out to GraphAware this week to see if they have any legal restrictions on
Hume being used with Neo4j open source licenses.

  There would not be any technical restrictions as the licensing is 'virtual'.

  You may also want to research the following technologies that offer same features / compete with Hume in
  the future if you find Hume to be too expensive, or not able to be configured to your needs.

  - GraphGrid: Caution-https://www.graphgrid.com/gdp/ < Caution-https://www.graphgrid.com/gdp/ >

  - GreyRaven (GreyStones Group) which also focuses on NLP, AI, etc.

  - Linkurious (Not really a competitor of Hume - but it allows for the NLP and AI to be added easily and
  visualized.)

  - GraphStack : iGov Inc will be releasing an open source platform to compete with Hume this year called
  GraphStack (Caution-https://graphstack.io < Caution-https://graphstack.io > ) - it is what powers the US
  Treasury research, analytics, and investigations platform we built out for them. It leverages a micro-service
  architecture approach along with the top open source NLP, Machine learning. and 'big data' technologies to
  build extremely performant, software with no license costs. (Think ONgDB, Elastic search, Kafka, Stanford
  NLP, and many OSS AI packages with different focus areas).

  Some other things to consider:

  Make sure your legal department reviews any documents Neo4j Inc wants it to sign. You will want to
  remove any terms that say that once you purchase a commercial license, you can no longer use open source
  distributions, or terms that place virtual limitations on cores and instances when you agree to a commercial
  license or EULA. ONgDB has none of these - as it's just the open source AGPL licensed Neo4j code base.

  I hope this information is useful,

  Feel free to reach out to me at any time if you have any questions.

  Respectfully,

  John Mark Suhy
  iGov Inc
  jmsuhy@igovsol.com < Caution-mailto:jmsuhy@igovsol.com >
  703-862-7780
  Caution-https://igovsol.com < Caution-https://igovsol.com >




CLASSIFICATION: UNCLASSIFIED




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From:        John Mark Suhy (jmsuhy@igovsol.com)
To:          shahak.nagiel@nextcentury.com
CC:          diane.griffith@nextcentury.com
BCC:
Subject:     Re: Neo4j licensing
Attachments:
Sent:        10/22/2018 06:50:27 PM -0700 (PST)

Good evening,


The 'closed source components' referenced actually do have the related source code in the git repositories. Neo4j Inc
removed the code from the current branches but they were still in the history.

We actually package these feature's source code back into the open source distributions. Turning features such as causal
clustering encryption back on.
See: https://github.com/GraphFoundation/neo4j-oe

Also, you can read the following post to understand more about what they have done.
See: https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-where-are-the-open-source-enterprise-binaries.html

These are just some of the reasons brand name justification for Neo4j Enterprise commercial packages is hard to support.
Not to mention the US Treasury has now adopted ONgDB Enterprise - which is the same code base, with just a different
name and removal of the commons clause.

Even more, a side by side comparison of the commercial and open source enterprise distributions don't give an advantage
from a technical perspective to the commercial side because they have the same feature parity as they come from the same
core code base.

In fact the open source distributions have no limits on the number of cluster instances, cores, etc - not to mention they are
100% free.

Usually which one you go with falls to the cost of production support. From a past performance perspective, the open
source distributions are actually in production in the Federal government and there are companies such as us , AtomRain,
GraphGrid, etc all have past performance providing production support for federal agencies for Neo4j Enterprise open source
licenses.

One thing you will find in your research is that Neo4j partners are not allowed to promote or support the open source
licenses, and furthermore , Neo4j Inc usually assigns a single partner to a specific deal, so from the commercial perspective,
you actually have less options.

I would be happy to connect you with the US Treasury team we work with who are some of the original teams who moved to
the open source enterprise distributions of Neo4j. They have met with other agencies in the past to share their
experience.

Feel free to call me anytime if you have more questions.


John Mark Suhy
iGov Inc
jmsuhy@igovsol.com
703-862-7780
https://igovsol.com




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On Mon, Oct 22, 2018 at 8:50 PM Shahak Nagiel <shahak.nagiel@nextcentury.com> wrote:
  Hi John,

  I am trying to be er understand the licensing nuances of Neo4j Enterprise Edi on, and came across some posts you made
  on StackOverﬂow.

  Neo4j's github repo includes this at the bo om in the License sec on (emphasis mine):


          Neo4j Enterprise consists of modules from Neo4j Community Edition and modules licensed under
          AGPLv3 with the Commons Clause in this repository, and other closed source components not
          present in this repository.

          When packaged as a binary, Enterprise Edition includes additional closed-source components not
          available in this repository and requires a commercial license from Neo4j Sweden AB or one of its
          affiliates.


  I'm curious whether you're familiar with what this means (i.e. what's excluded), especially given that one of the
  sub-modules seems to be the Enterprise bundle?

                                   Shahak Nagiel
                                   Principal Engineer
                                   w (240) 297-5089 | c (413) 274-2425
                                   shahak.nagiel@nextcentury.com



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                                                 EXHIBIT 48
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From:                 Brad Nussbaum
To:                   Shahak Nagiel
Cc:                   Diane Griffith; John Mark Suhy
Subject:              Re: Neo4j licensing
Date:                 Tuesday, February 19, 2019 7:21:50 AM


The Free Software foundation, which owns rights to AGPLv3 license and its use, reviewed the Commons Clause that had been added and determined that it was not valid. AGPLv3 has
clauses preventing additional clauses from being added and still licensing under the AGPLv3 license.

Best,
Brad


        On Feb 19, 2019, at 10:46, Shahak Nagiel <shahak.nagiel@nextcentury.com> wrote:

        Hi Brad,

        Nice to meet you as well. Could you please elaborate on this sentence:

                 And when Neo4j, Inc. realized that the additional Commons Clause didn’t prevent usage of enterprise features, it made the ultimate decision to
                 remove all enterprise modules...

        Neo4j sales guys actually contacted us recently specifically about the Commons Clause modifier to the AGPLv3 license, pointing out that we may be in violation of it (if we are using
        open-sourced builds of their software--including, by extension, ONgDB). What is this realization you are referring to?

        Appreciate your time.

                                       Shahak Nagiel
                                       Principal Engineer
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                                       shahak.nagiel@nextcentury.com



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        transmission in error, please notify the sender immediately.


        From: Brad Nussbaum <brad@graphfoundation.org>
        Sent: Tuesday, February 19, 2019 9:07 AM
        To: Shahak Nagiel
        Cc: Diane Griffith; John Mark Suhy
        Subject: Re: Neo4j licensing

        Hi Shahak,

        Nice to e-meet you.

        Our intent is to move ONgDB forward in a fully open source manner governed by The Graph Foundation (non-profit). ONgDB 3.5 restores the Neo4j Enterprise source code that was removed by Neo4j, Inc.
        fromhttps://github.com/neo4j/neo4j and continues development forward from there. Legacy Neo4j, Inc. contributions will continue to be licensed under AGPLv3 and net new Graph Foundation contributions will
        adopt a more open license structure. We are considering options right now from the community and would like to see the project eventually move fully to Apache2.

        Our repo (https://github.com/graphfoundation/ongdb/) has all the enterprise capabilities in 3.5. You can find access to new distributions on the foundation site
        at https://www.graphfoundation.org/projects/ongdb/.

        You can read more about Neo4j, Inc.’s recent changes and the full Graph Foundation response here: https://www.graphfoundation.org/neo4j-is-open-core-now-what-ujah7ein5mis/

        Best,
        Brad


                 On Feb 19, 2019, at 08:48, John Mark Suhy <jmsuhy@igovsol.com> wrote:

                 I wanted to introduce you to Brad Nussbaum from the Graph Foundation.

                 He can tell you more about the high level goals and plans around ONgDB and answer any specific questions as well relating to ONgDB.

                 I cc’d him on this thread.

                 Have a good day,

                 John Mark




                 On Mon, Feb 18, 2019 at 8:01 PM Shahak Nagiel <shahak.nagiel@nextcentury.com> wrote:
                   No concerns on my part; I'm just trying to understand the plans and the implications for the future. So will the Community portion of the codebase be
                   merged from the neo4j repo for every release?

                   Thanks, and good evening.

                   Get Outlook for Android


                   From: John Mark Suhy <jmsuhy@igovsol.com>
                   Sent: Monday, February 18, 2019 7:41:07 PM
                   To: Shahak Nagiel
                   Cc: Diane Griffith
                   Subject: Re: Neo4j licensing

                   Yes - the graph foundation will be managing the enterprise features moving forward.  

                   If you are using ONgDB and have any concerns, or don't see it keeping up with enterprise features, you can always switch to a commercial Neo4j Enterprise package through any partner on
                   the Neo4j.comwebsite. 




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                                                                                                                                                                                           Brad Nussbaum
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      On Mon, Feb 18, 2019 at 7:37 PM Shahak Nagiel <shahak.nagiel@nextcentury.com> wrote:
       Thanks, John. That helps, but this basically means that all enterprise changes moving forward (big fixes and new features alike) are completely forked
       off from Neo4j proper, right? Any concerns about long-term consistency/parity/maintainability?

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       From: John Mark Suhy <jmsuhy@igovsol.com>
       Sent: Monday, February 18, 2019 7:29:00 PM
       To: Shahak Nagiel
       Cc: Diane Griffith
       Subject: Re: Neo4j licensing


       Check out this issue - It may help you with your question.

       https://github.com/graphfoundation/ongdb/issues/3



       On Mon, Feb 18, 2019 at 6:33 PM Shahak Nagiel <shahak.nagiel@nextcentury.com> wrote:
         Hi John,

         I presume you're aware that, as of the 3.5 branch in github, Neo4j seems to have close-sourced the entire enterprise/ directory. (Here's one commit that was
         related.)

         What's your take on this? Where does this leave ONgDB moving forward?

         Regards,
         Shahak

                                         Shahak Nagiel
                                         Principal Engineer
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                                         shahak.nagiel@nextcentury.com



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         From: John Mark Suhy <jmsuhy@igovsol.com>
         Sent: Monday, October 22, 2018 9:50 PM
         To: Shahak Nagiel
         Cc: Diane Griffith
         Subject: Re: Neo4j licensing

         Good evening,


         The 'closed source components' referenced actually do have the related source code in the git repositories. Neo4j Inc removed the code from the current branches but they were still in
         the history.  

         We actually package these feature's source code back into the open source distributions. Turning features such as causal clustering encryption back on.
         See: https://github.com/GraphFoundation/neo4j-oe
           
         Also, you can read the following post to understand more about what they have done.
         See: https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-where-are-the-open-source-enterprise-binaries.html

         These are just some of the reasons brand name justification for Neo4j Enterprise commercial packages is hard to support. Not to mention the US Treasury has now adopted ONgDB
         Enterprise - which is the same code base, with just a different name and removal of the commons clause.

         Even more, a side by side comparison of the commercial and open source enterprise distributions don't give an advantage from a technical perspective to the commercial side because
         they have the same feature parity as they come from the same core code base.

         In fact the open source distributions have no limits on the number of cluster instances, cores, etc - not to mention they are 100% free.  

         Usually which one you go with falls to the cost of production support. From a past performance perspective, the open source distributions are actually in production in the Federal
         government and there are companies such as us , AtomRain, GraphGrid, etc all have past performance providing production support for federal agencies for Neo4j Enterprise open
         source licenses.

         One thing you will find in your research is that Neo4j partners are not allowed to promote or support the open source licenses, and furthermore , Neo4j Inc usually assigns a single partner
         to a specific deal, so from the commercial perspective, you actually have less options.

         I would be happy to connect you with the US Treasury team we work with who are some of the original teams who moved to the open source enterprise distributions of Neo4j.                                                They
         have met with other agencies in the past to share their experience.

         Feel free to call me anytime if you have more questions.                 



         John Mark Suhy
         iGov Inc
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         703-862-7780
         https://igovsol.com


         On Mon, Oct 22, 2018 at 8:50 PM Shahak Nagiel <shahak.nagiel@nextcentury.com> wrote:
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           I am trying to better understand the licensing nuances of Neo4j Enterprise Edition, and came across some posts you made on StackOverflow.

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                   repository, and other closed source components not present in this repository.

                   When packaged as a binary, Enterprise Edition includes additional closed-source components not available in this repository and requires a
                   commercial license from Neo4j Sweden AB or one of its affiliates.




           I'm curious whether you're familiar with what this means (i.e. what's excluded), especially given that one of the sub-modules seems to be the Enterprise bundle?

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     --
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     iGov Inc
     jmsuhy@igovsol.com
     703-862-7780
     https://igovsol.com




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                                                 EXHIBIT 49
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From:                   Shahak Nagiel
To:                     Brad Nussbaum
Cc:                     Diane Griffith; John Mark Suhy
Subject:                Re: Neo4j licensing
Date:                   Tuesday, February 19, 2019 7:37:40 AM


Thanks for your perspective, and I did run across this Github thread (which John was involved in) that seems to discuss this issue. However, there does not seem to be a resolution there (certainly
not from the Neo4j perspective, which defends their use of both AGPL and the Commons Clause). Are there any other sources of information / guidance in this respect? e.g. have any independent
or government legal authorities weighed in on this to your knowledge?

                                Shahak Nagiel
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From: Brad Nussbaum <brad@graphfoundation.org>
Sent: Tuesday, February 19, 2019 11:21 AM
To: Shahak Nagiel
Cc: Diane Griffith; John Mark Suhy
Subject: Re: Neo4j licensing

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Best,
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         You can read more about Neo4j, Inc.’s recent changes and the full Graph Foundation response here: https://www.graphfoundation.org/neo4j-is-open-core-now-what-ujah7ein5mis/

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                                                                                                                                                                                                                                                                         Brad Nussbaum
                  He can tell you more about the high level goals and plans around ONgDB and answer any specific questions as well relating to ONgDB.

                  I cc’d him on this thread.

                  Have a good day,
                                                                                                                                                                                                                                                                                   Ex 33
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     John Mark




     On Mon, Feb 18, 2019 at 8:01 PM Shahak Nagiel <shahak.nagiel@nextcentury.com> wrote:
      No concerns on my part; I'm just trying to understand the plans and the implications for the future. So will the Community portion of the codebase be
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      Thanks, and good evening.

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      From: John Mark Suhy <jmsuhy@igovsol.com>
      Sent: Monday, February 18, 2019 7:41:07 PM
      To: Shahak Nagiel
      Cc: Diane Griffith
      Subject: Re: Neo4j licensing

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        From: John Mark Suhy <jmsuhy@igovsol.com>
        Sent: Monday, February 18, 2019 7:29:00 PM
        To: Shahak Nagiel
        Cc: Diane Griffith
        Subject: Re: Neo4j licensing


        Check out this issue - It may help you with your question.

        https://github.com/graphfoundation/ongdb/issues/3



        On Mon, Feb 18, 2019 at 6:33 PM Shahak Nagiel <shahak.nagiel@nextcentury.com> wrote:
          Hi John,

          I presume you're aware that, as of the 3.5 branch in github, Neo4j seems to have close-sourced the entire enterprise/ directory. (Here's one commit that was
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          What's your take on this? Where does this leave ONgDB moving forward?

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          Shahak

                                          Shahak Nagiel
                                          Principal Engineer
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                                          shahak.nagiel@nextcentury.com



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          Good evening,


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          We actually package these feature's source code back into the open source distributions. Turning features such as causal clustering encryption back on.
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          These are just some of the reasons brand name justification for Neo4j Enterprise commercial packages is hard to support. Not to mention the US Treasury has now adopted ONgDB
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          Usually which one you go with falls to the cost of production support. From a past performance perspective, the open source distributions are actually in production in the Federal




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          government and there are companies such as us , AtomRain, GraphGrid, etc all have past performance providing production support for federal agencies for Neo4j Enterprise open
          source licenses.

          One thing you will find in your research is that Neo4j partners are not allowed to promote or support the open source licenses, and furthermore , Neo4j Inc usually assigns a single partner
          to a specific deal, so from the commercial perspective, you actually have less options.

          I would be happy to connect you with the US Treasury team we work with who are some of the original teams who moved to the open source enterprise distributions of Neo4j.                                       They
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                    When packaged as a binary, Enterprise Edition includes additional closed-source components not available in this repository and requires a
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            I'm curious whether you're familiar with what this means (i.e. what's excluded), especially given that one of the sub-modules seems to be the Enterprise bundle?

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     --
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 From:             Brad Nussbaum
 To:               Shahak Nagiel
 Cc:               Diane Griffith; John Mark Suhy
 Subject:          Re: Neo4j licensing
 Date:             Tuesday, February 19, 2019 11:00:55 AM


 ONgDB is currently in use at US Treasury (IRS). Their legal counsel conducted a thorough
 evaluation of the licensing situation and arrived at the conclusion that Graph Foundation
 distributions of ONgDB could be used without needing a Neo4j, Inc. license.

 Best,
 Brad


         On Feb 19, 2019, at 11:37, Shahak Nagiel <shahak.nagiel@nextcentury.com>
         wrote:

         perspective, which defends their use of both AGPL and the Commons Clause). Are
         there any other sources of information / guidance in this respect? e.g. have any
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                                                 EXHIBIT 51
            Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 733 of 1198




 From:                Brad Nussbaum
 To:                  Shahak Nagiel
 Cc:                  Diane Griffith; John Mark Suhy
 Subject:             Re: Neo4j licensing
 Date:                Tuesday, February 19, 2019 11:57:33 AM


It was an internal review so there isn’t a document that can be distributed. We are conducting a similar process with other agencies. If you connect us with
parties heading up your evaluation then we can go through a similar process with them.

Best,
Brad


        On Feb 19, 2019, at 15:04, Shahak Nagiel <shahak.nagiel@nextcentury.com> wrote:

        Aha!

        Any chance I could get a copy of that? (Or, any chance we could get our govies to request it through more official channels?)

                                        Shahak Nagiel
                                        Principal Engineer
                                        w (240) 297-5089 | c (413) 274-2425
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        From: Brad Nussbaum <brad@graphfoundation.org>
        Sent: Tuesday, February 19, 2019 3:00 PM
        To: Shahak Nagiel
        Cc: Diane Griffith; John Mark Suhy
        Subject: Re: Neo4j licensing

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From:               Brad Nussbaum
To:                 Michał Komorowski
Subject:            Re: Questions about ONgDB
Date:               Tuesday, February 11, 2020 8:53:54 AM
Attachments:        image001.png
                    image002.png


Hi Michal,

Thank you for your interest in using ONgDB. I’d be happy to answer your questions and help guide
you here as best I can.

      1. As you mentioned, The Graph Foundation relies on community support to move development
         forward. Our current priority order for the 4.0 release is: multi-database support, sharding
         and then security. It is possible we will make an initial 4.0 release with multi-database support
         and continue to roll out new features in subsequent releases. We do anticipate it will take
         some time to reach feature parity. Our goal is to work toward feature parity for the features
         that have been released and that are the most desirable by the community. We will continue
         integrating in neo4j open core and stay as compatible as possible to allow for easy switching
         between Neo4j and ONgDB.
      2. Programs are available for training, advisory and production support through our commercial
         sponsors such as GraphGrid. GraphGrid is the largest contributor to ONgDB to date with the
         most certified professionals on staff. Typical onsite delivery will cover all the topics you
         mentioned and you will have the ability to get continued development and production
         support going forward. All support is done with fully open source releases and always under
         the open source licenses. Any fixes are always committed back to the open source project.

I’d be happy to setup a call to discuss further.

Best,
Brad


From: Michał Komorowski <Michal.Komorowski@adform.com>
Date: Tuesday, February 11, 2020 at 6:19 AM
To: "devrel@graphfoundation.org" <devrel@graphfoundation.org>
Subject: Questions about ONgDB

Hi,

I’m writing because we seriously consider to build our IAM solution based on ONgDB graph database.
Because of that I’d like to ask a few questions:

      1. As far as I know ONgDB is developed only because of hard work of community contributors
         (thanks to that). However, it also means that it takes time to develop new features. My question is
         if there are plans to make ONgDB compatible with recently releases Neo4j v4 (sharding etc.) and if
         yes what is a timeline.
      2. Do you organize trainings/workshops regarding ONgDB? We are mainly interested in topics like:


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           administration, writing fast queries, efficient modelling, optimizations.

If you prefer and have time we can also make a call.

Regards,
Michał Komorowski      




 Michał Komorowski
 Lead Software Engineer

 Email: Michal.Komorowski@adform.com
 Mobile:
 Ul. Waryńskiego 3a, 00-645 Warsaw, Poland
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                                                 EXHIBIT 53
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 From:            Brad Nussbaum
 To:              Michał Komorowski
 Subject:         Re: Regarding the yesterday"s meetings
 Date:            Wednesday, February 19, 2020 7:42:49 AM
 Attachments:     image001.png
                  image002.png


 Hi Michal,

 I reached out to the folks at Tufin and will get you connected with Haggai who is the head of
 engineering there. They are using ONgDB 3.5 and we delivered a boot camp for them in October of
 last year.

 I can cover both the training and the consultation work in a single 5-day boot camp delivery:
    1. The weeks I have open are March 2nd, 16th and the 30th
    2. The cost for the full week excluding expenses is $11,000
    3. We would need to get through contracts this week yet to make March 2nd work but that’s
       possible to do

 If everything looks good here I can get this written up and sent over.

 Best,
 Brad


 From: Brad Nussbaum <brad@graphfoundation.org>
 Date: Friday, February 14, 2020 at 12:56 PM
 To: Michał Komorowski <Michal.Komorowski@adform.com>
 Cc: Izabela Błaszczyk <Izabela.Blaszczyk@adform.com>, Artur Kordzik
 <Artur.Kordzik@adform.com>, Alejandro Crespo <Alejandro.Crespo@adform.com>
 Subject: Re: Regarding the yesterday's meetings

 Hey Michael,

 Thank you for the follow up and providing this additional information. Here are some answers point
 by point:

    1. I will get an estimate for this early next week along with some dates for delivery.
    2. Yes, that’s correct. I will reach out to them and see if they are open to sharing their use case.
    3. Yes, you have the roadmap correct.

 Hope you have a good weekend and I will reach back out early next week.

 Best,                                                                                                GFI 30(b)(6)
                                                                                                    Brad Nussbaum
 Brad
                                                                                                      Ex 30
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From: Michał Komorowski <Michal.Komorowski@adform.com>
Date: Friday, February 14, 2020 at 2:13 AM
To: Brad Nussbaum <brad@graphfoundation.org>
Cc: Izabela Błaszczyk <Izabela.Blaszczyk@adform.com>, Artur Kordzik
<Artur.Kordzik@adform.com>, Alejandro Crespo <Alejandro.Crespo@adform.com>
Subject: Regarding the yesterday's meetings

Hi Brad,

Thanks for the yesterday’s meeting.

      1. Here are details of what we need. Can you estimate costs of such services?
            a. 2 days of advanced training for the group of up to 10 people
                                         
i.   
Specific topics to cover:

                                          1. Administration
                                          2. Scalability
                                          3. Writing performant queries
                                          4. Topics and hints regarding modelling
                  b. 3 days of consultations focused mainly on the review and optimization of our model and our
                       queries.
            c. Place: Warsaw
          We are also welcomed for your suggestion regarding the plan above.
      2. You mentioned some security company that uses OngDB.
              a. Is it this one: https://www.tufin.com/?
              b. Could you contact us with someone from Tufin so that we could talk with them about
                 their experience with ONgDB (of course if they want and have time to do so)?
      3. I also wanted to confirm your roadmap regarding development of ONgDB:
              a. The first step is to prepare ONgDB v4 based on Neo4j open core v4 and migrate there
                 features that have been developed for ONgDB v3.5.
              b. Multidatabse.
              c. Sharding.
              d. Security.

Regards,
Michał




 Michał Komorowski
 Lead Software Engineer

 Email: Michal.Komorowski@adform.com
 Mobile:
 Ul. Waryńskiego 3a, 00-645 Warsaw, Poland
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From:        John Mark Suhy (jmsuhy@igovsol.com)
To:          lee.e.smales.civ@mail.mil
CC:
BCC:
Subject:     Question regarding: Global Adaptive Planning Collaborative Information Environment 2.0
Attachments:
Sent:        08/22/2018 11:40:41 AM -0700 (PST)

I noticed in an older FBO sources sought (link below) that you were looking for people with experience with Neo4j, which you
referred to as FOSS (Free and open source) which is not entirely true.

You may want to reference the Neo4j Enterprise open source distribution which has the name "ONgDB Enterprise". ONgDB
= Open Native Graph Database. This distribution is the free and open source fork of Neo4j Enterprise. US Treasury and
other agencies use this.

I figured you may want to pass this back to the team who had you put out the solicitation because when you use the name
Neo4j (Enterprise), you are usually referencing the commercial license.

ONgDB Enterprise is built from the same official source code, but is 100% open source with no catches.

Link: https://www.graphfoundation.org/projects/ongdb/

I would be happy to connect you with our US Treasury point of contacts to verify everything.
If you create a follow up solicitation - and only name Neo4j, it could be a problem for you.

Below is the line this email discusses, and shows you how to change it to be accurate.

Other FOSS products incorporated include LeafletJS, GeoTools, TinyMCE, docx4j, Hazelcast, JQuery, JQuery UI, Spring, Hibernate,
DropWizard, Docker, and neo4j.

to

Other FOSS products incorporated include LeafletJS, GeoTools, TinyMCE, docx4j, Hazelcast, JQuery, JQuery UI, Spring, Hibernate,
DropWizard, Docker, and neo4j/ONgDB.

https://www.fbo.gov/spg/USAF/AFMC/ESC/FA8730-SS-GAPCIE/listing.html

Have a good day,


John Mark Suhy
iGov Inc
jmsuhy@igovsol.com
703-862-7780
https://igovsol.com




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     REDACTED VERSION OF
   DOCUMENT SOUGHT TO BE
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From:        John Mark Suhy (jmsuhy@purethink.com)
To:          licensing@fsf.org
CC:
BCC:
Subject:     Re: [gnu.org #1295811] Neo4j Inc recently added restrictive license conditions to AGPL license.
Attachments:
Sent:        06/20/2018 02:51:03 PM -0700 (PST)

Good evening Donald,

Thank you for taking the time to help us.    This was very useful.

I would like to add some context to the question and ask 2 follow up questions below.

We are creating a fork of the open source Neo4j graph database, and putting the fork under the control of a non profit
organization with a governance model that will ensure the technology remains free and open to all in the future.

Neo4j Database (aka Neo4j) is currently licensed under the GPL license for their community edition and AGPL v3 for their
enterprise edition.

The AGPL license is found in License.txt files in the enterprise folders of their public GitHub repository: https://github.
com/neo4j/neo4j/

Our fork is only focused on the enterprise edition which is AGPL v3 - and which was modified by Neo4j Inc in the code base.

Neo4j Inc is the copyright holder of the Neo4j Database code we are going to fork. We are calling the fork a different name,
and the fork will remain AGPL as required.

Neo4j Inc has a separate commercial license for Neo4j Database (Neo4j) which as a copyright holder we understand is
allowed. This is not the issue.

Our issue and questions are around Neo4j Inc's recent addition of restrictive terms to the AGPL v3 license found in the
License.txt files in their code base.

See: https://github.com/neo4j/neo4j/blob/3.4/enterprise/neo4j-enterprise/LICENSE.txt

Below is a summary of their modifications they added to this file. Each of the AGPL License.txt files are identical to the
reference link below.

https://github.com/neo4j/neo4j/blob/3.4/enterprise/neo4j-enterprise/LICENSE.txt

At the top of the License file they added the following:

The software ("Software") is developed and owned by Neo4j Sweden AB
(referred to in this notice as “Neo4j”) and is subject to the terms
of the GNU AFFERO GENERAL PUBLIC LICENSE Version 3, with the Commons Clause as follows:

.... AGPL v3 Standard License content here.....

At the very bottom of the License file they added the following content:

"Commons Clause" License Condition

The Software is provided to you by the Licensor under the License, as                       Witness:
defined below, subject to the following condition. Without limiting                      John Mark Suhy

                                                                                       Exhibit 23
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other conditions in the License, the grant of rights under the License
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Sell the Software. For purposes of the foregoing, "Sell" means
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to provide to third parties, for a fee or other consideration,
a product or service that consists, entirely or substantially,
of the Software or the functionality of the Software. Any license
notice or attribution required by the License must also include
this Commons Cause License Condition notice.


Neo4j Inc is then referencing these new restrictive clauses to cause legal uncertainty to anyone who is considering using
their enterprise software, or any forks.

They have told us that our fork of Neo4j Database must abide by these additional restrictions added to the License.txt files
that contain the AGPL license content.

This behavior is what drove the need for an open and free fork in the first place.

Neo4j Inc has told us that the additional clauses they added to the AGPL License.txt files must not be removed, and must be
present in our new fork.

Below are the follow up questions we have relating to our fork of their project. We want to ensure we are doing this right so
the community benefits and we honor our obligations under the AGPL license.

1) As the copyright holder, is Neo4j Inc allowed to add the specific additional terms mentioned above to the License.txt file
(containing the AGPL license terms) and enforce these new additions?
https://github.com/neo4j/neo4j/blob/3.4/enterprise/neo4j-enterprise/LICENSE.txt

2) In our fork, are we allowed to remove the additional terms and comments they have added to the License.txt files that go
beyond the standard AGPL v3 license content?
Neo4j Inc is telling us that we can not change these License.txt files, i.e. we must leave these additional restrictions and
content in the AGPL License.txt files of our forked code.
They then reference them to cause legal uncertainty.


The following GitHub diff link clarifies exactly what we would do by removing extraneous content beyond the standard
AGPLv3 license in those files:

https://github.com/graphstackio/neo4j/pull/5/commits/d5cf74ea538cf80a94c8eee059cfb5a0e2b2ac72

We appreciate your guidance, we have not been able to find answers to these questions for quite some time now.

Thank you,

Respectfully,

John Mark Suhy
PureThink
jmsuhy@purethink.com
703-862-7780
http://purethink.com


On Tue, May 22, 2018 at 11:38 AM, Donald R Robertson III via RT <licensing@fsf.org> wrote:



                                                                                                            IGOV0001570157.002
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On Sat May 19 03:00:41 2018, jmsuhy@purethink.com wrote:
> I am not sure whom to bring this up to, but Neo4j Inc, recently added
> restrictive licensing conditions to their AGPL license. It is my
> understanding that this is not allowed.
>
> Being such a high profile company, I wanted to bring it to your
> attention and ask if these additions are allowed by AGPL, and if not -
> who would be responsible for ensuring they remain compliant?
>
> The addition of "Commons Clause" License condition was added to their
> AGPL license file. The link is below.
>
> https://github.com/neo4j/neo4j/blob/3.4/enterprise/server-
> enterprise/LICENSE.txt
>
> "Commons Clause" License Condition
> The Software is provided to you by the Licensor under the License, as
> defined below, subject to the following condition. Without limiting
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>
>
>
>
> John Mark Suhy
> PureThink
> jmsuhy@purethink.com
> 703-862-7780
> http://purethink.com

Thank you for your time. Both the GPL and AGPL prevent the addition of further restrictions:

"All other non-permissive additional terms are considered "further
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you may remove that term."

If the distribution includes code that is copyright to someone else, then you can follow the instructions at
<https://www.gnu.org/licenses/gpl-violation.html> for filing a violation report with the copyright holder. Only the copyright
holder has the power to enforce the terms of the license.

Thanks for checking in on this, and I hope this helps.
--
Sincerely,

Donald R. Robertson, III, J.D.
Licensing & Compliance Manager



                                                                                                             IGOV0001570157.003
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Free Software Foundation
51 Franklin Street, Fifth Floor
Boston, MA 02110, USA
Phone +1-617-542-5942
Fax +1-617-542-2652 ex. 56

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                                                                            Graph Foundation

T h e G r a p h Fo u n d a t i o n
Open Graph Technology for Public Good                                                                    Menu




     Open Native Graph DB (ONgDB)
   The free and open source Neo4j Enterprise project


   Open Native Graph DB (ONgDB) is a non-restrictive fork of Neo4j, the world’s leading Graph Database. It is a
   high performance graph store with all the features expected of a mature and robust database, like a
   friendly query language, ACID transactions and high availability clustering. The programmer works with a
     exible network structure of nodes and relationships rather than static tables — yet enjoys all the bene ts
   of enterprise-quality database. For many applications, ONgDB offers orders of magnitude performance
   bene ts compared to relational DBs.



   Licensing
   ONgDB distributions are licensed under AGPLv3 as a free and open drop-in replacements of Neo4j
   Enterprise commercial licensed distributions with the same version number.



   Latest Release
   ONgDB 3.5.8 is expected to be out shortly. We skipped a few versions to allow Neo4j to x some bugs in
   previous versions.




     ONgDB 3.5.4

     10 May 2019: Release Notes | Source Code



     Mac/Linux                     ongdb-enterprise-3.5.4-unix.tar.gz

     Windows 64 bit                ongdb-enterprise-3.5.4-windows.zip

     Windows 32 bit                ongdb-enterprise-3.5.4-windows.zip

     Docker Image                  ONgDB 3.5.4 Docker Hub
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                                                                                                    Brad Nussbaum

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https://www.graphfoundation.org/projects/ongdb/                                                                      1/3
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                                                                            Graph Foundation




                                        docker run \
                                                  --publish=7474:7474 --publish=7687:7687 \
                                                  --volume=$HOME/neo4j/data:/data \
                                                  graphfoundation/ongdb:3.5


                                        Go to:     http://localhost:7474




   Recent Releases
         ONgDB 3.5.3

         ONgDB 3.5.1

         ONgDB 3.4.12

         ONgDB 3.4.11




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       Open Native Graph DB (ONgDB)

             ONgDB Releases

                  ONgDB 3.4.11

                  ONgDB 3.4.12
                  ONgDB 3.4.9

                  ONgDB 3.5.1

                  ONgDB 3.5.3

                  ONgDB 3.5.4

https://www.graphfoundation.org/projects/ongdb/                                                             2/3
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         65Gÿ;?HKE7ÿG676H6E4ÿ[8C4ÿ6ÿB;845G[JÿK4;Jÿ[65.K6.4ÿ65GÿXcO/ÿ7;65E6F78?5EIÿT<4ÿ3;?.;6ZZ4;ÿD?;CEÿD87<ÿ6ÿB[4\8H[4ÿ547D?;C
         E7;KF7K;4ÿ?Bÿ5?G4Eÿ65Gÿ;4[678?5E<83Eÿ;67<4;ÿ7<65ÿE7678Fÿ76H[4EÿÿJ47ÿ45A?JEÿ6[[ÿ7<4ÿH454B87Eÿ?Bÿ4574;3;8E4>K6[87JÿG676H6E4Iÿ?;
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         H38K-3Iÿ4:17ÿ:<-ÿ731H20:Jÿ13ÿ94M-ÿ01/:38F2:81/IÿH83-0:GLÿ:1ÿ:<-ÿ731H20:ÿ013-DÿE12NGGÿ/--Hÿ:1ÿI85/ÿ4ÿO1/:38F2:13ÿP80-/I-
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              I01ÿ<2/ÿ544>ÿ80ÿ65A342=4ÿ8G4ÿ<4<03/ÿ2F26;2:;4ÿ80ÿJ2F45KÿLMNOPQÿSTUVWXYZ[\]^_`aMbcda^H
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         B7ÿÿB40CDÿ5843936=4ÿ>68605ÿ4925>=ÿ8G4ÿ-15A86052;68/ÿ0-ÿ0<<1568/ÿ>68605ÿ@68Gÿ5843936=4732>4ÿ-428134=H
         B7ÿÿB40CDÿ5843936=4ÿA05=6=8=ÿ0-ÿ<0>1;4=ÿ-30<ÿB40CDÿ0<<1568/ÿ>68605ÿ25>ÿ<0>1;4=ÿ;6A45=4>ÿ15>43ÿtFÿ65ÿ8G6=
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T h e G r a p h Fo u n d a t i o n
Open Graph Technology for Public Good                                                                                                                  Menu


   O Ng D B ( O p e n Na t i v e G r a p h D B )
       Downloads   12K+         Star    167          Pull   154K+



  ONgDB is a fork of the neo4j enterprise project that continues development of neo4j enterprise as a fully open source project after Neo4j Inc’s Open Core
  Shift that suspended development of enterprise as an open source project and removed the open source code.

  ONgDB is a high performance, native graph store with everything you would expect from an enterprise-ready database, including high availability clustering,
  ACID transactions, and uses the intuitive, pattern-centric open cypher query language. Developers use graph theory-based structures that we call nodes and
  relationships instead of rows and columns. For many use cases, ONgDB will provide orders of magnitude performance bene ts compared to non-native
  graph, relational and NoSQL databases.


  O p en S o u r c e L i c en s e
  ONgDB distributions are licensed under AGPLv3 as a free and open source alternative to currently available proprietary native graph offerings such as Neo4j
  Enterprise Edition.


  C u r r en t Rel ea s e


    O Ng D B 3 . 6 . 0
    23 June 2020: Release Notes | Source Code | Documentation

    Mac/Linux                          ongdb-enterprise-3.6.0-unix.tar.gz
    Windows 64 bit                     ongdb-enterprise-3.6.0-windows.zip
    Windows 32 bit                     ongdb-enterprise-3.6.0-windows.zip
                                       ONgDB 3.6.0 Docker Hub


                                          docker run \
                                               --publish=7474:7474 --publish=7687:7687 \
    Docker Image                               --volume=$HOME/ongdb/data:/data \
                                               graphfoundation/ongdb:3.6



                                       Go to: http://localhost:7474



  LT S Rel ea s e



https://www.graphfoundation.org/projects/ongdb/                                                                                                                 1/4
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    Mac/Linux                         ongdb-enterprise-3.5.19-unix.tar.gz
    Windows 64 bit                    ongdb-enterprise-3.5.19-windows.zip
    Windows 32 bit                    ongdb-enterprise-3.5.19-windows.zip
                                      ONgDB 3.5.19 Docker Hub


                                          docker run \
                                               --publish=7474:7474 --publish=7687:7687 \
    Docker Image                               --volume=$HOME/ongdb/data:/data \
                                               graphfoundation/ongdb:3.5



                                      Go to: http://localhost:7474



  P r ev i o u s Rel ea s es
      3.5.18
      3.5.17
      3.5.16
      3.4.17
      3.4.15

  Not seeing the perfect release? Browse all ONgDB Releases for the full list of supported releases.


  I n t er es t ed i n C o n t r i b u t i n g t o O Ng D B D ev el o p m en t ?
  There are many ways to contribute to the exciting development of the worlds most powerful open source graph database. For steps on how to get started and
  joining the community Slack, head over to Get Involved to learn more.


  L o o k i n g f o r O Ng D B B u i l d Res u l t s a n d D i s t r i b u t i o n s ?
  The Graph Foundation Build Server will build and make distributions available for git branches on active projects. If you would like a distribution built with your
  modi cation, follow the steps for committers and submit a Pull Request with your contribution.


  I n t er es t ed i n s u p p o r t i n g o u r m i s s i o n ?
  Our mission helps improve our world through the open development of graph technology. Learn more about our mission and how you can support today.




 P a ge s
 Accessibility
 Get Involved
https://www.graphfoundation.org/projects/ongdb/                                                                                                                         2/4
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 Graph Community
 Mission
 Projects
     Heimdall
     ONgDB (Open Native Graph DB)
        ONgDB Releases
             ONgDB 3.4.11
             ONgDB 3.4.12
             ONgDB 3.4.15
             ONgDB 3.4.17
             ONgDB 3.4.9
             ONgDB 3.5.1
             ONgDB 3.5.11
             ONgDB 3.5.12
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             ONgDB 3.5.19
             ONgDB 3.5.3
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             ONgDB 3.6.0.M1
             ONgDB 3.6.0.M2
             ONgDB 3.6.0.RC1
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     Sponsorship
     Thanks
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     Public Records
        Articles of Incorporation
        Code of Regulations



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             The Graph Foundation
             @GraphFoundation
                                                                                                  New to Twitter?
                                                                                                 Sign up now to get your own personalized timeline!

    Please report all #Neo4j Enterprise 3.5+ issues to the
                                                                                                                           Sign up
    ongdb Github (github.com/GraphFoundatio…) so we
    can more effectively track bugs related to open source
    enterprise code vs. open core community.                                                      Relevant people

                                                                                                            The Graph Foundation
                          graphfoundation/ongdb                                                                                              Follow
                                                                                                            @GraphFoundation
                          ONgDB (Open Native Graph DB) - Neo4j fork with enterprise
                                                                                                            Open Graph Technology for Public
                          code base. ONgDB integrates Neo4j Open Core commits. - …
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                             github.com


    4:40 AM · Jan 31, 2019 · Twitter Web Client                                                   What’s happening

                                                                                                  US news · 45 minutes ago
     1 Retweet   1 Like                                                                           Kanye West says Harriet Tubman
                                                                                                  'never actually freed the slaves'
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                                                                                                  Trending with: Kanye and Harriet Tubman


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                                                                                                  3,158 Tweets


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                                                                                                  #TheMemorialTournament

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                                                                                                  President Trump refuses to say
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                                                                                                  with Chris Wallace
                                                                                                  Trending with: Chris Wallace and
                                                                                                  #NationalIceCreamDay


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                                                                                                  Relevant people

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                                                                                                                                             Follow
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                                                                                                  What’s happening

                                                                                                  US news · 45 minutes ago
                                                                                                  Kanye West says Harriet Tubman
                                                                                                  'never actually freed the slaves'
                                                                                                  during his South Carolina
                                                                                                  campaign rally
                                                                                                  Trending with: Kanye and Harriet Tubman


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                                                                                                  #TheMemorialTournament

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                                                                                                  President Trump refuses to say
                                                                                                  whether he will accept election
                                                                                                  results during recent interview
                                                                                                  with Chris Wallace
                                                                                                  Trending with: Chris Wallace and
                                                                                                  #NationalIceCreamDay


                                                                                                  Food · Trending
                                                                                                  #weloveyoudream
                                                                                                  2,083 Tweets


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                                                 EXHIBIT 62
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                                                                                                                 




       Proven past performance and value supporting Neo4j Enterprise open source
       licensed distributions.
       Our team has been providing Neo4j support to US Federal agencies for many years, and we now
       only offer commercial equivelent support packages for Neo4j Enterprise open source licensed
       distributions.



                                                                              Request Procurement Document Package




       Our team is the same team that created Neo4j Enterprise Government Edition. Further, we are the
       same team that sold and supported every US Federal Government procurement of Neo4j Enterprise
       Government Edition up until its retirement in July 2017.


       We only focus on only supporting 100% free and open source ONgDB Enterprise & Neo4j Enterprise
       open source licensed distributions. Not only does this cut down on unecessary commercial license
       costs, the open source licenses do not place any restrictions on the number of cluster instances or
       cores like the commercial licenses do.




                                         Open source graph packages
           Did you know that the Neo4j Enterprise commercial packages available from Neo4j Inc and their
                                                partners are essentially support offerings?


        Are you aware that, unlike the commercial licensed options, the Neo4j Enterprise open source AGPL
                   license does not place any restrictions on the number of cluster instances and cores?


        iGov Inc's open source enterprise packages provide a better value than Neo4j Enterprise commercial
            support subscriptions because 100% of the cost goes to support and development services, not


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iGov : Innovative Government Solutions
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                                  unecessary and more restrictive commercial licenses.


           If you do not need support for your ONgDB Enterprise or Neo4j Enterprise open source licensed

             distribution, then simply download ONgDB Enterprise as a drop in replacement for an existing
                                   commercial licensed distribution of the same version number.




       Know your options
       It is important to know your options before you make any procurement decisions around Neo4j. The information
       below provides you with a complete breakdown of the 3 main Neo4j offerings available including the free open
       source option. Most people are not aware that Neo4j Enterprise Edition is open source like its sibling, Neo4j
       Community edition. In fact, there is no reason you should be using the community edition. If you've chosen to use
       Neo4j open source, then you should use the enterprise edition under it's open source license.


       The information below should provide you with a clear understanding of your options, so you can choose what's
       best for your agency.


       View our blog post on Neo4j Commercial Prices




                                          NEO4J INC. COMMERCIAL SUBSCRIPTION
                                                              $29K - $1M+
            Commercial packages are those sold by Neo4j solutions partners. You are paying for production support. The
                                commercial license is actually more restrictive than the open source license!


                                                              Neo4j Enterprise Software

                                          Available through Neo4j Inc. and all Neo4j Solution Partners

               Yearly Subscription. You are paying for production support backed by Neo4j Inc.. If you don't renew your
                               subscription you simply fall back to the Neo4j Enterprise open source license.

                             Production Email and Phone Support from vendor which is backed by Neo4j Inc.

                                         Commercial License (Most government agencies do not need.)

                                         Cost is based on number of instances and cores. (See below)



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                                                  IGOV DEVELOPMENT PACKAGES
                                                                      $25K+
             100% of the cost goes into services aimed at building a solution around Neo4j, not unnecessary production
                                                        support for something not yet built!.



                                                    ONgDB Enterprise open source distributions


                                No annual subscription, you are free to do whatever you want in the future.


                             Production Email and Phone Support from iGov Inc, but not backed by Neo4j Inc.


             ONgDB Enterprise is free and open source. You have all the feature parity of Neo4j Enterprise commercial
                                         licenses, but without limits on usage, cluster instances, cores, etc.


                         No limitations on usage, instances or cores - cost goes 100% to solutions development


                                                        FISMA and 508 Toolkit and Services


                     Suite of Tools, Frameworks, and Starter Projects we use for scalable big data graph projects.




                                            IGOV ENTERPRISE SUPPORT PACKAGES
                                                                       $1K+
         We offer the same support features and SLAs as the Neo4j Enterprise commercial subscriptions offered by Neo4j
           Inc partners, but for the open source licensed enterprise distributions. This allows us to only charge for support,
                                            not an unecessary and more restrictive commercial license.



                                                    ONgDB Enterprise open source distributions


                                                    No limitations on cluster instances or cores.


              ONgDB Enterprise is a drop In replacement for Neo4j Enterprise commercial packages downloaded from
                                                                       Neo4j.com


                                                        FISMA and 508 Toolkit and Services




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          Open source Suite of Tools, Frameworks, and Starter Projects we use for scalable big data Neo4j projects. (See
                                                                 https://graphstack.io)




                                                                OPEN SOURCE
                                                                      FREE
          Simply download the appropriate enterprise release version you need and start using it. There are no limitations
                                                          on cluster instances, cores, etc.


          The distributions we package for the federal government and community as a whole are drop in replacements for
                                   Neo4j Enterprise commercial packages you download from neo4j.com.




                                               Learn More about Neo4j Enterprise Open Source




                    DEVELOPMENT PACKAGE OVERVIEW                     PRICE COMPARISON             PROCUREMENT COMPARISON


                                                                    WHY IGOV INC ?




       Development Package Overview

           The Government Development Packages are aimed at agencies who need help building a robust and scalable
           solution around Neo4j. Unlike the commercial production support subscriptions, 100% of the cost goes into
           consulting services that help you build out your solution.


           All iGov Inc packages also include a suite of tools and services which are combined to address critical FISMA
           and accessibility requirements relating to Neo4j.




                  Customer Support
                   iGov Inc provides umbrella support across all the components of your Neo4j solution, including Neo4j
                   itself. For example, a solution using Neo4j Enterprise, Apache Kafka, Elastic Search, and custom micro-


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                   service architecture components are all covered under the umbrella support provided with these
                   packages. The Neo4j commercial support subscriptions only cover Neo4j Enterprise.



                  UI/UX Development
                   The development packages include UI and UX design services to assist developing everything from your
                   dashboards and visualization. We ensure all development meets 508(c) requirements. We cover all
                   modern web design frameworks including ReactJS and AngularJS. Furthermore, we provide a toolbox of
                   open source visualization libraries and webapp starter projects to get your project up and running quickly.
                   You can also add on UI packages such as Linkurious OGMA and Graphlytic Visualization tools and APIs.



                  Starter Projects and Toolsets
                   We provide a suite of starter projects (maven and gradle), templates, and tools to get your Neo4j projects
                   off the ground quickly. Our Starters include Docker images, Microservice architecture components (api
                   gateways, service registries, etc), UI and visualization components and more.



                  Enterprise Architecture Development
                   Neo4j is usually just one of many components in a common graph solution. Other components include
                   ElasticSearch, Apache Kafka, and other technologies.


                   Our team brings a wide range of enterprise architecture development expertise to the table. From
                   monolithic to micro-service architectures, our team will help design a solution that best fit's your agency's
                   needs.


                  GraphGrid Data Platform
                   GraphGrid Data Platform (GDP) is an enterprise-grade graph data management platform that enables a
                   centralized architecture for running batch, interactive and real-time analytics and data processing
                   applications simultaneously across your connected graph data. Development packages include the tools,
                   and platform components needed to get a robust and scalable ETL pipeline in place.



                  Newest Libraries and Repositories
                   The Government Packages for Neo4j include many of the leading technologies which are all covered
                   under the umbrella package support. In many cases, this allows for agencies to start working with new
                   technologies that would have usage restrictions if not part of a vendor supported package such as this. All
                   libraries and repositories are kept on Amazon GovCloud and can be easily accessed once an agency
                   whitelists the servers. Development packages include access to the newest libraries and repositories for
                   the tools we package and support.



                  GovCloud Development and Continuous Integration Environment
                   We understand that many agencies have not adopted the newest technologies and best practices which
                   can make modern web application development almost impossible. Our development packages include
                   use of GovCloud resources including EC2, S3,Container Services, and more.


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       Pricing Comparison

           Below is a price comparison for a Neo4j Inc. commercial subscription package covering 3 production instances
           with 8 cores each. (3x8). The Neo4j Inc. commercial package is not a perpetual license, and the commercial
           EULA limits your use of Neo4j open source licenses in many ways once accepted. Notice that it also has
           unnecessary production elements which you are paying for as part of the subscription. Neo4j Inc's pricing can
           be found via a simple GSA Advantage search.



       Neo4j Inc. Commercial Subscription (Annual Subscription)

           Neo4j Enterprise Bundle – Standard cluster for enterprise applications that are used by more than one
           department (or by a larger department), or by customer-facing applications.

           Neo4j Enterprise Bundle basic configuration includes:

                  a. 3 Production Instances (up to 8 Cores per Instance).
                  b. 3 Test Instances (no Core limit).
                  c. Premium Support: 24 x 7 / 1-hour response time for Severity 1 issues, email and phone.
                  d. Unlimited number of licensed developers.




         Name & Description                                                                       Annual Subscription Price

         Neo4j Enterprise Bundle Base (3 Instances X 8 Cores Each)                                $189,188 / yr

         Additional Production Capacity (per Core)                                                + $6,609 / yr

         Disaster Recovery (per Core)                                                             + $3,305 / yr

         Additional Test Instances (per Instance)                                                 + $4,957 / yr

         Additional Instance (up to 8 Cores)                                                      + $52,874 / yr

         8‐Core pack                                                                              + $52,874 / yr




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         12‐Core pack                                                                             + $79,310 / yr

         16‐Core pack                                                                             + $105,747 / yr

         24‐Core pack                                                                             + $158,621 / yr

         32‐Core pack                                                                             + $211,494 / yr


       iGov Inc's Government Development Package with Neo4j Enterprise

           Comes with same physical Neo4j Enterprise software. Under open source license there are no limitations on
           how you use it. You have no limits on environments, number of instances, cores, etc!

           Government Bundle for Neo4j Enterprise basic configuration includes:

                  a. Unlimited instances with no core limits for any environment! (dev, test, staging, production, etc)
                  c. Premium support and development services by iGov Inc. Unlike the Neo4j commercial package, we support
                  your entire architecture not just Neo4j. (Neo4j, ElasticSearch, UI, Micro Services, etc..)
                  d. No limitations on number of developers, etc.




           $25,000+

       100% goes into development.
       The minimum development package costs $25,000. For comparison - you can choose the $189,000 Development
       package option - where $189,000 goes into consulting services at GSA approved rates.


       Of course - you can choose how much you want to spend. We simply offer packages that parallel commercial
       subscription rates to help make procurement easier.




                                                                            


                       Neo4j Inc. Commercial Support vs iGov Inc.
                          Development Package Comparison

             So what exactly do you get with a Neo4j Inc. commercial subscription? You get the peace of mind knowing



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iGov : Innovative Government Solutions
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           Neo4j Inc. is there to assist with production support tickets if the vendor you purchased it from can not solve an
           issue on their own. This is not very useful when you are in development, using Neo4j for R & D, or do not have
                                                        a mission critical Neo4j deployment.



                                                  Government                       Neo4j Enterprise           Neo4j Enterprise
                                             Development Package                  commercial support        (default open source
                                              w/ Neo4j Enterprise                    subscription                 license)

         Has full Neo4j Enterprise                       YES                                YES                      YES
         functionality.

         Can purchase through                            NO                                 YES                       NO
         Neo4j Inc. or its resellers             The Government                                               Neo4j partners are
                                              Packages for Neo4j are                                         forbidden on offering
                                               only available through                                       services or support for
                                                     iGov Inc.                                                Neo4j open source
                                                                                                                   licenses.

         Can use in any                                  YES                                YES                      YES
         environment for any                                                     *Your subscription has
         purpose?                                                               limits on number of cores
                                                                                      and instances



         Comes with consulting                         YES                                   NO                      NO
         services which can be              This is what seperates out
         used to build your solution              the Government
         around Neo4j. (Including            Development Package
         UI/UX design, ETL                     from the commercial
         implementation,                      support subscription.
         enterprise architecture,            Support is swapped out
         and FISMA and 508c                  with consulting services
         services)                          you can use to build your
                                             solution around Neo4j.

         Comes with tools,                               YES                                 NO                      NO
         services and support to
         address Accessability
         (508c) and FISMA
         requirements.

         Can I use this with any                         YES                                 NO                      YES
         amount of cores or                                                    *The cost of a commercial
         instances without                                                       support subscription is
         incurring additional costs?
                                                                                 based on the cores and
                                                                                    instances you use.



https://web.archive.org/web/20181204191542/https://igovsol.com/neo4j.html[8/12/2020 4:52:41 PM]                            N4J_018831
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         Can I create custom                             YES                                YES                 YES
         derivative versions of
         Neo4j Enterprise? (Ex: My
         custom Neo4j Enterprise
         Edition)

         Does Neo4j Inc. provide                       No*                                  YES                 NO
         official email and phone            Development packages
         production support?                 do not need production
                                             support, they swap out
                                              production support for
                                             consulting services you
                                            use to build your solution.

         Does NOT require you to                                                    YES for all
         open source your systems              You do NOT have to open source your system that uses Neo4j Enterprise as a
         that simply use Neo4j                 server as it's intended to be used. You only need to open source custom Neo4j
         Enterprise as a                      Enterprise derivatives under the open source license and then only under certain
         component in your                                                   distribution conditions.
         system.




                                                                            




       About iGov
       iGov Inc. is a software development company located in the Washington DC Metro area.
       We focus on building innovative solutions for US Government agencies using leading open-source technologies.




       CONTACT US

       (703) 672-1205
        [email protected]




https://web.archive.org/web/20181204191542/https://igovsol.com/neo4j.html[8/12/2020 4:52:41 PM]                       N4J_018832
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                                                 EXHIBIT 63
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                                                                         Solutions Page 781 of 1198



                                                                                            Witness:
                                                                                         John Mark Suhy           
                                 (index.html)
                                                                                       Exhibit 13
                                                                                         10/22/2020 B Gerald




   Proven past performance and value supporting Neo4j Enterprise open source
   licensed distributions.
   Our team has been providing Neo4j support to US Federal agencies for many years, and we now only
   o er commercial equivelent support packages for Neo4j Enterprise open source licensed
   distributions.



                          Request Procurement Document Package (mailto:neo4j@igovsol.com)




   Our team is the same team that created Neo4j Enterprise Government Edition. Further, we are the
   same team that sold and supported every US Federal Government procurement of Neo4j
   Enterprise Government Edition up until its retirement in July 2017.

   We only focus on only supporting 100% free and open source ONgDB Enterprise
   (https://www.graphfoundation.org/projects/ongdb/) & Neo4j Enterprise open source licensed
   distributions. Not only does this cut down on unecessary commercial license costs, the open
   source licenses do not place any restrictions on the number of cluster instances or cores like the
   commercial licenses do.



                                 Open source graph packages
      Did you know that the Neo4j Enterprise commercial packages available from Neo4j Inc and their
                               partners are essentially support o erings?

       Are you aware that, unlike the commercial licensed options, the Neo4j Enterprise open source
        AGPL license does not place any restrictions on the number of cluster instances and cores?

        iGov Inc's open source enterprise packages provide a better value than Neo4j Enterprise
      commercial support subscriptions because 100% of the cost goes to support and development
                    services, not unecessary and more restrictive commercial licenses.

     If you do not need support for your ONgDB Enterprise or Neo4j Enterprise open source licensed


https://igovsol.com/neo4j.html                                                                                        1/10
                                                                                                               N4J_018842
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                           distribution, then simply download ONgDB Enterprise
         (https://www.graphfoundation.org/projects/ongdb/) as a drop in replacement for an existing 
                            (index.html)
                        commercial  licensed distribution of the same version number.




   Know your options
   It is important to know your options before you make any procurement decisions around Neo4j. The
   information below provides you with a complete breakdown of the 3 main Neo4j o erings available
   including the free open source option. Most people are not aware that Neo4j Enterprise Edition is open
   source like its sibling, Neo4j Community edition. In fact, there is no reason you should be using the
   community edition. If you've chosen to use Neo4j open source, then you should use the enterprise edition
   under it's open source license.


   The information below should provide you with a clear understanding of your options, so you can choose
   what's best for your agency.


   View our blog post on Neo4j Commercial Prices (https://blog.igovsol.com/2018/01/10/Neo4j-Commercial-
   Prices.html)




                                     NEO4J INC. COMMERCIAL SUBSCRIPTION
                                                   $29K - $1M+
      Commercial packages are those sold by Neo4j solutions partners. You are paying for production support.
                       The commercial license is actually more restrictive than the open source license!


                                                  Neo4j Enterprise Software

                                  Available through Neo4j Inc. and all Neo4j Solution Partners

       Yearly Subscription. You are paying for production support backed by Neo4j Inc.. If you don't renew your
                         subscription you simply fall back to the Neo4j Enterprise open source license.

                        Production Email and Phone Support from vendor which is backed by Neo4j Inc.

                                 Commercial License (Most government agencies do not need.)

                                 Cost is based on number of instances and cores. (See below)



https://igovsol.com/neo4j.html                                                                                    2/10
                                                                                                           N4J_018843
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                                                                         Solutions Page 783 of 1198

                                             IGOV DEVELOPMENT PACKAGES

                                     (index.html)
                                                            $25K+                                              


     100% of the cost goes into services aimed at building a solution around Neo4j, not unnecessary production
                                                support for something not yet built!.



                                           ONgDB Enterprise open source distributions


                           No annual subscription, you are free to do whatever you want in the future.


                       Production Email and Phone Support from iGov Inc, but not backed by Neo4j Inc.


      ONgDB Enterprise is free and open source. You have all the feature parity of Neo4j Enterprise commercial
                                 licenses, but without limits on usage, cluster instances, cores, etc.


                   No limitations on usage, instances or cores - cost goes 100% to solutions development


                                                FISMA and 508 Toolkit and Services


               Suite of Tools, Frameworks, and Starter Projects we use for scalable big data graph projects.




                                        IGOV ENTERPRISE SUPPORT PACKAGES
                                                              $1K+
     We o er the same support features and SLAs as the Neo4j Enterprise commercial subscriptions o ered by
      Neo4j Inc partners, but for the open source licensed enterprise distributions. This allows us to only charge
                             for support, not an unecessary and more restrictive commercial license.



                                           ONgDB Enterprise open source distributions


                                            No limitations on cluster instances or cores.


      ONgDB Enterprise is a drop In replacement for Neo4j Enterprise commercial packages downloaded from
                                                             Neo4j.com


                                                FISMA and 508 Toolkit and Services




https://igovsol.com/neo4j.html                                                                                       3/10
                                                                                                           N4J_018844
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      Open source Suite of Tools, Frameworks, and Starter Projects we use for scalable big data Neo4j projects.
                                                   (See https://graphstack.io)                                    
                                    (index.html)




                                                       OPEN SOURCE
                                                            FREE
         Simply download the appropriate enterprise release version you need and start using it. There are no
                                           limitations on cluster instances, cores, etc.


             The distributions we package for the federal government and community as a whole are drop in
                  replacements for Neo4j Enterprise commercial packages you download from neo4j.com.




                      Learn More about Neo4j Enterprise Open Source (downloads.html#neo4j-os-faqs)




                                 DEVELOPMENT PACKAGE OVERVIEW (NEO4J.HTML#NEO4J-DEV-FEATURES)


                                     PRICE COMPARISON (NEO4J.HTML#NEO4J-PRICE-COMPARISON)


                                   PROCUREMENT COMPARISON (NEO4J.HTML#NEO4J-COMPARISON)


   Development Package Overview          WHY IGOV INC ? (NEO4J.HTML#PROCUREMENT-INFO)




       The Government Development Packages are aimed at agencies who need help building a robust and
       scalable solution around Neo4j. Unlike the commercial production support subscriptions, 100% of the
       cost goes into consulting services that help you build out your solution.


       All iGov Inc packages also include a suite of tools and services which are combined to address critical
       FISMA and accessibility requirements relating to Neo4j.




               Customer Support
                iGov Inc provides umbrella support across all the components of your Neo4j solution, including
                Neo4j itself. For example, a solution using Neo4j Enterprise, Apache Kafka, Elastic Search, and
                custom micro-service architecture components are all covered under the umbrella support


https://igovsol.com/neo4j.html                                                                                        4/10
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                provided with these packages. The Neo4j commercial support subscriptions only cover Neo4j
                Enterprise.                                                                                      
                                  (index.html)

               UI/UX Development
                The development packages include UI and UX design services to assist developing everything from
                your dashboards and visualization. We ensure all development meets 508(c) requirements. We
                cover all modern web design frameworks including ReactJS and AngularJS. Furthermore, we provide
                a toolbox of open source visualization libraries and webapp starter projects to get your project up
                and running quickly.
                You can also add on UI packages such as Linkurious OGMA and Graphlytic Visualization tools and
                APIs.


               Starter Projects and Toolsets
                We provide a suite of starter projects (maven and gradle), templates, and tools to get your Neo4j
                projects o the ground quickly. Our Starters include Docker images, Microservice architecture
                components (api gateways, service registries, etc), UI and visualization components and more.


               Enterprise Architecture Development
                Neo4j is usually just one of many components in a common graph solution. Other components
                include ElasticSearch, Apache Kafka, and other technologies.


                Our team brings a wide range of enterprise architecture development expertise to the table. From
                monolithic to micro-service architectures, our team will help design a solution that best t's your
                agency's needs.



               GraphGrid Data Platform
                GraphGrid Data Platform (GDP) is an enterprise-grade graph data management platform that
                enables a centralized architecture for running batch, interactive and real-time analytics and data
                processing applications simultaneously across your connected graph data. Development packages
                include the tools, and platform components needed to get a robust and scalable ETL pipeline in
                place.


               Newest Libraries and Repositories
                The Government Packages for Neo4j include many of the leading technologies which are all
                covered under the umbrella package support. In many cases, this allows for agencies to start
                working with new technologies that would have usage restrictions if not part of a vendor supported
                package such as this. All libraries and repositories are kept on Amazon GovCloud and can be easily
                accessed once an agency whitelists the servers. Development packages include access to the
                newest libraries and repositories for the tools we package and support.


                GovCloud Development and Continuous Integration Environment
https://igovsol.com/neo4j.html                                                                                        5/10
                                                                                                           N4J_018846
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                                                                         Solutions Page 786 of 1198

                We understand that many agencies have not adopted the newest technologies and best practices
               which can make modern web application development almost impossible. Our development              
                                (index.html)
                packages include use of GovCloud resources including EC2, S3,Container Services, and more.




                                                                 


   Pricing Comparison

       Below is a price comparison for a Neo4j Inc. commercial subscription package covering 3 production
       instances with 8 cores each. (3x8). The Neo4j Inc. commercial package is not a perpetual license, and the
       commercial EULA limits your use of Neo4j open source licenses in many ways once accepted. Notice
       that it also has unnecessary production elements which you are paying for as part of the subscription.
       Neo4j Inc's pricing can be found via a simple GSA Advantage search.



   Neo4j Inc. Commercial Subscription (Annual Subscription)

       Neo4j Enterprise Bundle – Standard cluster for enterprise applications that are used by more than one
       department (or by a larger department), or by customer-facing applications.

       Neo4j Enterprise Bundle basic con guration includes:

               a. 3 Production Instances (up to 8 Cores per Instance).
               b. 3 Test Instances (no Core limit).
               c. Premium Support: 24 x 7 / 1-hour response time for Severity 1 issues, email and phone.
               d. Unlimited number of licensed developers.




     Name & Description                                                               Annual Subscription Price

     Neo4j Enterprise Bundle Base (3 Instances X 8 Cores Each)                        $189,188 / yr

     Additional Production Capacity (per Core)                                        + $6,609 / yr

     Disaster Recovery (per Core)                                                     + $3,305 / yr

     Additional Test Instances (per Instance)                                         + $4,957 / yr



https://igovsol.com/neo4j.html                                                                                        6/10
                                                                                                            N4J_018847
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     Name & Description                                                                    Annual Subscription Price
                                                                                                                          
     Additional Instance (up to(index.html)
                                 8 Cores)                                                  + $52,874 / yr

     8‐Core pack                                                                           + $52,874 / yr

     12‐Core pack                                                                          + $79,310 / yr

     16‐Core pack                                                                          + $105,747 / yr

     24‐Core pack                                                                          + $158,621 / yr

     32‐Core pack                                                                          + $211,494 / yr


   iGov Inc's Government Development Package with Neo4j Enterprise

       Comes with same physical Neo4j Enterprise software. Under open source license there are no
       limitations on how you use it. You have no limits on environments, number of instances, cores, etc!

       Government Bundle for Neo4j Enterprise basic con guration includes:

               a. Unlimited instances with no core limits for any environment! (dev, test, staging, production, etc)
               c. Premium support and development services by iGov Inc. Unlike the Neo4j commercial package, we
               support your entire architecture not just Neo4j. (Neo4j, ElasticSearch, UI, Micro Services, etc..)
               d. No limitations on number of developers, etc.




       $25,000+

   100% goes into development.
   The minimum development package costs $25,000. For comparison - you can choose the $189,000
   Development package option - where $189,000 goes into consulting services at GSA approved rates.


   Of course - you can choose how much you want to spend. We simply o er packages that parallel commercial
   subscription rates to help make procurement easier.




                                                                  




https://igovsol.com/neo4j.html                                                                                                7/10
                                                                                                                       N4J_018848
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                    Neo4j Inc. Commercial Support vs iGov Inc.                                                    
                           (index.html)
                       Development Package Comparison

            So what exactly do you get with a Neo4j Inc. commercial subscription? You get the peace of mind
       knowing Neo4j Inc. is there to assist with production support tickets if the vendor you purchased it from
         can not solve an issue on their own. This is not very useful when you are in development, using Neo4j
                                 for R & D, or do not have a mission critical Neo4j deployment.



                                          Government                Neo4j Enterprise            Neo4j Enterprise
                                      Development Package         commercial support          (default open source
                                       w/ Neo4j Enterprise           subscription                   license)

     Has full Neo4j Enterprise                  YES                        YES                        YES
     functionality.

     Can purchase through                       NO                         YES                         NO
     Neo4j Inc. or its resellers         The Government                                        Neo4j partners are
                                      Packages for Neo4j are                                  forbidden on o ering
                                      only available through                                 services or support for
                                             iGov Inc.                                         Neo4j open source
                                                                                                    licenses.

     Can use in any                             YES                        YES                        YES
     environment for any                                          *Your subscription has
     purpose?                                                      limits on number of
                                                                   cores and instances



     Comes with consulting                       YES                        NO                        NO
     services which can be             This is what seperates
     used to build your                 out the Government
     solution around Neo4j.            Development Package
     (Including UI/UX design,          from the commercial
     ETL implementation,               support subscription.
     enterprise architecture,         Support is swapped out
     and FISMA and 508c               with consulting services
     services)                          you can use to build
                                       your solution around
                                                Neo4j.




https://igovsol.com/neo4j.html                                                                                         8/10
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                                         Government                  Neo4j Enterprise          Neo4j Enterprise
                                    Development Package            commercial support        (default open source
                                                                                                                
                                 (index.html)
                                     w/ Neo4j Enterprise              subscription                 license)

     Comes with tools,                       YES                            NO                       NO
     services and support to
     address Accessability
     (508c) and FISMA
     requirements.

     Can I use this with any                 YES                            NO                       YES
     amount of cores or                                                *The cost of a
     instances without                                              commercial support
     incurring additional
                                                                  subscription is based on
     costs?
                                                                  the cores and instances
                                                                         you use.



     Can I create custom                     YES                           YES                      YES
     derivative versions of
     Neo4j Enterprise? (Ex:
     My custom Neo4j
     Enterprise Edition)

     Does Neo4j Inc. provide                 No*                           YES                      NO
     o cial email and phone         Development packages
     production support?            do not need production
                                    support, they swap out
                                    production support for
                                    consulting services you
                                       use to build your
                                           solution.

     Does NOT require you                                              YES for all
     to open source your           You do NOT have to open source your system that uses Neo4j Enterprise as a
     systems that simply use       server as it's intended to be used. You only need to open source custom Neo4j
     Neo4j Enterprise as a           Enterprise derivatives under the open source license and then only under
     component in your                                      certain distribution conditions.
     system.




                                                              



https://igovsol.com/neo4j.html                                                                                      9/10
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                                                                                                                  
                                 (index.html)




   About iGov
   iGov Inc. is a software development company located in the Washington DC Metro area.
   We focus on building innovative solutions for US Government agencies using leading open-source technologies.




   CONTACT US

   (703) 672-1205
    info@igovsol.com (mailto:info@igovsol.com)

    7686 Richmond Highway Suite 101-B Alexandria, VA 22306




   (index.html)


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https://igovsol.com/neo4j.html                                                                                        10/10
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                                                                         Solutions Page 792 of 1198



                                                                                                            
                                 (index.html)




   Proven past performance and value supporting Neo4j Enterprise open source licensed
   distributions.
   Our team has been providing Neo4j support to US Federal agencies for many years, and we now only o er
   commercial equivelent support packages for Neo4j Enterprise open source licensed distributions.



                                   Request Procurement Document Package (mailto:neo4j@igovsol.com)




   Our team is the same team that created Neo4j Enterprise Government Edition. Further, we are the same team
   that sold and supported every US Federal Government procurement of Neo4j Enterprise Government Edition
   up until its retirement in July 2017.

   We only focus on only supporting 100% free and open source ONgDB Enterprise
   (https://www.graphfoundation.org/projects/ongdb/) & Neo4j Enterprise open source licensed distributions.
   Not only does this cut down on unecessary commercial license costs, the open source licenses do not place
   any restrictions on the number of cluster instances or cores like the commercial licenses do.



                                      Open source graph packages
    Did you know that the Neo4j Enterprise commercial packages available from Neo4j Inc and their partners are
                                          essentially support o erings?

     Are you aware that, unlike the commercial licensed options, the Neo4j Enterprise open source AGPL license
                   does not place any restrictions on the number of cluster instances and cores?

    iGov Inc's open source enterprise packages provide a better value than Neo4j Enterprise commercial support
    subscriptions because 100% of the cost goes to support and development services, not unecessary and more
                                          restrictive commercial licenses.

    If you do not need support for your ONgDB Enterprise or Neo4j Enterprise open source licensed distribution,
       then simply download ONgDB Enterprise (https://www.graphfoundation.org/projects/ongdb/) as a drop in
               replacement for an existing commercial licensed distribution of the same version number.




   Know your options                                                              Witness:
                                                                               John Mark Suhy

                                                                             Exhibit 14
https://igovsol.com/neo4j.html                                                  10/22/2020 B Gerald               1/9
                                                                                                      N4J_018892
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                                               iGov : Innovative Filed 12/11/20
                                                                         Solutions Page 793 of 1198

   It is important to know your options before you make any procurement decisions around Neo4j. The information below
   provides you with a complete breakdown of the 3 main Neo4j o erings available including the free open source option.   
                            (index.html)
   Most people are not aware that Neo4j Enterprise Edition is open source like its sibling, Neo4j Community edition. In fact,
   there is no reason you should be using the community edition. If you've chosen to use Neo4j open source, then you
   should use the enterprise edition under it's open source license.


   The information below should provide you with a clear understanding of your options, so you can choose what's best for
   your agency.


   View our blog post on Neo4j Commercial Prices (https://blog.igovsol.com/2018/01/10/Neo4j-Commercial-Prices.html)




                                            NEO4J INC. COMMERCIAL SUBSCRIPTION
                                                           $29K - $1M+
            Commercial packages are those sold by Neo4j solutions partners. You are paying for production support. The
                                 commercial license is actually more restrictive than the open source license!


                                                          Neo4j Enterprise Software

                                         Available through Neo4j Inc. and all Neo4j Solution Partners

      Yearly Subscription. You are paying for production support backed by Neo4j Inc.. If you don't renew your subscription
                                      you simply fall back to the Neo4j Enterprise open source license.

                             Production Email and Phone Support from vendor which is backed by Neo4j Inc.

                                       Commercial License (Most government agencies do not need.)

                                        Cost is based on number of instances and cores. (See below)



                                                  IGOV DEVELOPMENT PACKAGES
                                                                 $25K+
     100% of the cost goes into services aimed at building a solution around Neo4j, not unnecessary production support for
                                                           something not yet built!.



                                                ONgDB Enterprise open source distributions


                                 No annual subscription, you are free to do whatever you want in the future.


                             Production Email and Phone Support from iGov Inc, but not backed by Neo4j Inc.




https://igovsol.com/neo4j.html                                                                                                  2/9
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                                                                         Solutions Page 794 of 1198

     ONgDB Enterprise is free and open source. You have all the feature parity of Neo4j Enterprise commercial licenses, but
                                           without limits on usage, cluster instances, cores, etc.                           
                                  (index.html)

                         No limitations on usage, instances or cores - cost goes 100% to solutions development


                                                   FISMA and 508 Toolkit and Services


                      Suite of Tools, Frameworks, and Starter Projects we use for scalable big data graph projects.




                                           IGOV ENTERPRISE SUPPORT PACKAGES
                                                                 $1K+
      We o er the same support features and SLAs as the Neo4j Enterprise commercial subscriptions o ered by Neo4j Inc
       partners, but for the open source licensed enterprise distributions. This allows us to only charge for support, not an
                                          unecessary and more restrictive commercial license.



                                               ONgDB Enterprise open source distributions


                                               No limitations on cluster instances or cores.


       ONgDB Enterprise is a drop In replacement for Neo4j Enterprise commercial packages downloaded from Neo4j.com


                                                   FISMA and 508 Toolkit and Services


            Open source Suite of Tools, Frameworks, and Starter Projects we use for scalable big data Neo4j projects. (See
                                                           https://graphstack.io)




                                                            OPEN SOURCE
                                                                 FREE
       Simply download the appropriate enterprise release version you need and start using it. There are no limitations on
                                                       cluster instances, cores, etc.


        The distributions we package for the federal government and community as a whole are drop in replacements for
                                 Neo4j Enterprise commercial packages you download from neo4j.com.




                            Learn More about Neo4j Enterprise Open Source (downloads.html#neo4j-os-faqs)




https://igovsol.com/neo4j.html                                                                                                   3/9
                                                                                                                      N4J_018894
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                                   DEVELOPMENT PACKAGE OVERVIEW (NEO4J.HTML#NEO4J-DEV-FEATURES)
                                                                                                                             
                                 (index.html)
                                       PRICE COMPARISON (NEO4J.HTML#NEO4J-PRICE-COMPARISON)


            PROCUREMENT COMPARISON (NEO4J.HTML#NEO4J-COMPARISON)            WHY IGOV INC ? (NEO4J.HTML#PROCUREMENT-INFO)

   Development Package Overview

      The Government Development Packages are aimed at agencies who need help building a robust and scalable
      solution around Neo4j. Unlike the commercial production support subscriptions, 100% of the cost goes into
      consulting services that help you build out your solution.


      All iGov Inc packages also include a suite of tools and services which are combined to address critical FISMA and
      accessibility requirements relating to Neo4j.




              Customer Support
               iGov Inc provides umbrella support across all the components of your Neo4j solution, including Neo4j itself. For
               example, a solution using Neo4j Enterprise, Apache Kafka, Elastic Search, and custom micro-service architecture
               components are all covered under the umbrella support provided with these packages. The Neo4j commercial
               support subscriptions only cover Neo4j Enterprise.


              UI/UX Development
               The development packages include UI and UX design services to assist developing everything from your
               dashboards and visualization. We ensure all development meets 508(c) requirements. We cover all modern web
               design frameworks including ReactJS and AngularJS. Furthermore, we provide a toolbox of open source
               visualization libraries and webapp starter projects to get your project up and running quickly.
               You can also add on UI packages such as Linkurious OGMA and Graphlytic Visualization tools and APIs.



              Starter Projects and Toolsets
               We provide a suite of starter projects (maven and gradle), templates, and tools to get your Neo4j projects o the
               ground quickly. Our Starters include Docker images, Microservice architecture components (api gateways,
               service registries, etc), UI and visualization components and more.



              Enterprise Architecture Development
               Neo4j is usually just one of many components in a common graph solution. Other components include
               ElasticSearch, Apache Kafka, and other technologies.


               Our team brings a wide range of enterprise architecture development expertise to the table. From monolithic to
               micro-service architectures, our team will help design a solution that best t's your agency's needs.



              GraphGrid Data Platform
               GraphGrid Data Platform (GDP) is an enterprise-grade graph data management platform that enables a
               centralized architecture for running batch, interactive and real-time analytics and data processing applications
               simultaneously across your connected graph data. Development packages include the tools, and platform


https://igovsol.com/neo4j.html                                                                                                    4/9
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               components needed to get a robust and scalable ETL pipeline in place.

                                                                                                                              
                                  (index.html)
              Newest Libraries and Repositories
               The Government Packages for Neo4j include many of the leading technologies which are all covered under the
               umbrella package support. In many cases, this allows for agencies to start working with new technologies that
               would have usage restrictions if not part of a vendor supported package such as this. All libraries and
               repositories are kept on Amazon GovCloud and can be easily accessed once an agency whitelists the servers.
               Development packages include access to the newest libraries and repositories for the tools we package and
               support.



              GovCloud Development and Continuous Integration Environment
               We understand that many agencies have not adopted the newest technologies and best practices which can
               make modern web application development almost impossible. Our development packages include use of
               GovCloud resources including EC2, S3,Container Services, and more.




                                                                        


   Pricing Comparison

      Below is a price comparison for a Neo4j Inc. commercial subscription package covering 3 production instances with
      8 cores each. (3x8). The Neo4j Inc. commercial package is not a perpetual license, and the commercial EULA limits
      your use of Neo4j open source licenses in many ways once accepted. Notice that it also has unnecessary production
      elements which you are paying for as part of the subscription. Neo4j Inc's pricing can be found via a simple GSA
      Advantage search.



   Neo4j Inc. Commercial Subscription (Annual Subscription)

      Neo4j Enterprise Bundle – Standard cluster for enterprise applications that are used by more than one department
      (or by a larger department), or by customer-facing applications.

      Neo4j Enterprise Bundle basic con guration includes:

              a. 3 Production Instances (up to 8 Cores per Instance).
              b. 3 Test Instances (no Core limit).
              c. Premium Support: 24 x 7 / 1-hour response time for Severity 1 issues, email and phone.
              d. Unlimited number of licensed developers.




     Name & Description                                                                       Annual Subscription Price



https://igovsol.com/neo4j.html                                                                                                    5/9
                                                                                                                          N4J_018896
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     Name & Description                                                                           Annual Subscription Price
                                                                                                                                     
     Neo4j Enterprise Bundle (index.html)
                             Base (3 Instances X 8 Cores Each)                                    $189,188 / yr

     Additional Production Capacity (per Core)                                                    + $6,609 / yr

     Disaster Recovery (per Core)                                                                 + $3,305 / yr

     Additional Test Instances (per Instance)                                                     + $4,957 / yr

     Additional Instance (up to 8 Cores)                                                          + $52,874 / yr

     8‐Core pack                                                                                  + $52,874 / yr

     12‐Core pack                                                                                 + $79,310 / yr

     16‐Core pack                                                                                 + $105,747 / yr

     24‐Core pack                                                                                 + $158,621 / yr

     32‐Core pack                                                                                 + $211,494 / yr


   iGov Inc's Government Development Package with Neo4j Enterprise

      Comes with same physical Neo4j Enterprise software. Under open source license there are no limitations on how
      you use it. You have no limits on environments, number of instances, cores, etc!

      Government Bundle for Neo4j Enterprise basic con guration includes:

              a. Unlimited instances with no core limits for any environment! (dev, test, staging, production, etc)
              c. Premium support and development services by iGov Inc. Unlike the Neo4j commercial package, we support your entire
              architecture not just Neo4j. (Neo4j, ElasticSearch, UI, Micro Services, etc..)
              d. No limitations on number of developers, etc.




      $25,000+

   100% goes into development.
   The minimum development package costs $25,000. For comparison - you can choose the $189,000 Development package
   option - where $189,000 goes into consulting services at GSA approved rates.


   Of course - you can choose how much you want to spend. We simply o er packages that parallel commercial
   subscription rates to help make procurement easier.




                                                                          


https://igovsol.com/neo4j.html                                                                                                           6/9
                                                                                                                              N4J_018897
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         Neo4j Inc. Commercial Support vs iGov Inc. Development 
                    (index.html)
                                 Package Comparison

       So what exactly do you get with a Neo4j Inc. commercial subscription? You get the peace of mind knowing Neo4j Inc.
       is there to assist with production support tickets if the vendor you purchased it from can not solve an issue on their
         own. This is not very useful when you are in development, using Neo4j for R & D, or do not have a mission critical
                                                        Neo4j deployment.



                                          Government                    Neo4j Enterprise
                                    Development Package w/            commercial support          Neo4j Enterprise (default
                                       Neo4j Enterprise                  subscription               open source license)

     Has full Neo4j Enterprise                  YES                            YES                            YES
     functionality.

     Can purchase through                       NO                             YES                            NO
     Neo4j Inc. or its resellers    The Government Packages                                           Neo4j partners are
                                    for Neo4j are only available                                     forbidden on o ering
                                         through iGov Inc.                                          services or support for
                                                                                                  Neo4j open source licenses.

     Can use in any                             YES                            YES                            YES
     environment for any                                             *Your subscription has
     purpose?                                                       limits on number of cores
                                                                          and instances



     Comes with consulting                      YES                            NO                             NO
     services which can be used      This is what seperates out
     to build your solution               the Government
     around Neo4j. (Including       Development Package from
     UI/UX design, ETL                the commercial support
     implementation, enterprise       subscription. Support is
     architecture, and FISMA             swapped out with
     and 508c services)             consulting services you can
                                     use to build your solution
                                            around Neo4j.

     Comes with tools, services                 YES                            NO                             NO
     and support to address
     Accessability (508c) and
     FISMA requirements.




https://igovsol.com/neo4j.html                                                                                                  7/9
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                                              Government                   Neo4j Enterprise
                                       Development Package w/            commercial support           Neo4j Enterprise (default
                                                                                                                             
                                 (index.html)
                                           Neo4j Enterprise                 subscription                open source license)

     Can I use this with any                      YES                             NO                              YES
     amount of cores or                                                *The cost of a commercial
     instances without incurring                                        support subscription is
     additional costs?
                                                                        based on the cores and
                                                                          instances you use.



     Can I create custom                          YES                             YES                             YES
     derivative versions of Neo4j
     Enterprise? (Ex: My custom
     Neo4j Enterprise Edition)

     Does Neo4j Inc. provide                     No*                              YES                             NO
     o cial email and phone          Development packages do
     production support?                 not need production
                                       support, they swap out
                                       production support for
                                     consulting services you use
                                        to build your solution.

     Does NOT require you to                                                 YES for all
     open source your systems         You do NOT have to open source your system that uses Neo4j Enterprise as a server as
     that simply use Neo4j               it's intended to be used. You only need to open source custom Neo4j Enterprise
     Enterprise as a component          derivatives under the open source license and then only under certain distribution
     in your system.                                                        conditions.




                                                                   




   About iGov
   iGov Inc. is a software development company located in the Washington DC Metro area.
   We focus on building innovative solutions for US Government agencies using leading open-source technologies.




   CONTACT US


https://igovsol.com/neo4j.html                                                                                                    8/9
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                               (index.html)
    7686 Richmond Highway Suite 101-B Alexandria, VA 22306




   (index.html)


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https://igovsol.com/neo4j.html                                                                                9/9
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                                                 EXHIBIT 65
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                                                                                                             




       Proven past performance and value supporting Neo4j Enterprise open source
       licensed distributions.
       Our team has been providing Neo4j support to US Federal agencies for many years, and we now
       only offer commercial equivelent support packages for Neo4j Enterprise open source licensed
       distributions.



                                                                      Request Procurement Document Package




       Our team is the same team that created Neo4j Enterprise Government Edition. Further, we are the
       same team that sold and supported every US Federal Government procurement of Neo4j Enterprise
       Government Edition up until its retirement in July 2017.


       We only focus on only supporting 100% free and open source ONgDB Enterprise & Neo4j Enterprise
       open source licensed distributions. Not only does this cut down on unecessary commercial license
       costs, the open source licenses do not place any restrictions on the number of cluster instances or
       cores like the commercial licenses do.




                                         Open source graph packages
           Did you know that the Neo4j Enterprise commercial packages available from Neo4j Inc and their
                                                partners are essentially support offerings?


        Are you aware that, unlike the commercial licensed options, the Neo4j Enterprise open source AGPL
                   license does not place any restrictions on the number of cluster instances and cores?


        iGov Inc's open source enterprise packages provide a better value than Neo4j Enterprise commercial
            support subscriptions because 100% of the cost goes to support and development services, not


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                                  unecessary and more restrictive commercial licenses.


           If you do not need support for your ONgDB Enterprise or Neo4j Enterprise open source licensed

             distribution, then simply download ONgDB Enterprise as a drop in replacement for an existing
                                   commercial licensed distribution of the same version number.




       Know your options
       It is important to know your options before you make any procurement decisions around Neo4j. The information
       below provides you with a complete breakdown of the 3 main Neo4j offerings available including the free open
       source option. Most people are not aware that Neo4j Enterprise Edition is open source like its sibling, Neo4j
       Community edition. In fact, there is no reason you should be using the community edition. If you've chosen to use
       Neo4j open source, then you should use the enterprise edition under it's open source license.


       The information below should provide you with a clear understanding of your options, so you can choose what's
       best for your agency.


       View our blog post on Neo4j Commercial Prices




                                          NEO4J INC. COMMERCIAL SUBSCRIPTION
                                                           $29K - $1M+
            Commercial packages are those sold by Neo4j solutions partners. You are paying for production support. The
                                commercial license is actually more restrictive than the open source license!


                                                          Neo4j Enterprise Software

                                          Available through Neo4j Inc. and all Neo4j Solution Partners

               Yearly Subscription. You are paying for production support backed by Neo4j Inc.. If you don't renew your
                               subscription you simply fall back to the Neo4j Enterprise open source license.

                             Production Email and Phone Support from vendor which is backed by Neo4j Inc.

                                         Commercial License (Most government agencies do not need.)

                                         Cost is based on number of instances and cores. (See below)



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                                                  IGOV DEVELOPMENT PACKAGES
                                                                    $25K+
             100% of the cost goes into services aimed at building a solution around Neo4j, not unnecessary production
                                                        support for something not yet built!.



                                                    ONgDB Enterprise open source distributions


                                 No annual subscription, you are free to do whatever you want in the future.


                             Production Email and Phone Support from iGov Inc, but not backed by Neo4j Inc.


             ONgDB Enterprise is free and open source. You have all the feature parity of Neo4j Enterprise commercial
                                         licenses, but without limits on usage, cluster instances, cores, etc.


                         No limitations on usage, instances or cores - cost goes 100% to solutions development


                                                        FISMA and 508 Toolkit and Services


                     Suite of Tools, Frameworks, and Starter Projects we use for scalable big data graph projects.




                                            IGOV ENTERPRISE SUPPORT PACKAGES
                                                                     $1K+
         We offer the same support features and SLAs as the Neo4j Enterprise commercial subscriptions offered by Neo4j
           Inc partners, but for the open source licensed enterprise distributions. This allows us to only charge for support,
                                            not an unecessary and more restrictive commercial license.



                                                    ONgDB Enterprise open source distributions


                                                    No limitations on cluster instances or cores.


              ONgDB Enterprise is a drop In replacement for Neo4j Enterprise commercial packages downloaded from
                                                                     Neo4j.com


                                                        FISMA and 508 Toolkit and Services




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          Open source Suite of Tools, Frameworks, and Starter Projects we use for scalable big data Neo4j projects. (See
                                                             https://graphstack.io)




                                                             OPEN SOURCE
                                                                  FREE
          Simply download the appropriate enterprise release version you need and start using it. There are no limitations
                                                        on cluster instances, cores, etc.


          The distributions we package for the federal government and community as a whole are drop in replacements for
                                   Neo4j Enterprise commercial packages you download from neo4j.com.




                                               Learn More about Neo4j Enterprise Open Source




                    DEVELOPMENT PACKAGE OVERVIEW                 PRICE COMPARISON           PROCUREMENT COMPARISON


                                                                WHY IGOV INC ?




       Development Package Overview

           The Government Development Packages are aimed at agencies who need help building a robust and scalable
           solution around Neo4j. Unlike the commercial production support subscriptions, 100% of the cost goes into
           consulting services that help you build out your solution.


           All iGov Inc packages also include a suite of tools and services which are combined to address critical FISMA
           and accessibility requirements relating to Neo4j.




                  Customer Support
                   iGov Inc provides umbrella support across all the components of your Neo4j solution, including Neo4j
                   itself. For example, a solution using Neo4j Enterprise, Apache Kafka, Elastic Search, and custom micro-


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                   service architecture components are all covered under the umbrella support provided with these
                   packages. The Neo4j commercial support subscriptions only cover Neo4j Enterprise.



                  UI/UX Development
                   The development packages include UI and UX design services to assist developing everything from your
                   dashboards and visualization. We ensure all development meets 508(c) requirements. We cover all
                   modern web design frameworks including ReactJS and AngularJS. Furthermore, we provide a toolbox of
                   open source visualization libraries and webapp starter projects to get your project up and running quickly.
                   You can also add on UI packages such as Linkurious OGMA and Graphlytic Visualization tools and APIs.



                  Starter Projects and Toolsets
                   We provide a suite of starter projects (maven and gradle), templates, and tools to get your Neo4j projects
                   off the ground quickly. Our Starters include Docker images, Microservice architecture components (api
                   gateways, service registries, etc), UI and visualization components and more.



                  Enterprise Architecture Development
                   Neo4j is usually just one of many components in a common graph solution. Other components include
                   ElasticSearch, Apache Kafka, and other technologies.


                   Our team brings a wide range of enterprise architecture development expertise to the table. From
                   monolithic to micro-service architectures, our team will help design a solution that best fit's your agency's
                   needs.


                  GraphGrid Data Platform
                   GraphGrid Data Platform (GDP) is an enterprise-grade graph data management platform that enables a
                   centralized architecture for running batch, interactive and real-time analytics and data processing
                   applications simultaneously across your connected graph data. Development packages include the tools,
                   and platform components needed to get a robust and scalable ETL pipeline in place.



                  Newest Libraries and Repositories
                   The Government Packages for Neo4j include many of the leading technologies which are all covered
                   under the umbrella package support. In many cases, this allows for agencies to start working with new
                   technologies that would have usage restrictions if not part of a vendor supported package such as this. All
                   libraries and repositories are kept on Amazon GovCloud and can be easily accessed once an agency
                   whitelists the servers. Development packages include access to the newest libraries and repositories for
                   the tools we package and support.



                  GovCloud Development and Continuous Integration Environment
                   We understand that many agencies have not adopted the newest technologies and best practices which
                   can make modern web application development almost impossible. Our development packages include
                   use of GovCloud resources including EC2, S3,Container Services, and more.


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       Pricing Comparison

           Below is a price comparison for a Neo4j Inc. commercial subscription package covering 3 production instances
           with 8 cores each. (3x8). The Neo4j Inc. commercial package is not a perpetual license, and the commercial
           EULA limits your use of Neo4j open source licenses in many ways once accepted. Notice that it also has
           unnecessary production elements which you are paying for as part of the subscription. Neo4j Inc's pricing can
           be found via a simple GSA Advantage search.



       Neo4j Inc. Commercial Subscription (Annual Subscription)

           Neo4j Enterprise Bundle – Standard cluster for enterprise applications that are used by more than one
           department (or by a larger department), or by customer-facing applications.

           Neo4j Enterprise Bundle basic configuration includes:

                  a. 3 Production Instances (up to 8 Cores per Instance).
                  b. 3 Test Instances (no Core limit).
                  c. Premium Support: 24 x 7 / 1-hour response time for Severity 1 issues, email and phone.
                  d. Unlimited number of licensed developers.




         Name & Description                                                                Annual Subscription Price

         Neo4j Enterprise Bundle Base (3 Instances X 8 Cores Each)                         $189,188 / yr

         Additional Production Capacity (per Core)                                         + $6,609 / yr

         Disaster Recovery (per Core)                                                      + $3,305 / yr

         Additional Test Instances (per Instance)                                          + $4,957 / yr

         Additional Instance (up to 8 Cores)                                               + $52,874 / yr

         8‐Core pack                                                                       + $52,874 / yr




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         12‐Core pack                                                                           + $79,310 / yr

         16‐Core pack                                                                           + $105,747 / yr

         24‐Core pack                                                                           + $158,621 / yr

         32‐Core pack                                                                           + $211,494 / yr


       iGov Inc's Government Development Package with Neo4j Enterprise

           Comes with same physical Neo4j Enterprise software. Under open source license there are no limitations on
           how you use it. You have no limits on environments, number of instances, cores, etc!

           Government Bundle for Neo4j Enterprise basic configuration includes:

                  a. Unlimited instances with no core limits for any environment! (dev, test, staging, production, etc)
                  c. Premium support and development services by iGov Inc. Unlike the Neo4j commercial package, we support
                  your entire architecture not just Neo4j. (Neo4j, ElasticSearch, UI, Micro Services, etc..)
                  d. No limitations on number of developers, etc.




           $25,000+

       100% goes into development.
       The minimum development package costs $25,000. For comparison - you can choose the $189,000 Development
       package option - where $189,000 goes into consulting services at GSA approved rates.


       Of course - you can choose how much you want to spend. We simply offer packages that parallel commercial
       subscription rates to help make procurement easier.




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                       Neo4j Inc. Commercial Support vs iGov Inc.
                          Development Package Comparison

             So what exactly do you get with a Neo4j Inc. commercial subscription? You get the peace of mind knowing



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           Neo4j Inc. is there to assist with production support tickets if the vendor you purchased it from can not solve an
           issue on their own. This is not very useful when you are in development, using Neo4j for R & D, or do not have
                                                        a mission critical Neo4j deployment.



                                                   Government                 Neo4j Enterprise           Neo4j Enterprise
                                              Development Package            commercial support        (default open source
                                               w/ Neo4j Enterprise              subscription                 license)

         Has full Neo4j Enterprise                       YES                          YES                       YES
         functionality.

         Can purchase through                            NO                           YES                        NO
         Neo4j Inc. or its resellers             The Government                                          Neo4j partners are
                                              Packages for Neo4j are                                    forbidden on offering
                                               only available through                                  services or support for
                                                     iGov Inc.                                           Neo4j open source
                                                                                                              licenses.

         Can use in any                                  YES                          YES                       YES
         environment for any                                                 *Your subscription has
         purpose?                                                          limits on number of cores
                                                                                 and instances



         Comes with consulting                         YES                            NO                        NO
         services which can be              This is what seperates out
         used to build your solution              the Government
         around Neo4j. (Including            Development Package
         UI/UX design, ETL                     from the commercial
         implementation,                      support subscription.
         enterprise architecture,            Support is swapped out
         and FISMA and 508c                  with consulting services
         services)                          you can use to build your
                                             solution around Neo4j.

         Comes with tools,                               YES                          NO                        NO
         services and support to
         address Accessability
         (508c) and FISMA
         requirements.

         Can I use this with any                         YES                          NO                        YES
         amount of cores or                                                *The cost of a commercial
         instances without                                                   support subscription is
         incurring additional costs?
                                                                            based on the cores and
                                                                               instances you use.



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         Can I create custom                            YES                        YES                          YES
         derivative versions of
         Neo4j Enterprise? (Ex: My
         custom Neo4j Enterprise
         Edition)

         Does Neo4j Inc. provide                        No*                        YES                          NO
         official email and phone             Development packages
         production support?                  do not need production
                                              support, they swap out
                                               production support for
                                              consulting services you
                                             use to build your solution.

         Does NOT require you to                                                    YES for all
         open source your systems              You do NOT have to open source your system that uses Neo4j Enterprise as a
         that simply use Neo4j                 server as it's intended to be used. You only need to open source custom Neo4j
         Enterprise as a                      Enterprise derivatives under the open source license and then only under certain
         component in your                                                   distribution conditions.
         system.




                                                                           




       About iGov
       iGov Inc. is a software development company located in the Washington DC Metro area.
       We focus on building innovative solutions for US Government agencies using leading open-source technologies.




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        [email protected]




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                                                 EXHIBIT 66
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                                                                                                                 




       Proven past performance and value supporting Neo4j Enterprise open source
       licensed distributions.
       Our team has been providing Neo4j support to US Federal agencies for many years, and we now
       only offer commercial equivelent support packages for Neo4j Enterprise open source licensed
       distributions.



                                                                              Request Procurement Document Package




       Our team is the same team that created Neo4j Enterprise Government Edition. Further, we are the
       same team that sold and supported every US Federal Government procurement of Neo4j Enterprise
       Government Edition up until its retirement in July 2017.


       We only focus on only supporting 100% free and open source ONgDB Enterprise & Neo4j Enterprise
       open source licensed distributions. Not only does this cut down on unecessary commercial license
       costs, the open source licenses do not place any restrictions on the number of cluster instances or
       cores like the commercial licenses do.




                                         Open source graph packages
           Did you know that the Neo4j Enterprise commercial packages available from Neo4j Inc and their
                                                partners are essentially support offerings?


        Are you aware that, unlike the commercial licensed options, the Neo4j Enterprise open source AGPL
                   license does not place any restrictions on the number of cluster instances and cores?


        iGov Inc's open source enterprise packages provide a better value than Neo4j Enterprise commercial
            support subscriptions because 100% of the cost goes to support and development services, not


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                                  unecessary and more restrictive commercial licenses.


           If you do not need support for your ONgDB Enterprise or Neo4j Enterprise open source licensed

             distribution, then simply download ONgDB Enterprise as a drop in replacement for an existing
                                   commercial licensed distribution of the same version number.




       Know your options
       It is important to know your options before you make any procurement decisions around Neo4j. The information
       below provides you with a complete breakdown of the 3 main Neo4j offerings available including the free open
       source option. Most people are not aware that Neo4j Enterprise Edition is open source like its sibling, Neo4j
       Community edition. In fact, there is no reason you should be using the community edition. If you've chosen to use
       Neo4j open source, then you should use the enterprise edition under it's open source license.


       The information below should provide you with a clear understanding of your options, so you can choose what's
       best for your agency.


       View our blog post on Neo4j Commercial Prices




                                          NEO4J INC. COMMERCIAL SUBSCRIPTION
                                                              $29K - $1M+
           Commercial packages are those sold by Neo4j solutions partners. You are paying for production support. The
                                commercial license is actually more restrictive than the open source license!


                                                             Neo4j Enterprise Software

                                          Available through Neo4j Inc. and all Neo4j Solution Partners

               Yearly Subscription. You are paying for production support backed by Neo4j Inc.. If you don't renew your
                               subscription you simply fall back to the Neo4j Enterprise open source license.

                             Production Email and Phone Support from vendor which is backed by Neo4j Inc.

                                         Commercial License (Most government agencies do not need.)

                                         Cost is based on number of instances and cores. (See below)



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                                                  IGOV DEVELOPMENT PACKAGES
                                                                     $25K+
             100% of the cost goes into services aimed at building a solution around Neo4j, not unnecessary production
                                                        support for something not yet built!.



                                                    ONgDB Enterprise open source distributions


                                No annual subscription, you are free to do whatever you want in the future.


                            Production Email and Phone Support from iGov Inc, but not backed by Neo4j Inc.


             ONgDB Enterprise is free and open source. You have all the feature parity of Neo4j Enterprise commercial
                                         licenses, but without limits on usage, cluster instances, cores, etc.


                         No limitations on usage, instances or cores - cost goes 100% to solutions development


                                                        FISMA and 508 Toolkit and Services


                     Suite of Tools, Frameworks, and Starter Projects we use for scalable big data graph projects.




                                            IGOV ENTERPRISE SUPPORT PACKAGES
                                                                       $1K+
         We offer the same support features and SLAs as the Neo4j Enterprise commercial subscriptions offered by Neo4j
          Inc partners, but for the open source licensed enterprise distributions. This allows us to only charge for support,
                                            not an unecessary and more restrictive commercial license.



                                                    ONgDB Enterprise open source distributions


                                                    No limitations on cluster instances or cores.


              ONgDB Enterprise is a drop In replacement for Neo4j Enterprise commercial packages downloaded from
                                                                       Neo4j.com


                                                        FISMA and 508 Toolkit and Services




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          Open source Suite of Tools, Frameworks, and Starter Projects we use for scalable big data Neo4j projects. (See
                                                                 https://graphstack.io)




                                                                OPEN SOURCE
                                                                      FREE
          Simply download the appropriate enterprise release version you need and start using it. There are no limitations
                                                          on cluster instances, cores, etc.


          The distributions we package for the federal government and community as a whole are drop in replacements for
                                   Neo4j Enterprise commercial packages you download from neo4j.com.




                                               Learn More about Neo4j Enterprise Open Source




                    DEVELOPMENT PACKAGE OVERVIEW                     PRICE COMPARISON              PROCUREMENT COMPARISON


                                                                    WHY IGOV INC ?




       Development Package Overview

          The Government Development Packages are aimed at agencies who need help building a robust and scalable
          solution around Neo4j. Unlike the commercial production support subscriptions, 100% of the cost goes into
          consulting services that help you build out your solution.


          All iGov Inc packages also include a suite of tools and services which are combined to address critical FISMA
          and accessibility requirements relating to Neo4j.




                  Customer Support
                   iGov Inc provides umbrella support across all the components of your Neo4j solution, including Neo4j
                   itself. For example, a solution using Neo4j Enterprise, Apache Kafka, Elastic Search, and custom micro-


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                   service architecture components are all covered under the umbrella support provided with these
                   packages. The Neo4j commercial support subscriptions only cover Neo4j Enterprise.



                  UI/UX Development
                   The development packages include UI and UX design services to assist developing everything from your
                   dashboards and visualization. We ensure all development meets 508(c) requirements. We cover all
                   modern web design frameworks including ReactJS and AngularJS. Furthermore, we provide a toolbox of
                   open source visualization libraries and webapp starter projects to get your project up and running quickly.
                   You can also add on UI packages such as Linkurious OGMA and Graphlytic Visualization tools and APIs.



                  Starter Projects and Toolsets
                   We provide a suite of starter projects (maven and gradle), templates, and tools to get your Neo4j projects
                   off the ground quickly. Our Starters include Docker images, Microservice architecture components (api
                   gateways, service registries, etc), UI and visualization components and more.



                  Enterprise Architecture Development
                   Neo4j is usually just one of many components in a common graph solution. Other components include
                   ElasticSearch, Apache Kafka, and other technologies.


                   Our team brings a wide range of enterprise architecture development expertise to the table. From
                   monolithic to micro-service architectures, our team will help design a solution that best fit's your agency's
                   needs.


                  GraphGrid Data Platform
                   GraphGrid Data Platform (GDP) is an enterprise-grade graph data management platform that enables a
                   centralized architecture for running batch, interactive and real-time analytics and data processing
                   applications simultaneously across your connected graph data. Development packages include the tools,
                   and platform components needed to get a robust and scalable ETL pipeline in place.



                  Newest Libraries and Repositories
                   The Government Packages for Neo4j include many of the leading technologies which are all covered
                   under the umbrella package support. In many cases, this allows for agencies to start working with new
                   technologies that would have usage restrictions if not part of a vendor supported package such as this. All
                   libraries and repositories are kept on Amazon GovCloud and can be easily accessed once an agency
                   whitelists the servers. Development packages include access to the newest libraries and repositories for
                   the tools we package and support.



                  GovCloud Development and Continuous Integration Environment
                   We understand that many agencies have not adopted the newest technologies and best practices which
                   can make modern web application development almost impossible. Our development packages include
                   use of GovCloud resources including EC2, S3,Container Services, and more.


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       Pricing Comparison

          Below is a price comparison for a Neo4j Inc. commercial subscription package covering 3 production instances
          with 8 cores each. (3x8). The Neo4j Inc. commercial package is not a perpetual license, and the commercial
          EULA limits your use of Neo4j open source licenses in many ways once accepted. Notice that it also has
          unnecessary production elements which you are paying for as part of the subscription. Neo4j Inc's pricing can
          be found via a simple GSA Advantage search.



       Neo4j Inc. Commercial Subscription (Annual Subscription)

          Neo4j Enterprise Bundle – Standard cluster for enterprise applications that are used by more than one
          department (or by a larger department), or by customer-facing applications.

          Neo4j Enterprise Bundle basic configuration includes:

                  a. 3 Production Instances (up to 8 Cores per Instance).
                  b. 3 Test Instances (no Core limit).
                  c. Premium Support: 24 x 7 / 1-hour response time for Severity 1 issues, email and phone.
                  d. Unlimited number of licensed developers.




         Name & Description                                                                        Annual Subscription Price

         Neo4j Enterprise Bundle Base (3 Instances X 8 Cores Each)                                 $189,188 / yr

         Additional Production Capacity (per Core)                                                 + $6,609 / yr

         Disaster Recovery (per Core)                                                              + $3,305 / yr

         Additional Test Instances (per Instance)                                                  + $4,957 / yr

         Additional Instance (up to 8 Cores)                                                       + $52,874 / yr

         8‐Core pack                                                                               + $52,874 / yr




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         12‐Core pack                                                                              + $79,310 / yr

         16‐Core pack                                                                              + $105,747 / yr

         24‐Core pack                                                                              + $158,621 / yr

         32‐Core pack                                                                              + $211,494 / yr


       iGov Inc's Government Development Package with Neo4j Enterprise

          Comes with same physical Neo4j Enterprise software. Under open source license there are no limitations on
          how you use it. You have no limits on environments, number of instances, cores, etc!

          Government Bundle for Neo4j Enterprise basic configuration includes:

                  a. Unlimited instances with no core limits for any environment! (dev, test, staging, production, etc)
                  c. Premium support and development services by iGov Inc. Unlike the Neo4j commercial package, we support
                  your entire architecture not just Neo4j. (Neo4j, ElasticSearch, UI, Micro Services, etc..)
                  d. No limitations on number of developers, etc.




          $25,000+

       100% goes into development.
       The minimum development package costs $25,000. For comparison - you can choose the $189,000 Development
       package option - where $189,000 goes into consulting services at GSA approved rates.


       Of course - you can choose how much you want to spend. We simply offer packages that parallel commercial
       subscription rates to help make procurement easier.




                                                                            


                       Neo4j Inc. Commercial Support vs iGov Inc.
                          Development Package Comparison

             So what exactly do you get with a Neo4j Inc. commercial subscription? You get the peace of mind knowing



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           Neo4j Inc. is there to assist with production support tickets if the vendor you purchased it from can not solve an
           issue on their own. This is not very useful when you are in development, using Neo4j for R & D, or do not have
                                                        a mission critical Neo4j deployment.



                                                  Government                       Neo4j Enterprise          Neo4j Enterprise
                                             Development Package                  commercial support       (default open source
                                              w/ Neo4j Enterprise                    subscription                license)

         Has full Neo4j Enterprise                       YES                                YES                     YES
         functionality.

         Can purchase through                            NO                                 YES                      NO
         Neo4j Inc. or its resellers             The Government                                              Neo4j partners are
                                              Packages for Neo4j are                                        forbidden on offering
                                               only available through                                      services or support for
                                                     iGov Inc.                                               Neo4j open source
                                                                                                                  licenses.

         Can use in any                                  YES                                YES                     YES
         environment for any                                                     *Your subscription has
         purpose?                                                              limits on number of cores
                                                                                      and instances



         Comes with consulting                         YES                                   NO                     NO
         services which can be              This is what seperates out
         used to build your solution              the Government
         around Neo4j. (Including            Development Package
         UI/UX design, ETL                     from the commercial
         implementation,                      support subscription.
         enterprise architecture,            Support is swapped out
         and FISMA and 508c                  with consulting services
         services)                          you can use to build your
                                             solution around Neo4j.

         Comes with tools,                               YES                                 NO                     NO
         services and support to
         address Accessability
         (508c) and FISMA
         requirements.

         Can I use this with any                         YES                                 NO                     YES
         amount of cores or                                                    *The cost of a commercial
         instances without                                                       support subscription is
         incurring additional costs?
                                                                                based on the cores and
                                                                                   instances you use.



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         Can I create custom                             YES                                YES                 YES
         derivative versions of
         Neo4j Enterprise? (Ex: My
         custom Neo4j Enterprise
         Edition)

         Does Neo4j Inc. provide                       No*                                  YES                 NO
         official email and phone            Development packages
         production support?                 do not need production
                                             support, they swap out
                                              production support for
                                             consulting services you
                                            use to build your solution.

         Does NOT require you to                                                    YES for all
         open source your systems              You do NOT have to open source your system that uses Neo4j Enterprise as a
         that simply use Neo4j                 server as it's intended to be used. You only need to open source custom Neo4j
         Enterprise as a                      Enterprise derivatives under the open source license and then only under certain
         component in your                                                   distribution conditions.
         system.




                                                                            




       About iGov
       iGov Inc. is a software development company located in the Washington DC Metro area.
       We focus on building innovative solutions for US Government agencies using leading open-source technologies.




       CONTACT US

       (703) 672-1205
        [email protected]




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                                                   DOWNLOADS (DOWNLOADS.HTML)           BLOG (HTTPS://WEB.ARCHIVE.ORG/WEB/20190705044617/HTTPS://BLOG.IGOVSOL.COM/)
                             (index.html)




                               If you've been misled by Neo4j Inc sales people regarding your rights to use Neo4j Enterprise AGPL distributions with no limitations, please
                               contact us. You can also view a few FAQs we have put together for our US Federal clients :

                                 Neo4j open source FAQs (downloads.html#neo4j-os-faqs)




                             Downloads
                             Below are Open Native Graph Database (ONgDB) Enterprise distributions.


                             You can access the source code via the Graphfoundation GitHub Site
                             (https://web.archive.org/web/20190705044617/https://github.com/graphfoundation).


                             If you want an older Neo4j Enterprise open source distribution not found on the site, please email info@graphstack.io
                             (mailto:info@graphstack.io) and tell us what version you would like. We are happy to package it for you then make it available on this site for
                             everyone to bene t from.



                              ONGDB ENTERPRISE 3.5.5

                              Drop in replacement for Neo4j Core and Enterprise 3.5.5. AGPLv3 Open Source License, no limitations on causal cluster instances, cores,
                              or production usage.
                              May 2019 Neo4j's Release Notes (https://web.archive.org/web/20190705044617/https://neo4j.com/release-notes/neo4j-3-5-5/) | Neo4j's
                              Whats New Page (https://web.archive.org/web/20190705044617/https://neo4j.com/whats-new-in-neo4j/)



                              Mac/Linux     ongdb-enterprise-3.5.5-unix.tar.gz
                                            (https://web.archive.org/web/20190705044617/https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.5.5-unix.tar.gz)

                              Windows       ongdb-enterprise-3.5.5-windows.zip
                              64 bit        (https://web.archive.org/web/20190705044617/https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.5.5-
                                            windows.zip)




https://web.archive.org/web/20190705044617/https://igovsol.com/downloads.html
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                              Windows       ongdb-enterprise-3.5.5-windows.zip
                              32 bit        (https://web.archive.org/web/20190705044617/https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.5.5-
                                                    HOME (INDEX.HTML)    GRAPH PACKAGES (NEO4J.HTML)     ABOUT US (ABOUT.HTML)     SUPPORT (SUPPORT.HTML)
                                            windows.zip)

                                                   DOWNLOADS (DOWNLOADS.HTML)          BLOG (HTTPS://WEB.ARCHIVE.ORG/WEB/20190705044617/HTTPS://BLOG.IGOVSOL.COM/)
                               Docker       ONgDB 3.5.5 Enterprise Docker Hub
                             (index.html)
                               Image        (https://web.archive.org/web/20190705044617/https://hub.docker.com/r/graphfoundation/ongdb/)


                                                      docker run \
                                                             --publish=7474:7474 --publish=7687:7687 \
                                                             --volume=$HOME/neo4j/data:/data \
                                                             graphfoundation/ongdb:3.5

                                                      Go to:   http://localhost:7474




                              ONGDB ENTERPRISE 3.4.12

                              AGPLv3 Open Source License, no limitations on causal cluster instances, cores, or production usage.
                              October 14th, 2018 Neo4j's Release Notes (https://web.archive.org/web/20190705044617/https://neo4j.com/release-notes/neo4j-3-4-12/) |
                              Neo4j's Whats New Page (https://web.archive.org/web/20190705044617/https://neo4j.com/whats-new-in-neo4j/)



                              Mac/Linux     ongdb-enterprise-3.4.12-unix.tar.gz
                                            (https://web.archive.org/web/20190705044617/https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.4.12-
                                            unix.tar.gz)

                              Windows       ongdb-enterprise-3.4.12-windows.zip
                              64 bit        (https://web.archive.org/web/20190705044617/https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.4.12-
                                            windows.zip)

                              Windows       ongdb-enterprise-3.4.12-windows.zip
                              32 bit        (https://web.archive.org/web/20190705044617/https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.4.12-
                                            windows.zip)

                              Docker        ONgDB 3.4.12 Enterprise Docker Hub
                              Image         (https://web.archive.org/web/20190705044617/https://hub.docker.com/r/graphfoundation/ongdb/)


                                                      docker run \
                                                             --publish=7474:7474 --publish=7687:7687 \
                                                             --volume=$HOME/neo4j/data:/data \
                                                             graphfoundation/ongdb:3.4

                                                      Go to:   http://localhost:7474




https://web.archive.org/web/20190705044617/https://igovsol.com/downloads.html
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                             Neo4j Enterprise Open Source Frequently Asked Questions
                             (index.html)
                                                    DOWNLOADS (DOWNLOADS.HTML)         BLOG (HTTPS://WEB.ARCHIVE.ORG/WEB/20190705044617/HTTPS://BLOG.IGOVSOL.COM/)




                             We've gathered together questions we receive from agencies and integrators regarding Neo4j
                             Enterprise Open Source licenses. If you have a question for us, please email us at
                             neo4j@igovsol.com (mailto:neo4j@igovsol.com).




                               Is Neo4j Enterprise Really Open Source?

                                 YES, Neo4j Enterprise is open source under the AGPLv3 open source license created by the Free software foundation. View License
                                 (https://web.archive.org/web/20190705044617/https://www.gnu.org/licenses/agpl-3.0.en.html). This is the same license used by Mondgo
                                 DB and many other open source projects. As long as you follow the open source license terms you are free to use it in any environment, for
                                 any purpose you wish. These terms simply ensure custom derivatives of Neo4j Enterprise are also themselves open source. US government
                                 agencies are restricted from making closed source software in most situations and do not try to create their own derivative (version) of
                                 Neo4j. Instead they use Neo4j as a server in a much larger enterprise architecture stack. AGPLv3 is a no-brainer for US government use
                                 cases! It's that simple!


                               What is the open source license does Neo4j Enterprise use?

                                 Neo4j Enterprise can be used for free under the Free Software Foundation's GNU AFFERO GENERAL PUBLIC LICENSE Version 3
                                 (https://web.archive.org/web/20190705044617/https://www.gnu.org/licenses/agpl-3.0.en.html).


                                 It is the same license used by many open source tools such as MongoDb. There are no hidden or limiting terms beyond the standard AGPL
                                 v3.0 license (AGPLv3). With Neo4j Enterprise under its free open source AGPLv3 license, You simply don't get production email and phone
                                 support from Neo4j Inc. You can get a much cheaper support contract through iGov Inc for a fraction of the cost to support your production
                                 deployment, and our team is the only one with Neo4j federal past performance at this point in time.


                               Where can I download the open source Neo4j Enterprise binaries?

                                 Neo4j removed the open source binaries they compiled from their distribution sites so you can no longer get open source packages from
                                 Neo4j Inc. Luckily iGov Inc compiles the binaries from the o cial Neo4j source code repositories
                                 (https://web.archive.org/web/20190705044617/https://github.com/neo4j).




https://web.archive.org/web/20190705044617/https://igovsol.com/downloads.html
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                               Where can I get the sourcecode for Neo4j Enterprise?
                                                  HOME (INDEX.HTML)       GRAPH PACKAGES (NEO4J.HTML)         ABOUT US (ABOUT.HTML)       SUPPORT (SUPPORT.HTML)
                                 You can get all the Neo4j Enterprise source code at the o cial Neo4j GitHub Repositories
                                                   DOWNLOADS (DOWNLOADS.HTML)           BLOG (HTTPS://WEB.ARCHIVE.ORG/WEB/20190705044617/HTTPS://BLOG.IGOVSOL.COM/)
                             (index.html)
                               What are the restrictions of AGPLv3 and do I need to worry about them?

                                 There simply are none that we've ever run into.


                                 The AGPL license ensures that if you make a derivative of Neo4j that you must ensure that you release the code of the derivative back to
                                 the community. That's it! It does not require you to release the tools, other applications, that connect and use Neo4j.
                                 If you are capable of creating your own derivative of Neo4j, then you may want to Neo4j Inc - they may be hiring!


                               Can I use Neo4j Enterprise open source licenses in production?

                                 Yes, of course you can. It's 100% free and open source. The standard AGPLv3 open source license simply ensures that Neo4j remains open
                                 source and that any custom derivatives of Neo4j should be shared with the community.
                                 If you are ever told by a Neo4j sales person that you can not use Neo4j Enterprise open source license in production, simple email or call us
                                 along with the person's name and we will make sure Neo's corporate knows about the mistake.



                               Does Neo4j open source license have any other restrictions above the AGPLv3 open source license?

                                 No, Neo4j Enterprise is released only under the standard AGPLv3 open source license that is managed by the free software foundation.
                                 View the AGPLv3 License (https://web.archive.org/web/20190705044617/https://www.gnu.org/licenses/agpl-3.0.en.html) No one is allowed


                               What is the di erence between Neo4j Enterprise AGPLv3 and Neo4j Enterprise Trial?

                                 Read the Neo4j Enterprise Trial license agreement they ask you to agree to before downloading and you will see the di erence. It tries to
                                 bind you to restrictive commercial terms. There is no reason you would want to agree to restrictive terms for the Trial download , when you
                                 can use Neo4j Enterprise for any environment including Production under the simple AGPLv3 open source license. Instead of downloading
                                 a trial - download Neo4j Enterprise from our the Neo4j Inc. distribution site, or from our Amazon Gov Cloud mirror. Download Neo4j




                                            Neo4j Enterprise Commercial & Open Source Comparisons

                                 There are no physical di erences between Neo4j Enterprise commercial and AGPL open source licenses! Neo4j Enterprise open source
                                                         licenses have no other limitations beyond the standard GNU AGPL open source license.

https://web.archive.org/web/20190705044617/https://igovsol.com/downloads.html
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                                   The Neo4j Enterprise commercial end user license agreement (EULA) actually adds restrictions preventing you from using Neo4j open
                                                                             source licenses in many circumstances!! Make sure to read it!
                                                       HOME (INDEX.HTML)         GRAPH PACKAGES (NEO4J.HTML)        ABOUT US (ABOUT.HTML)       SUPPORT (SUPPORT.HTML)


                                                        DOWNLOADS (DOWNLOADS.HTML)           BLOG (HTTPS://WEB.ARCHIVE.ORG/WEB/20190705044617/HTTPS://BLOG.IGOVSOL.COM/)
                                                                                                              Neo4j Enterprise open source         Neo4j Enterprise commercial
                             (index.html)
                               License                                                                                   license                             license

                              Can use in any environment for any purpose?                                                     YES                                YES

                              Can I use this with any amount of cores without incurring additional                            YES                                NO
                              costs?

                              Can I create custom derivative versions of Neo4j Enterprise? (Ex: My                            YES                                YES
                              custom Neo4j Enterprise Edition)

                              Does NOT require you to open source your systems that simply use                                             YES for both
                              Neo4j Enterprise as a component in your system.                                   You do NOT have to open source your system that uses Neo4j
                                                                                                              Enterprise as a server as it is intended to be used. You only need to
                                                                                                               open source custom Neo4j Enterprise derivatives under the open
                                                                                                              source license and then only under certain distribution conditions.




                             About iGov                                                                                                             CONTACT US

                                                                                                                                                    (703) 672-1205
                             iGov Inc. is a software development company located in the Washington DC Metro area.
                             We focus on building innovative solutions for US Government agencies using leading open-source                           info@igovsol.com

                             technologies.                                                                                                          (mailto:info@igovsol.com)

                                                                                                                                                      7686 Richmond Highway Suite
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                                     (index.html)




       If you've been misled by Neo4j Inc sales people regarding your rights to use Neo4j Enterprise AGPL
       distributions with no limitations, please contact us. You can also view a few FAQs we have put together

       for our US Federal clients :       Neo4j open source FAQs (downloads.html#neo4j-os-faqs)




   Downloads
   Below are Open Native Graph Database (ONgDB) Enterprise distributions.


   You can access the source code via the Graphfoundation GitHub Site (https://github.com/graphfoundation).


   If you want an older Neo4j Enterprise open source distribution not found on the site, please email
   info@graphstack.io (mailto:info@graphstack.io) and tell us what version you would like. We are happy to
   package it for you then make it available on this site for everyone to bene t from.



     ONGDB ENTERPRISE 3.5.5

     Drop in replacement for Neo4j Core and Enterprise 3.5.5. AGPLv3 Open Source License, no
     limitations on causal cluster instances, cores, or production usage.
     May 2019 Neo4j's Release Notes (https://neo4j.com/release-notes/neo4j-3-5-5/) | Neo4j's Whats
     New Page (https://neo4j.com/whats-new-in-neo4j/)



     Mac/Linux          ongdb-enterprise-3.5.5-unix.tar.gz (https://cdn.graphfoundation.org/ongdb/dist/ongdb-
                        enterprise-3.5.5-unix.tar.gz)

     Windows            ongdb-enterprise-3.5.5-windows.zip (https://cdn.graphfoundation.org/ongdb/dist/ongdb-
     64 bit             enterprise-3.5.5-windows.zip)

     Windows            ongdb-enterprise-3.5.5-windows.zip (https://cdn.graphfoundation.org/ongdb/dist/ongdb-
     32 bit             enterprise-3.5.5-windows.zip)




https://igovsol.com/downloads.html                                                                                   1/6
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     Docker             ONgDB 3.5.5 Enterprise Docker Hub (https://hub.docker.com/r/graphfoundation/ongdb/)
     Image                                                                                                      
                                     (index.html)
                                     docker run \
                                            --publish=7474:7474 --publish=7687:7687 \
                                            --volume=$HOME/neo4j/data:/data \
                                            graphfoundation/ongdb:3.5

                                     Go to:   http://localhost:7474




     ONGDB ENTERPRISE 3.4.12

     AGPLv3 Open Source License, no limitations on causal cluster instances, cores, or production
     usage.
     October 14th, 2018 Neo4j's Release Notes (https://neo4j.com/release-notes/neo4j-3-4-12/) | Neo4j's
     Whats New Page (https://neo4j.com/whats-new-in-neo4j/)



     Mac/Linux         ongdb-enterprise-3.4.12-unix.tar.gz (https://cdn.graphfoundation.org/ongdb/dist/ongdb-
                       enterprise-3.4.12-unix.tar.gz)

     Windows           ongdb-enterprise-3.4.12-windows.zip (https://cdn.graphfoundation.org/ongdb/dist/ongdb-
     64 bit            enterprise-3.4.12-windows.zip)

     Windows           ongdb-enterprise-3.4.12-windows.zip (https://cdn.graphfoundation.org/ongdb/dist/ongdb-
     32 bit            enterprise-3.4.12-windows.zip)

     Docker            ONgDB 3.4.12 Enterprise Docker Hub (https://hub.docker.com/r/graphfoundation/ongdb/)
     Image
                                     docker run \
                                            --publish=7474:7474 --publish=7687:7687 \
                                            --volume=$HOME/neo4j/data:/data \
                                            graphfoundation/ongdb:3.4

                                     Go to:   http://localhost:7474




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   Neo4j Enterprise Open Source Frequently Asked                                                                  
               (index.html)
   Questions
   We've gathered together questions we receive from agencies and integrators regarding Neo4j
   Enterprise Open Source licenses. If you have a question for us, please email us at
   neo4j@igovsol.com (mailto:neo4j@igovsol.com).




      Is Neo4j Enterprise Really Open Source?

            YES, Neo4j Enterprise is open source under the AGPLv3 open source license created by the Free
            software foundation. View License (https://www.gnu.org/licenses/agpl-3.0.en.html). This is the same
            license used by Mondgo DB and many other open source projects. As long as you follow the open
            source license terms you are free to use it in any environment, for any purpose you wish. These terms
            simply ensure custom derivatives of Neo4j Enterprise are also themselves open source. US government
            agencies are restricted from making closed source software in most situations and do not try to create
            their own derivative (version) of Neo4j. Instead they use Neo4j as a server in a much larger enterprise
            architecture stack. AGPLv3 is a no-brainer for US government use cases! It's that simple!


      What is the open source license does Neo4j Enterprise use?

            Neo4j Enterprise can be used for free under the Free Software Foundation's GNU AFFERO GENERAL
            PUBLIC LICENSE Version 3 (https://www.gnu.org/licenses/agpl-3.0.en.html).


            It is the same license used by many open source tools such as MongoDb. There are no hidden or
            limiting terms beyond the standard AGPL v3.0 license (AGPLv3). With Neo4j Enterprise under its free
            open source AGPLv3 license, You simply don't get production email and phone support from Neo4j Inc.
            You can get a much cheaper support contract through iGov Inc for a fraction of the cost to support your


      Where can I download the open source Neo4j Enterprise binaries?

            Neo4j removed the open source binaries they compiled from their distribution sites so you can no
            longer get open source packages from Neo4j Inc. Luckily iGov Inc compiles the binaries from the o cial
            Neo4j source code repositories (https://github.com/neo4j).


            See our blog post to learn more (https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-where-are-




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      Where can I get the sourcecode for Neo4j Enterprise?
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                                  (index.html)
            You can get all the Neo4j Enterprise source code at the o cial Neo4j GitHub Repositories


      What are the restrictions of AGPLv3 and do I need to worry about them?

            There simply are none that we've ever run into.


            The AGPL license ensures that if you make a derivative of Neo4j that you must ensure that you release
            the code of the derivative back to the community. That's it! It does not require you to release the tools,
            other applications, that connect and use Neo4j.


      Can I use Neo4j Enterprise open source licenses in production?

            Yes, of course you can. It's 100% free and open source. The standard AGPLv3 open source license
            simply ensures that Neo4j remains open source and that any custom derivatives of Neo4j should be
            shared with the community.
            If you are ever told by a Neo4j sales person that you can not use Neo4j Enterprise open source license in


      Does Neo4j open source license have any other restrictions above the AGPLv3 open source
      license?

            No, Neo4j Enterprise is released only under the standard AGPLv3 open source license that is managed
            by the free software foundation. View the AGPLv3 License (https://www.gnu.org/licenses/agpl-


      What is the di erence between Neo4j Enterprise AGPLv3 and Neo4j Enterprise Trial?

            Read the Neo4j Enterprise Trial license agreement they ask you to agree to before downloading and you
            will see the di erence. It tries to bind you to restrictive commercial terms. There is no reason you would
            want to agree to restrictive terms for the Trial download , when you can use Neo4j Enterprise for any
            environment including Production under the simple AGPLv3 open source license. Instead of
            downloading a trial - download Neo4j Enterprise from our the Neo4j Inc. distribution site, or from our




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https://igovsol.com/downloads.html                                                                                       4/6
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                Neo4j Enterprise Commercial & Open Source                                                         
                       (index.html)
                                    Comparisons

              There are no physical di erences between Neo4j Enterprise commercial and AGPL open source
            licenses! Neo4j Enterprise open source licenses have no other limitations beyond the standard GNU
                                               AGPL open source license.
              The Neo4j Enterprise commercial end user license agreement (EULA) actually adds restrictions
         preventing you from using Neo4j open source licenses in many circumstances!! Make sure to read it!



                                                               Neo4j Enterprise open           Neo4j Enterprise
     License                                                      source license              commercial license

     Can use in any environment for any purpose?                          YES                          YES

     Can I use this with any amount of cores without                      YES                          NO
     incurring additional costs?

     Can I create custom derivative versions of Neo4j                     YES                          YES
     Enterprise? (Ex: My custom Neo4j Enterprise
     Edition)

     Does NOT require you to open source your systems                             YES for both
     that simply use Neo4j Enterprise as a component in        You do NOT have to open source your system that
     your system.                                               uses Neo4j Enterprise as a server as it is intended
                                                                to be used. You only need to open source custom
                                                               Neo4j Enterprise derivatives under the open source
                                                                 license and then only under certain distribution
                                                                                   conditions.




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   iGov Inc. is a software development company located in the Washington DC Metro area.
   We focus on building innovative solutions for US Government agencies using leading open-source technologies.




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   CONTACT US

   (703) 672-1205                                                                                       
                                     (index.html)
    info@igovsol.com (mailto:info@igovsol.com)

    7686 Richmond Highway Suite 101-B Alexandria, VA 22306




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     If you've been misled by Neo4j Inc sales people regarding your rights to use Neo4j Enterprise AGPL distributions with no limitations, please
     contact us. You can also view a few FAQs we have put together for our US Federal clients :

       Neo4j open source FAQs (downloads.html#neo4j-os-faqs)




   Downloads
   Below are Open Native Graph Database (ONgDB) Enterprise distributions.


   You can access the source code via the Graphfoundation GitHub Site (https://github.com/graphfoundation).


   If you want an older Neo4j Enterprise open source distribution not found on the site, please email info@graphstack.io (mailto:info@graphstack.io)
   and tell us what version you would like. We are happy to package it for you then make it available on this site for everyone to bene t from.



    ONGDB ENTERPRISE 3.5.5

    Drop in replacement for Neo4j Core and Enterprise 3.5.5. AGPLv3 Open Source License, no limitations on causal cluster instances,
    cores, or production usage.
    May 2019 Neo4j's Release Notes (https://neo4j.com/release-notes/neo4j-3-5-5/) | Neo4j's Whats New Page (https://neo4j.com/whats-
    new-in-neo4j/)



    Mac/Linux          ongdb-enterprise-3.5.5-unix.tar.gz (https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.5.5-unix.tar.gz)

    Windows 64 bit     ongdb-enterprise-3.5.5-windows.zip (https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.5.5-windows.zip)

    Windows 32 bit     ongdb-enterprise-3.5.5-windows.zip (https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.5.5-windows.zip)

    Docker Image       ONgDB 3.5.5 Enterprise Docker Hub (https://hub.docker.com/r/graphfoundation/ongdb/)


                                     docker run \
                                            --publish=7474:7474 --publish=7687:7687 \
                                            --volume=$HOME/neo4j/data:/data \
                                            graphfoundation/ongdb:3.5

                                     Go to:   http://localhost:7474




    ONGDB ENTERPRISE 3.4.12

    AGPLv3 Open Source License, no limitations on causal cluster instances, cores, or production usage.
    October 14th, 2018 Neo4j's Release Notes (https://neo4j.com/release-notes/neo4j-3-4-12/) | Neo4j's Whats New Page
    (https://neo4j.com/whats-new-in-neo4j/)



    Mac/Linux          ongdb-enterprise-3.4.12-unix.tar.gz (https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.4.12-unix.tar.gz)



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    Windows 64 bit      ongdb-enterprise-3.4.12-windows.zip (https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.4.12-windows.zip)
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    Windows 32 bit           (index.html)
                        ongdb-enterprise-3.4.12-windows.zip (https://cdn.graphfoundation.org/ongdb/dist/ongdb-enterprise-3.4.12-windows.zip)

    Docker Image        ONgDB 3.4.12 Enterprise Docker Hub (https://hub.docker.com/r/graphfoundation/ongdb/)


                                     docker run \
                                            --publish=7474:7474 --publish=7687:7687 \
                                            --volume=$HOME/neo4j/data:/data \
                                            graphfoundation/ongdb:3.4

                                     Go to:   http://localhost:7474




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   Neo4j Enterprise Open Source Frequently Asked Questions
   We've gathered together questions we receive from agencies and integrators regarding Neo4j Enterprise Open Source licenses. If you
   have a question for us, please email us at neo4j@igovsol.com (mailto:neo4j@igovsol.com).




     Is Neo4j Enterprise Really Open Source?

       YES, Neo4j Enterprise is open source under the AGPLv3 open source license created by the Free software foundation. View License
       (https://www.gnu.org/licenses/agpl-3.0.en.html). This is the same license used by Mondgo DB and many other open source projects. As long
       as you follow the open source license terms you are free to use it in any environment, for any purpose you wish. These terms simply ensure
       custom derivatives of Neo4j Enterprise are also themselves open source. US government agencies are restricted from making closed source
       software in most situations and do not try to create their own derivative (version) of Neo4j. Instead they use Neo4j as a server in a much
       larger enterprise architecture stack. AGPLv3 is a no-brainer for US government use cases! It's that simple!


     What is the open source license does Neo4j Enterprise use?

       Neo4j Enterprise can be used for free under the Free Software Foundation's GNU AFFERO GENERAL PUBLIC LICENSE Version 3
       (https://www.gnu.org/licenses/agpl-3.0.en.html).


       It is the same license used by many open source tools such as MongoDb. There are no hidden or limiting terms beyond the standard AGPL
       v3.0 license (AGPLv3). With Neo4j Enterprise under its free open source AGPLv3 license, You simply don't get production email and phone
       support from Neo4j Inc. You can get a much cheaper support contract through iGov Inc for a fraction of the cost to support your production
       deployment, and our team is the only one with Neo4j federal past performance at this point in time.


     Where can I download the open source Neo4j Enterprise binaries?

       Neo4j removed the open source binaries they compiled from their distribution sites so you can no longer get open source packages from
       Neo4j Inc. Luckily iGov Inc compiles the binaries from the o cial Neo4j source code repositories (https://github.com/neo4j).


       See our blog post to learn more (https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-where-are-the-open-source-enterprise-
       binaries.html)


     Where can I get the sourcecode for Neo4j Enterprise?

       You can get all the Neo4j Enterprise source code at the o cial Neo4j GitHub Repositories (https://github.com/neo4j/neo4j/).


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     What are the restrictions of AGPLv3 and do I need to worry about them?
                                                                                                                                                    
                           (index.html)
       There simply are none that we've ever run into.


       The AGPL license ensures that if you make a derivative of Neo4j that you must ensure that you release the code of the derivative back to the
       community. That's it! It does not require you to release the tools, other applications, that connect and use Neo4j.
       If you are capable of creating your own derivative of Neo4j, then you may want to Neo4j Inc - they may be hiring!


     Can I use Neo4j Enterprise open source licenses in production?

       Yes, of course you can. It's 100% free and open source. The standard AGPLv3 open source license simply ensures that Neo4j remains open
       source and that any custom derivatives of Neo4j should be shared with the community.
       If you are ever told by a Neo4j sales person that you can not use Neo4j Enterprise open source license in production, simple email or call us
       along with the person's name and we will make sure Neo's corporate knows about the mistake.


     Does Neo4j open source license have any other restrictions above the AGPLv3 open source license?

       No, Neo4j Enterprise is released only under the standard AGPLv3 open source license that is managed by the free software foundation. View
       the AGPLv3 License (https://www.gnu.org/licenses/agpl-3.0.en.html) No one is allowed to modify the standard license and still call it the


     What is the di erence between Neo4j Enterprise AGPLv3 and Neo4j Enterprise Trial?

       Read the Neo4j Enterprise Trial license agreement they ask you to agree to before downloading and you will see the di erence. It tries to bind
       you to restrictive commercial terms. There is no reason you would want to agree to restrictive terms for the Trial download , when you can
       use Neo4j Enterprise for any environment including Production under the simple AGPLv3 open source license. Instead of downloading a trial -
       download Neo4j Enterprise from our the Neo4j Inc. distribution site, or from our Amazon Gov Cloud mirror. Download Neo4j Enterprise




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                Neo4j Enterprise Commercial & Open Source Comparisons

         There are no physical di erences between Neo4j Enterprise commercial and AGPL open source licenses! Neo4j Enterprise open source
                                licenses have no other limitations beyond the standard GNU AGPL open source license.
      The Neo4j Enterprise commercial end user license agreement (EULA) actually adds restrictions preventing you from using Neo4j open source
                                                 licenses in many circumstances!! Make sure to read it!



                                                                                Neo4j Enterprise open source         Neo4j Enterprise commercial
    License                                                                               license                              license

    Can use in any environment for any purpose?                                               YES                                 YES

    Can I use this with any amount of cores without incurring additional                      YES                                 NO
    costs?

    Can I create custom derivative versions of Neo4j Enterprise? (Ex: My                      YES                                 YES
    custom Neo4j Enterprise Edition)




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                                                                                    Neo4j Enterprise open source          Neo4j Enterprise commercial
    License                                                                                   license                               license         
                                (index.html)
    Does NOT require you to open source your systems that simply use                                               YES for both
    Neo4j Enterprise as a component in your system.                                    You do NOT have to open source your system that uses Neo4j
                                                                                     Enterprise as a server as it is intended to be used. You only need to
                                                                                      open source custom Neo4j Enterprise derivatives under the open
                                                                                     source license and then only under certain distribution conditions.




   About iGov
   iGov Inc. is a software development company located in the Washington DC Metro area.
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   (703) 672-1205
    info@igovsol.com (mailto:info@igovsol.com)

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                                    (index.html)




                                      If you've been misled by Neo4j Inc sales people regarding your rights to use Neo4j Enterprise AGPL distributions with no limitations, please
                                      contact us. You can also view a few FAQs we have put together for our US Federal clients :

                                        Neo4j open source FAQs (downloads.html#neo4j-os-faqs)




                                    Downloads
                                    Please download the Open Native Graph Database (ONgDB) Enterprise distributions directly from the GraphFoundation Website
                                    (https://web.archive.org/web/20201022204041/https://www.graphfoundation.org/projects/ongdb/).


                                    You can access the source code via the Graphfoundation GitHub Site
                                    (https://web.archive.org/web/20201022204041/https://github.com/graphfoundation/).


                                    Please note that if you a Neo4j reseller, you may be prohibited from using open source neo4j packages, so please read your reseller agreement
                                    carefully.


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                                    Neo4j Enterprise Open Source Frequently Asked Questions

                                    We've gathered together questions we receive from agencies and integrators regarding Neo4j
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                                                                                                Solutions Page 843 of 1198
                                        any purpose you wish. These terms simply ensure custom derivatives of Neo4j Enterprise are also themselves open source. US government
                                        agencies are restricted from making closed source software in most situations and do not try to create their own derivative (version) of
                                                         HOME (INDEX.HTML)       GRAPH PACKAGES (GRAPH.HTML)         ABOUT US (ABOUT.HTML)       SUPPORT (SUPPORT.HTML)
                                        Neo4j. Instead they use Neo4j as a server in a much larger enterprise architecture stack. AGPLv3 is a no-brainer for US government use
                                        cases! It's that simple!
                                                            DOWNLOADS (DOWNLOADS.HTML)         BLOG (HTTPS://WEB.ARCHIVE.ORG/WEB/20201022204041/HTTPS://BLOG.IGOVSOL.COM/)
                                    (index.html)

                                      What is the open source license does Neo4j Enterprise use?

                                        Neo4j Enterprise can be used for free under the Free Software Foundation's GNU AFFERO GENERAL PUBLIC LICENSE Version 3
                                        (https://web.archive.org/web/20201022204041/https://www.gnu.org/licenses/agpl-3.0.en.html).


                                        It is the same license used by many open source tools such as MongoDb. There are no hidden or limiting terms beyond the standard AGPL
                                        v3.0 license (AGPLv3). With Neo4j Enterprise under its free open source AGPLv3 license, You simply don't get production email and phone
                                        support from Neo4j Inc. You can get a much cheaper support contract through iGov Inc for a fraction of the cost to support your production
                                        deployment, and our team is the only one with Neo4j federal past performance at this point in time.


                                      Where can I download the open source Neo4j Enterprise binaries?

                                        Neo4j removed the open source binaries they compiled from their distribution sites so you can no longer get open source packages from
                                        Neo4j Inc. Luckily iGov Inc compiles the binaries from the o cial Neo4j source code repositories
                                        (https://web.archive.org/web/20201022204041/https://github.com/neo4j).


                                        See our blog post to learn more (https://web.archive.org/web/20201022204041/https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-


                                      Where can I get the sourcecode for Neo4j Enterprise?

                                        You can get all the Neo4j Enterprise source code at the o cial Neo4j GitHub Repositories


                                      What are the restrictions of AGPLv3 and do I need to worry about them?

                                        There simply are none that we've ever run into.


                                        The AGPL license ensures that if you make a derivative of Neo4j that you must ensure that you release the code of the derivative back to
                                        the community. That's it! It does not require you to release the tools, other applications, that connect and use Neo4j.
                                        If you are capable of creating your own derivative of Neo4j, then you may want to Neo4j Inc - they may be hiring!


                                      Can I use Neo4j Enterprise open source licenses in production?

                                        Yes, of course you can. It's 100% free and open source. The standard AGPLv3 open source license simply ensures that Neo4j remains
                                        open source and that any custom derivatives of Neo4j should be shared with the community.
                                        If you are ever told by a Neo4j sales person that you can not use Neo4j Enterprise open source license in production, simple email or call us
                                        along with the person's name and we will make sure Neo's corporate knows about the mistake.


                                      Does Neo4j open source license have any other restrictions above the AGPLv3 open source license?




https://web.archive.org/web/20201022204041/https://igovsol.com/downloads.html
                                                                                                                                                                                        N4J_019965
                                                                                                                                                                                              2/4
11/11/2020                                 Case 5:18-cv-07182-EJD Document     98-1 Government
                                                                      iGov : Innovative Filed 12/11/20
                                                                                                Solutions Page 844 of 1198
                                        No, Neo4j Enterprise is released only under the standard AGPLv3 open source license that is managed by the free software foundation.
                                        View the AGPLv3 License (https://web.archive.org/web/20201022204041/https://www.gnu.org/licenses/agpl-3.0.en.html) No one is allowed
                                                         HOME (INDEX.HTML)       GRAPH PACKAGES (GRAPH.HTML)         ABOUT US (ABOUT.HTML)       SUPPORT (SUPPORT.HTML)


                                      What is the di erence between(DOWNLOADS.HTML)
                                                        DOWNLOADS    Neo4j Enterprise AGPLv3  and Neo4j Enterprise Trial?
                                                                                        BLOG (HTTPS://WEB.ARCHIVE.ORG/WEB/20201022204041/HTTPS://BLOG.IGOVSOL.COM/)
                                    (index.html)
                                        Read the Neo4j Enterprise Trial license agreement they ask you to agree to before downloading and you will see the di erence. It tries to
                                        bind you to restrictive commercial terms. There is no reason you would want to agree to restrictive terms for the Trial download , when you
                                        can use Neo4j Enterprise for any environment including Production under the simple AGPLv3 open source license. Instead of downloading
                                        a trial - download Neo4j Enterprise from our the Neo4j Inc. distribution site, or from our Amazon Gov Cloud mirror. Download ONgDB
                                        Enterprise Open Source Packages Here




                                                                                                            


                                                   Neo4j Enterprise Commercial & Open Source Comparisons

                                        There are no physical di erences between Neo4j Enterprise commercial and AGPL open source licenses! Neo4j Enterprise open source
                                                                licenses have no other limitations beyond the standard GNU AGPL open source license.
                                         The Neo4j Enterprise commercial end user license agreement (EULA) actually adds restrictions preventing you from using Neo4j open
                                                                             source licenses in many circumstances!! Make sure to read it!



                                                                                                                Neo4j Enterprise open source         Neo4j Enterprise commercial
                                     License                                                                              license                              license

                                     Can use in any environment for any purpose?                                              YES                                  YES

                                     Can I use this with any amount of cores without incurring additional                     YES                                  NO
                                     costs?

                                     Can I create custom derivative versions of Neo4j Enterprise? (Ex: My                     YES                                 YES
                                     custom Neo4j Enterprise Edition)

                                     Does NOT require you to open source your systems that simply use                                         YES for both
                                     Neo4j Enterprise as a component in your system.                              You do NOT have to open source your system that uses Neo4j
                                                                                                                Enterprise as a server as it is intended to be used. You only need to
                                                                                                                 open source custom Neo4j Enterprise derivatives under the open
                                                                                                                source license and then only under certain distribution conditions.




https://web.archive.org/web/20201022204041/https://igovsol.com/downloads.html
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                                    We focus on building innovative solutions for US Government agencies using leading open-source                    info@igovsol.com
                                                            DOWNLOADS (DOWNLOADS.HTML)             BLOG (HTTPS://WEB.ARCHIVE.ORG/WEB/20201022204041/HTTPS://BLOG.IGOVSOL.COM/)
                                                                                                                                                     (mailto:info@igovsol.com)
                                    technologies.
                                    (index.html)
                                                                                                                                                     7686 Richmond Highway Suite
                                                                                                                                                    101-B Alexandria, VA 22306



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        March 2019 News: ONgDB Enterprise 3.5.5 is ready for
                           production.

        Open Native Graph DB (ONgDB) is a non-restrictive fork of Neo4j, the worldâ€™s leading

                                                             Graph Database.



            ONgDB (AKA ONgDB Enterprise) 3.5.5 is Neo4j 3.5.5 Core + the enterprise features

                                         Neo4j Inc removed from the code base as of v3.5.

         All ONgDB and Neo4j Enterprise AGPL distributions can be used in production, in closed

        source projects, and with no limitations on # of cores or causal cluster instances. ONgDB is

            a drop in replacement for the Neo4j Community and Enterprise branded distributions.


                                               Neo4j Enterprise Commercial Prices Blog Post




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https://web.archive.org/web/20190705014940/https://igovsol.com/index.html[11/11/2020 3:52:34 PM]   N4J_019968
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         March 2019 News: ONgDB Enterprise 3.5.5 is ready for
                           production.

       Open Native Graph DB (ONgDB) is a non-restrictive fork of Neo4j, the world’s leading Graph

                                                          Database.



     ONgDB (AKA ONgDB Enterprise) 3.5.5 is Neo4j 3.5.5 Core + the enterprise features Neo4j Inc

                                        removed from the code base as of v3.5.

         All ONgDB and Neo4j Enterprise AGPL distributions can be used in production, in closed

      source projects, and with no limitations on # of cores or causal cluster instances. ONgDB is a

            drop in replacement for the Neo4j Community and Enterprise branded distributions.


      Neo4j Enterprise Commercial Prices Blog Post (https://blog.igovsol.com/2018/01/10/Neo4j-Commercial-Prices.html)




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                                                                           Solutions Page 851 of 1198

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        March 2019 News: ONgDB Enterprise 3.5.5 is ready for
                           production.

            Open Native Graph DB (ONgDB) is a non-restrictive fork of Neo4j, the world’s leading

                                                            Graph Database.



            ONgDB (AKA ONgDB Enterprise) 3.5.5 is Neo4j 3.5.5 Core + the enterprise features

                                         Neo4j Inc removed from the code base as of v3.5.

         All ONgDB and Neo4j Enterprise AGPL distributions can be used in production, in closed

        source projects, and with no limitations on # of cores or causal cluster instances. ONgDB is

            a drop in replacement for the Neo4j Community and Enterprise branded distributions.


                                                 Neo4j Enterprise Commercial Prices Blog Post




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            September 2019 News: ONgDB Enterprise 3.5.11 is
                         ready for production.

        Open Native Graph DB (ONgDB) is a non-restrictive fork of Neo4j, the worldâ€™s leading

                                                             Graph Database.



          ONgDB (AKA ONgDB Enterprise) 3.5.11 is Neo4j 3.5.11 Core + the enterprise features

                                         Neo4j Inc removed from the code base as of v3.5.

         All ONgDB and Neo4j Enterprise AGPL distributions can be used in production, in closed

        source projects, and with no limitations on # of cores or causal cluster instances. ONgDB is

            a drop in replacement for the Neo4j Community and Enterprise branded distributions.



       As iGov Inc is not a Neo4j Inc partner, it is not prohibited from promoting open source Neo4j

                                                  options such as the ONgDB fork.


                                               Neo4j Enterprise Commercial Prices Blog Post




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                                                               GraphStack.io - FreeDocument     98-1
                                                                                    and Open Graph        Filed
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                                                                                                            For Neo4j            Page
                                                                                                                      Enterprise Open   859Distributions
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             March 2019 : ONgDB Enterprise 3.5.3 (Neo4j Core
                3.5.3 + Enterprise Code) is now available.
         Open Native Graph DB (ONgDB) is a non-restrictive fork of Neo4j managed by the Non pro t Graph Foundation. ONgDB is
                          100% free and open, and there are no limitations on instances in clusters, cores, etc!

                   It is a drop in replacement for any Neo4j Enterprise (or community) distribution of the same version number.

                                                                                  Learn More about ONgDB


                                                                     ABOUT GRAPHSTACK                           DOWNLOADS




         About GraphStack
         GraphStack was created and is run by iGov Inc. We have no relationship with Neo4j Inc, the company who created and
         open sourced Neo4j.




         What is GraphStack?
         GraphStack is a development suite that allows teams to build large scale graph apps.


         More information coming soon...



         Who is GraphStack for?
         GraphStack is for anyone who had adopted Neo4j and plans on building a large scale graph solution with Neo4j Enterprise
         / ONgDB Enterprise, Elasticsearch, Microservices, and more.




                                                                                                                                                           N4J_018816
https://web.archive.org/web/20190913183724/https://graphstack.io/                                                                                                1/3
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                                                                                    and Open Graph        Filed
                                                                                                   Platform      12/11/20
                                                                                                            For Neo4j            Page
                                                                                                                      Enterprise Open   860Distributions
                                                                                                                                      Source of 1198




                                                                                     Downloads
         Below are Open Native Graph Database (ONgDB) Enterprise distributions.

         You can access the source code via the Graphfoundation GitHub Site.

         If you want an older Neo4j Enterprise open source distribution not found on the site, please email info@graphstack.io and
         tell us what version you would like. We are happy to package it for you then make it available on this site for everyone to
         bene t from.


                                                                        ONgDB Enterprise 3.5.3
                Drop in replacement for Neo4j Core and Enterprise 3.5.3. AGPLv3 Open Source License, no limitations on causal
                                               cluster instances, cores, or production usage.
                                        March 2019 Neo4j's Release Notes | Neo4j's Whats New Page



                        Mac/Linux                          ongdb-enterprise-3.5.3-unix.tar.gz


                    Windows 64 bit                         ongdb-enterprise-3.5.3-windows.zip


                    Windows 32 bit                         ongdb-enterprise-3.5.3-windows.zip


                     Docker Image                          ONgDB 3.5.3 Enterprise Docker Hub

                                                                      docker run \
                                                                             --publish=7474:7474 --publish=7687:7687 \
                                                                             --volume=$HOME/neo4j/data:/data \
                                                                             graphfoundation/ongdb:3.5

                                                                      Go to:     http://localhost:7474




                                                                       ONgDB Enterprise 3.4.12
                         AGPLv3 Open Source License, no limitations on causal cluster instances, cores, or production usage.
                                       October 14th, 2018 Neo4j's Release Notes | Neo4j's Whats New Page



                        Mac/Linux                          ongdb-enterprise-3.4.12-unix.tar.gz


                    Windows 64 bit                         ongdb-enterprise-3.4.12-windows.zip


                    Windows 32 bit                         ongdb-enterprise-3.4.12-windows.zip


                     Docker Image                          ONgDB 3.4.12 Enterprise Docker Hub

                                                                      docker run \
                                                                             --publish=7474:7474 --publish=7687:7687 \
                                                                             --volume=$HOME/neo4j/data:/data \
                                                                             graphfoundation/ongdb:3.4


                                                                      Go to:     http://localhost:7474




                                                                                                                                                           N4J_018817
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         About Us

         iGov Inc is the company behind GraphStack.


         iGov Inc o ers production support packages for Neo4j / ONgDB Enterprise open source distributions for US government
         agencies.




                                                                                                  iGov Inc




                                                                                                   GitHub




                                                                                               Docker Hub


                                                                                                    
                                                                                                 Facebook


                                                                                                    
                                                                                                   Twitter




                                                                                          info@igovsol.com




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                                                                                                                                                                   N4J_018818
https://web.archive.org/web/20190913183724/https://graphstack.io/                                                                                                        3/3
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From:        Jyothi Viswanadham (jyothi.viswanadham@daytonatec.com)
To:          John Mark Suhy (jmsuhy@igovsol.com)
CC:
BCC:
Subject:     RE: Neo 4j pricing
Attachments:
Sent:        03/10/2019 10:23:52 PM -0700 (PST)

Thank you so much for the information. It helped a lot

From: John Mark Suhy <jmsuhy@igovsol.com>
Sent: Friday, 8 March 2019 5:51 PM
To: Jyothi Viswanadham <jyothi.viswanadham@daytonatec.com>
Subject: Re: Neo 4j pricing

We only focus on US government agencies, but I can guide you in the right direction.

I don’t think the discovery bundle is worth the cost. Your are essentially paying for a limited email and phone support. It is
a yearly subscription which also limits you in cores and instances.

I think you are better off using ONgDB, The free and open fork of Neo4j Enterprise, as it does not cost anything. It adds
enterprise feature code such as causal clustering back into Neo4j Core. It is a drop in replacement for Neo4j, just ensure
the version bumber matches your current version.

See: https://graphfoundation.org/ongdb/

You have no limitations on size of your cluster, number of cores, etc. and you can use it in production and in closed source
projects.

We are not a Neo4j Partner because Partners are not allowed to work or promote open source distributions so you won’t
learn about your true options from any partners.

If you need support for your project using the unrestricted open source enterprise distributions, then check out
http://graphgrid.com

I hope this is helpful.

Have a good day,

John Mark Suhy
CTO iGov Inc




On Fri, Mar 8, 2019 at 5:04 AM Jyothi Viswanadham <jyothi.viswanadham@daytonatec.com> wrote:

  Hello,

  I am looking at Neo4j pricing. Can you please help me with cost per GB and when we take discovery membership how



                                                                                                          IGOV0001573375.0001
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     do we install it and other questions

     Thanks!
     jyothi

--
John Mark Suhy
iGov Inc
jmsuhy@igovsol.com
703-862-7780
https://igovsol.com




                                                                                  IGOV0001573375.0002
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From:        John Mark Suhy (jmsuhy@igovsol.com)
To:          Ron.Turner@XpressRules.com
CC:
BCC:
Subject:     SBIR award with Neo4j
Attachments:
Sent:        01/25/2019 08:27:41 PM -0800 (PST)

Hello Ron,

I came across your SBIR award and saw you were using Neo4j.

I wanted to bring to your attention that if you want to use Neo4j Enterprise ( up through the latest 3.4 release ) under it's open
source license , you can do so in a closed source project for free. This is counter to what you probably have been told by
Neo based on their last behavior.

As of Neo4j 3.5 , if you want to use enterprise features (causal clustering, etc) for free with no limitations, then you would
want to use the Open Native Graph Database (ONgDB) as a drop in replacement (using same version number) - it adds in
the enterprise features Neo4j removed from their code base a few weeks ago.

ONgDB is in production at Treasury for example, it is just not well known yet.

https://www.graphfoundation.org/projects/ongdb/

Below is a blog post I wrote about pricing so you understand why this information could really help you with your
commercialization strategy.

https://blog.igovsol.com/2018/01/10/Neo4j-Commercial-Prices.html

Feel free to reach out to me anytime, I am in the Washington DC metro area.

Have a good weekend,


John Mark




                                                                                                                  IGOV0001573421
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The Neo4j Developer Manual v3.4
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                                                  The Neo4j Developer
                                                  Manual v3.4
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                                                    This is the developer manual for Neo4j version 3.4, authored
                                                    by the Neo4j Team.

                                                  The main parts of the manual are:

                                                          Chapter 1, Introduction — Introducing graph database concepts and
                                                          Neo4j.
                                                          Chapter 2, Get started — Get started using Neo4j: Cypher and Drivers.
                                                          Chapter 3, Cypher — Reference for the Cypher query language.
                                                          Chapter 4, Drivers — Uniform language driver manual.
                                                          Chapter 5, HTTP API — Reference for the HTTP API for operating and
                                                          querying Neo4j.
                                                          Chapter 6, Extending Neo4j — How to use procedures, user-defined
                                                          functions, and authentication and authorization plugins for extending
                                                          Neo4j.
                                                          Appendix A, Reference — Neo4j status code reference.
                                                          Appendix B, Terminology — Graph database terminology.

                                                  Who should read this?

                                                  This manual is written for the developer of a Neo4j client application.




https://web.archive.org/web/20190110031230/https://neo4j.com/docs/developer-manual/3.4/[10/13/2020 4:01:47 PM]     N4J_019917
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                                                   The main parts of the manual are:

                                                           Chapter 1, Introduction — Introducing graph database concepts and
                                                           Neo4j.
                                                           Chapter 2, Get started — Get started using Neo4j: Cypher and Drivers.
                                                           Chapter 3, Cypher — Reference for the Cypher query language.
                                                           Chapter 4, Drivers — Uniform language driver manual.
                                                           Chapter 5, HTTP API — Reference for the HTTP API for operating and
                                                           querying Neo4j.
                                                           Chapter 6, Extending Neo4j — How to use procedures, user-defined
                                                           functions, and authentication and authorization plugins for extending
                                                           Neo4j.
                                                           Appendix A, Reference — Neo4j status code reference.
                                                           Appendix B, Terminology — Graph database terminology.

                                                   Who should read this?
                                                   This manual is written for the developer of a Neo4j client application.




https://neo4j.com/docs/developer-manual/3.4/[10/13/2020 2:34:43 PM]                                                    N4J_019916
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                                                 EXHIBIT 80
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                                                          Enterprise Editions.
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                                                          deployment contexts.
                                                          Chapter 3, Configuration — Instructions on how to configure certain
                                                          parts of the product.
                                                          Chapter 4, Clustering — Comprehensive descriptions of Neo4j Causal
                                                          Clustering.
                                                          Chapter 5, Upgrade — Instructions on upgrading Neo4j.
                                                          Chapter 6, Backup — Instructions on setting up Neo4j backups.
                                                          Chapter 7, Authentication and authorization — Instructions on user
                                                          management and role-based access control.
                                                          Chapter 8, Security — Instructions on server security.
                                                          Chapter 9, Monitoring — Instructions on setting up Neo4j monitoring.
                                                          Chapter 10, Performance — Instructions on how to go about
                                                          performance tuning for Neo4j.
                                                          Chapter 11, Tools — Description of Neo4j tools.
                                                          Appendix A, Reference — Listings of all Neo4j configuration
                                                          parameters.
                                                          Appendix B, Tutorials — Step-by-step instructions on various scenarios
                                                          for setting up Neo4j.
                                                          Appendix C, HA cluster — Information about Neo4j HA clusters.



https://web.archive.org/web/20190110045542/https://neo4j.com/docs/operations-manual/3.4/[10/13/2020 4:01:10 PM]       N4J_019934
The Neo4j Operations Manual v3.4
                       Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 873 of 1198
                                        Who should read this?
                                                   This manual is written for:

                                                          the engineer performing the Neo4j production deployment.
                                                          the operations engineer supporting and maintaining the Neo4j production
                                                          database.
                                                          the enterprise architect investigating database options.
                                                          the infrastructure architect planning the Neo4j production deployment.




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Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 874 of 1198




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                                                           Chapter 3, Configuration — Instructions on how to configure certain
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                                                           Chapter 4, Clustering — Comprehensive descriptions of Neo4j Causal
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                                                           Chapter 7, Authentication and authorization — Instructions on user
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                                                           Chapter 8, Security — Instructions on server security.
                                                           Chapter 9, Monitoring — Instructions on setting up Neo4j monitoring.
                                                           Chapter 10, Performance — Instructions on how to go about
                                                           performance tuning for Neo4j.
                                                           Chapter 11, Tools — Description of Neo4j tools.
                                                           Appendix A, Reference — Listings of all Neo4j configuration
                                                           parameters.
                                                           Appendix B, Tutorials — Step-by-step instructions on various scenarios
                                                           for setting up Neo4j.
                                                           Appendix C, HA cluster — Information about Neo4j HA clusters.



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                                         Who should read this?
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                                                           the operations engineer supporting and maintaining the Neo4j production
                                                           database.
                                                           the enterprise architect investigating database options.
                                                           the infrastructure architect planning the Neo4j production deployment.




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                                                 EXHIBIT 82
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                                                          deployment contexts.
                                                          Chapter 3, Docker — Instructions on how to use Neo4j on Docker.
                                                          Chapter 4, Configuration — Instructions on how to configure certain
                                                          parts of the product.
                                                          Chapter 5, Clustering — Comprehensive descriptions of Neo4j Causal
                                                          Clustering.
                                                          Chapter 6, Upgrade — Instructions on upgrading Neo4j.
                                                          Chapter 7, Backup — Instructions on setting up Neo4j backups.
                                                          Chapter 8, Authentication and authorization — Instructions on user
                                                          management and role-based access control.
                                                          Chapter 9, Security — Instructions on server security.
                                                          Chapter 10, Monitoring — Instructions on setting up Neo4j monitoring.
                                                          Chapter 11, Performance — Instructions on how to go about
                                                          performance tuning for Neo4j.
                                                          Chapter 12, Tools — Description of Neo4j tools.
                                                          Appendix A, Reference — Listings of all Neo4j configuration
                                                          parameters.
                                                          Appendix B, Tutorials — Step-by-step instructions on various scenarios
                                                          for setting up Neo4j.
                                                          Appendix C, Advanced Causal Clustering — Advanced concepts and


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The Neo4j Operations Manual v3.5
                       Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 879 of 1198
                                             actions for Neo4j Causal Clustering.
                                             Appendix D, Index key calculations — Details for calculating index key
                                             sizes.
                                             Appendix E, HA cluster — Information about Neo4j HA clusters.

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                                                          the operations engineer supporting and maintaining the Neo4j production
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                                                          the enterprise architect investigating database options.
                                                          the infrastructure architect planning the Neo4j production deployment.




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                                        Clustering — Comprehensive descriptions of Neo4j Causal Clustering.

                                        Backup — Instructions on setting up Neo4j backups.

                                        Upgrade — Instructions on upgrading Neo4j.

                                        Authentication and authorization — Instructions on user management and role-based
                                        access control.

                                        Security — Instructions on server security.

                                        Monitoring — Instructions on setting up Neo4j monitoring.

                                        Performance — Instructions on how to go about performance tuning for Neo4j.

                                        Tools — Description of Neo4j tools.

                                        Reference — Listings of all Neo4j configuration parameters.

                                        Tutorials — Step-by-step instructions on various scenarios for setting up Neo4j.

                                        Advanced Causal Clustering — Advanced concepts and actions for Neo4j Causal
                                        Clustering.

                                        Index key calculations — Details for calculating index key sizes.

                                        HA cluster — Information about Neo4j HA clusters.


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                                Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 882 of 1198
                                        the engineer performing the Neo4j production deployment.

                                        the operations engineer supporting and maintaining the Neo4j production database.

                                        the enterprise architect investigating database options.

                                        the infrastructure architect planning the Neo4j production deployment.


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                                                 EXHIBIT 84
11/11/2020                                     Case 5:18-cv-07182-EJDONgDB
                                                                       Document      98-1
                                                                           3.5 Changelog       Filed 12/11/20
                                                                                         · graphfoundation/ongdb Wiki Page
                                                                                                                      · GitHub 884 of 1198




       graphfoundation / ongdb

         Code        Issues 3          Pull requests 2          Actions      Projects        Wiki        Security        Insights




                  ONgDB 3.5 Changelog
                  Brad Nussbaum edited this page on Aug 12 · 6 revisions




                  3.5.19                                                                                                                                   Pages 15



                  Kernel
                       Includes store file name in version/ids debug.log printout
                       The BatchInserter now honors the dbms.read_only setting. Furthermore, read-only batch inserters are faster to shut
                       down because they don't rebuild indexes.
                       Fixes issue where created indexes would stop being resampled after restart


                  Cypher
                       Planner bug fix to avoid cases where the planner gives up without considering all possible plans
                                                                                                                                                            Website
                                                                                                                                                            Wiki home
                  3.5.18                                                                                                                                    Docs
                                                                                                                                                            Changelog
                                                                                                                                                            Get Involved
                  Kernel
                       Fixes a bug that in rare cases can lead to a JVM crash with a sysmalloc: Assertion or SIGSEGV error message.                  Clone this wiki locally
                       Includes NodeRecord in dynamic label record load error
                                                                                                                                                       https://github.com/graphf
                       Attempting to create a full-text index with a non-existent analyser will now fail the creating query, instead of failing at
                       commit time.
                       Fixes issue shrinking high_limit double-unit record back to single-unit


                  Cypher
                       Update Apache Shiro to 1.5.2 to fix BlackDuck warning


                  Docker
                       Removed docker specific configuration overrides incompatible with windows networking


                  3.5.17

https://web.archive.org/web/20200930084540/https://github.com/graphfoundation/ongdb/wiki/ONgDB-3.5-Changelog
                                                                                                                                                                                   N4J_019972
                                                                                                                                                                                         1/2
11/11/2020                                   Case 5:18-cv-07182-EJDONgDB
                                                                     Document      98-1
                                                                         3.5 Changelog       Filed 12/11/20
                                                                                       · graphfoundation/ongdb Wiki Page
                                                                                                                    · GitHub 885 of 1198

                  Kernel
                      Fix a bug in DETACH DELETE on dense nodes that could lead to inconsistencies.
                      Fix a bug where DETACH DELETE would not lock the relationships being deleted, allowing overlapping transactions to make
                      changes, such as property updates and chain linkage changes, to those records, which could lead to inconsistencies.


                  Cypher
                      Fixed a bug where shadowed variable from outer scope would be accessible inside list comprehension when combined with
                      aggregating function.
                      Parsing or compilation related errors are now also logged in the query log.


                  Cypher-shell version
                      1.1.13


                  3.5.16

                  Kernel
                      Fix a problem where the combination of parallel apoc.periodic.iterate , and
                      dbms.logs.query.parameter_logging_enabled=true , could lead to a JVM crash.

                      Last line in the configuration file is no longer ignored if there is a missing new line.
                      Add jvm argument, -Dorg.neo4j.kernel.impl.storemigration.participant.StoreMigrator.migration_threads=
                      <nbrOfThreads> , to set number of threads used to read and write when upgrading store. By setting a lower value the
                      contention on disk can be reduced. Default value is the number of processors available to the process. Fix bug where store
                      upgrade could see IndexOutOfBoundsException when upgrading store that was much larger than available memory.




https://web.archive.org/web/20200930084540/https://github.com/graphfoundation/ongdb/wiki/ONgDB-3.5-Changelog
                                                                                                                                                   N4J_019973
                                                                                                                                                         2/2
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                                                 EXHIBIT 86
11/12/2020         Case
                   The     5:18-cv-07182-EJD
                       Graph Foundation on Twitter: "LatestDocument     98-1 release
                                                           #ONgDB 3.4.9 support Filedis 12/11/20        Page
                                                                                        out with important       890
                                                                                                           security fixesof
                                                                                                                         for 1198
                                                                                                                             LDAP integrations. https:…

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                                                                                                                       What’s happening

                                                                                                                       Visual arts · Last night
                                                                                                                       Spain makes headlines once
                                                                                                                       again with another botched art
                                                                                                                       restoration
                                     ONgDB - Open Source Neo4j Enterprise Graph - The Graph Foundation
                                     ONgDB is an open source fork of Neo4j Enterprise that is developed and released   Gaming · LIVE
                                     under the AGPLv3 License by The Graph Foundation.                                 The PlayStation 5 has been
                                       graphfoundation.org                                                             released

                                   1:49 PM · Oct 25, 2018 · Hootsuite Inc.
                                                                                                                       US elections · Yesterday
                                                                                                                       Trump projected to win Alaska’s 3
                                    1 Retweet                                                                          electoral votes, AP, NBC and ABC
                                                                                                                       report

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                                                                                                                       Bollywood actor Asif Basra has
                                                                                                                       died, aged 53


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                                                                                                                       Colorado: Get local updates
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                                                 EXHIBIT 87
5/20/2020         Case
                 The Graph5:18-cv-07182-EJD             Document 98-1
                           Foundation on Twitter: "The @GraphFoundation         Filed
                                                                        is moving      12/11/20
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                                                                                          the development       892 of
                                                                                                          of a #Neo4j    11983.5 release. This …
                                                                                                                      Enterprise


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             The Graph Foundation @GraphFoundation · Nov 17, 2018
             It’s official: #Neo4j Enterprise is closed source. As of November 2, 2018,
             Neo4j, Inc. has moved all enterprise modules of the 3.5 release to a private
             repository. Starting with version 3.5, neo4j is open core only for community
             edition.
                 1


             The Graph Foundation @GraphFoundation · Nov 17, 2018
             Up to this point, the #Neo4j Enterprise has been open source under an
             #AGPL license while Community Edition has been under #GPL. Enterprise has                                               GFI 30(b)(6)
             a special graph database format incompatible with Community Edition                                                   Brad Nussbaum
             making this a move to a proprietary format for Enterprise customers.
                 1
                                                                                                                                      Ex 18
                                                                                                                                    10/16/2020 D Myers

             The Graph Foundation @GraphFoundation · Nov 17, 2018
             #Neo4j raised $80M in Series E funding and its first action was a change to a
             common core model. This is a betrayal to the community that has backed
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             The Graph Foundation @GraphFoundation · Nov 17, 2018
             #Neo4j Enterprise is proprietary now. Check the github repository and see
             the enterprise modules are gone. This included data formats, clustering,         Relevant people
             monitoring, security and more. All gone.
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    development of a #Neo4j Enterprise 3.5 release. This                                      Better together on Streaming Day

    will be a divergent but open source #AGPL release that                                         Promoted by Disney+


    continues the commitment we forged at the beginning                                       COVID-19 · LIVE

    of this journey. Graphs for everyone!                                                     COVID-19 updates for the US


                          graphfoundation/neo4j
                          Graphs for Everyone. Contribute to graphfoundation/neo4j            NFL · Trending
                          development by creating an account on GitHub.                       Taysom Hill
                             github.com                                                       1,420 Tweets

                                                                                               NFL
    7:25 PM · Nov 17, 2018 · Twitter for iPhone                                                The Saints think Taysom Hill will
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                 The Graph5:18-cv-07182-EJD             Document 98-1
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                                                 EXHIBIT 88
5/20/2020         Case
                 The Graph5:18-cv-07182-EJD               Document
                           Foundation on Twitter: "Our vision for #ONgDB 98-1      Filed
                                                                         is to provide      12/11/20
                                                                                       a single              Page
                                                                                                edition of a native    895
                                                                                                                    graph   of 1198
                                                                                                                          database built for scale. For tha…


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    a native graph database built for scale. For that reason
    we're breaking from the past naming that has                                                     Relevant people
    separated "community" and "enterprise" editions and
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    instead focusing on a unified vision for a single ongdb                                                    @GraphFoundation
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                                                     The Graph Foundation
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                                            graphfoundation.org/projects/ongdb/

                                            What is ONgDB?                                                                                  Relevant people
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                                            enterprise code from the main Github repository.                                                            Open Graph Technology for Public
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                                                                                                                                            What’s happening

                                                                                                                                            Politics · Yesterday
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                                                                                                                                            Barrett deliver opening remarks
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                                                                                                                                            7,314 Tweets

                                              ONgDB - Open Source Neo4j Enterprise Graph - The Graph Foundation                             Trending in United States
                                              ONgDB is an open source fork of Neo4j Enterprise that is developed and released               Berta
                                              under the AGPLv3 License by The Graph Foundation.
                                                                                                                                            Trending with Two and a Half Men
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                                            9:31 AM · Oct 9, 2019 · Twitter Web App                                                         Dan Mullen
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https://twitter.com/GraphFoundation/status/1181970496398729217                                                                                Ex 40                                               1/2
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https://twitter.com/GraphFoundation/status/1181970496398729217                                                                                                                                    2/2
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                                                 EXHIBIT 97
10/19/2020          Case     5:18-cv-07182-EJD
                    Philip Rathle                         Document
                                  on Twitter: "@gwenshap Community Edition98-1     Filed
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                                                                                                                                       Search Twitter


                                               Gwen (Chen) Shapira @gwenshap · Sep 22, 2019
        Explore                                I'm exploring graph databases a bit. Neo4j has one of the fanciest developer
                                               on-boarding experiences I've seen to date. But the early examples don't
                                               really differentiate it from RDBMS. There are entities (movies, users, ratings)
        Settings                               and they have relationships.
                                                   24                   7                    48


                                               Gwen (Chen) Shapira @gwenshap · Sep 22, 2019
                                               You can ask questions like "How many users rated each matrix movie", but I
                                               can do the same with RDBMS, using almost identical query language.
                                               I'm sure there's a point to graph databases, but I'm not seeing it yet.
                                                   6                                         1


                                               Gwen (Chen) Shapira @gwenshap · Sep 22, 2019
                                               Oh and the license is a bit of a problem. AFAIK AGPL is incompatible with
                                               Apache V2, so I can't see a future where Kafka Streams or Flink have
                                               embedded Neo4j. Also, the DB is only HA in the very expensive version. I
                                               could use Kafka for dual-writes, I guess.
                                                   3                                         3


                                               Gwen (Chen) Shapira @gwenshap · Sep 22, 2019
                                               Tweeps who do graph databases:
                                               1. Why? What's the use-case?
                                               2. Which one is your fave?
                                                   20                   4                    11


                                               Gwen (Chen) Shapira @gwenshap · Sep 22, 2019
                                               I've been corrected that while Neo4j itself is AGPL, the drivers are Apache V2.
                                               So we can include the drivers in ASF projects and have users bring their own
                                               DB.
                                               Not super friendly, but some projects do it.
                                                   4                                         2


                                               Philip Rathle
                                               @prathle

                                    Replying to @gwenshap

                                    Community Edition is GPLv3.

                                    Drivers are Apache 2.0. The Kafka adapter is Apache 2.0:                                     New to Twitter?
                                                                                                                                 Sign up now to get your own personalized timeline!

                                    confluent.io/blog/kafka-con…                                                                                        Sign up


                                    Enterprise Edition is commercial = paid. But free for
                                    startups, education, development (via Neo4j Browser).                                        Relevant people

                                    More entry-level modalities on their way soon...                                                        Philip Rathle
                                                                                                                                                                            Follow
                                                                                                                                            @prathle
                                                                                                                                            Head of Products for Neo4j. Graphs
                                                          All About the Kafka Connect Neo4j Sink Plugin | Confluent
                                                                                                                                            are everywhere.
                                                          We've been using the work we did for the Kafka sink – Neo4j
                                                          extension and have made it available via remote connections …
                                                                                                                                            Gwen (Chen) Shapira
                                                             confluent.io                                                                                                   Follow
                                                                                                                                            @gwenshap
                                                                                                                                            Engineering Manager. Opinionated.
                                    8:20 AM ·Tweet
                                              Sep 23, 2019 · Twitter for iPhone                                                             Appreciates good software
                                                                                                                                            engineering whenever it can be found.
                                                                                                                                            High latency, high throughput.
                                     2 Likes                                                                                                She/her.



                                                                                                                                 What’s happening
                                               John Mark Suhy @jmsuhy · Sep 25, 2019
                                                                                                                                 NFL · LIVE
                                               Replying to @prathle and @gwenshap
                                                                                                                                 Cardinals at Cowboys
           Witness:                            You can use the GraphFoundation's fork called Open Native Graph Database
        John Mark Suhy                         (ONgDB). It adds the enterprise code Neo removed back on top of Neo4j             Trending with Cardinals, Dallas
                                               core. 3.5.11 is ready to go, it should be out in the next few days. Carefully
      Exhibit 37                               read the terms for the 'free' offerings Neo4j mentions!
                                                                                             1
                                                                                                                                 NFL · Trending
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         10/22/2020 B Gerald                                                                                                     Bashaud Breeland costs Kansas City Chiefs early
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                                  Don’t miss what’s happening                                                                    Politics · Trending   Log in                Sign up
                                  People on Twitter are the first to know.                                                       #MarchToThePollsForJoe

https://twitter.com/prathle/status/1176154337741103104                                                                                                                                 1/2
10/19/2020         Case     5:18-cv-07182-EJD
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                                                 EXHIBIT 98
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                             on Twitter: "@emileifrem @neo4j @kfreytag98-1
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             Neo4j     @neo4j · Nov 6, 2019
             Introducing #Neo4jAura: A New Graph Database as a Service – by
             @emileifrem

             r.neo4j.com/33kr0Ql
             #Neo4j #GraphDatabase




              Introducing Neo4j Aura: A New Graph Database as a Service
              Discover unique features of Neo4j Aura, the first fully managed native
              graph database as a service, and why it was built to be developer friendly.
                 neo4j.com

                 5                      37                    74


             steven mapes @stevenamapes · Nov 6, 2019
             It's a lovely product but why so expensive? It prices out the small and
             medium businesses the press release aim at. I have one client I'd love to
             move to it but it's 10* the cost of their current cloud solution
                 1


             Emil Eifrem @emileifrem · Nov 6, 2019
             My experience has been that if you have any kind of funding (customers,
             angels, etc) then ~$65 / mo isn't a problem. But if it's pre any of that, i.e. it's
             still a labor of love weekend-and-evenings type of project that you're not
             getting paid for, then 65 bucks *is* steep.
                 1                                            1


             Emil Eifrem @emileifrem · Nov 6, 2019
             ... and we're beyond my capacity. ;) hashtag ceo. @kfreytag can probably
             chime in when he gets back.
                                                                                                   New to Twitter?
                 1                                            1
                                                                                                   Sign up now to get your own personalized timeline!

             steven mapes @stevenamapes · Nov 6, 2019
             Sorry deleted the wrong tweet. The question was asking what the CPUs are                                     Sign up
             and how they compare to AWS/Azure
                 2
                                                                                                   Relevant people
             steven mapes
             @stevenamapes                                                                                   steven mapes
                                                                                                                                              Follow
                                                                                                             @stevenamapes
    Replying to @stevenamapes @emileifrem and 2 others                                                       PHP / Python Dev, DBA, AWS, SEO,
                                                                                                             Social Media, Sci-Fi, Gaming, History,
    I love the product and use neo daily but the costs are                                                   Action Figures, I really do have too
                                                                                                             many interests
    often a barrier for clients from making the move to
    Enterprise so it'd be handy to be able to compare CPU                                                    Emil Eifrem
                                                                                                                                              Follow
                                                                                                             @emileifrem

https://mobile.twitter.com/stevenamapes/status/1192140266116911109?p=v                                                                                  1/3
                                                                                                                                            N4J_018946
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                            on Twitter: "@emileifrem @neo4j @kfreytag98-1
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                                                                                                                             often a barrier for client…
                                                                                                             Neo4j. Graphs Are Everywhere.
    architecture  and figure out if a a .4 or a .8 compares to
              Search Twitter                                                                                         Log in        Sign up
    the vcpus of others                                                                                      Neo4j
                                                                                                             @neo4j
                                                                                                                                         Follow
    10:02 AM · Nov 6, 2019 · Twitter for Android                                                             The #1 platform for connected data.
                                                                                                             Developers start here:
                                                                                                             neo4j.com/developer/


             Kurt Freytag @kfreytag · Nov 6, 2019
                                                                                                  What’s happening
             Replying to @stevenamapes @emileifrem and @neo4j
             There’s one level at which this axis of comparison is really important (how
                                                                                                  COVID-19 · LIVE
             might this be compared to my existing self-managed Neo4j database). On
                                                                                                  COVID-19: China commits $2
             another axis, a fully-managed DBaaS is qualitatively different for many
                                                                                                  billion to fight the pandemic
             customers who simply cannot or do not want to deal with ops.
                 2                                           1
                                                                                                  #EpicMegaSale
             steven mapes @stevenamapes · Nov 6, 2019                                             GTAV free on PC until 5/21. Keep it forever, only
             Totally agree, it's like other managed dbaas solutions, but for those where          on Epic Games Store.
             they will care more about keeping performance stable the CPU comparison                 Promoted by Epic Games Store
             is important especially as consultants advising clients when they ask    .
                                                                                                  COVID-19 · LIVE
                                                             1
                                                                                                  COVID-19 updates for the US
             John Mark Suhy @jmsuhy · Dec 5, 2019
             Replying to @stevenamapes @emileifrem and 2 others
             You can use the ONgDB fork of Neo4j which adds enterprise code back into             Politics · Trending
             Neo4j core. It is 100% free and open. There are no limitations for causal            Saudi
             clustering instances, cores, etc.                                                    235K Tweets

                                                                                                  Politics · Trending
                                                                                                  He's LYING
                                                                                                  60.7K Tweets


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              ONgDB - Open Source Neo4j Enterprise Graph - The Graph Foundation
              ONgDB is an open source fork of Neo4j Enterprise that is developed and
              released under the AGPLv3 License by The Graph Foundation.
                 graphfoundation.org

                 1                     1                     1


             steven mapes @stevenamapes · Dec 6, 2019
             I've looked into it before without actually having a play. Is there a timeline of
             when it forked and what was added Vs the closed enterprise version?
                 2


             John Mark Suhy @jmsuhy · Dec 7, 2019
             Just an FYI - ONgDB will also have the enterprise features for 4.x. There was
             a lot of refactoring in Neo4j 4.x core code base - but luckily Neo4j is very
             well written. I’ll post a new blog post on running newest 3.5.x causal
             clustering via docker soon.
                                                             1




https://mobile.twitter.com/stevenamapes/status/1192140266116911109?p=v                                                                                2/3
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https://mobile.twitter.com/stevenamapes/status/1192140266116911109?p=v                                                                               3/3
                                                                                                                                       N4J_018948
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                                                 EXHIBIT 99
5/19/2020         Case
                 Rolf      5:18-cv-07182-EJD
                      Streefkerk                         Document
                                 on Twitter: "@MuddyBootsCode         98-1
                                                              @neo4j Are        Filed
                                                                         there any       12/11/20
                                                                                   affordable          Page available
                                                                                              managed services 921 offor1198
                                                                                                                         Neo4j. This is what has…


                     Search Twitter                                                                              Log in          Sign up


             Michael Porter @MuddyBootsCode · Dec 14, 2019
             I've managed to learn so much about graphs via Neo4j that I now get upset
             when dealing with problems that I know are perfect for graphs and people
             still want to use SQL DB's despite continuously failing to be able to model
             the data correctly. #GraphAddict
                 2                    7                   45


             Rolf Streefkerk
             @rpstreefkerk

    Replying to @MuddyBootsCode and @neo4j

    Are there any affordable managed services available for
    Neo4j. This is what has stopped me from using this in
    the past. Otherwise great tech
    2:23 AM · Dec 15, 2019 · Twitter for Android




             Bert @taseroth · Dec 15, 2019
             Replying to @rpstreefkerk @MuddyBootsCode and @neo4j
             We started it some weeks ago:




                                                                                              New to Twitter?
                                                                                             Sign up now to get your own personalized timeline!


                                                                                                                    Sign up

               Neo4j Aura: The Simplest Way to Run Neo4j in the Cloud
               The world's most flexible, reliable and developer-friendly graph database
               as a service lets you focus on building rich, graph-powered applications.      Relevant people
                  neo4j.com
                                                                                                       Rolf Streefkerk
                                                                                                                                        Follow
                 1                                                                                     @rpstreefkerk
                                                                                                       AWS enthusiast, product manager and
             Rolf Streefkerk @rpstreefkerk · Dec 15, 2019                                              interested in real science. populi.one
             Starting from 65.50 USD per month is pretty expensive for just 1GB of                     kindi.menu multithreadlabs.io
             memory and 2GB of storage. This is pretty much in line with services I've
             seen a few years ago as well.                                                             Michael Porter
                                                                                                                                        Follow
                 3
                                                                                                       @MuddyBootsCode
                                                                                                       Digitized the oil fields of West Texas by
             4 more replies                                                                            learning to code. Love React,
                                                                                                       JavaScript, Python and Graphs. Neo4J
             John Mark Suhy @jmsuhy · Dec 15, 2019                                                     Certified Professional.
             Replying to @rpstreefkerk @MuddyBootsCode and @neo4j
             Use ONgDB - Neo4j Core + Enterprise code Neo removed when they went                       Neo4j
                                                                                                                                        Follow
             open core. Just copy data folder over (use same version). No restrictions on              @neo4j
             cluster instances, cored, etc and can be used in production.                              The #1 platform for connected data.
                                                                                                       Developers start here:
                                                                                                       neo4j.com/developer/

https://mobile.twitter.com/rpstreefkerk/status/1206157705779372033?p=v                                                                             1/2
                                                                                                                                      N4J_018949
5/19/2020         Case
                 Rolf      5:18-cv-07182-EJD
                      Streefkerk                         Document
                                 on Twitter: "@MuddyBootsCode         98-1
                                                              @neo4j Are        Filed
                                                                         there any       12/11/20
                                                                                   affordable          Page available
                                                                                              managed services 922 offor1198
                                                                                                                         Neo4j. This is what has…


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                                                                                              What’s happening                      Sign up


                                                                                              COVID-19 · LIVE
                                                                                              COVID-19: Medical experts warn
                                                                                              the virus may be a constant
                                                                                              threat for some time
                                                                                              200K people are Tweeting about this


                                                                                              COVID-19 · LIVE
                                                                                              COVID-19 updates for the US

               ONgDB - Open Source Neo4j Enterprise Graph - The Graph Foundation
               ONgDB is an open source fork of Neo4j Enterprise that is developed and
                                                                                              Food · Trending
               released under the AGPLv3 License by The Graph Foundation.
                                                                                              Krispy Kreme
                 graphfoundation.org
                                                                                              6,245 Tweets

                                                          1
                                                                                              Entertainment · Trending
                                                                                              #ThankYouRavi
             John Mark Suhy @jmsuhy · Dec 15, 2019                                            14K Tweets
             Replying to @rpstreefkerk @MuddyBootsCode and @neo4j
             Also Look at @graphgrid :                                                           CNBC Make It · 3 hours ago
                                                                                              Unemployment benefits are not
                                                                                              “free money”
                                    Home - GraphGrid
                                      graphgrid.com
                                                                                              Show more


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                                                                                                                                       N4J_018950
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                                                 EXHIBIT 100
10/19/2020         Case
                   John   5:18-cv-07182-EJD
                        Mark                           Document
                             Suhy on Twitter: "@mckenzma              98-1
                                                         @neo4j Try your        Filed
                                                                         data out      12/11/20
                                                                                  on ONgDB           Page
                                                                                           which is Neo4j core 924   of 1198
                                                                                                               + enterprise code neo removed. Ju…

                                             Tweet                                                                               Search Twitter


                                             Michael McKenzie @mckenzma · Jan 8
        Explore                              It's fun playing in @neo4j! Currently rocking 217.7 million nodes and 261.7
                                             million relationships of bridge data like a champ!

        Settings                                 1                                        8


                                             John Mark Suhy
                                             @jmsuhy

                                  Replying to @mckenzma and @neo4j

                                  Try your data out on ONgDB which is Neo4j core +
                                  enterprise code neo removed. Just copy your graph.db
                                  directory over and any plugins (using same version).
                                  100% open source - no limits on cluster instances,
                                  cores, etc. 3.5.14 will be ready next week.




                                                                                                                           New to Twitter?
                                                                                                                           Sign up now to get your own personalized timeline!


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                                                                                                                           Relevant people

                                                                                                                                     John Mark Suhy
                                                                                                                                                                      Follow
                                    ONgDB - Open Source Neo4j Enterprise Graph - The Graph Foundation                                @jmsuhy
                                    ONgDB is an open source fork of Neo4j Enterprise that is developed and released                  software developer / enterprise
                                    under the AGPLv3 License by The Graph Foundation.                                                architect, entrepreneur, and amateur
                                      graphfoundation.org                                                                            angler.

                                  4:24 PM · Jan 10, 2020 · Twitter for iPhone                                                        Michael McKenzie
                                                                                                                                                                      Follow
                                                                                                                                     @mckenzma
                                                                                                                                     My imagination is where I explore
                                   2 Likes
                                                                                                                                     what is possible within.

                                                                                                                                     Neo4j
                                                                                                                                                                      Follow
                                                                                                                                     @neo4j
                                             Phanor Coll     @phanor · Jan 10                                                        The #1 platform for connected data.
                                             Replying to @jmsuhy @mckenzma and @neo4j                                                Developers start here:
                                                                                                                                     neo4j.com/developer/
                                             Sweet. Im going to give this a look.


                                                                                                                           What’s happening

                                                                                                                           NFL · LIVE
                                                                                                                           Cardinals at Cowboys
                                                                                                                           Trending with #MNFXESPN, #AZvsDAL


                                                                                                                           NFL · Trending
                                                                                                                           Budda Baker
                                                                                                                           1,976 Tweets


                                                                                                                           Wrestling · Trending
                                                                                                                           IIconics
                                                                                                                           The WWE Universe is reacting to Peyton Royce
                                                                                                                           in a new tag team on Monday night Raw
                                                                                                                           following The IIconics breakup in August
                                                                                                                           1,379 Tweets

           Witness:                                                                                                        Celebrities · Trending
        John Mark Suhy                                                                                                     Jeff Bridges
                                                                                                                           Actor Jeff Bridges reveals his Lymphoma cancer

     Exhibit 39                                                                                                            diagnosis
                                                                                                                           4,772 Tweets
         10/22/2020 B Gerald
                                                                                                                           US elections · LIVE
                                                                                                                           California: Election news and
                                                                                                                           updates
                                Don’t miss what’s happening                                                                                              Log in        Sign up
                                People on Twitter are the first to know.

https://mobile.twitter.com/jmsuhy/status/1215791636124524549                                                                                                                     1/2
10/19/2020         Case
                   John   5:18-cv-07182-EJD
                        Mark                           Document
                             Suhy on Twitter: "@mckenzma              98-1
                                                         @neo4j Try your        Filed
                                                                         data out      12/11/20
                                                                                  on ONgDB           Page
                                                                                           which is Neo4j core 925   of 1198
                                                                                                               + enterprise code neo removed. Ju…
                                                                                                         Show more
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        Explore


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                                Don’t miss what’s happening                                                                           Log in         Sign up
                                People on Twitter are the first to know.

https://mobile.twitter.com/jmsuhy/status/1215791636124524549                                                                                                   2/2
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                                                 EXHIBIT 101
10/19/2020           Case
                     John    5:18-cv-07182-EJD
                          Mark Suhy on Twitter: "You may be Document         98-1
                                                            able to get a refund if you Filed
                                                                                        bought a12/11/20        Page
                                                                                                 costly enterprise     927 subscription
                                                                                                                   commercial of 1198 based on @neo4…
                                               Thread                                                                            Search Twitter


                                               John Mark Suhy @jmsuhy · Jan 24
        Explore                                If you have a @neo4j commercial subscription and are planning a switch to
                                               the open source ONgDB fork - remember to read your agreements and
                                               make sure you give proper notice. (It May be 90 days).
        Settings
                                                   1                                       1


                                               John Mark Suhy @jmsuhy · Jan 24
                                               One more thing - if you purchased a @neo4j commercial license because
                                               you were told you could not use the open sourced Neo4j enterprise
                                               distributions for any reason - send me a PM.
                                                   1                                       2

                                                                                                                           New to Twitter?
                                               John Mark Suhy
                                               @jmsuhy                                                                     Sign up now to get your own personalized timeline!


                                     Replying to @jmsuhy                                                                                            Sign up

                                     You may be able to get a refund if you bought a costly
                                     enterprise commercial subscription based on @neo4j                                    Relevant people
                                     enterprise open source licensing deception. An
                                                                                                                                      John Mark Suhy
                                     upcoming court case is going to expose what Neo has                                              @jmsuhy
                                                                                                                                                                        Follow
                                     done. More to come...                                                                            software developer / enterprise
                                                                                                                                      architect, entrepreneur, and amateur
                                     7:11 AM · Jan 29, 2020 · Twitter for iPhone                                                      angler.

                                                                                                                                      Neo4j
                                                                                                                                                                        Follow
                                                                                                                                      @neo4j
                                                                                                                                      The #1 platform for connected data.
                                                                                                                                      Developers start here:
                                                                                                                                      neo4j.com/developer/



                                                                                                                           What’s happening

                                                                                                                           NFL · LIVE
                                                                                                                           Cardinals at Cowboys
                                                                                                                           Trending with #AZvsDAL, #RedSea


                                                                                                                           Sports · Trending
                                                                                                                           CeeDee
                                                                                                                           3,926 Tweets


                                                                                                                           NFL · Trending
                                                                                                                           Budda Baker
                                                                                                                           Cardinals defensive back Budda Baker makes
                                                                                                                           big plays against the Cowboys, strips running
                                                                                                                           back Ezekiel Elliott
                                                                                                                           2,142 Tweets


                                                                                                                           Politics · Trending
                                                                                                                           #MarchToThePollsForJoe
                                                                                                                           23.5K Tweets


                                                                                                                           US elections · LIVE
                                                                                                                           California: Election news and
                                                                                                                           updates


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             Witness:
          John Mark Suhy

        Exhibit 38
             10/22/2020 B Gerald




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https://mobile.twitter.com/jmsuhy/status/1222537798491701248                                                                                                                      1/1
Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 928 of 1198




                                                 EXHIBIT 102
5/20/2020         Case
                 John Mark5:18-cv-07182-EJD
                           Suhy on Twitter: "@gwenshap Document       98-1
                                                       @neo4j enterprise used toFiled  12/11/20
                                                                                 be open                Page
                                                                                         source until 3.4         929they
                                                                                                          or 3.5. After of closed
                                                                                                                           1198EE - a fork called …

                     Search Twitter                                                                                Log in            Sign up


             Gwen (Chen) Shapira @gwenshap · Sep 22, 2019
             I'm exploring graph databases a bit. Neo4j has one of the fanciest developer
             on-boarding experiences I've seen to date. But the early examples don't
             really differentiate it from RDBMS. There are entities (movies, users, ratings)
             and they have relationships.
                 24                   5                    49


             Gwen (Chen) Shapira @gwenshap · Sep 22, 2019
             You can ask questions like "How many users rated each matrix movie", but I
             can do the same with RDBMS, using almost identical query language.
             I'm sure there's a point to graph databases, but I'm not seeing it yet.
                 6                                         1


             Gwen (Chen) Shapira @gwenshap · Sep 22, 2019
             Oh and the license is a bit of a problem. AFAIK AGPL is incompatible with
             Apache V2, so I can't see a future where Kafka Streams or Flink have
             embedded Neo4j. Also, the DB is only HA in the very expensive version. I
             could use Kafka for dual-writes, I guess.
                 3                                         3


             John Mark Suhy
             @jmsuhy                                                                           New to Twitter?
                                                                                               Sign up now to get your own personalized timeline!
    Replying to @gwenshap
                                                                                                                      Sign up
    @neo4j enterprise used to be open source until 3.4 or
    3.5. After they closed EE - a fork called #ONgDB (Open
    Native Graph Database) put the enterprise code back in                                     Relevant people
    the code base. It is 100% free and open - no costs for
                                                                                                         John Mark Suhy
    causal clustering, cores, etc.                                                                       @jmsuhy
                                                                                                                                          Follow

                                                                                                         software developer / enterprise
                                                                                                         architect, entrepreneur, and amateur
                                                                                                         angler.

                                                                                                         Gwen (Chen) Shapira
                                                                                                                                          Follow
                                                                                                         @gwenshap
                                                                                                         Engineering Manager. Opinionated.
                                                                                                         Appreciates good software
                                                                                                         engineering whenever it can be found.
                                                                                                         High latency, high throughput.
                                                                                                         She/her.

                                                                                                         Neo4j
                                                                                                                                          Follow
                                                                                                         @neo4j
                                                                                                         The #1 platform for connected data.
                                                                                                         Developers start here:
      Graph Community - The Graph Foundation                                                             neo4j.com/developer/
      OPEN. THE GRAPH FOUNDATION provides support for The Graph Foundation
      Community of Open Source software projects, which provide software products …
        graphfoundation.org                                                                    What’s happening

    8:07 PM · Apr 2, 2020 · Twitter for iPhone                                                 COVID-19 · LIVE
                                                                                               COVID-19: WHO warns of
                                                                                               potential hydroxychloroquine
    1 Like
                                                                                               side effects
                                                                                               170K people are Tweeting about this


                                                                                               #DisneyBundle

https://mobile.twitter.com/jmsuhy/status/1245910792135991296                                                                                        1/2
                                                                                                                                        N4J_018989
5/20/2020         Case
                 John Mark5:18-cv-07182-EJD
                           Suhy on Twitter: "@gwenshap Document       98-1
                                                       @neo4j enterprise used toFiled  12/11/20
                                                                                 be open                Page
                                                                                         source until 3.4         930they
                                                                                                          or 3.5. After of closed
                                                                                                                           1198EE - a fork called …
                                                                                               Better together on Streaming Day
                                                                                                 Promoted by Disney+
                  Search Twitter                                                                                Log in        Sign up

                                                                                               COVID-19 · LIVE
                                                                                               COVID-19 updates for the US



                                                                                               NFL · Trending
                                                                                               Taysom Hill
                                                                                               1,073 Tweets

                                                                                                  BuzzFeed News   · 5 hours ago
                                                                                               A Coronavirus Patient Shared
                                                                                               Shocking Before-And-After
                                                                                               Hospital Photos


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                                                                                                                                   N4J_018990
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                                                 EXHIBIT 103
8/22/2020           Case
                   John Mark5:18-cv-07182-EJD            Document
                             Suhy on Twitter: "@haagenhasle             98-1
                                                            @emileifrem You      Filed
                                                                            can also     12/11/20
                                                                                     use ONgDB.          Page
                                                                                                It is an up       932
                                                                                                            to date      ofneo4j
                                                                                                                    fork of 1198 with ee features add…

                                            Tweet                                                                             Search Twitter


                                            Emil Eifrem @emileifrem · Aug 19
        Explore                             I'm SOOOO excited about this!                                               New to Twitter?
                                                                                                                        Sign up now to get your own personalized timeline!
                                                     Neo4j   @neo4j · Aug 19
        Settings
                                              Announcing #Neo4jAura on #GoogleCloudPlatform – by David Allen                                   Sign up
                                              (@mdavidallen)

                                              r.neo4j.com/34acrls
                                              #Neo4jInTheCloud #GraphDatabase #GCP                                      Relevant people
                                                 1                    6                 20                                         John Mark Suhy
                                                                                                                                                                   Follow
                                                                                                                                   @jmsuhy
                                            Hågen Hasle @haagenhasle · Aug 20                                                      software developer / enterprise
                                            Congrats! I work at Nav in Norway. We are already using GCP. Is Aura on                architect, entrepreneur, and amateur
                                            GCP managed by you or by Google? Do we need a new deal to use Neo4j?                   angler.
                                            (An additional deal with you?) Do we need a new «data processor
                                            agreement» (gdpr)? Or is everything taken care of?                                     Hågen Hasle
                                                                                                                                                                   Follow
                                                 3                                                                                 @haagenhasle


                                            John Mark Suhy                                                                         Emil Eifrem
                                            @jmsuhy                                                                                                                Follow
                                                                                                                                   @emileifrem
                                                                                                                                   Neo4j. Graphs Are Everywhere.
                                   Replying to @haagenhasle and @emileifrem

                                   You can also use ONgDB. It is an up to date fork of                                  What’s happening
                                   neo4j with ee features added back in. No limit on
                                                                                                                        Entertainment · 3 hours ago
                                   cluster size, cores. Its adoption has been growing as                                New trailer for Wonder Woman
                                   people learn about @neo4j’s bad behavior and                                         1984 is here

                                   deception around their licensing. More to come..                                     Trending with: Chris Pine


                                                                                                                        #DCFanDome
                                                                                                                        DCFanDome.com, A Global 24-hr Show
                                                                                                                           Promoted by DC


                                                                                                                        Trending in United States
                                                                                                                        Avengers
                                                                                                                        39.6K Tweets


                                                                                                                        NBA · 3 hours ago
                                                                                                                        Raptors' Nick Nurse named
                                                                                                                        NBA's 2019-2020 Coach of the
                                                                                                                        Year
                                                                                                                        Trending with: Nick Nurse


                                                                                                                        Politics · Trending
                                     Graph Community - The Graph Foundation
                                                                                                                        #ByeEric
                                     OPEN. THE GRAPH FOUNDATION provides support for The Graph Foundation
                                     Community of Open Source software projects, which provide software products …      21.5K Tweets

                                       graphfoundation.org
                                                                                                                        Show more
                                   9:40 AM · Aug 22, 2020 · Twitter for iPhone
                                                                                                                        Terms Privacy policy Cookies Ads info More
                                                                                                                        © 2020 Twitter, Inc.


                                            John Mark Suhy @jmsuhy · 3h
                                            Replying to @jmsuhy @haagenhasle and 2 others
                                            4.x is around the corner as well. ONgDB is being used on large production
                                            deployments for the US government.




                                 Don’t miss what’s happening                                                                                          Log in        Sign up
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https://twitter.com/jmsuhy/status/1297212057092317191                                                                                                                         1/2
                                                                                                                                                            N4J_019019
8/22/2020           Case
                   John Mark5:18-cv-07182-EJD            Document
                             Suhy on Twitter: "@haagenhasle             98-1
                                                            @emileifrem You      Filed
                                                                            can also     12/11/20
                                                                                     use ONgDB.          Page
                                                                                                It is an up       933
                                                                                                            to date      ofneo4j
                                                                                                                    fork of 1198 with ee features add…

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                                                                                                                                                       Follow
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                                                                                                                        architect, entrepreneur, and amateur
                                                                                                                        angler.

                                                                                                                        Hågen Hasle
                                                                                                                                                       Follow
                                                                                                                        @haagenhasle


                                                                                                                        Emil Eifrem
                                                                                                                                                       Follow
                                                                                                                        @emileifrem
                                                                                                                        Neo4j. Graphs Are Everywhere.



                                                                                                             What’s happening

                                                                                                             Entertainment · 3 hours ago
                                                                                                             New trailer for Wonder Woman
                                                                                                             1984 is here
                                                                                                             Trending with: Chris Pine


                                                                                                             #DCFanDome
                                                                                                             DCFanDome.com, A Global 24-hr Show
                                                                                                                Promoted by DC


                                                                                                             Trending in United States
                                                                                                             Avengers
                                                                                                             39.6K Tweets


                                                                                                             NBA · 3 hours ago
                                                                                                             Raptors' Nick Nurse named
                                                                                                             NBA's 2019-2020 Coach of the
                                                                                                             Year
                                                                                                             Trending with: Nick Nurse


                                                                                                             Politics · Trending
                                                                                                             #ByeEric
                                                                                                             21.5K Tweets


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                                                                                                                                                N4J_019020
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                                                 EXHIBIT 104
10/2/2019         Case
                 John Mark5:18-cv-07182-EJD               Document
                           Suhy on Twitter: "If you ever want to use causal98-1      Filed
                                                                            clustering        12/11/20
                                                                                       while staying        Page
                                                                                                     100% open      935
                                                                                                               source, you of
                                                                                                                           can1198
                                                                                                                              do so with #ONgDB (Ne…


        Home            Moments
                                  2                           Search Twitter                               Have an account? Log in
                                                                                                                                          
                            John Mark Suhy
                            @jmsuhy
                                                                                                          Follow            
                Replying to @chpanto @akchux @neo4j

           If you ever want to use causal clustering while
           staying 100% open source, you can do so
           with #ONgDB
           (Neo4j core + enterprise features they
           removed when they closed Neo4j Enterprise
           edition at 3.5).
           JustSuhy
   John Mark    ensure you About
                             use      the same version number
                              © 2019 Twitter
                                    Help Center
   @jmsuhy
           as your current Terms
                            Neo4j          version.
                                   Privacy policy
                             Cookies Ads info
   software developer / enterprise
               9:39 AM - 23 and
   architect, entrepreneur, Feb 2019
   amateur angler.

              1 Like
       Mount Vernon, VA

                
        Joined July 2011
                    2                                  1



                            John Mark Suhy @jmsuhy · Feb 23                                                                 
                            Replying to @jmsuhy @chpanto and 2 others
                            Just to be clear - #ONgDB is a free and open fork of Neo4j managed by the
                            GraphFoundation. It merges in the neo4j core code for each release.

                                                        graphfoundation/ongdb
                                                        ONgDB (Open Native Graph DB) - Neo4j fork with
                                                        enterprise code base. ONgDB keeps in sync with the
                                                        Neo4j github repo. - graphfoundation/ongdb
                                                        github.com


                                 1                             1

                            Cesar Pantoja, PhD @chpanto · Feb 24                                                            
                            Great! We'll have a look!

                                           
                            John Mark Suhy @jmsuhy · Feb 23                                                                 
                            Replying to @jmsuhy @chpanto and 2 others
                            see
https://twitter.com/jmsuhy/status/1099363161327747072                                                                                            1/1
                                                                                                                                    N4J_018927
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                                                 EXHIBIT 105
7/19/2020          Case
                  The Graph5:18-cv-07182-EJD            Document
                            Foundation on Twitter: "#ONgDB (Open #Neo4j98-1     Filed
                                                                        Enterprise)      12/11/20
                                                                                    release             Page
                                                                                            3.4.12 support release937
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                                                                                                  campaign rally
      ONgDB 3.4.12 - Open Neo4j Enterprise - The Graph Foundation                                 Trending with: Kanye and Harriet Tubman
      The ONgDB 3.4.12 maintenance release of the open source Neo4j Enterprise
      distribution by The Graph Foundation under the AGLPv3 License.                              Trending in United States
         graphfoundation.org                                                                      Kayne
                                                                                                  3,236 Tweets
    7:30 AM · Jan 23, 2019 · Twitter Web Client
                                                                                                  Wrestling · Trending
     2 Retweets    2 Likes                                                                        Cesaro
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         graphfoundation.org                                                                   Kayne
                                                                                               3,236 Tweets
    6:24 AM · Mar 21, 2019 · Hootsuite Inc.
                                                                                               Wrestling · Trending
     3 Retweets   2 Likes                                                                      Cesaro
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    5:25 AM · May 10, 2019 · Twitter Web Client
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     3 Retweets   3 Likes                                                                       Cesaro
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        graphfoundation.org                                                                      Kayne
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    6:58 PM · Nov 27, 2019 · Twitter Web App
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                                                                                                  Kanye West says Harriet Tubman
                                                                                                  'never actually freed the slaves'
                                                                                                  during his South Carolina
                                                                                                  campaign rally
      ONgDB - Open Source Neo4j Enterprise Graph - The Graph Foundation                           Trending with: Kanye and Harriet Tubman
      ONgDB is an open source fork of Neo4j Enterprise that is developed and released
      under the AGPLv3 License by The Graph Foundation.                                           Trending in United States
        graphfoundation.org                                                                       Kayne
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    2:16 PM · Jan 18, 2020 · Twitter Web App
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   ONgDB is a high performance, native graph store with everything you would expect from an enterprise-ready
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   Current Release



     ONgDB 3.6.0.RC1

     2 May 2020: Release Notes | Source Code | Documentation



     Mac/Linux                       ongdb-enterprise-3.6.0.RC1-unix.tar.gz

     Windows 64 bit                  ongdb-enterprise-3.6.0.RC1-windows.zip
                                                                                                            GFI 30(b)(6)
     Windows 32 bit                  ongdb-enterprise-3.6.0.RC1-windows.zip                               Brad Nussbaum

     Docker Image                    ONgDB 3.6.0.RC1 Docker Hub
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https://www.graphfoundation.org/projects/ongdb/                                                                            1/5
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                                         docker run \
                                                  --publish=7474:7474 --publish=7687:7687 \
                                                  --volume=$HOME/ongdb/data:/data \
                                                  graphfoundation/ongdb:3.6



                                     Go to: http://localhost:7474




   Latest Stable Release



     ONgDB 3.5.17

     9 April 2020: Release Notes | Source Code



     Mac/Linux                       ongdb-enterprise-3.5.17-unix.tar.gz

     Windows 64 bit                  ongdb-enterprise-3.5.17-windows.zip

     Windows 32 bit                  ongdb-enterprise-3.5.17-windows.zip

                                     ONgDB 3.5.17 Docker Hub




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         3.5.16
         3.5.15
         3.5.14
         3.4.17
         3.4.15


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                  ONgDB 3.5.4

                  ONgDB 3.6.0.M1

                  ONgDB 3.6.0.M2
                  ONgDB 3.6.0.RC1

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   availability clustering, ACID transactions, and uses the intuitive, pattern-centric open cypher query language. Developers use graph
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   C u r r en t Rel ea s e


    O Ng D B 3 . 6 . 2
    4 December 2020: Release Notes | Source Code | Documentation

    Mac/Linux                      ongdb-enterprise-3.6.2-unix.tar.gz
    Windows 64 bit                 ongdb-enterprise-3.6.2-windows.zip
    Windows 32 bit                 ongdb-enterprise-3.6.2-windows.zip
    Docker Image                   ONgDB 3.6.2 Docker Hub


                                         docker run \
                                            --publish=7474:7474 --publish=7687:7687 \
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                                            graphfoundation/ongdb:3.6



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    28 October 2020: Release Notes | Source Code

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    Windows 64 bit                 ongdb-enterprise-3.5.22-windows.zip
    Windows 32 bit                 ongdb-enterprise-3.5.22-windows.zip
                                   ONgDB 3.5.22 Docker Hub


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                                            --publish=7474:7474 --publish=7687:7687 \
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       3.5.18
       3.5.17
       3.4.17
       3.4.15

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Neo4j Desktop vs Neo4j Server
Neo4j Graph Platform


stephanie (Stephanie) #1 November 16, 2018, 7:31pm

Do the terms of use for "neo4j Desktop" apply to the ONGDB server which I downloaded under AGPLv3 license? I read the Desktop terms
carefully and they refer everywhere to "neo4j Desktop software". Has anybody encountered this issue? I am feeling really stupid for not
thinking this through before downloading the Desktop Software, especially as database authentication keeps failing. Before I spend any
more time troubleshooting, could someone indicate any features of Desktop that are really worth it (other than UI)? I am planning production,
so the license is important to me. Thank you!




andrew.bowman (Andrew Bowman) #2 November 16, 2018, 10:47pm

Hi Stephanie,

You may want to review our licensing page. In particular, for Neo4j Desktop:


    Neo4j Desktop is the new mission control center for Developers. It’s free with registration, and it includes a free development license for
    Enterprise Edition allowing you to use Neo4j Enterprise on your local desktop for developing applications .


Basically it's for local development only, Neo4j Desktop isn't intended or licensed for deployment or usage as a server version (we have the
server versions of Neo4j Community and Enterprise for that instead). It can freely be used as a client to connect to a separate server
deployment, however.

You may want to review the rest of the licensing page, as there are various scenarios which will allow free Neo4j Enterprise usage (see the
FAQ for details).

                                                                                                                                                          GFI 30(b)(6)
                                                                                                                                                        Brad Nussbaum
                                                                                                                                  Witness:
                                                                                                                               John Mark Suhy
                                                                                                                                                          Ex 36
stephanie (Stephanie) #3 November 17, 2018, 7:27pm
                                                                                                                             Exhibit 27                 10/16/2020 D Myers

https://community.neo4j.com/t/neo4j-desktop-vs-neo4j-server/3066/print                                                                                                  1/2
                                                                                                                                 10/22/2020 B Gerald
                                                                                                                                                       N4J-GFI_000008
9/13/2019                                   Case 5:18-cv-07182-EJD
                                                            Neo4j DesktopDocument       98-1
                                                                          vs Neo4j Server - Neo4j Filed  12/11/20
                                                                                                  Graph Platform         PageCommunity
                                                                                                                 - Neo4j Online 974 of 1198
Thanks! I will try to get the Desktop version working a bit longer before I entirely give up!




https://community.neo4j.com/t/neo4j-desktop-vs-neo4j-server/3066/print                                                                                  2/2
                                                                                                                                              N4J-GFI_000009
Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 975 of 1198




                                                 EXHIBIT 116
               Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 976 of 1198

From:        Benjamin Nussbaum (ben@atomrain.com)
To:          John Mark Suhy (jmsuhy@purethink.com)
CC:          Brad Nussbaum (brad@atomrain.com)
BCC:
Subject:     Re: Neo4j Desktop vs Neo4j Server - Neo4j Graph Platform - Neo4j Online Community
Attachments:
Sent:        01/09/2019 05:01:28 PM -0800 (PST)

That’s unfortunate, but lol that they posted it on the neo4j site.

--
Benjamin Nussbaum
President and Chief Technology Officer
AtomRain, Inc.
Phone: (310) 433-9305
Email: ben@atomrain.com
                | Innovation for a Connected World




     On Jan 9, 2019, at 7:45 PM, John Mark Suhy <jmsuhy@purethink.com> wrote:

     thought you would like this. Someone having issues using ongdb with neo4j-desktop

     https://community.neo4j.com/t/neo4j-desktop-vs-neo4j-server/3066




                                                                                                    Witness:
                                                                                                 John Mark Suhy

                                                                                                 Exhibit 26
                                                                                                  10/22/2020 B Gerald




                                                                                                    GFI 30(b)(6)
                                                                                                  Brad Nussbaum

                                                                                                     Ex 37
                                                                                                   10/16/2020 D Myers


                                                                                                     IGOV0001570054
Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 977 of 1198




                                                 EXHIBIT 117
Modifying the AGPL License by adding restrictions is not allowed · Issue #11821 · neo4j/neo4j · GitHub
                           Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 978 of 1198

          neo4j / neo4j

           Sign up

                             Code      Issues 201    Pull requests 7        Projects 0        Actions    Wiki   Security   Pulse




         Modifying the AGPL License by adding restrictions is not                                                                     New issue


         allowed #11821
           Closed     jmsuhy opened this issue May 19, 2018 · 12 comments



                         jmsuhy commented May 19, 2018 • edited


                         The AGPL license files had a restrictions added to it which I am pretty sure
                         is not allowed by AGPL.
                         So it seems that you have either just made Neo4j Enterprise closed source
                         - i.e. no longer AGPL - or you've made a mistake and accidentally added
                         restrictions to it.

                         I am pretty sure the community would like to know what is going on with
                         this.

                         https://github.com/neo4j/neo4j/blob/3.4/enterprise/server-
                         enterprise/LICENSE.txt

                         "Commons Clause" License Condition

                         The Software is provided to you by the Licensor under the License, as
                         defined below, subject to the following condition. Without limiting
                         other conditions in the License, the grant of rights under the License
                         will not include, and the License does not grant to you, the right to
                         Sell the Software. For purposes of the foregoing, "Sell" means
                         practicing any or all of the rights granted to you under the License
                         to provide to third parties, for a fee or other consideration,
                         a product or service that consists, entirely or substantially,
                         of the Software or the functionality of the Software. Any license
                         notice or attribution required by the License must also include
                         this Commons Cause License Condition notice.


                            2
                     THUMBS_UP react

                                                                                                                                  Witness:
                                                                                                                               John Mark Suhy

                                                                                                                             Exhibit 25
                                                                                                                                   10/22/2020 B Gerald




https://github.com/neo4j/neo4j/issues/11821[6/10/2020 6:07:23 PM]                                                                     N4J_019444
Modifying the AGPL License by adding restrictions is not allowed · Issue #11821 · neo4j/neo4j · GitHub
                           Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 979 of 1198
                                  eebus added the operability label May 21, 2018



                          xizhao commented May 21, 2018


                          To try to get ahead of any misunderstandings, the AGPL doesn't "disable-
                          itself" if exceptions are added from the original licensor. It simply becomes
                          a new license.

                          The scope of license alteration restrictions (as well as these kinds of
                          restrictions in all OSS licenses) is to disable the ability for "man-in-the-
                          middle" sub-licensing, effectively ensuring that the license grant comes
                          from the original copyright holder no matter how the software is
                          conveyed. However, as the original copyright holder of the codebase is
                          Neo, they can add whatever terms or exceptions best fit their original
                          licensing intent for their commercial product -- the protections in the
                          original AGPL prevents third parties from altering or sub-licensing those
                          terms.

                          We're not dealing with a copy of the software here -- the whole file is the
                          original license document provided by Neo. Sure it's not the original AGPL,
                          but there's no way I'd call it "Enterprise closed source".


                            1
                    THUMBS_DOWN react




                          jmsuhy commented May 22, 2018 • edited


                          The issue at hand is that you can not add restrictions to AGPL then
                          misguide the community and committers as to what is happening.

                          Not only does AGPL forbid this, it is not fair to committers and the
                          community as a whole.

                          If your intention was to keep Neo4j free and open, then you should know
                          your restrictions are not allowed by AGPL and we can continue the
                          'debate' in that direction.

                          I think you should be upfront with the community that helped make Neo4j
                          what it is today.


                            1
                     THUMBS_UP react




                          digitalstain commented May 22, 2018



https://github.com/neo4j/neo4j/issues/11821[6/10/2020 6:07:23 PM]                                         N4J_019445
Modifying the AGPL License by adding restrictions is not allowed · Issue #11821 · neo4j/neo4j · GitHub
                           Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 980 of 1198
                         Neo4j is a broad church. We have to balance the interests of our amazing
                         community, our customers and the company too. We've done a lot of
                         thinking about how to best align those interests in our licensing and made
                         a choice to add the Commons Clause to the AGPL license. We think this is
                         the best way we can ensure the long term viability of neo4j as both an
                         open source project and as a commercial endeavour to keep that open
                         source flowing.

                         Github issues probably aren't the best place to have detailed licensing
                         discussions, and much as we appreciate the input and enthusiasm of the
                         participants we're going to close it now. This is clearly deserving of a
                         longer piece on why the license is changing and we'll get that published as
                         soon as we can.

                         Thanks to everyone for sharing your views!


                            3                4                1
                     THUMBS_UP react THUMBS_DOWN react CONFUSED react




                                  digitalstain closed this May 22, 2018



                         digitalstain referenced this issue May 22, 2018



                         Updates enterprise LICENSE.txt and NOTICE.txt                ……

                                                                                                         6558e5e




                         Zappes commented Aug 23, 2018


                         I would expect the text of a a License to be subject to copyright, and the
                         author probably has the right to forbid changes to the text. Without being
                         a legal expert, I can't say if you may perhaps be allowed to copy the AGPL,
                         add your clause and use the license under a different name like Neo4jPL -
                         but I am quite sure that you can't change the text and re-publish it using
                         the same name, i.e. "AGPL".


                            2
                     THUMBS_UP react




                         akhmerov commented Aug 23, 2018


                         @Zappes it's more strict than it just being not allowed to call the license


https://github.com/neo4j/neo4j/issues/11821[6/10/2020 6:07:23 PM]                                                  N4J_019446
Modifying the AGPL License by adding restrictions is not allowed · Issue #11821 · neo4j/neo4j · GitHub
                           Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 981 of 1198
                         AGPL. The header of AGPL clearly states that modifying it is a violation of
                         the FSF copyright:

                                Copyright (C) 2007 Free Software Foundation, Inc. http://fsf.org/
                                Everyone is permitted to copy and distribute verbatim copies
                                of this license document, but changing it is not allowed.

                         Therefore even using significant parts of AGPL is a copyright violation.


                            8
                     THUMBS_UP react




                         lsmith77 commented Aug 23, 2018


                         also whatever the copyright situation might be, its important to
                         communicate clearly, which I think is what the issue creator is asking for. if
                         you want to use the AGPL, then use it without modification. if you want a
                         mix of the AGPL and common clause, then make sure you do so in a clear
                         and transparent manner.


                            6
                     THUMBS_UP react




                         greve commented Aug 23, 2018


                         I've given my take on the Commons Clause at
                         https://twitter.com/ggreve/status/1032520322170462208 and
                         https://twitter.com/ggreve/status/1032657522400866305.

                         TL;DR: This turns anything licensed under it into proprietary software with a
                         very vague, wide reaching license that establishes serious legal liability for
                         all developers and users. It is the end of the commons that is formed by an
                         Open Source community, project and companies.

                         I assume the CLA will cover this, but at the very least I would assume
                         developers did not expect a

                                "Haha, we're taking this proprietary and by the way we're reserving
                                the right to sue you in case you work with Neo4j professionally"

                         kind of move when they signed the CLA.

                         Yet that is precisely what this change seems to represent.


                            3
                     THUMBS_UP react




https://github.com/neo4j/neo4j/issues/11821[6/10/2020 6:07:23 PM]                                         N4J_019447
Modifying the AGPL License by adding restrictions is not allowed · Issue #11821 · neo4j/neo4j · GitHub
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                         jmsuhy commented Aug 24, 2018


                        I wanted to chime in too. When the ticket was closed the way it was, I just
                        gave up on it.

                        @greve , the other companies who adopted the 'commons clause' do not
                        have AGPL licenses like Neo4j adopted for the enterprise edition, and
                        which the clause was added to.

                        The other companies who adopted this 'commons clause' have non GPL
                        licenses.

                        Redis: BSD
                        dGraph: Apache 2

                        The AGPL license states: If the Program as you received it, or any part of it,
                        contains a notice stating that it is governed by this License along with a
                        term that is a further restriction, you may remove that term.

                        We contacted the free software foundation as well, I made sure to do my
                        homework before submitting the original ticket.

                        Neo's intentions around this clause seem obvious to me. Their government
                        sales team have already been trying to scare agencies from using neo4j
                        enterprise under the open source license by referencing the commons
                        clause. I'll write a blog post on this since most are not aware of some of
                        this behavior.

                        I started working with the guys from GraphGrid on a way of ensuring
                        Neo4j stays free and open to the community.

                        We already formed a non-profit called the GraphFoundation
                        (https://graphfoundation.org), with an apache like governance model,
                        which ensures no single company or person(s) control the future direction.

                        We invite the community to help us with this 'labor of love'.

                        I have nothing but respect for what Neo has built, they have a very
                        talented team!

                        If more people call them out on this behavior, maybe things can change
                        and they can embrace open source and support the community that made
                        them who they are.

                        Just my 2 cents...


                           11                1
                     THUMBS_UP react THUMBS_DOWN react




https://github.com/neo4j/neo4j/issues/11821[6/10/2020 6:07:23 PM]                                        N4J_019448
Modifying the AGPL License by adding restrictions is not allowed · Issue #11821 · neo4j/neo4j · GitHub
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                            jmsuhy mentioned this issue Sep 10, 2018

                       license additions ineffective #12027
                           Open



                       MrBerg added a commit to MrBerg/neo4j that referenced this issue
                       Oct 15, 2018



                       Mention Commons Clause more in README                ……
                                                                                                         Verified

                                                                                                         205a00a




                            MrBerg mentioned this issue Oct 15, 2018

                       Mention Commons Clause once more in README #12052
                           Closed




                        belarm commented Nov 4, 2018


                       "Github issues probably aren't the best place to have detailed licensing
                       discussions"

                       Then where is, exactly?




                        heathermeeker commented Nov 13, 2018


                       The provision in AGPL about removing restrictions (Section 7) does not
                       conflict with Commons Clause, if the author of the AGPL code applies
                       Commons Clause. There may seem to be a conflict, but only when Section
                       7 is read out of context.

                       In AGPL, “you” refers to the recipient of the code, in other words, the
                       licensee. (See Section 0, which says, “Each licensee is addressed as "you".”)
                       Section 7 is about what terms recipients -- meaning licensees -- of AGPL
                       code can and cannot add when they redistribute the code to others.
                       Section 7 starts by saying, “When you convey a copy of a covered work,
                       you may at your option…” The entire Section was written to govern the
                       actions of licensees only. The “conflicting” clause in Section 7 says, “If the


https://github.com/neo4j/neo4j/issues/11821[6/10/2020 6:07:23 PM]                                                   N4J_019449
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                         Program as you received it, or any part of it, contains a notice stating that
                         it is governed by this License along with a term that is a further restriction,
                         you may remove that term.” This is not a limitation on the licensor, who is
                         not referred to as “you” anywhere in the document.

                         To be clear, I represent Neo4j and I am responding on behalf of Neo4j at
                         their request.


                            2
                     THUMBS_UP react




                         akhmerov commented Nov 13, 2018 • edited


                         @heathermeeker can you please also comment on the statement in the
                         preface of AGPL:

                                Copyright (C) 2007 Free Software Foundation, Inc. http://fsf.org/
                                Everyone is permitted to copy and distribute verbatim copies
                                of this license document, but changing it is not allowed.

                         In your opinion, does the addition of the commons clause constitute a
                         violation of FSF copyright? If not, can you please explain why?




                         Regarding the clause in Section 7: in your opinion, does "this License" refer
                         to AGPL or AGPL + commons clause? The latter seems to contradict the
                         definition in Section 0.

                         If "this License" does indeed refer to AGPL alone, do you disagree that
                         Section 7 permits the licensees to remove the commons clause?

                         To me it seems to be the case because: the program as you (the licensee)
                         received it contains contains a notice (the notice at the header of the
                         document) stating that it is governed by this License along with a term that
                         is a further restriction (commons clause) you may remove that term.

                         Please let me know what this interpretation misses.


                            3
                     THUMBS_UP react




                         belarm commented Nov 23, 2018


                         Granted in all cases, but I believe you've missed something:
                         “If the Program as you received it, or any part of it, contains a notice
                         stating that it is governed by this License along with a term that is a


https://github.com/neo4j/neo4j/issues/11821[6/10/2020 6:07:23 PM]                                          N4J_019450
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                            further restriction, you may remove that term.”


                            If 'you' in this sentence refers to the licensee, as you claim, then *I*
                            (the licensee) am free to remove that clause.
                               …


                               3
                        THUMBS_UP react




               Sign up for free           to join this conversation on GitHub. Already have an account?

            Sign in to comment


         Assignees

         No one assigned



         Labels

          operability



         Projects

         None yet



         Milestone

         No milestone



         Linked pull requests

         Successfully merging a pull
         request may close this issue.

         None yet



         10 participants




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         Terms
         Privacy
         Security



https://github.com/neo4j/neo4j/issues/11821[6/10/2020 6:07:23 PM]                                         N4J_019451
Modifying the AGPL License by adding restrictions is not allowed · Issue #11821 · neo4j/neo4j · GitHub
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         Status
         Help

         Contact GitHub
         Pricing
         API
         Training
         Blog
         About




https://github.com/neo4j/neo4j/issues/11821[6/10/2020 6:07:23 PM]                                        N4J_019452
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                                                 EXHIBIT 118
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 988 of 1198


From:                Bob Trudeau (btrudeau)
To:                  Graph Foundation Admin
Subject:             Re: GraphStack Neo4j Question
Date:                Tuesday, July 17, 2018 11:55:17 AM


Hi GF,

Thanks for the information. Unfortunately, my head is swimming with licenses and terminology.

When you say “ONgDB – this is a fully AGPL fork of the open source Neo4j Github repository” what
does AGPL mean? Is that AGPLv3 (“GNU AFFERO GENERAL PUBLIC LICENSE Version 3, 19 November
2007”) from the FSF? Is that the same AGPLv3 license referenced below regarding Neo4j Enterprise
from the Neo4j Github repository (https://github.com/neo4j/neo4j) albeit with the “additional
sections” you mentioned?




Essentially, I want to be able to provide the Micron Legal department with the most-correct licensing
information so that they can perform their due diligence regarding liability and exposure. If there is a
“non-shield” option that would be preferable. Otherwise Micron would simply be trading one
commercial license with Neo4j for another commercial license with another provider such as
GraphGrid, correct?

When I feel like I have more of the licensing basics in-hand and have specific questions to ask (so I
don’t waste your time answering questions that I could have answered online) I may want to take
you up on your offer of a phone call.

Thanks,

Bob Trudeau
Enterprise Architect
IT Enterprise Analytics & Data
Micron Technology, Inc.
Office +1 (916) 458-3277
btrudeau@micron.com


From: Graph Foundation Admin [mailto:admin@graphfoundation.org]
Sent: Monday, July 16, 2018 6:53 AM
To: Bob Trudeau (btrudeau) <btrudeau@micron.com>
Subject: [EXT] Re: GraphStack Neo4j Question

Hi Bob,


CONFIDENTIAL                                                                                  GFI000284
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I received your question from iGov. We're consolidating support of the open source neo4j graph
database distributions under a non-profit organization: Graph Foundation -
www.graphfoundation.org

I can help you answer your questions.

The naming you'll see for the build on the foundation site is ONgDB - this is a fully AGPL fork of the
open source Neo4j Github repository with all restrictive marks from Neo4j, Inc. removed. We've
taken the necessary steps make sure we keep the repository fully AGPL which is the license that
Neo4j, Inc has released it under, but then added additional sections to the AGPL license, which in
our conversations with FSF (Free Software Foundation) is not legal to do when using the AGPL
license.

If you are looking for a full shield of liability, we recommend using one of our supporters such as
GraphGrid. I can put you in contact with them if that full shield is of interest.

If it makes sense to have a call or if you have specific references that would help your organization
assess the validity of it, please let us know and we can try to accommodate.

Thanks You,
GF


---------- Forwarded message ---------
From: Bob Trudeau (btrudeau) <btrudeau@micron.com>
Date: Wed, Jul 11, 2018 at 11:47 AM
Subject: GraphStack Neo4j Question
To: info@igovsol.com <info@igovsol.com>


To:   iGov Information (info@igovsol.com)
From: Bob Trudeau (Micron Technology, Inc.)
Date: Wednesday, July 11, 2018

I am currently evaluating potential Neo4j options other than a commercial license. The availability of a free, open-
source version of Neo4j Enterprise from GraphStack is of obvious interest.

As an employee of Micron I need to ensure that I am operating with integrity and complying with all legal
requirements in the procurement and use of software such as Neo4j.

What references and/or other information can GraphStack provide to assist me in confirming the legality of the
GraphStack Neo4j Enterprise software?

Regards,

Bob Trudeau
Enterprise Architect
IT Enterprise Analytics & Data


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 Micron Technology, Inc.
 Office +1 (916) 458-3277
 btrudeau@micron.com




CONFIDENTIAL                                                        GFI000286
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                                                 EXHIBIT 119
                Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 992 of 1198

From:        Keshav Nagpal (Keshav@gravityilabs.com)
To:          John Mark Suhy (jmsuhy@igovsol.com)
CC:          Lewis Lu (Lewis@gravityilabs.com)
BCC:
Subject:     RE: Neo4j Pricing
Attachments:
Sent:        12/05/2018 09:27:00 PM -0800 (PST)

Thanks for your response John,
I’m working with neo4j 3.4.9 Enterprise on my desktop
And we want to host this on Azure, But can we use this DB to support our commercial software without making it open
source,

I found this on ONGDB Github repo

This GitHub repository contains mixed GPL and AGPL code. Our Community edition (in the community/ directory) is GPLv3.
Our Enterprise edition (enterprise/) is differently licensed under the AGPLv3.
source: https://github.com/GraphFoundation/ongdb

@Lewis Lu can you please take a look at this, and see if we can host this without any license issues.


From: John Mark Suhy <jmsuhy@igovsol.com>
Sent: Wednesday, December 5, 2018 7:09 PM
To: Keshav Nagpal <Keshav@gravityilabs.com>
Subject: Re: Neo4j Pricing

Hello Keshav,

Sure, I can give some guidance. Just so you know ONgDB 3.5 will be out soon as well.

Neo4j removed the enterprise code from the 3.5 codebase, but the ONgDB team took the code before the move and has
been working on updating the open enterprise module.

You may also want to look at GraphGrid (http://graphgrid.com)

What version are you currently working with?

On Tue, Dec 4, 2018, 10:50 PM Keshav Nagpal <Keshav@gravityilabs.com wrote:

  Hi John,

  I read your article, it was very informative
  But recently Neo4j changed their licensing structure

  Neo4j Enterprise : Solely on Commercial license
  Neo4j Community: GPLv3

  We are building one module to be added to our product
  That module uses neo4j db, We’ll be hosting everything on Azure

  Can you help us figure out how can we use Neo4j with BYOL model for the license of neo4j on azure.




                                                                                                        IGOV0001573440.0001
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thanks




                                                                           IGOV0001573440.0002
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                                                 EXHIBIT 120
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 995 of 1198


 From:                  Michael Smolyak
 To:                    Brad Nussbaum
 Cc:                    John Mark Suhy; Shahak Nagiel
 Subject:               OngDB release schedule
 Date:                  Wednesday, January 22, 2020 1:10:56 PM



Hello Brad,

I work with Shahak Nagiel who wrote to you earlier regarding the possibility of using OngDB
instead of the enterprise edition of Neo4j.

I am currently leading the Graph Database team responsible for deploying an OngDB-based
solution into production.

I saw that Neo4j version 4.0 was recently released and wanted to inquire into your
foundation's plans to release the corresponding version of OngDB.

Is it in the plans? If so, what is the time frame for such a release?

Thank you,

Michael

                                Michael Smolyak
                                Principal Engineer
                                w (443) 545-3109 | c (443) 739-9200
                                michael.smolyak@nextcentury.com



2701 Technology Drive, Suite 100 | Annapolis Junction, MD 20701
main: 443.545.3100 | fax: 240.456.0010 | www.nextcentury.com


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immediately.




                                                                                                                                       GFI 30(b)(6)
                                                                                                                                     Brad Nussbaum

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                                                                                                                                      10/16/2020 D Myers



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                                                 EXHIBIT 121
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                ABCDEFGHGCMQRHNMGpHKIHSCBnCBqF`Loÿ
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                G8LH274074M07F4N5ÿPUUVPÿ
                G8LJCC;G;+84=27W;,,03H2G127074*5ÿ?AT-ÿ
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                                                  EXHIBIT 124
9/13/2019                                   Case 5:18-cv-07182-EJD    Document
                                                                 performance         98-1
                                                                             - Loading        Filedfile12/11/20
                                                                                       large cypher                    Page
                                                                                                        in Neo4J - Stack        1005 of 1198
                                                                                                                         Overflow




   Loading large cypher file in Neo4J
   Asked 7 months ago           Active 7 months ago          Viewed 196 times




             I'm having some difficulty loading a Cypher file into Neo4J in Windows 10. The file in question is a 175 Mb .cql file filled with more than a
             million lines of nodes and edges (separated by semicolons) in the Cypher language -- CREATE [node], that sort of thing. For smaller
     0       items, I have been using an APOC command in the web browser:

               call apoc.cypher.runFile('file:///<file path>')


             but this is too slow for a million+ query file. I've created indexes for the nodes, and am currently running it through a command:

               neo4j-shell -file <file path> -path localhost


             but this is still slow. I was wondering, is there any way to speed up the intake?

             Also, note that I am using an recent ONGDB build, rather than straight Neo4J; I do not believe this will make any substantial difference.

               performance       neo4j     cypher



                                                                                                          edited Jan 16 at 20:14               asked Jan 16 at 19:45
                                                                                                                                                      tq343
                                                                                                                                                      45   8



   2 Answers


             If the
                  Bypurpose
                     using ourofsite,
                                  your  very
                                      you    large CQL
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                                                                                                                                         be very  slow (and
                                                                                                                                              of Service .  may even
             cause an out-of-memory error).
https://stackoverflow.com/questions/54224244/loading-large-cypher-file-in-neo4j                                                                                              1/2
                                                                                                                                                                       N4J_019550
9/13/2019                                   Case 5:18-cv-07182-EJD    Document
                                                                 performance         98-1
                                                                             - Loading        Filedfile12/11/20
                                                                                       large cypher                    Page
                                                                                                        in Neo4J - Stack        1006 of 1198
                                                                                                                         Overflow

     2       If you are ingesting into a new neo4j DB, you should consider refactoring the data out of it and using the import command of neo4j-admin
             tool to efficiently ingest the data.

             If you are ingesting into an existing DB, you should consider refactoring the data and logic out of the CQL file and using LOAD CSV.

                                                                                                                                               answered Jan 16 at 20:50
                                                                                                                                                     cybersam
                                                                                                                                                     45.3k    5   35   58




              I ended up ingesting it using cypher-shell. It's still slow, but at least it does finish. Using it requires one to first open a Neo4J console
              then, in a second command line, use:
      1
                type <filepath>\data.cql | bin\cypher-shell.bat -a localhost -u <user> -p <password> --
                fail-at-end


              This works for Windows 10, although it does take a while.

                                                                                                                                               answered Jan 22 at 14:56
                                                                                                                                                     tq343
                                                                                                                                                     45   8




                   By using our site, you acknowledge that you have read and understand our Cookie Policy, Privacy Policy, and our Terms of Service.

https://stackoverflow.com/questions/54224244/loading-large-cypher-file-in-neo4j                                                                                              2/2
                                                                                                                                                                       N4J_019551
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                                                  EXHIBIT 125
11/12/2020                                     Case 5:18-cv-07182-EJD         Document
                                                               query logging is not working on98-1     Filed
                                                                                              enterprise · Issue12/11/20       Page 1008
                                                                                                                 #4 · graphfoundation/ongdb     of 1198
                                                                                                                                            · GitHub


        graphfoundation / ongdb

             Code           Issues 3            Pull requests 2            Actions          Projects         Wiki         Security          Insights




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                                                            GitHub is home to over 50 million developers working together to host and review code,
                                                                                manage projects, and build software together.

                                                                                                       Sign up




    query logging is not working on enterprise #4                                                                                                                                              New issue


          Closed        ghost opened this issue on May 26, 2019 · 3 comments



                    ghost commented on May 26, 2019 • edited by ghost                                                                                  Assignees

                                                                                                                                                       No one assigned
                        Neo4j version: 3.5.4
                        Operating system: Ubuntu 16.04
                                                                                                                                                       Labels
                        API/Driver: none
                                                                                                                                                       None yet
                        Steps to reproduce
                        Expected behavior : query.log file collect the logs, with configuration of enabling query.log. set true (on conf/neo4j.conf)
                                                                                                                                                       Projects
                        Actual behavior: not collecting any query, the file size of query.log is always 0
                                                                                                                                                       None yet
                    Additionally, include (as appropriate) log-files, stacktraces, and other debug output.

                                                                                                                                                       Milestone
                    Steps to reproduce
                                                                                                                                                       No milestone

                      1. download tarball on https://www.graphfoundation.org/projects/ongdb/
                                                                                                                                                       Linked pull requests
                        file name: ongdb-enterprise-3.5.4-unix.tar.gz
                                                                                                                                                       Successfully merging a pull request may close this
                      2. set enable query logging on file, "conf/neo4j.conf" (remove '#' query.log~~= )                                                issue.

                      3. start neo4j                                                                                                                   None yet



                                                                                                                                                       2 participants

https://github.com/graphfoundation/ongdb/issues/4
                                                                                                                                                                                              N4J_019982
                                                                                                                                                                                                    1/2
11/12/2020                                 Case 5:18-cv-07182-EJD         Document
                                                           query logging is not working on98-1     Filed
                                                                                          enterprise · Issue12/11/20       Page 1009
                                                                                                             #4 · graphfoundation/ongdb     of 1198
                                                                                                                                        · GitHub

                Note: Compare to enterprise, 1 month trial version of neo4j,
                it works with same steps above.
                Note: I tried this with all version of 3.4.0 source code, with maven compile, and run it but, ongDB enterprise version does not
                collect query.log.
                "query.log" is only activated on enterprise model on neo4j.


                Expected behavior
                 logs/query.log should be collecting the logs and changing of file size


                Actual behavior
                 logs/query.log file size always 0.




                bradnussbaum commented on May 28, 2019                                                                                  Contributor


                @Sumin-Lim Thanks for reporting this. We're taking a look.




                jmsuhy commented on May 28, 2019                                                                                        Contributor


                I will verify the issue also exists in 3.5.6-SNAPSHOT as well so we can pinpoint the issue and fix it.




                jmsuhy commented on Sep 17, 2019                                                                                        Contributor


                I tested in 3.5.3, 3.5.4 and 3.5.9-SNAPSHOT and it works fine. I suspect you did not set query.threshold to zero to log all queries.
                See the instructions below.

                dbms.logs.query.enabled=true
                dbms.logs.query.threshold=0

                https://neo4j.com/docs/operations-manual/current/monitoring/logging/query-logging/




                        jmsuhy closed this on Sep 17, 2019




https://github.com/graphfoundation/ongdb/issues/4
                                                                                                                                                       N4J_019983
                                                                                                                                                             2/2
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                    EXHIBIT 126
   REDACTED VERSION OF
  DOCUMENT SOUGHT TO BE
         SEALED
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                                                  EXHIBIT 127
              Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1012 of 1198

From:           John Mark Suhy (jmsuhy@egovsol.com)
To:             Dunn Michael C (Michael.C.Dunn@irs.gov)
CC:             Manoharan Linkavan [Contractor] (Linkavan.Manoharan@irs.gov), Rosenmerkel Lisa S
                (Lisa.S.Rosenmerkel@irs.gov), Weng Guoqing [Contractor] (Guoqing.Weng@irs.gov)
BCC:
Subject:     Re: transition risk question from our ckge neo4j 3.3.2 to ONgdb
Attachments:
Sent:        08/13/2018 12:13:46 PM -0700 (PST)

That sounds good.

Lisa,

I am confident that upgrading to ONgDB 3.4.x for the launch is the smart move for a number of reasons.

We actually prefer to support you on the newest 3.4.x ONgDB versions.

We have been testing the platform with the newest 3.4.x versions within for quite some time as well - switching between 3.3.x
and 3.4.x distributions does not require any changes to the platform.

Also, it is trivial to flip between 3.3 and 3.4 versions in the future as well.

ONgDB open source licenses come directly from the Graph Foundation as well, not from Neo4j Inc, which is a huge benefit
based on their past behavior.

The upgrade would be a low risk move in our opinion.

We can talk more if you wish this week anytime.

Thank you,

John Mark




On Mon, Aug 13, 2018 at 12:12 PM Dunn Michael C <Michael.C.Dunn@irs.gov> wrote:

  Thanks John Mark. Making sure Lisa is looped in on this, and ask her if we’re ok to go ahead and just use ONgDB from
  now on in the CKGE environment. Let’s just hold with 3.3.2 until we get clearance from Lisa.



  _______________________________

  Michael C. Dunn

  Data Management Division/Planning and Analysis

  Research, Applied Analytics, and Statistics




  From: John Mark Suhy [mailto:jmsuhy@egovsol.com]



                                                                                                         IGOV0001573217.0001
             Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1013 of 1198

Sent: Monday, August 13, 2018 11:58 AM
To: Dunn Michael C <Michael.C.Dunn@irs.gov>
Cc: Manoharan Linkavan [Contractor] <Linkavan.Manoharan@irs.gov>; Rosenmerkel Lisa S
<Lisa.S.Rosenmerkel@irs.gov>; Weng Guoqing [Contractor] <Guoqing.Weng@irs.gov>
Subject: Re: transition risk question from our ckge neo4j 3.3.2 to ONgdb



I think we should use ONgDB 3.4.x for the launch. It has a lot of performance enhancements over 3.3.x



We have been testing everything with the 3.3.x and 3.4.x versions , so we know the platform works great with both.




On Mon, Aug 13, 2018 at 8:55 AM Dunn Michael C <Michael.C.Dunn@irs.gov> wrote:

     Hi John Mark,



     Would it be easier to go ahead and use ONgDB now in CKGE or wait and deploy CKGE with Neo4j 3.3.2 we have, and
     then later transition to ONgDB?



     We do not want to move to Neo4j 3.4.x AGPL.




     _______________________________

     Michael C. Dunn

     Data Management Division/Planning and Analysis

     Research, Applied Analytics, and Statistics




--

John Mark Suhy
eGovernment Solutions Inc
jmsuhy@egovsol.com
703-862-7780
https://egovsol.com




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           Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1014 of 1198

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                                                  EXHIBIT 128
                              Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1016 of 1198



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                          2     Jeffrey M. Ratinoff, Bar No. 197241
                                jratinoff@hopkinscarley.com
                          3     HOPKINS & CARLEY
                                A Law Corporation
                          4     The Letitia Building
                                70 South First Street
                          5     San Jose, CA 95113-2406

                          6     mailing address:
                                P.O. Box 1469
                          7     San Jose, CA 95109-1469
                                Telephone:    (408) 286-9800
                          8     Facsimile:    (408) 998-4790

                          9     Attorneys for Plaintiffs
                                NEO4J, INC. and NEO4J SWEDEN AB
                     10

                     11                                          UNITED STATES DISTRICT COURT

                     12                                    NORTHERN DISTRICT OF CALIFORNIA

                     13        NEO4J, INC., a Delaware corporation, and            CASE NO. 5:19-cv-06226-EJD
                               NEO4J SWEDEN AB, a Swedish
                     14        corporation,                                        PLAINTIFF NEO4J, INC.’S REQUEST FOR
                                                                                   ADMISSION, SET ONE, TO DEFENDANT
                     15                            Plaintiffs,                     GRAPH FOUNDATION, INC.

                     16                v.

                     17        GRAPH FOUNDATION, INC., an Ohio
                               corporation, GRAPHGRID, INC., an Ohio
                     18        corporation, and ATOMRAIN INC., a
                               Nevada corporation,
                     19
                                                   Defendants.
                     20

                     21

                     22

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H OPKINS & C ARLEY
  ATTO RNEY S AT LAW
                               842\3571081.3
 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
                               CASE NO. 5:19-CV-06226-EJD
                              Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1017 of 1198



                          1             PROPOUNDING PARTY: NEO4J, INC.

                          2             RESPONDING PARTY:              GRAPH FOUNDATION, INC

                          3             DISCOVERY:                     REQUEST FOR ADMISSIONS

                          4             SET NO.:                       ONE

                          5             Pursuant to Federal Rule of Civil Procedure 36, Plaintiff Neo4j, Inc. (“Plaintiff”) hereby

                          6    serve their Request for Admissions, Set One, on Graph Foundation Inc. (“GFI” or “Responding

                          7    Party”). Plaintiff requests that Responding Party respond to the following Request for

                          8    Admissions, Set One, separately and fully in writing and serve their responses upon Plaintiff

                          9    within thirty (30) days after service of this Request for Admissions, Set One. Such matters will

                     10        be deemed admitted unless a written response is timely served upon Plaintiff. Further, Plaintiff

                     11        request that Responding Party answer the following Request for Admissions, Set One, under oath,

                     12        within the time requested above, based on all information presently available to Responding

                     13        Party.

                     14                 Notice is hereby given to Responding Party that if they fail to admit the truth of any

                     15        matter requested, and the truth of that matter is later proven at trial, Plaintiff will move for an

                     16        order, pursuant to Federal Rule of Civil Procedure 37(c)(2), requiring Responding Party to

                     17        reimburse Plaintiff for their reasonable expenses in making that proof, including attorneys’ fees

                     18        and all related costs and expenses.

                     19                 The following Request for Admissions, Set One, are continuing in character and YOUR

                     20        responses are to be supplemented in accordance with Rule 26(e) of the Federal Rules of Civil

                     21        Procedure. If after responding to these Request for Admissions, Set One, Responding Party

                     22        obtains or becomes aware of any further facts or knowledge that would change their responses to

                     23        these Request for Admissions, Set One, Responding Party is required to supplement their

                     24        responses as soon as possible.

                     25        ///

                     26        ///

                     27        ///

                     28        ///
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW
                               842\3571081.3
 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
                               CASE NO. 5:19-CV-06226-EJD
                              Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1018 of 1198



                          1                                     REQUESTS FOR ADMISSIONS

                          2    REQUEST FOR ADMISSION NO. 1:

                          3            Admit that Graph Foundation, Inc. (hereafter referred to as “GFI”) does not have a license

                          4    to use U.S. Trademark Registration No. 4,784,280 for the word mark “NEO4J” (hereafter referred

                          5    to as the “NEO4J® Mark”).

                          6    REQUEST FOR ADMISSION NO. 2:

                          7            Admit that GFI owns the domain www.graphfoundation.org.

                          8    REQUEST FOR ADMISSION NO. 3:

                          9            Admit that GFI controls the website located at www.graphfoundation.org.

                     10        REQUEST FOR ADMISSION NO. 4:

                     11                Admit that GFI has used the phrase “ONgDB – Open Neo4j Enterprise – The Graph

                     12        Foundation” on its website located at www.graphfoundation.org.

                     13        REQUEST FOR ADMISSION NO. 5:

                     14                Admit that Exhibit A attached hereto is a true and correct printout of the webpage located

                     15        at https://www.graphfoundation.org/projects/ongdb/ as it existed on September 24, 2019.

                     16        REQUEST FOR ADMISSION NO. 6:

                     17                Admit that the webpage located at https://www.graphfoundation.org/projects/ongdb/ was

                     18        titled “ONgDB – Open Neo4j Enterprise – The Graph Foundation” as of September 24, 2019.

                     19        REQUEST FOR ADMISSION NO. 7:

                     20                Admit that GFI used the NEO4J® Mark in the title of its webpage

                     21        https://www.graphfoundation.org/projects/ongdb/ as of September 24, 2019.

                     22        REQUEST FOR ADMISSION NO. 8:

                     23                Admit that GFI did not have Neo4j, Inc.’s authorization to use the NEO4J® Mark in the

                     24        title of its webpage https://www.graphfoundation.org/projects/ongdb/ as of September 24, 2019.

                     25        REQUEST FOR ADMISSION NO. 9:

                     26                Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

                     27        https://www.graphfoundation.org/projects/ongdb/ as of September 24, 2019 was unlicensed.

                     28        ///
H OPKINS & C ARLEY
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 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 10:

                          2            Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

                          3    https://www.graphfoundation.org/projects/ongdb/ as of September 24, 2019 did not constitute

                          4    nominative fair use of the NEO4J® Mark.

                          5    REQUEST FOR ADMISSION NO. 11:

                          6            Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

                          7    https://www.graphfoundation.org/projects/ongdb/ as of September 24, 2019 infringed the

                          8    NEO4J® Mark.

                          9    REQUEST FOR ADMISSION NO. 12:

                     10                Admit that the statement “ONgDB distributions are licensed under AGPLv3 as a free and

                     11        open drop-in replacements of Neo4j Enterprise commercial licensed distributions with the same

                     12        version number” made in Exhibit A attached hereto is not 100% accurate.

                     13        REQUEST FOR ADMISSION NO. 13:

                     14                Admit that Exhibit B is a true and correct printout of Neo4j, Inc.’s Trademark Guidelines

                     15        available on its website on September 26, 2019.

                     16        REQUEST FOR ADMISSION NO. 14:

                     17                Admit that you were aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit B as early

                     18        as September 26, 2019.

                     19        REQUEST FOR ADMISSION NO. 15:

                     20                Admit that the Neo4j, Inc.’s Trademark Guidelines in Exhibit B state they were last

                     21        updated on April 3, 2019.

                     22        REQUEST FOR ADMISSION NO. 16:

                     23                Admit that you were aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit B as early

                     24        as April 3, 2019.

                     25        REQUEST FOR ADMISSION NO. 17:

                     26                Admit that the Neo4j, Inc.’s Trademark Guidelines in Exhibit B were viewable on Neo4j,

                     27        Inc.’s website on September 24, 2019.

                     28        ///
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                          1    REQUEST FOR ADMISSION NO. 18:

                          2            Admit that you were aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit B as early

                          3    as September 24, 2019.

                          4    REQUEST FOR ADMISSION NO. 19:

                          5            Admit that Neo4j, Inc.’s Trademark Guidelines in Exhibit B were attached as an exhibit

                          6    to Neo4j, Inc.’s Complaint filed on October 1, 2019.

                          7    REQUEST FOR ADMISSION NO. 20:

                          8            Admit that you have been aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit B as

                          9    least as early as December 26, 2019 when you filed your answer to Neo4j, Inc.’s Complaint.

                     10        REQUEST FOR ADMISSION NO. 21:

                     11                Admit that GFI’s use of the NEO4J® Mark in the title of its webpage attached hereto as

                     12        Exhibit A violated Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

                     13        REQUEST FOR ADMISSION NO. 22:

                     14                Admit that Exhibit C attached hereto is a true and correct printout of the webpage located

                     15        at https://www.graphfoundation.org/projects/ongdb/ as it existed on June 10, 2020.

                     16        REQUEST FOR ADMISSION NO. 23:

                     17                Admit that the webpage located at https://www.graphfoundation.org/projects/ongdb/ was

                     18        titled “ONgDB – Open Neo4j Enterprise – The Graph Foundation” as of June 10, 2020.

                     19        REQUEST FOR ADMISSION NO. 24:

                     20                Admit that GFI used the NEO4J® Mark in the title of its webpage

                     21        https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020.

                     22        REQUEST FOR ADMISSION NO. 25:

                     23                Admit that GFI did not have Neo4j, Inc.’s authorization to use the NEO4J® Mark in the

                     24        title of its webpage https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020.

                     25        REQUEST FOR ADMISSION NO. 26:

                     26                Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

                     27        https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020 was unauthorized.

                     28        ///
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                          1    REQUEST FOR ADMISSION NO. 27:

                          2            Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

                          3    https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020 did not constitute

                          4    nominative fair use of the NEO4J® Mark.

                          5    REQUEST FOR ADMISSION NO. 28:

                          6            Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

                          7    https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020 infringed the NEO4J®

                          8    Mark.

                          9    REQUEST FOR ADMISSION NO. 29:

                     10                Admit that the Neo4j, Inc.’s Trademark Guidelines in Exhibit B have been in effect since

                     11        Neo4j, Inc. filed this lawsuit against GFI on October 1, 2019 through the date of these requests.

                     12        REQUEST FOR ADMISSION NO. 30:

                     13                Admit that the Neo4j, Inc.’s Trademark Guidelines in Exhibit B were viewable on Neo4j,

                     14        Inc.’s website as of June 10, 2020.

                     15        REQUEST FOR ADMISSION NO. 31:

                     16                Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

                     17        https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020 violated Neo4j, Inc.’s

                     18        Trademark Guidelines attached hereto as Exhibit B.

                     19        REQUEST FOR ADMISSION NO. 32:

                     20                Admit that GFI’s use of “neo4j enterprise” in all lower case on its website,

                     21        www.graphfoundation.org, violates Neo4j, Inc.’s Trademark Guidelines attached hereto as

                     22        Exhibit B.

                     23        REQUEST FOR ADMISSION NO. 33:

                     24                Admit that GFI’s use of “neo4j enterprise” without proper trademark notice on its website,

                     25        www.graphfoundation.org, violates Neo4j, Inc.’s Trademark Guidelines attached hereto as

                     26        Exhibit B.

                     27        ///

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 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 34:

                          2            Admit that GFI’s use of “neo4j” in all lower case on its website,

                          3    www.graphfoundation.org, violates Neo4j, Inc.’s Trademark Guidelines attached hereto as

                          4    Exhibit B.

                          5    REQUEST FOR ADMISSION NO. 35:

                          6            Admit that GFI’s use of “neo4j” without proper trademark notice on its website,

                          7    www.graphfoundation.org, violates Neo4j, Inc.’s Trademark Guidelines attached hereto as

                          8    Exhibit B.

                          9    REQUEST FOR ADMISSION NO. 36:

                     10                Admit that GFI’s use of “Neo4j Enterprise” on its website, www.graphfoundation.org,

                     11        violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

                     12        REQUEST FOR ADMISSION NO. 37:

                     13                Admit that GFI’s use of “Neo4j Enterprise” without proper trademark notice on its

                     14        website, www.graphfoundation.org, violates Neo4j, Inc.’s Trademark Guidelines attached hereto

                     15        as Exhibit B.

                     16        REQUEST FOR ADMISSION NO. 38:

                     17                Admit that GFI’s use of hyperlinks to documents on Neo4j, Inc.’s website violates Neo4j,

                     18        Inc.’s Trademark Guidelines attached hereto as Exhibit B.

                     19        REQUEST FOR ADMISSION NO. 39:

                     20                Admit that GFI’s use of hyperlinks to documents on Neo4j Sweden AB’s Github source

                     21        code repository violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

                     22        REQUEST FOR ADMISSION NO. 40:

                     23                Admit that GFI’s use of hyperlinks to documents on Neo4j, Inc.’s website does not

                     24        constitute nominative fair use of the NEO4J® Mark.

                     25        REQUEST FOR ADMISSION NO. 41:

                     26                Admit that GFI’s use of “neo4j” in hyperlinks to documents on Neo4j, Inc.’s website does

                     27        not constitute nominative fair use of the NEO4J® Mark.

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                          1    REQUEST FOR ADMISSION NO. 42:

                          2            Admit that GFI’s use of hyperlinks to documents on Neo4j Sweden AB’s Github source

                          3    code repository does not constitute nominative fair use of the NEO4J® Mark.

                          4    REQUEST FOR ADMISSION NO. 43:

                          5            Admit that GFI’s use of “neo4j” in hyperlinks to Neo4j Sweden AB’s Github source code

                          6    repository does not constitute nominative fair use of the NEO4J® Mark.

                          7    REQUEST FOR ADMISSION NO. 44:

                          8            Admit that GFI’s use of “Neo4j Enterprise” to describe ONgDB violates Neo4j, Inc.’s

                          9    Trademark Guidelines attached hereto as Exhibit B.

                     10        REQUEST FOR ADMISSION NO. 45:

                     11                Admit that GFI’s use of “Neo4j Enterprise” to describe ONgDB does not constitute fair

                     12        use of the NEO4J® Mark.

                     13        REQUEST FOR ADMISSION NO. 46:

                     14                Admit that GFI’s interchangeable use of “Neo4j Enterprise” with “ONgDB” on GFI’s

                     15        website without proper trademark notices violates Neo4j, Inc.’s Trademark Guidelines attached

                     16        hereto as Exhibit B.

                     17        REQUEST FOR ADMISSION NO. 47:

                     18                Admit that GFI’s interchangeable use of “Neo4j Enterprise” with “ONgDB” on GFI’s

                     19        website does not constitute nominative fair use of the NEO4J® Mark.

                     20        REQUEST FOR ADMISSION NO. 48:

                     21                Admit that GFI’s use of “Neo4j Enterprise” on GFI’s website without proper trademark

                     22        notices violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

                     23        REQUEST FOR ADMISSION NO. 49:

                     24                Admit that GFI’s use of “Neo4j Enterprise” without proper trademark notices does not

                     25        constitute nominative fair use of the NEO4J® Mark.

                     26        ///

                     27        ///

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                          1    REQUEST FOR ADMISSION NO. 50:

                          2            Admit that Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B prohibit GFI

                          3    from using the NEO4J® Mark in conjunction with modified open source software based on the

                          4    Neo4j® graph database platform.

                          5    REQUEST FOR ADMISSION NO. 51:

                          6            Admit that Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B prohibit GFI

                          7    from using the NEO4J® Mark in conjunction with advertising its ONgDB software.

                          8    REQUEST FOR ADMISSION NO. 52:

                          9            Admit that Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B prohibit GFI

                     10        from calling ONgDB software “Neo4j Enterprise.”

                     11        REQUEST FOR ADMISSION NO. 53:

                     12                Admit that Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B prohibit GFI

                     13        from describing ONgDB software as “Neo4j Enterprise.”

                     14        REQUEST FOR ADMISSION NO. 54:

                     15                Admit that GFI used the NEO4J® Mark in Exhibit C.

                     16        REQUEST FOR ADMISSION NO. 55:

                     17                Admit that GFI’s use of “neo4j” in all lower case in Exhibit C violates Neo4j, Inc.’s

                     18        Trademark Guidelines attached hereto as Exhibit B.

                     19        REQUEST FOR ADMISSION NO. 56:

                     20                Admit that GFI’s use of “neo4j” in all lower case in Exhibit C does not constitute

                     21        nominative fair use of the NEO4J® Mark.

                     22        REQUEST FOR ADMISSION NO. 57:

                     23                Admit that GFI’s use of “neo4j” in all lower case in Exhibit C infringes the NEO4J®

                     24        Mark.

                     25        REQUEST FOR ADMISSION NO. 58:

                     26                Admit that GFI’s use of “neo4j enterprise project” in all lower case in Exhibit C violates

                     27        Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

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                          1    REQUEST FOR ADMISSION NO. 59:

                          2            Admit that GFI’s use of “neo4j enterprise project” in Exhibit C does not constitute

                          3    nominative fair use of the NEO4J® Mark.

                          4    REQUEST FOR ADMISSION NO. 60:

                          5            Admit that GFI’s use of “neo4j enterprise project” in Exhibit C infringes the NEO4J®

                          6    Mark.

                          7    REQUEST FOR ADMISSION NO. 61:

                          8            Admit that GFI’s use of “neo4j enterprise” in all lower case in Exhibit C violates Neo4j,

                          9    Inc.’s Trademark Guidelines attached hereto as Exhibit B.

                     10        REQUEST FOR ADMISSION NO. 62:

                     11                Admit that GFI’s use of “neo4j enterprise” in Exhibit C does not constitute nominative

                     12        fair use of the NEO4J® Mark.

                     13        REQUEST FOR ADMISSION NO. 63:

                     14                Admit that GFI’s use of “neo4j enterprise” in Exhibit C infringes the NEO4J® Mark.

                     15        REQUEST FOR ADMISSION NO. 64:

                     16                Admit that Exhibit D attached hereto is a true and correct printout of the

                     17        README.asciidoc posted GFI’s ONgDB source code repository located at www.github.com as it

                     18        existed on January 17, 2019.

                     19        REQUEST FOR ADMISSION NO. 65:

                     20                Admit that GFI used the NEO4J® Mark in Exhibit D.

                     21        REQUEST FOR ADMISSION NO. 66:

                     22                Admit that as of January 16, 2019, the README.asciidoc posted GFI’s ONgDB source

                     23        code repository located at www.github.com stated that “Neo4j Enterprise consists of modules

                     24        from Neo4j Community Edition and modules licensed under AGPLv3 with the Commons Clause

                     25        in this repository, and other closed sourced components not present in this repository.”

                     26        REQUEST FOR ADMISSION NO. 67:

                     27                Admit that as of January 16, 2019, the README.asciidoc posted GFI’s ONgDB source

                     28        code repository located at www.github.com stated that “When packaged as a binary, Enterprise
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                          1    Edition includes additional closed-source components not available in this repository and

                          2    requires a commercial license from Neo4j Sweden AB or one of its affiliates.”

                          3    REQUEST FOR ADMISSION NO. 68:

                          4            Admit that as of January 16, 2019, the README.asciidoc posted GFI’s ONgDB source

                          5    code repository located at www.github.com stated “Neo4j: Graphs for Everyone.”

                          6    REQUEST FOR ADMISSION NO. 69:

                          7            Admit that GFI did not have Neo4j, Inc.’s authorization to use the NEO4J® Mark in the

                          8    heading “Neo4j: Graphs for Everyone” in the README.asciidoc posted GFI’s ONgDB source

                          9    code repository located at www.github.com.

                     10        REQUEST FOR ADMISSION NO. 70:

                     11                Admit that GFI’s prior use the NEO4J® Mark in the heading “Neo4j: Graphs for

                     12        Everyone” in the README.asciidoc posted GFI’s ONgDB source code repository located at

                     13        www.github.com did not constitute nominative fair use of the NEO4J® Mark.

                     14        REQUEST FOR ADMISSION NO. 71:

                     15                Admit that GFI’s prior use the NEO4J® Mark in the heading “Neo4j: Graphs for

                     16        Everyone” in the README.asciidoc posted GFI’s ONgDB source code repository located at

                     17        www.github.com was unlicensed.

                     18        REQUEST FOR ADMISSION NO. 72:

                     19                Admit that GFI’s prior use the NEO4J® Mark in the heading “Neo4j: Graphs for

                     20        Everyone” in GFI’s source code repository located at www.github.com infringed the NEO4J®

                     21        Mark.

                     22        REQUEST FOR ADMISSION NO. 73:

                     23                Admit that Exhibit E attached hereto is a true and correct printout of the

                     24        README.asciidoc posted GFI’s ONgDB source code repository located at www.github.com as it

                     25        existed on September 25, 2019.

                     26        REQUEST FOR ADMISSION NO. 74:

                     27                Admit that GFI used the NEO4J® Mark in Exhibit E.

                     28        ///
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                          1    REQUEST FOR ADMISSION NO. 75:

                          2            Admit that as of September 25, 2019, the README.asciidoc posted GFI’s ONgDB

                          3    source code repository located at www.github.com stated “ONgDB – Neo4j Enterprise Fork:

                          4    Graphs for Everyone.”

                          5    REQUEST FOR ADMISSION NO. 76:

                          6            Admit that GFI did not have Neo4j, Inc.’s authorization to use the NEO4J® Mark in the

                          7    heading “ONgDB – Neo4j Enterprise Fork: Graphs for Everyone” in GFI’s source code

                          8    repository located at www.github.com.

                          9    REQUEST FOR ADMISSION NO. 77:

                     10                Admit that GFI’s use the NEO4J® Mark in the heading “ONgDB – Neo4j Enterprise

                     11        Fork: Graphs for Everyone” in GFI’s source code repository located at www.github.com did not

                     12        constitute nominative fair use of the NEO4J® Mark.

                     13        REQUEST FOR ADMISSION NO. 78:

                     14                Admit that GFI’s use the NEO4J® Mark in the heading “ONgDB – Neo4j Enterprise

                     15        Fork: Graphs for Everyone” in the README.asciidoc posted GFI’s ONgDB source code

                     16        repository located at www.github.com was unlicensed.

                     17        REQUEST FOR ADMISSION NO. 79:

                     18                Admit that GFI’s use the NEO4J® Mark in the heading “ONgDB – Neo4j Enterprise

                     19        Fork: Graphs for Everyone” in the README.asciidoc posted GFI’s ONgDB source code

                     20        repository located at www.github.com infringed the NEO4J® Mark.

                     21        REQUEST FOR ADMISSION NO. 80:

                     22                Admit that prior to releasing ONgDB version 3.6, GFI did not use its own support

                     23        documentation for ONgDB software.

                     24        REQUEST FOR ADMISSION NO. 81:

                     25                Admit that prior to releasing ONgDB version 3.6, GFI relied upon Neo4j, Inc.’s official

                     26        documentation.

                     27        ///

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                          1    REQUEST FOR ADMISSION NO. 82:

                          2            Admit that prior to releasing ONgDB version 3.6, GFI used hyperlinks on its website,

                          3    www.graphfoundation.org, which redirected users to Neo4j, Inc.’s official documentation for

                          4    Neo4j® software.

                          5    REQUEST FOR ADMISSION NO. 83:

                          6            Admit that prior to releasing ONgDB version 3.6, GFI used hyperlinks on its source code

                          7    repository located at www.github.com, which redirected users to Neo4j, Inc.’s official

                          8    documentation for Neo4j® software.

                          9    REQUEST FOR ADMISSION NO. 84:

                     10                Admit that as of September 24, 2019, GFI’s README.asciidoc posted on GFI’s ONgDB

                     11        source code repository located at www.github.com contained a hyperlink, “Neo4j

                     12        documentation,” which redirected users to https://github.com/neo4j/neo4j-documentation.

                     13        REQUEST FOR ADMISSION NO. 85:

                     14                Admit that Exhibit F attached hereto is a true and correct printout of GFI’s webpage for

                     15        ONgDB version 3.4.9 as it existed on September 24, 2019.

                     16        REQUEST FOR ADMISSION NO. 86:

                     17                Admit that GFI used the NEO4J® Mark in the title of GFI’s webpage for ONgDB version

                     18        3.4.9 attached hereto as Exhibit F.

                     19        REQUEST FOR ADMISSION NO. 87:

                     20                Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit F redirected

                     21        users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.4-changelog.

                     22        REQUEST FOR ADMISSION NO. 88:

                     23                Admit that as of September 24, 2019, the phrase “Look for 3.4 Developer manual here”

                     24        on GFI’s webpage for ONgDB version 3.4.9 contained a hyperlink in the word “here” that

                     25        redirected users to http://neo4j.com/docs/developer-manual/current/.

                     26        ///

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                          1    REQUEST FOR ADMISSION NO. 89:

                          2            Admit that as of September 24, 2019, the phrase “3.4 Operations manual here” on GFI’s

                          3    webpage for ONgDB version 3.4.9 contained a hyperlink in the word “here” that redirected users

                          4    to http://neo4j.com/docs/operations-manual/current/.

                          5    REQUEST FOR ADMISSION NO. 90:

                          6            Admit that Exhibit G attached hereto is a true and correct printout of GFI’s webpage for

                          7    ONgDB version 3.4.11 as it existed on September 24, 2019.

                          8    REQUEST FOR ADMISSION NO. 91:

                          9            Admit that GFI used the NEO4J® Mark in the title of GFI’s webpage for ONgDB version

                     10        3.4.11 attached hereto as Exhibit G.

                     11        REQUEST FOR ADMISSION NO. 92:

                     12                Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit G redirected

                     13        users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.4-changelog.

                     14        REQUEST FOR ADMISSION NO. 93:

                     15                Admit that as of September 24, 2019, the phrase “Look for 3.4 Developer manual here”

                     16        on GFI’s webpage for ONgDB version 3.4.11 contained a hyperlink in the word “here” that

                     17        redirected users to http://neo4j.com/docs/developer-manual/current/.

                     18        REQUEST FOR ADMISSION NO. 94:

                     19                Admit that as of September 24, 2019, the phrase “3.4 Operations manual here” on GFI’s

                     20        webpage for ONgDB version 3.4.11 contained a hyperlink in the word “here” that redirected

                     21        users to http://neo4j.com/docs/operations-manual/current/.

                     22        REQUEST FOR ADMISSION NO. 95:

                     23                Admit that Exhibit H attached hereto is a true and correct printout of GFI’s webpage for

                     24        ONgDB version 3.4.12 as it existed on September 24, 2019.

                     25        REQUEST FOR ADMISSION NO. 96:

                     26                Admit that GFI used the NEO4J® Mark in the title of GFI’s webpage for ONgDB version

                     27        3.4.12 attached hereto as Exhibit H.

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                          1    REQUEST FOR ADMISSION NO. 97:

                          2            Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit H redirected

                          3    users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.4-changelog.

                          4    REQUEST FOR ADMISSION NO. 98:

                          5            Admit that prior to September 25, 2019, GFI stated on its webpage for ONgDB version

                          6    3.4.12 “Look for 3.4 Developer manual here,” which contained a hyperlink in the word “here”

                          7    that redirected users to http://neo4j.com/docs/developer-manual/current/.

                          8    REQUEST FOR ADMISSION NO. 99:

                          9            Admit that as of September 24, 2019, the phrase “Look for 3.4 Developer manual here”

                     10        on GFI’s webpage for ONgDB version 3.4.12 contained a hyperlink in the word “here” that

                     11        redirected users to http://neo4j.com/docs/developer-manual/current/.

                     12        REQUEST FOR ADMISSION NO. 100:

                     13                Admit that as of September 24, 2019, the phrase “3.4 Operations manual here” on GFI’s

                     14        webpage for ONgDB version 3.4.12 contained a hyperlink in the word “here” that redirected

                     15        users to http://neo4j.com/docs/operations-manual/current/.

                     16        REQUEST FOR ADMISSION NO. 101:

                     17                Admit that Exhibit I attached hereto is a true and correct printout of GFI’s webpage for

                     18        ONgDB version 3.5.1 as it existed on September 24, 2019.

                     19        REQUEST FOR ADMISSION NO. 102:

                     20                Admit that GFI used the NEO4J® Mark in the title of GFI’s webpage for ONgDB version

                     21        3.5.1 attached hereto as Exhibit I.

                     22        REQUEST FOR ADMISSION NO. 103:

                     23                Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit I redirected

                     24        users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.5-changelog.

                     25        REQUEST FOR ADMISSION NO. 104:

                     26                Admit that as of September 24, 2019, the phrase “Look for 3.5 Developer manual here”

                     27        on GFI’s webpage for ONgDB version 3.5.1 contained a hyperlink in the word “here” that

                     28        redirected users to redirected users to https://neo4j.com/docs/operations-manual/3.5/.
H OPKINS & C ARLEY
  ATTO RNEY S AT LAW
                               842\3571081.3                                       - 15 -
 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 105:

                          2            Admit that Exhibit J attached hereto is a true and correct printout of GFI’s webpage for

                          3    ONgDB version 3.5.3 as it existed on September 24, 2019.

                          4    REQUEST FOR ADMISSION NO. 106:

                          5            Admit that GFI used the NEO4J® Mark in the title of GFI’s webpage for ONgDB version

                          6    3.5.3 attached hereto as Exhibit J.

                          7    REQUEST FOR ADMISSION NO. 107:

                          8            Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit J redirected

                          9    users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.5-changelog.

                     10        REQUEST FOR ADMISSION NO. 108:

                     11                Admit that as of September 24, 2019, the phrase “Look for 3.5 Developer manual here”

                     12        on GFI’s webpage for ONgDB version 3.5.3 contained a hyperlink in the word “here” that

                     13        redirected users to redirected users to https://neo4j.com/docs/operations-manual/3.5/.

                     14        REQUEST FOR ADMISSION NO. 109:

                     15                Admit that Exhibit A attached hereto is a true and correct printout of GFI’s webpage for

                     16        ONgDB version 3.5.4 as it existed on September 24, 2019.

                     17        REQUEST FOR ADMISSION NO. 110:

                     18                Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit A redirected

                     19        users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.5-changelog.

                     20        REQUEST FOR ADMISSION NO. 111:

                     21                Admit that as of September 24, 2019, the phrase “Look for 3.5 Developer manual here”

                     22        on GFI’s webpage for ONgDB version 3.5.4 contained a hyperlink in the word “here” that

                     23        redirected users to redirected users to https://neo4j.com/docs/operations-manual/3.5/.

                     24        REQUEST FOR ADMISSION NO. 112:

                     25                Admit that prior to September 25, 2019, you did not obtain Neo4j, Inc.’s authorization to

                     26        use Neo4j, Inc.’s Developer Manuals for Neo4j® Software with ONgDB Software.

                     27        ///

                     28        ///
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                               842\3571081.3                                       - 16 -
 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 113:

                          2            Admit that prior to September 25, 2019, you did not obtain Neo4j, Inc.’s authorization to

                          3    use Neo4j, Inc.’s Operations Manuals for Neo4j® Software with ONgDB Software.

                          4    REQUEST FOR ADMISSION NO. 114:

                          5            Admit that prior to September 25, 2019, you did not obtain Neo4j, Inc.’s authorization to

                          6    use Neo4j, Inc.’s change logs for Neo4j® Software.

                          7    REQUEST FOR ADMISSION NO. 115:

                          8            Admit that Exhibit L attached hereto is a true and correct printout of GFI’s “ONgDB 3.4

                          9    Docs” webpage located at https://github.com/graphfoundation/ongdb/wiki/ONgDB-3.4-Docs as it

                     10        existed on August 12, 2020.

                     11        REQUEST FOR ADMISSION NO. 116:

                     12                Admit between April 9, 2020 and August 12, 2020 the hyperlink embedded in the phrase

                     13        “Developer Manual” in Exhibit L redirected users to https://neo4j.com/docs/developer-

                     14        manual/3.4/.

                     15        REQUEST FOR ADMISSION NO. 117:

                     16                Admit between April 9, 2020 and August 12, 2020 the hyperlink embedded in the phrase

                     17        “Operations Manual” in Exhibit L redirected users to https://neo4j.com/docs/operations-

                     18        manual/3.4/.

                     19        REQUEST FOR ADMISSION NO. 118:

                     20                Admit that Exhibit M attached hereto is a true and correct printout of GFI’s “Docs”

                     21        webpage located at https://github.com/graphfoundation/ongdb/wiki/Docs as it existed on June 10,

                     22        2020.

                     23        REQUEST FOR ADMISSION NO. 119:

                     24                Admit between March 26, 2020 and June 10, 2020 the hyperlink embedded in the phrase

                     25        “ONgDB 3.5” in Exhibit M redirected users to https://neo4j.com/docs/operations-manual/3.5/.

                     26        REQUEST FOR ADMISSION NO. 120:

                     27                Admit between March 26, 2020 and June 10, 2020 the hyperlink embedded in the phrase

                     28        “ONgDB 3.4” in Exhibit M redirected users to https://neo4j.com/docs/operations-manual/3.4/.
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 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 121:

                          2            Admit as of August 14, 2020, the hyperlink embedded in the phrase “ONgDB 3.5” on the

                          3    webpage https://github.com/graphfoundation/ongdb/wiki/Docs redirected users to

                          4    https://neo4j.com/docs/operations-manual/3.5/.

                          5    REQUEST FOR ADMISSION NO. 122:

                          6            Admit as of August 14, 2020, the hyperlink embedded in the phrase “ONgDB 3.4” on the

                          7    webpage https://github.com/graphfoundation/ongdb/wiki/Docs redirected users to

                          8    https://neo4j.com/docs/operations-manual/3.4/.

                          9    REQUEST FOR ADMISSION NO. 123:

                     10                Admit that GFI never authored a developer manual for ONgDB version 3.4.9.

                     11        REQUEST FOR ADMISSION NO. 124:

                     12                Admit that GFI never authored a developer manual for ONgDB version 3.4.11.

                     13        REQUEST FOR ADMISSION NO. 125:

                     14                Admit that GFI never authored a developer manual for ONgDB version 3.4.12.

                     15        REQUEST FOR ADMISSION NO. 126:

                     16                Admit that GFI has never authored a developer manual for any of version of ONgDB prior

                     17        to its release of ONgDB version 3.6.

                     18        REQUEST FOR ADMISSION NO. 127:

                     19                Admit that prior to September 25, 2019, you did not obtain Neo4j, Inc.’s authorization to

                     20        use Neo4j, Inc.’s then-current Operations Manual for Neo4j® Software with ONgDB software.

                     21        REQUEST FOR ADMISSION NO. 128:

                     22                Admit that you have never sought Neo4j, Inc.’s authorization to use “The Neo4j

                     23        Operations Manual v3.4” with ONgDB software.

                     24        REQUEST FOR ADMISSION NO. 129:

                     25                Admit that you have never sought Neo4j, Inc.’s authorization to use “The Neo4j

                     26        Operations Manual v3.5” with ONgDB software.

                     27        ///

                     28        ///
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 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 130:

                          2            Admit that GFI never authored an operations manual for ONgDB version 3.4.9.

                          3    REQUEST FOR ADMISSION NO. 131:

                          4            Admit that GFI never authored an operations manual for ONgDB version 3.4.11.

                          5    REQUEST FOR ADMISSION NO. 132:

                          6            Admit that GFI never authored an operations manual for ONgDB version 3.4.12.

                          7    REQUEST FOR ADMISSION NO. 133:

                          8            Admit that GFI never authored an operations manual for ONgDB version 3.5.1.

                          9    REQUEST FOR ADMISSION NO. 134:

                     10                Admit that GFI never authored an operations manual for ONgDB version 3.5.3.

                     11        REQUEST FOR ADMISSION NO. 135:

                     12                Admit that GFI never authored an operations manual for ONgDB version 3.5.4.

                     13        REQUEST FOR ADMISSION NO. 136:

                     14                Admit that GFI has never authored an operations manual for any of version of ONgDB

                     15        prior to GFI’s release of ONgDB version 3.6.

                     16        REQUEST FOR ADMISSION NO. 137:

                     17                Admit that Exhibit K attached hereto is a true and correct printout of the webpage located

                     18        at https://www.graphfoundation.org/neo4j-is-open-core-now-what-ujah7ein5mis/ as it existed on

                     19        September 24, 2019.

                     20        REQUEST FOR ADMISSION NO. 138:

                     21                Admit that GFI’s used the NEO4J® Mark in Exhibit K.

                     22        REQUEST FOR ADMISSION NO. 139:

                     23                Admit that GFI’s use of “neo4j” in all lower case in Exhibit K violates Neo4j, Inc.’s

                     24        Trademark Guidelines attached hereto as Exhibit B.

                     25        REQUEST FOR ADMISSION NO. 140:

                     26                Admit that GFI’s use of “neo4j” without a trademark registration symbol in Exhibit K

                     27        violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

                     28        ///
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  ATTO RNEY S AT LAW
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 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 141:

                          2            Admit that GFI’s use of “Neo4j” without a trademark registration symbol in Exhibit K

                          3    violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

                          4    REQUEST FOR ADMISSION NO. 142:

                          5            Admit that GFI’s use of “neo4j” in all lower case in Exhibit K does not constitute

                          6    nominative fair use of the NEO4J® Mark.

                          7    REQUEST FOR ADMISSION NO. 143:

                          8            Admit that GFI’s use of “neo4j” in all lower case in Exhibit K infringes the NEO4J®

                          9    Mark.

                     10        REQUEST FOR ADMISSION NO. 144:

                     11                Admit that GFI’s use of “open source neo4j graph database” in all lower case in

                     12        Exhibit K violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

                     13        REQUEST FOR ADMISSION NO. 145:

                     14                Admit that GFI’s use of “open source neo4j graph database” in all lower case in

                     15        Exhibit K does not constitute nominative fair use of the NEO4J® Mark.

                     16        REQUEST FOR ADMISSION NO. 146:

                     17                Admit that GFI’s use of “open source neo4j graph database” in all lower case in

                     18        Exhibit K infringes the NEO4J® Mark.

                     19        REQUEST FOR ADMISSION NO. 147:

                     20                Admit that ONgDB stands for “ONgDB’s Neo4j Graph DB.”

                     21        REQUEST FOR ADMISSION NO. 148:

                     22                Admit that ONgDB means “ONgDB’s Neo4j Graph DB.”

                     23        REQUEST FOR ADMISSION NO. 149:

                     24                Admit that Exhibit N attached hereto is a true and correct of a March 17, 2019 tweet you

                     25        publicly posted on Twitter.

                     26        REQUEST FOR ADMISSION NO. 150:

                     27                Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit N.

                     28        ///
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 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 151:

                          2            Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit N was not

                          3    reasonably necessary to identify the ONgDB product.

                          4    REQUEST FOR ADMISSION NO. 152:

                          5            Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit N was not

                          6    reasonably necessary to promote the ONgDB product.

                          7    REQUEST FOR ADMISSION NO. 153:

                          8            Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit N to promote

                          9    ONgDB software.

                     10        REQUEST FOR ADMISSION NO. 154:

                     11                Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit N to

                     12        identify ONgDB software.

                     13        REQUEST FOR ADMISSION NO. 155:

                     14                Admit that GFI’s use of #Neo4j in Exhibit N does not amount to nominative fair use of

                     15        the NEO4J® Mark.

                     16        REQUEST FOR ADMISSION NO. 156:

                     17                Admit that GFI’s use of #Neo4j in Exhibit N infringes the NEO4J® Mark.

                     18        REQUEST FOR ADMISSION NO. 157:

                     19                Admit that Exhibit O attached hereto is a true and correct of a March 21, 2019 tweet you

                     20        publicly posted on Twitter.

                     21        REQUEST FOR ADMISSION NO. 158:

                     22                Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit O.

                     23        REQUEST FOR ADMISSION NO. 159:

                     24                Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit O was not

                     25        reasonably necessary to identify the ONgDB product.

                     26        REQUEST FOR ADMISSION NO. 160:

                     27                Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit O was not

                     28        reasonably necessary to promote the ONgDB product.
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                               842\3571081.3                                       - 21 -
 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 161:

                          2            Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit O to promote

                          3    ONgDB software.

                          4    REQUEST FOR ADMISSION NO. 162:

                          5            Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit O to

                          6    identify ONgDB software.

                          7    REQUEST FOR ADMISSION NO. 163:

                          8            Admit that GFI’s use of #Neo4j in Exhibit O does not amount to nominative fair use of

                          9    the NEO4J® Mark.

                     10        REQUEST FOR ADMISSION NO. 164:

                     11                Admit that GFI’s use of #Neo4j in Exhibit O infringes the NEO4J® Mark.

                     12        REQUEST FOR ADMISSION NO. 165:

                     13                Admit that Exhibit P attached hereto is a true and correct of a May 10, 2019 tweet you

                     14        publicly posted on Twitter.

                     15        REQUEST FOR ADMISSION NO. 166:

                     16                Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit P.

                     17        REQUEST FOR ADMISSION NO. 167:

                     18                Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit P was not

                     19        reasonably necessary to identify the ONgDB product.

                     20        REQUEST FOR ADMISSION NO. 168:

                     21                Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit P was not

                     22        reasonably necessary to promote the ONgDB product.

                     23        REQUEST FOR ADMISSION NO. 169:

                     24                Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit P to promote

                     25        ONgDB software.

                     26        REQUEST FOR ADMISSION NO. 170:

                     27                Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit P to

                     28        identify ONgDB software.
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 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 171:

                          2            Admit that GFI’s use of #Neo4j in Exhibit P does not amount to nominative fair use of

                          3    the NEO4J® Mark.

                          4    REQUEST FOR ADMISSION NO. 172:

                          5            Admit that GFI’s use of #Neo4j in Exhibit P infringes the NEO4J® Mark.

                          6    REQUEST FOR ADMISSION NO. 173:

                          7            Admit that Exhibit Q attached hereto is a true and correct of a November 27, 2019 tweet

                          8    you publicly posted on Twitter.

                          9    REQUEST FOR ADMISSION NO. 174:

                     10                Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit Q.

                     11        REQUEST FOR ADMISSION NO. 175:

                     12                Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit Q was not

                     13        reasonably necessary to identify the ONgDB product.

                     14        REQUEST FOR ADMISSION NO. 176:

                     15                Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit Q was not

                     16        reasonably necessary to promote the ONgDB product.

                     17        REQUEST FOR ADMISSION NO. 177:

                     18                Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit Q to promote

                     19        ONgDB software.

                     20        REQUEST FOR ADMISSION NO. 178:

                     21                Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit Q to

                     22        identify ONgDB software.

                     23        REQUEST FOR ADMISSION NO. 179:

                     24                Admit that GFI’s use of #Neo4j in Exhibit Q does not amount to nominative fair use of

                     25        the NEO4J® Mark.

                     26        REQUEST FOR ADMISSION NO. 180:

                     27                Admit that GFI’s use of #Neo4j in Exhibit Q infringes the NEO4J® Mark.

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                          1    REQUEST FOR ADMISSION NO. 181:

                          2            Admit that Exhibit R attached hereto is a true and correct of a January 18, 2020 tweet you

                          3    publicly posted on Twitter.

                          4    REQUEST FOR ADMISSION NO. 182:

                          5            Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit R.

                          6    REQUEST FOR ADMISSION NO. 183:

                          7            Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit R was not

                          8    reasonably necessary to identify the ONgDB product.

                          9    REQUEST FOR ADMISSION NO. 184:

                     10                Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit R was not

                     11        reasonably necessary to promote the ONgDB product.

                     12        REQUEST FOR ADMISSION NO. 185:

                     13                Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit R to promote

                     14        ONgDB software.

                     15        REQUEST FOR ADMISSION NO. 186:

                     16                Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit R to

                     17        identify ONgDB software.

                     18        REQUEST FOR ADMISSION NO. 187:

                     19                Admit that Exhibit S attached hereto is a true and correct of a May 19, 2020 tweet you

                     20        publicly posted on Twitter.

                     21        REQUEST FOR ADMISSION NO. 188:

                     22                Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit S.

                     23        REQUEST FOR ADMISSION NO. 189:

                     24                Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit S was not

                     25        reasonably necessary to identify the ONgDB product.

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 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 190:

                          2            Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit S was not

                          3    reasonably necessary to promote the ONgDB product.

                          4    REQUEST FOR ADMISSION NO. 191:

                          5            Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit S to promote

                          6    ONgDB software.

                          7    REQUEST FOR ADMISSION NO. 192:

                          8            Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit S to

                          9    identify ONgDB software.

                     10        REQUEST FOR ADMISSION NO. 193:

                     11                Admit that GFI’s use of #Neo4j in Exhibit S does not amount to nominative fair use of

                     12        the NEO4J® Mark.

                     13        REQUEST FOR ADMISSION NO. 194:

                     14                Admit that GFI’s use of #Neo4j in Exhibit S infringes the NEO4J® Mark.

                     15        REQUEST FOR ADMISSION NO. 195:

                     16                Admit that Exhibit T is a printout of Neo4j, Inc.’s Trademark Guidelines as they existed

                     17        on August 13, 2020.

                     18        REQUEST FOR ADMISSION NO. 196:

                     19                Admit that Neo4j, Inc.’s Trademark Guidelines in Exhibit T have been in effect since

                     20        April 3, 2019.

                     21        REQUEST FOR ADMISSION NO. 197:

                     22                Admit that you are aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit T.

                     23        REQUEST FOR ADMISSION NO. 198:

                     24                Admit that you do not adhere to Neo4j, Inc.’s Trademark Guidelines in Exhibit T in

                     25        marketing ONgDB software.

                     26        ///

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                     28        ///
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 SAN JO SE   PALO AL TO        PLAINTIFF NEO4J INC.’S REQUEST FOR ADMISSION, SET ONE, TO DEFENDANT GRAPH FOUNDATION INC.
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                          1    REQUEST FOR ADMISSION NO. 199:

                          2            Admit that you do not adhere to Neo4j, Inc.’s Trademark Guidelines in Exhibit T in

                          3    advertising ONgDB software.

                          4    Dated: August 14, 2020                               HOPKINS & CARLEY
                                                                                    A Law Corporation
                          5

                          6                                                          By: /s/ Jeffrey M. Ratinoff
                                                                                        Jeffrey M. Ratinoff
                          7                                                             Attorneys for Plaintiffs
                                                                                        NEO4J, INC. and NEO4J SWEDEN AB
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                                                  EXHIBIT A
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T h e G r a p h Fo u n d a t i o n
Open Graph Technology for Public Good                                                                  Menu




     Open Native Graph DB (ONgDB)
   The free and open source Neo4j Enterprise project


   Open Native Graph DB (ONgDB) is a non-restrictive fork of Neo4j, the world’s leading Graph Database. It is a
   high performance graph store with all the features expected of a mature and robust database, like a
   friendly query language, ACID transactions and high availability clustering. The programmer works with a
     exible network structure of nodes and relationships rather than static tables — yet enjoys all the bene ts
   of enterprise-quality database. For many applications, ONgDB offers orders of magnitude performance
   bene ts compared to relational DBs.



   Licensing
   ONgDB distributions are licensed under AGPLv3 as a free and open drop-in replacements of Neo4j
   Enterprise commercial licensed distributions with the same version number.



   Latest Release
   ONgDB 3.5.8 is expected to be out shortly. We skipped a few versions to allow Neo4j to x some bugs in
   previous versions.




     ONgDB 3.5.4

     10 May 2019: Release Notes | Source Code



     Mac/Linux                     ongdb-enterprise-3.5.4-unix.tar.gz

     Windows 64 bit                ongdb-enterprise-3.5.4-windows.zip

     Windows 32 bit                ongdb-enterprise-3.5.4-windows.zip

     Docker Image                  ONgDB 3.5.4 Docker Hub




https://www.graphfoundation.org/projects/ongdb/                                                                   1/3
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                                        docker run \
                                                  --publish=7474:7474 --publish=7687:7687 \
                                                  --volume=$HOME/neo4j/data:/data \
                                                  graphfoundation/ongdb:3.5


                                        Go to:     http://localhost:7474




   Recent Releases
         ONgDB 3.5.3

         ONgDB 3.5.1

         ONgDB 3.4.12

         ONgDB 3.4.11




  Pages

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  Get Involved

  Graph Community

  Mission

  Projects
       Heimdall

       Open Native Graph DB (ONgDB)

             ONgDB Releases

                  ONgDB 3.4.11

                  ONgDB 3.4.12
                  ONgDB 3.4.9

                  ONgDB 3.5.1

                  ONgDB 3.5.3

                  ONgDB 3.5.4

https://www.graphfoundation.org/projects/ongdb/                                                           2/3
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  ?@ABCD<EB@ÿF<BG@HIÿJBKLM>
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  :<@N;=@<OÿFDABHI
  :LB>ÿNDHP=;EMÿDPMABE;>ÿML;ÿQDABHIÿCD<ÿ@AADR@SA;ÿP>;>ÿDCÿM<@N;=@<O>ÿDRE;NÿSIÿT;DUVWÿXEHYÿ@ENÿBM>ÿ>PS>BNB@<B;>
  Z[T;DUV[\ÿSIÿDML;<ÿQ@<MB;>Y
  T;DUVÿDRE>ÿ@AAÿT;DUV]<;A@M;NÿM<@N;=@<O>Wÿ>;<GBH;ÿ=@<O>Wÿ@ENÿADKD>ÿDEÿS;L@ACÿDCÿDP<ÿHD==PEBMB;>ÿ@ENÿML;ÿE@=;>
  DCÿ@AAÿT;DUV^ÿQ<DV;HM>ÿ@<;ÿM<@N;=@<O>ÿDCÿT;DUVY
  :L;ÿ<DA;ÿDCÿM<@N;=@<O>ÿB>ÿMDÿQ<DGBN;ÿ@>>P<@EH;ÿ@SDPMÿML;ÿ_P@ABMIÿDCÿML;ÿQ<DNPHM>ÿD<ÿ>;<GBH;>ÿRBMLÿRLBHLÿML;
  M<@N;=@<OÿB>ÿ@>>DHB@M;NYÿT;DUVÿL@>ÿ;>M@SAB>L;NÿMLB>ÿFDABHIÿMDÿ;EHDP<@K;ÿDML;<>ÿMDÿ=@O;ÿ@HHP<@M;WÿEDE]HDECP>BEK
  P>;ÿDCÿML;ÿT;DUVÿM<@N;=@<O>WÿRLBA;ÿ@A>Dÿ;E>P<BEKÿML@MÿMLD>;ÿM<@N;=@<O>ÿ=@BEM@BEÿML;B<ÿNB>MBEHMBG;E;>>ÿ@EN
  >M<;EKMLÿ@>ÿ<;AB@SA;ÿBENBH@MD<>ÿDCÿML;ÿ>DP<H;ÿ@ENÿ_P@ABMIÿDCÿT;DUVÿQ<DNPHM>ÿ@ENÿ>;<GBH;>Yÿ̀AMLDPKLÿ>D=;ÿT;DUV
  Q<DV;HM>ÿ=@IÿS;ÿ@G@BA@SA;ÿPEN;<ÿC<;;ÿ@ENÿDQ;EÿABH;E>;>WÿMLD>;ÿABH;E>;>ÿHDG;<ÿHDQI<BKLMÿDEAIÿ@ENÿNDÿEDMÿBEHAPN;
  @EIÿ;aQ<;>>ÿD<ÿB=QAB;Nÿ<BKLMÿMDÿP>;ÿDP<ÿM<@N;=@<O>YÿT;DUVÿND;>ÿEDMÿ@AADRÿMLB<NÿQ@<MB;>ÿMDÿP>;ÿBM>ÿM<@N;=@<O>
  RBMLDPMÿ@ÿR<BMM;Eÿ@K<;;=;EMÿD<ÿ;aQ<;>>ÿQ;<=B>>BDEYÿ:LP>WÿT;DUVÿQ<DV;HM>ÿML@Mÿ@<;ÿ@G@BA@SA;ÿPEN;<ÿDQ;Eÿ>DP<H;
  ABH;E>;>ÿ=@IÿS;ÿHDQB;NWÿ=DNBCB;NWÿD<ÿ>DANÿSIÿMLB<NÿQ@<MB;>WÿSPMÿML;IÿH@EEDMÿS;ÿS<@EN;NÿD<ÿ=@<O;M;NÿRBMLÿT;DUV
  M<@N;=@<O>ÿBEÿML;ÿ@S>;EH;ÿDCÿ@ÿM<@N;=@<OÿABH;E>;Y
  bLBA;ÿDQ;E]>DP<H;ÿABH;E>;>ÿ@AADRÿ=DNBCBH@MBDEÿDCÿHDQI<BKLM;Nÿ>DCMR@<;ÿ@ENÿNB>M<BSPMBDEÿBEÿD<BKBE@AÿD<ÿ=DNBCB;N
  CD<=Wÿ>PHLÿNB>M<BSPMBDEÿHDPANÿS;ÿ=B>A;@NBEKÿBCÿNB>M<BSPM;NÿPEN;<ÿML;ÿ>@=;ÿE@=;Yÿÿ:LB>ÿHDPANÿH@P>;ÿHDECP>BDE
  @=DEKÿHDE>P=;<>ÿDCÿML;ÿ>DCMR@<;ÿ@>ÿMDÿ>DP<H;Yÿ:L;Iÿ=@Iÿ=B>M@O;EAIÿS;AB;G;ÿML;Iÿ@<;ÿ<;H;BGBEKÿ>DCMR@<;ÿML@MÿB>
  Q<DNPH;NÿD<ÿ>PQQD<M;NÿSIÿT;DUVYÿÿ:LB>ÿFDABHIÿN;>H<BS;>ÿML;ÿHB<HP=>M@EH;>ÿPEN;<ÿRLBHLÿIDPÿ=@IÿP>;ÿDP<
  M<@N;=@<O>Wÿ<;K@<NA;>>ÿDCÿML;ÿMIQ;ÿDCÿABH;E>;ÿIDPÿ=@IÿL@G;ÿC<D=ÿT;DUVYÿÿXEÿMLB>ÿFDABHIÿR;ÿ@<;ÿEDMÿM<IBEKÿMDÿAB=BM
  ML;ÿA@RCPAÿP>;ÿDCÿDP<ÿM<@N;=@<O>WÿSPMÿ<@ML;<ÿN;>H<BS;ÿCD<ÿIDPÿRL@MÿR;ÿHDE>BN;<ÿML;ÿQ@<@=;M;<>ÿDCÿA@RCPAÿP>;ÿMD
  S;Yÿ:<@N;=@<OÿA@RÿH@EÿS;ÿ@=SBKPDP>Wÿ>DÿR;ÿLDQ;ÿMDÿQ<DGBN;ÿ;EDPKLÿHA@<BMIÿCD<ÿIDPÿMDÿPEN;<>M@ENÿRL;ML;<ÿR;
  RBAAÿHDE>BN;<ÿIDP<ÿP>;ÿABH;E>;NÿD<ÿEDE]BEC<BEKBEKY
  T;DUV^ÿ>DCMR@<;WÿRLBHLÿB>ÿH<;@M;Nÿ@ENcD<ÿNB>M<BSPM;NÿSIÿT;DUVWÿB>ÿML;ÿ>DCMR@<;ÿBEÿML;ÿ;a@HMÿCD<=ÿML@MÿBMÿB>
  NB>M<BSPM;NÿSIÿT;DUVÿRBMLDPMÿ=DNBCBH@MBDEÿDCÿ@EIÿOBENYÿ:DÿML;ÿ;aM;EMÿ@EIÿ@PMLD<Bd;Nÿ=DNBCBH@MBDE>ÿ@<;ÿ=@N;ÿMD
  ML;ÿ>DCMR@<;Wÿ>PHLÿ=DNBCB;Nÿ>DCMR@<;ÿ>LDPANÿEDÿADEK;<ÿS;@<ÿML;ÿT;DUVÿM<@N;=@<O>Yÿ:L;ÿQPSABHÿL@>ÿ@ÿ<BKLMÿMD
  OEDRÿRL;EÿBMÿB>ÿ<;H;BGBEKÿ@ÿK;EPBE;ÿT;DUV^ÿQ<DNPHMÿML@MÿB>ÿ_P@ABMIÿ@>>P<;NÿSIÿT;DUVY
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  %&'ÿ)'*+,-.)ÿ+&/+ÿ0-11-2ÿ3')*4,5'ÿ2&/+ÿ+4/3'6/47)ÿ/4'ÿ*-8'4'3ÿ59ÿ+&,)ÿ:-1,*9;ÿ/)ÿ2'11ÿ/)ÿ<)')ÿ-0ÿ+&'ÿ+4/3'6/47)
  +&/+ÿ/4'ÿ/11-2'3ÿ2,+&-<+ÿ/33,+,-./1ÿ='46,)),-.ÿ04-6ÿ<)>ÿ?.9ÿ<)'ÿ+&/+ÿ3-')ÿ.-+ÿ*-6=19ÿ2,+&ÿ+&,)ÿ:-1,*9ÿ-4ÿ0-4
  2&,*&ÿ2'ÿ&/8'ÿ.-+ÿ)'=/4/+'19ÿ=4-8,3'3ÿ24,++'.ÿ='46,)),-.ÿ,)ÿ.-+ÿ/ÿ<)'ÿ+&/+ÿ2'ÿ&/8'ÿ/==4-8'3;ÿ)-ÿ9-<ÿ6<)+
  3'*,3'ÿ0-4ÿ9-<4)'10ÿ2&'+&'4ÿ+&'ÿ<)'ÿ,)ÿ.'8'4+&'1'))ÿ1/20<1>
  @ABÿDEFFGHFIJHÿHEÿ@KIJÿLEABMIÿNBGJMGKOIP
  Q'ÿ2/.+ÿ+-ÿ'.*-<4/R'ÿ/.3ÿ0/*,1,+/+'ÿ+&'ÿ<)'ÿ-0ÿ-<4ÿ-='.ÿ)-<4*'ÿ)-0+2/4'ÿ59ÿ+&'ÿ*-66<.,+9;ÿ5<+ÿ3-ÿ)-ÿ,.ÿ/ÿ2/9
  +&/+ÿ)+,11ÿ'.)<4')ÿ+&/+ÿ+&'ÿS'-TUÿ+4/3'6/47)ÿ/4'ÿ6'/.,.R0<1ÿ/)ÿ/ÿ)-<4*'ÿ/.3ÿV</1,+9ÿ,.3,*/+-4ÿ0-4ÿ-<4ÿ)-0+2/4'ÿ/.3
  +&'ÿ/))-*,/+'3ÿR--3)ÿ/.3ÿ)'48,*')ÿ/.3ÿ*-.+,.<'ÿ+-ÿ'65-39ÿ+&'ÿ&,R&ÿ4'=<+/+,-.ÿ-0ÿ+&'ÿ)-0+2/4'ÿ/.3ÿ+&'
  *-66<.,+9ÿ/))-*,/+'3ÿ2,+&ÿ,+>ÿ%&,)ÿ:-1,*9ÿ+&'4'0-4'ÿ+4,')ÿ+-ÿ)+4,7'ÿ+&'ÿ=4-='4ÿ5/1/.*'ÿ5'+2''.WÿXYÿ-<4ÿ.''3ÿ+-
  '.)<4'ÿ+&/+ÿ-<4ÿ+4/3'6/47)ÿ4'6/,.ÿ4'1,/51'ÿ,.3,*/+-4)ÿ-0ÿ+&'ÿV</1,+,')ÿ+&/+ÿ+&'9ÿ/4'ÿ6'/.+ÿ+-ÿ=4')'48'ÿ/.3ÿZYÿ-<4
  *-66<.,+9ÿ6'65'4)[ÿ3'),4'ÿ+-ÿ5'ÿ0<11ÿ=/4+,*,=/.+)ÿ,.ÿS'-TU\ÿ=4-U'*+)>
  ]B^_IF^B`PÿLAabIMHÿHEÿHcIÿdAG_IOGJIP
  @ABÿ]B^_IF^B`P
  %&,)ÿ:-1,*9ÿ*-8'4)ÿ+&'ÿ0-11-2,.Rÿ.-.e'f&/<)+,8'ÿ1,)+ÿ-0ÿ-<4ÿ+4/3'6/47)W
     X>ÿg<4ÿ2-43ÿ+4/3'6/47)ÿ/.3ÿ)'48,*'ÿ6/47)ÿh+&'ÿiQ-43ÿj/47)iYW
        S'-TU\ÿ
        k9=&'4\ÿ
        S'-TU\ÿl1--6mÿ
        S'-TU\ÿn')7+-=mÿ
        S'-ÿ%'*&.-1-R9\



      Z>ÿg<4ÿ1-R-)ÿh+&'ÿio-R-)iYÿ


      p>ÿ%&'ÿ<.,V<'ÿ8,)</1ÿ)+91,.Rÿ-0ÿ-<4ÿ2'5),+'ÿ/.3ÿ'1'6'.+)ÿ<)'3ÿ,.ÿ-4ÿ-+&'42,)'ÿ4'1/+'3ÿ+-ÿ+&'ÿ=4-3<*+)ÿ/.3
         )'48,*')ÿ2'ÿ-00'4ÿh+&'ÿi%4/3'ÿn4'))iY>ÿq''ÿ-<4ÿq+91'ÿr<,3'ÿ0-4ÿ0<4+&'4ÿ,.0-46/+,-.>
  %&,)ÿ:-1,*9ÿ'.*-6=/))')ÿ/11ÿ+4/3'6/47)ÿ/.3ÿ)'48,*'ÿ6/47);ÿ2&'+&'4ÿQ-43ÿj/47);ÿo-R-)ÿ-4ÿ%4/3'ÿn4'));ÿ2&,*&
  /4'ÿ*-11'*+,8'19ÿ4'0'44'3ÿ+-ÿ/)ÿ+&'ÿij/47)>iÿq-6'ÿj/47)ÿ6/9ÿ.-+ÿ5'ÿ4'R,)+'4'3;ÿ5<+ÿ4'R,)+4/+,-.ÿ,)ÿ.-+ÿ.'*'))/4,19
  4'V<,4'3ÿ0-4ÿ-2.'4)&,=ÿ-0ÿ+4/3'6/47)>ÿ%&,)ÿ:-1,*9ÿ*-8'4)ÿ-<4ÿj/47)ÿ2&'+&'4ÿ+&'9ÿ/4'ÿ4'R,)+'4'3ÿ-4ÿ.-+>
  sJGtIBP^OÿDEJPG_IB^HGEJPÿuEBÿvOOÿsPIP
  %&'ÿ0-11-2,.RÿR<,3'1,.')ÿ)&-2ÿ=4-='4ÿh/.3ÿ,6=4-='4Yÿ<)'ÿ-0ÿj/47)>ÿ?.9ÿ<)'ÿ-0ÿ+&'ÿj/47)ÿ6<)+ÿ5'ÿ1,*'.)'3ÿ/.3
  *-6=19ÿ2,+&ÿ+&')'ÿR<,3'1,.')>ÿQ&'.'8'4ÿ9-<ÿ<)'ÿ-.'ÿ-0ÿ+&'ÿj/47);ÿ9-<ÿ6<)+ÿ/12/9)ÿ3-ÿ)-ÿ,.ÿ/ÿ2/9ÿ+&/+ÿ3-')
  .-+ÿ6,)1'/3ÿ/.9-.';ÿ',+&'4ÿ3,4'*+19ÿ-4ÿ59ÿ-6,)),-.;ÿ/5-<+ÿ'f/*+19ÿ2&/+ÿ+&'9ÿ/4'ÿR'++,.Rÿ/.3ÿ04-6ÿ2&-6>ÿw-4
  'f/6=1';ÿ9-<ÿ*/..-+ÿ)/9ÿ9-<ÿ/4'ÿ3,)+4,5<+,.Rÿ+&'ÿS'-TU\ÿ)-0+2/4'ÿ2&'.ÿ9-<[4'ÿ3,)+4,5<+,.Rÿ/ÿ6-3,0,'3ÿ8'4),-.
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  *79&0:7&0*ÿ*7)1ÿG&3).8<ÿH*ÿ17&035ÿ/31&ÿ1-9D-ÿ/1ÿ8&09ÿ:0)5-ÿ)'ÿ8&0ÿ/9-ÿ6&*ÿ109-ÿ/,&0*ÿ7&4ÿ8&0ÿ/9-ÿ01)6:ÿ*7-ÿB/9C1<
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  /65ÿ*7-ÿK&:&ÿ)6ÿ)3301*9/*)&61ÿ4)*7)6ÿ*7-ÿ5&.0;-6*+ÿ/1ÿ3&6:ÿ/1ÿ*7-ÿ01-ÿ5&-1ÿ6&*ÿ10::-1*ÿ*7/*ÿ4-ÿ7/D-ÿ20,3)17-5+
  -65&91-+ÿ&9ÿ/:9--ÿ4)*7ÿ8&09ÿ4&9C<
  E9/5-;/9Cÿ3/4ÿ5&-1ÿ6&*ÿ/33&4ÿ8&09ÿ01-ÿ&'ÿ6/;-1ÿ&9ÿ*9/5-;/9C1ÿ*7/*ÿ/9-ÿ*&&ÿ1);)3/9ÿ*&ÿ&091<ÿ=&0ÿ*7-9-'&9-ÿ;/8
  6&*ÿ01-ÿ/6ÿ&,D)&01ÿD/9)/*)&6ÿ&'ÿ/68ÿ&'ÿ&09ÿB/9C1ÿ&9ÿ/68ÿ27&6-*).ÿ-F0)D/3-6*+ÿ'&9-):6ÿ3/6:0/:-ÿ-F0)D/3-6*+
  */C-&''+ÿ&9ÿ/,,9-D)/*)&6ÿ'&9ÿ/ÿ1);)3/9ÿ&9ÿ.&;2/*),3-ÿ29&50.*ÿ&9ÿ1-9D).-<ÿE7)1ÿ)6.305-1ÿ.&;,)6/*)&61ÿ&9
  )6*-:9/*)&61ÿ&'ÿ/33ÿ&9ÿ2&9*)&61ÿ&'ÿ*7-ÿB/9C1ÿ)6ÿ/ÿ4/8ÿ*7/*ÿ*7-ÿ20,3).ÿ;/8ÿ*7)6Cÿ&'ÿ*7-ÿ01-ÿ/1ÿ/ÿ6-4ÿ;/9CÿL-<:<
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  B/9C1ÿ)609-1ÿ1&3-38ÿ*&ÿ&09ÿ,-6-')*<
  PQRSTQÿVWTÿRXÿYZTÿ[\Q]W
  E7-1-ÿ903-1ÿ7&35ÿ*90-ÿ'&9ÿ/33ÿ*9/5-;/9C1+ÿ6&*ÿ@01*ÿ&091+ÿ1&ÿ8&0ÿ17&035ÿ'&33&4ÿ*7-;ÿ'&9ÿ&09ÿB/9C1ÿ/1ÿ4-33ÿ/1
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  _34/81ÿ01-ÿ*7-ÿB/9C1ÿ)6ÿ*7-)9ÿ̀a/.*ÿb&9;ÿ/65ÿc)1*)6:0)17/,3-ÿ'9&;ÿd*7-9ÿE-a*<ÿ_34/81ÿ01-ÿ*7-ÿJ&95ÿB/9C1ÿ)6
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  ,8ÿ/ÿ:-6-9).ÿ;&5)')-9+ÿ/65ÿ6&*ÿ/1ÿ6&061ÿ&9ÿD-9,1<ÿE9/5-;/9C1ÿ/9-ÿ29&50.*1ÿ&9ÿ1-9D).-1+ÿ6-D-9ÿ/.*)&61<ÿc&ÿ6&*ÿ01-
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   =C@B>:6=.>D                                               0.1234ÿ=>ÿ?=@.9AÿB>.@D
   Eÿ?7>ÿ7F9.ÿ:1ÿGB=HI9Aÿ6.79=J.ÿ5678-ÿ.8=8-7C=.>ÿ?=:- O.ÿB>.ÿ:-.ÿ0.123D
   0.1234ÿK911<LÿM=>B79=J7:=1Cÿ>1;:?76.Dÿ
                                                             EÿB>.ÿNA8-.6D
   Eÿ@1?C917@.@ÿ:-.ÿ0.1234ÿ@7:7F7>.ÿ;61<ÿC.123DH1<Dÿ
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   NA8-.64ÿGB.6Aÿ97C5B75.
  P1ÿ01:ÿQ>.ÿR76I>ÿ=Cÿ:-.ÿS1>>.>>=M.ÿT16<DÿK.H7B>.ÿ:67@.<76I>ÿ76.ÿC1:ÿC1BC>Uÿ:-.Aÿ>-1B9@ÿC1:ÿF.ÿB>.@ÿ=Cÿ:-.
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   >:16.>ÿ@7:7ÿC7:=M.9Aÿ7>ÿ7ÿ5678-D                          5678-D
  P1ÿ01:ÿQ>.ÿR76I>ÿ=Cÿ:-.ÿS9B679ÿT16<DÿK.H7B>.ÿ:67@.<76I>ÿ76.ÿC1:ÿC1BC>Uÿ:-.Aÿ>-1B9@ÿC1:ÿF.ÿB>.@ÿ=Cÿ:-.ÿ89B679
  ;16<DÿT16ÿ.V7<89.W
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   ,-.ÿ0.1234ÿ897:;16<ÿ7991?>ÿ<B9:=89.ÿ=C>:7CH.>ÿ1;ÿ:-. Z=5-Y7M7=97F=9=:AÿH9B>:.6=C5ÿ7991?>ÿ7ÿH9B>:.6ÿ1;
   0.123ÿ@7:7F7>.ÿ>1;:?76.ÿ:1ÿ;16<ÿ7ÿ>=C59.ÿ-=5-9AY =C>:7CH.>ÿ:1ÿF.ÿ;16<.@ÿB>=C5ÿ<B9:=89.ÿ0.123>D
   7M7=97F9.ÿH9B>:.6D
  P1ÿ01:ÿQ>.ÿR76I>ÿ:1ÿ[B55.>:ÿ\C@16>.<.C:ÿFAÿ0.123Dÿ
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   5678-ÿ@7:7F7>.ÿ>1;:?76.                                   _`aÿ\0,\bSbE[\ÿcD2DdÿeTb\\ÿf0Pÿ^S\0
                                                             Q0b\[,bEN,\Pÿ0\^2gÿ\0,\bSbE[\ÿT^bhi
  Q>.ÿ1;ÿj151>
  `1Bÿ<7AÿC1:ÿH-7C5.ÿ7CAÿj151ÿ.VH.8:ÿ:1ÿ>H79.ÿ=:ÿ861816:=1C799ADÿ,-=>ÿ<.7C>ÿA1Bÿ<7AÿC1:ÿ7@@ÿ@.H167:=M.
  .9.<.C:>UÿH-7C5.ÿ:-.ÿH1916>UÿH-7C5.ÿ:-.ÿ861816:=1C>Uÿ@=>:16:ÿ=:Uÿ7@@ÿ.9.<.C:>Uÿ16ÿH1<F=C.ÿ=:ÿ?=:-ÿ1:-.6ÿ9151>Dÿ,-.
  9151ÿ<7Aÿ1C9AÿF.ÿB>.@ÿ@=>897A=C5ÿ:-.ÿ.V7H:ÿH1916>ÿ>-1?Cÿ=Cÿ1B6ÿ[:A9.ÿkB=@.D
  R76Iÿf::6=FB:=1Cÿ7C@ÿ01:=H.>
  ,-.ÿ;=6>:ÿ16ÿ<1>:ÿ861<=C.C:ÿ<.C:=1Cÿ1;ÿ7ÿR76Iÿ1Cÿ7ÿ?.F875.Uÿ@1HB<.C:Uÿ87HI75=C5Uÿ16ÿ@1HB<.C:7:=1Cÿ>-1B9@ÿF.
  7HH1<87C=.@ÿFAÿ7ÿ>A<F19ÿ=C@=H7:=C5ÿ?-.:-.6ÿ:-.ÿ<76Iÿ=>ÿ7ÿ6.5=>:.6.@ÿ:67@.<76Iÿe]4]iÿ16ÿ7CÿBC6.5=>:.6.@
  :67@.<76Iÿe]L]iDÿf9>1Uÿ=;ÿA1Bÿ76.ÿB>=C5ÿ1B6ÿR76I>ÿ;16ÿB>.>ÿ;16ÿ?-=H-ÿ?.ÿ76.ÿ567C:=C5ÿ7ÿ>.8767:.ÿ9=H.C>.Uÿ89.7>.
  8B:ÿ;1991?=C5ÿC1:=H.ÿ7:ÿ:-.ÿ;11:ÿ1;ÿ:-.ÿ875.ÿ?-.6.ÿA1Bÿ-7M.ÿB>.@ÿ:-.ÿR76Iÿe16Uÿ=;ÿ=Cÿ7ÿF11IUÿ1Cÿ:-.ÿH6.@=:>ÿ875.iU
  1Cÿ7CAÿ87HI75=C5ÿ16ÿ97F.9=C5Uÿ7C@ÿ1Cÿ7@M.6:=>=C5ÿ16ÿ<76I.:=C5ÿ<7:.6=79>Wÿ]0.123ÿ=>ÿ7ÿ:67@.<76Iÿ16ÿ6.5=>:.6.@
  :67@.<76Iÿ1;ÿ0.123UÿECHDÿ16ÿ=:>ÿ>BF>=@=76=.>ÿ=Cÿ:-.ÿQC=:.@ÿ[:7:.>ÿ7C@l16ÿ1:-.6ÿH1BC:6=.>Dmÿ
  S1>>=F9.ÿEC;6=C5.<.C:
  E;ÿA1Bÿ76.ÿ7?76.ÿ1;ÿ7CAÿH1C;B>=C5ÿB>.ÿ16ÿ<=>B>.ÿ1;ÿ:-.ÿR76I>ÿ=Cÿ7CAÿ?7AUÿ?.ÿ?1B9@ÿ7886.H=7:.ÿA1BÿF6=C5=C5ÿ:-=>
  :1ÿ1B6ÿ7::.C:=1CDÿS9.7>.ÿH1C:7H:ÿB>ÿ7:ÿ?.F=C;1nC.123DH1<ÿ>1ÿ:-7:ÿ?.ÿH7Cÿ=CM.>:=57:.ÿ=:ÿ;B6:-.6D
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  %&'()*+
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  (=8ÿF9*+)4-=+ÿ(A-9)ÿ)34+ÿ:-;4<8Gÿ@-9;'ÿ;4D*ÿ)-ÿ+&*(Dÿ@4)3ÿ9+ÿ(A-9)ÿ)3*ÿ9+*ÿ-7ÿ-91ÿH(1D+ÿ4=ÿ@(8+ÿ=-)ÿ'*+<14A*'ÿ4=
  )3*ÿ:-;4<8Gÿ-1ÿ+**ÿ(=8ÿ(A9+*ÿ-7ÿ-91ÿH(1D+Gÿ&;*(+*ÿ<-=)(<)ÿ9+>
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         jQLJhKLMLkLlNlvwsx
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                                                  EXHIBIT C
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T h e G r a p h Fo u n d a t i o n
Open Graph Technology for Public Good                                                                          Menu




    ONgDB (Open Native Graph DB)

            Downloads    10K+            Star     121     Pull   154K+



   ONgDB is a fork of the neo4j enterprise project that continues development of neo4j enterprise as a fully open
   source project after Neo4j Inc’s Open Core Shift that suspended development of enterprise as an open source
   project and removed the open source code.


   ONgDB is a high performance, native graph store with everything you would expect from an enterprise-ready
   database, including high availability clustering, ACID transactions, and uses the intuitive, pattern-centric open
   cypher query language. Developers use graph theory-based structures that we call nodes and relationships
   instead of rows and columns. For many use cases, ONgDB will provide orders of magnitude performance bene ts
   compared to non-native graph, relational and NoSQL databases.



   Open Source License

   ONgDB distributions are licensed under AGPLv3 as a free and open source alternative to currently available
   proprietary native graph offerings such as Neo4j Enterprise Edition.



   Current Release



     ONgDB 3.6.0.RC1

     2 May 2020: Release Notes | Source Code | Documentation



     Mac/Linux                       ongdb-enterprise-3.6.0.RC1-unix.tar.gz

     Windows 64 bit                  ongdb-enterprise-3.6.0.RC1-windows.zip

     Windows 32 bit                  ongdb-enterprise-3.6.0.RC1-windows.zip

     Docker Image                    ONgDB 3.6.0.RC1 Docker Hub

https://www.graphfoundation.org/projects/ongdb/                                                                        1/5
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                                         docker run \
                                                  --publish=7474:7474 --publish=7687:7687 \
                                                  --volume=$HOME/ongdb/data:/data \
                                                  graphfoundation/ongdb:3.6



                                     Go to: http://localhost:7474




   Latest Stable Release



     ONgDB 3.5.17

     9 April 2020: Release Notes | Source Code



     Mac/Linux                       ongdb-enterprise-3.5.17-unix.tar.gz

     Windows 64 bit                  ongdb-enterprise-3.5.17-windows.zip

     Windows 32 bit                  ongdb-enterprise-3.5.17-windows.zip

                                     ONgDB 3.5.17 Docker Hub




                                         docker run \
                                                  --publish=7474:7474 --publish=7687:7687 \
     Docker Image                                 --volume=$HOME/ongdb/data:/data \
                                                  graphfoundation/ongdb:3.5



                                     Go to: http://localhost:7474




   Previous Releases

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         3.5.16
         3.5.15
         3.5.14
         3.4.17
         3.4.15


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   Interested in Contributing to ONgDB Development?

   There are many ways to contribute to the exciting development of the worlds most powerful open source graph
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   The Graph Foundation Build Server will build and make distributions available for git branches on active
   projects. If you would like a distribution built with your modi cation, follow the steps for committers and submit a
   Pull Request with your contribution.



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       Heimdall

       ONgDB (Open Native Graph DB)

            ONgDB Releases

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                  ONgDB 3.5.17

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                  ONgDB 3.5.4

                  ONgDB 3.6.0.M1

                  ONgDB 3.6.0.M2
                  ONgDB 3.6.0.RC1

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            K.ÿ.;@/D=5L.ÿ.MA.=3?.;9593/;ÿE39:ÿ-./01BÿC/Dÿ@5;ÿ8D37<ÿ.M9.;43/;4ÿ9/ÿ-./01>ÿ<.6.7/Aÿ738=5=Fÿ/=ÿ<=36.=4ÿ59/Aÿ9:.ÿA=/<D@9>ÿ/=
            ?5N.ÿ@/;9=38D93/;4ÿ<3=.@97Fÿ9/ÿ9:.ÿA=/<D@9ÿ@/=.BÿC/DO77ÿ;..<ÿ9/ÿ43L;ÿ5ÿP/;9=38D9/=ÿQ3@.;4.ÿRL=..?.;9ÿ3;ÿ/=<.=ÿS/=ÿD4ÿ9/
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            9:59ÿ?56.;ÿ;..<4ÿ?/=.ÿ?.?/=Fÿ9:5;ÿ9:.ÿ495;<5=<ÿ@/;S3LD=593/;>ÿ9:34ÿ@5;ÿ8.ÿ5@:3.6.<ÿE39:ÿefghijÿlmnopqrstuvwxyzf{|}zwB
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            ÿÿF?ZZ87E                  ÿÿH;65F<4E                  ÿÿ;4[46E4E               ÿÿF?57;8HK7?;E                 ÿX:VW>]I
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      I.87<KHMOPPQRSTRUVWXTR                 Y4Z?94ÿFKE7?Zÿ74Z3[674I                                                                         @ÿZ?57<Eÿ6.?
      IZ95                                   XGGÿ7<4ÿZ6945>3;?B8[4;ÿ4\745E8?5                                                                  ]ÿJ46;Eÿ6.?
      HK8[G>;4E?K;F4E                        ]I^I_`                                                                                            aÿ<?K;Eÿ6.?
      HK8[G                                  XGG4GÿHK8[Gÿ65Gÿ8574[[8AÿF?G4E7J[4ÿB8[4ÿB?;ÿG494[?34;Eÿ?Bÿ,-./0ÿD<?ÿKN                          aÿZ?57<Eÿ6.?
      F?ZZK587J                              U4;.4ÿ;4Z?74>7;6FC85.ÿH;65F<ÿb54?@AM]I^bÿ857?ÿ]I^                                                 aÿ<?K;Eÿ6.?
      4574;3;8E4                             ]I^I_`                                                                                            aÿ<?K;Eÿ6.?
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      36FC6.85.                              U4;.4ÿ;4Z?74>7;6FC85.ÿH;65F<ÿb54?@AM]I^bÿ857?ÿ]I^                                                 aÿ<?K;Eÿ6.?
      E7;4EE74E7E                            ]I^I_`                                                                                            aÿ<?K;Eÿ6.?
      7??[E                                  ]I^I_`                                                                                            aÿ<?K;Eÿ6.?
      I.878.5?;4                             P<6G4ÿXPUÿ7?ÿ69?8GÿF?5B[8F7Eÿ85ÿ4ZH4GG4GÿG43[?JZ457E                                              `ÿJ46;Eÿ6.?
      IEF6[6BZ7IF?5B                         858786[ÿEF6[6ÿ6K7?>B?;Z67785.ÿ?BÿK78[ÿZ?GK[4                                                      `ÿJ46;Eÿ6.?
      c,-TYO0QTO-:IZG                        c<65.4ÿE?Z4ÿZ?;4ÿ<773ÿ7?ÿ<773E                                                                    ]ÿJ46;Eÿ6.?
      WOcR-PRI7\7                            Q3G674Gÿ7<4ÿWOcR-PRI7\7ÿB8[4ÿ7?ÿH4ÿ3K;4ÿX:VWÿ6Eÿ7?ÿ5?7ÿ98?[674ÿ7<4ÿBEN                          dÿZ?57<Eÿ6.?
      YRX/URI6EF88G?F                        Q3G674GÿG?FKZ457678?5ÿ7?ÿ;4B4;45F4ÿAGCZ65ÿKE6.4ÿB?;ÿHK8[G85.ÿG8E7;8HKN                             [6E7ÿZ?57<
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         65Gÿ;?HKE7ÿG676H6E4ÿ[8C4ÿ6ÿB;845G[JÿK4;Jÿ[65.K6.4ÿ65GÿXcO/ÿ7;65E6F78?5EIÿT<4ÿ3;?.;6ZZ4;ÿD?;CEÿD87<ÿ6ÿB[4\8H[4ÿ547D?;C
         E7;KF7K;4ÿ?Bÿ5?G4Eÿ65Gÿ;4[678?5E<83Eÿ;67<4;ÿ7<65ÿE7678Fÿ76H[4EÿÿJ47ÿ45A?JEÿ6[[ÿ7<4ÿH454B87Eÿ?Bÿ4574;3;8E4>K6[87JÿG676H6E4Iÿ?;
         Z65Jÿ633[8F678?5Eÿ-4?@Aÿ?BB4;Eÿ?;G4;Eÿ?BÿZ6.587KG4ÿ34;B?;Z65F4ÿH454B87EÿF?Z36;4Gÿ7?ÿ;4[678?56[ÿ/0EI
         W46;5ÿZ?;4ÿ?5ÿ7<4ÿ-4?@AÿD4HE874I
         W46;5ÿZ?;4ÿ6H?K7ÿ,-./0ÿ67ÿ:;63<ÿ?K5G678?5ÿD4HE874
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         H38K-3Iÿ4:17ÿ:<-ÿ731H20:Jÿ13ÿ94M-ÿ01/:38F2:81/IÿH83-0:GLÿ:1ÿ:<-ÿ731H20:ÿ013-DÿE12NGGÿ/--Hÿ:1ÿI85/ÿ4ÿO1/:38F2:13ÿP80-/I-
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                    H83-0:13LYÿ8IÿTVPKZDÿS<-ÿ[/:-3738I-ÿ-H8:81/ÿW-/:-3738I-XYÿ8IÿG80-/I-Hÿ2/H-3ÿ:<-ÿQTVPKZD
         \]^]_`]_ab]c
         >-1BCÿ8IÿF28G:ÿ2I8/5ÿQ740<-ÿd4K-/ÿK-3I81/ÿZDZÿ4/Hÿ4ÿ3-0-/:ÿK-3I81/ÿ1RÿI27713:-HÿedDÿ@4I<ÿ4/Hÿd4M-ÿ43-ÿ4GI1ÿ3-f283-HDÿ>1:-
         :<4:ÿ94K-/ÿ/--HIÿ913-ÿ9-913Lÿ:<4/ÿ:<-ÿI:4/H43Hÿ01/R85234:81/Jÿ:<8Iÿ04/ÿF-ÿ40<8-K-Hÿ;8:<ÿghijklÿnopqrstuvwxyz{|h}~|yD
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         VG-4I-ÿ/1:-ÿ:<4:ÿ;-ÿH1ÿ/1:ÿI27713:ÿF28GH8/5ÿ?-F84/ÿ740M45-Iÿ1/ÿ=ÿD
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         CHMIÿ;-ÿ;8GGÿ27H4:-ÿ:<8IÿH1029-/:4:81/D
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         L123ÿG898:ÿ1/ÿ17-/ÿR8G-Iÿ8IÿI-:ÿ:1ÿ4ÿ3-4I1/4FG-ÿK4G2-DÿE12ÿ04/ÿ:-I:ÿ8:ÿ;8:<ÿ©|lÿzDÿ,-ÿ3-0199-/HÿL12ÿ<4K-ÿ4ÿG898:ÿ1Rÿ4:
         G-4I:ÿB¹D
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              S-I:ÿ-6-02:81/ÿ8IJÿ1Rÿ0123I-Jÿ743:ÿ1Rÿ:<-ÿF28GHD
              º/ÿ04I-ÿL12ÿC2I:ÿ;4/:ÿ:<-ÿC43IJÿ;8:<12:ÿ32//8/5ÿ:-I:IJÿ:<8Iÿ8IÿR13ÿL12ÿ|ÿ¨gÿlÿz±¥ivglD
              S1ÿF28GHÿ731H20:ÿ740M45-IJÿH1ÿghijklÿuov»xy²¼uov»yÿ½½ÿ|¥gÿ¨gÿÿ8/ÿ:<-ÿ740M458/5ÿH83-0:13Lÿ4R:-3ÿF28GH8/5
              43:8R40:Iÿ;8:<ÿd4K-/D
              S1ÿF28GHÿ:<-ÿH1029-/:4:81/ÿI--ÿ:<-ÿ>-1BCÿH1029-/:4:81/D
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              I01ÿ<2/ÿ544>ÿ80ÿ65A342=4ÿ8G4ÿ<4<03/ÿ2F26;2:;4ÿ80ÿJ2F45KÿLMNOPQÿSTUVWXYZ[\]^_`aMbcda^H
         efgghgiÿklimnÿoÿlpqrs
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         azvzayxzxÿ25>ÿ8G45ÿA>ÿ6580ÿwOaavzQ~{LPuLPÿ25>ÿ315
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         B7ÿÿB40CDÿ0<<1568/ÿ>68605ÿ6=ÿ25ÿ0945ÿ=013A4ÿ930>1A8ÿ;6A45=4>ÿ15>43ÿFH
         B7ÿÿB40CDÿ5843936=4ÿ>68605ÿ4925>=ÿ8G4ÿ-15A86052;68/ÿ0-ÿ0<<1568/ÿ>68605ÿ@68Gÿ5843936=4732>4ÿ-428134=H
         B7ÿÿB40CDÿ5843936=4ÿA05=6=8=ÿ0-ÿ<0>1;4=ÿ-30<ÿB40CDÿ0<<1568/ÿ>68605ÿ25>ÿ<0>1;4=ÿ;6A45=4>ÿ15>43ÿtFÿ65ÿ8G6=
         3490=6803/H




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     ONgDB 3.4.9

   RELEASE DATE: 14 OCTOBER 2018


   ONgDB 3.4.9 is a maintenance release with an important security fix and some fixes.


     Mac/Linux                     ongdb-enterprise-3.4.9-unix.tar.gz

     Windows 64 bit                ongdb-enterprise-3.4.9-windows.zip

     Windows 32 bit                ongdb-enterprise-3.4.9-windows.zip

                                   ONgDB 3.4.9 Docker Hub




                                        docker run \
                                                    --publish=7474:7474 --publish=7687:7687 \
     Docker Image
                                                    --volume=$HOME/neo4j/data:/data \
                                                    graphfoundation/ongdb-enterprise:3.4.9


                                        Go to:         http://localhost:7474




   Security Update

        ONgdB 3.4.x LDAP Security Vulnerability when using StartTLS and System Account


        We have very recently discovered a bug that results in a security vulnerability in ONgDB 3.4 versions
        that use LDAP authentication with StartTLS and use a System Account for authentication. The issue
        was reported in GitHub issue 12047.


https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-4-9/                                                1/3
                                                                                                     N4J-GFI_000066
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        We have fixed this issue in ONgDB 3.4.9, which we advise you to upgrade to as soon as possible.


        Scope: This affects all ONgDB 3.4.x versions that use LDAP for authentication, and have configured to
        use StartTLS (dbms.security.ldap.use_starttls=true) and are using System Account
        (dbms.security.ldap.authorization.use_system_account=true). Note, that both of these settings are false
        by default, so only those who have explicitly set these are affected. Users of LDAPS are not affected.
        Earlier versions of ONgDB are also not affected.


        Workaround: It’s possible to work around the issue without upgrading the software. To do this, comment
        out the “use StartTLS” configuration parameter in the ONgDB.conf file on all ONgDB 3.4.x servers in
        your cluster and restart each instance for this to take effect. This can be done in a rolling fashion
        without downtime. Later, once you are able to upgrade to 3.4.9, upgrade to that version (in a rolling
        fashion if in a clustered environment), uncomment the configuration parameter to enable StartTLS, and
        restart the database.


   Other Fixes and Improvements

        Incremental online backup now leaves the resulting backed up store in a fully recovered state. This
        fixes problems with seeding a Causal Cluster with a store from an incremental online backup.

        Cypher fix for ORDER BY + LIMIT 0 when using slotted runtime

        Browser now correctly handles :queries in clustered environments when not all members could be
        reached


   Detailed Changes and Docs
   For the complete list of all changes, please see the changelog. Look for 3.4 Developer manual here, and 3.4
   Operations manual here.




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https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-4-9/                                              2/3
                                                                                                        N4J-GFI_000067
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             ONgDB Releases

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                  ONgDB 3.4.12

                  ONgDB 3.4.9

                  ONgDB 3.5.1

                  ONgDB 3.5.3
                  ONgDB 3.5.4

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https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-4-9/                                           3/3
                                                                                                     N4J-GFI_000068
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     ONgDB 3.4.11

   RELEASE DATE: 17 DECEMBER 2018


   ONgDB 3.4.11 is a maintenance release with many important improvements and fixes.


     Mac/Linux                     ongdb-enterprise-3.4.11-unix.tar.gz

     Windows 64 bit                ongdb-enterprise-3.4.11-windows.zip

     Windows 32 bit                ongdb-enterprise-3.4.11-windows.zip

                                   ONgDB 3.4.11 Docker Hub




                                        docker run \
                                                    --publish=7474:7474 --publish=7687:7687 \
     Docker Image
                                                    --volume=$HOME/neo4j/data:/data \
                                                    graphfoundation/ongdb:3.4.11


                                        Go to:         http://localhost:7474




   Highlights

        Fix count query returning no rows on entity inconsistency

        Removes explicit ONgDB-admin import db existence check

        Fix VM pause monitor logging


   Detailed Changes and Docs
https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-4-11/                                                1/3
                                                                                                      N4J-GFI_000069
9/24/2019         Case 5:18-cv-07182-EJDONgDB
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   For the complete list of all changes, please see the changelog. Look for 3.4 Developer manual here, and 3.4
   Operations manual here.




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                  ONgDB 3.5.3
                  ONgDB 3.5.4

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https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-4-11/                                            2/3
                                                                                                      N4J-GFI_000070
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https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-4-11/                                           3/3
                                                                                                      N4J-GFI_000071
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     ONgDB 3.4.12

   RELEASE DATE: 18 JANUARY 2019


   ONgDB 3.4.12 is a maintenance release with many important improvements and fixes.


     Mac/Linux                     ongdb-enterprise-3.4.12-unix.tar.gz

     Windows 64 bit                ongdb-enterprise-3.4.12-windows.zip

     Windows 32 bit                ongdb-enterprise-3.4.12-windows.zip

                                   ONgDB 3.4.12 Docker Hub




                                        docker run \
                                                    --publish=7474:7474 --publish=7687:7687 \
     Docker Image
                                                    --volume=$HOME/neo4j/data:/data \
                                                    graphfoundation/ongdb:3.4.12


                                        Go to:         http://localhost:7474




   Highlights


         When a native memory allocation fails, ONgDB will now include helpful debugging information in all such
         cases, instead of just some of them.

         Close all index readers opened during lockingNodeUniqueIndexSeek



https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-4-12/                                                1/3
                                                                                                      N4J-GFI_000075
9/24/2019         Case 5:18-cv-07182-EJDONgDB
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         Fixes a race updating the label index, where e.g. a node CREATE followed by DELETE could be reordered
         into DELETE followed by CREATE, and vice versa.

         Obsfucate LDAP system password in debug log


   Detailed Changes and Docs
   For the complete list of all changes, please see the changelog. Look for 3.4 Developer manual here, and 3.4
   Operations manual here.




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                  ONgDB 3.4.9

                  ONgDB 3.5.1

                  ONgDB 3.5.3
                  ONgDB 3.5.4

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https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-4-12/                                            2/3
                                                                                                      N4J-GFI_000076
9/24/2019         Case 5:18-cv-07182-EJDONgDB
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https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-4-12/                                           3/3
                                                                                                      N4J-GFI_000077
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     ONgDB 3.5.1

   RELEASE DATE: 20 DECEMBER 2018


   ONgDB 3.5.1 is a maintenance release with many important improvements and fixes.


     Mac/Linux                     ongdb-enterprise-3.5.1-unix.tar.gz

     Windows 64 bit                ongdb-enterprise-3.5.1-windows.zip

     Windows 32 bit                ongdb-enterprise-3.5.1-windows.zip

                                   ONgDB 3.5.1 Docker Hub




                                        docker run \
                                                    --publish=7474:7474 --publish=7687:7687 \
     Docker Image
                                                    --volume=$HOME/neo4j/data:/data \
                                                    graphfoundation/ongdb:3.5.1


                                        Go to:         http://localhost:7474




   Highlights

        Update reported metrics types to correctly represent nature of reported event

        Removes explicit neo4j-admin import db existence check

        Fix public api: revive legacy iterators

        Fix VM pause monitor logging


https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-5-1/                                                1/3
                                                                                                     N4J-GFI_000072
9/24/2019         Case 5:18-cv-07182-EJDONgDB
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        Fix an error that made the timestamp function case sensitive

        Fix issue with compiled runtime and count(), where transient entity inconsistencies would make some
        aggregating queries (e.g. MATCH (n:Artist) WHERE n.name = ‘Madonna’ RETURN count(n)) return
        fewer rows than expected


   Detailed Changes and Docs
   For the complete list of all changes, please see the changelog. Look for 3.5 Operations manual here.




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                  ONgDB 3.5.3
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https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-5-1/                                           2/3
                                                                                                     N4J-GFI_000073
9/24/2019         Case 5:18-cv-07182-EJDONgDB
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https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-5-1/                                           3/3
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     ONgDB 3.5.3

   RELEASE DATE: 11 FEBRUARY 2019


   ONgDB 3.5.3 is a maintenance release with many important improvements and fixes.


     Mac/Linux                     ongdb-enterprise-3.5.3-unix.tar.gz

     Windows 64 bit                ongdb-enterprise-3.5.3-windows.zip

     Windows 32 bit                ongdb-enterprise-3.5.3-windows.zip

                                   ONgDB 3.5.3 Docker Hub




                                        docker run \
                                                    --publish=7474:7474 --publish=7687:7687 \
     Docker Image
                                                    --volume=$HOME/neo4j/data:/data \
                                                    graphfoundation/ongdb:3.5.3


                                        Go to:         http://localhost:7474




   Highlights
         Fix bug in slotted NodeRightOuterHashJoin, which would lead to wrong results.

         Adds IndexReader#distinctValues() able to access all distinct values in an index with number of indexed
         entries for each value. Values are materialized if user requests it and the index supports materialization of
         actual values.

         Fix issue with PROFILE and EXPLAIN of queries with unusual variable names

         Delete spammy log line reported on LEADER on FOLLOWER failure
https://www.graphfoundation.org/projects/ongdb/releases/ongdb-3-5-3/                                                     1/3
                                                                                                       N4J-GFI_000086
9/24/2019         Case 5:18-cv-07182-EJDONgDB
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                                              3.5.3 - Open        Filed 12/11/20
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   Detailed Changes and Docs
   For the complete list of all changes, please see the changelog. Look for 3.5 Operations manual here.




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T h e G r a p h Fo u n d a t i o n
Open Graph Technology for Public Good                                                                     Menu



    Neo4j is Open Core – Now What?




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   The word responsibility can be thought of in a simple way. If you have an ability what is your response to
   that ability? If there’s a need and you’re able to meet it, what is your response? Will you act and use your
   ability to improve the situation for the betterment of everyone? If keeping the best open source graph
   database on the market today fully open source and truly enabling “Graphs for Everyone” is a mission for
   you and/or your organization then keep reading through to the end. If you care but don’t need to know all
   the details right now then skip down to the TL;DR.


   We’ve been in the graph community for a while now (circa 2011) and we know a bit about the origins of the
   open source neo4j graph database. We’ve seen rst-hand the powerful transformation that graph brings to
   organizations and its potential to enhance the way complex data is stored, processed and queried now and
   in the future. We know that the success of an open source database goes well beyond the commits made
   to the repository. Engineering is important, yes, and there is plenty of that needed when building a
   database, but it’s not the only contributing factor to enabling a great open source database, especially in
   the emerging graph database space. There are many key roles including entrepreneurs to build supporting
   businesses and ecosystem products, early customer adopters, implementations that stress and push the
   technology to the edge, testing and reporting defects from usage, promotion, discussion and exposure at
   events, meetups and conferences, community support, training and skill building across the user base, a
   sharing of vision and community involvement and likely many more that we don’t even see.


   The open source neo4j graph database (hereafter the lowercase “neo4j”) has thrived since 2011 because it
   has been fully open source. In the very early days it’s dif cult to get adoption of a new database technology,
   especially one that is closed source. Many organizations have open source initiatives, especially around
   databases, to avoid the lock-in and closed ecosystems that occur with relational databases from Oracle,
   SAP and Microsoft. The open stack initiative was born out the need to scale database technologies to
   achieve business solutions without facing unknown and often staggering licensing costs. The Open Source
   Initiative created momentum around the adoption of open source databases and neo4j has bene tted
   from this by being fully open source.



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   Unfortunately neo4j has always had a split licensing personality. In the early days, Emil (founder and CEO of
   Neo Technology, Inc.) faced challenges in how to commercialize neo4j and gure out what features were
   enterprise vs. community. In the end, the line was drawn to designate clustering, backups, restore,
   monitoring, metrics, security, constraints, scalable database format for big graphs, and enhance cypher as
   enterprise features while the core kernel, cypher and server capabilities would be designated as
   community. With the separate designations for enterprise and community came separate licenses AGPLv3
   and GPLv3 respectively. Why Emil chose these licenses stems from the beginning when neo4j was mostly
   used as an embedded database and the less permissible enterprise AGPLv3 license would have required
   some projects embedding neo4j enterprise to be open source or get a commercial license (in the early days
   we worked on some of these embedded cases).


   When server mode emerged in 1.8 (2012) and folks stopped embedding neo4j, the AGPLv3 open source
   license allowed usage of the standalone server without a commercial license. The introduction of server
   mode was essential and if the license had changed at that time to restrict enterprise features (such as
   clustering in server mode), it would have greatly impacted the adoption of still very immature database.
   Instead, what followed was the start of Neo Technology’s split licensing personality. On the one hand, if you
   visited the Github neo4j open source project you would see an AGPLv3 license that allowed enterprise
   usage and at the major Graph Connect conference Neo Technology would promote these enterprise
   features and the open source contribution of them. On the other hand, sales and marketing would create
   confusion among commercial users that neo4j enterprise needed a license to avoid open sourcing their
   project code (which was only true for embedded use cases of which there are only a handful still to date).


   It was only recently that Neo4j, Inc. came into existence. Before that it was Neo Technology, Inc. and the
   commercial license was so appropriately called the Neo Technology Commercial License (NTCL). This
   meant community and enterprise could be used as-is without warranty under GPLv3 and AGPLv3
   respectively or exclusively enterprise supported under the NTCL. Any neo4j users had the freedom to
   checkout neo4j community and enterprise source under one GitHub repository, compile and run all the
   tests, see the open development of the project, report issues and build distributions of both community
   and enterprise under GPLv3 and AGPLv3 respectively. This was good for community as it showed a vibrant
   ecosystem where everyone understood that core freedoms were being promoted and Neo Technology
   was able to commercialize enterprise under NTCL for enterprise customers that needed support.


   At some point in neo4j’s growth and adoption, around year 2015, neo4j became a clearly viable database –
   this wasn’t the case from 2011-2015 when it suffered heavily from failed deployments as the result of
   scalability and reliability issues for many now common use cases. With neo4j becoming increasingly
   popular and more commercial licenses in hand, Neo Technology accelerated commercialization efforts
   around neo4j enterprise which included an increase in marketing rhetoric that focused on commercial
   customers needing a license (NTCL) to use enterprise. At the same time, Neo Technology continued to
   promote the open source nature and contributions of the company. This dual position led to confusion in
   the community and frustrations among commercial neo4j users but ultimately allowed Neo Technology to
   grow its commercial customer base while appealing to open source communities giving it all the bene ts of
   riding the open source wave.

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   It was between 2016-2018 that Neo Technology made the big changes. Unknown to the community they
   acquired trade marks on Neo4j and Cypher (both were commons usage until that point) and Neo
   Technology, Inc. changed its name to Neo4j, Inc. The build tooling that had allowed neo4j enterprise users
   to build enterprise distributions was removed from the open source repository. The enterprise license
   changed from AGPLv3 to AGPLv3 + Commons Clause and was applied to the then mainline 3.4 release and
   backported to patch releases for 3.2 and 3.3 to attempt a block at subsequent patch releases. And when
   Neo4j, Inc. realized that the additional Commons Clause didn’t prevent usage of enterprise features, it
   made the ultimate decision to remove all enterprise modules including tools and tests from open source
   and declare publicly that Neo4j, Inc. is now an Open Core organization leaving neo4j community alone as
   open source.


   So why does it matter so much that the enterprise features were taken closed? Well for any like-minded
   architects out there with open source initiatives we know that a database we choose needs to be open
   source so we can see it, build it, know there is a community engaged around it and good commercial
   support so that our organization has the option to reduce risk and improve business continuity as desired.
   We also know that any viable database needs to be performant (enhanced cypher runtime), vertical and
   horizonal scale (clustering, sharding, query parallelization), operational and administration ease (backups,
   restore, monitoring, metrics, logging), security to lock it down and constraints to ensure integrity. All of
   these are core features for a modern database to be in a modern data architecture. It was the enterprise
   features and the fact they were open that enabled neo4j to enter the modern architecture. The reason we
   say modern architecture is because it’s not just an enterprise architecture. Any more these days, any
   initiative worth undertaking requires a scalable architecture. Any product or platform worth building
   demands an underlying scalable foundation and very often an open source architecture in addition. The
   remaining community features do not meet these needs and while enterprise features can still be access
   through Neo4j, Inc. they are propriety and do not meet open initiative requirements.


   Organizations that adopt a proprietary enterprise should be aware of the specialized data format in
   enterprise today. The database format for building large graphs (bigger than 34 billion nodes/relationships)
   was designated as an enterprise feature and is required when using enterprise. When users move from
   community to enterprise there is a data format migration performed that is irreversible. This means that all
   enterprise users today, after they upgrade to 3.5 will be using a proprietary data format that will forever
   have them locked-in. Based on Neo4j, Inc.’s trajectory, this may be intentional so they can continue to move
   closer to their vision of becoming the Oracle of graph databases as they think of it.


   We see a bigger vision for graph unfolding where there is going to be a much bigger need for scalability,
   performance and compute in a distributed manner as graphs begin to play a central role in machine
   learning, arti cial intelligence and the new age de nitions of both as they will be continue to be rede ned to
   move beyond the de nitions from the 60’s. The way we see it, clustering, sharding, parallel cypher and big
   graph performance will be essential in this coming age and cannot be proprietary, closed source enterprise
   features. Every organization has a vested interest in this future mission and it’s essential that the handling
   of this critical component is done in the open for everyone.


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   The only way for neo4j enterprise users and those community users needing enterprise features is to make
   a bold move to The Graph Foundation. We started Graph Foundation, Inc. (referred to as The Graph
   Foundation) in June 2018 when we noticed Neo4j’s position beginning to change and the implications of
   this for the community and ecosystem. The Graph Foundation is a nonpro t with 501(c)(3) status and its
   goal is to take over neo4j enterprise development and continue forward under a model that closely
   resembles that of The Linux Foundation.


   We see that one of the most important aspect about neo4j is that it’s an open source native graph
   database. We call it native to separate from other graph layers built on RDBMS and NoSQL databases that
   use indexes or joins to form relationships while native graphs like neo4j store nodes and relationships as
   fast mapped pointers at a store level giving peak performance when traversing complex, densely
   connected data. In 2003, we were obsessed with learning about open source and the world that it had
   created. As a big users of Linux we learned of the efforts of the Free Software Foundation that gave us not
   only the freedoms we came to know and love but the tools to build and thrive without limitations. As a
   throwback to those early days and our beginnings on GNU (remember GNU’s Not Unix), we decided on the
   name ONgDB (oh-n-gee-db) which stands for Open Native Graph DB but also ONgDB’s Neo4j Graph DB.
   We just couldn’t resist the double meaning and the shout out to those that have come before us in
   pioneering the Free Open Source Software movement.


   In order to move ONgDB forward in a signi cant way, we’re going to need a lot of help. If keeping the best
   graph database on the market today open source and truly enabling “Graphs for Everyone” is a mission for
   you and/or your organization, there are a few things you can do to be an activist in this mission and help the
   cause.


   First, help spread the word and make every individual and organization aware of what’s happening. Don’t let
   the conversation end at a press release from Neo4j, Inc. This is bigger than that and Neo4j does not
   represent the collective voice of the graph community now or those that will need an open community and
   its solutions in the future. The fate of many is incorrectly in the hands of a few that do not seek interests in
   the best alignment for the future in store for us all.


   Second, if you have the skill, ability or just sheer passion for learning and working with a foundation of
   inspiring individuals ready to teach and help you grow, this is one of the greatest technology initiative of
   your time to be part of in ushering in a change for the ages. We are going to take graph to the next level and
   you will be part of this historical movement.


   Third, if you have open initiatives for data architecture at your organization then you need to cut your
   licenses from Neo4j, Inc. Don’t invest monetarily in a proprietary future. If you need commercial support
   beyond the community, and many organizations will, The Graph Foundation has commercial sponsors
   working and contributing to the open source initiative and you should contact us for those commercial
   sponsors that will work with you to give you the support, liability and warranty you need to succeed. Many
   of the engineers working on ONgDB alongside foundation engineers are coming from commercial
   sponsors that are donating time and resource to move the mission forward. Sponsors such as GraphGrid,

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   the top contributor to date have the most talented pool of engineers and commercial momentum to give
   enterprise customers the best choice for commercial support.


   Lastly, The Graph Foundation does have operating costs and is being donated to heavily by sponsors like
   GraphGrid. In order for the foundation to move forward we need to have more capacity within the
   foundation to continue on development and road mapping. Our desire is to have many commercial entities
   in uencing the future decisions of The Graph Foundation. The Graph Foundation is a 501(c)(3) which has
   nonpro t status from the IRS so any donations are tax deductible by any enterprise that makes a donation.
   Corporate sponsorship will help ensure The Graph Foundation thrives and has the backing to correctly
   move the broader graph vision forward in a way that serves those most invested in the future of graph.


   We see the future ahead; it’s connected and built on graph. We want to connect with you, right now to
   ensure that this future remains free and open to all. To this end we will not stop to until we have brought to
   fruition this vision which stands before us all. Will you join this mission?




   TL;DR


   Neo4j, Inc. made key performance, scalability and security features proprietary as of 3.5


   We must protect the freedoms of neo4j enterprise users by keeping enterprise open source to ensure a
   vibrant future for everyone, not the few


   Under current enterprise designations, the biggest gains in big graphs to power AI/ML/DeepGL,
   distributed/parallel Cypher and large clusters with sharding will be Neo4j Enterprise Edition features and
   require lock-in to a proprietary database


   The Graph Foundation, a nonpro t 501(c)(3), is taking over enterprise open source development and with
   the help of sponsors and the community will push forward a vision of graph that will be for everyone


   The Graph Foundation needs help! Consider sponsoring and getting commercial support from approved
   commercial sponsors to ensure enterprise development continues forward



            Brad Nussbaum


   Tags: FOSS, Neo4j, ONgDB


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                                                  EXHIBIT T
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                                          and do not include any express or implied right to use our trademarks. Neo4j
                                          does not allow third parties to use its trademarks without a written agreement
                                          or express permission. Thus, Neo4j projects that are available under open
                                          source licenses may be copied, modifed, or sold by third parties, but they
                                          cannot be branded or marketed with Neo4j trademarks in the absence of a
                                          trademark license.


                                          While open-source licenses allow modifcation of copyrighted software and
                                          disribution in original or modifed form, such disribution could be misleading if
                                          disributed under the same name. This could cause confusion among
                                          consumers of the software as to source. They may misakenly believe they are
                                          receiving software that is produced or supported by Neo4j. This Policy
                                          describes the circumsances under which you may use our trademarks,
                                          regardless of the type of license you may have from Neo4j. In this Policy we


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                                    are not trying to limit the lawful use of our trademarks, but rather describe for
                                          you what we consider the parameters of lawful use to be. Trademark law can
                                          be ambiguous, so we hope to provide enough clarity for you to undersand
                                          whether we will consider your use licensed or non-infringing.


                                          Neo4j® software, which is created and/or disributed by Neo4j, is the software
                                          in the exact form that it is disributed by Neo4j without modifcation of any kind.
                                          To the extent any authorized modifcations are made to the software, such
                                          modifed software should no longer bear the Neo4j trademarks. The public has
                                          a right to know when it is receiving a genuine Neo4j® product that is quality
                                          assured by Neo4j.


                                          The sections that follow describe what trademarks are covered by this Policy,
                                          as well as uses of the trademarks that are allowed without additional
                                          permission from us. Any use that does not comply with this Policy or for which
                                          we have not separately provided written permission is not a use that we have
                                          approved, so you mus decide for yourself whether the use is nevertheless
                                          lawful.


                                          Our Commitment to Open Source Principles
                                          We want to encourage and facilitate the use of our open source software by
                                          the community, but do so in a way that sill ensures that the Neo4j trademarks
                                          are meaningful as a source and quality indicator for our software and the
                                          associated goods and services and continue to embody the high reputation of
                                          the software and the community associated with it. This Policy therefore tries to
                                          srike the proper balance between: 1) our need to ensure that our trademarks
                                          remain reliable indicators of the qualities that they are meant to preserve and
                                          2) our community members’ desire to be full participants in Neo4j® projects.


                                          Trademarks Subject to the Guidelines

                                          Our Trademarks

                                          This Policy covers the following non-exhausive lis of our trademarks:


                                          1. Our word trademarks and service marks (the "Word Marks"):
                                              Neo4j®
                                              Cypher®



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                                      Neo4j® Bloom™
                                              Neo4j® Desktop™
                                              Neo Technology®

                                          2. Our logos (the "Logos")




                                          3. The unique visual styling of our website and elements used in or otherwise
                                              related to the products and services we offer (the "Trade Dress"). See our
                                              Style Guide for further information.


                                          This Policy encompasses all trademarks and service marks, whether Word
                                          Marks, Logos or Trade Dress, which are collectively referred to as the "Marks."
                                          Some Marks may not be regisered, but regisration is not necessarily required
                                          for ownership of trademarks. This Policy covers our Marks whether they are
                                          regisered or not.


                                          Universal Considerations for All Uses
                                          The following guidelines show proper (and improper) use of Marks. Any use of
                                          the Marks mus be licensed and comply with these guidelines. Whenever you
                                          use one of the Marks, you mus always do so in a way that does not mislead
                                          anyone, either directly or by omission, about exactly what they are getting and
                                          from whom. For example, you cannot say you are disributing the Neo4j®
                                          software when you’re disributing a modifed version of it, because people
                                          would be confused when they are not getting the same features and
                                          functionality they would get if they downloaded the software directly from us.
                                          You also cannot disribute Neo4j® software using the Marks if you do not have
                                          a license from us, because that would imply that your disribution comes from
                                          or is supported by Neo4j. You cannot use our Marks on your website in a way
                                          that suggess that your website is an ofcial website or that we endorse your


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                                    website, unless permitted in a written agreement with us. You can, though, say
                                          you like the Neo4j® software, say that you participate in the Neo4j®
                                          community, or refer to Neo4j® products and services.


                                          This fundamental requirement, that it is always clear to people what they are
                                          getting and from whom, is refected throughout this Policy. It should also serve
                                          as your guide if you are not sure about how you are using the Marks.


                                          In addition:
                                          You may not use the Marks in association with the use or disribution of
                                          software if you are also not in compliance with the copyright license for the
                                          software.


                                          You may not use or regiser, in whole or in part, the Marks as part of your own
                                          trademark, service mark, domain name, company name, trade name, product
                                          name or service name.


                                          Provided that you have obtained a license from Neo4j, you can use the Word
                                          Marks in book and article titles, and the Logo in illusrations within the
                                          document, as long as the use does not sugges that we have published,
                                          endorse, or agree with your work.


                                          Trademark law does not allow your use of names or trademarks that are too
                                          similar to ours. You therefore may not use an obvious variation of any of our
                                          Marks or any phonetic equivalent, foreign language equivalent, takeof, or
                                          abbreviation for a similar or compatible product or service. This includes
                                          combinations or integrations of all or portions of the Marks in a way that the
                                          public may think of the use as a new mark (e.g. SuperNeo4j, or Neo5k).


                                          You agree that you will not acquire any rights in the Marks and that any
                                          goodwill generated by your use of the Marks inures solely to our beneft.


                                          Proper Use of the Marks
                                          These rules hold true for all trademarks, not jus ours, so you should follow
                                          them for our Marks as well as anyone else’s.


                                          Always use the Marks in their Exact Form and Disinguishable from Other Text .
                                          Always use the Word Marks in a manner disinguished from surrounding text,


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                                    with initial capital letters, and in the exact form with the correct spelling (neither
                                          abbreviated, hyphenated, or combined with any other word or words).


                                                                CORRECT             INCORRECT

                                                                                    NEO4J
                                                                                    Neo-4j
                                                                Neo4j®              neo4j
                                                                                    n4j
                                                                                    Neo


                                          Use Marks as Proper Adjectives Followed by a Generic Term. Trademarks
                                          should be used as adjectives followed by a generic modifer, and not as nouns
                                          or verbs. Trademarks are products or services, never actions. Do not use "a" or
                                          "the" to refer to an insance of the Marks. For example:


                                                                CORRECT             INCORRECT

                                                                The Neo4j®
                                                                graph platform is
                                                                widely used in
                                                                many industries.

                                                                                    Neo4j® is widely
                                                                I was able to
                                                                                    used.
                                                                quickly realize
                                                                graph epiphanies
                                                                                    We use the
                                                                with Neo4j®
                                                                                    Neo4j.
                                                                Bloom™
                                                                visualization
                                                                                    I use Cypher.
                                                                software.

                                                                                    I load data into
                                                                I downloaded the
                                                                                    and out of Neo4j.
                                                                Neo4j® database
                                                                from neo4j.com.


                                                                Cypher® query
                                                                language


                                          Do Not Use Marks in the Possessive Form. Because trademarks are not
                                          nouns, they should not be used in the possessive from. For example:


                                                                CORRECT             INCORRECT


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                                                                 The Neo4j®
                                                                                      Neo4j’s storage
                                                                 graph database
                                                                                      presents and
                                                                 software presents
                                                                                      stores data
                                                                 and stores data
                                                                                      natively as a
                                                                 natively as a
                                                                                      graph.
                                                                 graph.


                                          Do Not Use Marks in the Plural Form. Because trademarks are not nouns, they
                                          should not be used in the plural form. For example:


                                                                 CORRECT              INCORRECT

                                                                 The Neo4j®
                                                                 platform allows      High-availability
                                                                 multiple             clustering allows
                                                                 instances of the     a cluster of
                                                                 Neo4j database       instances to be
                                                                 software to form     formed using
                                                                 a single highly-     multiple Neo4js.
                                                                 available cluster.


                                          Do Not Use Marks to Sugges Endorsement by Neo4j.


                                                                 CORRECT              INCORRECT

                                                                                      "Open Neo4j"


                                                                                      XYZ
                                                                                      ENTERPRISE
                                                                 graph database       3.4.9 (FREE AND
                                                                 software             OPEN
                                                                                      UNRESTRICTED
                                                                                      NEO4J
                                                                                      ENTERPRISE
                                                                                      FORK)


                                          Use of Logos


                                          You may not change any Logo except to scale it proportionally. This means
                                          you may not add decorative elements, change the colors, change the
                                          proportions, disort it, add elements, or combine it with other logos. The logo
                                          may only be used displaying the exact colors shown in our Style Guide.


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                                          Mark Attribution and Notices


                                          The frs or mos prominent mention of a Mark on a webpage, document,
                                          packaging, or documentation should be accompanied by a symbol indicating
                                          whether the mark is a regisered trademark ("®") or an unregisered trademark
                                          ("™").Also, if you are using our Marks for uses for which we are granting a
                                          separate license, please put following notice at the foot of the page where you
                                          have used the Mark (or, if in a book, on the credits page), on any packaging or
                                          labeling, and on advertising or marketing materials: "Neo4j is a trademark or
                                          regisered trademark of Neo4j, Inc. or its subsidiaries in the United States
                                          and/or other countries.”


                                          Possible Infringement


                                          If you are aware of any confusing use or misuse of the Marks in any way, we
                                          would appreciate you bringing this to our attention. Please contact us at
                                          webinfo@neo4j.com so that we can invesigate it further.


                                          Updates


                                          Neo4j reserves the right to modify or update this Policy at any time. You should
                                          review this Policy from time to time so that you will be aware of any
                                          modifcations or updates as they will apply as soon as they as posed on this
                                          page.


                                          Further Information


                                          Neo4j has tried to make this Trademark Policy as comprehensive and
                                          undersandable as possible. If you have any quesions about this Policy, would
                                          like to speak with us about the use of our Marks in ways not described in the
                                          Policy, or see any abuse of our Marks, please contact us.


                                          Updated April 3, 2019




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       PRODUCTS                CUSTOMERS               Why Graph
                                                       Databases?
                                                                          Company
                                                                          News                   
                                                                                                  
                                                                                                    
                                                                                                      
                                                                                                        
                                                                                                         
       USE CASES               LEARN                   Graph Databases
                                                       vs RDBMS           Awards

                                                       What’s New in      Careers
       PARTNERS                DEVELOPERS
                                                       Neo4j             Staff
                                                       Graphdatabases.com




                                                       CONTACT US →

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                                                       Sweden +46 171 480 113
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    Terms | Privacy | Sitemap
                                                       France: +33 (0) 8 05 08 03 44

    Neo4j®, Neo Technology ®, Cypher®,
    Neo4j® Bloom™ and Neo4j® Aura ™ are
    regisered trademarks
    of Neo4j, Inc. All other marks are owned
    by their respective companies.




                                        Contact Sales: 1.855.636.4532               Email a graph expert




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                                                  EXHIBIT 129
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 5 Attorneys for Defendant
   GRAPH FOUNDATION, INC.
 6

 7

 8                              UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                    SAN JOSE DIVISION

11 NEO4J, INC., a Delaware corporation,           Case No. 5:19-cv-06226-EJD
12                Plaintiff,                      GRAPH FOUNDATION, INC.’S
                                                  SUPPLEMENTAL OBJECTIONS AND
13          v.                                    RESPONSES TO NEO4J, INC.’S FIRST
                                                  SET OF REQUESTS FOR ADMISSION
14 GRAPH FOUNDATION, INC., an Ohio
   corporation,                                   Judge: Hon. Edward J. Davila
15                                                Crtrm.: 4, 5th Fl.
                Defendant.
16
                                                  Complaint Filed: October 1, 2019
17

18

19 PROPOUNDING PARTY:              Plaintiff NEO4J, INC.

20 RESPONDING PARTY:               Defendant GRAPH FOUNDATION, INC.

21 SET NO.:                        One (1)

22

23

24

25

26

27

28

      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1          Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Defendant GRAPH

 2 FOUNDATION, INC. (“GFI”) hereby supplements its response to Plaintiff NEO4J, INC.’s

 3 (“Neo4J” or “Plaintiff”) First Set of Requests for Admission as follows:

 4                                    PRELIMINARY STATEMENT

 5          The following responses are made solely for the purpose of, and in relation to, this action.

 6 Each response is provided subject to all appropriate objections (including, without limitation,

 7 objections concerning competency, relevancy, materiality, propriety, and admissibility) that would

 8 require the exclusion of any statement contained herein if the statement were made by a witness

 9 present and testifying in court. All such objections and grounds therefore are reserved and may be

10 interposed at the time of trial.

11          The following responses are based on the facts and information presently known and

12 available to GFI. Discovery, investigation, research, and analysis are still ongoing in this case and

13 may disclose the existence of additional facts, add meaning to known facts, establish entirely new

14 factual conclusions or legal contentions, or possibly lead to additions, variations, or changes to

15 these responses. Without being obligated to do so, GFI reserves the right to change or supplement

16 these responses as additional facts are discovered, revealed, recalled, or otherwise ascertained, and

17 as further analysis and research disclose additional facts, contentions or legal theories which may

18 apply.

19                                      GENERAL OBJECTIONS

20          1.      GFI objects to the Requests in their entirety, and to each individual interrogatory
21 therein, to the extent that they purport to require GFI to provide information concerning persons or

22 entities other than GFI, on the grounds that the Requests, to that extent, are overbroad and seek

23 information that is neither relevant to the subject matter of this Action nor reasonably calculated to

24 lead to the discovery of admissible evidence, or if relevant, so remote therefrom as to make their

25 disclosure of little or no practical benefit to Neo4j, while placing an unwarranted and extreme

26 burden and expense on GFI in ascertaining, gathering and providing such information.

27          2.      GFI objects to the Requests in their entirety and to each individual interrogatory
28 therein, to the extent that they seek information that is not relevant and does not appear reasonably
                                                      1
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 calculated to lead to the discovery of admissible evidence.

 2            3.       GFI objects to the Requests in their entirety and to each individual interrogatory

 3 therein, to the extent that they purport to require GFI to provide information that is not within its

 4 possession, custody, or control.

 5            4.       GFI objects to the Requests in their entirety, and to each individual interrogatory

 6 therein, to the extent they purport to require GFI to provide information that has already been

 7 provided by parties in this Action, or that could be provided by parties to this Action, or non-

 8 parties.

 9            5.       GFI objects to the Requests in their entirety, and to each individual interrogatory

10 therein, to the extent they seek information prepared in anticipation of, or in connection with this

11 Action, or information protected from disclosure by the attorney-client privilege, the attorney

12 work-product doctrine, or any other applicable privilege against disclosure.

13            6.       GFI objects to “Instructions” contained in the Requests, to the extent that they are

14 inconsistent with and/or seek to impose obligations beyond those imposed by the Federal Rules of

15 Civil Procedure and the Local Civil Rules.

16                            RESPONSES TO REQUESTS FOR ADMISSION

17 REQUEST FOR ADMISSION NO. 1:

18            Admit that Graph Foundation, Inc. (hereafter referred to as “GFI”) does not have a license
19 to use U.S. Trademark Registration No. 4,784,280 for the word mark “NEO4J” (hereafter referred

20 to as the “NEO4J® Mark”).

21 RESPONSE:

22            Admit.
23 REQUEST FOR ADMISSION NO. 2:

24            Admit that GFI owns the domain www.graphfoundation.org.
25 RESPONSE:

26            Admit.
27 REQUEST FOR ADMISSION NO. 3:

28            Admit that GFI controls the website located at www.graphfoundation.org.
                                                         2
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 RESPONSE:

 2          Admit.

 3 REQUEST FOR ADMISSION NO. 4:

 4          Admit that GFI has used the phrase “ONgDB – Open Neo4j Enterprise – The Graph

 5 Foundation” on its website located at www.graphfoundation.org.

 6 RESPONSE:

 7          Defendant admits that this phrase was used prior to GFI being made aware of the Neo4j

 8 trademark.

 9 REQUEST FOR ADMISSION NO. 5:

10          Admit that Exhibit A attached hereto is a true and correct printout of the webpage located
11 at https://www.graphfoundation.org/projects/ongdb/ as it existed on September 24, 2019.

12 RESPONSE:

13          Admit.
14 REQUEST FOR ADMISSION NO. 6:

15          Admit that the webpage located at https://www.graphfoundation.org/projects/ongdb/ was
16 titled “ONgDB – Open Neo4j Enterprise – The Graph Foundation” as of September 24, 2019.

17 RESPONSE:

18          Defendant objects to this Request on the ground that its use of the term “titled” renders it
19 vague, ambiguous, and unintelligible. Without waving this objection, Defendant admits that the

20 quoted language was present on the identified web page on that date which was used prior to GFI

21 being made aware of the Neo4j trademark.

22 REQUEST FOR ADMISSION NO. 7:

23          Admit that GFI used the NEO4J® Mark in the title of its webpage
24 https://www.graphfoundation.org/projects/ongdb/ as of September 24, 2019.

25 RESPONSE:

26          Defendant objects to this Request on the ground that its use of the term “used the
27 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

28 objection, Defendant admits that the word “Neo4j” was present on the identified web page on that
                                                      3
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 date which was used prior to GFI being made aware of the Neo4j trademark.

 2 RESPONSE:

 3          Defendant objects to this Request on the ground that its use of the term “used the

 4 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

 5 objection, Defendant admits it used the word “Neo4j” on the identified web page on that date

 6 which was used prior to GFI being made aware of the Neo4j trademark.

 7 REQUEST FOR ADMISSION NO. 8:

 8          Admit that GFI did not have Neo4j, Inc.’s authorization to use the NEO4J® Mark in the

 9 title of its webpage https://www.graphfoundation.org/projects/ongdb/ as of September 24, 2019.

10 RESPONSE:

11          Defendant objects to this Request on the ground that its use of the term “used the
12 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

13 objection, Defendant admits that it did not obtain authorization from Neo4j, Inc. to use the word

14 “Neo4j” on the identified web page on that date.

15 REQUEST FOR ADMISSION NO. 9:

16          Admit that GFI’s use of the NEO4J® Mark in the title of its webpage
17 https://www.graphfoundation.org/projects/ongdb/ as of September 24, 2019 was unlicensed.

18 RESPONSE:

19          Defendant objects to this Request on the ground that its use of the term “used the
20 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

21 objection, Defendant admits that it did not enter into an agreement with Neo4j, Inc. to use the

22 word “Neo4j” on the identified web page on that date.

23 SUPPLEMENTAL RESPONSE:

24          Defendant objects to this Request on the ground that its use of the term “used the
25 NEO4J(r) Mark” in the title renders it vague, ambiguous, and unintelligible. Without waving this

26 objection, Defendant admits that it was not granted a license by Neo4j, Inc. to use the word

27 “Neo4j” on the identified web page on that date.

28
                                                      4
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 REQUEST FOR ADMISSION NO. 10:

 2          Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

 3 https://www.graphfoundation.org/projects/ongdb/ as of September 24, 2019 did not constitute

 4 nominative fair use of the NEO4J® Mark.

 5 RESPONSE:

 6          Defendant objects to this Request on the ground that its use of the term “used the

 7 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

 8 objection, Defendant responds: Denied.

 9 REQUEST FOR ADMISSION NO. 11:

10          Admit that GFI’s use of the NEO4J® Mark in the title of its webpage
11 https://www.graphfoundation.org/projects/ongdb/ as of September 24, 2019 infringed the

12 NEO4J® Mark.

13 RESPONSE:

14          Defendant objects to this Request on the ground that its use of the term “used the
15 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

16 objection, Defendant responds: Denied.

17 REQUEST FOR ADMISSION NO. 12:

18          Admit that the statement “ONgDB distributions are licensed under AGPLv3 as a free and
19 open drop-in replacements of Neo4j Enterprise commercial licensed distributions with the same

20 version number” made in Exhibit A attached hereto is not 100% accurate.

21 RESPONSE:

22          Defendant objects to this request on the grounds that its use of the term 100% accurate is
23 vague, ambiguous, and unintelligible in connection with the quoted language and on that basis

24 denies the request.

25 SUPPLEMENTAL RESPONSE:

26          Defendant objects to this request on the grounds that its use of the term 100% accurate is
27 vague, ambiguous, and unintelligible in connection with the quoted language. Defendant further

28 objects to the request on the ground that it is vague as to time. Without waiving these objections,
                                                     5
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 and subject to it, Defendant responds: Denied.

 2 REQUEST FOR ADMISSION NO. 13:

 3          Admit that Exhibit B is a true and correct printout of Neo4j, Inc.’s Trademark Guidelines

 4 available on its website on September 26, 2019.

 5 RESPONSE:

 6          Defendant is without sufficient information to admit or deny this request and, on that basis,

 7 denies the request.

 8 SUPPLEMENTAL RESPONSE:

 9          Defendant admits that it became aware when it was served with the Complaint in this

10 action that Neo4J, Inc. claimed that it had Trademark Guidelines in the form attached to the

11 Complaint and that Neo4J, Inc. had posted purported Trademark Guidelines on its website.

12 Defendant is without sufficient information to admit or deny the remainder of the request and, on

13 that basis, denies the request.

14 REQUEST FOR ADMISSION NO. 14:

15          Admit that you were aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit B as early as
16 September 26, 2019.

17 RESPONSE:

18          Denied.
19 REQUEST FOR ADMISSION NO. 15:

20          Admit that the Neo4j, Inc.’s Trademark Guidelines in Exhibit B state they were last
21 updated on April 3, 2019.

22 RESPONSE:

23          Defendant admits that the document attached as Exhibit B contains a statement to that
24 effect. Defendant is without sufficient information to admit or deny the remainder of this request

25 and, on that basis, denies the request.

26 REQUEST FOR ADMISSION NO. 16:

27          Admit that you were aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit B as early as
28 April 3, 2019.
                                                      6
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 RESPONSE:

 2          Denied.

 3 REQUEST FOR ADMISSION NO. 17:

 4          Admit that the Neo4j, Inc.’s Trademark Guidelines in Exhibit B were viewable on Neo4j,

 5 Inc.’s website on September 24, 2019.

 6 RESPONSE:

 7          Defendant is without sufficient information to admit or deny this request and, on that basis,

 8 denies the request.

 9 REQUEST FOR ADMISSION NO. 18:

10          Admit that you were aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit B as early as
11 September 24, 2019.

12 RESPONSE:

13          Denied.
14 REQUEST FOR ADMISSION NO. 19:

15          Admit that Neo4j, Inc.’s Trademark Guidelines in Exhibit B were attached as an exhibit to
16 Neo4j, Inc.’s Complaint filed on October 1, 2019.

17 RESPONSE:

18          Defendant admits that a document appearing to be the same as Exhibit B was attached to
19 the Complaint. Defendant is without sufficient information to admit or deny the remainder of this

20 request and, on that basis, denies the request.

21 REQUEST FOR ADMISSION NO. 20:

22          Admit that you have been aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit B as
23 least as early as December 26, 2019 when you filed your answer to Neo4j, Inc.’s Complaint.

24 RESPONSE:

25          Defendant objects to this request on the ground that its use of the term “been aware” is
26 vague, ambiguous, and unintelligible. Defendant admits that a document appearing to be the same

27 as Exhibit B was attached to the Complaint. Defendant is without sufficient information to admit

28 or deny the remainder of this request and, on that basis, denies the request.
                                                      7
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 SUPPLEMENTAL RESPONSE:

 2          Defendant admits that it became aware when it was served with the Complaint in this

 3 action that Neo4J, Inc. claimed that it had Trademark Guidelines in the form attached to the

 4 Complaint and that Neo4J, Inc. had posted purported Trademark Guidelines on its website.

 5 Defendant is without sufficient information to admit or deny the remainder of the request and, on

 6 that basis, denies the request.

 7 REQUEST FOR ADMISSION NO. 21:

 8          Admit that GFI’s use of the NEO4J® Mark in the title of its webpage attached hereto as

 9 Exhibit A violated Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

10 RESPONSE:

11          Defendant objects to this request on the ground that it seeks information that is irrelevant
12 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

13 objects to this request on the ground that it requires the interpretation of a document and seeks a

14 legal conclusion or interpretation of that document and, on that basis, denies the request.

15 SUPPLEMENTAL RESPONSE:

16          Defendant objects to this request on the ground that it seeks information that is irrelevant
17 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

18 objects to this request on the ground that it requires the interpretation of a document and seeks a

19 legal conclusion or interpretation of that document. Without waiving these objections, and subject

20 to them, Defendant admits that it used the word “Neo4j” on the identified website. The remainder

21 of the request seeks a legal conclusion or interpretation of Exhibit B and, on that basis, Defendant

22 denies the remainder of the request.

23 REQUEST FOR ADMISSION NO. 22:

24          Admit that Exhibit C attached hereto is a true and correct printout of the webpage located
25 at https://www.graphfoundation.org/projects/ongdb/ as it existed on June 10, 2020.

26 RESPONSE:

27          Admit.
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 REQUEST FOR ADMISSION NO. 23:

 2          Admit that the webpage located at https://www.graphfoundation.org/projects/ongdb/ was

 3 titled “ONgDB – Open Neo4j Enterprise – The Graph Foundation” as of June 10, 2020.

 4 RESPONSE:

 5          Defendant objects to this request on the ground that its use of the term “titled” is vague,

 6 ambiguous, and unintelligible. Without waiving this objection and subject to it, Defendant admits

 7 that the words identified appeared on the webpage at that time.

 8 REQUEST FOR ADMISSION NO. 24:

 9          Admit that GFI used the NEO4J® Mark in the title of its webpage

10 https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020.

11 RESPONSE:

12          Defendant objects to this request on the ground that its use of the term “title” is vague,
13 ambiguous, and unintelligible. Without waiving this objection, and subject to it, Defendant admits

14 that “Neo4j” appeared on the webpage at that time.

15 RESPONSE:

16          Defendant objects to this request on the ground that its use of the term “title” is vague,
17 ambiguous, and unintelligible. Without waiving this objection, and subject to it, Defendant admits

18 that it used the word “Neo4j” on the webpage at that time.

19 REQUEST FOR ADMISSION NO. 25:

20          Admit that GFI did not have Neo4j, Inc.’s authorization to use the NEO4J® Mark in the
21 title of its webpage https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020.

22 RESPONSE:

23          Defendant objects to this Request on the ground that its use of the term “used the
24 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

25 objection, Defendant admits that it did not enter into an agreement with Neo4j, Inc. to use the

26 word “Neo4j” on the identified web page on that date.

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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 SUPPLEMENTAL RESPONSE:

 2          Defendant objects to this Request on the ground that its use of the term “used the

 3 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

 4 objection, Defendant admits that it did not receive authorization from Neo4j, Inc. to use the word

 5 “Neo4j” on the identified web page on that date.

 6 REQUEST FOR ADMISSION NO. 26:

 7          Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

 8 https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020 was unauthorized.

 9 RESPONSE:

10          Defendant objects to this Request on the ground that its use of the term “used the
11 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

12 objection, Defendant admits that it did not enter into an agreement with Neo4j, Inc. to use the

13 word “Neo4j” on the identified web page on that date.

14 SUPPLEMENTAL RESPONSE:

15          Defendant objects to this Request on the ground that its use of the term “used the
16 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

17 objection, Defendant admits that it did not receive authorization from Neo4j, Inc. to use the word

18 “Neo4j” on the identified web page on that date.

19 REQUEST FOR ADMISSION NO. 27:

20          Admit that GFI’s use of the NEO4J® Mark in the title of its webpage
21 https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020 did not constitute

22 nominative fair use of the NEO4J® Mark.

23 RESPONSE:

24          Defendant objects to this Request on the ground that its use of the term “used the
25 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

26 objection, Defendant responds: Denied.

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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 REQUEST FOR ADMISSION NO. 28:

 2          Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

 3 https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020 infringed the NEO4J®

 4 Mark.

 5 RESPONSE:

 6          Defendant objects to this Request on the ground that its use of the term “used the

 7 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

 8 objection, Defendant responds: Denied.

 9 REQUEST FOR ADMISSION NO. 29:

10          Admit that the Neo4j, Inc.’s Trademark Guidelines in Exhibit B have been in effect since
11 Neo4j, Inc. filed this lawsuit against GFI on October 1, 2019 through the date of these requests.

12 RESPONSE:

13          Defendant objects to this request on the ground that its use of the term “in effect” is vague,
14 ambiguous, and unintelligible. Without waiving this objection and subject to it, Defendant

15 responds that it is without sufficient information to admit or deny this request and, on that basis,

16 denies the request.

17 SUPPLEMENTAL RESPONSE:

18          Defendant admits that it became aware when it was served with the Complaint in this
19 action that Neo4J, Inc. claimed that it had Trademark Guidelines in the form attached to the

20 Complaint and that Neo4J, Inc. had posted purported Trademark Guidelines on its website.

21 Defendant is without sufficient information to admit or deny the remainder of the request and, on

22 that basis, denies the request.

23 REQUEST FOR ADMISSION NO. 30:

24          Admit that the Neo4j, Inc.’s Trademark Guidelines in Exhibit B were viewable on Neo4j,
25 Inc.’s website as of June 10, 2020.

26 RESPONSE:

27          Defendant is without sufficient information to admit or deny this request and, on that basis,
28 denies the request.
                                                      11
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 REQUEST FOR ADMISSION NO. 31:

 2          Admit that GFI’s use of the NEO4J® Mark in the title of its webpage

 3 https://www.graphfoundation.org/projects/ongdb/ as of June 10, 2020 violated Neo4j, Inc.’s

 4 Trademark Guidelines attached hereto as Exhibit B.

 5 RESPONSE:

 6          Defendant objects to this request on the ground that it seeks information that is irrelevant

 7 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 8 objects to this request on the ground that it requires the interpretation of a document and seeks a

 9 legal conclusion or interpretation of that document and, on that basis, denies the request.

10 SUPPLEMENTAL RESPONSE:

11          Defendant objects to this request on the ground that it seeks information that is irrelevant
12 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

13 objects to this request on the ground that it requires the interpretation of a document and seeks a

14 legal conclusion or interpretation of that document. Without waiving these objections, and subject

15 to them, Defendant admits that it used the word “Neo4j” on the identified website. The remainder

16 of the request seeks a legal conclusion or interpretation of Exhibit B and, on that basis, Defendant

17 denies the remainder of the request.

18 REQUEST FOR ADMISSION NO. 32:

19          Admit that GFI’s use of “neo4j enterprise” in all lower case on its website,
20 www.graphfoundation.org, violates Neo4j, Inc.’s Trademark Guidelines attached hereto as

21 Exhibit B.

22 RESPONSE:

23          Defendant objects to this request on the ground that it seeks information that is irrelevant
24 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

25 objects to this request on the ground that it requires the interpretation of a document and seeks a

26 legal conclusion or interpretation of that document and on that basis denies the request.

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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 SUPPLEMENTAL RESPONSE:

 2          Defendant objects to this request on the ground that it seeks information that is irrelevant

 3 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 4 objects to this request on the ground that it requires the interpretation of a document and seeks a

 5 legal conclusion or interpretation of that document. Without waiving these objections, and subject

 6 to them, Defendant admits that it used the phrase “neo4j enterprise” on the identified website. The

 7 remainder of the request seeks a legal conclusion or interpretation of Exhibit B and, on that basis,

 8 Defendant denies the remainder of the request.

 9 REQUEST FOR ADMISSION NO. 33:

10          Admit that GFI’s use of “neo4j enterprise” without proper trademark notice on its website,
11 www.graphfoundation.org, violates Neo4j, Inc.’s Trademark Guidelines attached hereto as

12 Exhibit B.

13 RESPONSE:

14          Defendant objects to this request on the ground that it seeks information that is irrelevant
15 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

16 objects to this request on the ground that it requires the interpretation of a document and seeks a

17 legal conclusion or interpretation of that document and on that basis denies the request.

18 SUPPLEMENTAL RESPONSE:

19          Defendant objects to this request on the ground that it seeks information that is irrelevant
20 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

21 objects to this request on the ground that it requires the interpretation of a document and seeks a

22 legal conclusion or interpretation of that document. Without waiving these objections, and subject

23 to them, Defendant admits that it used the phrase “neo4j enterprise” on the identified website. The

24 remainder of the request seeks a legal conclusion or interpretation of Exhibit B and, on that basis,

25 Defendant denies the remainder of the request.

26 REQUEST FOR ADMISSION NO. 34:

27          Admit that GFI’s use of “neo4j” in all lower case on its website,
28 www.graphfoundation.org, violates Neo4j, Inc.’s Trademark Guidelines attached hereto as
                                                      13
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 Exhibit B.

 2 RESPONSE:

 3          Defendant objects to this request on the ground that it seeks information that is irrelevant

 4 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 5 objects to this request on the ground that it requires the interpretation of a document and seeks a

 6 legal conclusion or interpretation of that document and on that basis denies the request.

 7 SUPPLEMENTAL RESPONSE:

 8          Defendant objects to this request on the ground that it seeks information that is irrelevant

 9 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

10 objects to this request on the ground that it requires the interpretation of a document and seeks a

11 legal conclusion or interpretation of that document. Without waiving these objections, and subject

12 to them, Defendant admits that it used the word “neo4j” on the identified website. The remainder

13 of the request seeks a legal conclusion or interpretation of Exhibit B and, on that basis, Defendant

14 denies the remainder of the request.

15 REQUEST FOR ADMISSION NO. 35:

16          Admit that GFI’s use of “neo4j” without proper trademark notice on its website,
17 www.graphfoundation.org, violates Neo4j, Inc.’s Trademark Guidelines attached hereto as

18 Exhibit B.

19 RESPONSE:

20          Defendant objects to this request on the ground that it seeks information that is irrelevant
21 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

22 objects to this request on the ground that it requires the interpretation of a document and seeks a

23 legal conclusion or interpretation of that document and on that basis denies the request.

24 SUPPLEMENTAL RESPONSE:

25          Defendant objects to this request on the ground that it seeks information that is irrelevant
26 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

27 objects to this request on the ground that it requires the interpretation of a document and seeks a

28 legal conclusion or interpretation of that document. Without waiving these objections, and subject
                                                      14
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 to them, Defendant admits that it used the word “neo4j” on the identified website. The remainder

 2 of the request seeks a legal conclusion or interpretation of Exhibit B and, on that basis, Defendant

 3 denies the remainder of the request.

 4 REQUEST FOR ADMISSION NO. 36:

 5          Admit that GFI’s use of “Neo4j Enterprise” on its website, www.graphfoundation.org,

 6 violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

 7 RESPONSE:

 8          Defendant objects to this request on the ground that it seeks information that is irrelevant

 9 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

10 objects to this request on the ground that it requires the interpretation of a document and seeks a

11 legal conclusion or interpretation of that document and on that basis denies the request.

12 SUPPLEMENTAL RESPONSE:

13          Defendant objects to this request on the ground that it seeks information that is irrelevant
14 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

15 objects to this request on the ground that it requires the interpretation of a document and seeks a

16 legal conclusion or interpretation of that document. Without waiving these objections, and subject

17 to them, Defendant admits that it used the phrase “Neo4j Enterprise” on the identified website.

18 The remainder of the request seeks a legal conclusion or interpretation of Exhibit B and, on that

19 basis, Defendant denies the remainder of the request.

20 REQUEST FOR ADMISSION NO. 37:

21          Admit that GFI’s use of “Neo4j Enterprise” without proper trademark notice on its
22 website, www.graphfoundation.org, violates Neo4j, Inc.’s Trademark Guidelines attached hereto

23 as Exhibit B.

24 RESPONSE:

25          Defendant objects to this request on the ground that it seeks information that is irrelevant
26 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

27 objects to this request on the ground that it requires the interpretation of a document and seeks a

28 legal conclusion or interpretation of that document and on that basis denies the request.
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 SUPPLEMENTAL RESPONSE:

 2          Defendant objects to this request on the ground that it seeks information that is irrelevant

 3 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 4 objects to this request on the ground that it requires the interpretation of a document and seeks a

 5 legal conclusion or interpretation of that document. Without waiving these objections, and subject

 6 to them, Defendant admits that it used the phrase “Neo4j Enterprise” on the identified website.

 7 The remainder of the request seeks a legal conclusion or interpretation of Exhibit B and, on that

 8 basis, Defendant denies the remainder of the request.

 9 REQUEST FOR ADMISSION NO. 38:

10          Admit that GFI’s use of hyperlinks to documents on Neo4j, Inc.’s website violates Neo4j,
11 Inc.’s Trademark Guidelines attached hereto as Exhibit B.

12 RESPONSE:

13          Defendant objects to this request on the ground that it seeks information that is irrelevant
14 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

15 objects to this request on the ground that it requires the interpretation of a document and seeks a

16 legal conclusion or interpretation of that document and on that basis denies the request.

17 SUPPLEMENTAL RESPONSE:

18          Defendant objects to this request on the ground that it seeks information that is irrelevant
19 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

20 objects to this request on the ground that it requires the interpretation of a document and seeks a

21 legal conclusion or interpretation of that document. Without waiving these objections, and subject

22 to them, Defendant admits that has used hyperlinks to Neo4j, Inc.’s website on its GitHub

23 repository. The remainder of the request seeks a legal conclusion or interpretation of Exhibit B

24 and, on that basis, Defendant denies the remainder of the request.

25 REQUEST FOR ADMISSION NO. 39:

26          Admit that GFI’s use of hyperlinks to documents on Neo4j Sweden AB’s Github source
27 code repository violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 RESPONSE:

 2          Defendant objects to this request on the ground that it seeks information that is irrelevant

 3 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 4 objects to this request on the ground that it requires the interpretation of a document and seeks a

 5 legal conclusion or interpretation of that document and on that basis denies the request.

 6 SUPPLEMENTAL RESPONSE:

 7          Defendant objects to this request on the ground that it seeks information that is irrelevant

 8 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 9 objects to this request on the ground that it requires the interpretation of a document and seeks a

10 legal conclusion or interpretation of that document. Without waiving these objections, and subject

11 to them, Defendant admits that it used hyperlinks to Neo4j Sweden AB’s Github repository on

12 Defendant’s Github repository. The remainder of the request seeks a legal conclusion or

13 interpretation of Exhibit B and, on that basis, Defendant denies the remainder of the request.

14 REQUEST FOR ADMISSION NO. 40:

15          Admit that GFI’s use of hyperlinks to documents on Neo4j, Inc.’s website does not
16 constitute nominative fair use of the NEO4J® Mark.

17 RESPONSE:

18          Denied.
19 REQUEST FOR ADMISSION NO. 41:

20          Admit that GFI’s use of “neo4j” in hyperlinks to documents on Neo4j, Inc.’s website does
21 not constitute nominative fair use of the NEO4J® Mark.

22 RESPONSE:

23          Denied.
24 REQUEST FOR ADMISSION NO. 42:

25          Admit that GFI’s use of hyperlinks to documents on Neo4j Sweden AB’s Github source
26 code repository does not constitute nominative fair use of the NEO4J® Mark.

27 RESPONSE:

28          Denied.
                                                      17
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 43:

 2          Admit that GFI’s use of “neo4j” in hyperlinks to Neo4j Sweden AB’s Github source code

 3 repository does not constitute nominative fair use of the NEO4J® Mark.

 4 RESPONSE:

 5          Denied.

 6 REQUEST FOR ADMISSION NO. 44:

 7          Admit that GFI’s use of “Neo4j Enterprise” to describe ONgDB violates Neo4j, Inc.’s

 8 Trademark Guidelines attached hereto as Exhibit B.

 9 RESPONSE:

10          Defendant objects to this request on the ground that it seeks information that is irrelevant
11 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

12 objects to this request on the ground that it requires the interpretation of a document and seeks a

13 legal conclusion or interpretation of that document and on that basis denies the request.

14 SUPPLEMENTAL RESPONSE:

15          Defendant objects to this request on the ground that it seeks information that is irrelevant
16 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

17 objects to this request on the ground that it requires the interpretation of a document and seeks a

18 legal conclusion or interpretation of that document. Without waiving these objections, and subject

19 to them, Defendant admits that it used the phrase “Neo4j Enterprise” in connection with its

20 description of ONgDB as a fork of Neo4j Enterprise. The remainder of the request seeks a legal

21 conclusion or interpretation of Exhibit B and, on that basis, Defendant denies the remainder of the

22 request.

23 REQUEST FOR ADMISSION NO. 45:

24          Admit that GFI’s use of “Neo4j Enterprise” to describe ONgDB does not constitute fair
25 use of the NEO4J® Mark.

26 RESPONSE:

27          Denied.
28
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 46:

 2          Admit that GFI’s interchangeable use of “Neo4j Enterprise” with “ONgDB” on GFI’s

 3 website without proper trademark notices violates Neo4j, Inc.’s Trademark Guidelines attached

 4 hereto as Exhibit B.

 5 RESPONSE:

 6          Defendant objects to this request on the ground that it seeks information that is irrelevant

 7 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 8 objects to this request on the ground that it requires the interpretation of a document and seeks a

 9 legal conclusion or interpretation of that document and on that basis denies the request.

10 REQUEST FOR ADMISSION NO. 47:

11          Admit that GFI’s interchangeable use of “Neo4j Enterprise” with “ONgDB” on GFI’s
12 website does not constitute nominative fair use of the NEO4J® Mark.

13 RESPONSE:

14          Denied.
15 REQUEST FOR ADMISSION NO. 48:

16          Admit that GFI’s use of “Neo4j Enterprise” on GFI’s website without proper trademark
17 notices violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

18 RESPONSE:

19          Defendant objects to this request on the ground that it seeks information that is irrelevant
20 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

21 objects to this request on the ground that it requires the interpretation of a document and seeks a

22 legal conclusion or interpretation of that document and on that basis denies the request.

23 SUPPLEMENTAL RESPONSE:

24          Defendant objects to this request on the ground that it seeks information that is irrelevant
25 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

26 objects to this request on the ground that it requires the interpretation of a document and seeks a

27 legal conclusion or interpretation of that document. Without waiving these objections, and subject

28 to them, Defendant admits that it used the phrase “Neo4j Enterprise” in connection with its
                                                      19
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 description of ONgDB as a fork of Neo4j Enterprise. The remainder of the request seeks a legal

 2 conclusion or interpretation of Exhibit B and, on that basis, Defendant denies the remainder of the

 3 request.

 4 REQUEST FOR ADMISSION NO. 49:

 5          Admit that GFI’s use of “Neo4j Enterprise” without proper trademark notices does not

 6 constitute nominative fair use of the NEO4J® Mark.

 7 RESPONSE:

 8          Denied.

 9 REQUEST FOR ADMISSION NO. 50:

10          Admit that Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B prohibit GFI
11 from using the NEO4J® Mark in conjunction with modified open source software based on the

12 Neo4j® graph database platform.

13 RESPONSE:

14          Defendant objects to this request on the ground that it seeks information that is irrelevant
15 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

16 objects to this request on the ground that it requires the interpretation of a document and seeks a

17 legal conclusion or interpretation of that document and on that basis denies the request.

18 REQUEST FOR ADMISSION NO. 51:

19          Admit that Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B prohibit GFI
20 from using the NEO4J® Mark in conjunction with advertising its ONgDB software.

21 RESPONSE:

22          Defendant objects to this request on the ground that it seeks information that is irrelevant
23 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

24 objects to this request on the ground that it requires the interpretation of a document and seeks a

25 legal conclusion or interpretation of that document and on that basis denies the request.

26 SUPPLEMENTAL RESPONSE:

27          Defendant objects to this request on the ground that it seeks information that is irrelevant
28 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further
                                                      20
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 objects to this request on the ground that it requires the interpretation of a document and seeks a

 2 legal conclusion or interpretation of that document. Without waiving these objections, and subject

 3 to them, Defendant admits that it used the word “Neo4j” in connection with its description of

 4 ONgDB as a fork of Neo4j Enterprise. The remainder of the request seeks a legal conclusion or

 5 interpretation of Exhibit B and, on that basis, Defendant denies the remainder of the request.

 6 REQUEST FOR ADMISSION NO. 52:

 7          Admit that Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B prohibit GFI

 8 from calling ONgDB software “Neo4j Enterprise.”

 9 RESPONSE:

10          Defendant objects to this request on the ground that it seeks information that is irrelevant
11 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

12 objects to this request on the ground that it requires the interpretation of a document and seeks a

13 legal conclusion or interpretation of that document and on that basis denies the request.

14 SUPPLEMENTAL RESPONSE:

15          Defendant objects to this request on the ground that it seeks information that is irrelevant
16 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

17 objects to this request on the ground that it requires the interpretation of a document and seeks a

18 legal conclusion or interpretation of that document. Without waiving these objections, and subject

19 to them, Defendant admits that it used the phrase “Neo4j Enterprise” in connection with its

20 description of ONgDB as a fork of Neo4j Enterprise. The remainder of the request seeks a legal

21 conclusion or interpretation of Exhibit B and, on that basis, Defendant denies the remainder of the

22 request.

23 REQUEST FOR ADMISSION NO. 53:

24          Admit that Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B prohibit GFI
25 from describing ONgDB software as “Neo4j Enterprise.”

26 RESPONSE:

27          Defendant objects to this request on the ground that it seeks information that is irrelevant
28 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further
                                                      21
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 objects to this request on the ground that it requires the interpretation of a document and seeks a

 2 legal conclusion or interpretation of that document and on that basis denies the request.

 3 SUPPLEMENTAL RESPONSE:

 4          Defendant objects to this request on the ground that it seeks information that is irrelevant

 5 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 6 objects to this request on the ground that it requires the interpretation of a document and seeks a

 7 legal conclusion or interpretation of that document. Without waiving these objections, and subject

 8 to them, Defendant admits that it used the phrase “Neo4j Enterprise” in connection with its

 9 description of ONgDB as a fork of Neo4j Enterprise. The remainder of the request seeks a legal

10 conclusion or interpretation of Exhibit B and, on that basis, Defendant denies the remainder of the

11 request.

12 REQUEST FOR ADMISSION NO. 54:

13          Admit that GFI used the NEO4J® Mark in Exhibit C.
14 RESPONSE:

15          Defendant admits that Exhibit C is a true copy of the
16 https://www.graphfoundation.org/projects/ongdb/ webpage. Defendant admits that “Neo4j”

17 appears on the webpage. Defendant objects to the request on the ground that its use of the term

18 “used” renders it vague, ambiguous, and unintelligible and, on that basis, Defendant denies the

19 remainder of the request.

20 RESPONSE:

21          Defendant objects to this request on the ground that its use of the term “used the NEO4J(r)
22 Mark” is vague, ambiguous, and unintelligible. Defendant admits that Exhibit C is a true copy of

23 the https://www.graphfoundation.org/projects/ongdb/ webpage. Defendant admits that it used the

24 word “Neo4j” on the webpage.

25 REQUEST FOR ADMISSION NO. 55:

26          Admit that GFI’s use of “neo4j” in all lower case in Exhibit C violates Neo4j, Inc.’s
27 Trademark Guidelines attached hereto as Exhibit B.

28
                                                      22
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 RESPONSE:

 2          Defendant objects to this request on the ground that it seeks information that is irrelevant

 3 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 4 objects to this request on the ground that it requires the interpretation of a document and seeks a

 5 legal conclusion or interpretation of that document and on that basis denies the request.

 6 SUPPLEMENTAL RESPONSE:

 7          Defendant objects to this request on the ground that it seeks information that is irrelevant

 8 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 9 objects to this request on the ground that it requires the interpretation of a document and seeks a

10 legal conclusion or interpretation of that document. Without waiving these objections, and subject

11 to them, Defendant admits that Exhibit C is a true copy of the

12 https://www.graphfoundation.org/projects/ongdb/ webpage. Defendant admits that it used the

13 word “neo4j” on the identified webpage. The remainder of the request seeks a legal conclusion or

14 interpretation of Exhibit B and, on that basis, Defendant denies the remainder of the request.

15 REQUEST FOR ADMISSION NO. 56:

16          Admit that GFI’s use of “neo4j” in all lower case in Exhibit C does not constitute
17 nominative fair use of the NEO4J® Mark.

18 RESPONSE:

19          Denied.
20 REQUEST FOR ADMISSION NO. 57:

21          Admit that GFI’s use of “neo4j” in all lower case in Exhibit C infringes the NEO4J®
22 Mark.

23 RESPONSE:

24          Denied.
25 REQUEST FOR ADMISSION NO. 58:

26          Admit that GFI’s use of “neo4j enterprise project” in all lower case in Exhibit C violates
27 Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

28
                                                      23
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 RESPONSE:

 2          Defendant objects to this request on the ground that it seeks information that is irrelevant

 3 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 4 objects to this request on the ground that it requires the interpretation of a document and seeks a

 5 legal conclusion or interpretation of that document and on that basis denies the request.

 6 SUPPLEMENTAL RESPONSE:

 7          Defendant objects to this request on the ground that it seeks information that is irrelevant

 8 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 9 objects to this request on the ground that it requires the interpretation of a document and seeks a

10 legal conclusion or interpretation of that document. Without waiving these objections, and subject

11 to them, Defendant admits that Exhibit C is a true copy of the

12 https://www.graphfoundation.org/projects/ongdb/ webpage. Defendant admits that it used the

13 phrase “neo4j enterprise project” on the identified webpage. The remainder of the request seeks a

14 legal conclusion or interpretation of Exhibit B and, on that basis, Defendant denies the remainder

15 of the request.

16 REQUEST FOR ADMISSION NO. 59:

17          Admit that GFI’s use of “neo4j enterprise project” in Exhibit C does not constitute
18 nominative fair use of the NEO4J® Mark.

19 RESPONSE:

20          Denied.
21 REQUEST FOR ADMISSION NO. 60:

22          Admit that GFI’s use of “neo4j enterprise project” in Exhibit C infringes the NEO4J®
23 Mark.

24 RESPONSE:

25          Denied.
26 REQUEST FOR ADMISSION NO. 61:

27          Admit that GFI’s use of “neo4j enterprise” in all lower case in Exhibit C violates Neo4j,
28 Inc.’s Trademark Guidelines attached hereto as Exhibit B.
                                                      24
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 RESPONSE:

 2          Defendant objects to this request on the ground that it seeks information that is irrelevant

 3 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 4 objects to this request on the ground that it requires the interpretation of a document and seeks a

 5 legal conclusion or interpretation of that document and on that basis denies the request.

 6 SUPPLEMENTAL RESPONSE:

 7          Defendant objects to this request on the ground that it seeks information that is irrelevant

 8 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 9 objects to this request on the ground that it requires the interpretation of a document and seeks a

10 legal conclusion or interpretation of that document. Without waiving these objections, and subject

11 to them, Defendant admits that Exhibit C is a true copy of the

12 https://www.graphfoundation.org/projects/ongdb/ webpage. Defendant admits that it used the

13 phrase “neo4j enterprise project” on the identified webpage. The remainder of the request seeks a

14 legal conclusion or interpretation of Exhibit B and, on that basis, Defendant denies the remainder

15 of the request.

16 REQUEST FOR ADMISSION NO. 62:

17          Admit that GFI’s use of “neo4j enterprise” in Exhibit C does not constitute nominative
18 fair use of the NEO4J® Mark.

19 RESPONSE:

20          Denied.
21 REQUEST FOR ADMISSION NO. 63:

22          Admit that GFI’s use of “neo4j enterprise” in Exhibit C infringes the NEO4J® Mark.
23 RESPONSE:

24          Denied.
25 REQUEST FOR ADMISSION NO. 64:

26          Admit that Exhibit D attached hereto is a true and correct printout of the
27 README.asciidoc posted GFI’s ONgDB source code repository located at www.github.com as it

28 existed on January 17, 2019.
                                                      25
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 RESPONSE:

 2          Defendant admits that Exhibit D is a printout of the README.asciidoc from Defendant’s

 3 repository on GitHub. Defendant denies that Exhibit D is a true and correct printout taken on

 4 January 17, 2019 as the details do not match the state of the README.asciidoc file as of commit

 5 f0a7db48c8fcac6defa956fb022758ef3d8a8220 dated January 16, 2019 which was merged on

 6 January 17, 2019. A true and accurate version of the README.asciidoc has been provided that

 7 was taken as of commit f0a7db48c8fcac6defa956fb022758ef3d8a8220.

 8 REQUEST FOR ADMISSION NO. 65:

 9          Admit that GFI used the NEO4J® Mark in Exhibit D.

10 RESPONSE:

11          Defendant admits that Exhibit D is a true copy of a webpage from Defendant’s repository
12 on GitHub. Defendant admits that “Neo4j” appears on the webpage. Defendant objects to the

13 request on the ground that its use of the term “used” renders it vague, ambiguous, and

14 unintelligible and, on that basis, Defendant denies the remainder of the request.

15 SUPPLEMENTAL RESPONSE:

16          Defendant objects to this request on the ground that its use of the phrase “used the
17 NEO4J(r) Mark” is vague, ambiguous, and unintelligible. Without waiving this objection and

18 subject to it, Defendant admits that Exhibit D is a true copy of a webpage from Defendant’s

19 repository on GitHub. Defendant admits it used the word “Neo4j” on the webpage.

20 REQUEST FOR ADMISSION NO. 66:

21          Admit that as of January 16, 2019, the README.asciidoc posted GFI’s ONgDB source
22 code repository located at www.github.com stated that “Neo4j Enterprise consists of modules

23 from Neo4j Community Edition and modules licensed under AGPLv3 with the Commons Clause

24 in this repository, and other closed sourced components not present in this repository.

25 RESPONSE:

26          Defendant objects to this request on the ground that it seeks information that is irrelevant
27 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant denies

28 the request as the stated text in the request does not match the state of the README.asciidoc file
                                                      26
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 as of commit f0a7db48c8fcac6defa956fb022758ef3d8a8220 dated January 16, 2019 that was

 2 merged on January 17, 2019 which states “ONgDB & Neo4j Enterprise consists of modules from

 3 Neo4j Community Edition and modules licensed under AGPLv3 in this repository.”

 4 REQUEST FOR ADMISSION NO. 67:

 5          Admit that as of January 16, 2019, the README.asciidoc posted GFI’s ONgDB source

 6 code repository located at www.github.com stated that “When packaged as a binary, Enterprise

 7 Edition includes additional closed-source components not available in this repository and requires

 8 a commercial license from Neo4j Sweden AB or one of its affiliates.”

 9 RESPONSE:

10          Defendant denies the request as the stated text does not exist in entirety in the
11 README.asciidoc file as of commit f0a7db48c8fcac6defa956fb022758ef3d8a8220 dated January

12 16, 2019 which was merged on January 17, 2019.

13 REQUEST FOR ADMISSION NO. 68:

14          Admit that as of January 16, 2019, the README.asciidoc posted GFI’s ONgDB source
15 code repository located at www.github.com stated “Neo4j: Graphs for Everyone.”

16 RESPONSE:

17          Defendant denies the request as the stated text does not match the contents of the
18 README.asciidoc file as of commit f0a7db48c8fcac6defa956fb022758ef3d8a8220 dated January

19 16, 2019 which was merged on January 17, 2019 which states “ONgDB - Neo4j Enterprise Fork:

20 Graphs for Everyone.”

21 REQUEST FOR ADMISSION NO. 69:

22          Admit that GFI did not have Neo4j, Inc.’s authorization to use the NEO4J® Mark in the
23 heading “Neo4j: Graphs for Everyone” in the README.asciidoc posted GFI’s ONgDB source

24 code repository located at www.github.com.

25 RESPONSE:

26          Defendant objects to this Request on the ground that its use of the term “use the NEO4J(r)
27 Mark” renders it vague, ambiguous, and unintelligible. Without waving this objection, Defendant

28 admits that it did not enter into an agreement with Neo4j, Inc. to use the word “Neo4j” on the
                                                      27
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 identified web page on that date.

 2 SUPPLEMENTAL RESPONSE:

 3          Defendant objects to this Request on the ground that its use of the term “used the

 4 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

 5 objection, Defendant admits that it did not receive authorization from Neo4j, Inc. to use the word

 6 “Neo4j” on the identified web page on that date.

 7 REQUEST FOR ADMISSION NO. 70:

 8          Admit that GFI’s prior use the NEO4J® Mark in the heading “Neo4j: Graphs for

 9 Everyone” in the README.asciidoc posted GFI’s ONgDB source code repository located at

10 www.github.com did not constitute nominative fair use of the NEO4J® Mark.

11 RESPONSE:

12          Denied.
13 REQUEST FOR ADMISSION NO. 71:

14          Admit that GFI’s prior use the NEO4J® Mark in the heading “Neo4j: Graphs for
15 Everyone” in the README.asciidoc posted GFI’s ONgDB source code repository located at

16 www.github.com was unlicensed.

17 RESPONSE:

18          Defendant objects to this Request on the ground that its use of the term “use the NEO4J(r)
19 Mark” renders it vague, ambiguous, and unintelligible. Without waving this objection, Defendant

20 admits that it did not enter into an agreement with Neo4j, Inc. to use the word “Neo4j” on the

21 identified web page on that date.

22 SUPPLEMENTAL RESPONSE:

23          Defendant objects to this Request on the ground that its use of the term “used the
24 NEO4J(r) Mark” in the title renders it vague, ambiguous, and unintelligible. Without waving this

25 objection, Defendant admits that it was not granted a license by Neo4j, Inc. to use the word

26 “Neo4j” on the identified web page on that date.

27

28
                                                     28
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 REQUEST FOR ADMISSION NO. 72:

 2          Admit that GFI’s prior use the NEO4J® Mark in the heading “Neo4j: Graphs for

 3 Everyone” in GFI’s source code repository located at www.github.com infringed the NEO4J®

 4 Mark.

 5 RESPONSE:

 6          Denied.

 7 REQUEST FOR ADMISSION NO. 73:

 8          Admit that Exhibit E attached hereto is a true and correct printout of the

 9 README.asciidoc posted GFI’s ONgDB source code repository located at www.github.com as it

10 existed on September 25, 2019.

11 RESPONSE:

12          Admit.
13 REQUEST FOR ADMISSION NO. 74:

14          Admit that GFI used the NEO4J® Mark in Exhibit E.
15 RESPONSE:

16          Defendant objects to this Request on the ground that its use of the term “use the NEO4J(r)
17 Mark” renders it vague, ambiguous, and unintelligible. Without waving this objection, Defendant

18 admits that the word “Neo4j” was on the referenced web page on that date.

19 SUPPLEMENTAL RESPONSE:

20          Defendant objects to this Request on the ground that its use of the term “use the NEO4J(r)
21 Mark” renders it vague, ambiguous, and unintelligible. Without waving this objection, Defendant

22 admits that it used the word “Neo4j” on the referenced web page on that date.

23 REQUEST FOR ADMISSION NO. 75:

24          Admit that as of September 25, 2019, the README.asciidoc posted GFI’s ONgDB source
25 code repository located at www.github.com stated “ONgDB – Neo4j Enterprise Fork: Graphs for

26 Everyone.”

27 RESPONSE:

28          Admit.
                                                     29
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 REQUEST FOR ADMISSION NO. 76:

 2          Admit that GFI did not have Neo4j, Inc.’s authorization to use the NEO4J® Mark in the

 3 heading “ONgDB – Neo4j Enterprise Fork: Graphs for Everyone” in GFI’s source code repository

 4 located at www.github.com.

 5 RESPONSE:

 6          Defendant objects to this Request on the ground that its use of the term “use the NEO4J(r)

 7 Mark” renders it vague, ambiguous, and unintelligible. Without waving this objection, Defendant

 8 admits that it did not enter into an agreement with Neo4j, Inc. to use the word “Neo4j” on the

 9 identified web page on that date.

10 SUPPLEMENTAL RESPONSE:

11          Defendant objects to this Request on the ground that its use of the term “used the
12 NEO4J(r) Mark in the title renders it vague, ambiguous and unintelligible. Without waving this

13 objection, Defendant admits that it did not receive authorization from Neo4j, Inc. to use the word

14 “Neo4j” on the identified web page on that date.

15 REQUEST FOR ADMISSION NO. 77:

16          Admit that GFI’s use the NEO4J® Mark in the heading “ONgDB – Neo4j Enterprise Fork:
17 Graphs for Everyone” in GFI’s source code repository located at www.github.com did not

18 constitute nominative fair use of the NEO4J® Mark.

19 RESPONSE:

20          Denied.
21 REQUEST FOR ADMISSION NO. 78:

22          Admit that GFI’s use the NEO4J® Mark in the heading “ONgDB – Neo4j Enterprise Fork:
23 Graphs for Everyone” in the README.asciidoc posted GFI’s ONgDB source code repository

24 located at www.github.com was unlicensed.

25 RESPONSE:

26          Defendant objects to this Request on the ground that its use of the term “use the NEO4J(r)
27 Mark” renders it vague, ambiguous, and unintelligible. Without waving this objection, Defendant

28 admits that it did not enter into an agreement with Neo4j, Inc. to use the word “Neo4j” on the
                                                     30
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 identified web page on that date.

 2 SUPPLEMENTAL RESPONSE:

 3          Defendant objects to this Request on the ground that its use of the term “used the

 4 NEO4J(r) Mark” in the title renders it vague, ambiguous, and unintelligible. Without waving this

 5 objection, Defendant admits that it was not granted a license by Neo4j, Inc. to use the word

 6 “Neo4j” on the identified web page on that date.

 7 REQUEST FOR ADMISSION NO. 79:

 8          Admit that GFI’s use the NEO4J® Mark in the heading “ONgDB – Neo4j Enterprise Fork:

 9 Graphs for Everyone” in the README.asciidoc posted GFI’s ONgDB source code repository

10 located at www.github.com infringed the NEO4J® Mark.

11 RESPONSE:

12          Denied.
13 REQUEST FOR ADMISSION NO. 80:

14          Admit that prior to releasing ONgDB version 3.6, GFI did not use its own support
15 documentation for ONgDB software.

16 RESPONSE:

17          Defendant objects to this request on the ground that its use of the terms “did not use” and
18 “support documentation” render it vague, ambiguous, and unintelligible. Without waiving this

19 objection, and subject to it, Defendant responds: Denied

20 REQUEST FOR ADMISSION NO. 81:

21          Admit that prior to releasing ONgDB version 3.6, GFI relied upon Neo4j, Inc.’s official
22 documentation.

23 RESPONSE:

24          Defendant objects to this request on the ground that its use of the term “relied upon”
25 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

26 Defendant admits that it included hyperlinks to certain Neo4j manuals on certain of the webpages

27 in its GitHub repositories and on certain webpages on the www.graphfoundation.org website.

28
                                                     31
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 82:

 2          Admit that prior to releasing ONgDB version 3.6, GFI used hyperlinks on its website,

 3 www.graphfoundation.org, which redirected users to Neo4j, Inc.’s official documentation for

 4 Neo4j® software.

 5 RESPONSE:

 6          Admit.

 7 REQUEST FOR ADMISSION NO. 83:

 8          Admit that prior to releasing ONgDB version 3.6, GFI used hyperlinks on its source code

 9 repository located at www.github.com, which redirected users to Neo4j, Inc.’s official

10 documentation for Neo4j® software.

11 RESPONSE:

12          Admit.
13 REQUEST FOR ADMISSION NO. 84:

14          Admit that as of September 24, 2019, GFI’s README.asciidoc posted on GFI’s ONgDB
15 source code repository located at www.github.com contained a hyperlink, “Neo4j documentation,”

16 which redirected users to https://github.com/neo4j/neo4j-documentation.

17 RESPONSE:

18          Admit
19 REQUEST FOR ADMISSION NO. 85:

20          Admit that Exhibit F attached hereto is a true and correct printout of GFI’s webpage for
21 ONgDB version 3.4.9 as it existed on September 24, 2019.

22 RESPONSE:

23          Admit.
24 REQUEST FOR ADMISSION NO. 86:

25          Admit that GFI used the NEO4J® Mark in the title of GFI’s webpage for ONgDB version
26 3.4.9 attached hereto as Exhibit F.

27 RESPONSE:

28          Defendant objects to this request on the ground that its use of the terms “used” and “title”
                                                     32
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 render it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

 2 Defendant admits that the word “Neo4j” appears on the referenced webpage.

 3 SUPPLEMENTAL RESPONSE:

 4          Defendant objects to this request on the ground that its use of the terms “used the NEO4J

 5 Mark” and “title” render it vague, ambiguous, and unintelligible. Without waiving this objection,

 6 and subject to it, Defendant admits that it used the word “Neo4j” on the referenced webpage.

 7 REQUEST FOR ADMISSION NO. 87:

 8          Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit F redirected

 9 users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.4-changelog.

10 RESPONSE:

11          Admit.
12 REQUEST FOR ADMISSION NO. 88:

13          Admit that as of September 24, 2019, the phrase “Look for 3.4 Developer manual here” on
14 GFI’s webpage for ONgDB version 3.4.9 contained a hyperlink in the word “here” that redirected

15 users to http://neo4j.com/docs/developer-manual/current/.

16 RESPONSE:

17          Admit.
18 REQUEST FOR ADMISSION NO. 89:

19          Admit that as of September 24, 2019, the phrase “3.4 Operations manual here” on GFI’s
20 webpage for ONgDB version 3.4.9 contained a hyperlink in the word “here” that redirected users

21 to http://neo4j.com/docs/operations-manual/current/.

22 RESPONSE:

23          Admit.
24 REQUEST FOR ADMISSION NO. 90:

25          Admit that Exhibit G attached hereto is a true and correct printout of GFI’s webpage for
26 ONgDB version 3.4.11 as it existed on September 24, 2019.

27 RESPONSE:

28          Admit.
                                                    33
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 91:

 2          Admit that GFI used the NEO4J® Mark in the title of GFI’s webpage for ONgDB version

 3 3.4.11 attached hereto as Exhibit G.

 4 RESPONSE:

 5          Defendant objects to this request on the ground that its use of the terms “used” and “title”

 6 render it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

 7 Defendant admits that the word “Neo4j” appears on the referenced webpage.

 8 SUPPLEMENTAL RESPONSE:

 9          Defendant objects to this request on the ground that its use of the terms “used the NEO4J

10 Mark” and “title” render it vague, ambiguous, and unintelligible. Without waiving this objection,

11 and subject to it, Defendant admits that it used the word “Neo4j” on the referenced webpage.

12 REQUEST FOR ADMISSION NO. 92:

13          Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit G redirected
14 users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.4-changelog.

15 RESPONSE:

16          Admit.
17 REQUEST FOR ADMISSION NO. 93:

18          Admit that as of September 24, 2019, the phrase “Look for 3.4 Developer manual here” on
19 GFI’s webpage for ONgDB version 3.4.11 contained a hyperlink in the word “here” that

20 redirected users to http://neo4j.com/docs/developer-manual/current/.

21 RESPONSE:

22          Admit.
23 REQUEST FOR ADMISSION NO. 94:

24          Admit that as of September 24, 2019, the phrase “3.4 Operations manual here” on GFI’s
25 webpage for ONgDB version 3.4.11 contained a hyperlink in the word “here” that redirected users

26 to http://neo4j.com/docs/operations-manual/current/.

27 RESPONSE:

28          Admit.
                                                     34
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
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 1 REQUEST FOR ADMISSION NO. 95:

 2          Admit that Exhibit H attached hereto is a true and correct printout of GFI’s webpage for

 3 ONgDB version 3.4.12 as it existed on September 24, 2019.

 4 RESPONSE:

 5          Admit.

 6 REQUEST FOR ADMISSION NO. 96:

 7          Admit that GFI used the NEO4J® Mark in the title of GFI’s webpage for ONgDB version

 8 3.4.12 attached hereto as Exhibit H.

 9 RESPONSE:

10          Defendant objects to this request on the ground that its use of the terms “used” and “title”
11 render it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

12 Defendant admits that the word “Neo4j” appears on the referenced webpage.

13 SUPPLEMENTAL RESPONSE:

14          Defendant objects to this request on the ground that its use of the terms “used the
15 NEO4J(r) Mark” and “title” render it vague, ambiguous, and unintelligible. Without waiving this

16 objection, and subject to it, Defendant admits that it used the word “Neo4j” on the referenced

17 webpage.

18 REQUEST FOR ADMISSION NO. 97:

19          Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit H redirected
20 users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.4-changelog.

21 RESPONSE:

22          Admit.
23 REQUEST FOR ADMISSION NO. 98:

24          Admit that prior to September 25, 2019, GFI stated on its webpage for ONgDB version
25 3.4.12 “Look for 3.4 Developer manual here,” which contained a hyperlink in the word “here” that

26 redirected users to http://neo4j.com/docs/developer-manual/current/.

27 RESPONSE:

28          Admit.
                                                     35
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 99:

 2          Admit that as of September 24, 2019, the phrase “Look for 3.4 Developer manual here” on

 3 GFI’s webpage for ONgDB version 3.4.12 contained a hyperlink in the word “here” that

 4 redirected users to http://neo4j.com/docs/developer-manual/current/.

 5 RESPONSE:

 6          Admit.

 7 REQUEST FOR ADMISSION NO. 100:

 8          Admit that as of September 24, 2019, the phrase “3.4 Operations manual here” on GFI’s

 9 webpage for ONgDB version 3.4.12 contained a hyperlink in the word “here” that redirected users

10 to http://neo4j.com/docs/operations-manual/current/.

11 RESPONSE:

12          Admit.
13 REQUEST FOR ADMISSION NO. 101:

14          Admit that Exhibit I attached hereto is a true and correct printout of GFI’s webpage for
15 ONgDB version 3.5.1 as it existed on September 24, 2019.

16 RESPONSE:

17          Admit.
18 REQUEST FOR ADMISSION NO. 102:

19          Admit that GFI used the NEO4J® Mark in the title of GFI’s webpage for ONgDB version
20 3.5.1 attached hereto as Exhibit I.

21 RESPONSE:

22          Defendant objects to this request on the ground that its use of the terms “used” and “title”
23 render it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

24 Defendant admits that the word “Neo4j” appears on the referenced webpage.

25 SUPPLEMENTAL RESPONSE:

26          Defendant objects to this request on the ground that its use of the terms “used the
27 NEO4J(r) Mark” and “title” render it vague, ambiguous, and unintelligible. Without waiving this

28 objection, and subject to it, Defendant admits that it used the word “Neo4j” on the referenced
                                                     36
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 webpage.

 2 REQUEST FOR ADMISSION NO. 103:

 3          Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit I redirected

 4 users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.5-changelog.

 5 RESPONSE:

 6          Admit.

 7 REQUEST FOR ADMISSION NO. 104:

 8          Admit that as of September 24, 2019, the phrase “Look for 3.5 Developer manual here” on

 9 GFI’s webpage for ONgDB version 3.5.1 contained a hyperlink in the word “here” that redirected

10 users to redirected users to https://neo4j.com/docs/operations-manual/3.5/.

11 RESPONSE:

12          Admit.
13 REQUEST FOR ADMISSION NO. 105:

14          Admit that Exhibit J attached hereto is a true and correct printout of GFI’s webpage for
15 ONgDB version 3.5.3 as it existed on September 24, 2019.

16 RESPONSE:

17          Admit.
18 REQUEST FOR ADMISSION NO. 106:

19          Admit that GFI used the NEO4J® Mark in the title of GFI’s webpage for ONgDB version
20 3.5.3 attached hereto as Exhibit J.

21 RESPONSE:

22          Defendant objects to this request on the ground that its use of the terms “used” and “title”
23 render it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

24 Defendant admits that the word “Neo4j” appears on the referenced webpage.

25 SUPPLEMENTAL RESPONSE:

26          Defendant objects to this request on the ground that its use of the terms “used the
27 NEO4J(r) Mark” and “title” render it vague, ambiguous, and unintelligible. Without waiving this

28 objection, and subject to it, Defendant admits that it used the word “Neo4j” on the referenced
                                                     37
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 webpage.

 2 REQUEST FOR ADMISSION NO. 107:

 3          Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit J redirected

 4 users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.5-changelog.

 5 RESPONSE:

 6          Admit.

 7 REQUEST FOR ADMISSION NO. 108:

 8          Admit that as of September 24, 2019, the phrase “Look for 3.5 Developer manual here” on

 9 GFI’s webpage for ONgDB version 3.5.3 contained a hyperlink in the word “here” that redirected

10 users to redirected users to https://neo4j.com/docs/operations-manual/3.5/.

11 RESPONSE:

12          Admit.
13 REQUEST FOR ADMISSION NO. 109:

14          Admit that Exhibit A attached hereto is a true and correct printout of GFI’s webpage for
15 ONgDB version 3.5.4 as it existed on September 24, 2019.

16 RESPONSE:

17          Admit.
18 REQUEST FOR ADMISSION NO. 110:

19          Admit that the hyperlink embedded in the phrase “the changelog” in Exhibit A redirected
20 users to https://github.com/neo4j/neo4j/wiki/Neo4j-3.5-changelog.

21 RESPONSE:

22          Admit.
23 REQUEST FOR ADMISSION NO. 111:

24          Admit that as of September 24, 2019, the phrase “Look for 3.5 Developer manual here” on
25 GFI’s webpage for ONgDB version 3.5.4 contained a hyperlink in the word “here” that redirected

26 users to redirected users to https://neo4j.com/docs/operations-manual/3.5/.

27 RESPONSE:

28          Admit.
                                                    38
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 112:

 2          Admit that prior to September 25, 2019, you did not obtain Neo4j, Inc.’s authorization to

 3 use Neo4j, Inc.’s Developer Manuals for Neo4j® Software with ONgDB Software.

 4 RESPONSE:

 5          Defendant objects to this request on the ground that its use of the terms “authorization” and

 6 “use” is vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

 7 Defendant responds: Denied because the Developer Manual is licensed under the Creative

 8 Commons License.

 9 REQUEST FOR ADMISSION NO. 113:

10          Admit that prior to September 25, 2019, you did not obtain Neo4j, Inc.’s authorization to
11 use Neo4j, Inc.’s Operations Manuals for Neo4j® Software with ONgDB Software.

12 RESPONSE:

13          Defendant objects to this request on the ground that its use of the terms “authorization” and
14 “use” is vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

15 Defendant responds: Denied because the Operations Manual is licensed under the Creative

16 Commons License.

17 REQUEST FOR ADMISSION NO. 114:

18          Admit that prior to September 25, 2019, you did not obtain Neo4j, Inc.’s authorization to
19 use Neo4j, Inc.’s change logs for Neo4j® Software.

20 RESPONSE:

21          Defendant objects to this request on the ground that its use of the terms “authorization” and
22 “use” is vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

23 Defendant responds: Denied as the change logs are public without license or attribution on a

24 Github Wiki.

25 REQUEST FOR ADMISSION NO. 115:

26          Admit that Exhibit L attached hereto is a true and correct printout of GFI’s “ONgDB 3.4
27 Docs” webpage located at https://github.com/graphfoundation/ongdb/wiki/ONgDB-3.4-Docs as it

28 existed on August 12, 2020.
                                                     39
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 RESPONSE:

 2          Admit.

 3 REQUEST FOR ADMISSION NO. 116:

 4          Admit between April 9, 2020 and August 12, 2020 the hyperlink embedded in the phrase

 5 “Developer Manual” in Exhibit L redirected users to https://neo4j.com/docs/developer-

 6 manual/3.4/.

 7 RESPONSE:

 8          Admit.

 9 REQUEST FOR ADMISSION NO. 117:

10          Admit between April 9, 2020 and August 12, 2020 the hyperlink embedded in the phrase
11 “Operations Manual” in Exhibit L redirected users to https://neo4j.com/docs/operations-

12 manual/3.4/.

13 RESPONSE:

14          Admit.
15 REQUEST FOR ADMISSION NO. 118:

16          Admit that Exhibit M attached hereto is a true and correct printout of GFI’s “Docs”
17 webpage located at https://github.com/graphfoundation/ongdb/wiki/Docs as it existed on June 10,

18 2020.

19 RESPONSE:

20          Admit.
21 REQUEST FOR ADMISSION NO. 119:

22          Admit between March 26, 2020 and June 10, 2020 the hyperlink embedded in the phrase
23 “ONgDB 3.5” in Exhibit M redirected users to https://neo4j.com/docs/operations-manual/3.5/.

24 RESPONSE:

25          Admit.
26 REQUEST FOR ADMISSION NO. 120:

27          Admit between March 26, 2020 and June 10, 2020 the hyperlink embedded in the phrase
28 “ONgDB 3.4” in Exhibit M redirected users to https://neo4j.com/docs/operations-manual/3.4/.
                                                40
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 RESPONSE:

 2          Admit.

 3 REQUEST FOR ADMISSION NO. 121:

 4          Admit as of August 14, 2020, the hyperlink embedded in the phrase “ONgDB 3.5” on the
 5 webpage https://github.com/graphfoundation/ongdb/wiki/Docs redirected users to

 6 https://neo4j.com/docs/operations-manual/3.5/.

 7 RESPONSE:

 8          Admit.

 9 REQUEST FOR ADMISSION NO. 122:

10          Admit as of August 14, 2020, the hyperlink embedded in the phrase “ONgDB 3.4” on the
11 webpage https://github.com/graphfoundation/ongdb/wiki/Docs redirected users to

12 https://neo4j.com/docs/operations-manual/3.4/.

13 RESPONSE:

14          Admit.
15 REQUEST FOR ADMISSION NO. 123:

16          Admit that GFI never authored a developer manual for ONgDB version 3.4.9.
17 RESPONSE:

18          Defendant objects to this request on the ground that its use of the term “developer manual”
19 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

20 Defendant responds: Admit.

21 REQUEST FOR ADMISSION NO. 124:

22          Admit that GFI never authored a developer manual for ONgDB version 3.4.11.
23 RESPONSE:

24          Defendant objects to this request on the ground that its use of the term “developer manual”
25 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

26 Defendant responds: Admit.

27 REQUEST FOR ADMISSION NO. 125:

28          Admit that GFI never authored a developer manual for ONgDB version 3.4.12.
                                                    41
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 RESPONSE:

 2          Defendant objects to this request on the ground that its use of the term “developer manual”

 3 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

 4 Defendant responds: Admit.

 5 REQUEST FOR ADMISSION NO. 126:

 6          Admit that GFI has never authored a developer manual for any of version of ONgDB prior

 7 to its release of ONgDB version 3.6.

 8 RESPONSE:

 9          Defendant objects to this request on the ground that its use of the term “developer manual”

10 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

11 Defendant responds: Admit.

12 REQUEST FOR ADMISSION NO. 127:

13          Admit that prior to September 25, 2019, you did not obtain Neo4j, Inc.’s authorization to
14 use Neo4j, Inc.’s then-current Operations Manual for Neo4j® Software with ONgDB software.

15 RESPONSE:

16          Defendant objects to this request on the ground that its use of the terms “authorization” and
17 “use” is vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

18 Defendant responds: Denied because the Operations Manual is licensed under the Creative

19 Commons License.

20 REQUEST FOR ADMISSION NO. 128:

21          Admit that you have never sought Neo4j, Inc.’s authorization to use “The Neo4j
22 Operations Manual v3.4” with ONgDB software.

23 RESPONSE:

24          Defendant objects to this request on the ground that its use of the terms “sought”
25 “authorization” and “use” is vague, ambiguous, and unintelligible. Without waiving this

26 objection, and subject to it, Defendant admits that it has not contacted Neo4j, Inc. regarding the

27 use of the referenced manual but denies that such specific authorization is necessary under the

28 Creative Commons License.
                                                     42
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 129:

 2          Admit that you have never sought Neo4j, Inc.’s authorization to use “The Neo4j

 3 Operations Manual v3.5” with ONgDB software.

 4 RESPONSE:

 5          Defendant objects to this request on the ground that its use of the terms “sought”

 6 “authorization” and “use” is vague, ambiguous, and unintelligible. Without waiving this

 7 objection, and subject to it, Defendant admits that it has not contacted Neo4j, Inc. regarding the

 8 use of the referenced manual but denies that such specific authorization is necessary under the

 9 Creative Commons License.

10 REQUEST FOR ADMISSION NO. 130:

11          Admit that GFI never authored an operations manual for ONgDB version 3.4.9.
12 RESPONSE:

13          Defendant objects to this request on the ground that its use of the term “operations manual”
14 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

15 Defendant responds: Admit.

16 REQUEST FOR ADMISSION NO. 131:

17          Admit that GFI never authored an operations manual for ONgDB version 3.4.11.
18 RESPONSE:

19          Defendant objects to this request on the ground that its use of the term “developer manual”
20 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

21 Defendant responds: Admit.

22 REQUEST FOR ADMISSION NO. 132:

23          Admit that GFI never authored an operations manual for ONgDB version 3.4.12.
24 RESPONSE:

25          Defendant objects to this request on the ground that its use of the term “developer manual”
26 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

27 Defendant responds: Admit.

28
                                                     43
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 133:

 2          Admit that GFI never authored an operations manual for ONgDB version 3.5.1.

 3 RESPONSE:

 4          Defendant objects to this request on the ground that its use of the term “developer manual”

 5 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

 6 Defendant responds: Admit.

 7 REQUEST FOR ADMISSION NO. 134:

 8          Admit that GFI never authored an operations manual for ONgDB version 3.5.3.

 9 RESPONSE:

10          Defendant objects to this request on the ground that its use of the term “developer manual”
11 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

12 Defendant responds: Admit.

13 REQUEST FOR ADMISSION NO. 135:

14          Admit that GFI never authored an operations manual for ONgDB version 3.5.4.
15 RESPONSE:

16          Defendant objects to this request on the ground that its use of the term “developer manual”
17 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

18 Defendant responds: Admit.

19 REQUEST FOR ADMISSION NO. 136:

20          Admit that GFI has never authored an operations manual for any of version of ONgDB
21 prior to GFI’s release of ONgDB version 3.6.

22 RESPONSE:

23          Defendant objects to this request on the ground that its use of the term “developer manual”
24 renders it vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it,

25 Defendant responds: Admit.

26 REQUEST FOR ADMISSION NO. 137:

27          Admit that Exhibit K attached hereto is a true and correct printout of the webpage located
28 at https://www.graphfoundation.org/neo4j-is-open-core-now-what-ujah7ein5mis/ as it existed on
                                                    44
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 September 24, 2019.

 2 RESPONSE:

 3          Admit.

 4 REQUEST FOR ADMISSION NO. 138:

 5          Admit that GFI’s used the NEO4J® Mark in Exhibit K.

 6 RESPONSE:

 7          Defendant objects to this request on the grounds that its use of the terms “used” and

 8 “Neo4J Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection,

 9 and subject to it, Defendant admits that the word “Neo4j” appears on the referenced webpage.

10 SUPPLEMENTAL RESPONSE:

11          Defendant objects to this request on the grounds that its use of the terms “used the
12 NEO4J(r) Mark” and “Neo4J Mark” render it vague, ambiguous, and unintelligible. Without

13 waiving this objection, and subject to it, Defendant admits that it used the word “Neo4j” on the

14 referenced webpage.

15 REQUEST FOR ADMISSION NO. 139:

16          Admit that GFI’s use of “neo4j” in all lower case in Exhibit K violates Neo4j, Inc.’s
17 Trademark Guidelines attached hereto as Exhibit B.

18 RESPONSE:

19          Defendant objects to this request on the ground that it seeks information that is irrelevant
20 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

21 objects to this request on the ground that it requires the interpretation of a document and seeks a

22 legal conclusion or interpretation of that document and on that basis, Defendant denies the request.

23 REQUEST FOR ADMISSION NO. 140:

24          Admit that GFI’s use of “neo4j” without a trademark registration symbol in Exhibit K
25 violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

26 RESPONSE:

27          Defendant objects to this request on the ground that it seeks information that is irrelevant
28 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further
                                                      45
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 objects to this request on the ground that it requires the interpretation of a document and seeks a

 2 legal conclusion or interpretation of that document and on that basis, Defendant denies the request.

 3 REQUEST FOR ADMISSION NO. 141:

 4          Admit that GFI’s use of “Neo4j” without a trademark registration symbol in Exhibit K

 5 violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

 6 RESPONSE:

 7          Defendant objects to this request on the ground that it seeks information that is irrelevant

 8 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 9 objects to this request on the ground that it requires the interpretation of a document and seeks a

10 legal conclusion or interpretation of that document and on that basis, Defendant denies the request.

11 REQUEST FOR ADMISSION NO. 142:

12          Admit that GFI’s use of “neo4j” in all lower case in Exhibit K does not constitute
13 nominative fair use of the NEO4J® Mark.

14 RESPONSE:

15          Denied.
16 REQUEST FOR ADMISSION NO. 143:

17          Admit that GFI’s use of “neo4j” in all lower case in Exhibit K infringes the NEO4J®
18 Mark.

19 RESPONSE:

20          Denied.
21 REQUEST FOR ADMISSION NO. 144:

22          Admit that GFI’s use of “open source neo4j graph database” in all lower case in Exhibit K
23 violates Neo4j, Inc.’s Trademark Guidelines attached hereto as Exhibit B.

24 RESPONSE:

25          Defendant objects to this request on the ground that it seeks information that is irrelevant
26 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

27 objects to this request on the ground that it requires the interpretation of a document and seeks a

28 legal conclusion or interpretation of that document and on that basis, Defendant denies the request.
                                                      46
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 145:

 2          Admit that GFI’s use of “open source neo4j graph database” in all lower case in Exhibit K

 3 does not constitute nominative fair use of the NEO4J® Mark.

 4 RESPONSE:

 5          Denied.

 6 REQUEST FOR ADMISSION NO. 146:

 7          Admit that GFI’s use of “open source neo4j graph database” in all lower case in Exhibit K

 8 infringes the NEO4J® Mark.

 9 RESPONSE:

10          Denied.
11 REQUEST FOR ADMISSION NO. 147:

12          Admit that ONgDB stands for “ONgDB’s Neo4j Graph DB.”
13 RESPONSE:

14          Denied.
15 REQUEST FOR ADMISSION NO. 148:

16          Admit that ONgDB means “ONgDB’s Neo4j Graph DB.”
17 RESPONSE:

18          Denied.
19 REQUEST FOR ADMISSION NO. 149:

20          Admit that Exhibit N attached hereto is a true and correct of a March 17, 2019 tweet you
21 publicly posted on Twitter.

22 RESPONSE:

23          Admit.
24 REQUEST FOR ADMISSION NO. 150:

25          Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit N.
26 RESPONSE:

27          Defendant objects to this request on the ground that its use of the terms “used” and “Neo4j
28 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject
                                                    47
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 to it, Defendant admits that “#Neo4j” appears on Exhibit N.

 2 SUPPLEMENTAL RESPONSE:

 3          Defendant objects to this request on the ground that its use of the terms “used the Neo4j(r)

 4 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject

 5 to it, Defendant admits that it used “#Neo4j” in Exhibit N.

 6 REQUEST FOR ADMISSION NO. 151:

 7          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit N was not

 8 reasonably necessary to identify the ONgDB product.

 9 RESPONSE:

10          Denied.
11 REQUEST FOR ADMISSION NO. 152:

12          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit N was not
13 reasonably necessary to promote the ONgDB product.

14 RESPONSE:

15          Defendant objects to this request on the ground that its use of the term “reasonably
16 necessary to promote” renders it vague, ambiguous, and unintelligible. Defendant further objects

17 to this request on the ground that it seeks information that is irrelevant and not reasonably

18 calculated to lead to the discovery of admissible evidence.

19 REQUEST FOR ADMISSION NO. 153:

20          Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit N to promote
21 ONgDB software.

22 RESPONSE:

23          Defendant objects to this request on the ground that its use of the term “promote” is vague
24 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

25 admits that the hashtag “#Neo4j” appears on Exhibit N and that Exhibit N was an announcement

26 of the ONgDB 3.5.3 support release and that the hashtag “#Neo4j” was used in connection with

27 the announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 SUPPLEMENTAL RESPONSE:

 2          Defendant objects to this request on the ground that its use of the term “promote” is vague

 3 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

 4 admits that it used “#Neo4j” in Exhibit N and that Exhibit N was an announcement of the ONgDB

 5 3.5.3 support release and that the hashtag “#Neo4j” was used in connection with the

 6 announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

 7 REQUEST FOR ADMISSION NO. 154:

 8          Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit N to

 9 identify ONgDB software.

10 RESPONSE:

11          Defendant admits that it used the hashtag #Neo4j” in connection with identifying ONgDB
12 as an open source fork of Neo4j Enterprise.

13 REQUEST FOR ADMISSION NO. 155:

14          Admit that GFI’s use of #Neo4j in Exhibit N does not amount to nominative fair use of the
15 NEO4J® Mark.

16 RESPONSE:

17          Denied.
18 REQUEST FOR ADMISSION NO. 156:

19          Admit that GFI’s use of #Neo4j in Exhibit N infringes the NEO4J® Mark.
20 RESPONSE:

21          Denied.
22 REQUEST FOR ADMISSION NO. 157:

23          Admit that Exhibit O attached hereto is a true and correct of a March 21, 2019 tweet you
24 publicly posted on Twitter.

25 RESPONSE:

26          Admit.
27 REQUEST FOR ADMISSION NO. 158:

28          Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit O.
                                                     49
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 RESPONSE:

 2          Defendant objects to this request on the ground that its use of the terms “used” and “Neo4j

 3 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject

 4 to it, Defendant admits that “#Neo4j” appears on Exhibit O.

 5 SUPPLEMENTAL RESPONSE:

 6          Defendant objects to this request on the ground that its use of the term “used the Neo4j

 7 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject

 8 to it, Defendant admits that it used “#Neo4j” in Exhibit O.

 9 REQUEST FOR ADMISSION NO. 159:

10          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit O was not
11 reasonably necessary to identify the ONgDB product.

12 RESPONSE:

13          Denied.
14 REQUEST FOR ADMISSION NO. 160:

15          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit O was not
16 reasonably necessary to promote the ONgDB product.

17 RESPONSE:

18          Defendant objects to this request on the ground that its use of the term “reasonably
19 necessary to promote” renders it vague, ambiguous, and unintelligible. Defendant further objects

20 to this request on the ground that it seeks information that is irrelevant and not reasonably

21 calculated to lead to the discovery of admissible evidence.

22 REQUEST FOR ADMISSION NO. 161:

23          Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit O to promote
24 ONgDB software.

25 RESPONSE:

26          Defendant objects to this request on the ground that its use of the term “promote” is vague
27 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

28 admits that the hashtag “#Neo4j” appears on Exhibit O and that Exhibit O was an announcement
                                                     50
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 of the 1,000th download of ONgDB and that the hashtag “#Neo4j” was used in connection with the

 2 announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

 3 SUPPLEMENTAL RESPONSE:

 4          Defendant objects to this request on the ground that its use of the term “promote” is vague

 5 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

 6 admits that it used “#Neo4j” in Exhibit O and that Exhibit O was an announcement of the 1,000th

 7 download of ONgDB and that the hashtag “#Neo4j” was used in connection with the

 8 announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

 9 REQUEST FOR ADMISSION NO. 162:

10          Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit O to
11 identify ONgDB software.

12 RESPONSE:

13          Defendant admits that it used the hashtag #Neo4j” in connection with identifying ONgDB
14 as an open source fork of Neo4j Enterprise.

15 REQUEST FOR ADMISSION NO. 163:

16          Admit that GFI’s use of #Neo4j in Exhibit O does not amount to nominative fair use of
17 the NEO4J® Mark.

18 RESPONSE:

19          Denied.
20 REQUEST FOR ADMISSION NO. 164:

21          Admit that GFI’s use of #Neo4j in Exhibit O infringes the NEO4J® Mark.
22 RESPONSE:

23          Denied.
24 REQUEST FOR ADMISSION NO. 165:

25          Admit that Exhibit P attached hereto is a true and correct of a May 10, 2019 tweet you
26 publicly posted on Twitter.

27 RESPONSE:

28          Admit.
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 166:

 2          Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit P.

 3 RESPONSE:

 4          Defendant objects to this request on the ground that its use of the terms “used” and “Neo4j

 5 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject

 6 to it, Defendant admits that “#Neo4j” appears on Exhibit P.

 7 SUPPLEMENTAL RESPONSE:

 8          Defendant objects to this request on the ground that its use of the term “used the Neo4j(r)

 9 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject

10 to it, Defendant admits it used “#Neo4j” in Exhibit P.

11 REQUEST FOR ADMISSION NO. 167:

12          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit P was not
13 reasonably necessary to identify the ONgDB product.

14 RESPONSE:

15          Denied.
16 REQUEST FOR ADMISSION NO. 168:

17          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit P was not
18 reasonably necessary to promote the ONgDB product.

19 RESPONSE:

20          Defendant objects to this request on the ground that its use of the term “reasonably
21 necessary to promote” renders it vague, ambiguous, and unintelligible. Defendant further objects

22 to this request on the ground that it seeks information that is irrelevant and not reasonably

23 calculated to lead to the discovery of admissible evidence.

24 REQUEST FOR ADMISSION NO. 169:

25          Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit P to promote
26 ONgDB software.

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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 RESPONSE:

 2          Defendant objects to this request on the ground that its use of the term “promote” is vague

 3 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

 4 admits that the hashtag “#Neo4j” appears on Exhibit P and that Exhibit P was an announcement of

 5 the ONgDB 3.5.4 support release and that the hashtag “#Neo4j” was used in connection with the

 6 announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

 7 SUPPLEMENTAL RESPONSE:

 8          Defendant objects to this request on the ground that its use of the term “promote” is vague

 9 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

10 admits that it used “#Neo4j” in Exhibit P and that Exhibit P was an announcement of the ONgDB

11 3.5.4 support release and that the hashtag “#Neo4j” was used in connection with the

12 announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

13 REQUEST FOR ADMISSION NO. 170:

14          Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit P to
15 identify ONgDB software.

16 RESPONSE:

17          Defendant admits that it used the hashtag #Neo4j” in connection with identifying ONgDB
18 as an open source fork of Neo4j Enterprise.

19 REQUEST FOR ADMISSION NO. 171:

20          Admit that GFI’s use of #Neo4j in Exhibit P does not amount to nominative fair use of the
21 NEO4J® Mark.

22 RESPONSE:

23          Denied.
24 REQUEST FOR ADMISSION NO. 172:

25          Admit that GFI’s use of #Neo4j in Exhibit P infringes the NEO4J® Mark.
26 RESPONSE:

27          Denied.
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 173:

 2          Admit that Exhibit Q attached hereto is a true and correct of a November 27, 2019 tweet

 3 you publicly posted on Twitter.

 4 RESPONSE:

 5          Admit.

 6 REQUEST FOR ADMISSION NO. 174:

 7          Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit Q.

 8 RESPONSE:

 9          Defendant objects to this request on the ground that its use of the terms “used” and “Neo4j

10 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject

11 to it, Defendant admits that “#Neo4j” appears on Exhibit Q.

12 SUPPLEMENTAL RESPONSE:

13          Defendant objects to this request on the ground that its use of the term “used the Neo4j(r)
14 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject

15 to it, Defendant admits that it used “#Neo4j” in Exhibit Q.

16 REQUEST FOR ADMISSION NO. 175:

17          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit Q was not
18 reasonably necessary to identify the ONgDB product.

19 RESPONSE:

20          Denied.
21 REQUEST FOR ADMISSION NO. 176:

22          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit Q was not
23 reasonably necessary to promote the ONgDB product.

24 RESPONSE:

25          Defendant objects to this request on the ground that its use of the term “reasonably
26 necessary to promote” renders it vague, ambiguous, and unintelligible. Defendant further objects

27 to this request on the ground that it seeks information that is irrelevant and not reasonably

28 calculated to lead to the discovery of admissible evidence.
                                                     54
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 177:

 2          Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit Q to promote

 3 ONgDB software.

 4 RESPONSE:

 5          Defendant objects to this request on the ground that its use of the term “promote” is vague

 6 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

 7 admits that the hashtag “#Neo4j” appears on Exhibit Q and that Exhibit Q was an announcement

 8 of the ONgDB 3.5.12 support release and that the hashtag “#Neo4j” was used in connection with

 9 the announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

10 SUPPLEMENTAL RESPONSE:

11          Defendant objects to this request on the ground that its use of the term “promote” is vague
12 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

13 admits that it used “#Neo4j” in Exhibit Q and that Exhibit Q was an announcement of the ONgDB

14 3.5.12 support release and that the hashtag “#Neo4j” was used in connection with the

15 announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

16 REQUEST FOR ADMISSION NO. 178:

17          Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit Q to
18 identify ONgDB software.

19 RESPONSE:

20          Defendant admits that it used the hashtag #Neo4j” in connection with identifying ONgDB
21 as an open source fork of Neo4j Enterprise.

22 REQUEST FOR ADMISSION NO. 179:

23          Admit that GFI’s use of #Neo4j in Exhibit Q does not amount to nominative fair use of
24 the NEO4J® Mark.

25 RESPONSE:

26          Denied.
27 REQUEST FOR ADMISSION NO. 180:

28          Admit that GFI’s use of #Neo4j in Exhibit Q infringes the NEO4J® Mark.
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 RESPONSE:

 2          Denied.

 3 REQUEST FOR ADMISSION NO. 181:

 4          Admit that Exhibit R attached hereto is a true and correct of a January 18, 2020 tweet you

 5 publicly posted on Twitter.

 6 RESPONSE:

 7          Admit.

 8 REQUEST FOR ADMISSION NO. 182:

 9          Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit R.

10 RESPONSE:

11          Defendant objects to this request on the ground that its use of the terms “used” and “Neo4j
12 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject

13 to it, Defendant admits that “#Neo4j” appears on Exhibit R.

14 SUPPLEMENTAL RESPONSE:

15          Defendant objects to this request on the ground that its use of the term “used the Neo4j(r)
16 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject

17 to it, Defendant admits that it used “#Neo4j” in Exhibit R.

18 REQUEST FOR ADMISSION NO. 183:

19          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit R was not
20 reasonably necessary to identify the ONgDB product.

21 RESPONSE:

22          Denied.
23 REQUEST FOR ADMISSION NO. 184:

24          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit R was not
25 reasonably necessary to promote the ONgDB product.

26 RESPONSE:

27          Defendant objects to this request on the ground that its use of the term “reasonably
28 necessary to promote” renders it vague, ambiguous, and unintelligible. Defendant further objects
                                                     56
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 to this request on the ground that it seeks information that is irrelevant and not reasonably

 2 calculated to lead to the discovery of admissible evidence.

 3 REQUEST FOR ADMISSION NO. 185:

 4          Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit R to promote

 5 ONgDB software.

 6 RESPONSE:

 7          Defendant objects to this request on the ground that its use of the term “promote” is vague

 8 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

 9 admits that the hashtag “#Neo4j” appears on Exhibit R and that Exhibit R was an announcement

10 of the ONgDB 3.5.14 support release and that the hashtag “#Neo4j” was used in connection with

11 the announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

12 SUPPLEMENTAL RESPONSE:

13          Defendant objects to this request on the ground that its use of the term “promote” is vague
14 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

15 admits that it used “#Neo4j” in Exhibit R and that Exhibit R was an announcement of the ONgDB

16 3.5.14 support release and that the hashtag “#Neo4j” was used in connection with the

17 announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

18 REQUEST FOR ADMISSION NO. 186:

19          Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit R to
20 identify ONgDB software.

21 RESPONSE:

22          Defendant admits that it used the hashtag #Neo4j” in connection with identifying ONgDB
23 as an open source fork of Neo4j Enterprise.

24 REQUEST FOR ADMISSION NO. 187:

25          Admit that Exhibit S attached hereto is a true and correct of a May 19, 2020 tweet you
26 publicly posted on Twitter.

27 RESPONSE:

28          Admit.
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 REQUEST FOR ADMISSION NO. 188:

 2          Admit that GFI used the NEO4J® Mark as a hashtag in Exhibit S.

 3 RESPONSE:

 4          Defendant objects to this request on the ground that its use of the terms “used” and “Neo4j

 5 Mark” render it vague, ambiguous, and unintelligible. Without waiving this objection and subject

 6 to it, Defendant admits that “#Neo4j” appears on Exhibit S.

 7 SUPPLEMENTAL RESPONSE:

 8          Defendant objects to this request on the ground that its use of the term “used the Neo4j(r)

 9 Mark” renders it vague, ambiguous, and unintelligible. Without waiving this objection and

10 subject to it, Defendant admits that it used “#Neo4j” in Exhibit S.

11 REQUEST FOR ADMISSION NO. 189:

12          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit S was not
13 reasonably necessary to identify the ONgDB product.

14 RESPONSE:

15          Denied.
16 REQUEST FOR ADMISSION NO. 190:

17          Admit that GFI’s use of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit S was not
18 reasonably necessary to promote the ONgDB product.

19 RESPONSE:

20          Defendant objects to this request on the ground that its use of the term “reasonably
21 necessary to promote” renders it vague, ambiguous, and unintelligible. Defendant further objects

22 to this request on the ground that it seeks information that is irrelevant and not reasonably

23 calculated to lead to the discovery of admissible evidence.

24 REQUEST FOR ADMISSION NO. 191:

25          Admit that GFI used the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit S to promote
26 ONgDB software.

27 RESPONSE:

28          Defendant objects to this request on the ground that its use of the term “promote” is vague
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

 2 admits that the hashtag “#Neo4j” appears on Exhibit R and that Exhibit R was an announcement

 3 of the ONgDB 3.5.0.8 procedure release and that the hashtag “#Neo4j” was used in connection

 4 with the announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

 5 SUPPLEMENTAL RESPONSE:

 6          Defendant objects to this request on the ground that its use of the term “promote” is vague

 7 and ambiguous. Without waiving this objection, and subject to it, Defendant responds: Defendant

 8 admits that it used “#Neo4j” appears on Exhibit R and that Exhibit R was an announcement of the

 9 ONgDB 3.5.0.8 procedure release and that the hashtag “#Neo4j” was used in connection with the

10 announcement’s identification of ONgDB as an open source fork of Neo4j Enterprise.

11 REQUEST FOR ADMISSION NO. 192:

12          Admit that GFI used of the NEO4J® Mark as the hashtag “#Neo4j” in Exhibit S to
13 identify ONgDB software.

14 RESPONSE:

15          Defendant admits that it used the hashtag #Neo4j” in connection with identifying ONgDB
16 as an open source fork of Neo4j Enterprise.

17 REQUEST FOR ADMISSION NO. 193:

18          Admit that GFI’s use of #Neo4j in Exhibit S does not amount to nominative fair use of the
19 NEO4J® Mark.

20 RESPONSE:

21          Denied.
22 REQUEST FOR ADMISSION NO. 194:

23          Admit that GFI’s use of #Neo4j in Exhibit S infringes the NEO4J® Mark.
24 RESPONSE:

25          Denied.
26 REQUEST FOR ADMISSION NO. 195:

27          Admit that Exhibit T is a printout of Neo4j, Inc.’s Trademark Guidelines as they existed
28 on August 13, 2020.
                                                     59
      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 RESPONSE:

 2          Defendant is without sufficient information to admit or deny this request and, on that basis,

 3 denies the request.

 4 REQUEST FOR ADMISSION NO. 196:

 5          Admit that Neo4j, Inc.’s Trademark Guidelines in Exhibit T have been in effect since

 6 April 3, 2019.

 7 RESPONSE:

 8          Defendant is without sufficient information to admit or deny this request and, on that basis,

 9 denies the request.

10 REQUEST FOR ADMISSION NO. 197:

11          Admit that you are aware of Neo4j, Inc.’s Trademark Guidelines in Exhibit T.
12 RESPONSE:

13          Defendant objects to this request on the ground that its use of the term “are aware” is
14 vague, ambiguous, and unintelligible. Without waiving this objection, and subject to it, Defendant

15 admits that, in connection with responding to these requests it has reviewed Exhibit T.

16 REQUEST FOR ADMISSION NO. 198:

17          Admit that you do not adhere to Neo4j, Inc.’s Trademark Guidelines in Exhibit T in
18 marketing ONgDB software.

19 RESPONSE:

20          Defendant objects to this request on the ground that it seeks information that is irrelevant
21 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

22 objects to this request on the ground that it requires the interpretation of a document and seeks a

23 legal conclusion or interpretation of that document and on that basis denies the request.

24 REQUEST FOR ADMISSION NO. 199:

25          Admit that you do not adhere to Neo4j, Inc.’s Trademark Guidelines in Exhibit T in
26 advertising ONgDB software.

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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1 RESPONSE:

 2          Defendant objects to this request on the ground that it seeks information that is irrelevant

 3 and not reasonably calculated to lead to the discovery of admissible evidence. Defendant further

 4 objects to this request on the ground that it requires the interpretation of a document and seeks a

 5 legal conclusion or interpretation of that document and on that basis denies the request.

 6 Dated: October 27, 2020                        BERGESON, LLP

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 8                                                By: ______________________________________
                                                                 John D. Pernick
 9                                                Attorneys for Defendant
                                                  GRAPH FOUNDATION, INC.
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
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 1                                          VERIFICATION

 2          I, Brad Nussbaum, declare under penalty of perjury under the laws of the United States that

 3 I am the CEO at Graph Foundation, Inc. (“GFI”), that I have read the foregoing GRAPH

 4 FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J,

 5 INC.’S FIRST SET OF REQUESTS FOR ADMISSION, that the statements of facts contained

 6 therein, are within my personal knowledge or based upon information provided by other persons at

 7 GFI or business records of GFI, that the foregoing Responses are true and correct, and that I am

 8 authorized to sign this verification on behalf of GFI.

 9          Executed on October 26
                                __, 2020, at Wooster, Ohio.

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                                                            Brad Nussbaum
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1188 of 1198




   EXHIBIT D
                            TO
   GRAPH FOUNDATION,
  INC.’S SUPPLEMENTAL
     OBJECTIONS AND
  RESPONSES TO NEO4J,
    INC.’S FIRST SET OF
      REQUESTS FOR
        ADMISSION
https://github.com/graphfoundation/ongdb/commit/f0a7db48c8fcac6defa956fb022758ef3d8a8220
                                              Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1189 of 1198


         graphfoundation / ongdb

           Code         Issues 3           Pull requests 1            Actions   Projects        Wiki         Security        Insights




        Updated readme to reflect ONgDB
           3.6    3.6.0 … 3.5.1


             jmsuhy authored and bradnussbaum committed on Jan 17, 2019                                                   1 parent d470ffd   commit f0a7db48c8fcac6defa956fb022758ef3d8a8220



         Showing 1 changed file with 13 additions and 13 deletions.


             26         README.asciidoc




                    ‐ = Neo4j: Graphs for Everyone =
                    + = ONgDB ‐ Neo4j Enterprise Fork: Graphs for Everyone =


                      https://neo4j.com[Neo4j] is the world's leading Graph Database. It is a high performance graph store with all the features expected of a mature and robust database,
                     like a friendly query language and ACID transactions. The programmer works with a flexible network structure of nodes and relationships rather than static tables ‐‐
                     yet enjoys all the benefits of enterprise‐quality database. For many applications, Neo4j offers orders of magnitude performance benefits compared to relational DBs.


                      Learn more on the https://neo4j.com[Neo4j website].


                    ‐ == Using Neo4j ==
                    + Learn more about ONgDB at https://graphfoundation.org[Graph Foundation website]


                    ‐ Neo4j is available both as a standalone server, or an embeddable component. You can https://neo4j.com/download/[download] or http://console.neo4j.org[try online].
                    + == Using ONgDB & Neo4j ==


                    ‐ == Extending Neo4j ==
                    + Neo4j is available both as a standalone server, or an embeddable component. You can https://graphfoundation.org/projects/ongdb/[download] or
                     http://console.neo4j.org[try Neo4j online].


                    ‐ We encourage experimentation with Neo4j. You can build extensions to Neo4j, develop library or drivers atop the product, or make contributions directly to the product
                     core. You'll need to sign a Contributor License Agreement in order for us to accept your patches.
                    + == Extending ONgDB & Neo4j ==




                                                                                                                                                                               10/27/2020, 11:25 AM
https://github.com/graphfoundation/ongdb/commit/f0a7db48c8fcac6defa956fb022758ef3d8a8220
                                              Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1190 of 1198
                   ‐ NOTE: This GitHub repository contains mixed GPL and AGPL code. Our Community edition (in the link:community/[community/] directory) is GPLv3. Our Enterprise edition
                       (link:enterprise/[enterprise/]) is differently licensed under the AGPLv3.
                   + We encourage experimentation with ONgDB & Neo4j. You can build extensions to ONgDB & Neo4j, develop library or drivers atop the product, or make contributions
                       directly to the product core. You'll need to sign a Contributor License Agreement in order for us to accept your patches.
                   +
                   + NOTE: This GitHub repository contains mixed GPL and AGPL code. Our Community edition (in the link:community/[community/] directory) is GPLv3. The Enterprise edition
                       (link:enterprise/[enterprise/]) is licensed under the AGPLv3.


                        == Dependencies ==


                          curl ‐O http://download‐keycdn.ej‐technologies.com/install4j/install4j_linux_6_1_4.deb
                          dpkg ‐i install4j_linux_6_1_4.deb


                   ‐ == Building Neo4j ==
                   + == Building ONgDB ==


                        Before you start running the unit and integration tests in the Neo4j Maven project on a Linux‐like system, you should ensure your limit on open files is set to a
                       reasonable value. You can test it with `ulimit ‐n`. We recommend you have a limit of at least 40K.


                        * If you are running into problems building on Windows you can try building Neo4j in a Ubuntu virtual machine.
                        * You may need to increase the memory available to Maven: `export MAVEN_OPTS="‐Xmx512m"`.


                   ‐ == Running Neo4j ==
                   + == Running ONgDB & Neo4j ==


                        After running a `mvn clean install` cd into `packaging/standalone/target` and extract the version you want, then




                        == Licensing ==


                   ‐ Neo4j Community Edition is an open source product licensed under GPLv3.
                   ‐
                   ‐ Neo4j Enterprise Edition expands the functionality of Community Edition with Enterprise‐grade features.
                   + ONgDB & Neo4j Community Edition is an open source product licensed under GPLv3.


                   ‐ Neo4j Enterprise consists of modules from Neo4j Community Edition and modules licensed under AGPLv3 with the Commons Clause in this repository, and other closed
                       source components not present in this repository.
                   + ONgDB & Neo4j Enterprise Edition expands the functionality of Community Edition with Enterprise‐grade features.


                   ‐ When packaged as a binary, Enterprise Edition includes additional closed‐source components _not available in this repository_ and requires a commercial license from




                                                                                                                                                                                10/27/2020, 11:25 AM
https://github.com/graphfoundation/ongdb/commit/f0a7db48c8fcac6defa956fb022758ef3d8a8220
                                            Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1191 of 1198
                     Neo4j Sweden AB or one of its affiliates.
                    + ONgDB & Neo4j Enterprise consists of modules from Neo4j Community Edition and modules licensed under AGPLv3 in this repository.


      0 comments on commit f0a7db4

      Please sign in to comment.




                                                                                                                                                        10/27/2020, 11:25 AM
     Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1192 of 1198




 1                                       PROOF OF SERVICE

 2 STATE OF CALIFORNIA, COUNTY OF SANTA CLARA

 3         At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of Santa Clara, State of California. My business address is 111 N. Market
 4 Street, Suite 600, San Jose, CA 95113.

 5          On October 27, 2020, I served true copies of the following document(s) described as
   GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO
 6 NEO4J, INC.’S FIRST SET OF REQUESTS FOR ADMISSION on the interested parties in
   this action as follows:
 7

 8 Attorneys for Plaintiff
   NEO4J, INC.
 9
   John V. Picone III, Esq.
10 jpicone@hopkinscarley.com

11 Jeffrey M. Ratinoff, Esq.
   jratinoff@hopkinscarley.com
12 Hopkins & Carley
   The Letitia Building
13 70 South First Street
   San Jose, CA 95113-2406
14 Tel: (408) 286-9800

15 Fax: (408) 998-4790

16
          BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
17 document(s) to be sent from e-mail address emtofelogo@be-law.com to the persons at the e-mail
   addresses listed in the Service List. I did not receive, within a reasonable time after the
18 transmission, any electronic message or other indication that the transmission was unsuccessful.

19        I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct and that I am employed in the office of a member of the bar of this
20 Court at whose direction the service was made.

21          Executed on October 27, 2020, at San Jose, California.

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23
                                                     Emma Tofelogo-Fernandez
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      GRAPH FOUNDATION, INC.’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO NEO4J, INC.’S FIRST
                    SET OF REQUESTS FOR ADMISSION, Case No. 5:19-cv-06226-EJD
Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1193 of 1198




                     EXHIBIT 130
    REDACTED VERSION OF
   DOCUMENT SOUGHT TO BE
          SEALED
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                     EXHIBIT 131

     REDACTED VERSION OF
    DOCUMENT SOUGHT TO BE
           SEALED
Case 5:18-cv-07182-EJD Document 98-1 Filed 12/11/20 Page 1195 of 1198




                     EXHIBIT 132
       REDACTED VERSION OF
       DOCUMENT SOUGHT TO
           BE SEALED
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                     EXHIBIT 133
       REDACTED VERSION OF
      DOCUMENT SOUGHT TO BE
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                     EXHIBIT 134
    REDACTED VERSION OF
   DOCUMENT SOUGHT TO BE
          SEALED
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                     EXHIBIT 135
        REDACTED VERSION OF
       DOCUMENT SOUGHT TO BE
              SEALED
